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                                                                                        SOLICITATION VERSION


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    MATTRESS FIRM, INC., et al.,1                                Case No. 18-12241 (___)

                             Debtors.                            (Joint Administration Requested)


                     DISCLOSURE STATEMENT FOR THE JOINT
                PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION
                FOR MATTRESS FIRM, INC. AND ITS DEBTOR AFFILIATES

    THIS IS A SOLICITATION OF VOTES TO ACCEPT OR REJECT A CHAPTER 11
    PREPACKAGED PLAN OF REORGANIZATION FOR MATTRESS FIRM, INC. AND
    ITS DEBTOR AFFILIATES.     MATTRESS FIRM, INC. AND ITS DEBTOR
    AFFILIATES HAVE NOT FILED FOR RELIEF UNDER CHAPTER 11 OF THE
    BANKRUPTCY CODE, AND THIS DISCLOSURE STATEMENT HAS NOT BEEN
    FILED WITH OR APPROVED BY THE BANKRUPTCY COURT OR THE
    SECURITIES AND EXCHANGE COMMISSION. IN THE EVENT THAT THE
    DEBTORS FILE PETITIONS FOR RELIEF UNDER CHAPTER 11 OF THE
    BANKRUPTCY CODE AND SEEK CONFIRMATION OF THE PLAN DESCRIBED
    HEREIN, THIS DISCLOSURE STATEMENT WILL BE SUBMITTED TO THE
    BANKRUPTCY COURT FOR APPROVAL. THE DEBTORS RESERVE THE RIGHT
    TO AMEND, SUPPLEMENT, OR OTHERWISE MODIFY THIS DISCLOSURE
    STATEMENT.




1
  The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing address
is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, for
which the Debtors will request joint administration, a complete list of the Debtors and the last four digits of their
federal tax identification numbers is not provided herein. This information may be obtained by contacting counsel for
the Debtors.
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                                    Dated: October 4, 2018




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          IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT

        Mattress Firm, Inc. (“Mattress Firm”) and its affiliated debtors and debtors in possession
(collectively, the “Debtors”) are providing this document and the accompanying materials (this
“Disclosure Statement”) because you may be a creditor entitled to vote to accept or reject the Joint
Prepackaged Chapter 11 Plan of Reorganization for Mattress Firm, Inc. and Its Debtor Affiliates
(as such may be amended, altered, modified or supplemented from time to time, the “Plan”),2 a
copy of which is attached hereto as Exhibit A. The Debtors are commencing the solicitation of
votes to approve the Plan (the “Solicitation”) before the Debtors commence voluntary cases under
chapter 11 of the Bankruptcy Code. The Disclosure Statement sets forth information: (a) regarding
the history of the Debtors and their business; (b) describing the Plan; (c) concerning the Plan and
alternatives to the Plan; and (d) advising the Holders of Claims against or Interests in the Debtors
of their rights under the Plan.

       Because the Debtors have not yet commenced chapter 11 cases, this Disclosure Statement
has not been approved by the Bankruptcy Court as containing “adequate information” within the
meaning of section 1125(a) of the Bankruptcy Code. The Debtors will, upon the Debtors’
commencement of any chapter 11 cases, promptly seek entry of an order of the Bankruptcy Court
(a) approving this Disclosure Statement as having contained “adequate information,”
(b) approving the Solicitation as having been in compliance with section 1126(b) of the
Bankruptcy Code, (c) confirming the Plan and (d) granting related relief.

     THE DEBTORS BELIEVE THAT THE PLAN PROVIDES THE BEST
AVAILABLE RECOVERY FOR THEIR STAKEHOLDERS. NO HOLDERS OF ANY
CLAIMS, INCLUDING HOLDERS OF GENERAL UNSECURED CLAIMS, ARE
IMPAIRED UNDER THE PLAN. ACCORDINGLY, THE PLAN DOES NOT ALTER
THE RIGHTS OF HOLDERS OF CLAIMS TO RECEIVE PAYMENT ON ACCOUNT OF
EXISTING OBLIGATIONS IN FULL IN ACCORDANCE WITH THE APPLICABLE
PROVISIONS OF THE BANKRUPTCY CODE. DURING THE CHAPTER 11 CASES,
THE DEBTORS WILL CONTINUE TO OPERATE THEIR BUSINESS IN THE
ORDINARY COURSE SUBJECT TO AUTHORIZATION FROM THE BANKRUPTCY
COURT.

       SPECIAL NOTICE REGARDING FEDERAL AND STATE SECURITIES LAWS

       This Disclosure Statement and the Plan have not been filed with, approved or
disapproved by the United States Securities and Exchange Commission (the “SEC”) under
the United States Securities Act of 1933 (as amended, the “Securities Act”) or any securities
regulatory authority of any state under any state securities law, nor has the SEC or any state
regulatory authority passed upon the accuracy or adequacy of the information contained
herein. Any representation to the contrary is a criminal offense.




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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Plan.
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                                          DISCLAIMER

        This Disclosure Statement contains, among other things, summaries of the Plan, certain
statutory provisions, and certain anticipated events in the Chapter 11 Cases. Although the Debtors
believe that these summaries are fair and accurate, these summaries are qualified in their entirety
to the extent that they do not set forth the entire text of such documents or statutory provisions or
every detail of such anticipated events. In the event of any inconsistency or discrepancy between
a description in this Disclosure Statement and the terms and provisions of the Plan or any other
documents incorporated herein by reference, the Plan or such other documents will govern for all
purposes. Factual information contained in this Disclosure Statement has been provided by the
Debtors’ management except where otherwise specifically noted.

        The statements contained in this Disclosure Statement are made only as of the date of this
Disclosure Statement, and there can be no assurance that the statements contained herein will be
correct at any time after this date. Although the Debtors may subsequently update the information
in this Disclosure Statement, the Debtors have no affirmative duty to do so, except as otherwise
provided in the Plan or in accordance with applicable law. The information contained in this
Disclosure Statement, including the information regarding the history, businesses and operations
of the Debtors and their non-debtor affiliates, the financial information regarding the Debtors, is
included for purposes of disclosing information related to the Plan, but, as to contested matters,
adversary proceedings, and any other litigation or disputes, is not to be construed as an admission
or stipulation, but rather as a statement made in settlement negotiations as part of the Debtors’
attempt to settle and resolve claims and controversies pursuant to the Plan. This Disclosure
Statement will not be admissible in any non-bankruptcy proceeding, nor will it be construed to be
conclusive advice on the tax, securities, or other legal effects of the Plan as to Holders of Claims
against, or Interests in, either the Debtors or the Reorganized Debtors. The Debtors do not
represent or warrant that the information contained herein or attached hereto is without any
material inaccuracy or omission. Except where specifically noted, the financial information
contained in this Disclosure Statement and the exhibits hereto have not been audited by a certified
public accountant and have not been prepared in accordance with generally accepted accounting
principles in the United States.

        The Debtors have not authorized any person or Entity in connection with this Disclosure
Statement or the Plan to give any information or make any representation or statement regarding
this Disclosure Statement or the Plan, in each case, other than that which is contained in this
Disclosure Statement and the exhibits hereto or as otherwise incorporated by reference or referred
to herein. If any such information, representation or statement is given or made, it may not be
relied upon as having been authorized by the Debtors.

        The Debtors’ management, in consultation with the Debtors’ financial advisors, prepared
the financial projections provided in this Disclosure Statement. While the Debtors have presented
these projections with numerical specificity, they have necessarily based the projections on a
variety of estimates and assumptions that, although considered reasonable by management at the
time of preparation, may not be realized, and are inherently subject to significant business,
economic, competitive, industry, regulatory, market and financial uncertainties and contingencies,
many of which will be beyond the Debtors’ or the Reorganized Debtors’ control. The Debtors



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caution that they cannot make any representations as to the accuracy of these projections or to the
Debtors’ or Reorganized Debtors’ ability to achieve the projected results. Some assumptions
inevitably will not materialize. Further, events and circumstances occurring subsequent to the date
on which these projections were prepared may differ from any assumed facts and circumstances.
Alternatively, any events and circumstances that come to pass may well have been unanticipated,
and thus may affect financial results in a materially adverse or materially beneficial manner. The
projections, therefore, may not be relied upon as a guaranty or other assurance of the actual results
that will occur.

        Certain of the information contained in this Disclosure Statement is by its nature forward
looking and contains estimates, assumptions and projections that may be materially different from
actual future results. The words “believe,” “may,” “will,” “estimate,” “continue,” “anticipate,”
“intend,” “expect” and similar expressions identify these forward-looking statements. These
forward-looking statements are subject to a number of risks, uncertainties and assumptions,
including those described in Article VII, “Risk Factors.” In light of these risks and uncertainties,
the forward-looking events and circumstances discussed in this Disclosure Statement may not
occur, and actual results could differ materially from those anticipated in the forward-looking
statements. Except as required by law, the Debtors disclaim any obligation to update or revise any
forward-looking statements, whether as a result of new information, future events or otherwise.




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                                       INTRODUCTION

        This Disclosure Statement provides information, pursuant to section 1125 of the
Bankruptcy Code, regarding the Joint Prepackaged Chapter 11 Plan of Reorganization for
Mattress Firm, Inc. and Its Debtor Affiliates (as such may be amended, altered, modified or
supplemented from time to time, the “Plan”), dated October 4, 2018. A copy of the Plan is attached
hereto as Exhibit A. The rules of interpretation set forth in Article I of the Plan shall govern the
interpretation of this Disclosure Statement.

        The Debtors believe the Plan is in the best interests of the Debtors’ Estates. The primary
features of the Chapter 11 Cases and the Plan are as follows:

       •   All of the Debtors’ prepetition secured debt will be paid in full, including (a) a roll-up
           of the full outstanding amount under the Prepetition ABL Facility, which was
           approximately $87 million on the date hereof, and (b) payment in full in Cash of the
           approximately $83 million in principal amount outstanding under the Prepetition Term
           Loan.

       •   No class of claims is impaired under the Plan.

       •   General Unsecured Claims—other than Intra-Group Loan Claims arising under the
           Intra-Group Loan Agreement—including all lease rejection claims that are allowed
           under section 502(b)(6) of the Bankruptcy Code, will be paid in full in cash in
           accordance with the applicable provisions of the Bankruptcy Code.

       •   Distributions under the Plan will be funded with the proceeds of a $400 million secured
           term loan facility (the “Exit Term Loan Facility”).

       •   On the effective date of the Plan, the Debtors anticipate securing access to a $125
           million revolving credit facility (the “Exit ABL Facility” and, together with the Exit
           Term Loan Facility, the “Exit Facilities”), which is expected to be undrawn, and that
           will provide additional liquidity for their post-bankruptcy operations.

       •   The equity of reorganized Debtor Mattress Holdco, Inc. (“MF Holdco”), the direct or
           indirect parent of each of the other Debtors, will continue to be held by Mattress Firm
           Holding Corp. (“MFHC”), a non-Debtor Affiliate of the Debtors and the current parent
           company of MF Holdco, after the Effective Date of the Plan. The equity of MFHC will
           continue to be held by Stripes US Holding, Inc. (“Stripes”), a non-Debtor affiliate of
           the Debtors and the direct parent company of MFHC.

       •   The lenders who are providing the Exit Term Loan Facility will receive equity and
           payment-in-kind debt as additional consideration for their financing commitments.
           This equity and payment-in-kind debt will be issued by either MF Holdco or Stripes,
           depending on the outcome of a tax analysis that the Debtors and their advisors are
           currently performing. Because it is possible that MF Holdco will be issuing the equity,
           the Interests in MF Holdco are subject to potential dilution and are therefore being
           treated as Impaired under the Plan. MFHC, as the sole holder of the Interests in MF
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            Holdco, is entitled to vote to accept or reject the Plan. All other Classes of Claims and
            Interests are Unimpaired under the Plan.

       •    The non-Debtor affiliates of Mattress Firm that are parties to the Intra-Group Loan
            Agreement as lenders, Steinhoff Europe AG (“SEAG”) and Steinhoff Möbel Holding
            Alpha GmbH (“Möbel”), have agreed to receive no distributions under the Plan on
            account of their unsecured guarantee claims against the Debtors. Moreover, SEAG and
            Möbel have agreed, and their creditors have consented, to a gratuitous capital
            contribution of the remaining claims against Stripes and MFHC under the Intra-Group
            Loan Agreement.

       •    On the effective date of the Plan, the guarantee obligations of each Debtor and MFHC
            under the Intra-Group Loan Agreement will be released.

                                       ARTICLE I.
                                  OVERVIEW OF THE PLAN

       A.        New Capital Structure

       On the Effective Date, the Debtors will effectuate the transactions contemplated by the
Plan, and the Reorganized Debtors anticipate that their capital structure will consist of the
following:

            •    the Exit ABL Facility;

            •    the Exit Term Loan Facility; and

            •    equity interests in Reorganized Debtor MF Holdco, 100% of which will continue
                 to be held by MFHC (provided, however, that such Interests shall, if the MF Holdco
                 Stock is issued to the Exit Term Loan Lenders pursuant to the Exit Term Loan
                 Lender Election, be subject to dilution by (i) the MF Holdco Stock and (ii) the
                 Interests reserved by MF Holdco for the Management Incentive Plan).

       B.        Sources of Cash Consideration for Plan Distributions

        All Cash necessary for the Reorganized Debtors to make payments required by the Plan
shall be obtained from (1) Cash on hand, including Cash from operations and the proceeds of the
DIP Credit Facilities, and (2) the proceeds of the Exit Facilities.

       C.        Treatment of Unclassified Claims

                 1.     Unclassified Claims Summary

              Claim                        Plan Treatment             Projected Plan Recovery
 Administrative Expense Claims       Paid in full in Cash                      100%
 Professional Fee Claims             Paid in full in Cash                      100%
 DIP Credit Facilities Claims        Paid in full in Cash                      100%
 Priority Tax Claims                 Paid in full in Cash                      100%

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               2.      Unclassified Claims Details

                       a.      Administrative Expense Claims

        Except to the extent that a Holder of an Allowed Administrative Expense Claim and the
applicable Debtor(s) agree to less favorable treatment with respect to such Allowed Administrative
Expense Claim, each Holder of an Allowed Administrative Expense Claim shall receive, on
account of and in full and complete settlement, release and discharge of, and in exchange for, such
Allowed Administrative Expense Claim, payment of Cash equal to the full unpaid amount of such
Allowed Administrative Expense Claim: (i) on the Effective Date or as soon as reasonably
practicable thereafter, or, if not then due, when such Allowed Administrative Expense Claim is
due or as soon as reasonably practicable thereafter; (ii) if an Administrative Expense Claim is
Allowed after the Effective Date, on the date such Administrative Expense Claim is due or as soon
as reasonably practicable thereafter; (iii) on such other date and upon such terms as such Holder
and the Debtors or the Reorganized Debtors shall have agreed; or (iv) as otherwise ordered by the
Bankruptcy Court; provided, however, that Allowed Administrative Expense Claims that arise in
the ordinary course of the Debtors’ business during the Chapter 11 Cases shall be paid in full in
Cash in the ordinary course of business and in accordance with the terms and conditions of the
particular agreements governing such obligations, course of dealing, course of business, or
industry practice.

                       b.      Professional Fee Claims

         All Professionals or other Entities requesting compensation or reimbursement of expenses
pursuant to sections 328, 330, 331, 503(b) and/or section 1103 of the Bankruptcy Code for services
rendered before the Effective Date (including, without limitation, any compensation requested by
any Professional or any other entity for making a substantial contribution in the Chapter 11 Cases)
shall file and serve final requests for allowance and payment of Professional Fee Claims no later
than the first Business Day that is forty-five (45) days after the Effective Date. Objections to any
Professional Fee Claim must be filed and served on the Reorganized Debtors and the applicable
Professional within thirty (30) days after the filing of the final fee application with respect to the
Professional Fee Claim. Any such objections that are not consensually resolved may be set for
hearing on twenty-one (21) days’ notice by the Professional asserting such Professional Fee Claim.
The Reorganized Debtors shall promptly pay all amounts owed on account of Professional Fee
Claims upon entry of an order of the Bankruptcy Court allowing such Claims on a final basis.

                       c.      DIP Credit Facilities Claims

        The DIP Credit Facilities Claims shall be Allowed Claims in the full amount outstanding
under the DIP Credit Facilities, including principal, interest, fees, and expenses. Except to the
extent that a Holder of an Allowed DIP Credit Facilities Claim agrees to less favorable treatment,
on the Effective Date, each Holder of an Allowed DIP Credit Facilities Claim shall receive, on
account of and in full and final satisfaction, settlement, release, and discharge of each Allowed
DIP Credit Facilities Claim, indefeasible payment in full in Cash. Upon the payment or
satisfaction of the Allowed DIP Credit Facilities Claims in accordance with Article II.B of the
Plan, all Liens and security interests granted to secure the Allowed DIP Credit Facilities Claims

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shall be automatically terminated and of no further force or effect without any further notice to or
action, order, or approval of the Bankruptcy Court or any other Entity. As used in Article II.B of
the Plan, “indefeasible payment in full in Cash” shall mean the indefeasible payment in full in
Cash of all Allowed DIP Credit Facilities Claims (including all fees and expenses of the DIP
Agents through the Effective Date in accordance with the payoff letter), the cancellation, backing,
or cash collateralization of letters of credit under the DIP Credit Facilities in accordance with the
terms of the DIP Credit Facilities, the termination of the DIP Agents’ and DIP Lenders’
commitments to extend credit under the DIP Facility, and the receipt by the DIP Agents of a
countersigned payoff letter in form and substance reasonably satisfactory to the DIP Agents.

                       d.      Priority Tax Claims

        Except to the extent that each Holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, each Holder of an Allowed Priority Tax Claim shall receive on account of
and in full and complete settlement, release and discharge of, and in exchange for, such Allowed
Priority Tax Claim, payment in full in Cash in accordance with the terms of any agreement between
the applicable Debtor or Reorganized Debtor, as applicable, and such Holder, or as such Allowed
Priority Tax Claim may be due and payable under applicable non-bankruptcy law or in the ordinary
course of business.

                       e.      Post-Effective Date Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Effective Date,
the Reorganized Debtors will, in the ordinary course of business and without any further notice to
or action, order or approval of the Bankruptcy Court, pay in Cash the legal, professional, or other
fees and expenses related to the implementation and consummation of the Plan incurred by the
Reorganized Debtors following the Effective Date. Upon the Effective Date, any requirement that
Professionals comply with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking
retention or compensation for services rendered after such date shall terminate, and each
Reorganized Debtor may employ and pay any professional for services rendered or expenses
incurred after the Effective Date in the ordinary course of business without any further notice to
or action, order or approval of the Bankruptcy Court.

       D.      Classification of Claims and Interests

               1.      Classified Claims and Interests Summary

        The Plan constitutes a separate chapter 11 plan of reorganization for each Debtor. Except
for the Claims addressed in Article II of the Plan, the Debtors have placed all Claims and Interests
into Classes for each of the Debtors. In accordance with section 1123(a)(1) of the Bankruptcy
Code, the Debtors have not classified Administrative Claims, DIP Credit Facilities Claims, or
Priority Tax Claims, as described in Article II of the Plan.

        The summary of Classes of Claims and Interests set forth below classifies Claims and
Interests for all purposes, including, Confirmation and distribution pursuant to the Plan. The Plan
deems a Claim or Interest to be classified in a particular Class only to the extent that the Claim or
Interest qualifies within the description of that Class, and any Claim or Interest shall be deemed
classified in a different Class to the extent that any remainder of such Claim or Interest qualifies
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within the description of such different Class. A Claim or Interest is in a particular Class only to
the extent that such Claim or Interest is Allowed in that Class and has not been paid, released, or
otherwise settled prior to the Effective Date.

       The Plan establishes a comprehensive classification of Claims and Interests. The table
below summarizes the classification, treatment, voting rights, and estimated recoveries of the
Claims and Interests, by Class, under the Plan.

    Class          Claim or Interest             Voting Rights             Treatment           Plan Recovery

       1        Other Priority Claims        Not Entitled to Vote /   Paid in full/                 100%
                                             Presumed to Accept       Unimpaired


       2        Other Secured Claims         Not Entitled to Vote /   Paid in full /                100%
                                             Presumed to Accept       Collateral Returned/
                                                                      Reinstated/
                                                                      Unimpaired
       3        Prepetition ABL Claims       Not Entitled to Vote /   Paid in full/                 100%
                                             Presumed to Accept       Unimpaired
       4        Prepetition Term Loan        Not Entitled to Vote /   Paid in full/                 100%
                Claims                       Presumed to Accept       Unimpaired


       5        General Unsecured            Not Entitled to Vote /   Paid in full/                 100%3
                Claims                       Presumed to Accept       Released/
                                                                      Unimpaired

       6        Intercompany Claims          Not Entitled to Vote /   Reinstated/                   100%
                                             Presumed to Accept       Unimpaired
       7        Interests in MF Holdco       Entitled to Vote         Reinstated/                   <100%
                                                                      potentially subject to
                                                                      dilution/Impaired
       8        Intercompany Interests       Not Entitled to Vote /   Reinstated/                   100%
                                             Presumed to Accept       Unimpaired

                 2.       Classified Claims and Interests Details

       Except to the extent that a Debtor and a Holder of an Allowed Claim or Interest, as
applicable, agree to a less favorable treatment, such Holder shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and
in exchange for such Holder’s Allowed Claim or Interest. Unless otherwise indicated, the Holder



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  As stated above, each Holder of an Allowed General Unsecured Claim that is an Intra-Group Loan Claim has, in
accordance with section 1123(a)(4) of the Bankruptcy Code, agreed to less favorable treatment of such Allowed Intra-
Group Loan Claim. Specifically, each Holder of an Allowed Intra-Group Loan Claim against each Debtor has agreed
to receive no distributions under the Plan solely on account of such Allowed Intra-Group Loan Claims, and the Intra-
Group Loan Guarantees shall be released on the Effective Date.

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of an Allowed Claim or Interest, as applicable, shall receive such treatment on the Effective Date
or as soon as reasonably practicable thereafter.

                       a.      Class 1 – Other Priority Claims

                               (i)    Classification: Class 1 consists of all Other Priority Claims.

                               (ii)    Treatment: Except to the extent that a Holder of an Allowed
Other Priority Claim agrees to less favorable treatment, in exchange for full and final satisfaction,
settlement, release, and discharge of (including any Liens related thereto) each Allowed Other
Priority Claim, each Holder of an Allowed Other Priority Claim shall receive payment in full in
Cash of such Allowed Other Priority Claim on or as soon as reasonably practicable after the last
to occur of (i) the Effective Date, (ii) the date such Other Priority Claim becomes and Allowed
Claim, (iii) the date on which such Allowed Other Priority Claim is due to be paid in the ordinary
course of business of the Debtors or Reorganized Debtors, if applicable, and (iv) the date on which
the Holder of such Allowed Other Priority Claim and the Debtors or Reorganized Debtors shall
otherwise agree in writing.

                                (iii)    Voting: Allowed Other Priority Claims in Class 1 are
Unimpaired. Each Holder of an Allowed Other Priority Claim shall be conclusively presumed to
have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not
be entitled to vote to accept or reject the Plan.

                       b.      Class 2 – Other Secured Claims

                               (i)    Classification: Class 2 consists of all Other Secured
Claims.

                                (ii)   Treatment: Except to the extent that a Holder of an Allowed
Other Secured Claim agrees to less favorable treatment, in exchange for full and final satisfaction,
settlement, release, and discharge of (including any Liens related thereto) each Allowed Other
Secured Claim, each Holder of an Allowed Other Secured Claim shall, in the discretion of the
Reorganized Debtors, receive (i) treatment of such Allowed Other Secured Claim in any manner
that renders the claim Unimpaired, including Reinstatement, (ii) payment in full in Cash, including
the payment of any interest required to be paid under section 506(b) of the Bankruptcy Code, or
(iii) the collateral securing such Allowed Other Secured Claim, in each case on or as soon as
reasonably practicable after the Effective Date.

                                (iii)    Voting: Allowed Other Secured Claims in Class 2 are
Unimpaired. Each Holder of an Allowed Other Secured Claim shall be conclusively deemed to
have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not
be entitled to vote to accept or reject the Plan.

                       c.      Class 3 – Prepetition ABL Claims

                               (i)    Classification:   Class 3 consists of all Prepetition ABL
Claims.


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                                (ii)   Allowance: The Prepetition ABL Claims are Allowed and
will be paid in full by being deemed to roll-up into the DIP ABL Credit Facility pursuant to the
DIP Orders in the full principal amount plus all accrued and unpaid fees, costs, expenses, interest
(at the non-default rate), charges, premiums and other obligations due under the Prepetition ABL
Facility and such Prepetition ABL Claims shall not be subject to recharacterization, subordination,
avoidance or any other claim or defense.

                               (iii)   Treatment: In exchange for full and final satisfaction,
settlement, release, and discharge of (including any Liens related thereto) each Allowed
Prepetition ABL Claim, each Holder of an Allowed Prepetition ABL Claim will receive
indefeasible payment in full of such Allowed Prepetition ABL Claim through the consensual roll-
up of the Allowed Prepetition ABL Claims into the DIP ABL Credit Facility in accordance with
the terms of the DIP Orders and the DIP ABL Credit Facility; provided, however, that all
indemnification obligations of the Debtors arising under the Prepetition ABL Documents in favor
of the Prepetition ABL Agent or any Prepetition ABL Lender, or any of their directors, officers,
employees, agents, affiliates, controlling persons, and legal and financial advisors, shall remain in
full force and effect and be assumed by and enforceable against the Reorganized Debtors on and
after the Effective Date.

                                (iv)     Voting: Allowed Prepetition ABL Claims in Class 3 are
Unimpaired. Each Holder of an Allowed Prepetition ABL Claim shall be conclusively deemed to
have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not
be entitled to vote to accept or reject the Plan.

                       d.      Class 4 – Prepetition Term Loan Claims

                               (i)    Classification: Class 4 consists of all Prepetition Term Loan
Claims.

                               (ii)    Allowance: The Prepetition Term Loan Claims are Allowed
in the full principal amount plus all accrued and unpaid fees, costs, expenses, interest (at the non-
default rate), charges, premiums and other obligations due under the Prepetition Term Loan
Facility, and such Prepetition Term Loan Claims shall not be subject to recharacterization,
subordination, avoidance or any other claim or defense.

                              (iii)   Treatment: In exchange for full and final satisfaction,
settlement, release, and discharge of (including any Liens related thereto) each Allowed
Prepetition Term Loan Claim, each Holder of an Allowed Prepetition Term Loan Claim shall
receive indefeasible payment in full in Cash of such Allowed Prepetition Term Loan Claim on the
Effective Date; provided, however, that all indemnification obligations of the Debtors arising
under the Prepetition Term Loan Documents in favor of the Prepetition Term Loan Lender, or its
directors, officers, employees, agents, affiliates, controlling persons, and legal and financial
advisors, shall remain in full force and effect and be assumed by and enforceable against the
Reorganized Debtors on and after the Effective Date.

                           (iv)   Voting: Allowed Prepetition Term Loan Claims in Class 4
are Unimpaired. Each Holder of an Allowed Prepetition Term Loan Claim shall be conclusively

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deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code and
therefore shall not be entitled to vote to accept or reject the Plan.

                      e.      Class 5 – General Unsecured Claims

                              (i)     Classification: Class 5 consists of all General Unsecured
Claims.

                              (ii)    Allowance: On the Effective Date, the Intra-Group Loan
Claims shall be Allowed.

                              (iii)   Treatment:

                                       (a)    Subject to Article III.B.5.c(ii) and Article
III.B.5.c(iii) of the Plan in respect of Allowed General Unsecured Claims that are Rejection
Damages Claims or Intra-Group Loan Claims, except to the extent that a Holder of an Allowed
General Unsecured Claim agrees to less favorable treatment, in exchange for full and final
satisfaction, settlement, release, and discharge of each Allowed General Unsecured Claim, each
Holder of an Allowed General Unsecured Claim shall receive payment in full of such Allowed
General Unsecured Claim in Cash on or as soon as reasonably practicable after the last to occur of
(x) the Effective Date, (y) the date on which an Allowed General Unsecured Claim is due to be
paid in the ordinary course of business of the Debtors or the Reorganized Debtors, or (z) the date
on which the Holder of an Allowed General Unsecured Claim and the Debtors or Reorganized
Debtors shall otherwise agree in writing.

                                      (b)    Except to the extent that a Holder of an Allowed
General Unsecured Claim that is a Rejection Damages Claim agrees to less favorable treatment,
in exchange for full and final satisfaction, settlement, release, and discharge of each Allowed
Rejection Damages Claim, each Holder of an Allowed Rejection Damages Claim shall receive
payment in full of such Allowed Rejection Damages Claim in Cash on or as soon as reasonably
practicable after the last to occur of (x) the date such Rejection Damages Claim becomes an
Allowed Claim pursuant to Article VII.B.2 of the Plan or (y) the date on which the Holder of an
Allowed Rejection Damages Claim and the Debtors or Reorganized Debtors shall otherwise agree
in writing.

                                      (c)    Each Holder of an Allowed General Unsecured
Claim that is an Intra-Group Loan Claim has, in accordance with section 1123(a)(4) of the
Bankruptcy Code, agreed to less favorable treatment of such Allowed Intra-Group Loan Claim.
Specifically, each Holder of an Allowed Intra-Group Loan Claim against each Debtor has agreed
to receive no distributions under the Plan solely on account of such Allowed Intra-Group Loan
Claims, and the Intra-Group Loan Guarantees by such Debtors shall be released on the Effective
Date.

                               (iv)     Voting: Allowed General Unsecured Claims in Class 5 are
Unimpaired. Each Holder of an Allowed General Unsecured Claim shall be conclusively deemed
to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall
not be entitled to vote to accept or reject the Plan.


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                       f.     Class 6 – Intercompany Claims

                              (i)     Classification: Class 6 consists of all Intercompany Claims.

                              (ii)    Treatment: On the Effective Date, all Intercompany Claims
shall be Reinstated.

                                (iii)    Voting: Allowed Intercompany Claims in Class 6 are
Unimpaired. Each Holder of an Allowed Intercompany Claim shall be conclusively deemed to
have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not
be entitled to vote to accept or reject the Plan.

                       g.     Class 7 – Interests in MF Holdco

                              (i)     Classification:   Class 7 consists of all Interests in MF
Holdco.

                               (ii)  Treatment: On the Effective Date, all Interests in MF
Holdco shall be Reinstated; provided, however, that such Interests shall, if the MF Holdco Stock
is issued to the Exit Term Loan Lenders pursuant to the Exit Term Loan Lender Election, be subject
to dilution by (i) the MF Holdco Stock and (ii) the Interests reserved by MF Holdco for the
Management Incentive Plan.

                              (iii) Voting: Interests in MF Holdco in Class 7 are Impaired.
Each Holder of an Interest in MF Holdco shall be entitled to vote to accept or reject the Plan.

                       h.     Class 8 – Intercompany Interests

                              (i)     Classification:   Class 8 consists of all Intercompany
Interests.

                              (ii)    Treatment: On the Effective Date, Intercompany Interests
shall be Reinstated and the legal, equitable, and contractual rights to which Holders of
Intercompany Interests are entitled shall remain unaltered to the extent necessary to implement the
Plan.

                              (iii)  Voting: Intercompany Interests in Class 8 are Unimpaired.
Each Holder of an Intercompany Interest shall be conclusively deemed to have accepted the Plan
pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to vote to
accept or reject the Plan.

               3.      Special Provisions Regarding Unimpaired Claims

                       a.     Specified Unimpaired Claims

        Notwithstanding anything to the contrary in the Plan, each Holder of an Allowed Other
Priority Claim in Class 1, an Allowed Other Secured Claim in Class 2, an Allowed General
Unsecured Claim in Class 5 other than a Rejection Damages Claim or an Intra-Group Loan Claim,

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or an Allowed Intercompany Claim in Class 6 (each such Allowed Claim, a “Specified Unimpaired
Claim”) shall be entitled to enforce its rights in respect of such Specified Unimpaired Claim against
the Reorganized Debtors until such Specified Unimpaired Claim has been either (a) paid in full in
accordance with applicable law, or on terms agreed to between the Holder of such Specified
Unimpaired Claim and the Debtors or Reorganized Debtors, or in accordance with the terms and
conditions of the applicable documentation or laws giving rise to such Specified Unimpaired Claim
or (b) otherwise satisfied or disposed of as determined by a court of competent jurisdiction.

                                  ARTICLE II.
                      ACCEPTANCE OR REJECTION OF THE PLAN

       A.      Class Entitled to Vote on the Plan

        Holders of Claims in Classes 1–6 and Holders of Interests in Class 8 are Unimpaired under
the Plan and are therefore conclusively presumed to have accepted the Plan pursuant to section
1126(f) of the Bankruptcy Code. Accordingly, no Holders of Claims or Interests in such Classes
shall be entitled to vote to accept or reject the Plan. The following Class is the only Class entitled
to vote to accept or reject the Plan (the “Voting Class”):

              Class       Claim or Interest                          Status

                7         Interests in MF Holdco                     Impaired


        If your Claim or Interest is not included in the Voting Class, you are not entitled to vote
and you will not receive a Solicitation Package, including a Ballot setting forth detailed voting
instructions. If your Claim is included in the Voting Class, you should read your Ballot and
carefully follow the instructions included in the Ballot. Please use only the Ballot that accompanies
this Disclosure Statement or the Ballot that the Debtors otherwise provided to you.

       B.      Votes Required for Acceptance by a Class

        Under the Bankruptcy Code, acceptance of a plan of reorganization by a class of claims or
interests is determined by calculating the amount and, if a class of claims, the number, of claims
and interests voting to accept, as a percentage of the allowed claims or interests, as applicable, that
have voted. Acceptance by a class of claims requires an affirmative vote of more than one-half in
number of total allowed claims in such class that have voted and an affirmative vote of at least
two-thirds in dollar amount of the total allowed claims in such class that have voted. Acceptance
by a class of interests requires an affirmative vote of at least two-thirds in amount of the total
allowed interests in such class that have voted.

       C.      Certain Factors to Be Considered Prior to Voting

       There are a variety of factors that all Holders of Interests entitled to vote on the Plan should
consider prior to voting to accept or reject the Plan. These factors, which may impact recoveries
under the Plan, include the following:



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               •   unless otherwise specifically indicated, the financial information contained in
                   this Disclosure Statement has not been audited and is based on an analysis of
                   data available at the time of the preparation of the Plan and this Disclosure
                   Statement;

               •   although the Debtors believe that the Plan complies with all applicable
                   provisions of the Bankruptcy Code, the Debtors can neither assure such
                   compliance nor that the Bankruptcy Court will confirm the Plan;

               •   the Debtors may request Confirmation without the acceptance of all Impaired
                   Classes entitled to vote in accordance with section 1129(b) of the Bankruptcy
                   Code; and

               •   any delays of either Confirmation or the occurrence of Effective Date could
                   result in, among other things, increased Administrative Expense Claims and
                   Professional Fee Claims.

        While these factors could affect distributions available to Holders of Allowed Claims or
Interests under the Plan, the occurrence or impact of such factors will not necessarily affect the
validity of the vote of the Voting Class or necessarily require a re-solicitation of the votes of
Holders of Interests in the Voting Class.

       For a further discussion of risk factors, please refer to Article VII of the Disclosure
Statement, entitled “Risk Factors.”

       D.      Classes Not Entitled to Vote on the Plan

       Under the Bankruptcy Code, holders of claims and interests are not entitled to vote if their
contractual rights are unimpaired by the proposed plan or if they will receive no property under
the plan. Accordingly, the following Classes of Claims and Interests are not entitled to vote to
accept or reject the Plan:

      Class           Claim or Interest                 Status           Voting Rights
       1      Other Priority Claims                  Unimpaired       Presumed to Accept
       2      Other Secured Claims                   Unimpaired       Presumed to Accept
       3      Prepetition ABL Claims                 Unimpaired       Presumed to Accept
       4      Prepetition Term Loan Claims           Unimpaired       Presumed to Accept
       5      General Unsecured Claims               Unimpaired       Presumed to Accept
       6      Intercompany Claims                    Unimpaired       Presumed to Accept
       8      Intercompany Interests                 Unimpaired       Presumed to Accept




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       E.      Solicitation Procedures

               1.     Solicitation Package

        The following materials constitute the solicitation package (the “Solicitation Package”)
distributed to the Voting Class:

                      •   the Ballot and applicable voting instructions; and

                      •   this Disclosure Statement and all exhibits hereto, including the Plan and
                          all exhibits thereto.

               2.     Distribution of the Solicitation Package

       The Debtors distributed the Solicitation Packages to Holders of Interests in the Voting
Class via electronic mail before 11:59 p.m. prevailing Eastern Time on October 5, 2018 (the
“Voting Deadline”).

       F.      Voting Procedures

       October 3, 2018 (the “Voting Record Date”) is the date that was used for determining which
Holders of Interests are entitled to vote to accept or reject the Plan and receive the Solicitation
Package in accordance with the solicitation procedures. Except as otherwise set forth herein, the
Voting Record Date and all of the Debtors’ solicitation and voting procedures shall apply to all of
the Debtors’ creditors and other parties in interest.

        In order for the Holder of an Interest in the Voting Class to have such Holder’s Ballot
counted as a vote to accept or reject the Plan, such Holder’s Ballot must be properly completed,
executed, and delivered by electronic mail to tabulation@epiqglobal.com (reference “Mattress
Firm” in the subject line) so that such Holder’s Ballot is actually received by the Debtors on or
before the Voting Deadline, i.e. October 5, 2018 at 11:59 p.m. prevailing Eastern Time.

    IF A BALLOT IS RECEIVED AFTER THE VOTING DEADLINE, IT WILL NOT BE
COUNTED UNLESS THE DEBTORS DETERMINE OTHERWISE.

     ANY BALLOT THAT IS PROPERLY EXECUTED BY THE HOLDER OF AN
INTEREST IN THE VOTING CLASS BUT THAT DOES NOT CLEARLY INDICATE AN
ACCEPTANCE OR REJECTION OF THE PLAN, OR ANY BALLOT THAT INDICATES
BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN, WILL NOT BE COUNTED
FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

      EACH HOLDER OF AN INTEREST IN THE VOTING CLASS MUST VOTE ALL OF
ITS CLAIMS WITHIN SUCH CLASS EITHER TO ACCEPT OR REJECT THE PLAN AND
MAY NOT SPLIT SUCH VOTES. BY SIGNING AND RETURNING A BALLOT, EACH
HOLDER OF AN INTEREST IN THE VOTING CLASS WILL CERTIFY TO THE
BANKRUPTCY COURT AND THE DEBTOR THAT NO OTHER BALLOTS WITH RESPECT
TO SUCH CLAIM HAVE BEEN CAST OR, IF ANY OTHER BALLOTS HAVE BEEN CAST
WITH RESPECT TO SUCH CLASS OF CLAIMS, SUCH OTHER BALLOTS INDICATED

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THE SAME VOTE TO ACCEPT OR REJECT THE PLAN. IF A HOLDER CASTS MULTIPLE
BALLOTS WITH RESPECT TO THE VOTING CLASS AND THOSE BALLOTS ARE IN
CONFLICT WITH EACH OTHER, SUCH BALLOTS WILL NOT BE COUNTED FOR
PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

     IT IS IMPORTANT THAT THE HOLDER OF AN INTEREST IN THE VOTING CLASS
FOLLOW THE SPECIFIC INSTRUCTIONS PROVIDED ON SUCH HOLDER’S BALLOT
AND THE ACCOMPANYING INSTRUCTIONS.

                                 ARTICLE III.
                  BUSINESS OVERVIEW AND CORPORATE HISTORY

        A.     Overview of the Debtors’ Business

       Mattress Firm is the largest specialty mattress retailer in the United States by store count
(approximately 3,230) and sales (approximately $3.2 billion for the twelve months ended
September 30, 2018). Mattress Firm is a nationally-recognized brand known for its diverse
product offerings, strong customer service, compelling value proposition, and highly visible and
convenient store locations.

        The Debtors’ core business model relies upon strong industry fundamentals. Mattresses
are a necessity item with a relatively predictable replacement cycle. Long-term demographic
trends (population growth and household formation) in the United States drive demand while
product innovation and health awareness drive consumer interest. Research and experience
indicate that, for mattress purchases, consumers largely continue to prefer brick-and-mortar stores
as compared to online retailers. For that reason, the continuing trend away from brick-and-mortar
stores to online retailers has had a less significant impact on the Debtors compared to other
retailers. Industry awareness initiatives have increased consumer demand for larger-size
mattresses and more premium, higher quality products, and Mattress Firm has consistently
adjusted its mix of product offerings to satisfy consumers’ evolving preferences.

        B.     Corporate History

         Although the Debtors’ founding dates back to 1986, their primary operating entity,
Mattress Firm, was formed in 2002. MFHC, the indirect parent of Mattress Firm, underwent an
initial public offering in November 2011 (NASDAQ: MFRM). Between 2007 and 2016, the
Debtors executed a rapid “roll-up” growth strategy and, through more than 25 acquisitions,
increased their retail store count to more than 3,500 stores. During this time period, the Debtors
increased their pro forma annual revenues to $3.6 billion and grew their market share. The
Debtors’ expansive footprint also increased to include 76 distribution centers, which allow the
Debtors to offer consumers same or next day delivery on many products.

       The following chart illustrates Mattress Firm’s most significant acquisitions during its
growth period from 2007 to 2016:

   Years           Target         Stores                         Markets
 2007          Mattress Pro      36        Texas and Nevada

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                  Mattress Giant      236       Texas, Florida, Georgia, and Missouri
    2011-2012
                  Mattress Xpress     40        Florida
                  Sleep Experts       55        Texas
                  Mattress King                 Colorado and Arizona
                  and Bedmart         67        Illinois (primarily Chicago) and Florida
    2014
                  Back to Bed         131       Arizona
                  Sleep America       45        California, Hawaii, Idaho, Nevada, Oregon and
                  Sleep Train         314       Washington
                                                Northeast, New England, Mid-Atlantic, and Midwest
    2016          Sleepy’s            1,066     (primarily Chicago)
    Total                             1,990

            C.    Retail Store Network

       The Debtors have developed a broad geographical footprint predominantly under the
Mattress Firm® brand name with an established retail store presence across the United States. In
addition to their 3,230 company-owned store locations, the Debtors’ operations also include
approximately 125 franchisee-operated stores in Alaska, Montana, New Mexico, North Dakota,
South Dakota and West Virginia, as well as certain franchised markets, including in Georgia, Iowa,
Mississippi, New York, Oklahoma, South Carolina and Texas, all under the Mattress Firm® brand
name. Including these franchisee-operated stores, the Company has a retail presence in 49 states.
The Debtors rely on their network of 76 nationwide distribution centers to make deliveries to
customers.

       The Debtors are collectively a party to approximately 3,200 retail store leases with
approximately 2,500 different landlords, with (a) Mattress Firm being the tenant party to
approximately 60% of the Debtors’ store leases; (b) Sleepy’s, LLC or The Sleep Train, Inc. being
the tenant party to approximately 36% of the Debtors’ store leases; and (c) seven Debtor
subsidiaries of Mattress Firm being the tenant parties to the remaining 4% of store leases.4

        A typical Mattress Firm® location is a freestanding or “end-cap” (corner) location in a
high-traffic shopping center in a major retail trade area. The Debtors’ stores create a consultative
environment, educating customers on various comfort options before directing them towards the
premium specialty sleep gallery, Value Zone (promotional) or Clearance Center (special buys and
blemished products) sections of the stores.

            D.    Retail Operations and Employees

        The Debtors’ stores carry both a broad assortment of leading national mattress brands,
including Simmons®, Beautyrest®, Chattam & Wells®, Purple™, James & Owen™, Intellibed,
Serta®, and the Debtors’ exclusive in-house brands, including Sleepy’s™ and Tulo™. The Debtors


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 The seven Debtor subsidiaries of Mattress Firm that are counterparties to store leases are: (1) Mattress Giant
Corporation; (2) Maggie’s Enterprises, LLC; (3) Mattress Firm – Arizona LLC; (4) ST San Diego, LLC; (5) Sleep
Country USA, LLC; (6) Mattress Discounters Operations LLC; and (7) Mattress Discounters Group LLC.


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also sell other bedding-related products and accessories, including adjustable bases, bed frames,
mattress toppers, mattress protectors, pillows and bed sheets.

         Concurrently with its rapid expansion, Mattress Firm has allocated resources to improving
the retail experience for its customers and continuing commission-based compensation programs
for its employees. The Debtors invest a significant amount of time and resources in training—
more than 260 hours for a first-year employee—and in culture and career development, which
supports the success of their sales associates and decreases turnover. The Debtors seek to
incentivize and align the goals of their sales associates with those of their own through a
commission-based compensation structure. Through these programs (among others), the Debtors
strive to hire and retain highly motivated, career-oriented employees.

        As of the date hereof, the Debtors had approximately 9,600 full-time employees and
approximately 285 part-time employees (collectively, the “Employees”), all of whom are based in
the United States. The Employees serve in numerous capacities, including, without limitation, as
sales representatives, store managers, district and regional managers, warehouse staff, warehouse
managers, and corporate managers, and they perform various administrative functions for the
Debtors.

       E.      Steinhoff’s Acquisition of Mattress Firm

        In August 2016, approximately five months after Mattress Firm completed its acquisition
of Sleepy’s, the Debtors entered into an Agreement and Plan of Merger (the “Steinhoff Merger
Agreement”) with Steinhoff International Holdings N.V. (“Steinhoff”), a global retailer with more
than 40 brands in 30 countries. Pursuant to the Steinhoff Merger Agreement, Steinhoff acquired
Mattress Firm through the successful completion of a cash tender offer for MFHC’s then-publicly
traded common stock. Steinhoff completed its acquisition of Mattress Firm in September 2016
for a purchase price of approximately $3.8 billion (including assumption of debt), or $64.00 per
share, through Stripes, a newly-formed U.S. subsidiary of Steinhoff. Shortly thereafter, the
Debtors began to accelerate the transition of all of the Debtors’ acquired stores to the Mattress
Firm® brand name.

       F.      Missteps by the Previous Leadership

        Beginning in early 2016, Mattress Firm management pursued an aggressive plan to rebrand
the recently acquired Sleepy’s and Sleep Train stores to the Mattress Firm banner to capture the
longer-term benefits of a national chain. While rapidly rebranding these over 1,300 recently-
acquired stores over a six month period, the Debtors’ previous management team made several
miscalculations, including failing to properly integrate the Debtors’ marketing, merchandising,
and sales teams. This led to inefficiencies throughout the Debtors’ operations that negatively
impacted their bottom line. Moreover, the Debtors’ eCommerce sales were disrupted in 2017 due
to the effect of the accelerated store rebranding on the Sleepy’s and Sleep Train legacy websites.
In addition, the Debtors made the long-term strategic decision to terminate the supply arrangement
with its then largest supplier, causing additional business disruption. The management team also
pursued several well-intentioned, but ill-advised, marketing and sales promotions that contributed
to significant losses for the Debtors in 2017 and early 2018. Against this backdrop, the Debtors’


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adjusted EBITDA declined from positive $251 million in fiscal year (“FY”) 2016 to negative $81
million in FY 2017. The Debtors are projected to lose approximately $150 million in FY 2018.5

           G.       The Turnaround Plan

        On March 1, 2018, Mattress Firm’s former CEO, Steve Stagner, who had been serving as
Executive Chairman and previously served as CEO from February 2010 to March 2016, assumed
the additional responsibilities of President and CEO. Mr. Stagner guided Mattress Firm through
the “Great Recession” in 2008 and 2009, oversaw its successful initial public offering in 2011, and
led Mattress Firm through periods of rapid growth (growing from $400 million in sales to over $3
billion today). Together with a team of experienced senior executives, Mr. Stagner immediately
embarked on implementing a turnaround plan that has demonstrated positive early results,
including positive same store sales growth and improving profitability.

         The turnaround plan is designed to take full advantage of the recently-implemented
divisional operating structure that increases responsiveness to local market conditions. In addition,
the turnaround plan includes five key initiatives: (1) employing clear, concise and competitive
advertising; (2) emphasizing financial accountability with a focus on return on investment,
including improved product sourcing, promotional and store optimization programs; (3) creating
a rewarding in-store customer experience through improved training and execution under the
direction of the divisional leadership structure; (4) improving merchandising productivity with
better product offerings; and (5) enhancing and growing the Debtors’ eCommerce offerings. These
initiatives are already demonstrating results. For example, the Debtors’ 2018 advertising
initiatives are driving units and sales with fewer advertising dollars spent than in 2017, and
eCommerce sales are up more than 15%. The Debtors have also taken steps to begin optimizing
their retail footprint by buying out more than 40 leases in 2018, thus eliminating approximately
$30 million in long-term lease obligations.

        Much more remains to be done, but the turnaround plan and Mr. Stagner’s leadership have
positioned the Debtors to return to profitability once the two structural challenges that are the
primary reasons for these Chapter 11 Cases have been addressed.

           H.       Corporate and Capital Structure

        Mattress Firm is the Debtors’ principal operating entity. Stripes, a non-Debtor entity that
is owned by SEAG, is the direct parent of MFHC, the direct parent of MF Holdco, which, in turn,
indirectly owns all of the equity of Mattress Firm. The Debtor subsidiaries of Mattress Firm are
largely inactive entities without any material assets.

       As of the date hereof, the Debtors owed approximately $87 million under the Prepetition
ABL Facility, in addition to approximately $13 million in outstanding letters of credit (the “LOC”),
and approximately $83 million under the Prepetition Term Loan Facility. In addition, most of the
Debtors are guarantors of approximately $3.1 billion (principal amount) of unsecured debt owed



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    All references are to Mattress Firm’s fiscal years which run from October to September.


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by Stripes to affiliate lenders under the Intra-Group Loan Agreement. Each of these facilities is
summarized here in approximate principal amounts and described in greater detail below:

                                                                                Principal
       Secured Debt               Maturity            Interest Rate
                                                                               Outstanding
                                                                           $87 million
  Prepetition ABL Facility June 2019               Libor + 1.75-2.25%
                                                                           $13 million LOC
  Prepetition Term Loan
                             September 2019        7.5% PIK                $83 million
  Facility
                                TOTAL                                      $183 million

    Intra-Group Loan              Maturity            Interest Rate        Amount Outstanding
  Facility A                 September 2026        6.5%                    $916 million
  Facility B                 September 2026        6.3%                    $2.1 billion
  Facility C                 September 2021        Libor + 1.25%           $200 million
                                TOTAL                                      $3.2 billion

                1.     Prepetition ABL Facility

       Pursuant to that certain ABL Credit Agreement dated as of December 22, 2017 (as
amended by that certain Amendment No. 1 dated as of January 31, 2018, that certain Amendment
No. 2 dated as of February 2, 2018, and that certain Amendment No. 3 dated as of March 26, 2018
(the “Prepetition ABL Facility”)) by and among Mattress Firm as Borrower, Mattress Holding
Corp. and certain subsidiaries of Mattress Firm as Guarantors, Barclays Bank PLC as
Administrative Agent and Collateral Agent, Citizens Bank, N.A. as Co-Collateral Agent, and the
lenders from time to time party thereto (collectively, the “Prepetition ABL Lenders”), pursuant to
which, the Prepetition ABL Lenders provided Mattress Firm with a revolving credit loan in the
aggregate principal amount of up to $150 million, subject to compliance with a borrowing base.

        The obligations of the Debtors under the Prepetition ABL Facility are secured by a first
priority security interest on substantially all of the Debtors’ assets. The Prepetition ABL Facility
matures in June 2019. As of the date hereof, the available borrowings under the Prepetition ABL
Facility were almost fully drawn, with an aggregate principal amount outstanding of approximately
$87 million. The Debtors are unable to access the remaining availability under the Prepetition
ABL Facility due to borrowing base limitations and inventory reserves. Additionally, as of the
date hereof, there are approximately $13 million in issued and undrawn letters of credit under the
Prepetition ABL Facility, which further reduce the Debtors’ borrowing availability.

                2.     Prepetition Term Loan Facility

        Pursuant to that certain Term Loan Agreement dated as of March 26, 2018 (as amended,
restated, modified or supplemented from time to time (the “Prepetition Term Loan Facility”)) by
and among Mattress Firm as Borrower, Mattress Holding Corp. and certain subsidiaries of
Mattress Firm as Guarantors, and Steinhoff, as lender (in that capacity, the “Prepetition Term Loan


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Lender”), Steinhoff agreed to provide Mattress Firm with a multi-draw term secured loan in the
principal amount of $80 million.

        The obligations under the Prepetition Term Loan Facility are secured by a second priority
security interest on substantially all of the Debtors’ assets. The Prepetition Term Loan Facility
matures in September 2019. As of the date hereof, approximately $83 million of obligations,
including accrued and unpaid interest, are outstanding under the Prepetition Term Loan Facility.

               3.      Prepetition Intercreditor Agreement

        The relative lien priorities and contractual rights of the Prepetition ABL Lenders, on the
one hand, and the Prepetition Term Loan Lender, on the other hand, are governed by that certain
Intercreditor Agreement, dated as of March 26, 2018 (as amended, restated, modified or
supplemented from time to time, the “Prepetition Intercreditor Agreement”). The Prepetition
Intercreditor Agreement provides, among other things, that the liens securing the Prepetition ABL
Facility are senior in priority to the liens securing the Prepetition Term Loan Facility.

               4.      Intra-Group Loan Agreement

        Pursuant to that certain affiliate Intra-Group Loan Agreement dated as of September 16,
2016 (as amended, restated, modified or supplemented from time to time, including by that certain
Amendment Agreement dated as of December 22, 2017, the “Intra-Group Loan Agreement”) by
and among Stripes as Borrower and Möbel and Steinhoff Finance Holding GmbH (“Steinhoff
Finance”) as Lenders, Möbel and Steinhoff Finance agreed to lend $3.05 million to Stripes under
three loan facilities: (i) Steinhoff Finance made an unsecured term loan to Stripes in the aggregate
principal amount of $850 million (the “Facility A Loan”); (ii) Möbel made an unsecured term loan
to Stripes in the aggregate principal amount of $2 billion (the “Facility B Loan”); and (iii) Möbel
made unsecured revolving loans to Stripes in the aggregate principal amount of up to $275 million
(the “Facility C Loan”), which was subsequently reduced by $75 million and converted into a term
loan. On September 30, 2017, Steinhoff Finance assigned the Facility A Loan to SEAG. MFHC,
MF Holdco, Mattress Firm, and certain of their Debtor subsidiaries guarantee the obligations of
Stripes under the Intra-Group Loan Agreement.

               5.      RCF Loan to Stripes

        Pursuant to that certain Acquisition Facilities Agreement dated as of August 5, 2016 (as
amended, restated, modified or supplemented from time to time, the “Acquisition Facility
Agreement”), by and among Stripes, SEAG, Möbel and Steinhoff Finance as Borrowers, Steinhoff
as a Guarantor, J.P. Morgan Europe Limited as Agent, and the lenders party thereto from time to
time (collectively the “RCF Lenders”), the RCF Lenders provided unsecured revolving loans to
Stripes in the aggregate principal amount of up to $200 million (the “RCF Loan”). Although none
of the Debtors are borrowers or guarantors under the RCF Loan, the Acquisition Facility
Agreement includes negative covenants that severely limit the Debtors’ ability to incur additional
indebtedness (even on a junior secured or unsecured basis) as long as the RCF Loan remains
outstanding.




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               6.       Unsecured Trade Debt

        As of the date hereof, the Debtors estimate that their unsecured trade debt totals
approximately $160 million. The Debtors are generally current on their trade debt and intend to
remain current on their payments to vendors throughout the Chapter 11 Cases.
Contemporaneously with this Declaration, the Debtors have filed a “First Day Pleading”
seeking the authority to pay all trade creditors in the ordinary course of business during the
pendency of these Chapter 11 Cases. Because Mattress Firm is the Debtors’ main operating entity,
most, if not all, of the trade debt is owed by Mattress Firm.

               7.       General Unsecured Claims

        General Unsecured Claims consist of any Claim against the Debtors that is not an
Administrative Expense Claim, a DIP Credit Facilities Claim, a Priority Tax Claim, an Other
Priority Claim, an Other Secured Claim, a Prepetition ABL Claim, a Prepetition Term Loan Claim,
or an Intercompany Claim, that are neither secured by collateral nor entitled to priority under the
Bankruptcy Code or any order of the Bankruptcy Court.

       Certain of the General Unsecured Claims are also Intra-Group Loan Claims, which include
any Claims derived from, based upon, or relating to the Intra-Group Loan Guarantees, pursuant to
which certain of the Debtors provided unsecured guarantees of Stripes’s obligations under the
Intra-Group Loan Facilities.

        The Debtors’ landlords may also have Rejection Damages Claims in connection with
certain real property leases that may be rejected by the Debtors pursuant to section 365 of the
Bankruptcy Code. Pursuant to the Plan, the Debtors will pay such rejection damages in full, up to
the maximum amounts permitted by section 502(b)(6) of the Bankruptcy Code. Pursuant to the
Bankruptcy Code, such treatment renders Rejection Damages Claims Unimpaired.

       I.      Board of Directors and Management

       Mr. Steve Stagner and Mr. Hendré Ackermann are the directors for Debtor MF Holdco,
and are the directors for each of the other Debtors.

       The following table sets forth the identities of the Debtors’ management team:

             Name                                              Position
     Steve Stagner        Executive Chairman, President and Chief Executive Officer
     Hendré Ackermann     Vice President, Treasurer, Chief Operating Officer and Chief Financial Officer
     Scott McKinney       Deputy Chief Financial Officer
     Scott Thaler         Chief Marketing Officer
     Nathan Bruno         Chief of Staff and Executive Vice President of Business Development
     Randy Carlin         Chief Real Estate Officer
     Kindel Elam          Secretary, Executive Vice President and General Counsel
     Larry Fultz          Chief Human Capital Officer
     Jonathan Sider       Chief Information Officer



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        Pursuant to section 1129(a)(5) of the Bankruptcy Code, to the extent that there are
anticipated changes in the Reorganized Debtors’ directors and officers under the terms of the Exit
Term Loan Facility or otherwise, the Debtors will identify those changes in their brief in support
of Confirmation of the Plan to be filed in these Chapter 11 Cases. After the Effective Date, the
Reorganized Debtors’ organizational documents, as each may be amended thereafter from time to
time, shall govern the designation and election of directors of the Reorganized Debtors.

                                  ARTICLE IV.
                     EVENTS LEADING TO THE CHAPTER 11 CASES

        A.      The Debtors Need Immediate Access to Additional Liquidity

        As described above, the Debtors are nearly fully drawn on the Prepetition ABL Facility
and the Prepetition Term Loan Facility, and negative covenants under the RCF Loan to Stripes
severely restrict the Debtors’ ability to incur additional indebtedness (even on a junior secured or
unsecured basis) outside of bankruptcy. Moreover, based on the negotiations that led to the
formulation of the Plan (discussed below), it would not be possible for the Debtors to refinance
their existing credit facilities and obtain sufficient additional capital for their future operating needs
without first right-sizing their real estate portfolio.

        The Debtors sorely need additional funding in order to continue their operations without
interruption. As previously indicated, however, the Debtors’ existing sources of financing have
been exhausted. The Debtors have determined that they would only be able to obtain incremental
financing for their near term operations if potential lenders were able to avail themselves of the
protections afforded by the Bankruptcy Code for debtor in possession financing. And the only
way the Debtors have been able to secure a commitment for a long-term financing facility is in the
context of, and is contingent upon, the comprehensive restructuring, including the real estate
optimization, contemplated by the Plan.

        B.      Mattress Firm Must Optimize Its Retail Store Network

         As discussed above, Mattress Firm’s three largest and most impactful acquisitions occurred
in 2014 and 2016 (Back to Bed, Sleep Train and Sleepy’s, respectively). With the Back to Bed,
Sleep Train and Sleepy’s acquisitions, Mattress Firm added an additional 1,531 stores in the
Northeast/Chicago/Mid-Atlantic (Sleepy’s), Chicago/Florida (Back to Bed) and West Coast (Sleep
Train) markets to its real estate portfolio. While these acquisitions allowed the Debtors to achieve
immediate scale and presence in markets where they previously had little to no presence, they also
led to the “cannibalization” of sales amongst stores in close proximity to each other. This problem
was compounded in late 2016 and early 2017, when the Sleep Train and Sleepy’s stores were re-
branded as Mattress Firm stores. As a result, many Mattress Firm stores are in direct competition
with other Mattress Firm stores, resulting in disappointing sales performance by many stores in
Mattress Firm’s retail network. These under-productive stores are burdening the Debtors with
excessive fixed costs on long term leases and are diverting sales away from other, more profitable
locations.

        In 2016, the Debtors announced a plan to cull underperforming and competing stores from
their real estate portfolio. The Debtors, in consultation with their advisors, analyzed store-level

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earnings, occupancy costs, and other data and identified certain stores that are underperforming or
directly competing with other Mattress Firm stores. The Debtors achieved some cost savings
through their initial closures of ninety stores in 2016 and 2017, along with forty additional store
closures in 2018, not including store closures through natural lease expirations. In connection with
these store closures, the Debtors discovered that nearby stores recaptured a meaningful portion of
sales from the recently closed locations. The Debtors need to close significantly more stores in
order to reduce their fixed costs, maximize the profitability of their remaining locations, and stem
their significant operating losses and they simply cannot afford to wait until the leases for all of
their underperforming stores expire by their terms. Moreover, the Debtors have learned that
potential lenders are not willing to provide additional financing until the Debtors right-size their
real estate portfolio and reduce their fixed costs. Although the Debtors continued to negotiate
consensual buyouts of leases throughout the last ten months, by the summer of 2018 the Debtors
determined that an in-court restructuring was the only viable solution that would allow the Debtors
to quickly and efficiently optimize their retail store portfolio, provide the Debtors with access to
much needed liquidity, and return the Debtors to profitability in the near term.

       C.      The Debtors’ Plan of Reorganization and Path to Exiting Bankruptcy

        Shortly after securing the Prepetition Term Loan Facility in March 2018, the Debtors began
to evaluate their strategic options in light of continuing liquidity pressures, the anticipated need
for additional funding in the near future, the upcoming maturities of their credit facilities in 2019,
and the requirements associated with executing on management’s turnaround plan. As a result of
this analysis, the Debtors concluded that a pre-packaged Chapter 11 filing would allow the Debtors
to obtain immediate access to much-needed additional liquidity, quickly and efficiently rationalize
their real estate portfolio, and make themselves more attractive to new sources of capital.

        The Debtors estimate that they will require up to $100 million of additional liquidity in
order to support their day-to-day operations and administrative costs throughout the pendency of
these Chapter 11 Cases. In order to secure this necessary funding, the Debtors have sought and
obtained, and will be seeking interim and final approval of (i) a $150 million Senior Secured
Superpriority Debtor-in-Possession Revolving ABL Credit Facility (the “DIP ABL Credit
Facility”), and (ii) a $100 million Senior Secured Superpriority Debtor-in-Possession Term Loan
Credit Facility (the “DIP Term Loan Credit Facility” and collectively, the “DIP Credit Facilities”).
Subject to Court approval, the Debtors plan to use the DIP ABL Credit Facility to roll-up the
Prepetition ABL Facility, and to use the proceeds of the DIP Term Loan Credit Facility to fund
the administration of these Chapter 11 Cases.

       At emergence, the Debtors estimate that they will need up to $400 million to fully repay
outstanding amounts under the DIP Credit Facilities and the Prepetition Term Loan, pay all
administrative expenses, and provide sufficient liquidity for their operations post-emergence. The
Debtors anticipate that, upon their emergence from these Chapter 11 Cases, their capital structure
will consist of the up to $125 million Exit ABL Facility, which may be initially undrawn, and the
$400 million Exit Term Loan Facility. The Debtors have obtained commitment letters for the Exit
Term Loan Facility and intend to finalize the definitive documentation for those facilities prior to
the Confirmation Hearing.



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       D.      The Steinhoff Lockup Agreement and Negotiations with the SEAG Creditors

        Following the disclosure of certain accounting irregularities at Steinhoff in late 2017,
Steinhoff engaged in restructuring discussions with the creditors of SEAG and Steinhoff Finance,
the two principal finance companies within Steinhoff’s European business. These companies were
historically used to raise funds to support Steinhoff’s European and U.S. businesses and
accordingly had large primary debt obligations. Those discussions culminated in the
announcement, on July 11, 2018, that Steinhoff had launched a consent process for a lockup
agreement (the “Steinhoff Lockup Agreement”) in connection with the restructuring of the
financial indebtedness of Steinhoff, SEAG, Steinhoff Finance and Stripes. The Steinhoff Lockup
Agreement, which became effective on July 20, 2018, imposes agreed limited recourse and
standstill obligations on the consenting creditors in order to facilitate the implementation of a
global restructuring that, among other things, will modify the terms of the external debts of
Steinhoff, SEAG, Steinhoff Finance and Stripes and extend all relevant maturities by three years.

        The Steinhoff Lockup Agreement contemplates a restructuring of Steinhoff, SEAG,
Steinhoff Finance and Stripes through consent agreements, a company voluntary arrangement in
the United Kingdom, and a potential scheme of arrangement in the United Kingdom (collectively,
the “Steinhoff Global Restructuring”). Pursuant to the Steinhoff Global Restructuring, the RCF
Loan to Stripes will be converted into new debt instruments to be issued by SEAG. This aspect of
the Steinhoff Global Restructuring will be implemented either with the consent of the RCF Lenders
or pursuant to a scheme of arrangement for Stripes in the United Kingdom (the “Stripes
Restructuring”).

         Pursuant to the terms of the commitment letter for the Exit Term Loan Facility, the
conditions to the effectiveness of the Plan include that either (i) the Stripes Restructuring shall
have been consummated (in which case the equity and the payment-in-kind debt will be issued by
Stripes to the lenders under the Exit Term Loan Facility), or (ii) if the Stripes Restructuring has
not been consummated, the results of the diligence into the U.S. tax impacts of the Plan and the
transactions contemplated in the Plan are complete and satisfactory as required by the Exit Term
Loan Facility (in which case the equity and the payment-in-kind debt will be issued by MF Holdco
to the lenders under the Exit Term Loan Facility).

        As of August 17, 2018, 92.12% of the financial creditors of SEAG and 90.87% of the
financial creditors of Stripes had signed on to the Steinhoff Lockup Agreement.

        Beginning in August 2018, the Debtors engaged in productive discussions with Steinhoff
and certain creditors of SEAG (collectively, the “SEAG Creditors”) regarding the terms of the
Plan, the Debtors’ need for DIP and exit financing, and various other aspects of these Chapter 11
Cases. The complex and intense restructuring negotiations among the Debtors, the SEAG
Creditors and Steinhoff were driven by the Debtors’ liquidity needs and ultimately concluded with
the provision of necessary, backstopped debtor-in-possession to exit financing in the form of the
DIP Credit Facilities and the Exit Facilities. The provision of backstopped financing is the
cornerstone of the Debtors’ restructuring efforts. Without immediate access to capital, and the
assurance of liquidity on exit, the Debtors’ would have a significantly more difficult path to
successfully emerging from these Chapter 11 Cases.


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         The agreements among the parties to the restructuring negotiations are reflected in the Plan
Support Agreement entered into by Steinhoff, Steinhoff Finance, Möbel, SEAG, Stripes, MFHC,
MF Holdco, Mattress Holding Corp., and Mattress Firm, Inc., a copy of which is attached hereto
as Exhibit C, and the financing agreements and commitments attached thereto. Pursuant to the
Plan Support Agreement the parties thereto agreed to and have taken certain actions prior to the
date hereof, and agreed to the filing of the Chapter 11 Cases and to the terms of and to support the
Plan. Under the terms of the Plan Support Agreement, (i) Steinhoff has agreed to contribute to
Steinhoff Finance, and Steinhoff Finance has agreed to contribute to Möbel, and Möbel then
transferred to SEAG, 100% of the common stock of Stripes, (ii) Steinhoff agreed to the priming
of its liens under the Prepetition Term Loan Facility, (iii) SEAG and Möbel consented to the
release of all claims against the Debtors under the Intra-Group Loan Agreement on the effective
date of the Plan, and (iv) Steinhoff, Möbel, SEAG, Stripes, MFHC, and MF Holdco consented to
the reservation and issuance of the equity and the issuance of payment-in-kind debt to be issued in
Stripes or MF Holdco immediately after the Effective Date for the benefit of the management of
the Reorganized Debtors pursuant to a management incentive plan, as described in the Plan.

                                    ARTICLE V.
                           OTHER KEY ASPECTS OF THE PLAN

       A.      Distributions

        One of the key concepts under the Bankruptcy Code is that only claims and interests that
are “allowed” may receive distributions under a chapter 11 plan. This term is used throughout the
Plan and the descriptions below. In general, an Allowed Claim or Interest means that the Debtors
agree, or if there is a dispute, the Bankruptcy Court determines, that the Claim or Interest, and the
amount thereof, is in fact a valid obligation of the Debtors. A detailed discussion of the treatment
and anticipated means of satisfaction for each Class of Allowed Claims or Interests is set forth in
Article I.C and Article I.D above.

       B.      Exit Facilities

        On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities and
provide any related guarantees, and the Exit Facilities shall be made available to the Reorganized
Debtors pursuant and subject to the terms and conditions set forth in the Exit Facility Documents.
Pursuant to the terms of the Exit Term Loan Facility the Exit Term Loan Lenders shall make the
Exit Term Loan Lender Election on or prior to the Effective Date and shall receive either the (1) the
Stripes Stock and the Stripes PIK Debt or (2) the MF Holdco Stock and the MF Holdco PIK Debt
on the Effective Date.

        The Confirmation Order shall constitute approval of the Exit Facilities (including the
transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
obligations to be incurred and fees paid by the Reorganized Debtors in connection therewith), and
authorization for the Reorganized Debtors to enter into and perform under the Exit Facility
Documents and such other documents as may be required or appropriate.




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       C.      Intra-Group Loan Facilities

        For the avoidance of doubt, except as provided in Article III.B.5.c.iii of the Plan with
respect to the release of the Intra-Group Loan Guarantees, no provision of the Plan including the
releases granted under Article X.D.2 of the Plan, shall constitute a discharge, release, or other
modification of the Intra-Group Loan Facilities or the obligations of Stripes or its non-Debtor
Affiliates thereunder. Pursuant to the Plan Support Agreement, SEAG and Möbel have agreed to
contribute the Intra-Group Loan Claims (other than the Intra-Group Loan Guarantees, which are
released under the Plan) to the share capital of Stripes, and to release the guarantee by MFHC in
respect of the Intra-Group Loan Facilities, provided that the conditions to such contribution and
release specified in the Plan Support Agreement are met.

       D.      Corporate Action

       Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized,
approved, and, to the extent taken prior to the Effective Date, ratified in all respects without any
requirement of further action by stockholders, members, creditors, directors, or managers of the
Debtors, the Reorganized Debtors, or any other Entity.

       E.      Continued Legal Existence and Vesting of Assets in the Reorganized Debtors

        Except as otherwise provided in the Plan, each of the Debtors shall continue to exist on and
after the Effective Date as a separate corporation, limited liability company, or other form of
Entity, as the case may be, with all of the powers of such Entity under applicable law in the
jurisdiction in which each Debtor is organized, incorporated, or otherwise formed and pursuant to
such Debtor’s articles of incorporation or formation, operating agreement, by-laws (or other
analogous formation and governance documents) in effect immediately prior to the Effective Date
(provided that such organizational documents shall be amended to prohibit the Reorganized Debtor
from issuing non-voting equity securities, to the extent necessary to comply with section 1123(a)
of the Bankruptcy Code), without prejudice to any right of the Reorganized Debtors to terminate
such existence (whether by merger or otherwise) under applicable law after the Effective Date. In
accordance with Article X.B of the Plan, and except as explicitly provided in the Plan, on the
Effective Date, all property comprising the Estates shall vest in the Reorganized Debtors.

       F.      Preservation of Causes of Action

         In accordance with section 1123(b)(3) of the Bankruptcy Code, but subject to the releases
set forth in Article X.D.1 of the Plan, all Causes of Action that a Debtor may hold against any
Entity shall vest in the applicable Reorganized Debtor on the Effective Date. Thereafter, the
Reorganized Debtors shall have the exclusive right, authority, and discretion to determine and to
initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
judgment any such Causes of Action, whether arising before or after the Petition Date, and to
decline to do any of the foregoing without the consent or approval of any third party or further
notice to or action, order, or approval of the Bankruptcy Court. No Entity may rely on the
absence of a specific reference in the Plan or this Disclosure Statement to any specific Cause
of Action as any indication that the Debtors or Reorganized Debtors, as applicable, will not
pursue any and all available Causes of Action. The Debtors or Reorganized Debtors, as

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applicable, expressly reserve all rights to prosecute any and all Causes of Action against any
Entity, except as otherwise expressly provided in the Plan, and, therefore, no preclusion
doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable or otherwise) or laches, shall apply to any Cause of Action
upon, after, or as a consequence of the Confirmation or the occurrence of the Effective Date.

       G.      Management Incentive Plan

        In accordance with the terms of the Plan Support Agreement and the Exit Term Loan
Facility, certain of the Reorganized Debtors’ senior management shall be entitled to participate in
the Management Incentive Plan, the terms of which shall become effective only after the Effective
Date. The Management Incentive Plan is a post-bankruptcy incentive plan and provides no awards
for actions taken by any of the Debtors’ employees during the Chapter 11 Cases. Pursuant to the
terms of the Plan Support Agreement, Steinhoff Holdings, Steinhoff Finance, Möbel, SEAG,
Stripes, and MFHC consent to (A) the issuance of 10% (on a fully-diluted basis) of the stock in
either (1) Stripes, if the Stripes Stock is issued pursuant to the Exit Term Loan Lender Election, or
(2) MF Holdco, if the MF Holdco Stock is issued pursuant to the Exit Term Loan Lender Election
to members of senior management of the Reorganized Debtors following the Effective Date, with
all matters relating to vesting of such stock based on time and performance to be determined by a
majority vote of the board of directors of Stripes or MF Holdco, as applicable, following the
Effective Date, and (B) the issuance of 10% of the principal amount of (1) the Stripes PIK Debt if
the Stripes PIK Debt is issued pursuant to the Exit Term Loan Lender Election, or (2) the MF
Holdco PIK Debt, if the MF Holdco PIK Debt is issued pursuant to the Exit Term Loan Lender
Election, to members of senior management of the Reorganized Debtors following the Effective
Date, with the allocations thereof to be determined by a majority vote of the board of directors of
Stripes or MF Holdco, as applicable, with respect to which each of the directors is provided an
opportunity to vote following the Effective Date of the Plan in a way that avoids triggering adverse
tax consequences for such members of senior management or, in the alternative, compensation of
comparable value in a form to be reasonably agreed upon ((A) and (B) collectively, the
“Management Incentive Plan”).

       H.      Workers’ Compensation Programs

        As of the Effective Date, the Reorganized Debtors will continue to honor their obligations
under (1) all applicable workers’ compensation laws in states in which the Reorganized Debtors
operate; and (2) the Debtors’ (a) written contracts, agreements, and agreements of indemnity, in
each case relating to workers’ compensation, (b) self-insured workers’ compensation bonds,
policies, programs, and plans for workers’ compensation and (c) workers’ compensation
insurance.

       I.      Operations Between the Confirmation Date and the Effective Date

        During the period from the Confirmation Date to and including the Effective Date, the
Debtors may continue to operate their business as debtors in possession in the ordinary course,
subject to all applicable orders of the Bankruptcy Court and the provisions of the Bankruptcy Code.




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         J.     Treatment of Executory Contracts and Unexpired Leases

                1.     Assumption of Executory Contracts and Unexpired Leases

       On the Effective Date, all Executory Contracts or Unexpired Leases, including the Plan
Support Agreement, shall be deemed assumed by the applicable Reorganized Debtor under the
Plan in accordance with the provisions and requirements of sections 365 and 1123 of the
Bankruptcy Code (each an “Assumed Contract” or “Assumed Lease”), unless any such Executory
Contract or Unexpired Lease:

                       a.     has previously been rejected by a Final Order of the Bankruptcy
Court;

                       b.     has previously been rejected by an order of the Bankruptcy Court as
of the Effective Date, which order becomes a Final Order after the Effective Date;

                      c.     is the subject of a Rejection Motion or Lease Rejection Notice
pending as of the Effective Date and is subsequently rejected by a Final Order of the Bankruptcy
Court; or

                        d.     is identified on the Schedule of Post-Effective Date Negotiated
Leases as an Unexpired Lease as to which the counterparty has consented in writing to the Debtors’
deferral of their decision to assume or reject for a period of up to ninety (90) days immediately
following the Effective Date; provided, however, that the Debtors or the Reorganized Debtors, as
applicable, may assume any Unexpired Lease identified on the Schedule of Post-Effective Date
Negotiated Leases at any time before termination of the Post-Effective Date Lease Negotiation
Period on such terms as may be agreed with the relevant counterparty thereto.

         The Debtors will not assign any Executory Contracts or Unexpired Leases pursuant to the
Plan.

        Entry of the Confirmation Order will constitute findings by the Bankruptcy Court that
(a) the Reorganized Debtors have properly provided for the cure of any defaults that might have
existed consistent with the requirements of section 365(b)(1) of the Bankruptcy Code; (b) each
assumption is in the best interest of the Reorganized Debtors, their Estates, and all parties in
interest in the Chapter 11 Cases; and (c) the requirements for assumption of any Executory
Contract or Unexpired Lease to be assumed have been satisfied. Except as otherwise provided in
the following sentence, defaults under Assumed Contracts and Assumed Leases will be cured by
being Reinstated, and all Claims under any Assumed Contract or Assumed Lease will be paid by
the Reorganized Debtors on the Effective Date or as soon as reasonably practicable thereafter. In
the event of a dispute as to the amount necessary to satisfy any Claim under section 365(b)(1) of
the Bankruptcy Code, such Claim shall be paid upon the later of (i) a settlement of such dispute
between the Reorganized Debtors and the relevant Holder and (ii) entry of a Final Order resolving
such dispute; provided, however, that if a counterparty’s objection to the amount necessary to
satisfy a Claim under section 365(b)(1) of the Bankruptcy Code is sustained, the Reorganized
Debtors may elect, in their discretion, to reject such Executory Contract or Unexpired Lease in
lieu of assuming such Executory Contract or Unexpired Lease.


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               2.      Rejection of Executory Contracts and Unexpired Leases

        Executory Contracts and Unexpired Leases that are the subject of a Rejection Motion or a
Lease Rejection Notice will be deemed rejected on the date specified in the Final Order authorizing
such rejection. The Debtors reserve the right, at any time prior to the Effective Date (subject to
the following paragraph in respect of the Schedule of Post-Effective Date Negotiated Leases), to
file one or more motions requesting authorization to reject any Executory Contract or Unexpired
Lease and/or file one or more Lease Rejection Notices, and to remove any Executory Contract or
Unexpired Lease from any such Rejection Motion or Lease Rejection Notice. The Debtors are
authorized to abandon any Remaining Property at or on the leased premises subject to an
Unexpired Lease rejected by a Final Order, and the counterparties to the rejected Unexpired Leases
may dispose of any such Remaining Property at or on the subject premises on the applicable lease
rejection effective date in accordance with the terms and provisions of the Lease Rejection
Procedures Order or any Final Order authorizing such rejection.

        Notwithstanding anything to the contrary in the Plan, the Debtors and Reorganized Debtors
will be entitled to file one or more Lease Rejection Notices after the Effective Date within three
(3) Business Days after the termination of the Post-Effective Date Lease Negotiation Period to
reflect their decision, if any, to reject Unexpired Leases of nonresidential real property listed on
the Schedule of Post-Effective Date Negotiated Leases.

       K.      Provisions for Resolving Disputed Claims

        On and after the Effective Date of the Plan, the Debtors or the Reorganized Debtors will
retain any and all of their rights and defenses such Debtor had with respect to any Claim that
existed immediately before the Effective Date.

               1.      Claims Other than Rejection Damages Claims

       Subject to Article VII.B of the Plan in respect of Rejection Damages Claims, the Debtors
and the Reorganized Debtors may contest the amount and validity of any disputed, contingent, or
unliquidated Claim in the ordinary course of business in the manner and venue in which such
Claim would have been determined, resolved, or adjudicated if the Chapter 11 Cases had not been
commenced. No Proofs of Claim need be filed for any Claims other than Rejection Damages
Claims.

               2.      Rejection Damages Claims

                       a.     Proofs of Claim for Rejection Damages Claims

        If the rejection of an Executory Contract or Unexpired Lease results in a Rejection
Damages Claim, then such Claim shall be forever barred and shall not be enforceable against the
Debtors or the Reorganized Debtors or their properties, or any of their interests in properties as
agent, successor or assign, unless a Proof of Claim is filed with the Claims and Noticing Agent
and served upon counsel to the Reorganized Debtors no later than the Rejection Damages Claims
Bar Date. The Debtors shall give notice of the Rejection Damages Claims Bar Date established
by Article VI.B of the Plan and provide a Proof of Claim form (i) to the counterparties to rejected
Executory Contracts or Unexpired Leases as of the Effective Date by service of the Notice of

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Effective Date, and (ii) to the counterparties to the Unexpired Leases of nonresidential real
property listed on the Schedule of Post-Effective Date Negotiated Leases that are subject to
Rejection Notices after the Effective Date by service of such Rejection Date.

                       b.      Allowance of Rejection Damages Claims

       No Rejection Damages Claim will become an Allowed Claim unless and until (i) a Proof
of Claim is timely filed on account of such Claim and (ii) such Claim is (x) Allowed pursuant to a
Final Order or (y) settled or compromised between the applicable Debtor and the counterparty to
the applicable Executory Contract or Unexpired Lease.

                       c.      Administration of Rejection Damages Claims

         Except as otherwise provided in the Plan and notwithstanding any requirements that may
be imposed by Bankruptcy Rule 9019, after the Effective Date the Reorganized Debtors will have
the authority to: (a) file, withdraw, or litigate to judgment objections to Rejection Damages Claims;
(b) settle or compromise any disputed Rejection Damages Claim that has not yet been Allowed or
Disallowed without any further notice to or action, order, or approval by the Bankruptcy Court;
and (c) administer and adjust the Claims Register to reflect any such settlements or compromises
without further notice to or action, order, or approval by the Bankruptcy Court.

                       d.      Time to File Objections to Rejection Damages Claims

       Any objection to a Rejection Damages Claim must be filed on or before the Claims
Objection Deadline, which shall be on the date that is 180 days after the applicable Rejection
Damages Bar Date, subject to extension by order of the Bankruptcy Court.

                       e.      Adjustment to Claims Register Without Objection

        The Debtors or the Reorganized Debtors may adjust and expunge any duplicate Claim, any
Claim that has been paid or satisfied, or any claim that has been amended or superseded, upon
stipulation between the parties without the need for a Claims objection to be filed and without any
further notice to or action, order, or approval of the Bankruptcy Court.

       L.      Discharges, Releases, Exculpations and                Injunctions;     Survival    of
               Indemnification and Exculpation Obligations

               1.      Discharge

                       a.      Discharge of the Debtors

        Except as otherwise provided in the Plan or in the Confirmation Order (including to
the extent any Claims are Reinstated under the Plan), all consideration distributed under the
Plan shall be in exchange for, and in complete satisfaction, settlement, discharge, and release
of, all Claims of any nature whatsoever against the Debtors or any of their assets or
properties and, regardless of whether any property shall have been abandoned by order of
the Bankruptcy Court, retained, or distributed pursuant to the Plan on account of such
Claims, upon the Effective Date, each of the Debtors shall be deemed discharged and released

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under section 1141(d)(1)(A) of the Bankruptcy Code from any and all Claims, including, but
not limited to, demands and liabilities that arose before the Effective Date, and all debts of
the kind specified in section 502 of the Bankruptcy Code, whether or not (a) a Proof of Claim
based upon such debt is filed or deemed filed under section 501 of the Bankruptcy Code,
(b) a Claim based upon such debt is Allowed under section 502 of the Bankruptcy Code, (c) a
Claim based upon such debt is or has been disallowed by order of the Bankruptcy Court, or
(d) the Holder of a Claim based upon such debt is deemed to have accepted the Plan.

                      b.     Discharge Injunction

        As of the Effective Date, except as explicitly provided in the Plan or the Confirmation
Order, all Entities shall be precluded from asserting against the Debtors or the Reorganized
Debtors any Claims, debts, rights, causes of action, claims for relief, liabilities, or equity
interests relating to the Debtors that have been released, discharged, or exculpated pursuant
to the Plan and which are based upon any act, omission, transaction, occurrence, or other
activity of any nature that occurred prior to the Effective Date. In accordance with the
foregoing, except as explicitly provided in the Plan or the Confirmation Order, the
Confirmation Order shall be a judicial determination of discharge of all Claims and other
debts and liabilities against the Debtors pursuant to section 524 and 1141 of the Bankruptcy
Code, and such discharge shall void any judgment obtained against the Debtors at any time
to the extent such judgment relates to a discharged Claim.

              2.      Releases

                      a.     Releases by the Debtors

        As of the Effective Date, except (i) for the right to enforce the Plan or any right or
obligation arising under the Definitive Documents or an assumed contract that remains in
effect or becomes effective after the Effective Date or (ii) as expressly provided in the Plan
or the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code, for good
and valuable consideration, the adequacy of which is hereby confirmed, including, without
limitation, the service of the Released Parties to facilitate and implement the reorganization
of the Debtors, as an integral component of the Plan, as of the Effective Date, the Debtors,
the Reorganized Debtors, and each of their respective current and former Affiliates (with
respect to non-Debtors, to the extent permitted by applicable law), on behalf of themselves
and their respective Estates, including, without limitation, any successor to the Debtors or
any Estate representative appointed or selected pursuant to the Bankruptcy Code, shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release, waive, void, extinguish, and discharge, each and all of the Released Parties
of and from any and all Causes of Action (including, without limitation, Avoidance Actions),
any and all other Claims, Interests, obligations, rights, demands, suits, judgments, damages,
debts, remedies, losses and liabilities of any nature whatsoever (including any derivative
claims or Causes of Action asserted or that may be asserted on behalf of the Debtors, the
Reorganized Debtors, or their Estates), whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transaction, event, or other

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circumstance taking place or existing on or before the Effective Date (including before the
Petition Date) in connection with or related to the Debtors, the Reorganized Debtors, their
respective assets and properties, and the Estates, the Chapter 11 Cases, the Plan Support
Agreement, the DIP Credit Facilities, the Intra-Group Loan Guarantees, the Prepetition
Debt Documents, the Plan, the Disclosure Statement, and any related agreements,
instruments, and other documents created or entered into before or during the Chapter 11
Cases, the pursuit of Confirmation, the administration and implementation of the Plan,
including the distribution of property under the Plan, the execution and delivery of the Exit
Facilities, or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date related
or relating to the foregoing. Notwithstanding anything to the contrary in the foregoing, the
releases set forth in Article X.D.1 of the Plan shall not be construed as (a) releasing any
Released Party from Causes of Action arising from an act or omission that is judicially
determined by a Final Order to have constituted actual fraud, willful misconduct, or gross
negligence, or (b) releasing any post-Effective Date obligations of any Entity under the Plan
or any document, instrument, or agreement executed to implement the Plan or Reinstated
under the Plan.

                     b.      Releases by Certain Holders of Claims

        Except as expressly provided in the Plan or the Confirmation Order, as of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including, without limitation, the service of the Released Parties to facilitate the
reorganization of the Debtors, as an integral component of the Plan, each Releasing Party
shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release, waive, void, extinguish, and discharge each Debtor,
Reorganized Debtor, and other Released Party from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, Causes of Action, damages, debts, remedies,
losses and liabilities of any nature whatsoever, including any derivative Claims or Causes of
Action asserted or that may be asserted on behalf of the Debtors, the Reorganized Debtors,
or their Estates, that such Releasing Party would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
contract, tort or otherwise, based on or relating to, or in any manner arising from, in whole
or in part, any act, omission, transaction, event, or other circumstance taking place or
existing on or before the Effective Date (including before the Petition Date) in connection
with or related to the Debtors, the Reorganized Debtors, their respective assets and
properties, and the Estates, the Chapter 11 Cases, the Plan Support Agreement, the DIP
Credit Facilities, the Intra-Group Loan Guarantees, the Prepetition Debt Documents, the
Plan, or this Disclosure Statement, the Exit Facilities, and any related agreements,
instruments, and other documents created or entered into before or during the Chapter 11
Cases the pursuit of Confirmation, the administration and implementation of the Plan,
including the distribution of property under the Plan, or any other related agreement, or
upon any other act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date related or relating to the foregoing; provided, however,
that the releases set forth in Article X.D.2 of the Plan shall not constitute a release of any

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claims held by the Intra-Group Lenders other than with respect to the Intra-Group Loan
Guarantees. Notwithstanding the foregoing, the releases set forth in Article X.D.2 of the
Plan shall not be granted or be deemed to have been granted by any Entity who returns the
Opt-Out Election Form, within thirty (30) days after entry of the Effective Date, to the
address specified on the Opt-Out Election Form, specifying that such Entity elects not to
grant the releases contained in Article X.D.2 of the Plan.

              3.      Exculpation

        From and after the Effective Date, the Exculpated Fiduciaries and, solely to the extent
provided by section 1125(e) of the Bankruptcy Code, the Section 1125(e) Parties, shall neither
have nor incur any liability to, or be subject to any right of action by, any Holder of a Claim
or an Interest, or any other party in interest, or any of their respective Affiliates, employees,
representatives, financial advisors, attorneys, or agents acting in such capacity, or any of
their successors or assigns, for any act, omission, transaction, event, or other circumstance
in connection with or related to the Debtors, the Reorganized Debtors, their respective assets
and properties, and the Estates, the Chapter 11 Cases, the Plan Support Agreement, the DIP
Credit Facilities, the Intra-Group Loan Guarantees, the Exit Facilities, the Prepetition Debt
Documents, the Plan, or the Disclosure Statement, the pursuit of Confirmation, the
administration and implementation of the Plan, including the distribution of property under
the Plan, or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence related or relating to the foregoing; provided,
however, that Article X.D of the Plan shall not apply to release (1) obligations under the Plan
and the contracts, instruments, releases, agreements, and documents delivered, Reinstated
or assumed under the Plan or (2) any Claims or Causes of Action arising out of fraud, willful
misconduct or gross negligence as determined by a Final Order.

       Each of the Exculpated Parties shall be entitled to rely, in all respects, upon the
reasonable and informed advice of counsel with respect to their duties and responsibilities
under the Plan.

              4.      Injunctions

                      a.     Injunction Related to Releases

        Except as expressly provided in the Plan or the Confirmation Order, as of the
Effective Date, all Entities that hold, have held, or may hold a Claim or any other obligation,
suit, judgment, damages, debt, right, remedy, Cause of Action or liability of any nature
whatsoever, of the types described in Section X.D.2 of the Plan and relating to the Debtors,
the Reorganized Debtors or any of their respective assets and property and/or the Estates,
the Chapter 11 Cases, the Plan Support Agreement, the DIP Credit Facilities, the Intra-
Group Loan Guarantees, the Exit Facilities, the Plan, and/or the Disclosure Statement are,
and shall be, permanently, forever and completely stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Released Party or its property
on account of such released liabilities, whether directly or indirectly, derivatively or
otherwise, on account of or based on the subject matter of such discharged Claims or other
obligations, suits, judgments, damages, debts, rights, remedies, causes of action or liabilities:

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(a) commencing, conducting or continuing in any manner, directly or indirectly, any suit,
action or other proceeding (including, without limitation, any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including,
without limitation, any prejudgment attachment), collecting, or in any way seeking to
recover any judgment, award, decree, or other order; (c) creating, perfecting or in any way
enforcing in any matter, directly or indirectly, any Lien; (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.C of the Plan; and/or (e) commencing or continuing in any
manner any judicial, arbitration or administrative proceeding in any forum, that does not
comply with or is inconsistent with the provisions of the Plan or the Confirmation Order.

                      b.      Injunction Related to Exculpation

         Except as expressly provided in the Plan or the Confirmation Order, as of the
Effective Date, all Entities that hold, have held, or may hold a Claim or any other obligation,
suit, judgment, damages, debt, right, remedy, Cause of Action or liability of any nature
whatsoever, of the types described in Article X.E of the Plan and relating to the Debtors, the
Reorganized Debtors or any of their respective assets and property and/or the Estates, are,
and shall be, permanently, forever and completely stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party or its
property on account of such released liabilities, whether directly or indirectly, derivatively
or otherwise, on account of or based on the subject matter of such discharged Claims or
other obligations, suits, judgments, damages, debts, rights, remedies, causes of action or
liabilities: (a) commencing, conducting or continuing in any manner, directly or indirectly,
any suit, action or other proceeding (including, without limitation, any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including,
without limitation, any prejudgment attachment), collecting, or in any way seeking to
recover any judgment, award, decree, or other order; (c) creating, perfecting or in any way
enforcing in any matter, directly or indirectly, any Lien; (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.C of the Plan; and/or (e) commencing or continuing in any
manner any judicial, arbitration or administrative proceeding in any forum, that does not
comply with or is inconsistent with the provisions of the Plan or the Confirmation Order.

               5.     Term of Bankruptcy Injunction or Stays

         All injunctions or stays provided for in the Chapter 11 Cases under section 105 or section
362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain
in full force and effect until the Effective Date.




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                                     ARTICLE VI.
                              CONFIRMATION PROCEDURES

          A.    Combined Hearing on Confirmation and Approval of Disclosure Statement
                and Solicitation

        Under section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, may
hold a hearing to confirm a plan of reorganization. The Debtors anticipate filing a motion on the
Petition Date requesting that the Bankruptcy Court set a hearing for November 15, 2018 to consider
approval of this Disclosure Statement and confirmation of the Plan. The Confirmation Hearing,
once set, may be continued from time to time without further notice other than an adjournment
announced in open court or a notice of adjournment filed with the Bankruptcy Court and served
on those parties who have requested notice under Bankruptcy Rule 2002 and the entities who have
filed an objection to the Plan, if any, without further notice to parties in interest. The Bankruptcy
Court, in its discretion and prior to the Confirmation Hearing, may put in place additional
procedures governing the Confirmation Hearing. Subject to section 1127 of the Bankruptcy Code,
the Plan may be modified, if necessary, prior to, during, or as a result of the Confirmation Hearing,
without further notice to parties in interest.

        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to Confirmation. The Debtors, in the same motion requesting a date for the
Confirmation Hearing, are requesting that the Bankruptcy Court set a date and time for parties in
interest to file Plan objections. All objections to the Plan must be filed with the Bankruptcy Court
and served on the Debtors and certain other parties in interest in accordance with the applicable
order of the Bankruptcy Court so that they are received on or before the deadline to file such
objections as set forth therein.

          B.    Requirements for Confirmation of the Plan

        Among the requirements for Confirmation are that the Plan is accepted by all Impaired
Classes of Claims and Interests or, if rejected by an Impaired Class, that the Plan “does not
discriminate unfairly” and is “fair and equitable” as to such Class, is feasible, and is in the “best
interests” of Holders of Claims and Interests that are Impaired under the Plan. The following
requirements must be satisfied pursuant to section 1129(a) of the Bankruptcy Code before the
Bankruptcy Court may confirm a plan of reorganization. The Plan fully complies with the statutory
requirements for Confirmation listed below.

              1.     The proponents of the Plan have complied with the applicable provisions of
the Bankruptcy Code.

                2.     The Plan has been proposed in good faith and not by any means forbidden
by law.

                3.     Any payment made or to be made by the Debtors (or any other proponent
of the Plan) or by a person issuing securities or acquiring property under the Plan, for services or
for costs and expenses in or in connection with the Chapter 11 Cases, in connection with the Plan
and incident to the Chapter 11 Cases is subject to the approval of the Bankruptcy Court as
reasonable.
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                4.      The Debtors have disclosed the identity and affiliations of any individual
proposed to serve, after Confirmation, as a director or officer of the Reorganized Debtors, any
Affiliate of the Debtors reorganized under the Plan, or any successor to the Debtors under the
Plan, and the appointment to, or continuance in, such office of such individual is consistent with
the interests of creditors and Holders of Interests and with public policies.

                5.     The Debtors have disclosed the identity of any Insider that will be employed
or retained by the Reorganized Debtors and the nature of any compensation for such Insider.

               6.      With respect to each Holder within an Impaired Class of Claims or Interests,
each such Holder has accepted the Plan or (b) will receive or retain under the Plan on account of
such Claim or Interest property of a value, as of the Effective Date, that is not less than the amount
that such Holder would so receive or retain if the Debtor was liquidated under chapter 7 of the
Bankruptcy Code on such date.

              7.   With respect to each Class of Claims or Interests, such Class (a) has
accepted the Plan or is Unimpaired under the Plan (subject to the “cram-down” provisions
discussed below).

               8.      The Plan provides for treatment of Claims, as applicable, in accordance with
the provisions of section 507(a) of the Bankruptcy Code.

               9.     If a Class of Claims or Interests is Impaired under the Plan, at least one
Class of Claims or Interests that is Impaired under the Plan has accepted the Plan, determined
without including any acceptance of the Plan by any Insider.

                10.     Confirmation is not likely to be followed by the liquidation, or the need for
further financial reorganization, of the Reorganized Debtors, or any successor to the Debtors under
the Plan, unless such liquidation or reorganization is proposed in the Plan.

              11.      All fees payable under 28 U.S.C. § 1930 have been paid or the Plan provides
for the payment of all such fees on the Effective Date.

       C.      Best Interests of Creditors / Liquidation Analysis

        Section 1129(a)(7) of the Bankruptcy Code requires that each Holder of an Impaired Claim
or Interest either (a) accept the Plan or (b) receive or retain under the Plan property of a value, as
of the Effective Date, that is not less than the value such Holder would receive if the Debtors were
liquidated under chapter 7 of the Bankruptcy Code. One Class of Interests, Interests in MF Holdco
(Class 7), is Impaired under the Plan. The Holders of MF Holdco Interests, as the only Voting
Class under the Plan, must accept the Plan in order for the Plan to be confirmed, thereby satisfying
clause (a) above.

        To calculate the probable distribution to holders of each impaired class of claims and
interests if the Debtors were liquidated under chapter 7, the Bankruptcy Court must first determine
the aggregate dollar amount that would be generated from the Debtors’ assets if the Chapter 11
Cases were converted to cases under chapter 7 of the Bankruptcy Code. This “liquidation value”
would consist primarily of the proceeds from a sale of the Debtors’ assets by a chapter 7 trustee.

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        The amount of liquidation value available to unsecured creditors and interest holders would
be reduced by the claims of any secured creditors to the extent of the value of their collateral, by
the costs and expenses of liquidation, and by other administrative expenses and costs of both the
chapter 7 cases and the Chapter 11 Cases. Costs of liquidation under chapter 7 of the Bankruptcy
Code would include the compensation of a trustee, as well as of counsel and other professionals
retained by the trustee, asset disposition expenses, all unpaid expenses incurred by the Debtors in
the Chapter 11 Cases (such as compensation of attorneys, financial advisors, and accountants) that
are allowed in the chapter 7 cases, litigation costs, and any claims arising from the operations of
the Debtors during the pendency of the Chapter 11 Cases.

        Once the Bankruptcy Court ascertains the recoveries in liquidation of secured creditors and
priority claimants, if any, it must determine the probable distribution to general unsecured creditors
and equity security holders from the remaining available proceeds in liquidation. If such probable
distribution has a value greater than the distributions to be received by such creditors and equity
security holders under the plan, then the plan is not in the best interests of creditors and equity
security holders.

        One Class of Interests is Impaired under the Plan: Interests in MF Holdco (Class 7). The
Holders of Interests in MF Holdco, as the only Voting Class under the Plan, must accept the Plan
in order for the Plan to be confirmed, thereby satisfying clause (a) above. The Holders of Interests
in MF Holdco would receive no distribution if the Debtor were liquidated under chapter 7 of the
Bankruptcy Code for the reasons explained below.

        Here, the Plan is in the best interests of claimants and interest holders and meets the
requirements of section 1129(a)(7) of the Bankruptcy Code. The parties to the Plan Support
Agreement expect that there will be substantially more assets available to pay Holders of Claims
and Interests under the Plan than would be the case if there were no Plan because of, among other
reasons, the release of approximately $3.1 billion of the Intra-Group Loan Guarantees by non-
Debtor affiliates SEAG and Möbel as the Holders of the Intra-Group Loan Claims. Such claims
would otherwise share pro rata in the recoveries of all unsecured creditors in a liquidation under
chapter 7 or chapter 11. The Plan is the result of an extensively negotiated settlement, which
avoids costly and time-consuming litigation that would deplete the funds available for creditors.
The parties to the Plan Support Agreement conducted extensive diligence prior to the date hereof,
vetted and negotiated the settlement, and support Confirmation of the Plan. All of these factors
demonstrate that the Plan provides greater recoveries to creditors and interest holders than would
be realized in a chapter 7 or chapter 11 liquidation, the costs of which would deplete much of the
recoveries from the liquidation of the Debtors’ assets.

       D.      Feasibility

        The Bankruptcy Code requires that a debtor demonstrate that confirmation of a plan of
reorganization is not likely to be followed by liquidation or the need for further financial
reorganization. For purposes of determining whether the Plan meets this requirement, the Debtors
have analyzed their ability to meet obligations under the Plan. The Debtors, with the assistance of
their advisors, have prepared projections for the calendar years 2019 through 2023, including
management’s assumptions related thereto, which are attached hereto as Exhibit B (the “Financial
Projections”). The Financial Projections assume that the Plan will be implemented in accordance

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with its stated terms. The Debtors are unaware of any circumstances as of the date of this
Disclosure Statement that would require the re-forecasting of the Financial Projections due to a
material change in the Debtors’ prospects. As reflected in the Financial Projections, the Debtors
anticipate that they will timely meet all of their collective obligations and will be financially viable
after Confirmation of the Plan. Accordingly, the Debtors believe that Confirmation is not likely
to be followed by liquidation or the need for further reorganization.

       E.      Acceptance by Impaired Class

        The Bankruptcy Code requires, as a condition to confirmation, that each class of claims or
interests that is impaired under a plan of reorganization, accept the plan. A class that is not
“impaired” under a plan is deemed to have accepted the plan and, therefore, solicitation of
acceptances with respect to such class is not required. As stated above, the Voting Class is the
sole Impaired Class and is comprised of the Holders of Interests in MF Holdco. Section 1126(d)
of the Bankruptcy Code defines acceptance of a plan by a class of impaired interests as acceptance
by holders of at least two-thirds in amount of allowed interests in that class, counting only those
interests that actually voted to accept or to reject the plan. Thus, the Voting Class described herein
will have voted to accept the Plan only if the Holders of two-thirds in amount of Allowed Interests
of Holders that actually vote on the Plan vote to accept.

       F.      Conditions to the Effective Date and Waiver

       The Effective Date of the Plan shall not occur unless and until the following conditions
have been satisfied or waived in accordance with Article IX of the Plan:

                1.      The Confirmation Order, in form and substance reasonably satisfactory to
the Debtors, the Exit Term Loan Lenders, and the Plan Support Parties shall have become a Final
Order and shall, among other things, provide that the Debtors and the Reorganized Debtors are
authorized to take all actions necessary or appropriate to enter into, implement, and consummate
the Exit Facilities and other agreements or documents contemplated by the Plan.

               2.      The Exit Term Loan Documents shall have been executed and delivered,
and all conditions precedent thereto shall have been satisfied (other than the occurrence of the
Effective Date), including that either:

                       •   The Stripes Restructuring shall have been consummated (in which case
                           the Stripes Stock and the Stripes PIK Debt shall be issued to the Exit
                           Term Loan Lenders; or

                       •   If the Stripes Restructuring has not been consummated, the Exit Term
                           Loan Lenders shall be satisfied, in their sole and absolute discretion,
                           with the results of their diligence into the potential U.S. tax impacts of
                           the Plan and the transactions contemplated hereby (in which case the
                           MF Holdco Stock and the MF Holdco PIK Debt shall be issued to the
                           Exit Term Loan Lenders pursuant to the Exit Term Loan Lender
                           Election).



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                 3.     Any and all authorizations, consents, certifications, approvals, rulings, no-
action letters, opinions or other documents or actions required by any law, regulation or order to
be received or to occur in order to implement the Plan on the Effective Date shall have been
obtained or shall have occurred.

               4.      The Confirmation Order shall provide that all Claims for damages resulting
from the rejection or termination of an Unexpired Lease of nonresidential real property shall be
Allowed only to the extent provided under section 502(b)(6) of the Bankruptcy Code.

        Each of the conditions to the occurrence of the Effective Date set forth above may be
waived in whole or in part by the Debtors with the written approval of the Exit Term Loan Lenders
and the Plan Support Parties, without notice, leave, or order of the Bankruptcy Court or any formal
action other than proceedings to confirm or consummate this Plan. The failure to satisfy or waive
any condition to the Effective Date may be asserted by the Debtors regardless of the circumstances
giving rise to the failure of such condition to be satisfied.

       G.      Alternatives to Confirmation and Consummation of the Plan

        The Debtors have evaluated several alternatives to the Plan. After studying these
alternatives, the Debtors have concluded that the Plan is the preferred approach to effectuating the
Company’s restructuring and maximizing the prospects of a successful turnaround and value for
all stakeholders and, therefore, is in the best interests of all constituencies. If the Plan is not
confirmed, the Debtors’ ability to continue operating as a going concern could be severely
jeopardized. The realistic alternatives likely will be (1) the preparation and presentation of an
alternative plan of reorganization, (2) an out-of-court restructuring involving a dismissal of the
proceedings, or (3) a liquidation under chapter 7 of the Bankruptcy Code.

                                         ARTICLE VII.
                                        RISK FACTORS

        The following provides a summary of various important considerations and other risk
factors associated with the Plan; however, it is not exhaustive. There are risks, uncertainties, and
other important factors that could cause the Debtors’ actual performance or achievements to be
materially different from those they may project, and the Debtors undertake no obligation to update
any such statement.

       A.      Business-Related Risks

        The Financial Projections annexed as Exhibit B to this Disclosure Statement are dependent
upon the successful implementation of the business plan and the validity of the other assumptions
contained therein. These projections reflect numerous assumptions, including Confirmation and
consummation of the Plan in accordance with its terms, the anticipated future performance of the
Debtors, industry performance, certain assumptions with respect to competitors of the Debtors,
general business and economic conditions, and other matters, many of which are beyond the
control of the Debtors. In addition, unanticipated events and circumstances occurring subsequent
to the preparation of the projections may affect the actual financial results of the Debtors.
Although the Debtors believe that the projections are reasonably attainable, variations between the
actual financial results and those projected may occur and be material.
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       B.      Bankruptcy-Specific Considerations

               1.      General

        Although the Debtors believe that the Chapter 11 Cases will be of short duration and will
not be materially disruptive to the Company’s business, the Debtors cannot be certain that this will
be the case. Although the Plan is designed to minimize the length of the Chapter 11 Cases, it is
impossible to predict with certainty the amount of time that the Debtors may spend in bankruptcy
or to assure parties in interest that the Plan will be confirmed. Even if confirmed on a timely basis,
bankruptcy proceedings could have a material adverse effect on the Debtors’ business. A delay in
the bankruptcy proceedings will also involve additional expense and may divert some of the
attention of the Debtors’ management away from business operations.

               2.      Objections to the Plan’s Classification or Amounts of Claims and
                       Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an interest
in a particular class only if such claim or interest is substantially similar to the other claims or
interests in such class. The Debtors believe that the classification of the Claims and Interests under
the Plan complies with the requirements set forth in the Bankruptcy Code because the Debtors
created Classes of Claims or Interests, each encompassing Claims or Interests, as applicable, that
are substantially similar to the other Claims and Interests in each such Class. Nevertheless, there
can be no assurance that parties in interest will not object to the classification or amounts of Claims
and Interests under the Plan, or that the Bankruptcy Court will approve such classification or
amounts.

               3.      The Conditions Precedent to the Effective Date of the Plan May Not
                       Occur

       As more fully set forth in Article IX of the Plan, the Effective Date is subject to a number
of conditions precedent. If such conditions precedent are not satisfied or waived, the Effective
Date will not occur.

               4.      Non-Confirmation or Delay of Confirmation of the Plan

        In the event that votes are received in number and amount sufficient to enable the
Bankruptcy Court to confirm the Plan, the Debtors intend to seek, as promptly as practicable
thereafter, Confirmation of the Plan. Section 1129 of the Bankruptcy Code sets forth the
requirements for confirmation of a chapter 11 plan, and requires, among other things, findings by
a bankruptcy court that: (a) such plan “does not unfairly discriminate” and is “fair and equitable”
with respect to any non-accepting classes; (b) confirmation of such plan is not likely to be followed
by a liquidation or a need for further financial reorganization unless such liquidation or
reorganization is contemplated by the plan; and (c) the value of distributions to non-accepting
holders of claims or equity interests within a particular class under such plan will not be less than
the value of distributions such holders would receive if the debtor was liquidated under Chapter 7
of the Bankruptcy Code.



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        The Bankruptcy Court may determine that this Disclosure Statement and/or the solicitation
procedures did not satisfy the requirements of the Bankruptcy Code or the Bankruptcy Rules or
may decline to confirm the Plan if it finds that any of the statutory requirements for Confirmation
have not been met, including the requirement that the terms of the Plan do not “unfairly
discriminate” and are “fair and equitable” to non-accepting Classes, or the Plan contains other
terms disapproved of by the Bankruptcy Court. If the Debtors fail to achieve Confirmation, the
Chapter 11 Cases would likely continue for a protracted period without indication of how or when
the Chapter 11 Cases may be completed. Some of the risks that the Debtors face in a bankruptcy
proceeding would become more acute in such a scenario, including certain risks that are beyond
their control, such as deterioration or other changes in economic conditions, changes in the
industry in which the Debtors operate, and potential revaluing of their assets due to chapter 11
proceedings.

        Even if the requisite acceptances of a proposed plan are received, the Bankruptcy Court is
not obligated to confirm the Plan as proposed. A dissenting Holder of a Claim or Interest against
the Debtors could challenge the solicitation procedures as not being in compliance with the
Bankruptcy Code, which could mean that the results of the Solicitation may be invalid. If the
Bankruptcy Court determined that the solicitation procedures were appropriate and the results were
valid, the Bankruptcy Court could still decline to confirm the Plan if the Bankruptcy Court found
that any of the statutory requirements for confirmation had not been met.

        If the Plan is not confirmed by the Bankruptcy Court, (a) the Debtors may not be able to
successfully reorganize; (b) the distributions that Holders of Claims or Interests ultimately would
receive, if any, with respect to their Claims or Interests would be uncertain, and (c) there may be
no assurance that the Debtors will be able to successfully develop, prosecute, confirm, and
consummate an alternative plan that will be acceptable to the Bankruptcy Court and the Holders
of Claims or Interests.

               5.      Amendment of Plan Prior to Confirmation by the Debtors

        The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify
the terms and conditions of the Plan or waive any conditions thereto if and to the extent necessary
or desirable for Confirmation, in each case, with the prior written consent of the Plan Support
Parties. The potential impact of any such amendment or waiver on Holders of Claims and Interests
cannot presently be foreseen but may include a change in the economic impact of the Plan on some
or all of the proposed Classes or a change in the relative rights of such Classes.

               6.      Failure to Obtain Approval of Releases, Injunctions and Exculpation

        As set forth in Article V.L of this Disclosure Statement, the Plan provides for certain
releases, injunctions, and exculpations, including a release of liens and third-party releases that
may otherwise be asserted against the Debtors, the Reorganized Debtors, the other Released Parties
and their respective Related Parties, as applicable. The releases, injunctions, and exculpations
(including, for the avoidance of doubt, the definitions of Released Parties and Exculpated Parties)
provided in the Plan are subject to objection by parties in interest and may not be approved. If the
releases are not approved, certain parties may not be considered Released Parties or Exculpated
Parties, and certain Released Parties or Exculpated Parties may withdraw their support for the Plan.

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               7.      U.S. Federal Income Tax Risks

        For U.S. federal income tax purposes, a corporation undergoing a debt restructuring
generally recognizes taxable income equal to the difference between the amount of any debt
cancelled or extinguished in the restructuring and any value given by the corporation in
consideration for such cancellation (“COD Income”). COD Income is not required to be included
in a debtor’s taxable income in certain circumstances, however, including in situations where the
debtor is in a bankruptcy proceeding under Title 11 of the United States Code (the “Bankruptcy
Exception”) or is insolvent (the “Insolvency Exception”). If the Bankruptcy Exception or the
Insolvency Exception applies, the debtor is instead required to reduce the amount of its net
operating losses (“NOLs”) and certain other tax attributes (including the tax basis of its assets).

        The Debtors currently intend to take the position that the transactions contemplated by the
Plan will not result in COD Income for the Debtors. It is possible, however, that the transactions
contemplated by the Steinhoff Global Restructuring (including the conversion of the RCF Loan
and the elimination of the Intra-Group Loan Agreement may cause the consolidated group of
which the Debtors are a part to realize substantial COD Income, which, although likely to be
excluded from taxable income by reason of the Bankruptcy Exception or the Insolvency Exception,
as applicable, would result in a significant reduction and the possible complete elimination of the
Debtors’ NOLs and certain of its other tax attributes (including, in certain circumstances, its “built-
in losses”).

         In addition, the Debtors expect to undergo an “ownership change” (within the meaning of
Section 382 of the IRC) as a result of the transactions contemplated by the Plan. As a result, the
Debtors expect that any NOLs remaining after the consummation of the transactions contemplated
by the Plan and any “built-in losses” (including amortization and depreciation deductions
attributable to such built-in losses) will be subject to significant limitations on their use following
the Effective Date.

        For a more detailed discussion of certain U.S. federal income tax consequences of the
implementation of the Plan to the Debtors and Holders of certain Claims and Interests, see Article
VIII of this Disclosure Statement.

               8.      Plan Based on Assumptions

         The Plan affects both the Debtors’ capital structure and the ownership, structure, and
operation of their business and reflects assumptions and analyses based on the Debtors’ experience
and perception of historical trends, current conditions, and expected future developments, as well
as other factors that the Debtors consider appropriate under the circumstances. Whether actual
future results and developments will be consistent with the Debtors’ expectations and assumptions
depends on a number of factors, including but not limited to the Debtors’ (a) ability to obtain
adequate liquidity and financing sources; (b) ability to maintain the public’s confidence in the
Debtors’ and Company’s viability as a continuing entity and enterprise and to attract and retain
sufficient business; and (c) ability to retain key employees, as well as the overall strength and
stability of general economic conditions of industries in which the Debtors operate. The failure of
any of these factors could materially adversely affect the successful reorganization of the Debtors’
business.

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         In addition, the Plan relies upon the Financial Projections, including with respect to
revenues, EBITDA, debt service, and cash flow. Financial forecasts are necessarily speculative,
and it is likely that one or more of the assumptions and estimates that are the basis of these financial
forecasts will not be accurate. Consequently, there can be no assurance that the results or
developments contemplated by any plan of reorganization implemented will occur or, even if they
do occur, that they will have the anticipated effects on the Debtors and their subsidiaries or their
businesses or operations. The failure of any such results or developments to materialize as
anticipated could materially adversely affect the successful implementation of the Plan.

                                   ARTICLE VIII.
                      CERTAIN UNITED STATES FEDERAL INCOME
                         TAX CONSEQUENCES OF THE PLAN

        The following discussion is a summary of certain U.S. federal income tax consequences of
the Plan and is for general information purposes only. This summary should not be relied upon
for purposes of determining the specific tax consequences of the Plan with respect to a particular
Holder of a Claim or Interest. This discussion does not purport to be a complete analysis or listing
of all potential tax considerations.

        This discussion is based on existing provisions of the Internal Revenue Code of 1986, as
amended (the “IRC”), existing and proposed Treasury Regulations promulgated thereunder, and
current administrative rulings and court decisions. Legislative, judicial, or administrative changes
or interpretations enacted or promulgated after the date hereof could alter or modify the analyses
set forth below with respect to the U.S. federal income tax consequences of the Plan. Any such
changes or interpretations may be retroactive and could significantly affect the U.S. federal income
tax consequences of the Plan.

        Due to the lack of definitive judicial and administrative authority in a number of areas,
substantial uncertainty may exist with respect to some of the tax consequences described below.
No ruling has been requested or obtained from the IRS with respect to any tax aspects of the Plan
and no opinion of counsel has been sought or obtained with respect thereto. The discussion below
is not binding upon the IRS or any court. No assurance can be given that the IRS would not assert,
or that a court would not sustain, a different position than any position discussed herein. No
representations or assurances are being made to the Holders of Claims or Interests with respect to
the U.S. federal income tax consequences described herein.

      ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL
INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND
IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON
THE INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER OF A CLAIM OR
INTEREST. ALL HOLDERS OF CLAIMS OR INTERESTS ARE URGED TO CONSULT
THEIR OWN TAX ADVISORS FOR THE FEDERAL, STATE, LOCAL AND NON-U.S.
TAX CONSEQUENCES OF THE PLAN.




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        A.      Certain Federal Income Tax Consequences to the Debtors

                1.     Cancellation of Debt Income and Reduction of Tax Attributes

        For U.S. federal income tax purposes, a corporation undergoing a debt restructuring
generally recognizes COD Income which, as discussed above, is taxable income equal to the
difference between the amount of any debt cancelled or extinguished in the restructuring and any
value given by the debtor in consideration for such cancellation. COD Income is not required to
be included in a debtor’s taxable income in certain circumstances, however, including in situations
where the debtor is in a bankruptcy proceeding under Title 11 of the United States Code or is
insolvent. As discussed above, these exceptions are referred to as the Bankruptcy Exception and
the Insolvency Exception, respectively.

        If the Bankruptcy Exception or the Insolvency Exception applies, the debtor is instead
required to reduce the amount of its NOLs and certain other tax attributes. In general, tax attributes
will be reduced in the following order: (a) NOLs; (b) most tax credits; (c) capital loss carryovers;
(d) tax basis in assets; (e) passive activity loss and credit carryovers; and (f) foreign tax credits. A
debtor with COD Income may elect first to reduce the basis of its depreciable assets pursuant to
Section 108(b)(5) of the IRC. Absent such election, a debtor’s tax basis in its assets cannot be
reduced below the total amount of its liabilities outstanding immediately after the discharge. In
the context of a group of corporations filing a consolidated federal income tax return, special rules
apply to determine how the tax attributes of the group are reduced.

        The amount of COD Income that will result from the transactions contemplated by the
Plan, and, accordingly, the amount of the Debtors’ NOLs and other tax attributes required to be
reduced, is currently uncertain. It is possible that the Debtors’ NOLs could be completely
eliminated and that its other tax attributes (including tax basis in its assets) could be substantially
reduced. In any case, however, the Debtors do not expect, as a result of the transactions
contemplated by the Plan, to be required to include COD Income in taxable income for the taxable
year in which the Effective Date occurs.

         If the Exit Term Loan Lender Election is made, the Debtors may be required to recognize
taxable income for the taxable year that includes the Effective Date. Such taxable income could
result if there were any excess loss accounts or other deferred intercompany items of the Debtors
that are required to be recognized by the Debtors in connection with the deconsolidation of MF
Holdco and its subsidiaries from its former U.S. federal consolidated group (that currently includes
MFHC and Stripes) as a result of the Exit Term Loan Lender Election. It is expected, however,
that any such taxable income would be offset, in whole or in part, by the Debtors’ existing NOLs.

               2.      Limitation on Use of Remaining NOLs and Other Tax Attributes

        Under Sections 382 and 383 of the IRC, if a corporation undergoes an “ownership change,”
the amount of its NOLs, capital loss carryovers, tax credit carryovers and certain other tax
attributes allocable to periods before the date on which the ownership change occurred (“Pre-
Change Losses”) that may be utilized to offset future taxable income is subject to annual limitation.

      The Debtors anticipate that the transactions contemplated by the Plan will result in an
“ownership change” of the Reorganized Debtors for these purposes (whether or not the Exit Term
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Loan Lender Election is made). Thus, the Debtors’ use of any Pre-Change Losses is expected to
be subject to significant limitation. This limitation is independent of, and in addition to, any
reduction of NOLs or other tax attributes described in the preceding Section VIII.A.1 resulting
from the exclusion of COD Income.

         For this purpose, if a corporation has a “net unrealized built-in loss” (generally, an
aggregate amount of tax basis in excess of fair market value) at the time of an ownership change
(taking into account most assets and items of “built-in” income and deductions), then generally
built-in losses (including amortization and depreciation deductions attributable to such built-in
losses) recognized during the following five-years (up to the amount of the original net unrealized
built-in loss) will be treated as Pre-Change Losses and similarly will be subject to the annual
limitation. In general, a corporation’s net unrealized built-in loss will be deemed to be zero unless
it is greater than the lesser of (a) $10,000,000 or (b) 15 percent of the fair market value of its assets
(with certain adjustments) before the ownership change. The Debtors may have a net unrealized
built-in loss as of the date on which an ownership change occurs and thus, its built-in losses
recognized during the five years following the Effective Date may also be subject to annual
limitation.

         In general, the annual limitation determined under Section 382 of the IRC (the “Section
382 Limitation”) on the use of Pre-Change Losses in any “post-change year” is equal to the product
of (1) the fair market value of the stock of the corporation immediately before the “ownership
change” (with certain adjustments) multiplied by (2) the “long term tax exempt rate” (which is
currently 2.29%). The Section 382 Limitation may be increased during the five-year period
following the ownership change to the extent that the Debtors have a “net unrealized built-in gain”
rather than a net unrealized built-in loss as of the Effective Date. Section 383 of the IRC applies
a similar limitation to capital loss carryforwards and tax credits. Any unused limitation may be
carried forward, thereby increasing the annual limitation in the subsequent taxable year. However,
if a corporation that has undergone an ownership change does not continue its historic business or
use a significant portion of its historic assets in a new business for at least two years after the
ownership change, the Section 382 Limitation is generally reduced to zero, thereby precluding any
utilization of the corporation’s Pre-Change Losses (absent any increases due to net unrealized
built-in gain discussed above). As discussed below, however, special rules may apply in the case
of a corporation which experiences an ownership change as the result of a bankruptcy proceeding.

        Certain exceptions to the foregoing annual limitation rules may apply when a corporation
which is under the jurisdiction of the court in a Title 11 or similar case undergoes an ownership
change. These exceptions are contained in Sections 382(l)(5) and 382(l)(6) of the IRC. The
Debtors do not expect to qualify for the exception described in Section 382(l)(5) of the IRC, but
may qualify for the exception described in Section 382(l)(6) of the IRC (the “Section 382(l)(6)
Exception”). Under the Section 382(l)(6) Exception, the debtor corporation that undergoes an
ownership change is generally permitted to determine the fair market value of its stock for purposes
of the Section 382 Limitation after taking into account the increase in value, if any, resulting from
any surrender or cancellation of creditor claims in the bankruptcy. This differs from the ordinary
rule that requires the fair market value of a debtor corporation that undergoes an ownership change
to be determined before events giving rise to the change. It is unclear whether the Section 382(l)(6)
exception, even if applicable, would provide any benefit to the Debtors.


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        As described above, whether or not the Section 382(l)(6) Exception applies, as a result of
the transactions contemplated the Plan, the Debtors expect that their NOLs and other Pre-Change
Losses (including, if the Debtors have a “net unrealized built in loss” as of the Effective Date, any
built-in losses recognized during the five years following the Effective Date) will be subject to
signification limitations on use following the Effective Date.

       B.      Certain Federal Income Tax Consequences to Holders of Claims and
               Interests other than Holders of the Intra-Group Loan Guarantee Claims

        Holders of Claims and Interests, except for Interests in MF Holdco, will either be paid in
full or remain in the same position after consummation of the Plan as they were before. On the
Effective Date, all Interests in MF Holdco shall be Reinstated; provided, however, that such
Interests shall, if the MF Holdco Warrants are issued to the Exit Term Loan Lenders pursuant to
the Exit Term Loan Lender Election, be subject to dilution by (i) the MF Holdco Warrants and (ii)
the Interests reserved by MF Holdco for the Management Incentive Plan. In general, a Holder
whose Claim or Interest is paid may have income or loss equal to the amount by which the Cash
and fair market value of other property it receives is greater or less than its tax basis for the Claim
or Interest, respectively. A Holder of a Claim or Interest which is unaffected by the Plan will
realize neither gain nor loss as a result of the consummation of the Plan.

       C.      Certain Federal Income Tax Consequences to Holders of Intra-Group Loan
               Guarantees

      Pursuant to the Plan, the Intra-Group Loan Guarantees of each Debtor under the Intra-
Group Loan Agreement will be released (the “Release of Guarantees”).

        Assuming the Release of Guarantees occurs as part of the gratuitous capital contribution
of the Intra-Group Loan Agreement, the Debtors intend on taking the position that the capital
contribution is described in Section 108(e)(6) of the IRC. Under such provision, the holders of the
Intra-Group Loan Agreement will be treated as if the Intra-Group Loan Agreement were satisfied
for an amount of money equal to their adjusted basis in the Intra-Group Loan Agreement and their
adjusted basis in the stock of Stripes will be increased by a like amount.

        If instead, the Release of Guarantees occurs before the gratuitous capital contribution of
the Intra-Group Loan Agreement (which is expected to be the case if the Exit Term Loan Lender
Election is made), the Debtors intend on taking the position that the Release of Guarantees will
not be a “significant modification” of the Intra-Group Loan Facilities for U.S. federal income tax
purposes. The U.S. federal income tax treatment of the Release of Guarantees, however, is
uncertain. If the Release of Guarantees is not treated as a “significant modification” of the Intra-
Group Loan Facilities for U.S. federal income tax purposes, then no particular U.S. federal income
tax consequences result. If, however, the Release of Guarantees is treated as a “significant
modification” of the Intra-Group Loan Facilities for U.S. federal income tax purposes, then the
Intra-Group Loan Facilities will be deemed retired and new instruments will be deemed issued by
the obligor under the Intra-Group Loan Facilities for U.S. federal income tax purposes. Any such
deemed transaction could result in the recognition of taxable income to Holders of the Intra-Group
Loan Facilities. Holders of the Intra-Group Loan Facilities should consult their own tax advisors
with respect to the potential U.S. federal income tax impacts on them of the Release of Guarantees.

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       D.      Holders that are Non-United States Persons

        Holders of Claims and Interests that are not “United States persons” (within the meaning
of Section 7701(a)(30) of the IRC) generally will not be subject to U.S. federal income tax with
respect to property (including Cash) received in exchange for such Claims and/or Interests, unless
(i) such Holder is engaged in a trade or business in the United States to which income, gain or loss
from the exchange is “effectively connected” for U.S. federal income tax purposes, or (ii) if such
Holder is an individual, such Holder is present in the United States for 183 days or more during
the taxable year of the exchange and certain other requirements are met.

       E.      Withholding and Reporting

        The Debtors will comply with all applicable reporting requirements of the IRC. In general,
information reporting requirements may apply to distributions or payments made to a Holder of a
Claim or Interest. Additionally, backup withholding, currently at a rate of twenty-four percent
(24%), will generally apply to such payments if a Holder fails to provide an accurate taxpayer
identification number or otherwise fails to comply with the applicable requirements of the backup
withholding rules. Backup withholding is not an additional tax. Any amounts withheld under the
backup withholding rules will be allowed as a credit against such Holder’s U.S. federal income
tax liability and may entitle such Holder to a refund from the IRS, provided that the required
information is provided to the IRS.

        In addition, from an information reporting perspective, Treasury Regulations generally
require disclosure by a taxpayer on its U.S. federal income tax return of certain types of
transactions in which the taxpayer participated, including, among other types of transactions,
certain transactions that result in the taxpayer’s claiming a loss in excess of specified thresholds.
Holders are urged to consult their tax advisors regarding these regulations and whether the
transactions contemplated by the Plan would be subject to these regulations and require disclosure
on the Holders’ tax returns.

       F.      FATCA

         Pursuant to sections 1471 through 1474 of the IRC (commonly referred to as “FATCA”),
foreign financial institutions (which term includes most foreign hedge funds, private equity funds,
mutual funds, and other investment vehicles) and certain other foreign entities who do not comply
with certain information reporting rules with respect to their U.S. account holders investors or
owners may be subject to a withholding tax on U.S.-source payments made to them (whether
received as a beneficial owner or as an intermediary for another party). A foreign financial
institution or such other foreign entity that does not comply with the FATCA reporting
requirements generally will be subject to a 30% withholding tax with respect to any “withholdable
payments.” For this purpose, “withholdable payments” are any U.S.-source payments of fixed or
determinable, annual or periodical income and also include the entire gross proceeds from the sale
or other disposition of any type which can produce U.S.-source interest or dividends. Under the
Treasury Regulations, withholding under FATCA will generally apply to payments of U.S.-source
dividends on shares of stock in MF Holdco or Stripes, as applicable, although withholding will not
apply to gross proceeds from dispositions of such shares of stock occurring prior to January 1,


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2019. Foreign financial institutions located in jurisdictions that have an intergovernmental
agreement with the United States governing FATCA may be subject to different rules.

     Holders are urged to consult with their own tax advisors regarding the effect, if any, of the
FATCA provisions to them based on their particular circumstance.

     THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX. THE FOREGOING SUMMARY HAS BEEN PROVIDED FOR
INFORMATIONAL PURPOSES ONLY AND DOES NOT DISCUSS ALL ASPECTS OF
FEDERAL INCOME TAXATION THAT MAY BE RELEVANT TO A PARTICULAR
HOLDER IN LIGHT OF SUCH HOLDER’S CIRCUMSTANCES AND INCOME TAX
SITUATION. ALL HOLDERS OF CLAIMS AND INTERESTS SHOULD CONSULT
WITH THEIR TAX ADVISORS AS TO THE PARTICULAR TAX CONSEQUENCES TO
THEM OF THE TRANSACTIONS CONTEMPLATED BY THE PLAN, INCLUDING
THE APPLICABILITY AND EFFECT OF ANY STATE, LOCAL OR NON-U.S. TAX
LAWS, AND OF ANY CHANGE IN APPLICABLE TAX LAWS.

       G.      Reservation of Rights

        The foregoing discussion is subject to change (possibly substantially) based on, among
other things, subsequent changes to the Plan and events that may subsequently occur that may
impact the timeline for the transactions contemplated by the Plan. The Debtors and their advisors
reserve the right to further modify, revise or supplement this Article VIII and the other tax related
sections of the Plan and Disclosure Statement in accordance with the terms of the Plan and the
Bankruptcy Code.

                                   ARTICLE IX.
                         CONCLUSION AND RECOMMENDATION

        In the opinion of the Debtors, the Plan is preferable to all other available alternatives and
provides for a larger distribution to the Debtors’ creditors than would otherwise result from any
other scenario. Any alternative to Confirmation of the Plan, moreover, could result in extensive
delays and increased administrative expenses. Accordingly, the Debtors believe that the Plan
provides the best available recovery to their stakeholders and should be confirmed.




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Respectfully submitted as of            Mattress Firm, Inc.
October 4, 2018                         (on behalf of itself and its Affiliated Debtors)

                                        /s/ Hendré Ackermann
                                        Hendré Ackermann
                                        Chief Operating Officer and
                                        Chief Financial Officer




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                          Exhibit A

                    Plan of Reorganization
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    MATTRESS FIRM, INC., et al.,1                               Case No. 18-_____ (___)

                             Debtors.                           (Joint Administration Requested)


             JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION
                FOR MATTRESS FIRM, INC. AND ITS DEBTOR AFFILIATES

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                     Proposed Attorneys for the Debtors and Debtors in Possession

                                            Dated: October 4, 2018




1
  The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing address
is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, for
which the Debtors have requested joint administration, a complete list of the Debtors and the last four digits of their
federal tax identification numbers is not provided herein. This information may be obtained on the website of the
Debtors’ noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for the Debtors.
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                                        INTRODUCTION

        Mattress Firm, Inc. and its Affiliated debtors and debtors in possession (collectively, the
“Debtors”), hereby propose the following joint prepackaged plan of reorganization under
chapter 11 of the Bankruptcy Code for the resolution of the outstanding Claims against and
Interests in the Debtors. Capitalized terms used but not defined in this paragraph have the
meanings assigned to such terms in Article I. The classification and treatment of Claims against
and Interests in the Debtors are set forth in Article II and Article III. The Debtors are the
proponents of this Plan within the meaning of section 1129 of the Bankruptcy Code. Reference is
made to the Disclosure Statement, distributed contemporaneously herewith, for a discussion of the
Debtors’ history, business, results of operations, projections for those operations, risk factors, a
summary and analysis of this Plan, and certain related matters.

                                           ARTICLE I.

                    DEFINED TERMS AND RULES OF INTERPRETATION

       A.      Defined Terms.

               1.      “Administrative Expense Claim” means a Claim (other than a DIP Credit
Facilities Claim) for costs and expenses of administration of the Estates arising on or after the
Petition Date and prior to the Effective Date under sections 327, 328, 330, 365, 503(b), 507(a)(2),
507(b) or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs and
expenses of preserving the Estates and operating the business of the Debtors; (b) Professional Fee
Claims, to the extent Allowed by the Bankruptcy Court; and (c) any Quarterly Fees.

             2.    “Affiliate” has the meaning ascribed to such term in section 101(2) of the
Bankruptcy Code. “Affiliated” shall have a correlative meaning.

               3.      “Allowed” means any Claim or Interest or any portion thereof (a) that the
Debtors have not disputed, either formally or informally, or (b) that has been (i) allowed by a Final
Order of the Bankruptcy Court, (ii) allowed pursuant to the terms of this Plan, or (iii) allowed by
agreement between the Holder of such Claim or Interest, on one hand, and the Debtors or the
Reorganized Debtors, as applicable, on the other hand; provided, however, that notwithstanding
anything in this Plan to the contrary, by treating a Claim as an “Allowed Claim” for purposes of
the Plan, the Debtors do not waive, and shall not be deemed to have waived, their rights to contest
the amount and/or validity of any disputed, contingent, or unliquidated Claim in the manner and
venue in which such Claim would have been determined, resolved, or adjudicated if the Chapter
11 Cases had not been commenced; provided further, that the amount of any “Allowed Claim” for
purposes of the Plan shall be determined in accordance with the Bankruptcy Code, including
sections 502(b)(6), 503(b), and 506 of the Bankruptcy Code.

               4.      “Assumed Contract” has the meaning ascribed to such term in Article VI.A.

               5.      “Assumed Lease” has the meaning ascribed to such term in Article VI.A.



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               6.      “Avoidance Actions” means any and all actual or potential claims or causes
of action to avoid a transfer of property or an obligation incurred by the Debtors arising under
sections 502(d), 542, 544, 545, 547, 548, 549, 550, 551, 552 or 553(b) of the Bankruptcy Code, or
under similar or related state or federal statutes or common law, including preference and
fraudulent transfer and conveyance laws, in each case whether or not litigation to prosecute such
claim(s) or cause(s) of action was commenced prior to the Effective Date.

               7.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101–1532, as in effect on the Petition Date, together with any amendments and modifications
thereto that may subsequently be made applicable to the Chapter 11 Cases.

                8.    “Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware or such other court having jurisdiction over the Chapter 11 Cases.

              9.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United States
Code, 28 U.S.C. § 2075, as applicable to the Chapter 11 Cases, and the general, local, and
chambers rules of the Bankruptcy Court.

               10.    “Business Day” means any day, other than a Saturday, Sunday or “legal
holiday” (as such term is defined in Bankruptcy Rule 9006(a)).

               11.     “Cash” means the legal tender of the United States of America.

                12.      “Cause of Action” means any claims, interests, damages, remedies, causes
of action, demands, rights, actions (including, without limitation, any Avoidance Actions), suits,
obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses, liens, indemnities,
guaranties, and franchises of any kind or character whatsoever, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, contingent or non-contingent, liquidated or
unliquidated, secured or unsecured, assertable, directly or derivatively, matured or unmatured,
suspected or unsuspected, in contract, tort, law, equity, or otherwise. Causes of Action also
include: (a) all rights of setoff, counterclaim, or recoupment and claims under contracts or for
breaches of duties imposed by law or in equity; (b) the right to object to or otherwise contest
Claims or Interests; (c) claims that may be pursued under sections 362, 510, 542, 543, 544 through
550, or 553 of the Bankruptcy Code; (d) such claims and defenses as fraud, mistake, duress, and
usury, and any other defenses set forth in section 558 of the Bankruptcy Code; and (e) any
fraudulent transfer or similar claims arising under any state or foreign law.

                13.     “Chapter 11 Cases” means (a) when used with reference to a particular
Debtor, the chapter 11 case filed for such Debtor under chapter 11 of the Bankruptcy Code in the
Bankruptcy Court and (b) when used with reference to all Debtors, the jointly administered chapter
11 cases of all of the Debtors.

               14.     “Claim” means any “claim,” as defined in section 101(5) of the Bankruptcy
Code, against any of the Debtors.



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                15.     “Claims and Noticing Agent” means Epiq Corporate Restructuring, LLC,
in its capacity as claims and noticing agent for the Debtors.

             16.    “Claims Objection Deadline” means the deadline for objecting to a
Rejection Damages Claim, which shall be the date that is 180 days after the applicable Rejection
Damages Bar Date, subject to extension by order of the Bankruptcy Court.

              17.     “Claims Register” means the official register of Claims and Interests
maintained by the Claims and Noticing Agent.

                18.     “Class” means each category of Holders of Claims or Interests as set forth
in Article III pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                19.     “Compensation and Benefits Programs” means all compensation and
benefit plans, policies, and programs of the Debtors, and all amendments and modifications
thereto, applicable to the Debtors’ employees, former employees, retirees, and non-employee
directors, including, without limitation, all savings plans, retirement plans, health care plans,
disability plans, and incentive plans, deferred compensation plans and life, accidental death and
dismemberment insurance plans.

             20.      “Confirmation” means the entry of the Confirmation Order by the
Bankruptcy Court.

              21.    “Confirmation Date” means the date on which the Bankruptcy Court enters
the Confirmation Order on the docket of the Chapter 11 Cases.

              22.     “Confirmation Hearing” means the hearing held by the Bankruptcy Court
on confirmation of this Plan, as such hearing may be adjourned or continued from time to time.

               23.     “Confirmation Order” means the order of the Bankruptcy Court confirming
this Plan pursuant to section 1129 of the Bankruptcy Code.

                24.     “Creditors Committee” means the statutory committee of unsecured
creditors, if any, appointed by the Office of the United States Trustee pursuant to section 1102 of
the Bankruptcy Code.

                25.     “DIP ABL Agent” means Barclays Bank PLC as administrative agent and
co-collateral agent, issuer, joint book runner, joint lead arranger, and Citizens Bank, N.A. as co-
collateral agent under the DIP ABL Credit Facility.

              26.    “DIP ABL Credit Facility” means that certain $150 million first priority
Senior Secured Superpriority Debtor-in-Possession Asset-Based Revolving Credit Facility, by and
among the Debtors, the DIP ABL Agent and various lenders as approved by the DIP Orders.

               27.    “DIP Agents” means collectively, the DIP ABL Agent and the DIP Term
Loan Agent.

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             28.    “DIP Credit Facilities” means the DIP ABL Credit Facility and the DIP
Term Loan Credit Facility as approved by the DIP Orders.

                29.   “DIP Credit Facilities Claims” means any Claim derived from, arising
under, based upon, or secured by the DIP Credit Facilities or the DIP Orders, including claims for
all principal amounts outstanding and all interest, fees, expenses, costs and other charges arising
under or in connection with the DIP Credit Facilities.

               30.     “DIP Lenders” means the DIP Agents and those lenders in any lender
capacity from time to time party to the DIP Credit Facilities.

                 31.   “DIP Orders” means the Interim DIP Order and the Final DIP Order,
collectively.

                32.    “DIP Term Loan Agent” means Barclays Bank PLC as administrative agent
and collateral agent, book runner and lead arranger under the DIP Term Loan Credit Facility.

               33.    “DIP Term Loan Credit Facility” means that certain $100 million second
priority Senior Secured Superpriority Debtor-in-Possession Term Loan Credit Facility, by and
among the Debtors, the DIP Term Loan Agent and various lenders, as approved by the DIP Orders.

               34.      “Disallowed” means any Claim, or any portion thereof, that (a) has been
disallowed by Final Order or pursuant to a settlement among the Debtors and the holder thereof;
or (b) as to which, in respect of a Rejection Damages Claim, no Proof of Claim has been filed by
the Rejection Damages Bar Date or has been deemed timely filed pursuant to a Final Order of the
Bankruptcy Court. “Disallow” and “Disallowance” shall have correlative meanings.

              35.      “Disclosure Statement” means the disclosure statement that relates to this
Plan, including, without limitation, all exhibits and schedules thereto, as the same may be
amended, supplemented or otherwise modified from time to time, as approved by the Bankruptcy
Court pursuant to section 1125 of the Bankruptcy Code.

                 36.   “Disputed” means, with respect to a Claim, a Claim that is not yet Allowed
or Disallowed.

                37.    “Effective Date” means, and shall occur on, the Business Day on which
each of the conditions precedent to the effectiveness of the Plan as set forth in Article IX has been
satisfied or waived in accordance with the terms thereof.

                 38.   “Entity” means an entity as defined in section 101(15) of the Bankruptcy
Code.

              39.    “Estate” means, as to each Debtor, the estate created for such Debtor in its
Chapter 11 Case pursuant to sections 301 and 541 of the Bankruptcy Code.



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                40.     “Exculpated Fiduciaries” means each of the following solely in their
capacities as such: (a) the Debtors; (b) the Reorganized Debtors; and (c) with respect to each of
(a) and (b), to the extent employed in such capacities on or after the Petition Date, each of their
respective directors, officers, partners, managers, trustees, assigns, employees, agents, advisory
board members, attorneys, financial advisors, investment bankers, accountants, consultants and
other professionals or representatives.

               41.    “Exculpated Parties” means, collectively, the Exculpated Fiduciaries and
the Section 1125(e) Parties.

                 42.    “Executory Contract” means a contract to which one or more of the Debtors
is a party that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy
Code.

                43.     “Exit ABL Agent” means Barclays Bank, PLC as administrative agent and
collateral agent, issuer and sole lead arranger.

              44.    “Exit ABL Documents” means the Exit ABL Facility and such other
financing documents to be entered into in connection with the Exit ABL Facility, including any
guarantee agreements, pledge and collateral agreements, intercreditor agreements and other
security documents.

              45.   “Exit ABL Facility” means a senior secured credit facility in a principal
amount of up to $125 million to be entered into between the Reorganized Debtors and the Exit
ABL Lenders on the Effective Date.

                46.   “Exit ABL Lender” means any lender in any lender capacity under the Exit
ABL Facility.

              47.     “Exit Agents” means, collectively, the Exit ABL Agent and the Exit Term
Loan Agent under each of (a) the Exit ABL Facility and (b) the Exit Term Loan Facility, including
any successors thereto.

             48.      “Exit Facilities” means, collectively, the Exit ABL Facility and the Exit
Term Loan Facility.

               49.   “Exit Facility Documents” means, collectively, the Exit ABL Documents
and the Exit Term Loan Documents.

              50.    “Exit Lenders” means, collectively, in their respective capacities as such,
the Exit ABL Lenders and the Exit Term Loan Lenders.

                51.     “Exit Term Loan Agent” means Barclays Bank PLC as administrative
agent, collateral agent and sole lead arranger.




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               52.     “Exit Term Loan Lender” means any lender under the Exit Term Loan
Facility.

               53.    “Exit Term Loan Lender Election” means the election available to the Exit
Term Loan Lenders pursuant to the Exit Term Loan Documents to receive either (i) the Stripes
Stock and the Stripes PIK Debt or (ii) the MF Holdco Stock and the MF Holdco PIK Debt on the
Effective Date; provided, however, that if the Stripes Restructuring shall have been consummated
on or before the Effective Date, the Exit Term Loan Lenders shall receive the Stripes Stock and
the Stripes PIK Debt.

               54.    “Exit Term Loan Documents” means the Exit Term Loan Facility and such
other financing documents to be entered into in connection with the Exit Term Loan Facility,
including any guarantee agreements, pledge and collateral agreements, intercreditor agreements
and other security documents.

              55.     “Exit Term Loan Facility” means the senior secured term loan facility in the
principal amount of $400 million to be entered into between the Reorganized Debtors and the Exit
Term Loan Lenders on the Effective Date.

               56.     “Final DIP Order” means the order of the Bankruptcy Court authorizing the
Debtors to enter into the DIP Credit Facilities on a final basis.

                57.     “Final Order” means an order or judgment of the Bankruptcy Court (or other
court of competent jurisdiction) that has not been reversed, vacated or stayed and as to which
(a) the time to appeal, petition for certiorari or move for a new trial, reargument or rehearing has
expired and as to which no appeal, petition for certiorari or other proceedings for a new trial,
reargument or rehearing shall then be pending, or (b) if an appeal, writ of certiorari, new trial,
reargument or rehearing thereof has been sought, such order or judgment of the Bankruptcy Court
(or other court of competent jurisdiction) shall have been affirmed by the highest court to which
such order was appealed, or certiorari shall have been denied or a new trial, reargument or
rehearing shall have been denied or resulted in no modification of such order, and the time to take
any further appeal, petition for certiorari or move for a new trial, reargument or rehearing shall
have expired; provided, however, that the possibility that a motion pursuant to section 502(j) or
1144 of the Bankruptcy Code or under Rule 59 or Rule 60 of the Federal Rules of Civil Procedure,
or any analogous rule under the Bankruptcy Rules, may be filed with respect to such order shall
not cause such order to not be a Final Order.

               58.    “General Unsecured Claim” means a Claim against the Debtors that is not
an Administrative Expense Claim, a DIP Credit Facilities Claim, Priority Tax Claim, an Other
Priority Claim, an Other Secured Claim, a Prepetition ABL Claim, a Prepetition Term Loan Claim,
or an Intercompany Claim.

               59.   “Governmental Unit” means a governmental unit as defined in section
101(27) of the Bankruptcy Code.




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              60.    “Holder” means an Entity holding a Claim against, or Interest in, one or
more of the Debtors.

             61.    “Impaired” means “impaired” within the meaning of section 1124 of the
Bankruptcy Code. “Impair” shall have a correlative meaning.

               62.     “Indemnification Obligations” means each of the Debtors’ indemnification
obligations in place as of the Effective Date, whether in the bylaws, certificates of incorporation
or formation, limited liability company agreements, or other organizational or formation
documents, board resolutions, management or indemnification agreements, or employment or
other contracts, or otherwise, for the past and present directors, officers, employees, attorneys,
accountants, investment bankers, and other professionals and agents who provided services to the
Debtors before or after the Petition Date.

               63.    “Intercompany Claim” means any Claim held by a Debtor against another
Debtor.
               64.    “Intercompany Interest” means an Interest in a Debtor held by another
Debtor.

                65.    “Interest” means any equity security within the meaning of section 101(16)
of the Bankruptcy Code, including any issued and outstanding common stock, preferred stock,
limited liability company interest, partnership interest, or any other instrument evidencing an
ownership interest in a Debtor that existed immediately before the Effective Date, whether or not
transferable, and any restricted stock units, calls, rights, puts, awards, commitments, repurchase
rights, unvested or unexercised options, rights of conversion, warrants, unvested common
interests, unvested preferred interests or any other agreements of any character related to the
common or preferred interests of a Debtor, obligating such Debtor to issue, transfer, purchase,
redeem, or sell any equity interests or other equity securities, and any rights under any equity
incentive plans, voting agreements and registration rights agreements regarding equity securities
of the Debtor.

               66.     “Interim DIP Order” means the order of the Bankruptcy Court authorizing
the Debtors to enter into the DIP Credit Facilities on an interim basis.

               67.     “Intra-Group Lenders” means, collectively, SEAG, Steinhoff Finance, and
Möbel in their capacities as lenders under the Intra-Group Loan Agreement.

              68.     “Intra-Group Loan Agreement” means that certain Intra-Group Loan
Agreement, dated as of September 16, 2016, between Stripes, as Borrower, certain of the Debtors,
as Guarantors, and SEAG, Möbel, and Steinhoff Finance, as Lenders (as amended, restated,
modified, supplemented, or assigned from time to time, including by that certain Amendment
Agreement dated as of December 22, 2017), and all related amendments, supplements, ancillary
agreements, notes and other documents and instruments executed or delivered in connection with
the Intra-Group Loan Facilities, in each case as amended, amended and restated, supplemented or
otherwise modified prior to the date hereof.



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                 69.     “Intra-Group Loan Claims” means any Claims derived from, based upon,
or relating to the Intra-Group Loan Guarantees.

               70.    “Intra-Group Loan Facilities” means, collectively: (a) that certain senior
unsecured Facility A Loan from Steinhoff Finance to Stripes in the original aggregate principal
amount of up to $850,000,000, as such Facility A Loan was subsequently assigned by Steinhoff
Finance to SEAG pursuant to the terms of that certain Assignment Agreement dated as of
September 16, 2016; (b) that certain senior unsecured Facility B Loan from Möbel to Stripes in
the original aggregate principal amount of up to $2,000,000,000; and (c) that certain senior
unsecured Facility C Loan from Möbel and SEAG to Stripes in the original aggregate principal
amount of up to $275,000,000, in each case as available or outstanding from time to time in
accordance with the terms of the Intra-Group Loan Agreement.

               71.     “Intra-Group Loan Guarantees” means the unsecured guarantees by certain
of the Debtors of Stripes’ obligations under the Intra-Group Loan Facilities.

               72.      “Lease Rejection Notice” means any notice of rejection of one or more
Unexpired Leases of nonresidential real property pursuant to section 365 of the Bankruptcy Code
that the Debtors file and serve in accordance with the Lease Rejection Procedures.

             73.   “Lease Rejection Procedures” means the procedures for the rejection of
Unexpired Leases as approved by the Bankruptcy Court pursuant to the Lease Rejection
Procedures Order.

               74.    “Lease Rejection Procedures Order” means the Order (I) Approving
Procedures for Rejecting Unexpired Leases of Nonresidential Real Property, (II) Authorizing the
Debtors to Enter Into Amendments to Certain Unexpired Leases of Nonresidential Real Property,
and (III) Granting Related Relief, entered by the Bankruptcy Court.

                75.    “Lien” means, with respect to any interest in property, any mortgage, “lien”
as defined in section 101(37) of the Bankruptcy Code, pledge, charge, security interest, easement
or encumbrance of any kind whatsoever affecting such interest in property.

               76.     “Management Incentive Plan” means the post-Effective Date management
incentive plan to be implemented by the Reorganized Debtors as defined in Article V.J.

              77.      “MFHC” means Mattress Firm Holding Corp., a non-Debtor Affiliate of the
Debtors and the direct parent company of MF Holdco.

               78.    “MF Holdco” means Mattress Holdco, Inc., a Delaware corporation and a
Debtor herein, and the direct or indirect parent of each of the other Debtors.

               79.     “MF Holdco PIK Debt” means the $150 million face amount payment-in-
kind debt, which may be issued by MF Holdco to the Exit Term Loan Lenders on the Effective
Date pursuant to the terms of the Exit Term Loan Documents.



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                80.     “MF Holdco Stock” means 49.9% of the common stock of MF Holdco on
a fully-diluted basis, which may be issued to the Exit Term Loan Lenders on the Effective Date
pursuant to the terms of the Exit Term Loan Documents.

               81.     “Möbel” means Steinhoff Möbel Holding Alpha GmbH, the direct parent
of SEAG.

               82.    “Notice of Effective Date” means the notice that all conditions to the
Effective Date have been satisfied or waived in accordance with Article IX.

               83.    “Opt-Out Election Form” means that certain form by which a Releasing
Party may “opt out” of the release set forth in Article X.D.2, in substantially the form approved by
the Bankruptcy Court, to be served on all Holders of Claims and Interests with the Notice of
Effective Date.

               84.    “Other Priority Claim” means any Claim accorded priority in right of
payment under section 507(a) of the Bankruptcy Code, other than an Administrative Expense
Claim or a Priority Tax Claim.

              85.     “Other Secured Claim” means any Secured Claim against the Debtors other
than a DIP Credit Facilities Claim, a Prepetition ABL Claim, or a Prepetition Term Loan Claim.

               86.     “Petition Date” means October 4, 2018.

              87.    “Plan” means this joint prepackaged plan of reorganization under chapter
11 of the Bankruptcy Code, either in its present form or as it may be altered, amended, modified,
or supplemented from time to time in accordance with the Bankruptcy Code and the Bankruptcy
Rules.

                88.     “Plan Support Agreement” means the Plan Support Agreement entered into
by Steinhoff Holdings, Steinhoff Finance, Möbel, SEAG, Stripes, MFHC, MF Holdco, Mattress
Holding Corp., and Mattress Firm, Inc. (collectively with each subsidiary of Mattress Firm, Inc.
that is a guarantor under the Intra-Group Loan Agreement) prior to the Petition Date, and consented
to by the requisite majority of Participants to the Steinhoff Lockup Agreement.

            89.     “Plan Support Parties” means Steinhoff Holdings, Steinhoff Finance,
Möbel, SEAG and Stripes.

                90.     “Post-Effective Date Lease Negotiation Period” means the ninety (90) day
period immediately following the Effective Date, during which time the Debtors shall be entitled
to file one or more Lease Rejection Notices with respect to the Unexpired Leases of nonresidential
real property listed on the Schedule of Post-Effective Date Negotiated Leases.

              91.     “Prepetition ABL Agent” means, collectively, Barclays Bank PLC as
Administrative Agent and Co-Collateral Agent, Issuer, Book Runner and Lead Arranger and
Citizens Bank, N.A. as Co-Collateral Agent, under the Prepetition ABL Facility.

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                92.     “Prepetition ABL Agreement” means that certain ABL Credit Agreement
dated as of December 22, 2017, as amended by that certain Amendment No. 1 dated as of January
31, 2018, that certain Amendment No. 2 dated as of February 2, 2018, and that certain Amendment
No. 3 dated as of March 26, 2018, among Mattress Firm, Inc. as Borrower, certain of the other
Debtors as Guarantors, the Prepetition ABL Agent, and the Prepetition ABL Lenders.

                93.     “Prepetition ABL Claim” means any Claim derived from, based upon, or
relating to the Prepetition ABL Documents.

               94.   “Prepetition ABL Documents” means the Prepetition ABL Agreement and
any other agreements or documents executed in connection therewith or related thereto.

               95.    “Prepetition ABL Facility” means the prepetition senior secured revolving
financing in the aggregate principal amount of up to $150,000,000 provided by the Prepetition
ABL Lenders pursuant to the Prepetition ABL Documents.

                96.    “Prepetition ABL Lenders” means the Prepetition ABL Agent and the other
lenders in any lender capacity from time to time party to the Prepetition ABL Facility.

             97.    “Prepetition Debt Documents” means, collectively, the Prepetition ABL
Documents and the Prepetition Term Loan Documents.

               98.    “Prepetition Term Loan Agreement” means that certain Term Loan
Agreement, dated as of March 26, 2018 (as amended, restated, modified or supplemented from
time to time) among Mattress Firm, Inc., as Borrower, certain of the other Debtors, as guarantors,
and the Prepetition Term Loan Lender.

             99.    “Prepetition Term Loan Claim” means any Claim held by the Prepetition
Term Loan Lender that arises under, is derived from, based upon, or related to the Prepetition
Term Loan Facility.

             100. “Prepetition Term Loan Documents” means the Prepetition Term Loan
Agreement and any other agreements or documents executed in connection therewith or related
thereto.

                101. “Prepetition Term Loan Facility” means the prepetition senior secured term
loan credit facility in the original aggregate principal amount of up to $80,000,000 provided by
the Prepetition Term Loan Lender pursuant to the Prepetition Term Loan Documents.

               102. “Prepetition Term Loan Lender” means Steinhoff International Holdings
N.V. in its capacity as the lender under the Prepetition Term Loan Facility.

               103. “Priority Tax Claim” means any Claim of a Governmental Unit entitled to
priority in payment under sections 502(i) and 507(a)(8) of the Bankruptcy Code.



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               104. “Professional” means any Entity retained by the Debtors or a statutory
committee, if any, pursuant to a Final Order of the Bankruptcy Court entered pursuant to
sections 327, 328 and/or 1103 of the Bankruptcy Code.

                105. “Professional Fee Claim” means any Claim of a Professional for allowance
and award by the Bankruptcy Court of compensation for services rendered and/or reimbursement
of costs or expenses incurred in the Chapter 11 Cases on or before the Effective Date under sections
328, 330, 331, 363, or 503(b) of the Bankruptcy Code.

              106.      “Proof of Claim” means a proof of Claim filed against any Debtor in the
Chapter 11 Cases.

               107. “Quarterly Fees” means all fees due and payable pursuant to section
1930(a)(6) of title 28 of the United States Code.

                 108. “Reinstate,” “Reinstated” or “Reinstatement” means (a) leaving unaltered
the legal, equitable and contractual rights to which a Claim or Interest entitles the Holder of such
Claim or Interest, or (b) notwithstanding any contractual provision or applicable law that entitles
the Holder of such Claim or Interest to demand or receive accelerated payment of such Claim or
Interest after the occurrence of a default, (i) curing any such default that occurred before or after
the Petition Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy
Code; (ii) reinstating the maturity of such Claim or Interest as such maturity existed before such
default; (iii) compensating the Holder of such Claim or Interest for any damages incurred as a
result of any reasonable reliance by such Holder on such contractual provision or such applicable
law; (iv) if such Claim or Interest arises from any failure to perform a nonmonetary obligation
other than a default arising from failure to operate under a nonresidential real property lease subject
to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder of such Claim or
Interest (other than the Debtors or an “insider” of the Debtors within the meaning of section
101(31) of the Bankruptcy Code) for any actual pecuniary loss incurred by such Holder as the
result of such failure; and (v) not otherwise altering the legal, equitable or contractual rights to
which such Claim or Interest entitles the Holder thereof.

                109. “Rejection Damages Bar Date” means, with respect to each applicable
Executory Contract or Unexpired Lease, 5:00 p.m. (prevailing Eastern Time) on the date that is
thirty (30) days after the Effective Date; provided, however, that, solely in respect of Unexpired
Leases included on the Schedule of Post-Effective Date Negotiated Leases that are rejected by an
order of the Bankruptcy Court after the Effective Date, the Rejection Damages Bar Date shall be
the latest to occur of (a) 5:00 p.m. (prevailing Eastern Time) on the date that is thirty (30) days
after entry of the order approving the rejection of such Unexpired Lease, and (b) 5:00 p.m.
(prevailing Eastern Time) on the date that is thirty (30) days after the effective date of the rejection
of such Unexpired Lease.

              110. “Rejection Damages Claim” means a Claim resulting from the rejection of
an Executory Contract or Unexpired Lease pursuant to section 365 of the Bankruptcy Code.




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              111. “Rejection Motion” means any motion requesting authorization to reject
one or more Executory Contracts or Unexpired Leases pursuant to section 365 of the Bankruptcy
Code.

               112. “Related Parties” means, with respect to any Entity, such Entity’s
predecessors, successors and assigns (whether by operation of law or otherwise) and their
respective present Affiliates and subsidiaries and each of their respective current members,
partners, equity holders, controlling persons, officers, directors, employees, managers,
shareholders, partners, financial advisors, attorneys, accountants, investment bankers, consultants,
agents and professionals each acting in such capacity (solely in their capacity as such), and any
Entity claiming by or through any of them (including their respective officers, directors, managers,
shareholders, partners, employees, equity holders, members, and professionals).

                113. “Released Parties” means, collectively, the following Entities, solely in
their capacities as such: (a) the Debtors, (b) the Reorganized Debtors, (c) the Prepetition ABL
Agent, (d) the Prepetition ABL Lenders, (e) the Prepetition Term Loan Lender, (f) the Intra-Group
Lenders, (g) the DIP Agents, (h) the DIP Lenders, (i) the Exit Agents, (j) the Exit Lenders, (k) the
Plan Support Parties, and (l) MFHC, and, with respect to each of the foregoing Entities specified
in clauses (a) through (l), such Entities’ Related Parties; provided, however, that any Holder of a
Claim or Interest that validly “opts out” by timely returning an Opt-Out Election Form shall not
be a “Released Party”.

                114. “Releasing Parties” means, collectively, the following Entities, solely in
their capacities as such: (a) the Debtors, (b) the Reorganized Debtors, (c) the Prepetition ABL
Agent, (d) the Prepetition ABL Lenders, (e) the Prepetition Term Loan Lender, (f) the Intra-Group
Lenders, (g) the DIP Agents, (h) the DIP Lenders, (i) the Exit Agents, (j) the Exit Lenders, (k) the
Plan Support Parties, (l) MFHC, and (m) all Holders of Claims or Interests that are presumed to
accept this Plan pursuant to section 1126(f) of the Bankruptcy Code, and, with respect to each of
the foregoing Entities specified in clauses (a) through (m), such Entities’ Related Parties; provided,
however, that any Holder of a Claim or Interest that validly “opts out” by timely returning an Opt-
Out Election Form shall not be a “Releasing Party.”

              115. “Remaining Property” shall have the meaning set forth in the Lease
Rejection Procedures Order.

                116. “Reorganized Debtors” means the Debtors, as reorganized pursuant to and
under this Plan, or any successor thereto by merger, consolidation, conversion or otherwise, on or
after the Effective Date, after giving effect to the transactions implementing this Plan.

              117. “Schedule of Post-Effective Date Negotiated Leases” means the schedule
of all Unexpired Leases, including any amendments or modifications thereto, as to which the
applicable counterparty has consented in writing to the Debtors’ deferral of their decision on
assumption or rejection during the Post-Effective Date Lease Negotiation Period, as such schedule
may be amended from time to time until the occurrence of the Effective Date.

               118.    “SEAG” means Steinhoff Europe AG, the direct parent company of Stripes.

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                119. “Section 1125(e) Parties” means each of the following, solely in their
respective capacities as such: (a) the Prepetition ABL Agent, (b) the Prepetition ABL Lenders, (c)
the Prepetition Term Loan Lender, (d) the Intra-Group Lenders, (e) the DIP Agents, (f) the DIP
Lenders, (g) the Exit Agents, (h) the Exit Lenders, and (i) the Plan Support Parties, and, with
respect to each of the foregoing parties under (a) through (i), such Entities’ Related Parties,
directors, officers, and professionals.

                   120.   “Specified Unimpaired Claim” has the meaning ascribed to such term in
Article III.C.1.

             121. “Steinhoff Finance” means Steinhoff Finance Holding GmbH, the direct
parent company of Möbel.

              122. “Steinhoff Global Restructuring” means the restructuring transactions
contemplated by the Steinhoff Lockup Agreement.

                   123.   “Steinhoff Holdings” means Steinhoff International Holdings N.V.

                124. “Steinhoff Lockup Agreement” means that certain Lock-Up Agreement
dated July 11, 2018 between Steinhoff International Holdings N.V. and certain direct and indirect
subsidiaries thereof as the Obligors and certain lenders to such Obligors as the Participants.

              125. “Stripes” means Stripes US Holding, Inc., a non-Debtor Affiliate of the
Debtors and the direct parent company of MFHC.

                126. “Stripes PIK Debt” means the $150 million face amount payment-in-kind
debt, which may be issued by Stripes to the Exit Term Loan Lenders on the Effective Date pursuant
to the terms of the Exit Term Loan Documents.

                127. “Stripes Restructuring” means the restructuring of Stripes pursuant to the
Steinhoff Lockup Agreement, that will be implemented with the consent of the lenders under a
revolving loan facility in the original aggregate principal amount of $200,000,000 under the $4
billion acquisition facilities agreement dated August 5, 2016 (as amended or restated from time to
time) between, among others, Stripes, Steinhoff Finance, Möbel, SEAG, Steinhoff Holdings and
J.P. Morgan Europe Limited (as Agent) or pursuant to a scheme of arrangement for Stripes in the
United Kingdom.

                128. “Stripes Stock” means 49.9% of the common stock of Stripes on a fully-
diluted basis, which may be issued to the Exit Term Loan Lenders on the Effective Date pursuant
to the terms of the Exit Term Loan Documents.

                129. “Unexpired Lease” means a lease to which one or more of the Debtors is a
party that is subject to assumption or rejection under section 365 of the Bankruptcy Code.




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              130. “Unimpaired” means any Claim or Interest that is not Impaired, including
any Claim or Interest that is Reinstated.

                131. “United States Trustee” means the Office of the United States Trustee for
the District of Delaware.


       B.      Rules of Interpretation.

        For purposes of this Plan, unless otherwise provided herein: (1) whenever from the context
it is appropriate, each term, whether stated in the singular or the plural, will include both the
singular and the plural; (2) unless otherwise provided in this Plan, any reference in this Plan to a
contract, instrument, release, or other agreement or document being in a particular form or on
particular terms and conditions means that such document will be substantially in such form or
substantially on such terms and conditions; (3) any reference in this Plan to an existing document,
schedule or exhibit filed or to be filed means such document, schedule or exhibit, as it may have
been or may be amended, modified, or supplemented pursuant to this Plan; (4) any reference to an
entity as a Holder of a Claim or Interest includes that Entity’s successors and assigns; (5) all
references in this Plan to Articles are references to Articles of this Plan, as the same may be
amended, waived or modified from time to time; (6) the words “herein,” “hereof,” “hereto,”
“hereunder” and other words of similar import refer to this Plan as a whole and not to any particular
Article, paragraph, or clause contained in this Plan; (7) the words “include” and “including,” and
variations thereof, shall not be deemed to be terms of limitation and shall be deemed to be followed
by the words “without limitation;” (8) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of
this Plan; (9) the rules of construction set forth in section 102 of the Bankruptcy Code (other than
section 102(5) of the Bankruptcy Code) will apply; and (10) any reference to an Entity’s
“subsidiaries” means its direct and indirect subsidiaries

       C.      Computation of Time.

        In computing any period of time prescribed or allowed by this Plan, unless otherwise
expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply. In the event that any
payment, distribution, act or deadline under this Plan is required to be made or performed or occurs
on a day that is not a Business Day, then such payment, distribution, act or deadline shall be
deemed to occur on the next succeeding Business Day, but if so made, performed or completed by
such next succeeding Business Day, shall be deemed to have been completed or to have occurred
as of the required date.

       D.      Deemed Acts.

       Whenever an act or event is expressed under this Plan to have been deemed done or to have
occurred, it shall be deemed to have been done or to have occurred by virtue of this Plan and/or
Confirmation Order without any further act by any party.




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                                           ARTICLE II.

            ADMINISTRATIVE EXPENSE CLAIMS, DIP CREDIT FACILITIES
              CLAIMS, PRIORITY TAX CLAIMS, AND QUARTERLY FEES

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, DIP Credit Facilities Claims, and Priority Tax Claims have not been classified and thus
are excluded from the Classes of Claims and Interests set forth in Article III.

       A.      Administrative Expense Claims.

               1.      General.

        Subject to the terms of the Confirmation Order and Article II.A.2 and Article II.A.3, except
to the extent that a Holder of an Allowed Administrative Expense Claim and the applicable
Debtor(s) agree to less favorable treatment with respect to such Allowed Administrative Expense
Claim, each Holder of an Allowed Administrative Expense Claim shall receive, on account of and
in full and complete settlement, release and discharge of, and in exchange for, such Allowed
Administrative Expense Claim, payment of Cash equal to the full unpaid amount of such Allowed
Administrative Expense Claim: (a) on the Effective Date or as soon as reasonably practicable
thereafter, or, if not then due, when such Allowed Administrative Expense Claim is due or as soon
as reasonably practicable thereafter; (b) if an Administrative Expense Claim is Allowed after the
Effective Date, on the date such Administrative Expense Claim is due or as soon as reasonably
practicable thereafter; (c) on such other date and upon such terms as such Holder and the Debtors
or the Reorganized Debtors shall have agreed; or (d) as otherwise ordered by the Bankruptcy
Court; provided, however, that Allowed Administrative Expense Claims that arise in the ordinary
course of the Debtors’ business during the Chapter 11 Cases shall be paid in full in Cash in the
ordinary course of business and in accordance with the terms and conditions of the particular
agreements governing such obligations, course of dealing, course of business, or industry practice.

               2.      Professional Fee Claims.

         All Professionals or other Entities requesting compensation or reimbursement of expenses
pursuant to sections 328, 330, 331, 503(b) and/or section 1103 of the Bankruptcy Code for services
rendered before the Effective Date (including, without limitation, any compensation requested by
any Professional or any other entity for making a substantial contribution in the Chapter 11 Cases)
shall file and serve final requests for allowance and payment of Professional Fee Claims no later
than the first Business Day that is forty-five (45) days after the Effective Date. Objections to any
Professional Fee Claim must be filed and served on the Reorganized Debtors and the applicable
Professional within thirty (30) days after the filing of the final fee application with respect to the
Professional Fee Claim. Any such objections that are not consensually resolved may be set for
hearing on twenty-one (21) days’ notice by the Professional asserting such Professional Fee Claim.
The Reorganized Debtors shall promptly pay all amounts owed on account of Professional Fee
Claims upon entry of an order of the Bankruptcy Court allowing such Claims on a final basis.




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               3.      Payment of Quarterly Fees.

        The Debtors shall pay on the Effective Date all Quarterly Fees due and payable prior to the
Effective Date. On and after the Effective Date, the Reorganized Debtors shall pay any and all
Quarterly Fees when due and payable, and shall file with the Bankruptcy Court quarterly reports
in a form reasonably acceptable to the United States Trustee. Each Debtor shall remain obligated
to pay Quarterly Fees to the United States Trustee until the earliest of that particular Debtor’s case
being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy Code. The
United States Trustee shall not be required to file a Proof of Claim or any other request for payment
of Quarterly Fees.

       B.      DIP Credit Facilities Claims.

         The DIP Credit Facilities Claims shall be Allowed Claims in the full amount outstanding
under the DIP Credit Facilities, including principal, interest, fees, and expenses. Except to the
extent that a Holder of an Allowed DIP Credit Facilities Claim agrees to less favorable treatment,
on the Effective Date, each Holder of an Allowed DIP Credit Facilities Claim shall receive, on
account of and in full and final satisfaction, settlement, release, and discharge of each Allowed
DIP Credit Facilities Claim, indefeasible payment in full in Cash. Upon the payment or
satisfaction of the Allowed DIP Credit Facilities Claims in accordance with this Article II.B, all
Liens and security interests granted to secure the Allowed DIP Credit Facilities Claims shall be
automatically terminated and of no further force or effect without any further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity. As used in this Article II.B,
“indefeasible payment in full in Cash” shall mean the indefeasible payment in full in Cash of all
Allowed DIP Credit Facilities Claims (including all fees and expenses of the DIP Agents through
the Effective Date in accordance with the payoff letter), the cancellation, backing, or cash
collateralization of letters of credit under the DIP Credit Facilities in accordance with the terms of
the DIP Credit Facilities, the termination of the DIP Agents’ and DIP Lenders’ commitments to
extend credit under the DIP Facility, and the receipt by the DIP Agents of a countersigned payoff
letter in form and substance reasonably satisfactory to the DIP Agents.

       C.      Priority Tax Claims.

        Except to the extent that each Holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, each Holder of an Allowed Priority Tax Claim shall receive on account of
and in full and complete settlement, release and discharge of, and in exchange for, such Allowed
Priority Tax Claim, payment in full in Cash in accordance with the terms of any agreement between
the applicable Debtor or Reorganized Debtor, as applicable, and such Holder, or as such Allowed
Priority Tax Claim may be due and payable under applicable non-bankruptcy law or in the ordinary
course of business.

       D.      Post-Effective Date Fees and Expenses.

        Except as otherwise specifically provided in this Plan, from and after the Effective Date,
the Reorganized Debtors shall, in the ordinary course of business and without any further notice
to or action, order or approval of the Bankruptcy Court, pay in Cash the legal, professional, or

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other fees and expenses related to the implementation and consummation of this Plan incurred by
the Reorganized Debtors following the Effective Date. Upon the Effective Date, any requirement
that Professionals comply with sections 327 through 331 and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and each
Reorganized Debtor may employ and pay any professional for services rendered or expenses
incurred after the Effective Date in the ordinary course of business without any further notice to
or action, order or approval of the Bankruptcy Court.

                                           ARTICLE III.

                          CLASSIFICATION AND TREATMENT
                        OF CLASSIFIED CLAIMS AND INTERESTS

         A.     Classification of Claims and Interests.

                1.     General.

        This Plan constitutes a separate chapter 11 plan of reorganization for each Debtor. Except
for the Claims addressed in Article II (or as otherwise set forth herein), the Debtors have placed
all Claims and Interests into Classes for each of the Debtors. In accordance with section 1123(a)(1)
of the Bankruptcy Code, the Debtors have not classified Administrative Claims, DIP Credit
Facilities Claims, or Priority Tax Claims, as described in Article II.

        The Classes of Claims and Interests set forth below classify Claims and Interests for all
purposes, including Confirmation and distribution pursuant to this Plan, as set forth herein. This
Plan deems a Claim or Interest to be classified in a particular Class only to the extent that the Claim
or Interest qualifies within the description of that Class, and any Claim or Interest shall be deemed
classified in a different Class to the extent that any remainder of such Claim or Interest qualifies
within the description of such different Class. A Claim or Interest is in a particular Class only to
the extent that such Claim or Interest is Allowed in that Class and has not been paid, released, or
otherwise settled prior to the Effective Date.

                2.     Summary of Classification and Treatment of Claims and Interests.

 Class                  Claim                  Status                    Voting Rights
   1      Other Priority Claims              Unimpaired     Presumed to Accept; Not Entitled to Vote
   2      Other Secured Claims               Unimpaired     Presumed to Accept; Not Entitled to Vote
   3      Prepetition ABL Claims             Unimpaired     Presumed to Accept; Not Entitled to Vote
   4      Prepetition Term Loan Claims       Unimpaired     Presumed to Accept; Not Entitled to Vote
   5      General Unsecured Claims           Unimpaired     Presumed to Accept; Not Entitled to Vote
   6      Intercompany Claims                Unimpaired     Presumed to Accept; Not Entitled to Vote
   7      Interests in MF Holdco              Impaired                  Entitled to Vote
   8      Intercompany Interests             Unimpaired     Presumed to Accept; Not Entitled to Vote




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       B.      Treatment of Claims and Interests.

               1.     Class 1 – Other Priority Claims.

                      a.      Classification: Class 1 consists of all Other Priority Claims.

                        b.     Treatment: Except to the extent that a Holder of an Allowed Other
Priority Claim agrees to less favorable treatment, in exchange for full and final satisfaction,
settlement, release, and discharge of (including any Liens related thereto) each Allowed Other
Priority Claim, each Holder of an Allowed Other Priority Claim shall receive payment in full in
Cash of such Allowed Other Priority Claim on or as soon as reasonably practicable after the last
to occur of (i) the Effective Date, (ii) the date such Other Priority Claim becomes and Allowed
Claim, (iii) the date on which such Allowed Other Priority Claim is due to be paid in the ordinary
course of business of the Debtors or Reorganized Debtors, if applicable, and (iv) the date on which
the Holder of such Allowed Other Priority Claim and the Debtors or Reorganized Debtors shall
otherwise agree in writing.

                        c.      Voting: Allowed Other Priority Claims in Class 1 are Unimpaired.
Each Holder of an Allowed Other Priority Claim shall be conclusively presumed to have accepted
this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to
vote to accept or reject this Plan.

               2.     Class 2 – Other Secured Claims.

                      a.      Classification: Class 2 consists of all Other Secured Claims.

                        b.      Treatment: Except to the extent that a Holder of an Allowed Other
Secured Claim agrees to less favorable treatment, in exchange for full and final satisfaction,
settlement, release, and discharge of (including any Liens related thereto) each Allowed Other
Secured Claim, each Holder of an Allowed Other Secured Claim shall, in the discretion of the
Reorganized Debtors, receive (i) treatment of such Allowed Other Secured Claim in any manner
that renders the claim Unimpaired, including Reinstatement, (ii) payment in full in Cash, including
the payment of any interest required to be paid under section 506(b) of the Bankruptcy Code, or
(iii) the collateral securing such Allowed Other Secured Claim, in each case on or as soon as
reasonably practicable after the Effective Date.

                        c.      Voting: Allowed Other Secured Claims in Class 2 are Unimpaired.
Each Holder of an Allowed Other Secured Claim shall be conclusively deemed to have accepted
this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to
vote to accept or reject this Plan.




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               3.      Class 3 – Prepetition ABL Claims.

                       a.      Classification: Class 3 consists of all Prepetition ABL Claims.

                        b.     Allowance: The Prepetition ABL Claims are Allowed and will be
paid in full by being deemed to roll-up into the DIP ABL Credit Facility pursuant to the DIP Orders
in the full principal amount plus all accrued and unpaid fees, costs, expenses, interest (at the non-
default rate), charges, premiums and other obligations due under the Prepetition ABL Facility and
such Prepetition ABL Claims shall not be subject to recharacterization, subordination, avoidance
or any other claim or defense.

                        c.     Treatment: In exchange for full and final satisfaction, settlement,
release, and discharge of (including any Liens related thereto) each Allowed Prepetition ABL
Claim, each Holder of an Allowed Prepetition ABL Claim will receive indefeasible payment in
full of such Allowed Prepetition ABL Claim through the consensual roll-up of the Allowed
Prepetition ABL Claims into the DIP ABL Credit Facility in accordance with the terms of the DIP
Orders and the DIP ABL Credit Facility; provided, however, that all indemnification obligations
of the Debtors arising under the Prepetition ABL Documents in favor of the Prepetition ABL Agent
or any Prepetition ABL Lender, or any of their directors, officers, employees, agents, affiliates,
controlling persons, and legal and financial advisors, shall remain in full force and effect and be
assumed by and enforceable against the Reorganized Debtors on and after the Effective Date.

                        d.      Voting: Allowed Prepetition ABL Claims in Class 3 are
Unimpaired. Each Holder of an Allowed Prepetition ABL Claim shall be conclusively deemed to
have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not
be entitled to vote to accept or reject this Plan.

               4.      Class 4 – Prepetition Term Loan Claims.

                       a.      Classification:   Class 4 consists of all Prepetition Term Loan
Claims.

                       b.      Allowance: The Prepetition Term Loan Claims are Allowed in the
full principal amount plus all accrued and unpaid fees, costs, expenses, interest (at the non-default
rate), charges, premiums and other obligations due under the Prepetition Term Loan Facility, and
such Prepetition Term Loan Claims shall not be subject to recharacterization, subordination,
avoidance or any other claim or defense.

                      c.       Treatment: In exchange for full and final satisfaction, settlement,
release, and discharge of (including any Liens related thereto) each Allowed Prepetition Term
Loan Claim, each Holder of an Allowed Prepetition Term Loan Claim shall receive indefeasible
payment in full in Cash of such Allowed Prepetition Term Loan Claim on the Effective Date;
provided, however, that all indemnification obligations of the Debtors arising under the Prepetition
Term Loan Documents in favor of the Prepetition Term Loan Lender, or its directors, officers,
employees, agents, affiliates, controlling persons, and legal and financial advisors, shall remain in



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full force and effect and be assumed by and enforceable against the Reorganized Debtors on and
after the Effective Date.

                        d.      Voting: Allowed Prepetition Term Loan Claims in Class 4 are
Unimpaired. Each Holder of an Allowed Prepetition Term Loan Claim shall be conclusively
deemed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code and
therefore shall not be entitled to vote to accept or reject this Plan.

               5.      Class 5 – General Unsecured Claims.

                       a.      Classification: Class 5 consists of all General Unsecured Claims.

                       b.      Allowance: On the Effective Date, the Intra-Group Loan Claims
shall be Allowed.

                       c.      Treatment:

                              (i)     Subject to Article III.B.5.c(ii) and Article III.B.5.c(iii) in
respect of Allowed General Unsecured Claims that are Rejection Damages Claims or Intra-Group
Loan Claims, except to the extent that a Holder of an Allowed General Unsecured Claim agrees to
less favorable treatment, in exchange for full and final satisfaction, settlement, release, and
discharge of each Allowed General Unsecured Claim, each Holder of an Allowed General
Unsecured Claim shall receive payment in full of such Allowed General Unsecured Claim in Cash
on or as soon as reasonably practicable after the last to occur of (x) the Effective Date, (y) the date
on which an Allowed General Unsecured Claim is due to be paid in the ordinary course of business
of the Debtors or the Reorganized Debtors, or (z) the date on which the Holder of an Allowed
General Unsecured Claim and the Debtors or Reorganized Debtors shall otherwise agree in
writing.

                               (ii)   Except to the extent that a Holder of an Allowed General
Unsecured Claim that is a Rejection Damages Claim agrees to less favorable treatment, in
exchange for full and final satisfaction, settlement, release, and discharge of each Allowed
Rejection Damages Claim, each Holder of an Allowed Rejection Damages Claim shall receive
payment in full of such Allowed Rejection Damages Claim in Cash on or as soon as reasonably
practicable after the last to occur of (x) the date such Rejection Damages Claim becomes an
Allowed Claim pursuant to Article VII.B.2 or (y) the date on which the Holder of an Allowed
Rejection Damages Claim and the Debtors or Reorganized Debtors shall otherwise agree in
writing.

                               (iii)  Each Holder of an Allowed General Unsecured Claim that is
an Intra-Group Loan Claim has, in accordance with section 1123(a)(4) of the Bankruptcy Code,
agreed to less favorable treatment of such Allowed Intra-Group Loan Claim. Specifically, each
Holder of an Allowed Intra-Group Loan Claim against each Debtor has agreed to receive no
distributions under the Plan solely on account of such Allowed Intra-Group Loan Claims, and the
Intra-Group Loan Guarantees by such Debtors shall be released on the Effective Date.



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                        d.     Voting: Allowed General Unsecured Claims in Class 5 are
Unimpaired. Each Holder of an Allowed General Unsecured Claim shall be conclusively deemed
to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall
not be entitled to vote to accept or reject this Plan.

                6.     Class 6 – Intercompany Claims.

                       a.      Classification: Class 6 consists of all Intercompany Claims.

                       b.      Treatment: On the Effective Date, all Intercompany Claims shall be
Reinstated.

                         c.      Voting: Allowed Intercompany Claims in Class 6 are Unimpaired.
Each Holder of an Allowed Intercompany Claim shall be conclusively deemed to have accepted
this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to
vote to accept or reject this Plan.

                7.     Class 7 – Interests in MF Holdco.

                       a.      Classification: Class 7 consists of all Interests in MF Holdco.

                      b.     Treatment: On the Effective Date, all Interests in MF Holdco shall
be Reinstated; provided, however, that such Interests shall, if the MF Holdco Stock is issued to the
Exit Term Loan Lenders pursuant to the Exit Term Loan Lender Election, be subject to dilution
by (i) the MF Holdco Stock and (ii) the Interests reserved by MF Holdco for the Management
Incentive Plan.

                       c.    Voting: Interests in MF Holdco in Class 7 are Impaired. Each
Holder of an Interest in MF Holdco shall be entitled to vote to accept or reject this Plan.

                8.     Class 8 – Intercompany Interests.

                       a.      Classification: Class 8 consists of all Intercompany Interests.

                         b.     Treatment: On the Effective Date, Intercompany Interests shall be
Reinstated, and the legal, equitable, and contractual rights to which Holders of Intercompany
Interests are entitled shall remain unaltered to the extent necessary to implement this Plan.

                        c.    Voting: Intercompany Interests in Class 8 are Unimpaired. Each
Holder of an Intercompany Interest shall be conclusively deemed to have accepted this Plan
pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to vote to
accept or reject this Plan.

        C.      Special Provisions Regarding Unimpaired Claims.




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               1.      Specified Unimpaired Claims.

        Notwithstanding anything to the contrary in this Plan, each Holder of an Allowed Other
Priority Claim in Class 1, an Allowed Other Secured Claim in Class 2, an Allowed General
Unsecured Claim in Class 5 other than a Rejection Damages Claim or an Intra-Group Loan Claim,
or an Allowed Intercompany Claim in Class 6 (each such Allowed Claim, a “Specified Unimpaired
Claim”) shall be entitled to enforce its rights in respect of such Specified Unimpaired Claim against
the Reorganized Debtors until such Specified Unimpaired Claim has been either (a) paid in full in
accordance with applicable law, or on terms agreed to between the Holder of such Specified
Unimpaired Claim and the Debtors or Reorganized Debtors, or in accordance with the terms and
conditions of the applicable documentation or laws giving rise to such Specified Unimpaired Claim
or (b) otherwise satisfied or disposed of as determined by a court of competent jurisdiction.

               2.      Rights and Defenses of the Debtors and the Reorganized Debtors.

        Except as otherwise provided in this Plan, the Debtors and the Reorganized Debtors shall
retain all rights and defenses, both legal and equitable, under the Bankruptcy Code or other
applicable bankruptcy and non-bankruptcy law with respect to any Unimpaired Claim (other than
the power to Impair an Unimpaired Claim within the meaning of section 1124 of the Bankruptcy
Code), including, but not limited to, legal and equitable rights of setoff and/or recoupment with
respect to the Unimpaired Claims.

       D.      Alternative Treatment.

        Notwithstanding any provision herein to the contrary, any Holder of an Allowed Claim
may receive, in lieu of the distribution or treatment to which it is entitled hereunder, any other
distribution or treatment to which such Holder and the Debtors or Reorganized Debtors may agree
in writing prior to or during the Chapter 11 Cases, including the Plan Support Agreement.

                                          ARTICLE IV.

                         ACCEPTANCE OR REJECTION OF PLAN

        Holders of Claims or Interests in Classes 1–6 and Holders of Interests in Class 8 are
Unimpaired under this Plan and are therefore conclusively presumed to have accepted this Plan
pursuant to section 1126(f) of the Bankruptcy Code. Accordingly, no Holders of Claims or
Interests in such Classes shall be entitled to vote to accept or reject this Plan. Class 7 is Impaired
under this Plan, and the Holders of Interests in Class 7 are entitled to vote to accept or reject this
Plan.

                                           ARTICLE V.

                        MEANS FOR IMPLEMENTATION OF PLAN

       A.      Sources of Cash Consideration for Plan Distributions.



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        All Cash necessary for the Reorganized Debtors to make payments required by this Plan
shall be obtained from (1) Cash on hand, including Cash from operations and the proceeds of the
DIP Credit Facilities, and (2) the proceeds of the Exit Facilities.

       B.      Exit Facilities.

        On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities and
provide any related guarantees, and the Exit Facilities shall be made available to the Reorganized
Debtors pursuant and subject to the terms and conditions set forth in the Exit Facility Documents.
Pursuant to the terms of the Exit Term Loan Facility the Exit Term Loan Lenders shall make the
Exit Term Loan Lender Election on or prior to the Effective Date and shall receive either the (1)
the Stripes Stock and the Stripes PIK Debt or (2) the MF Holdco Stock and the MF Holdco PIK
Debt on the Effective Date.

        The Confirmation Order shall constitute approval of the Exit Facilities (including the
transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
obligations to be incurred and fees paid by the Reorganized Debtors in connection therewith), and
authorization for the Reorganized Debtors to enter into and perform under the Exit Facility
Documents and such other documents as may be required or appropriate.

       C.      Intra-Group Loan Facilities.

        For the avoidance of doubt, except as provided in Article III.B.5.c.iii with respect to the
release of the Intra-Group Loan Guarantees, no provision of this Plan including the releases
granted under Article X.D.2 of this Plan, shall constitute a discharge, release, or other modification
of the Intra-Group Loan Facilities or the obligations of Stripes or its non-Debtor Affiliates
thereunder. Pursuant to the Plan Support Agreement, SEAG and Möbel have agreed to contribute
the Intra-Group Loan Claims (other than the Intra-Group Loan Guarantees, which are released
hereby) to the share capital of Stripes, and to release the guarantee by MFHC in respect of the
Intra-Group Loan Facilities, provided that the conditions to such contribution and release specified
in the Plan Support Agreement are met.

       D.      Corporate Action.

       Upon the Effective Date, all actions contemplated by this Plan shall be deemed authorized,
approved, and, to the extent taken prior to the Effective Date, ratified in all respects without any
requirement of further action by stockholders, members, creditors, directors, or managers of the
Debtors, the Reorganized Debtors, or any other Entity.

       E.      Reorganized Debtors’ Directors and Officers.

        Pursuant to section 1129(a)(5) of the Bankruptcy Code, to the extent that there are
anticipated changes in the Reorganized Debtors’ Directors and Officers under the terms of the Exit
Term Loan Facility or otherwise, the Debtors will identify those changes in their brief in support
of Confirmation of the Plan to be filed in these Chapter 11 Cases. After the Effective Date, the



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Reorganized Debtors’ organizational documents, as each may be amended thereafter from time to
time, shall govern the designation and election of directors of the Reorganized Debtors.

       F.      Continued Legal Existence and Vesting of Assets in the Reorganized Debtors.

        Except as otherwise provided in this Plan, each of the Debtors shall continue to exist on
and after the Effective Date as a separate corporation, limited liability company, or other form of
Entity, as the case may be, with all of the powers of such Entity under applicable law in the
jurisdiction in which each Debtor is organized, incorporated, or otherwise formed and pursuant to
such Debtor’s articles of incorporation or formation, operating agreement, by-laws (or other
analogous formation and governance documents) in effect immediately prior to the Effective Date
(provided that such organizational documents shall be amended to prohibit the Reorganized Debtor
from issuing non-voting equity securities, to the extent necessary to comply with section 1123(a)
of the Bankruptcy Code), without prejudice to any right of the Reorganized Debtors to terminate
such existence (whether by merger or otherwise) under applicable law after the Effective Date. In
accordance with Article X.B, and except as explicitly provided in this Plan, on the Effective Date,
all property comprising the Estates shall vest in the Reorganized Debtors.

       G.      Cancellation of Liens.

        Except as otherwise provided in this Plan, or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with this Plan, on the Effective
Date, in consideration for the distributions to be made on the Effective Date pursuant to this Plan,
all Liens, charges, and encumbrances related to any Claim (other than any Lien securing an Other
Secured Claim, solely to the extent such Claim is not Reinstated pursuant to this Plan), shall be
terminated, null and void and of no force or effect. Each Holder of an Allowed Other Secured
Claim (to the extent such Claim is not Reinstated pursuant to this Plan), an Allowed Prepetition
ABL Claim, and/or an Allowed Prepetition Term Loan Claim shall be authorized and directed to
release any collateral or other property of the Debtors (including any Cash collateral) held by such
Holder and to take such actions as may be requested by the Debtors (or the Reorganized Debtors
as the case may be) to evidence the release of any Liens, including the execution, delivery, and
filing or recording of such release documents as may be requested by the Debtors (or the
Reorganized Debtors, as the case may be). The Debtors (or the Reorganized Debtors as the case
may be) and any of their respective agents, attorneys or designees, shall be authorized to execute
and file on behalf of creditors Form UCC-3 termination statements, intellectual property
assignments, mortgage or deed of trust releases or such other forms or release documents as may
be necessary or appropriate to implement the provisions of this section.

       H.      Preservation of Causes of Action.

        In accordance with section 1123(b)(3) of the Bankruptcy Code, but subject to the releases
set forth in Article X.D.1, all Causes of Action that a Debtor may hold against any Entity shall vest
in the applicable Reorganized Debtor on the Effective Date. Thereafter, the Reorganized Debtors
shall have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute,
enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes
of Action, whether arising before or after the Petition Date, and to decline to do any of the

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foregoing without the consent or approval of any third party or further notice to or action, order,
or approval of the Bankruptcy Court. No Entity may rely on the absence of a specific reference
in this Plan or the Disclosure Statement to any specific Cause of Action as any indication that
the Debtors or Reorganized Debtors, as applicable, will not pursue any and all available
Causes of Action. The Debtors or Reorganized Debtors, as applicable, expressly reserve all
rights to prosecute any and all Causes of Action against any Entity, except as otherwise
expressly provided in this Plan, and, therefore, no preclusion doctrine, including the doctrines of
res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or
otherwise) or laches, shall apply to any Cause of Action upon, after, or as a consequence of the
Confirmation or the occurrence of the Effective Date.

       I.      Exemption from Certain Transfer Taxes and Recording Fees.

        To the maximum extent permitted pursuant to section 1146(a) of the Bankruptcy Code,
any transfers of property pursuant to this Plan (including, without limitation, the execution and
delivery of the Exit Facilities) shall not be subject to any document recording tax, stamp tax,
conveyance fee, intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax, sale or
use tax, mortgage recording tax, or other similar tax or governmental assessment, and, upon entry
of the Confirmation Order, the appropriate state or local governmental officials or agents shall
forego the collection of any such tax or governmental assessment and are allowed to accept for
filing and recordation any of the foregoing instruments or other documents pursuant to such
transfers of property without the payment of any such tax, recordation fee, or governmental
assessment.

       J.      Management Incentive Plan.

        In accordance with the terms of the Plan Support Agreement and the Exit Term Loan
Facility, certain of the Reorganized Debtors’ senior management shall be entitled to participate in
the Management Incentive Plan, the terms of which shall become effective only after the Effective
Date. The Management Incentive Plan is a post-bankruptcy incentive plan and provides no awards
for actions taken by any of the Debtors’ employees during the Chapter 11 Cases. Pursuant to the
terms of the Plan Support Agreement, Steinhoff Holdings, Steinhoff Finance, Möbel, SEAG,
Stripes, and MFHC consent to (A) the issuance of 10% (on a fully-diluted basis) of the stock in
either (1) Stripes, if the Stripes Stock is issued pursuant to the Exit Term Loan Lender Election, or
(2) MF Holdco, if the MF Holdco Stock is issued pursuant to the Exit Term Loan Lender Election
to members of senior management of the Reorganized Debtors following the Effective Date, with
all matters relating to vesting of such stock based on time and performance to be determined by a
majority vote of the board of directors of Stripes or MF Holdco, as applicable, with respect to
which each of the directors is provided an opportunity to vote following the Effective Date, and
(B) the issuance of 10% of the principal amount of (1) the Stripes PIK Debt if the Stripes PIK Debt
is issued pursuant to the Exit Term Loan Lender Election, or (2) the MF Holdco PIK Debt, if the
MF Holdco PIK Debt is issued pursuant to the Exit Term Loan Lender Election, to members of
senior management of the Reorganized Debtors following the Effective Date, with the allocations
thereof to be determined by a majority vote of the board of directors of Stripes or MF Holdco, as
applicable, with respect to which each of the directors is provided an opportunity to vote following
the Effective Date of the Plan in a way that avoids triggering adverse tax consequences for such

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members of senior management or, in the alternative, compensation of comparable value in a form
to be reasonably agreed upon ((A) and (B) collectively, the “Management Incentive Plan”).

       K.      Workers’ Compensation Programs.

        As of the Effective Date, the Reorganized Debtors shall continue to honor their obligations
under (1) all applicable workers’ compensation laws in states in which the Reorganized Debtors
operate; and (2) the Debtors’ (a) written contracts, agreements, and agreements of indemnity, in
each case relating to workers’ compensation, (b) self-insured workers’ compensation bonds,
policies, programs, and plans for workers’ compensation and (c) workers’ compensation
insurance.

       L.      Operations Between the Confirmation Date and the Effective Date.

        During the period from the Confirmation Date to and including the Effective Date, the
Debtors may continue to operate their business as debtors in possession in the ordinary course,
subject to all applicable orders of the Bankruptcy Court and the provisions of the Bankruptcy Code.

       M.      Dissolution of Creditors’ Committee.

        The Debtors do not anticipate that a Creditors’ Committee will be formed in the Chapter
11 Cases because all Holders of Allowed General Unsecured Claims are Unimpaired under this
Plan. Notwithstanding the foregoing, a Creditors’ Committee, if appointed, shall continue in
existence until the Effective Date to exercise those powers and perform those duties specified in
section 1103 of the Bankruptcy Code and shall perform such other duties as it may be assigned by
the Bankruptcy Court prior to the Effective Date. On the Effective Date, the Creditors’ Committee,
if appointed, shall be dissolved and the Creditors’ Committee members shall be deemed released
of all of their duties, responsibilities, and obligations in connection with the Chapter 11 Cases or
this Plan and its implementation, and the retention and employment of the Creditors’ Committee’s
attorneys, accountants, professionals and other agents shall terminate.

                                          ARTICLE VI.

      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      Assumption of Executory Contracts and Unexpired Leases.

       On the Effective Date, all Executory Contracts or Unexpired Leases, including the Plan
Support Agreement, shall be deemed assumed by the applicable Reorganized Debtor in accordance
with the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code (each an
“Assumed Contract” or “Assumed Lease”), unless any such Executory Contract or Unexpired
Lease:

               (1)     has previously been rejected by a Final Order of the Bankruptcy Court;

               (2)    has previously been rejected by an order of the Bankruptcy Court as of the
Effective Date, which order becomes a Final Order after the Effective Date;
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                (3)    is the subject of a Rejection Motion or Lease Rejection Notice pending as
of the Effective Date and is subsequently rejected by a Final Order of the Bankruptcy Court; or

                (4)     is identified on the Schedule of Post-Effective Date Negotiated Leases as
an Unexpired Lease as to which the counterparty has consented in writing to the Debtors’ deferral
of their decision to assume or reject for a period of up to ninety (90) days after the Effective Date;
provided, however, that the Debtors or the Reorganized Debtors, as applicable, may assume any
Unexpired Lease identified on the Schedule of Post-Effective Date Negotiated Leases at any time
before termination of the Post-Effective Date Lease Negotiation Period on such terms as may be
agreed with the relevant counterparty thereto.

        The Debtors will not assign any Executory Contracts or Unexpired Leases pursuant to this
Plan.

        Entry of the Confirmation Order shall constitute findings by the Bankruptcy Court that
(a) the Reorganized Debtors have properly provided for the cure of any defaults that might have
existed consistent with the requirements of section 365(b)(1) of the Bankruptcy Code; (b) each
assumption is in the best interest of the Reorganized Debtors, their Estates, and all parties in
interest in the Chapter 11 Cases; and (c) the requirements for assumption of any Executory
Contract or Unexpired Lease to be assumed have been satisfied. Except as otherwise provided in
the following sentence, defaults under Assumed Contracts and Assumed Leases will be cured by
being Reinstated, and all Claims under any Assumed Contract or Assumed Lease shall be paid by
the Reorganized Debtors on the Effective Date or as soon as reasonably practicable thereafter. In
the event of a dispute as to the amount necessary to satisfy any Claim under section 365(b)(1) of
the Bankruptcy Code, such Claim shall be paid upon the later of (i) a settlement of such dispute
between the Reorganized Debtors and the relevant Holder and (ii) entry of a Final Order resolving
such dispute; provided, however, that if a counterparty’s objection to the amount necessary to
satisfy a Claim under section 365(b)(1) of the Bankruptcy Code is sustained, the Reorganized
Debtors may elect, in their discretion, to reject such Executory Contract or Unexpired Lease in
lieu of assuming such Executory Contract or Unexpired Lease.

        B.     Rejection of Executory Contracts and Unexpired Leases.

        Executory Contracts and Unexpired Leases that are the subject of a Rejection Motion or a
Lease Rejection Notice shall be deemed rejected on the date specified in the Final Order
authorizing such rejection. The Debtors reserve the right, at any time prior to the Effective Date
(subject to the following paragraph in respect of the Schedule of Post-Effective Date Negotiated
Leases), to file one or more motions requesting authorization to reject any Executory Contract or
Unexpired Lease and/or file one or more Lease Rejection Notices, and to remove any Executory
Contract or Unexpired Lease from any such Rejection Motion or Lease Rejection Notice. The
Debtors are authorized to abandon any Remaining Property at or on the leased premises subject to
an Unexpired Lease rejected by a Final Order, and the counterparties to the rejected Unexpired
Leases may dispose of any such Remaining Property at or on the subject premises on the applicable
lease rejection effective date in accordance with the terms and provisions of the Lease Rejection
Procedures Order or any Final Order authorizing such rejection.

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        Notwithstanding anything to the contrary in this Plan, the Debtors and Reorganized
Debtors shall be entitled to file one or more Lease Rejection Notices after the Effective Date up to
and including the third Business Day after the termination of the Post-Effective Date Lease
Negotiation Period to reflect their decision, if any, to reject Unexpired Leases of nonresidential
real property listed on the Schedule of Post-Effective Date Negotiated Leases.

       C.      Compensation and Benefits Programs.

       All of the Compensation and Benefits Programs entered into before the Petition Date and
not since terminated shall be deemed to be, and shall be treated as though they are, Assumed
Contracts under Article VI.A, and the Debtors’ and Reorganized Debtors’ obligations under the
Compensation and Benefits Programs will survive Confirmation of this Plan and be fulfilled in the
ordinary course of business.

       D.      Indemnification Obligations.

         Notwithstanding anything in this Plan to the contrary, each Indemnification Obligation
shall be assumed by the applicable Debtor effective as of the Effective Date, pursuant to sections
356 and 1123 of the Bankruptcy Code or otherwise. Each Indemnification Obligation shall remain
in full force and effect, shall not be modified, reduced, discharged, impaired, or otherwise affected
in any way, and shall survive Unimpaired and unaffected, irrespective of when such obligation
arose. For the avoidance of doubt, this Article VI.D affects only the obligations of the Debtors
and Reorganized Debtors with respect to any Indemnification Obligations owed to or for the
benefit of past and present directors, officers, employees, attorneys, accountants, investment
bankers, and other professionals and agents of the Debtors, and shall have no effect on nor in any
way discharge or reduce, in whole or in part, any obligation of any other Entity owed to or for the
benefit of such directors, officers, employees, attorneys, accountants, investment bankers, and
other professionals and agents of the Debtors.

       E.      Modifications, Amendments, Supplements, Restatements, or Other Agreements.

       Unless otherwise provided in this Plan, each Assumed Contract or Assumed Lease shall
include all modifications, amendments, supplements, restatements, or other agreements that in any
manner affect such Assumed Contract or Assumed Lease, and Executory Contracts and Unexpired
Leases related thereto, if any, unless the Debtors reject or repudiate any of the foregoing
agreements. Modifications, amendments, and supplements to, or restatements of, prepetition
Executory Contracts and Unexpired Leases that have been executed by the Debtors during the
Chapter 11 Cases shall not be deemed to alter the prepetition nature of the Executory Contract or
Unexpired Lease, or the validity, priority, or amount of any Claims that may arise in connection
therewith.

       F.      Reservation of Rights.

       Neither the inclusion of any Executory Contract or Unexpired Lease in a Rejection Motion
or a Lease Rejection Notice, nor anything contained in this Plan, shall constitute an admission by

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the Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease or
that any Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether
a contract or lease is or was executory or unexpired at the time of assumption or rejection, the
Debtors, or, after the Effective Date, the Reorganized Debtors, shall have thirty (30) days
following entry of a Final Order resolving such dispute to alter their treatment of such contract or
lease.

                                         ARTICLE VII.

                    PROVISIONS FOR RESOLVING DISPUTED CLAIMS

       On and after the Effective Date, the Debtors or the Reorganized Debtors shall retain any
and all of their rights and defenses such Debtor had with respect to any Claim that existed
immediately before the Effective Date.

       A.      Claims Other than Rejection Damages Claims.

       Subject to Article VII.B in respect of Rejection Damages Claims, the Debtors and the
Reorganized Debtors may contest the amount and validity of any disputed, contingent, or
unliquidated Claim in the ordinary course of business in the manner and venue in which such
Claim would have been determined, resolved, or adjudicated if the Chapter 11 Cases had not been
commenced. No Proofs of Claim need be filed for any Claims other than Rejection Damages
Claims.

       B.      Rejection Damages Claims.

               1.      Proofs of Claim for Rejection Damages Claims.

        If the rejection of an Executory Contract or Unexpired Lease results in a Rejection
Damages Claim, then such Claim shall be forever barred and shall not be enforceable against the
Debtors or the Reorganized Debtors or their properties, or any of their interests in properties as
agent, successor or assign, unless a Proof of Claim is filed with the Claims and Noticing Agent
and served upon counsel to the Reorganized Debtors no later than the Rejection Damages Claims
Bar Date. The Debtors shall give notice of the Rejection Damages Claims Bar Date established
by this Article VI.B and provide a Proof of Claim form (i) to the counterparties to rejected
Executory Contracts or Unexpired Leases as of the Effective Date by service of the Notice of
Effective Date, and (ii) to the counterparties to the Unexpired Leases of nonresidential real
property listed on the Schedule of Post-Effective Date Negotiated Leases that are subject to
Rejection Notices after the Effective Date by service of such Rejection Notice.

               2.      Allowance of Rejection Damages Claims.

       No Rejection Damages Claim shall become an Allowed Claim unless and until (i) a Proof
of Claim is timely filed on account of such Claim and (ii) such Claim is (x) Allowed pursuant to a
Final Order or (y) settled or compromised between the applicable Debtor and the counterparty to
the applicable Executory Contract or Unexpired Lease.


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               3.      Administration of Rejection Damages Claims.

         Except as otherwise provided in this Plan and notwithstanding any requirements that may
be imposed by Bankruptcy Rule 9019, after the Effective Date the Reorganized Debtors shall have
the authority to: (a) file, withdraw, or litigate to judgment objections to Rejection Damages Claims;
(b) settle or compromise any Disputed Rejection Damages Claim without any further notice to or
action, order, or approval by the Bankruptcy Court; and (c) administer and adjust the Claims
Register to reflect any such settlements or compromises without further notice to or action, order,
or approval by the Bankruptcy Court.

               4.      Time to File Objections to Rejection Damages Claims.

       Any objection to a Rejection Damages Claim shall be filed on or before the Claims
Objection Deadline, as such deadline may be extended from time to time.

               5.      Adjustment to Claims Register without Objection.

        The Debtors or the Reorganized Debtors may adjust and expunge any duplicate Claim, any
Claim that has been paid or satisfied, or any claim that has been amended or superseded, upon
stipulation between the parties without the need for a Claims objection to be filed and without any
further notice to or action, order, or approval of the Bankruptcy Court.

                                         ARTICLE VIII.

                       PROVISIONS GOVERNING DISTRIBUTIONS

       A.      Allowed Claims and Interests.

       Notwithstanding any provision herein to the contrary, the Debtors or the Reorganized
Debtors shall make distributions only to Holders of Allowed Claims. A Holder of a Disputed
Claim shall receive only a distribution on account thereof when and to the extent that such Holder’s
Disputed Claim becomes an Allowed Claim.

       B.      Interest and Penalties on Claims.

        Unless otherwise specifically provided for in this Plan or the Confirmation Order, required
by applicable bankruptcy law, or necessary to render a Claim Unimpaired, post-petition interest
and penalties shall not accrue or be paid on any Claims, including Priority Tax Claims, Other
Priority Claims, and General Unsecured Claims, and no Holder of a Claim shall be entitled to
interest and penalties accruing on or after the petition Date through the date such Claim is satisfied
in accordance with the terms of this Plan.

       C.      Means of Cash Payment.

        Payments of Cash made pursuant to this Plan shall be made, at the option and in the sole
discretion of the Reorganized Debtors, by checks drawn on or wire transfers from a bank selected
by the Reorganized Debtors.
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       D.      Withholding and Reporting Requirements.

       In connection with this Plan and all distributions hereunder, the Reorganized Debtors shall
comply with all withholding and reporting requirements imposed by any federal, state, local or
foreign taxing authority, and all distributions hereunder shall be subject to any such withholding
and reporting requirements. The Reorganized Debtors shall be authorized to take any and all
actions that may be necessary or appropriate to comply with such withholding and reporting
requirements.

       E.      Setoff and Recoupment.

        The Reorganized Debtors may, pursuant to sections 553 and/or 558 of the Bankruptcy
Code or applicable non-bankruptcy laws, but shall not be required to, set off and/or recoup against
any Claim the payments or other distributions to be made pursuant to this Plan in respect of such
Claim, or claims of any nature whatsoever that the Debtors or the Reorganized Debtors may have
against the Holder of such Claim; provided, however, that neither the failure to assert such rights
of setoff and/or recoupment nor the allowance of any Claim hereunder shall constitute a waiver or
release by the Reorganized Debtors of any claim that the Debtors or the Reorganized Debtors may
assert against any Holder of an Allowed Claim, and all setoff and/or recoupment claims of the
Debtors and/or the Reorganized Debtors are hereby preserved.

       F.      Undeliverable or Non-Negotiated Distributions.

        All undeliverable distributions under this Plan that remain unclaimed for one year after
attempted distribution shall indefeasibly revert to the Reorganized Debtors. Upon such reversion,
the relevant Allowed Claim shall be automatically discharged and forever barred, notwithstanding
any federal or state escheatment laws to the contrary.

       G.      Claims Paid by Third Parties.

        To the extent a Holder receives a distribution on account of a Claim and also receives
payment from a party other than the Debtors or the Reorganized Debtors on account of such Claim,
such Holder shall, within thirty (30) days of receipt thereof, repay or return the distribution to the
Reorganized Debtors, to the extent the Holder’s total recovery on account of such Claim from the
third party and under this Plan exceeds the amount of the Claim as of the date of any such
distribution under this Plan.

                                          ARTICLE IX.

                   CONFIRMATION AND CONSUMMATION OF PLAN

       A.      Conditions to the Effective Date.

        The Effective Date shall not occur unless and until the following conditions shall have been
satisfied or waived in accordance with Article IX.B:


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                1.      The Confirmation Order, in form and substance reasonably satisfactory to
the Debtors, the Exit Term Loan Lenders, and the Plan Support Parties shall have become a Final
Order and shall, among other things, provide that the Debtors and the Reorganized Debtors are
authorized to take all actions necessary or appropriate to enter into, implement, and consummate
the Exit Facilities and other agreements or documents contemplated by this Plan.

               2.      The Exit Term Loan Documents shall have been executed and delivered,
and all conditions precedent thereto shall have been satisfied (other than the occurrence of the
Effective Date), including that either:

                       a.      The Stripes Restructuring shall have been consummated (in which
                               case the Stripes Stock and the Stripes PIK Debt shall be issued to
                               the Exit Term Loan Lenders pursuant to the Exit Term Loan
                               Lender Election); or

                       b.      If the Stripes Restructuring has not been consummated, the Exit
                               Term Loan Lenders shall be satisfied, in their sole and absolute
                               discretion, with the results of their diligence into the potential U.S.
                               tax impacts of the Plan and the transactions contemplated hereby
                               (in which case the MF Holdco Stock and the MF Holdco PIK Debt
                               shall be issued to the Exit Term Loan Lenders pursuant to the Exit
                               Term Loan Lender Election).

                 3.     Any and all authorizations, consents, certifications, approvals, rulings, no-
action letters, opinions or other documents or actions required by any law, regulation or order to
be received or to occur in order to implement this Plan on the Effective Date shall have been
obtained or shall have occurred.

               4.      The Confirmation Order shall provide that all Claims for damages resulting
from the rejection or termination of an Unexpired Lease of nonresidential real property shall be
Allowed only to the extent provided under section 502(b)(6) of the Bankruptcy Code.

       B.      Waiver of Conditions.

        Each of the conditions to the occurrence of the Effective Date set forth in Article IX.A may
be waived in whole or in part by the Debtors with the prior written approval of the Exit Term Loan
Lenders and the Plan Support Parties, without notice, leave, or order of the Bankruptcy Court or
any formal action other than proceedings to confirm or consummate this Plan. The failure to
satisfy or waive any condition to the Effective Date may be asserted by the Debtors regardless of
the circumstances giving rise to the failure of such condition to be satisfied.

       C.      Vacatur of Confirmation Order; Non-Occurrence of Effective Date.

        If the Confirmation Order is vacated or the Effective Date does not occur, this Plan shall
be null and void in all respects and nothing contained in this Plan or the Disclosure Statement shall
(1) constitute a waiver or release of any Causes of Action by or Claims against or Interests in the

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Debtors; (2) prejudice in any manner the rights of the Debtors, any Holders of a Claim or Interest
or any other Entity; (3) constitute an admission, acknowledgment, offer, or undertaking by the
Debtors, any Holders, or any other Entity in any respect; or (4) be used by the Debtors or any other
Entity as evidence (or in any other way) in any litigation, including with respect to the strengths
and weaknesses of positions, arguments or claims of any of the parties to such litigation.

                                           ARTICLE X.

                            EFFECT OF PLAN CONFIRMATION

       A.      Binding Effect.

        On the Effective Date of this Plan, all provisions of this Plan, including all agreements,
instruments and other documents filed in connection with this Plan by the Debtors or the
Reorganized Debtors, shall be binding upon the Debtors, the Estates, the Reorganized Debtors, all
Holders of Claims against and Interests in the Debtors and each such Holder’s respective
successors and assigns, and all other parties that are affected in any manner by this Plan. Except
as expressly provided otherwise in this Plan, all agreements, instruments and other documents filed
in connection with this Plan shall be given full force and effect, and shall bind all parties referred
to therein as of the Effective Date, whether or not such agreements are actually issued, delivered
or recorded on the Effective Date or thereafter and whether or not a party has actually executed
such agreement.

       B.      Vesting of Assets in the Reorganized Debtors.

        Except as otherwise explicitly provided in this Plan, on the Effective Date, all property
comprising the Estates—including, without limitation, all Causes of Action not released in Article
X.D.1, all Executory Contracts and Unexpired Leases assumed by any of the Debtors, and any
property acquired by any of the Debtors, but excluding all Remaining Property that has been
abandoned pursuant to an order of the Bankruptcy Court (including without limitation, the Lease
Rejection Procedures Order)—shall vest in each respective Reorganized Debtor free and clear of
all Liens, Claims, charges, or other encumbrances unless expressly provided by this Plan or the
Confirmation Order. On and after the Effective Date, each Reorganized Debtor may operate its
business and may use, acquire, or dispose of property, and compromise or settle any Claims,
Interests, or Causes of Action without supervision or approval of the Bankruptcy Court and free
of any restrictions of the Bankruptcy Code or the Bankruptcy Rules.

       C.      Discharge.

               1.      Discharge of the Debtors.

        Except as expressly provided in this Plan or the Confirmation Order (including to the
extent any Claims are Reinstated under this Plan), all consideration distributed under this
Plan shall be in exchange for, and in complete satisfaction, settlement, discharge, and release
of, all Claims of any nature whatsoever against the Debtors or any of their assets or
properties and, regardless of whether any property shall have been abandoned by order of
the Bankruptcy Court, retained, or distributed pursuant to this Plan on account of such
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Claims, upon the Effective Date, each of the Debtors shall be deemed discharged and released
under section 1141(d)(1)(A) of the Bankruptcy Code from any and all Claims, including, but
not limited to, demands and liabilities that arose before the Effective Date, and all debts of
the kind specified in section 502 of the Bankruptcy Code, whether or not (a) a Proof of Claim
based upon such debt is filed or deemed filed under section 501 of the Bankruptcy Code, (b)
a Claim based upon such debt is Allowed under section 502 of the Bankruptcy Code, (c) a
Claim based upon such debt is or has been disallowed by order of the Bankruptcy Court, or
(d) the Holder of a Claim based upon such debt is deemed to have accepted this Plan.

              2.     Discharge Injunction.

        As of the Effective Date, except as expressly provided in this Plan or the Confirmation
Order, all Entities shall be precluded from asserting against the Debtors or the Reorganized
Debtors any Claims, debts, rights, causes of action, claims for relief, liabilities, or equity
interests relating to the Debtors that have been released, discharged, or exculpated pursuant
to the Plan and which are based upon any act, omission, transaction, occurrence, or other
activity of any nature that occurred prior to the Effective Date. In accordance with the
foregoing, except as explicitly provided in this Plan or the Confirmation Order, the
Confirmation Order shall be a judicial determination of discharge of all Claims and other
debts and liabilities against the Debtors pursuant to section 524 and 1141 of the Bankruptcy
Code, and such discharge shall void any judgment obtained against the Debtors at any time
to the extent such judgment relates to a discharged Claim.

       D.     Releases.

              1.     Releases by the Debtors.

        As of the Effective Date, except (i) for the right to enforce the Plan or any right or
obligation arising under the Definitive Documents or an assumed contract that remains in
effect or becomes effective after the Effective Date or (ii) as expressly provided in this Plan
or the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code, for good
and valuable consideration, the adequacy of which is hereby confirmed, including, without
limitation, the service of the Released Parties to facilitate and implement the reorganization
of the Debtors, as an integral component of the Plan, as of the Effective Date, the Debtors,
the Reorganized Debtors, and each of their respective current and former Affiliates (with
respect to non-Debtors, to the extent permitted by applicable law), on behalf of themselves
and their respective Estates, including, without limitation, any successor to the Debtors or
any Estate representative appointed or selected pursuant to the Bankruptcy Code, shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release, waive, void, extinguish, and discharge, each and all of the Released Parties
of and from any and all Causes of Action (including, without limitation, Avoidance Actions),
any and all other Claims, Interests, obligations, rights, demands, suits, judgments, damages,
debts, remedies, losses and liabilities of any nature whatsoever (including any derivative
claims or Causes of Action asserted or that may be asserted on behalf of the Debtors, the
Reorganized Debtors, or their Estates), whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or

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hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transaction, event, or other
circumstance taking place or existing on or before the Effective Date (including before the
Petition Date) in connection with or related to the Debtors, the Reorganized Debtors, their
respective assets and properties, and the Estates, the Chapter 11 Cases, the Plan Support
Agreement, the DIP Credit Facilities, Intra-Group Loan Guarantees, the Prepetition Debt
Documents, this Plan, the Disclosure Statement, and any related agreements, instruments,
and other documents created or entered into before or during the Chapter 11 Cases, the
pursuit of Confirmation, the administration and implementation of this Plan, including the
distribution of property under this Plan, the execution and delivery of the Exit Facilities, or
any other related agreement, or upon any other act or omission, transaction, agreement,
event, or other occurrence taking place on or before the Effective Date related or relating to
the foregoing. Notwithstanding anything to the contrary in the foregoing, the releases set
forth in this Article X.D.1 shall not be construed as (a) releasing any Released Party from
Causes of Action arising from an act or omission that is judicially determined by a Final
Order to have constituted actual fraud, willful misconduct, or gross negligence, or (b)
releasing any post-Effective Date obligations of any Entity under this Plan or any document,
instrument, or agreement executed to implement this Plan or Reinstated under this Plan.

              2.      Releases by Certain Holders of Claims.

        Except as expressly provided in this Plan or the Confirmation Order, as of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including, without limitation, the service of the Released Parties to facilitate the
reorganization of the Debtors, as an integral component of the Plan, each Releasing Party
shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release, waive, void, extinguish, and discharge each Debtor,
Reorganized Debtor, and other Released Party from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, Causes of Action, damages, debts, remedies,
losses and liabilities of any nature whatsoever, including any derivative Claims or Causes of
Action asserted or that may be asserted on behalf of the Debtors, the Reorganized Debtors,
or their Estates, that such Releasing Party would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
contract, tort or otherwise, based on or relating to, or in any manner arising from, in whole
or in part, any act, omission, transaction, event, or other circumstance taking place or
existing on or before the Effective Date (including before the Petition Date) in connection
with or related to the Debtors, the Reorganized Debtors, their respective assets and
properties, and the Estates, the Chapter 11 Cases, the Plan Support Agreement, the DIP
Credit Facilities, the Intra-Group Loan Guarantees, the Prepetition Debt Documents, this
Plan, the Disclosure Statement, the Exit Facilities, and any related agreements, instruments,
and other documents created or entered into before or during the Chapter 11 Cases the
pursuit of Confirmation, the administration and implementation of this Plan, including the
distribution of property under this Plan, or any other related agreement, or upon any other
act or omission, transaction, agreement, event, or other occurrence taking place on or before

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the Effective Date related or relating to the foregoing; provided, however, that the releases
set forth in this Article X.D.2 shall not constitute a release of any claims held by the Intra-
Group Lenders other than with respect to the Intra-Group Loan Guarantees.
Notwithstanding the foregoing, the releases set forth in this Article X.D.2 shall not be granted
or be deemed to have been granted by any Entity who returns the Opt-Out Election Form,
within thirty (30) days after entry of the Effective Date, to the address specified on the Opt-
Out Election Form, specifying that such Entity elects not to grant the releases contained in
this Article X.D.2.

       E.     Exculpation.

        From and after the Effective Date, the Exculpated Fiduciaries and, solely to the extent
provided by section 1125(e) of the Bankruptcy Code, the Section 1125(e) Parties, shall neither
have nor incur any liability to, or be subject to any right of action by, any Holder of a Claim
or an Interest, or any other party in interest, or any of their respective Affiliates, employees,
representatives, financial advisors, attorneys, or agents acting in such capacity, or any of
their successors or assigns, for any act, omission, transaction, event, or other circumstance
in connection with or related to the Debtors, the Reorganized Debtors, their respective assets
and properties, and the Estates, the Chapter 11 Cases, the Plan Support Agreement, the DIP
Credit Facilities, the Intra-Group Loan Guarantees, the Exit Facilities, the Prepetition Debt
Documents, this Plan, or the Disclosure Statement, the pursuit of Confirmation, the
administration and implementation of this Plan, including the distribution of property under
this Plan, or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence related or relating to the foregoing; provided,
however, that this Article X.D shall not apply to release (1) obligations under this Plan and
the contracts, instruments, releases, agreements, and documents delivered, Reinstated or
assumed under this Plan or (2) any Claims or Causes of Action arising out of fraud, willful
misconduct or gross negligence as determined by a Final Order.

       Each of the Exculpated Parties shall be entitled to rely, in all respects, upon the
reasonable and informed advice of counsel with respect to their duties and responsibilities
under this Plan.

       F.     Injunctions.

              1.      Injunction Related to Releases.

        Except as expressly provided in this Plan or the Confirmation Order, as of the
Effective Date, all Entities that hold, have held, or may hold a Claim or any other obligation,
suit, judgment, damages, debt, right, remedy, Cause of Action or liability of any nature
whatsoever, of the types described in Article X.D.2 and relating to the Debtors, the
Reorganized Debtors or any of their respective assets and property and/or the Estates, the
Chapter 11 Cases, the Plan Support Agreement, the DIP Credit Facilities, the Intra-Group
Loan Guarantees, the Exit Facilities, this Plan and/or the Disclosure Statement are, and shall
be, permanently, forever and completely stayed, restrained, prohibited, barred and enjoined
from taking any of the following actions against any Released Party or its property on

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account of such released liabilities, whether directly or indirectly, derivatively or otherwise,
on account of or based on the subject matter of such discharged Claims or other obligations,
suits, judgments, damages, debts, rights, remedies, causes of action or liabilities: (a)
commencing, conducting or continuing in any manner, directly or indirectly, any suit, action
or other proceeding (including, without limitation, any judicial, arbitral, administrative or
other proceeding) in any forum; (b) enforcing, attaching (including, without limitation, any
prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien; (d) setting off, seeking reimbursement or contributions from, or
subrogation against, or otherwise recouping in any manner, directly or indirectly, any
amount against any liability or obligation that is discharged under Article X.C; and/or (e)
commencing or continuing in any manner any judicial, arbitration or administrative
proceeding in any forum, that does not comply with or is inconsistent with the provisions of
this Plan or the Confirmation Order.

              2.      Injunction Related to Exculpation.

         Except as expressly provided in this Plan or the Confirmation Order, as of the
Effective Date, all Entities that hold, have held, or may hold a Claim or any other obligation,
suit, judgment, damages, debt, right, remedy, Cause of Action or liability of any nature
whatsoever, of the types described in Article X.E and relating to the Debtors, the
Reorganized Debtors or any of their respective assets and property and/or the Estates, are,
and shall be, permanently, forever and completely stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party or its
property on account of such released liabilities, whether directly or indirectly, derivatively
or otherwise, on account of or based on the subject matter of such discharged Claims or
other obligations, suits, judgments, damages, debts, rights, remedies, causes of action or
liabilities: (a) commencing, conducting or continuing in any manner, directly or indirectly,
any suit, action or other proceeding (including, without limitation, any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including,
without limitation, any prejudgment attachment), collecting, or in any way seeking to
recover any judgment, award, decree, or other order; (c) creating, perfecting or in any way
enforcing in any matter, directly or indirectly, any Lien; (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.C; and/or (e) commencing or continuing in any manner any
judicial, arbitration or administrative proceeding in any forum, that does not comply with
or is inconsistent with the provisions of this Plan or the Confirmation Order.

       G.     Term of Bankruptcy Injunction or Stays.




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         All injunctions or stays provided for in the Chapter 11 Cases under section 105 or section
362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain
in full force and effect until the Effective Date.

                                          ARTICLE XI.

                              RETENTION OF JURISDICTION

        Notwithstanding entry of the Confirmation Order and the occurrence of the Effective Date,
the Bankruptcy Court shall retain jurisdiction over all matters arising out of, and related to, the
Chapter 11 Cases and this Plan pursuant to sections 105(c) and 1142 of the Bankruptcy Code and
to the fullest extent permitted by law, including, among other things, jurisdiction to:

               1.      resolve any matters related to the assumption or rejection of any Executory
Contract or Unexpired Lease to which any Debtor is a party or with respect to which any Debtor
or Reorganized Debtor may be liable and to hear, determine the Allowed amount of, and, if
necessary, liquidate any Claims (including Rejection Damages Claims) arising therefrom.

               2.      ensure that distributions to Holders of Allowed Claims are accomplished
pursuant to the provisions of this Plan and adjudicate any and all disputes relating to distributions
under this Plan.

               3.     decide or resolve any motions, adversary proceedings, contested or litigated
matters, and any other matters and grant or deny any applications involving the Debtors that may
be pending on the Effective Date (which jurisdiction shall be non-exclusive as to any such non-
core matters);

              4.     enter such orders as may be necessary or appropriate to implement or
consummate the provisions of this Plan and all contracts, instruments, releases and other
agreements or documents created in connection with this Plan, the Disclosure Statement, or the
Confirmation Order, and issue injunctions, enter and implement other orders, or take such other
actions as may be necessary or appropriate to restrain interference by any entity with
consummation, implementation or enforcement of this Plan or the Confirmation Order;

               5.      resolve any cases, controversies, suits or disputes that may arise in
connection with the consummation, interpretation, or enforcement of this Plan or any contract,
instrument, release or other agreement or document that is executed or created pursuant to this
Plan, or any Entity’s rights arising from or obligations incurred in connection with this Plan or
such documents;

               6.      approve any modification of this Plan before or after the Effective Date
pursuant to section 1127 of the Bankruptcy Code or approve any modification of the Disclosure
Statement, the Confirmation Order or any contract, instrument, release or other agreement or
document created in connection with this Plan, the Disclosure Statement, or the Confirmation
Order, or remedy any defect or omission or reconcile any inconsistency in any Bankruptcy Court
order, this Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument,
release or other agreement or document created in connection with this Plan, the Disclosure
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Statement, or the Confirmation Order, in such manner as may be necessary or appropriate to
consummate this Plan;

               7.     hear and determine all disputes involving the existence, nature or scope of
the Debtors’ discharge;

               8.      hear and determine all applications for compensation and reimbursement of
expenses of Professionals under this Plan or under sections 330, 331, 503(b), 1103 and 1129(a)(9)
of the Bankruptcy Code, which shall be payable by the Debtors only upon allowance thereof
pursuant to an order of the Bankruptcy Court.

              9.      hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code;

                10.      enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason or in any respect modified, stayed, reversed, revoked or
vacated, or if distributions pursuant to this Plan are enjoined or stayed;

                11.    determine any other matter that may arise in connection with or relate to
this Plan, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release,
or other agreement or document created in connection with this Plan, the Disclosure Statement, or
the Confirmation Order;

              12.     enforce all orders, judgments, injunctions, releases, exculpations,
indemnifications, and rulings entered in connection with the Chapter 11 Cases;

               13.    hear and determine all matters related to the property of the Estates from
and after the Confirmation Date;

               14.    enter a Final Order or decree concluding or closing the Chapter 11 Cases;
and

             15.     hear any other matter related hereto that are not inconsistent with the
Bankruptcy Code or title 28 of the United States Code.

                                         ARTICLE XII.

                              MISCELLANEOUS PROVISIONS

       A.      Amendment or Modification of this Plan.

        Subject to section 1127 of the Bankruptcy Code, the Debtors may alter, amend or modify
this Plan at any time prior to or after the Confirmation Date but prior to the Effective Date. Each
Holder of a Claims or Interest shall be presumed to have accepted this Plan, as altered, amended
or modified, if the proposed alteration, amendment or modification does not materially and
adversely change the treatment of the Claim or Interest of such Holder.


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       B.      Effectuating Documents and Further Transactions.

        The Debtors and the Reorganized Debtors are authorized to execute, deliver, file or record
such contracts, instruments, certificates, notes, releases and other agreements or documents and
take such actions as may be necessary or appropriate to effectuate, implement and further evidence
the terms and conditions of this Plan (including, without limitation, the Exit Facility Documents).

       C.      Successors and Assigns.

       The rights, benefits and obligations of any Entity named or referred to in this Plan or the
Confirmation Order shall be binding on, and inure to the benefit of, any heir, executor,
administrator, successor or assign, Affiliate, officer, director, manager, agent, representative,
attorney, beneficiary, or guardian, if any of each such Entity.

       D.      Revocation, Withdrawal or Non-Consummation.

        This Plan constitutes a separate chapter 11 plan of reorganization for each Debtor.
Accordingly, this Plan may be confirmed and consummated for any Debtor, and the fact that this
Plan is confirmed or consummated for any particular Debtor shall have no impact on the ability or
right of any other Debtor to confirm or consummate this Plan as to that Debtor.

        The Debtors reserve the right to revoke or withdraw this Plan at any time prior to the
Confirmation Hearing and to file other plans of reorganization. If the Debtors revoke or withdraw
this Plan, or if Confirmation or consummation of this Plan fails to occur, then (1) this Plan shall
be null and void in all respects, (2) any settlement or compromise embodied in this Plan (including
the fixing of the amount of any Claim or Class of Claim), assumption of Executory Contracts or
Unexpired Leases under this Plan, and any document or agreement executed pursuant to this Plan
shall be deemed null and void, and (3) nothing contained in this Plan, and no acts taken in
preparation for consummation of this Plan, shall (a) constitute or be deemed to constitute a waiver
or release of any Claims or Causes of Action, (b) prejudice in any manner the rights of the Debtors
or any Entity in any further proceedings involving the Debtors, or (c) constitute an admission by
the Debtors or any other Entity.

       E.      Notice.

        All notices, requests, and demands to or upon the Debtors or the Reorganized Debtors to
be effective shall be in writing and, unless otherwise expressly provided herein, shall be deemed
to have been duly given or made when actually delivered, addressed as follows:

        Debtors:                Mattress Firm Holding Corp.
                                10201 S. Main Street
                                Houston, Texas 77025
                                Attn: Kindel Elam
                                kindel.elam@mfrm.com

                                with copies to:

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         Attorneys               Sidley Austin LLP
         for the Debtors:        One South Dearborn Street
                                 Chicago, Illinois 60603
                                 Attn: Bojan Guzina and Matthew E. Linder

                                 -and-

                                 Sidley Austin LLP
                                 555 West Fifth Street, Suite 4000
                                 Los Angeles, California 90013
                                 Attn: Gabriel R. MacConaill and
                                 Michael Fishel

                                 -and-

                                 Young Conaway Stargatt & Taylor, LLP
                                 1000 North King Street
                                 Wilmington, Delaware 19801
                                 Attn: Edmon L. Morton and Ashley E. Jacobs

       F.      Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of this Plan is determined by the
Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court will have the power
to alter and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void
or unenforceable, and such term or provision will then be applicable as altered or interpreted;
provided, that any such alteration or interpretation shall be reasonably satisfactory to (1) the
Debtors, (2) the Exit Term Loan Lenders, (3) the Plan Support Parties and (4) the DIP Agents
solely to the extent the provisions therein affect the legal and/or economic rights of the DIP Agents.
Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
provisions of this Plan will remain in full force and effect and will in no way be affected, impaired
or invalidated by such holding, alteration, or interpretation. The Confirmation Order will constitute
a judicial determination and will provide that each term and provision of this Plan, as it may have
been altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to
its terms.

       G.      Governing Law.

       Subject to the provisions of any contract, certificates or articles of incorporation, by-laws,
instruments, releases, or other agreements or documents entered into in connection with this Plan,
and subject further to Article XI, the rights and obligations arising under this Plan shall be
governed by, and construed and enforced in accordance with (1) the Bankruptcy Code, the
Bankruptcy Rules or other federal law to the extent applicable and (2) if none of such law is



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applicable, the laws of the State of Delaware, without giving effect to the principles of conflicts of
law of such jurisdiction.

       H.      Tax Reporting and Compliance.

        The Reorganized Debtors are hereby authorized, on behalf of each of the Debtors, to
request an expedited determination under section 505(b) of the Bankruptcy Code of the tax liability
of the Debtors for all taxable periods ending after the Petition Date to and including the Effective
Date.

       I.      Closing of Chapter 11 Cases; Caption Change

        On or after the occurrence of the Effective Date, the Reorganized Debtors may submit a
proposed final decree order (the “Final Decree Order”) to the Bankruptcy Court under certification
of counsel closing the Chapter 11 Cases of all of the Debtors except one remaining Debtor to be
identified in the Final Decree Order (the “Remaining Debtor”). All contested matters relating to
each of the Debtors, including objections to Rejection Damages Claims, shall be administered and
heard in the Chapter 11 Case of the Remaining Debtor. Further, for the avoidance of doubt, the
Remaining Debtor shall make payments of Quarterly Fees. In addition, the Reorganized Debtors
shall submit, under certification of counsel, a proposed order amending the case caption as of the
Effective Date, subject to the entry of the Final Decree Order.


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Respectfully submitted as of            Mattress Firm, Inc.
October 4, 2018                         (on behalf of itself and its Affiliated Debtors)

                                        /s/ Hendré Ackermann
                                        Hendré Ackermann
                                        Chief Operating Officer and
                                        Chief Financial Officer
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                         Exhibit B

                    Financial Projections
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                                 FINANCIAL PROJECTIONS

The Debtors, with the assistance of their advisors, developed a set of financial projections for the
period of October 4, 2018 through October 1, 2019 (fiscal year-end 2019) and for fiscal years
2020, 2021, 2022, and 2023 (such projections, the “Financial Projections” and, such period, the
“Projection Period”) for the purpose of demonstrating feasibility of the Plan.

The Financial Projections present, to the best of the Debtors’ knowledge, the Reorganized Debtors’
projected financial position, results of operations, and cash flows during the Projection Period.
Although management has prepared the Financial Projections in good faith and believes the
assumptions to be reasonable, the Debtors can provide no assurance that such assumptions will be
realized. As described in detail in the Disclosure Statement, a variety of risk factors could affect
the Company’s financial results and must be considered. Accordingly, the Financial Projections
should be reviewed in conjunction with a review of the risk factors set forth in the Disclosure
Statement and the assumptions described herein, including all relevant qualifications and
footnotes.

The Financial Projections are based upon management’s internal view of projected financial
performance conducted before the filing of these Financial Projections and may differ
methodologically from historical public reporting by the Debtors.

The Debtors believe that the Plan meets the feasibility requirement set forth in section 1129(a)(11)
of the Bankruptcy Code, and that Confirmation is not likely to be followed by liquidation or the
need for further financial reorganization of the Debtors or any successor under the Plan. In
connection with the planning and development of a plan of reorganization and for the purposes of
determining whether such Plan would satisfy this feasibility standard, the Debtors analyzed their
ability to satisfy their financial obligations while maintaining sufficient liquidity and capital
resources.

Under Accounting Standards Codification “ASC” 852, “Reorganizations” (“ASC 852”), the
Debtors note that the Financial Projections reflect the operational emergence from chapter 11 but
not the impact of fresh start accounting that will likely be required upon emergence. Fresh start
accounting requires all assets, liabilities, and equity instruments to be valued at “fair value.” The
Financial Projections account for the reorganization and related transactions pursuant to the Plan.
While the Debtors expect that they will be required to implement fresh start accounting upon
emergence, they have not yet completed the work required to quantify the impact to the Financial
Projections. When the Debtors fully implement fresh start accounting, differences are anticipated
and such differences could be material.

General Assumptions

1. Reorganized Footprint. The Financial Projections assume a reorganized footprint of 2,674
   stores (i.e., approximately 18% reduction in fleet size). Store closures are assumed to take place
   during the pendency of the bankruptcy case and expenses from store closures are reflected in
   preemergence assumptions.
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2. Post-emergence Capital Structure. The Financial Projections assume the Company secures
   a new $150 million DIP ABL Credit Facility and $100 million DIP Term Loan Credit Facility,
   and assumes the Company utilizes the full commitment of the $400 million Exit Term Loan
   Facility. The actual size of the ABL Term Loan Replacement Facility will be determined prior
   to the Confirmation Hearing.

3. Macroeconomic Factors. The Financial Projections assume that general economic conditions
   will not change significantly during the time period in question.

Operating Assumptions

4. Sales. The Company realizes revenue through the following channels:
      a. Retail Stores: Sales from the Company’s reorganized footprint of retail stores accounts
           for ~92% of annual revenues over the Projection Period.
      b. eCommerce: The Company hosts an online media platform/marketplace for the sale
           and distribution of its products, accounting for ~4% of annual revenues over the
           Projection Period.
      c. Multi-channel sales (“MCS”): The Company operates at certain events (state fairs,
           other events, and expositions) that accounts for ~4% of annual revenues over the
           Projection Period.

5. Growth Assumptions. Same-store-sales growth rates for retail stores and web are projected
   based on historical performance and recent trends. Growth rates for eCommerce and MCS are
   based on new initiatives and management expectations.

6. Gross Margin. Projected gross margin is based on historical performance, adjusted upward to
   reflect various initiatives that management has begun to implement.

7. Other Variable Expenses. Incorporates salesman expenses, delivery expenses, and financing
   fees. Other variable expenses are forecasted based on historical needs and adjusted for assumed
   cost-savings from a reorganized commission program that will also shift consumers towards
   cheaper financing, and the introduction of part-time employees.

8. Store Fixed Expenses. Projected store fixed expenses are based on lease contracts of the
   reorganized footprint.

9. Advertising. The Financial Projections assume advertising expenses at 9% of revenues, based
   on management targets.

10. Overhead and Other SG&A Expenses. Incorporates store and corporate overhead, and
    warehouse expenses. Overhead and Other SG&A expenses are forecasted based on historical
    needs and adjusted for the reorganized footprint and inflationary adjustments.
11. EBITDA. For purposes of the Financial Projections, EBITDA is defined as earnings before
    interest expense, income tax provision, depreciation and amortization.
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12. Other Non-Cash Items. Straightline rent adjustments are based on rate risers associated with
    lease contracts of the reorganized footprint.

13. Business Disruption. Business disruption includes the impact of these chapter 11 cases on
    sales, as competitors are expected to be aggressive in obtaining market-share during the
    pendency of the bankruptcy case.

14. Cash Interest. Post-reorganization interest expense reflects cash interest payments on the
    post-emergence debt.

15. Capital Expenditures. Capital expenditures include enhancements to the eCommerce
    platform, expected costs for new stores, remodels and relocation of existing stores, and IT
    projects, among other items. Capital expenditures in the Financial Projections are generally
    consistent with historical trends adjusted for the Company’s reorganized store footprint.

16. Change in Net Working Capital. Projections of changes in certain balance sheet accounts
    such as accounts receivable and accounts payable are based on historical ratios, adjusted for
    the Company’s reorganized store footprint.

17. Other. Other includes the expected receipt of a 2015 tax refund from the United States IRS
    and disbursements for expected legal settlements and retention payments.

18. Net Borrowings/(Repayment) of Exit Financing. Post-reorganization borrowings /
    (repayment) reflect amortization on the post-emergence term loan and borrows / (repayments)
    as necessary on the post-emergence asset-based loan.

Financial Projections

The Financial Projections prepared by the Debtors are summarized in the following tables.

The Company does not publish projections of its anticipated financial position or results of
operations. Unless otherwise required by securities law, the Company will not:

       •   furnish updated projections, or
       •   make updated information concerning the Financial Projections publicly available.

The Company believes that the Financial Projections represent the most probable range of
operating results and financial position and that the estimates and assumptions underlying the
projections are reasonable. The estimates and assumptions may not be realized, however and are
inherently subject to significant business, economic and competitive uncertainties and
contingencies, many of which are beyond its control. Some assumptions inevitably will not
materialize, and events and circumstances occurring subsequent to the date on which the Financial
Projections were prepared may be different from those assumed or may be unanticipated, and
therefore may affect financial results in a material and possibly adverse manner. The Financial
Projections, therefore, may not be relied upon as a guarantee or other assurance of the actual results
that will occur. Further, various operational or strategy inputs are subject to change at any time,
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including during the course of these chapter 11 cases. In addition, negotiations with landlords
remain ongoing, therefore, the number of store closures may differ from the projections subject to
those negotiations.

The Company’s board of directors was not asked to and did not approve the Financial Projections
or evaluate or endorse the projections or the assumptions underlying the Financial Projections.
Moreover, the Financial Projections were not prepared with a view toward compliance with
published guidelines of the United States Securities and Exchange Commission or guidelines
established by the American Institute of Certified Public Accountants for preparation and
presentation of prospective financial information. The Debtors’ independent auditor has not
examined, compiled or performed any procedures with respect to the Financial Projections
contained in this exhibit and, accordingly, it does not express an opinion or any other form of
assurance on such information or its achievability. The Debtors’ independent auditor assumes no
responsibility for, and denies any association with, the prospective financial information.

The Company does not intend to and disclaims any obligation to: (1) furnish updated Financial
Projections to holders of Claims or Interests before the Effective Date or to any other party after
the Effective Date; (2) include any such updated information in any documents that may be
required to be filed with the Securities and Exchange Commission; or (3) otherwise make such
updated information publicly available.
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Mattress Firm ‐ Financial Projections
($ millions)

                                                                                                                                 FINANCIAL PROJECTIONS
                                                               FY2019                                                  FY2020             FY2021              FY2022                                  FY2023
  Total Revenues……………………………………………………………………………………………………………              3,206                                                   3,420              3,591               3,761                                   3,926
    YoY Change %                                                                                                                6.7%               5.0%                4.7%                                    4.4%

  Cost of Goods Sold……………………………………………………………………………………………………             (1,253)             (1,318)             (1,377)              (1,443)             (1,507)
Product Gross Margin, net……………………………………………………………………………………………              1,953              2,102              2,214               2,317              2,419
   GM %                                                                   60.9%              61.5%              61.6%                61.6%               61.6%

 Other Variable Expenses……………………………………………………………………………………………                                            (683)                     (716)                     (760)                      (803)                     (847)
 Store Fixed Expenses…………………………………………………………………………………………………                                             (569)                     (582)                     (606)                      (619)                     (630)
 Advertising…………………………………………………………………………………………………………………                                                (289)                     (308)                     (323)                      (338)                     (353)
 Overhead and Other SG&A Expenses…………………………………………………………………………                                          (297)                     (297)                     (303)                      (309)                     (315)
EBITDA………………………………………………………………………………………………………………………                                                      116                       200                       222                        248                       274
   EBITDA %                                                                                            3.6%                      5.9%                      6.2%                       6.6%                      7.0%

  Other Non‐Cash Items………………………………………………………………………………………………                                                   2                         4                        (1)                        (5)                       (7)
  Business Disruption……………………………………………………………………………………………………                                               (50)                      ‐                         ‐                          ‐                         ‐
  Cash Interest………………………………………………………………………………………………………………                                                 (39)                      (50)                      (49)                       (49)                      (48)
  Capex…………………………………………………………………………………………………………………………                                                     (86)                      (83)                      (90)                       (90)                      (90)
  Change in Working Capital…………………………………………………………………………………………                                             (11)                         6                         9                        10                        11
  Other…………………………………………………………………………………………………………………………                                                      20                       ‐                         ‐                          ‐                         ‐
  Net Borrowing/(Repayment) of Exit Financing……………………………………………………………                                        (1)                       (6)                       (4)                        (4)                       (4)
FCF before reorganization transaction………………………………………………………………………                                         (49)                        73                        86                       111                       136

  Exit Term Loan……………………………………………………………………………………………………………                                                400                        ‐                         ‐                          ‐                         ‐
  Payoff of Loan from Steinhoff N.V. ……………………………………………………………………………                                        (80)                      ‐                         ‐                          ‐                         ‐
  Payoff of Interest from Steinhoff N.V. ………………………………………………………………………                                        (4)                     ‐                         ‐                          ‐                         ‐
  Claims Resulting from Store Closures…………………………………………………………………………                                        (97)                      ‐                         ‐                          ‐                         ‐
  Transaction/Professional Fees……………………………………………………………………………………                                           (57)                      ‐                         ‐                          ‐                         ‐
  Payoff of Existing ABL…………………………………………………………………………………………………                                             (82)                      ‐                         ‐                          ‐                         ‐
FCF after reorganization transaction…………………………………………………………………………                                           31                        73                        86                       111                       136

 Net Increase in Cash and Cash Equivalents…………………………………………………………………                    31                    73                                                86                   111                           136
 Cash and cash equivalents at beginning of the period…………………………………………………                   (31)                   ‐                                            73                   159                           269
Cash and cash equivalents at end of the period…………………………………………………………                  ‐                            73                                        159                   269                            405
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                          Exhibit C

                    Plan Support Agreement
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                                                                       EXECUTION VERSION


                              PLAN SUPPORT AGREEMENT


                This Plan Support Agreement (including the exhibits attached hereto, as the same
may be amended, modified or supplemented from time to time in accordance with the terms hereof,
this “Agreement”), dated as of October 4, 2018, is entered into by and among: Steinhoff
International Holdings N.V. (“NV”); Steinhoff Finance Holding GmbH (“Steinhoff Finance”);
Steinhoff Möbel Holding Alpha GmbH (“Alpha”); Steinhoff Europe AG (“SEAG” and together
with NV, Steinhoff Finance and Alpha, the “Steinhoff Parties”); Stripes US Holding, Inc.
(“Stripes”); Mattress Firm Holding Corp. (“MFHC”); Mattress Holdco, Inc. (“MHI”); Mattress
Holding Corp. (“MHC”) and Mattress Firm, Inc. (collectively with each subsidiary thereof that
has guaranteed the Intra-Group Loan, “Mattress Firm” and together with MHI, and MHC, the
“Mattress Firm Parties”). Each of the Steinhoff Parties, Stripes, MFHC and the Mattress Firm
Parties is referred to herein individually as a “Party,” and collectively as the “Parties.” The
Backstop Group (as defined below) is an intended third-party beneficiary of this Agreement.

                                          RECITALS

               WHEREAS, NV, Mattress Firm, and MHC are parties to that certain $80,000,000
Term Loan Agreement dated as of March 26, 2018 (as amended, restated, modified, supplemented,
or replaced from time to time, the “NV Term Loan”);

              WHEREAS, the NV Term Loan is secured by a lien on substantially all of the assets
of Mattress Firm, which lien is junior in priority to the liens securing certain senior secured
indebtedness of Mattress Firm, pursuant to that certain Intercreditor Agreement (the
“Intercreditor Agreement”) dated as of March 26, 2018, among Mattress Firm, Barclays Bank
PLC as First Lien Administrative Agent, NV as Second Lien Representative, and the other
Representatives from time to time party thereto;

               WHEREAS, Stripes, Alpha, and SEAG (by assignment from Steinhoff Finance)
are parties to that certain Intra-Group Loan Agreement dated as of September 16, 2016 (as
amended, restated, modified or supplemented from time to time, the “Intra-Group Loan”)
pursuant to which Alpha and SEAG hold claims in the amount of approximately $3.1 billion (the
“Intra-Group Claims”) against Stripes that are guaranteed (the “Intra-Group Guarantees”) by
MFHC and each of the Mattress Firm Parties, among other guarantors;

                WHEREAS, the Parties have agreed that the Mattress Firm Parties and certain of
their domestic affiliates (collectively, the “Debtors”) will commence voluntary cases (the
“Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code (as amended from
time to time, the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) to reorganize the Debtors’ businesses pursuant to a
prepackaged chapter 11 plan of reorganization substantially in the form attached hereto as Exhibit
A (as amended from time to time, the “Plan”); and

                WHEREAS, certain creditors of SEAG (the “Backstop Group”) together with
Barclays Bank PLC have agreed to backstop in full, on a several and not joint basis, an exit term
loan in the principal amount of $400 million (the “Exit Financing”) to finance the consummation
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of the Plan in accordance with the letter setting forth the terms of the exit lender’s or lenders’
commitment to provide the Exit Financing (and all exhibits and schedules thereto) (the “Exit
Commitment Letter”) attached hereto as Exhibit B;

               WHEREAS, certain creditors of the Mattress Firm Parties and the Backstop Group
have agreed to provide debtor-in-possession financing consisting of a senior secured revolving
loan of up to $150 million in principal amount and a senior secured term loan of $100 million in
principal amount (the “DIP Financing”) to finance the Chapter 11 Cases in accordance with the
terms of the DIP credit agreements (and all exhibits and schedules thereto) in respect of the DIP
Financing (the “DIP Credit Agreements”) substantially in the form attached hereto as Exhibit C;

               NOW, THEREFORE, in consideration of the premises and agreements set forth
herein, and for other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the Parties, intending to be legally bound, agree as follows:

               1.     Definitions. The following terms shall have the following definitions:

                      “Alpha” has the meaning set forth in the preamble hereof.

                      “Agreement” has the meaning set forth in the preamble hereof.

                      “Agreement Effective Date” has the meaning set forth in Section 3 hereto.

                      “Backstop Group” has the meaning set forth in the recitals hereto.

                      “Bankruptcy Code” has the meaning set forth in the recitals hereto.

                      “Bankruptcy Court” has the meaning set forth in the recitals hereto.

                      “Chapter 11 Cases” has the meaning set forth in the recitals hereto.

                     “Confirmation Order” means an order of the Bankruptcy Court
       confirming the Plan.

                      “Debtors” has the meaning set forth in the recitals hereto.

                      “Definitive Documents” has the meaning set forth in Section 2.a hereof.

                      “DIP Credit Agreements” has the meaning set forth in the recitals hereto.

                      “DIP Financing” has the meaning set forth in the recitals hereto;

                      “DIP Orders” means the interim and final orders of the Bankruptcy Court,
       in each case in form and substance reasonably acceptable to NV, approving the Debtors’
       entry into and performance under the DIP Credit Agreements, use of cash collateral and
       adequate protection in favor of NV.

                       “Disclosure Statement” means the disclosure statement (and all exhibits
       thereto) with respect to the Plan.


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              “Exit Commitment Letter” has the meaning set forth in the recitals hereto.

              “Exit Financing” has the meaning set forth in the recitals hereto.

               “Exit Facility Agreement” means the credit agreement (and all exhibits
and schedules thereto) with respect to the Exit Financing.

              “Intercreditor Agreement” has the meaning set forth in the recitals hereto.

              “Intra-Group Claim” has the meaning set forth in the recitals hereto.

              “Intra-Group Guarantees” has the meaning set forth in the recitals hereto.

              “Intra-Group Loan” has the meaning set forth in the recitals hereto.

               “Lock-Up Agreement” means the lock-up agreement dated 11 July 2018
(as amended, modified, or supplemented from time to time) entered into by, among others,
the Steinhoff Parties and certain creditors of Stripes, SEAG and Steinhoff Finance
Holdings GmbH, in connection with the financial restructuring of the European business
of the Steinhoff group.

              “LUA Consent Requirements” means such consents, waivers and/or
approvals as may be necessary for implementation of the Plan and any other transactions
contemplated in connection thereto pursuant to the terms of the Lock-Up Agreement.

              “Management Incentive Plan” has the meaning set forth in Section 2.f
hereto.

              “Mattress Firm” has the meaning set forth in the preamble hereof.

              “Mattress Firm Parties” has the meaning set forth in the preamble hereof.

              “MFHC” has the meaning set forth in the preamble hereof.

              “MHI” has the meaning set forth in the preamble hereof.

              “MHC” has the meaning set forth in the preamble hereof.

              “NV” has the meaning set forth in the preamble hereof.

              “NV Term Loan” has the meaning set forth in the recitals hereto.

              “Parties” has the meaning set forth in the preamble hereof.

             “Petition Date” means the date on which the Mattress Firm Parties
commence their Chapter 11 Cases.

              “Plan” has the meaning set forth in the recitals hereto.



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                       “Process Requirement” has the meaning set forth in section 4.c.3 hereof.

                       “Process Requirement Date” has the meaning set forth in section 4.c.3
       hereof.

                       “SEAG” has the meaning set forth in the preamble hereof.

                       “Steinhoff Finance” has the meaning set forth in the preamble hereof.

                       “Steinhoff Parties” has the meaning set forth in the preamble hereof.

                       “Stripes” has the meaning set forth in the preamble hereof.


                 2.    Obligations of the Parties.

                       a.      In General. Each of the Parties hereto agrees:

                               (1)    to promptly negotiate in good faith and execute (as
applicable) the definitive documents to which it is intended it will be a party relating to the
implementation and effectuation of the Plan, including, but not limited to (i) the Disclosure
Statement, (ii) the DIP Credit Agreements and the DIP Orders, (iii) the Plan, (iv) the Exit
Commitment Letter and the Exit Facility Agreement, (v) the Confirmation Order, and (vi) all other
agreements, documents, exhibits, annexes, schedules and any orders of the Bankruptcy Court, as
applicable, that are necessary or appropriate for the prompt consummation of the Plan (all of the
foregoing, collectively with this Agreement, in each case as amended, modified or supplemented
from time to time in accordance with the terms hereof, the “Definitive Documents”);

                                (2)     to not object to, delay, impede, commence any proceeding,
or take any other action to interfere, directly or indirectly, in any material respect with the prompt
approval, effectiveness of, and consummation of the transactions contemplated by, the Definitive
Documents; provided, however, that each of the Definitive Documents is in form and substance
reasonably acceptable to the Steinhoff Parties and the Mattress Firm Parties; and


                                (3)     to not object to, delay, impede, commence any proceeding,
or take any other action to interfere, directly or indirectly, in any material respect with the prompt
recognition of any English scheme of arrangement in any case commenced by Stripes and/or
SEAG under chapter 15 of the Bankruptcy Code in the Bankruptcy Court or other court of
competent jurisdiction.


                     b.       Precedent Transaction. Prior to the commencement of the Chapter
11 Cases, NV will contribute to Steinhoff Finance, and Steinhoff Finance will then contribute to
Alpha, and Alpha will then transfer to SEAG, 100% of the common stock of Stripes.

                        c.      Priming. NV shall be deemed to have consented to priming of its
existing prepetition liens securing the NV Term Loan by liens securing the DIP Credit Agreements
solely on the terms set forth in the DIP Orders.


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                       d.     Treatment of Intra-Group Claims and Guarantees. SEAG and Alpha
shall be deemed to have consented to the treatment of the Intra-Group Guarantees under the Plan
and agreed to the subsequent release of the Intra-Group Guarantee by MFHC and contribution of
the Intra-Group Claims to the share capital of Stripes in accordance with, and subject to, the terms
of the Plan and further agreed to execute and deliver all documents necessary to evidence such
release and contribution to capital; provided, however, that neither SEAG nor Alpha shall be
deemed to have provided the consents set forth in this subsection d, including that neither SEAG
nor Alpha shall have agreed to the release of the Intra-Group Guarantee or the contribution of the
Intra-Group Claims to the share capital of Stripes in the event that any person other than Barclays,
the Backstop Group, and any other Relevant Participant (as defined in the Lock-up Agreement) is
or will be an Exit Term Loan Lender, as defined in the Plan.

                        e.      Treatment of NV Term Loan. The Mattress Firm Parties shall have
agreed to pay in full in cash the NV Term Loan plus all accrued and unpaid fees, costs, expenses,
non-default interest, charges, premiums and other obligations in accordance with, and subject to,
the terms of the Plan.

                         f.     Management Incentive Plan. The Steinhoff Parties, Stripes and
MFHC consent to (i) the issuance of 10% (on a fully-diluted basis) of the equity in Stripes or
MHI, as applicable in accordance with the terms of the Plan and the Exit Commitment Letter, to
members of senior management of Mattress Firm following the Effective Date (as defined in the
Plan), with all matters relating to the vesting of such equity based on time and performance to be
determined by a majority vote of the board of directors of Stripes or MHI, as applicable, with
respect to which each of the directors is provided an opportunity to vote following the Effective
Date, and (ii) the issuance of 10% in principal amount of the Stripes PIK Debt or the MF Holdco
PIK Debt (each term as defined in the Plan), as applicable, to members of senior management of
Mattress Firm following the Effective Date, with the allocations thereof to be determined by a
majority vote of the board of directors of Stripes or MHI, as applicable, with respect to which
each of the directors is provided an opportunity to vote following the Effective Date in a way
that avoids triggering adverse tax consequences for such members of senior management or, in
the alternative, compensation of comparable value in a form to be reasonably agreed upon ((i)
and (ii) collectively, the “Management Incentive Plan”).

                       g.      MFHC Plan Support. MFHC, in its capacity as holder of impaired
interests in MHI, shall vote to accept the Plan.

                3.     Agreement Effective Date. This Agreement, and the rights and obligations
of the Parties hereunder, shall be effective on the date on which the following conditions have been
satisfied (the “Agreement Effective Date”):

                       a.      The Steinhoff Parties have provided written confirmation to the
Mattress Firm Parties that (i) the LUA Consent Requirements have been duly satisfied in
accordance with the terms of the Lock-Up Agreement and (ii) 100% of the common stock of
Stripes has been transferred to SEAG.

                    b.      Commitment letters with respect to the DIP Credit Agreements and
the Exit Commitment Letter have been executed and delivered to the Parties hereto.


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                        c.      Each Party hereto shall have executed and delivered to the other
Parties its signature page to this Agreement.

                       d.       All representations and warranties of the Parties contained herein
shall be true and correct in all material respects as of the Agreement Effective Date.

               4.      Termination

                       a.       This Agreement shall terminate immediately and all of the
obligations of the Parties hereunder shall be of no further force or effect in the event that (i) the
Plan is consummated; (ii) the Plan is not consummated in accordance with this Agreement by the
date on which the DIP Financing terminates, provided that the Parties hereto, in their respective
sole discretion, may extend the effectiveness of this Agreement notwithstanding the termination
of the DIP Financing; (iii) each of the Parties and the Backstop Group mutually agree to such
termination in writing; or (iv) this Agreement is terminated pursuant to paragraph (b) or (c) of this
Section 4.

                        b.      The Mattress Firm Parties may terminate this Agreement by written
notice to the other Parties hereto upon the occurrence of any of the following events:

                               (1)   upon a material breach by any Steinhoff Party of its
obligations hereunder, where such breach is not cured within five (5) business days after the giving
of written notice of such breach;

                               (2)    the Bankruptcy Court or other governmental authority with
jurisdiction shall have issued any order, injunction or other decree or shall have taken any other
action, in each case which has become final and non-appealable and which restrains, enjoins or
otherwise prohibits the implementation of the Plan or the other transactions contemplated hereby;
or

                               (3)     upon a determination of the board of directors or similar
controlling body of any Mattress Firm Party, based upon advice of counsel, that proceeding with
the Plan or any of the other transactions contemplated hereby would be inconsistent with the
exercise of its fiduciary or other duties under applicable law to its applicable stakeholders;
provided, that the Mattress Firm Party provides notice of such determination to the Steinhoff
Parties and Stripes within five (5) business days after the date thereof.

                      c.     The Steinhoff Parties and Stripes, in their respective sole and
absolute discretion, may terminate this Agreement by written notice to the Mattress Firm Parties
upon the occurrence of any of the following events:

                               (1)   upon a material breach by any Mattress Firm Party of its
obligations hereunder, where such breach is not cured within five (5) business days after the giving
of written notice of such breach;

                                 (2)    upon the filing by the Debtors of any Definitive Document
that provides for treatment of the NV Term Loan or the indebtedness or equity interests of Stripes
or any of its direct or indirect subsidiaries that is materially adverse to, or materially inconsistent


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with this Agreement with respect to, any of the Steinhoff Parties or their direct and indirect
affiliates or subsidiaries, without the Steinhoff Parties’ prior written consent;

                                (3)     Upon each of the dates (each a “Process Requirement Date”)
set forth below if the condition applicable to such date (a “Process Requirement”) has not occurred;
provided, however, that each Process Requirement Date for each Process Requirement shall be
automatically extended to the date set for the matching “Milestone” in the DIP Credit Agreements,
including if the date for such “Milestone” is extended by agreement of the required parties under
the DIP Credit Agreements:

                                      (a)     at 11:59 p.m. (ET) three (3) calendar days after the
Petition Date, unless the Mattress Firm Parties have filed the Plan and Disclosure Statement;

                                     (b)    at 11:59 p.m. (ET) five (5) calendar days after the
Petition Date, unless the Bankruptcy Court shall have entered the interim DIP Order;

                                     (c)    at 11:59 p.m. (ET) thirty-five (35) calendar days after
the Petition Date, unless the Bankruptcy Court shall have entered the final DIP Order;

                                      (d)     at 11:59 p.m. (ET) sixty (60) calendar days after the
Petition Date, unless the Mattress Firm Parties have obtained approval of the Disclosure Statement
and the Bankruptcy Court shall have entered the Confirmation Order;

                                (4)     in the event the Debtors (i) withdraw the Plan, Disclosure
Statement, or motion to approve the DIP Financing, in each case, without the prior written consent
of the Steinhoff Parties or Stripes, as applicable, (ii) move to dismiss any of the Chapter 11 Cases,
(iii) move for conversion of any of the Chapter 11 Cases to Chapter 7 of the Bankruptcy Code, (iv)
move for appointment of an examiner with expanded powers pursuant to section 1104 of the
Bankruptcy Code or a trustee in any of the Chapter 11 Cases or (v) file any motion or pleading
with the Bankruptcy Court that is materially inconsistent with this Agreement;

                               (5)     in the event (i) a trustee or an examiner with expanded
powers is appointed in any of the Chapter 11 Cases, (ii) any of the Chapter 11 Cases is dismissed
or converted to a case under Chapter 7 of the Bankruptcy Code, or (iii) the Debtors’ exclusive right
to file a Chapter 11 plan pursuant to section 1121 of the Bankruptcy Code shall have terminated;

                             (6)     the Bankruptcy Court grants relief that is (i) materially
inconsistent with this Agreement or (ii) would, or would reasonably be expected to, frustrate the
purposes of this Agreement or the Lock-Up Agreement, including by preventing the
consummation of the transactions contemplated in the Plan;

                             (7)    either of the DIP Orders is reversed, stayed, dismissed,
vacated, modified, terminated or amended in any respect without the consent of NV;

                                 (8)    any Mattress Firm Party files, propounds, or otherwise
supports or fails to timely file with the Bankruptcy Court a statement that it does not support, any
plan of reorganization that is inconsistent with this Agreement or the Lock-Up Agreement;



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                                 (9)    any Mattress Firm Party files, propounds, or otherwise
supports or fails to timely file with the Bankruptcy Court a statement that it does not support, any
motion, application or adversary proceeding filed by any party challenging the amount, validity,
enforceability, priority, extent or perfection or seeks the avoidance or subordination of, any claims
or liens of the Steinhoff Parties or Stripes, including the NV Term Loan;

                               (10) the Bankruptcy Court or other governmental authority with
jurisdiction shall have issued any order, injunction or other decree or shall have taken any other
action, in each case which has become final and non-appealable and which restrains, enjoins or
otherwise prohibits or is materially inconsistent with the implementation of the Plan, the terms of
the Lock-Up Agreement or the other transactions contemplated hereby; and

                               (11) upon a determination of the board of directors or similar
controlling body of any Steinhoff Party or Stripes, based upon advice of counsel, that proceeding
with the Plan or any of the other transactions contemplated hereby would be inconsistent with the
exercise of its fiduciary or other duties under applicable law to its applicable stakeholders;
provided, that the Steinhoff Party provides notice of such determination to the Mattress Firm
Parties within five (5) business days after the date thereof.

                        d.      If this Agreement is terminated pursuant to this Section 4, any and
all further obligations of the Parties hereunder shall be terminated without further liability.

                         e.       To the fullest extent permitted under applicable law, no Party hereto
shall assert, and each such Party hereby waives, any claim against any other Party hereto, on any
theory of liability, for special, indirect, consequential or punitive damages (as opposed to direct or
actual damages) arising out of, in connection with, or as a result of any breach of this Agreement.

               5.      Representations of the Parties

               Each Party hereto represents and warrants to the other Parties that the following
statements are true and correct as of the date hereof:

                       a.     Power and Authority. It has all requisite power and authority to
enter into this Agreement and to carry out the transactions contemplated by, and perform its
obligations under, this Agreement.

                       b.      Authorization. The execution and delivery of this Agreement and
the performance of its obligations hereunder have been duly authorized by all necessary action on
its part.

                        c.      No Conflicts. The execution and delivery of this Agreement and the
performance of its obligations hereunder do not and shall not (i) violate any provision of law, rule,
or regulation applicable to it or its organizational documents or (ii) conflict with, result in a breach
of, or constitute (with due notice or lapse of time or both and exclusive of defaults relating to
solvency and bankruptcy) a default under any material contractual obligation to which it is a party
or under its organizational documents, subject to satisfaction of the LUA Consent Requirements
in the case of the Steinhoff Parties.



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                        d.      Governmental Consents. The execution and delivery of this
Agreement and the performance of its obligations hereunder do not and shall not require any
registration or filing with, consent or approval of, or notice to, or other action to, with or by, any
federal, state or other governmental authority or regulatory body, other than such filings as may
be necessary or required in connection with the Chapter 11 Cases.

               6.       Binding Obligation. Subject to entry of an order of the Bankruptcy Court
approving this Agreement, this Agreement is the legally valid and binding obligation of it,
enforceable against it in accordance with its terms and the terms of such order of the Bankruptcy
Court.

               7.      Prior Negotiations

                This Agreement sets forth in full the terms of agreement between the Parties with
respect to the subject matter hereof and thereof and is intended as the full, complete and exclusive
contract governing the relationship between the Parties with respect to the subject matter hereof,
superseding all other discussions, promises, representations, warranties, agreements and
understandings, whether written or oral, between or among the Parties with respect thereto.

               8.      Amendment or Waiver

               No waiver, modification or amendment of the terms or provisions of this
Agreement shall be valid unless such waiver, modification or amendment is in writing and has
been signed by the each of the Parties hereto and the Backstop Group. No waiver of any of the
provisions of this Agreement shall be deemed or constitute a waiver of any other provision of this
Agreement, whether or not similar, nor shall any waiver be deemed a continuing waiver unless
expressly stated otherwise in writing.

               9.      WAIVER OF JURY TRIAL

         EACH OF THE PARTIES TO THIS AGREEMENT HEREBY
IRREVOCABLY WAIVES ALL RIGHT TO A TRIAL BY JURY IN ANY ACTION,
PROCEEDING OR COUNTERCLAIM ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR THE EXHIBITS ATTACHED HERETO.

               10.     Governing Law and Consent to Jurisdiction and Venue

                This Agreement shall be governed by, and construed in accordance with, the laws
of the State of New York, without regard to such state’s choice of law provisions which would
require the application of the law of any other jurisdiction. By its execution and delivery of this
Agreement, each of the Parties hereby irrevocably and unconditionally agrees for itself that any
legal action, suit or proceeding against it with respect to any matter arising under or arising out of
or in connection with this Agreement or for recognition or enforcement of any judgment rendered
in any such action, suit or proceeding, shall be brought in the Bankruptcy Court and, only to the
extent such court lacks jurisdiction, in a federal or state court sitting in New York, New York, and
by execution and delivery of this Agreement, each of the Parties hereby irrevocably accepts and
submits itself to the jurisdiction of such courts solely with respect to any such action, suit or
proceeding arising under, arising out of, or in connection with this Agreement.


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               11.     Notice

                Any notices or other communications required or permitted under, or otherwise in
connection with, this Agreement shall be in writing and shall be deemed to have been duly given
when delivered in person, by electronic mail (email), or upon confirmation of receipt when
transmitted by facsimile transmission (but only if followed by transmittal by national overnight
courier or hand for delivery on the next business day) or on receipt after dispatch by registered or
certified mail, postage prepaid, or on the next business day if transmitted by national overnight
courier, addressed in each case as follows (provided that all such notices shall be simultaneously
provided to the Backstop Group):

                       If to the Steinhoff Parties:

                       Linklaters LLP
                       One Silk Street
                       London EC2Y 8HQ
                       richard.bussell@linklaters.com
                       amy.edgy@linklaters.com
                       robert.trust@linklaters.com

                       If to Stripes or MFHC:

                       Linklaters LLP
                       One Silk Street
                       London EC2Y 8HQ
                       richard.bussell@linklaters.com
                       amy.edgy@linklaters.com
                       robert.trust@linklaters.com

                       If to the Mattress Firm Parties:

                       Sidley Austin LLP
                       One South Dearborn
                       Chicago, IL 60603
                       bguzina@sidley.com
                       gmacconaill@sidley.com

                       If to the Backstop Group:

                       Latham & Watkins LLP
                       885 Third Avenue
                       New York, NY 10022
                       Attn: Adam J. Goldberg
                       adam.goldberg@lw.com
                       T: +1 (212) 906-1828
                       F: +1.212.751.4864



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               12.     Successors and Assigns, Several Obligations

                Neither this Agreement nor any of the rights or obligations hereunder may be
assigned by any Party hereto, without the prior written consent of the other Parties hereto, and then
only to a Person who has agreed to be bound by the provisions of this Agreement. This Agreement
is intended to and shall bind and inure to the benefit of the Parties and the Backstop Group and
their respective successors, permitted assigns, executors, administrators and representatives.

               13.     Fees

                The Mattress Firm Parties shall pay $3,650,000 in respect of all documented
prepetition and postpetition fees, expenses and costs (the “Reimbursement Amount”) of the
Steinhoff Parties in respect of this Agreement, the Plan and the transactions contemplated by the
Plan incurred on or prior to the date of termination of this Agreement, including, without
limitation, the reasonable and documented professional fees and expenses of Linklaters LLP,
Moelis & Company, Fellner Wratzfeld & Partner and any other professionals or advisors
retained by or on behalf of the Steinhoff Parties in connection therewith; provided, however, that
the Steinhoff Parties have agreed that the Reimbursement Amount shall be paid by the Mattress
Firm Parties in equal monthly installments starting on May 31, 2019 with the final payment due
on September 30, 2019.

               14.     Third-Party Beneficiaries

               Unless expressly stated herein, this Agreement shall be solely for the benefit of the
Parties hereto and no other person or entity shall be a third-party beneficiary hereof or shall
otherwise be entitled to enforce any provision hereof.

                Notwithstanding the foregoing, as a material inducement for the Backstop Group
to backstop the DIP Credit Agreement and Exit Commitment Letter and in consideration of the
agreement of the Backstop Group to backstop the DIP Credit Agreement and Exit Commitment
Letter, the Backstop Group are intended third-party beneficiaries of this Agreement and shall be
entitled to enforce any and all provisions hereof as if the Backstop Group were a party hereto.

               15.     Counterparts

                This Agreement may be executed in several counterparts, each of which shall be
deemed to be an original, and all of which together shall be deemed to be one and the same
agreement. Any Party hereto may execute and deliver a counterpart of this Agreement by delivery
by facsimile transmission or electronic mail of a signature page of this Agreement signed by such
Party, and any such facsimile or electronic mail signature shall be treated in all respects as having
the same effect as having an original signature.

               16.     Acknowledgement; Not a Solicitation

                This Agreement does not constitute, and shall not be deemed to constitute (i) an
offer for the purchase, sale, exchange, hypothecation, or other transfer of securities for purposes
of the Securities Act of 1933 and the Securities Exchange Act of 1934 (or any other federal or state



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law or regulation), (ii) a solicitation for consents to the Plan or (iii) a solicitation of votes on the
Plan for purposes of the Bankruptcy Code.

               17.     No Strict Construction

               Each Party acknowledges that it has received adequate information to enter into
this Agreement, and that this Agreement has been prepared through the joint efforts of all of the
Parties, each of which is sophisticated and represented by counsel in connection with this
Agreement and the transactions contemplated hereby. Neither the provisions of this Agreement
nor any of the Definitive Documents nor any alleged ambiguity herein or therein shall be
interpreted or resolved against any Party on the ground that such Party’s counsel drafted such
document, or based on any other rule of strict construction.

               18.     Remedies Cumulative; No Waiver

                All rights, powers, and remedies provided under this Agreement or otherwise
available in respect hereof at law or in equity shall be cumulative and not alternative, and the
exercise of any right, power, or remedy thereof by any Party or Backstop Party shall not preclude
the simultaneous or later exercise of any other such right, power, or remedy by such Party or
Backstop Party. The failure of any Party or Backstop Party hereto to exercise any right, power, or
remedy provided under this Agreement or otherwise available in respect hereof at law or in equity,
or to insist upon strict compliance by any other Party hereto with its obligations hereunder, and
any custom or practice of the parties at variance with the terms hereof, shall not constitute a waiver
by such Party or Backstop Party of its right to exercise any such or other right, power, or remedy
or to demand such strict compliance.

               19.     Severability

               If any portion of this Agreement shall be held to be invalid, unenforceable, void or
voidable, or violative of applicable law, the remaining portions of this Agreement so far as they
may practicably be performed shall remain in full force and effect and binding on the Parties
hereto, provided that, this provision shall not operate to waive any condition precedent to any
event set forth herein.

               20.     Rules of Interpretation

                For purposes of this Agreement, unless otherwise specified: (a) each term, whether
stated in the singular or the plural, shall include both the singular and the plural, and pronouns
stated in the masculine, feminine or neuter gender shall include the masculine, feminine and the
neuter gender; (b) all references herein to “Articles”, “Sections”, and “Exhibits” are references to
Articles, Sections, and Exhibits of this Agreement; and (c) the words ‘‘herein,’’ “hereof,”
“hereunder” and ‘‘hereto’’ refer to this Agreement in its entirety rather than to a particular portion
of this Agreement.

                                      [Signature pages follow]




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                        Exhibit A



                         PLAN
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                        Exhibit B



              EXIT COMMITMENT LETTER
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                                                                                        Execution Version

                                              BARCLAYS
                                           745 Seventh Avenue
                                           New York, NY 10019
                                                                                         CONFIDENTIAL

                                                                                             October 4, 2018
Mattress Firm, Inc.
10201 S. Main St.
Houston, Texas 77025
Attention: Hendre Ackermann and Kindel Elam


                                     Exit Facilities Commitment Letter

Ladies and Gentlemen:

                 Mattress Firm, Inc. (“you” or the “Company”) has advised Barclays Bank PLC
(“Barclays, the “Arranger”, “we” or “us”) that it desires to obtain commitments from us for (i) a new
senior secured asset-based revolving credit facility in an aggregate principal amount of $125,000,000 (the
“ABL Facility”) and (ii) a new first lien senior secured term loan credit facility in the aggregate principal
amount of, subject to paragraph (y) of Annex I to Exhibit B hereto, $400,000,000 (the “Term Facility”
and, together with the ABL Facility, the “Senior Secured Facilities”) to (a) refinance and replace the
asset-based revolving debtor-in-possession financing consummated in accordance with that certain DIP
Financing Commitment Letter by and among Barclays, Citizens Bank, N.A. and Mattress Firm, Inc. (the
“Borrower”), dated as of the date hereof (the “DIP Financing Commitment Letter”, and the definitive
credit agreement with respect to such asset-based revolving debtor-in-possession financing executed in
accordance therewith, the “ABL DIP Credit Agreement”), (b) refinance and replace the term loan
debtor-in-possession financing consummated in accordance with the DIP Financing Commitment Letter
and the definitive credit agreement with respect to such term loan debtor-in-possession financing
executed in accordance therewith (the “Term Loan DIP Credit Agreement” and, together with the ABL
DIP Credit Agreement, the “Existing Credit Agreements”) (c) repay in full all outstanding obligations
under that certain term loan agreement dated as of March 26, 2018 by and among you, Mattress Firm, Inc.
and Steinhoff International Holdings, N.V. as lender, (d) for working capital needs and other general
corporate purposes of the Company and its subsidiaries and (e) to pay fees and expenses in connection
with the effectiveness of the Senior Secured Facilities (collectively, the “Transactions”). Capitalized
terms used but not defined herein shall have the meanings assigned to them in the Term Sheets (as
defined below).

1.      Commitments.

                  Based upon the foregoing, (i) Barclays (in such capacity, the “Initial Lender”) hereby
commits to provide to the Borrower 100% of the ABL Facility upon the terms set forth herein and in the
ABL Facility Summary of Terms and Conditions attached hereto as Exhibit A (the “ABL Term Sheet”),
the terms set forth in the Exit Facilities Fee Letter among us and you dated as of the date hereof (the “Exit
Facilities Fee Letter”) and subject only to the conditions set forth in Annex II to the ABL Term Sheet
and (ii) the Initial Lender hereby commits to provide to the Borrower 100% of the Term Facility upon the
terms set forth herein and in the Term Facility Summary of Terms and Conditions attached hereto as
Exhibit B (the “Term Loan Term Sheet” and, together with the ABL Term Sheet, the “Term Sheets”),
the terms set forth in the Exit Facilities Fee Letter, and subject only to the conditions set forth in Annex I
of the Term Loan Term Sheet.



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2.      Titles and Roles.

                 You hereby appoint the Arranger to act, and the Arranger hereby agrees to act, as sole
lead arranger and sole bookrunner for the Senior Secured Facilities, upon the terms and subject to the
conditions set forth or referred to in this commitment letter (the “Exit Facilities Commitment Letter”).
You agree that (i) Barclays will have “left” placement (and hold the leading role and responsibilities
conventionally associated with such placement) and (ii) Barclays will act as administrative agent and
collateral agent for the Senior Secured Facilities. The Arranger will perform the duties and exercise the
authority customarily performed and exercised by it in such role. The Arranger hereby agrees to use its
commercially reasonable efforts to arrange a syndicate of banks, financial institutions and other
institutional lenders (the “Lenders”) that will participate in the Senior Secured Facilities (the
“Syndication”). You agree that no other agents, co-agents, arrangers or bookrunners will be appointed
and no other titles will be awarded and no compensation (other than as expressly contemplated by this
Exit Facilities Commitment Letter or the Exit Facilities Fee Letter, as the case may be) will be paid in
connection with the Senior Secured Facilities.

3.      Syndication.

                  You agree to assist us in completing a Syndication of the ABL Facility that is reasonably
satisfactory to us and you. Such assistance shall include (a) ensuring that the Syndication benefits from
your existing lending and investment banking relationships, (b) direct contact between appropriate
members of your senior management, certain representatives and certain non-legal advisors, on the one
hand, and the proposed ABL Lenders, on the other hand, at mutually agreed upon times and locations,
(c) assisting in the preparation of Information Materials (as defined below), prior to launch of syndication
of the ABL Facility, to be used in connection with such Syndication and (d) hosting, with the Arranger, a
reasonable number of meetings (or, if you and we shall agree, conference calls in lieu of any such
meeting) of existing and prospective ABL Lenders (limited to one “bank meeting”, unless otherwise
deemed necessary in the reasonable judgment of the Arranger) at times and locations to be mutually
agreed upon. It is understood and agreed that the Arranger shall be afforded a Marketing Period as
defined and described further in Annex II of Exhibit A.

                  To ensure an orderly and effective syndication of the ABL Facility, you agree that, until
the earlier of (a) sixty (60) days following the Closing Date and (b) the termination of the syndication as
determined by Barclays (such earlier date, the “Syndication Date”), you will ensure that there will be no
competing issues of bank or other syndicated credit facilities or debt securities of Parent (as defined
below), you or any of your or its subsidiaries, in each case being offered, placed or arranged that would
materially impair the primary syndication of the ABL Facility without the prior written consent of
Barclays (it being understood that any short-term working capital facilities, letters of credit, capital leases,
purchase money indebtedness and equipment financings, in each case in the ordinary course of business,
shall, in each case, not be limited pursuant to this sentence).

                 You hereby acknowledge that (a) we will make available Information (as defined below),
Projections (as defined below) and other customary offering and marketing materials and presentations,
including confidential information memoranda to be used in connection with the Syndication (the
“Information Memorandum” and, together with all of the foregoing, the “Information Materials”), on a
confidential basis to the proposed syndicate of ABL Lenders by posting the Information Materials on
Intralinks, Debt X, SyndTrak Online or by similar electronic means and (b) certain of the ABL Lenders
may be “public side” ABL Lenders (i.e., ABL Lenders that do not wish to receive material non-public
information and who may be engaged in investment and other market-related activities with respect to
you or any of your subsidiaries, or any of your or their respective securities) (each, a “Public Sider” and
each ABL Lender that is not a Public Sider, a “Private Sider”).

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                 At the reasonable request of the Arranger, you agree to assist us in preparing an
additional version of the Information Materials to be used in connection with the Syndication of the ABL
Facility that consists exclusively of information of a type that is either (i) publicly available or (ii) not
material with respect to you, Mattress Holdco, Inc. (“Parent”) or any of your subsidiaries or any of your
or their respective securities for the purpose of United States federal and state securities laws (all such
information being “Public Information”) to be used by Public Siders. It is understood that in connection
with your assistance described above, you shall provide us with customary authorization letters for
inclusion in any Information Materials that authorize the distribution thereof to prospective ABL Lenders,
represent that the additional version of the Information Materials only contains Public Information and
exculpate us with respect to any liability related to the use or misuse of the contents, and exculpate you
with respect to any liability related to the misuse of the contents, of the Information Materials or related
offering and marketing materials by the recipients thereof. Before distribution of any Information
Materials, you agree, at our reasonable request, to identify that portion of the Information Materials that
may be distributed to the Public Siders as containing solely “Public Information” (it being understood that
you shall not otherwise be under any obligation to mark the Information Materials “PUBLIC”). By
marking Information Materials as “PUBLIC,” you shall be deemed to have authorized us and the
proposed ABL Lenders to treat such Information Materials as containing solely Public Information.

                  You acknowledge and agree that, subject to the confidentiality and other provisions of
this Exit Facilities Commitment Letter, the following documents may be distributed to both Private Siders
and Public Siders, unless you advise the Arranger in writing (including by email) within a reasonable time
prior (provided that such materials have been provided to you and your counsel for review a reasonable
period of time prior thereto) to their intended distribution that such materials should only be distributed to
Private Siders: (a) administrative materials prepared by the Arranger for the ABL Lenders and
prospective ABL Lenders (such as a lender meeting invitation, bank allocation, if any, and funding and
closing memoranda), (b) any term sheets and notification of changes in the terms and conditions of the
ABL Facility and (c) drafts and final versions of the definitive documentation related to the ABL Facility.
If you advise us in writing (including by email) that any of the foregoing should be distributed only to
Private Siders, then Public Siders will not receive such materials without your consent. Each of the
Arranger and each prospective ABL Lender shall be entitled to use and rely upon the information
contained therein without responsibility for independent verification thereof.

                  We will manage, in consultation with you, all aspects of the Syndication, including
decisions as to the selection of institutions reasonably acceptable to you and us (in each case such consent
not to be unreasonably withheld or delayed) to be approached and when they will be approached, when
their commitments will be accepted, which institutions will participate, the allocation of the commitments
among the Lenders and the amount and distribution of fees and other amounts payable pursuant to the
Exit Facilities Fee Letter among the Lenders. Notwithstanding the foregoing, the Arranger will not
syndicate, participate to or otherwise assign any portion of the ABL Facility to those persons that are (a)
identified in writing on or prior to the date of this Exit Facilities Commitment Letter by you to us, (b)
competitors of you or your subsidiaries (other than bona fide fixed income investors or debt funds) that
are identified in writing by you to us from time to time or (c) affiliates of such persons set forth in clauses
(a) and (b) above (in the case of affiliates of such persons set forth in clause (b) above, other than bona
fide fixed income investors or debt funds) that are either (i) identified in writing by you from time to time
or (ii) clearly identifiable on the basis of such affiliate’s name (the persons described in clauses (a)
through (c), collectively, the “Disqualified Institutions”); provided, that, to the extent persons are
identified as Disqualified Institutions in writing by you to us after the date hereof pursuant to clauses (b)
or (c)(i), the inclusion of such persons as Disqualified Institutions shall not retroactively apply to prior
assignments or participations and for the avoidance of doubt, no Backstop Commitment Party (as such
term is defined in Annex I to Exhibit B hereto) shall be considered to be a Disqualified Institution. To
assist us in the Syndication, you agree to promptly prepare and provide to us all customary and reasonably

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available information with respect to you and each of your subsidiaries and the Transactions, including
customary financial information and projections prepared by you and reasonably available to you
(including financial estimates, forecasts and other forward-looking information, the “Projections”), as we
may reasonably request in connection with the Syndication. For the avoidance of doubt, you will not be
required to provide any information to the extent that the provision thereof would violate any law, rule or
regulation, or any obligation of confidentiality binding upon, or waive any privilege that may be asserted
by, you or any of your affiliates; provided that in the event that you do not provide information in reliance
on this sentence, you shall provide notice to the Arranger that such information is being withheld and you
shall use your commercially reasonable efforts to communicate, to the extent feasible, the applicable
information in a way that would not violate the applicable obligation or risk waiver of such privilege.

                 Subject to the provisions of clause (y) on Annex I to Exhibit B, notwithstanding any other
provision of this Commitment Letter to the contrary and notwithstanding any syndication, assignment or
other transfer by the Initial Lender, (a) no Initial Lender shall be relieved, released or novated from its
obligations hereunder (including its obligation to fund the ABL Facility on the Closing Date) in
connection with any syndication, assignment or other transfer until after the initial funding of the ABL
Facility on the Closing Date and (b) no such syndication, assignment or other transfer shall become
effective with respect to any portion of its commitment in respect of the ABL Facility until the initial
funding of the ABL Facility on the Closing Date.

                Notwithstanding anything to the contrary contained in this Commitment Letter, neither
(a) the commencement nor completion of the syndications nor (b) the compliance with any of the
paragraphs of this Section 3 shall be a condition to the closing and funding of the ABL Facility on the
Closing Date.

4.      Information.

                 You hereby represent and warrant that (a) all written information and written data (other
than the Projections, other forward looking information and information of a general economic or
industry-specific nature, the “Information”), that has been or will be made available to us by you or by
any of your representatives on your behalf in connection with the transactions contemplated hereby, when
taken as a whole, does not or will not, when furnished, contain any untrue statement of a material fact or
omit to state a material fact necessary in order to make the statements contained therein not materially
misleading in light of the circumstances under which such statements are made (giving effect to all
supplements and updates provided thereto) and (b) the Projections that have been or will be made
available to us by you or by any of your representatives on your behalf in connection with the transactions
contemplated hereby have been, or will be, prepared in good faith based upon assumptions that are
believed by you to be reasonable when furnished to the Arranger; it being understood that the Projections
are as to future events and are not to be viewed as facts, the Projections (i) are subject to significant
uncertainties and contingencies, many of which are beyond your control, that no assurance can be given
that any particular Projections will be realized and that actual results during the period or periods covered
by any such Projections may differ significantly from the projected results and such differences may be
material and (ii) are not a guarantee of performance. You agree that, if at any time prior to the
Syndication Date, you become aware that any of the representations and warranties in the preceding
sentence would be incorrect in any material respect if the Information and the Projections were being
furnished, and such representations were being made, at such time, then you will promptly supplement the
Information and the Projections such that such representations and warranties are correct in all material
respects under those circumstances, it being understood in each case that such supplementation shall cure
any breach of such representation. In arranging the Syndication, we will be entitled to use and rely
primarily on the Information and the Projections without responsibility for independent verification
thereof.

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5.      Conditions Precedent.

        Notwithstanding anything in this Commitment Letter, the Fee Letter, the Financing
Documentation (as defined in each of Exhibit A and Exhibit B hereto) or any other letter agreement or
other undertaking concerning the financing of the transactions contemplated hereby to the contrary:

                  (a)      the terms of the Financing Documentation and any closing deliverables shall be
in a form such that (i) they do not impair the availability of the ABL Facility on the Closing Date if the
conditions set forth on Annex II to Exhibit A hereto are satisfied and (ii) they do not impair the
availability of the Term Facility on the Closing Date if the conditions set forth on Annex I to Exhibit B
hereto are satisfied; it being understood that, to the extent any closing deliverables or Collateral (including
the creation or perfection of any security interest) is not or cannot be provided on the Closing Date (other
than, to the extent required under each Term Sheet, a lien on Collateral that may be perfected solely by
the filing of a financing statement under the UCC, the filing of an intellectual property security agreement
in the US Patent and Trademark Office or US Copyright Office, as applicable, or delivery of certificated
equity interests and accompanying transfer powers endorsed in blank) after your use of commercially
reasonable efforts to do so without undue burden or expense, then the provision of any such closing
deliverables and/or the provision and/or perfection of such Collateral shall not constitute a condition
precedent to the availability and initial funding of the ABL Facility or the Term Facility on the Closing
Date but may instead be delivered and/or perfected within 90 days, or, in the case of account control
agreements with respect to any deposit accounts or securities accounts, 30 days (or, in each case, such
longer period as the Agent may reasonably agree in its discretion) after the Closing Date pursuant to
arrangements to be mutually agreed by the parties hereto acting reasonably, and

                  (b)     there are no conditions (implied or otherwise) to the commitments hereunder or
the availability of the Senior Secured Facilities on the Closing Date, including compliance with the terms
of this Commitment Letter, the Fee Letter or the Financing Documentation, except those expressly set
forth on Annex II to Exhibit A and Annex I to Exhibit B hereto, and such conditions shall be subject in all
respects to the provisions of this Section 5.

        Upon the satisfaction (or waiver by us) of the conditions set forth on Annex II Exhibit A hereto,
the Lenders will execute and deliver the Financing Documentation to which they are parties and the initial
funding of the ABL Facility shall occur.

        Upon the satisfaction (or waiver by us) of the conditions set forth on Annex I to Exhibit B hereto,
the Lenders will execute and deliver the Financing Documentation to which they are parties and the initial
funding of the Term Facility shall occur.

               This Section 5, and the provisions contained herein, shall be referred to as the “Certain
Funds Provision”.

6.      Fees.

                 As consideration for and a condition precedent to our commitments hereunder and our
undertakings to arrange, manage, structure and syndicate the Senior Secured Facilities, you agree to pay
(or cause to be paid) to us the fees and other amounts and fulfill the other obligations set forth in the Term
Sheets and in the Exit Facilities Fee Letter. The terms of the Exit Facilities Fee Letter are an integral part
of our commitment hereunder and constitute a part of this Exit Facilities Commitment Letter for all
purposes hereof.




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7.      Indemnification; Expenses.

                  You agree (a) to indemnify and hold harmless Barclays, the Backstop Commitment
Parties, and their respective affiliates and the respective officers, directors, employees, agents, advisors,
controlling persons and other representatives of each of the foregoing (each, an “Indemnified Person”),
from and against any and all losses, claims, damages and liabilities of any kind or nature reasonably
incurred and documented or invoiced out-of-pocket fees and expenses, joint or several, to which any such
Indemnified Person may become subject to the extent arising out of, resulting from or in connection with
any claim, litigation, investigation or proceeding resulting from this Exit Facilities Commitment Letter,
the Exit Facilities Fee Letter, the Backstop Commitment Letter, the Transactions, the Senior Secured
Facilities or any of the proceeds thereof (each, a “Proceeding”), regardless of whether any such
Indemnified Person is a party thereto, whether or not such Proceedings are brought by you, your equity
holders, affiliates, creditors or any other third person, and to reimburse each such Indemnified Person
upon demand for any incurred and documented or invoiced out-of-pocket legal expenses of one firm of
counsel for all such Indemnified Persons, taken as a whole, and, if necessary, of a single local counsel in
each relevant jurisdiction (which may include a single special counsel acting in multiple jurisdictions) for
all such Indemnified Persons, taken as a whole (and, in the case of a conflict of interest, of another firm of
counsel to the affected Indemnified Persons similarly situated taken as a whole), and other incurred and
documented or invoiced out-of-pocket fees and expenses incurred in connection with investigating,
preparing, pursuing or defending any of the foregoing; provided that the foregoing indemnity will not, as
to any Indemnified Person, apply to losses, claims, damages, liabilities or related expenses to the extent
that they have resulted from (i) the willful misconduct, bad faith or gross negligence of such Indemnified
Person or any of its Related Indemnified Persons (as defined below) (as determined by a court of
competent jurisdiction in a final and non-appealable decision), (ii) a material breach of the obligations of
such Indemnified Person or any of its Related Indemnified Persons under this Exit Facilities Commitment
Letter, the Exit Facilities Fee Letter, the Backstop Commitment Letter, or the Senior Secured Facilities
(as determined by a court of competent jurisdiction in a final and non-appealable decision) or (iii) any
Proceeding that does not involve an act or omission by you or any of your affiliates and that is brought by
an Indemnified Person or its Related Indemnified Persons against any other Indemnified Person or its
Related Indemnified Persons (other than any claims against us in our capacity or in fulfilling our role as
an administrative agent or Arranger or any similar role in connection with any of the Transactions) and
(b) whether or not the Closing Date occurs, to reimburse us from time to time, within 10 days of
presentation of a summary statement, for all incurred and documented or invoiced out-of-pocket
expenses, due diligence expenses, syndication expenses, travel expenses, costs and expenses incurred in
connection with inventory appraisals and field exams in respect of the Senior Secured Facilities and
reasonable fees, disbursements and other charges of Paul Hastings LLP, Latham & Watkins LLP, PJT
Partners and also appropriate local counsel (including Delaware bankruptcy counsel and Ashby & Geddes
P.A.) in applicable local jurisdictions, but limited to one local counsel to the Arranger in each such
jurisdiction (which may include a single special counsel acting in multiple jurisdictions), in each case
incurred in connection with the Senior Secured Facilities and the preparation and negotiation of this Exit
Facilities Commitment Letter and the Exit Facilities Fee Letter, the Backstop Commitment Letter, the
definitive documentation related to the Senior Secured Facilities and any ancillary documents and
security arrangements in connection therewith (collectively, the “Expenses”). The foregoing provisions
in this paragraph shall be superseded in each case, to the extent covered thereby, by the applicable
provisions contained in the definitive documentation related to the Senior Secured Facilities upon
execution thereof.

               You shall not, without the prior written consent of any affected Indemnified Person
(which consent shall not be unreasonably withheld or delayed), effect any settlement of any pending or
threatened proceedings in respect of which indemnity could have been sought hereunder by such
Indemnified Person unless such settlement (i) includes an unconditional release of such Indemnified

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Person in form and substance reasonably satisfactory to such Indemnified Person from all liability or
claims that are the subject matter of such proceeding and (ii) does not include any statement as to or any
admission of fault, culpability, wrongdoing or a failure to act by or on behalf of any Indemnified Person;
provided, that any Indemnified Person may reasonably withhold its consent to any settlement if such
settlement does not comply with clauses (i) and (ii) above.

                  The expense reimbursements and indemnification provisions of this Exit Facilities
Commitment Letter shall constitute administrative expenses under Sections 503(b)(1) and 507(a)(2) of the
Bankruptcy Code (as defined below) in the chapter 11 cases (the “Chapter 11 Cases”) with respect to the
Loan Parties as debtors-in-possession, which commenced in the Bankruptcy Court (as defined below) on
October 4, 2018 (the “Petition Date”) without the need to file any motion (other than any motion as may
be necessary to obtain the approvals of the Exit Facilities Commitment Letter and the Exit Facilities Fee
Letter), application or proof of claim and notwithstanding any administrative claims bar date, and shall be
immediately payable in accordance with the terms hereof without further notice or order of the
Bankruptcy Court.

                 Notwithstanding any other provision of this Exit Facilities Commitment Letter or the Exit
Facilities Fee Letter, (i) no Indemnified Person shall be liable for any damages arising from the use by
others of information or other materials obtained through internet, electronic, telecommunications or other
information transmission systems, except to the extent that such damages have resulted from the willful
misconduct, bad faith or gross negligence of such Indemnified Person or any of its Related Indemnified
Persons (as determined by a court of competent jurisdiction in a final and non-appealable decision) and
(ii) none of we, you, any Indemnified Person or any of its Related Indemnified Persons shall be liable for
any indirect, special, punitive or consequential damages in connection with this Exit Facilities
Commitment Letter, the Exit Facilities Fee Letter, the Transactions (including the Senior Secured
Facilities and the use of proceeds thereunder), or with respect to any activities related to the Senior
Secured Facilities, including the preparation of this Exit Facilities Commitment Letter, the Exit Facilities
Fee Letter and the definitive documentation related to the Senior Secured Facilities; provided that nothing
contained in this paragraph shall limit your indemnity and reimbursement obligations to the extent set
forth in the second immediately preceding paragraph.

                  For purposes hereof, a “Related Indemnified Person” of an Indemnified Person means
(1) any controlling person or controlled affiliate of such Indemnified Person, (2) the respective directors,
officers, or employees of such Indemnified Person or any of its controlling persons or controlled affiliates
and (3) the respective agents or representatives of such Indemnified Person or any of its controlling
persons or controlled affiliates, in the case of this clause (3), acting on behalf of or at the instructions of
such Indemnified Person, controlling person or such controlled affiliate; provided that each reference to a
controlled affiliate, director, officer or employee in this sentence pertains to a controlled affiliate, director,
officer or employee involved in the negotiation or syndication of this Exit Facilities Commitment Letter,
the Exit Facilities Fee Letter and the Senior Secured Facilities.

8.      Sharing Information; Absence of Fiduciary Relationship; Affiliate Activities; Financial Advisor.

                 You acknowledge that Barclays and its affiliates may be providing debt financing, equity
capital or other services (including, without limitation, financial advisory services) to other persons in
respect of which you or your affiliates may have conflicting interests. Neither Barclays nor its affiliates
will use confidential information obtained from you by virtue of the transactions contemplated by this
Exit Facilities Commitment Letter in connection with the performance of services for other persons, and
none of us or our affiliates will furnish any such information to other persons, except to the extent
permitted below. You also acknowledge that neither Barclays nor its affiliates has any obligation to use


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in connection with the transactions contemplated by this Exit Facilities Commitment Letter, or to furnish
to you, confidential information obtained from other persons.

                 As you know, Barclays is a full service securities firm engaged, either directly or through
our affiliates, in various activities, including securities trading, commodities trading, investment
management, financing and brokerage activities and financial planning and benefits counseling for both
companies and individuals. In the ordinary course of these activities, we and our affiliates actively
engage in commodities trading or trade the debt and equity securities (or related derivative securities) and
financial instruments (including bank loans and other obligations) of the Company and other companies
for each of our own account and for the accounts of our customers and may at any time hold long and
short positions in such securities. We and our affiliates also co-invest with, make direct investments in,
and invest or co-invest client monies in or with funds or other investment vehicles managed by other
parties, and such funds or other investment vehicles may trade or make investments in securities of the
Company or other companies or engage in commodities trading with any thereof.

                 We and our affiliates may have economic interests that conflict with those of the
Company. You agree that we will act under this Exit Facilities Commitment Letter as independent
contractors and that nothing in this Exit Facilities Commitment Letter will be deemed to create an
advisory, fiduciary or agency relationship or fiduciary or other implied duty between us and you and your
equity holders or your and their respective affiliates. You acknowledge and agree that (i) the transactions
contemplated by this Exit Facilities Commitment Letter are arm’s-length commercial transactions
between us and our affiliates, on the one hand, and you, on the other, (ii) in connection therewith and with
the process leading to such transaction us and our applicable affiliates (as the case may be) are acting
solely as a principal and not as agents or fiduciaries of you, your management, equityholders, creditors,
affiliates or any other person, (iii) Barclays and our applicable affiliates (as the case may be) have not
assumed an advisory or fiduciary responsibility or any other obligation in favor of you or your affiliates
with respect to the transactions contemplated hereby or the process leading thereto (irrespective of
whether we or any of our affiliates have advised or are currently advising you on other matters) except the
obligations expressly set forth in this Exit Facilities Commitment Letter and (iv) you have consulted your
own legal and financial advisors to the extent you deemed appropriate. You further acknowledge and
agree that neither Barclays nor our affiliates is advising you as to any legal, tax, investment, accounting or
regulatory matters in any jurisdiction and you are responsible for making your own independent judgment
with respect to the transactions contemplated hereby and the process leading thereto. You agree that you
will not claim that we or any of our applicable affiliates, as the case may be, have rendered advisory
services in connection with the services provided pursuant to this Exit Facilities Commitment Letter, or
owe a fiduciary or similar duty to you or your affiliates, in connection with such transaction or the process
leading thereto. You waive, to the fullest extent permitted by law, any claims you may have against us or
our affiliates for breach of fiduciary duty or alleged breach of fiduciary duty arising out of this Exit
Facilities Commitment Letter and agree that we and our affiliates shall have no liability (whether direct or
indirect) to you in respect of such a fiduciary duty claim or to any person asserting a fiduciary duty claim
on behalf of or in right of you, including your equityholders, employees or creditors.

9.      Confidentiality.

                 You agree that this Exit Facilities Commitment Letter (including the exhibits hereto) and
the contents hereof are confidential and that neither its existence, nor the terms hereof, will be disclosed
by you to any person other than your principals, managers, officers, directors, employees, accountants,
attorneys, and other advisors, and then only on a “need-to-know” basis in connection with the transactions
contemplated hereby and on a confidential basis; provided, however, that this Exit Facilities Commitment
Letter may be shared with the Backstop Commitment Parties and their advisors on a “need-to-know”
basis in connection with the transactions contemplated hereby and on a confidential basis. The foregoing

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notwithstanding, you may (i) (A) following your acceptance of this Exit Facilities Commitment Letter in
accordance herewith and your return of an executed counterpart of this Exit Facilities Commitment Letter
to us, file or make such other public disclosures of the terms and conditions hereof (including the exhibits
hereto, but not including Annex I to Exhibit A and the Addendum to Exhibit B of the Exit Facilities
Commitment Letter or the Exit Facilities Fee Letter) as you are required by law, in the opinion of your
counsel, to make; provided that, after this Exit Facilities Commitment Letter has been accepted by you,
and after the commencement of cases under title 11 of the United States Code (the “Bankruptcy Code”)
by the Company (or any portion thereof), you may disclose this Exit Facilities Commitment Letter and
Annex I to Exhibit A and the Addendum to Exhibit B of the Exit Facilities Commitment Letter (but not
the Exit Facilities Fee Letter) to the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), to the extent required to obtain court approval in connection with any acts or
obligations to be taken pursuant to this Exit Facilities Commitment Letter or the transactions
contemplated hereby, (B) make disclosures as may be required by regulatory authorities so long as such
authorities are informed of the confidential nature of such information, (C) make disclosures as may be
required by statute, decision, or judicial or administrative order, rule, or regulation; provided, that prior to
any disclosure under this clause (C), the disclosing party agrees to provide Arranger with prior notice
thereof, to the extent that it is practicable to do so and to the extent that the disclosing party is permitted to
provide such prior notice to Arranger pursuant to the terms of the applicable statute, decision, or judicial
or administrative order, rule or regulation, (D) make disclosures as may be agreed to in advance in writing
by Arranger, (E) make disclosures to your shareholders and their respective attorneys and other advisors,
but only on a “need-to-know” basis in connection with the transactions contemplated hereby and on a
confidential basis and (F) make disclosures as requested or as required by any governmental authority
pursuant to any subpoena or other legal process; provided, that prior to any disclosure under this clause
(F) the disclosing party agrees to provide Arranger with prior notice thereof, to the extent that it is
practicable to do so and to the extent that the disclosing party is permitted to provide such prior notice to
Arranger pursuant to the terms of the subpoena or other legal process, (ii) make disclosures as to any such
information that is or becomes generally available to the public (other than as a result of prohibited
disclosure by the Company, any Loan Party or any of their respective affiliates), and (iii) make
disclosures in connection with any litigation or other adverse proceeding involving parties to this Exit
Facilities Commitment Letter; provided, that prior to any disclosure to a party other than the Company,
Arranger, their respective affiliates and their respective counsel under this clause (iii) with respect to
litigation involving a party other than the Company, Arranger and their respective affiliates, the disclosing
party agrees to provide Arranger with prior notice thereof.

                 Notwithstanding anything to the contrary in the foregoing, you agree that if the Exit
Facilities Fee Letter is required to be filed with the Bankruptcy Court for purposes of obtaining approval
to pay any fees or other amounts provided for therein or otherwise, then you shall promptly notify us and
take all actions necessary to prevent the Exit Facilities Fee Letter from becoming publicly available,
including, without limitation, filing of a motion or an ex parte request pursuant to Sections 105(a) and
107(b) of the Bankruptcy Code and Bankruptcy Rule 9018 seeking an order of the Bankruptcy Court
authorizing the debtors to file the Exit Facilities Fee Letter under seal, and you shall file the Exit
Facilities Fee Letter with the Bankruptcy Court under seal in form and substance reasonably satisfactory
to the Arranger and, in connection therewith, you may provide an unredacted copy of the Exit Facilities
Fee Letter to the Bankruptcy Court, the Office of the United States Trustee and advisors to any statutory
committees appointed; provided, in each case, that the disclosure to such advisors is on a confidential,
“professional eyes only” basis.

                 The Arranger and its affiliates will use all confidential information provided to them or
such affiliates by or on behalf of you hereunder or in connection with the Transactions solely for the
purpose of providing the services which are the subject of this Exit Facilities Commitment Letter or other
services to you and shall treat confidentially all such information and shall not publish, disclose or

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otherwise divulge, such information; provided, that nothing herein shall prevent the Arranger and its
affiliates from disclosing any such information (a) pursuant to the order of any court or administrative
agency or in any pending legal, judicial or administrative proceeding, or otherwise as required by
applicable law or compulsory legal process or to the extent requested or required by governmental and/or
regulatory authorities (in which case the Arranger agrees (except with respect to any audit or examination
conducted by bank accountants or any governmental bank or other regulatory authority exercising
examination or regulatory authority, including self-regulatory organizations, or internal auditors), to the
extent practicable and not prohibited by applicable law, to inform you promptly thereof prior to
disclosure), (b) to the extent that such information becomes publicly available other than by reason of
disclosure by the Arranger or any of its affiliates or any related parties thereto in violation of any
confidentiality obligations owing to you or any of your affiliates (including those set forth in this
paragraph), (c) to the extent that such information is received by the Arranger from a third party that is
not, to the Arranger’s knowledge, subject to contractual or fiduciary confidentiality obligations owing to
you or any of your affiliates, (d) to the extent that such information is independently developed by the
Arranger, (e) to the Arranger’s affiliates and to the Arranger’s and its affiliates’ respective employees,
service providers, legal counsel, independent auditors, professionals and other experts or agents
(collectively, the “Representatives”) who need to know such information in connection with the
Transactions and who are informed of the confidential nature of such information and are or have been
advised of their obligation to keep information of this type confidential (provided, that the Arranger shall
be responsible for the compliance of its affiliates and Representatives with this paragraph), (f) to potential
or prospective Lenders, participants or assignees and to any direct or indirect contractual counterparty to
any swap or derivative transaction relating to the Company or any of its subsidiaries, subject to the
proviso below (including the Backstop Commitment Parties), (g) for purposes of establishing a “due
diligence” defense in connection with any proceeding or (h) to the extent you shall have consented to
such disclosure in writing; provided that the disclosure of any such information to any Lenders or
prospective Lenders or participants or prospective participants referred to above shall be made subject to
the acknowledgment and acceptance by such Lender or prospective Lender or participant or prospective
participant that such information is being disseminated on a confidential basis (on substantially the terms
set forth in this paragraph or as is otherwise reasonably acceptable to you and the Arranger, including,
without limitation, as agreed in any Information Materials or other marketing materials) in accordance
with the standard syndication processes of the Arranger or customary market standards for dissemination
of such type of information. The Arranger shall be principally liable to the extent any confidentiality
restrictions set forth herein are violated by any of its affiliates or any of its or their Representatives. The
Arranger’s and their respective affiliates’, if any, obligations under this paragraph shall terminate
automatically and be superseded by the confidentiality provisions in the definitive documentation relating
to the Senior Secured Facilities upon the initial funding thereunder. Notwithstanding anything to the
contrary, the confidentiality obligations of the Arranger and its affiliates under this paragraph shall
automatically terminate on the first anniversary hereof.

10.     Assignments, Amendments, Governing Law, Etc.

                  This Exit Facilities Commitment Letter and the Exit Facilities Fee Letter shall not be
assignable by you or by us without the prior written consent of the other party hereto (and any attempted
assignment without such consent shall be null and void), is intended to be solely for the benefit of the
parties hereto (and, with respect to the provisions provided in Section 7, Indemnified Persons), and is not
intended to confer any benefits upon, or create any rights in favor of, any person other than the parties
hereto (and, with respect to the provisions provided in Section 7, Indemnified Persons). Any and all
services to be provided by us may be performed and any and all of our rights hereunder and under the
Exit Facilities Fee Letter may be exercised by or through any of our affiliates or branches, provided such
affiliates or branches agree to be bound by the terms hereof, and to the extent so employed, such affiliates
and branches shall be entitled to the benefits afforded to the Arranger hereunder. This Exit Facilities

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Commitment Letter and the Exit Facilities Fee Letter may not be amended or any provision hereof waived
or modified except by an instrument in writing signed by us and you. This Exit Facilities Commitment
Letter and the Exit Facilities Fee Letter may be executed in any number of counterparts, each of which
shall be an original and all of which, when taken together, shall constitute one agreement. Delivery of an
executed counterpart of a signature page of this Exit Facilities Commitment Letter or the Exit Facilities
Fee Letter by facsimile transmission or electronic photocopy (e.g., “pdf”) shall be effective as delivery of
an originally executed counterpart hereof. Section headings used herein are for convenience of reference
only, are not part of this Exit Facilities Commitment Letter and are not to affect the construction of, or to
be taken into consideration in interpreting, this Exit Facilities Commitment Letter. You acknowledge that
information and documents relating to the Transactions may be transmitted through SyndTrak, Intralinks,
the internet, e-mail or similar electronic transmission systems and that we shall not be liable for any
damages arising from the unauthorized use by others of information or documents transmitted in such
manner. Notwithstanding anything in Section 9 to the contrary, we may place advertisements in financial
and other newspapers and periodicals or on a home page or similar place for dissemination of information
on the Internet or worldwide web as we may choose, and circulate similar promotional materials, after the
closing of the Transactions in the form of a “tombstone” or otherwise describing the names of the
Company and its affiliates (or any of them), and the amount, type and closing date of such Transactions,
all at such party’s own expense. This Exit Facilities Commitment Letter and the Exit Facilities Fee Letter
supersede all prior understandings, whether written or oral, between us with respect to the Transactions.
Your obligations under or in connection with this Exit Facilities Commitment Letter and the Exit
Facilities Fee Letter shall be joint and several. THIS COMMITMENT LETTER AND ANY CLAIM,
CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS COMMITMENT
LETTER (INCLUDING, WITHOUT LIMITATION, ANY CLAIMS SOUNDING IN CONTRACT
LAW OR TORT LAW ARISING OUT OF THE SUBJECT MATTER HEREOF) SHALL BE
GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF
NEW YORK AND, TO THE EXTENT APPLICABLE, THE BANKRUPTCY CODE.

11.     Jurisdiction.

                 Each of the parties hereto hereby irrevocably and unconditionally (a) submits, for itself
and its property, to the exclusive jurisdiction of any New York state court or Federal court of the United
States of America sitting in the Borough of Manhattan, and any appellate court from any thereof, in any
suit, action or proceeding arising out of or relating to this Exit Facilities Commitment Letter or the
transactions contemplated hereby, and agrees that all claims in respect of any such suit, action or
proceeding may be heard and determined only in such New York State court or, to the extent permitted by
law, in such Federal court or, prior to the Closing Date, the Bankruptcy Court and the federal appeals
court therefrom, (b) waives, to the fullest extent it may legally and effectively do so, any objection which
it may now or hereafter have to the laying of venue of any suit, action or proceeding arising out of or
relating to this Exit Facilities Commitment Letter or the transactions contemplated hereby in any such
New York state court or in any such Federal court, (c) waives, to the fullest extent permitted by law, the
defense of an inconvenient forum to the maintenance of such suit, action or proceeding in any such court
and (d) agrees that a final judgment in any such suit, action or proceeding shall be conclusive and may be
enforced in other jurisdictions by suit on the judgment or in any other manner provided by law. To the
extent permitted by law, service of any process, summons, notice or document by registered mail
addressed to you at the address above shall be effective service of process against you for any suit, action
or proceeding brought in any such court.

12.     Waiver of Jury Trial.

            EACH OF THE PARTIES HERETO IRREVOCABLY WAIVES THE RIGHT TO
TRIAL BY JURY IN ANY ACTION, PROCEEDING, CLAIM OR COUNTERCLAIM BROUGHT BY

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OR ON BEHALF OF ANY PARTY RELATED TO OR ARISING OUT OF THIS COMMITMENT
LETTER, THE FEE LETTER OR THE PERFORMANCE OF SERVICES HEREUNDER OR
THEREUNDER.

13.     Surviving Provisions.

                 The indemnification, fee, payment, expense, confidentiality, assignments, jurisdiction,
information, governing law, and waiver of jury trial provisions contained herein and in the Exit Facilities
Fee Letter, and the provisions contained in the foregoing Section 8, shall remain in full force and effect
regardless of whether definitive documentation related to the Senior Secured Facilities shall be executed
and delivered and notwithstanding the termination of this Exit Facilities Commitment Letter and the Exit
Facilities Fee Letter or our agreements hereunder or thereunder; provided that your obligations under this
Exit Facilities Commitment Letter (other than your obligations with respect to the confidentiality of this
Exit Facilities Commitment Letter and the contents hereof) shall automatically terminate and be
superseded by the provisions of the definitive documentation for the Senior Secured Facilities to the
extent substantively addressed thereby upon the effectiveness thereof and the initial funding thereunder,
and you shall automatically be released from all liability in connection therewith at such time.

14.     PATRIOT Act Notification.

                 We hereby notify you that pursuant to the requirements of the USA PATRIOT Act, Title
III of Pub. L. 107-56 (signed into law October 26, 2001) (the “PATRIOT Act”), we may be and each
Lender is required to obtain, verify and record information that identifies the Company, the borrower and
the guarantors under the Senior Secured Facilities, which information includes the name, address, tax
identification number and other information regarding the Company, the borrower and such guarantors
that will allow us or such Lender to identify the Company, the borrower and such guarantors in
accordance with the PATRIOT Act. This notice is given in accordance with the requirements of the
PATRIOT Act and is effective as to us and each Lender. You hereby acknowledge and agree that we
shall be permitted to share any or all such information with the Lenders.

15.     Acceptance and Termination.

                 If the foregoing correctly sets forth our agreement with you, please indicate your
acceptance of the terms of this Exit Facilities Commitment Letter and of the Exit Facilities Fee Letter by
returning to us executed counterparts hereof and of the Exit Facilities Fee Letter not later than 11:59 p.m.,
New York City time, on October 5, 2018. Our offer hereunder, and our respective agreements to perform
the services described herein, will expire automatically and without further action or notice and without
further obligation to you at such time in the event that we have not received such executed counterparts in
accordance with the immediately preceding sentence. Thereafter, this Exit Facilities Commitment Letter,
except as expressly provided herein, shall automatically terminate on the earliest of (a) the Closing Date,
(b) the completion of the reorganization without the closing of the Senior Secured Facilities, (c) the
dismissal or conversion of the Chapter 11 Cases to proceedings under Chapter 7 of the Bankruptcy Code
(other than any dismissal or conversion in respect of a de minimis subsidiary of the Company or
subsidiary that would not be a subsidiary guarantor in accordance with the terms of the Commitment
Letter) or the appointment of a trustee or examiner with enlarged powers relating to the operation of the
business (powers beyond those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code), except to
the extent contemplated by or provided for under the Chapter 11 Plan (as defined in Exhibit A hereto), (d)
11:59 p.m. New York City time, on (x) so long as the Closing Date (as such term is defined in the ABL
DIP Credit Agreement) occurs on or prior to October 12, 2018, the date that is three (3) months following
the Closing Date or (y) otherwise, the date that is three (3) months following the date hereof, if the
definitive documentation for the Senior Secured Facilities has not been entered into on or prior to such

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date and (e) you or any of your affiliates obtain an asset-based revolving debtor-in-possession financing
or a term loan debtor-in-possession financing other than pursuant to the DIP Financing Commitment
Letter. This Exit Facilities Commitment Letter and the Exit Facilities Fee Letter shall be of no force and
effect unless (i) executed by you and delivered to us within the time frame required by the initial sentence
of this Section 15, and (ii) the Bankruptcy Court shall have approved the payment of all fees, payments,
expenses, indemnities and other obligations set forth in this Exit Facilities Commitment Letter and in the
Exit Facilities Fee Letter.

16.     Enforceable Obligation.

                Each of the parties hereto agrees that each of this Commitment Letter and the Fee Letter
is a binding and enforceable agreement with respect to the subject matter contained herein or therein
(including an obligation to negotiate in good faith); it being acknowledged and agreed that the funding of
(i) the ABL Facility is subject only to the conditions specified in Annex II to Exhibit A hereto and (ii) the
Term Facility is subject only to the conditions specified in Annex I to Exhibit B, including the execution
and delivery of the Financing Documentation by the parties hereto in a manner consistent with this
Commitment Letter.

17.     No Shop.

                  Notwithstanding anything herein to the contrary, each of the Debtors (as defined in
Exhibit B), agrees that, from the date hereof until the date of entry of an order by the Bankruptcy Court in
form and substance acceptable to the Arranger and Backstop Parties authorizing the Debtors to be bound
by this Commitment Letter and providing for all obligations of the Debtors hereunder to constitute super-
priority administrative expenses, each Debtor shall not, and shall not authorize or permit any of their
officers, directors, employees, advisors, attorneys, investment bankers, financial advisors, or other
professionals (collectively, “Debtor Representatives”) to, directly or indirectly in any manner: (i) solicit,
initiate or take any action to facilitate, encourage, or respond to any inquiries or the making of any
proposal that may constitute, or could reasonably be expected to lead to, any debt or equity financing,
asset sales, or any merger, consolidation, liquidation, dissolution or similar transaction, or chapter 11 plan
transaction, involving any of the Debtors (an “Alternative Transaction”); (ii) initiate or engage in any
discussion or negotiation regarding an Alternative Transaction; (iii) enter into any agreements or other
instruments (whether or not binding) regarding an Alternative Transaction; or (iv) furnish any information
relating to the Debtors or any of their respective assets or businesses, or afford access to the assets,
business, properties, books or records of any of the Debtors to any entity or person, in all cases, for the
purpose of assisting with or facilitating an Alternative Transaction. Each of the Debtors shall immediately
cease and cause to be terminated, and shall cause its Debtor Representatives to immediately cease and
cause to be terminated, all existing discussions or negotiations with any persons conducted prior to the
date hereof with respect to, or that could lead to, an Alternative Transaction. The Debtors hereby
represent that they are not now engaged in discussions or negotiations with any party other than the
Arranger and Backstop Parties with respect to any Alternative Transaction.

                 The Debtors shall notify the Arranger and Backstop Parties promptly in writing if any
written offer, or any inquiry or contact with any person with respect to any Alternative Transaction, is
made and shall provide the Arranger and Backstop Parties with a copy of such offer and shall keep the
Arranger and Backstop Parties informed on the status of any negotiations regarding such offer. The
Debtors shall immediately notify the Arranger and Backstop Parties if any discussions or negotiations are
sought to be initiated, any inquiry or proposal is made, or any information is requested with respect to any
Alternative Transaction and notify the Arranger and Backstop Parties of the terms of any proposal which
it may receive in respect of any such Alternative Transaction, including without limitation the identity of
the prospective financing parties, purchaser, or other soliciting party. The Debtors agree not to release

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any third party from, or waive any provision of, any confidentiality or standstill agreement to which the
Debtors are a party.

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               We are pleased to have been given the opportunity to assist you in connection with the
financing contemplated hereby.


                                                  Very truly yours,


                                                  BARCLAYS BANK PLC


                                                  By
                                                       Name:
                                                       Title:




                             [Signature Page to Exit Facilities Commitment Letter]
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                                                 MATTRESS FIRM, INC.


                                                 By
                                                      Name:
                                                      Title:

                                                 [ALL GUARANTORS]


                                                 By
                                                      Name:
                                                      Title:




                            [Signature Page to Exit Facilities Commitment Letter]
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                                                                                Exhibit A

                                     ABL Facility
                            Summary of Terms and Conditions

                                    [To be attached.]




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                               PRIVILEGED AND CONFIDENTIAL

                                          Mattress Firm, Inc.
                      $125,000,000 Senior Secured Asset-Based Revolving Facility
                             Summary of Principal Terms and Conditions


The following summary outlines the indicative economic and other terms of a proposed chapter 11 exit
financing for Mattress Firm, Inc. and certain of its affiliates. Capitalized terms not otherwise defined
herein shall have the meaning ascribed to such term in the Pre-Petition ABL Credit Agreement (as
defined below) and subject to the ABL Documentation Principles.

Borrower:                 Mattress Firm, Inc., a corporation organized under the laws of the State of
                          Delaware (the “Borrower”).

ABL Administrative        Barclays Bank PLC will act as sole and exclusive administrative agent (in such
Agent:                    capacity, the “ABL Administrative Agent”) for a syndicate of banks, financial
                          institutions and institutional lenders reasonably acceptable to the Borrower
                          excluding any Disqualified Institution (the “ABL Lenders”), and will perform
                          the duties customarily associated with such roles.

ABL Collateral Agent:     Barclays Bank PLC will act as collateral agent for the ABL Lenders (the “ABL
                          Collateral Agent”). The ABL Collateral Agent reserves the right to retain
                          other co-collateral agents at no additional cost to the Borrower.

ABL Arranger:             Barclays Bank PLC, will act as sole lead arranger for the ABL Facility (as
                          defined below) (the “ABL Arranger”) and as sole bookrunner, and will
                          perform the duties customarily associated with such roles.

Pre-Petition Credit       The ABL Credit Agreement, dated as of December 22, 2017 (as amended,
Agreements:               restated, supplemented or otherwise modified prior to the commencement of
                          the Chapter 11 Cases, the “Pre-Petition ABL Credit Agreement”) by and
                          among the Borrower, Mattress Holding Corp. (“Holdings”), Barclays Bank
                          PLC, as the administrative agent, and the lenders and other parties party
                          thereto.

                          The Term Loan Credit Agreement, dated as of March 26, 2018 (as amended,
                          restated, supplemented or otherwise modified prior to the commencement of
                          the Chapter 11 Cases, the “Pre-Petition Second Lien Term Loan Credit
                          Agreement”), between the Borrower, Holdings and Steinhoff International
                          Holdings N.V., as lender thereunder.

ABL Facility:             A first priority senior secured asset-based credit facility (the “ABL Facility”),
                          consisting of up to $125 million in revolving credit commitments, the
                          commitments thereunder, the “Revolving Commitments” and the loans
                          thereunder, the “Revolving Loans”).

                          Swing Line Loans:



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                           As a subfacility of the ABL Facility, the ABL Administrative Agent, in its
                           capacity as swing line lender (“ABL Swing Line Lender”), shall make
                           available to the Borrower a swingline facility under which the Borrower may
                           make short-term borrowings of up to $20,000,000. Except for purposes of
                           calculating the Commitment Fee (as defined below), any such swing line
                           borrowings will reduce availability under the ABL Facility on a dollar-for-
                           dollar basis. Each ABL Lender under the ABL Facility shall, promptly upon
                           request by the ABL Swing Line Lender, fund to the ABL Swing Line Lender
                           its pro rata share of any swingline borrowings.

                           Letters of Credit:

                           Up to $30,000,000 of the ABL Facility will be available in the form of standby
                           letters of credit (including to roll existing letters of credit under the ABL DIP
                           Credit Agreement on the Closing Date). Letters of credit under the ABL
                           Facility will be issued by Barclays Bank PLC or any other ABL Lender who
                           becomes an issuing bank on or after the Closing Date (“L/C Issuers”). Each
                           letter of credit shall expire not later than the earlier of (a) (i) 12 months after its
                           date of issuance and (b) unless arrangements reasonably satisfactory to the
                           relevant L/C Issuer have been entered into, the fifth Business Day prior to the
                           final maturity of the ABL Facility; provided that any letter of credit may
                           provide for renewal thereof for additional periods of up to 12 months (which in
                           no event shall extend beyond the date referred to in clause (b) above).

                           Drawings under any letter of credit shall be reimbursed by the Borrower on the
                           next Business Day. To the extent that the Borrower does not reimburse the
                           applicable Issuer when required, the ABL Lenders shall be irrevocably
                           obligated to reimburse such Issuer pro rata based upon their respective
                           Revolving Commitments.

                           The ABL Facility will include defaulting lender provisions substantially
                           consistent with the Pre-Petition ABL Credit Agreement.

Incremental ABL            The ABL Facility will permit the Borrower to increase commitments under the
Facilities:                ABL Facility (any such increase, an “Incremental ABL Facility”) from time to
                           time in an aggregate principal amount not to exceed $50,000,000 (the
                           “Incremental ABL Capacity”) after the Closing Date and, in the case of any
                           such increase, in a minimum amount of $10,000,000 (unless a lesser amount
                           remains); provided that any Incremental ABL Facility shall be on terms and
                           pursuant to the ABL Facility.

                           The Borrower may (but shall not be required to) seek commitments in respect
                           of the Incremental ABL Facility from existing ABL Lenders (each of which
                           shall be entitled to agree or decline to participate in its sole discretion) and
                           additional banks, financial institutions and other institutional lenders who will
                           become ABL Lenders in connection therewith.

                           For avoidance of doubt, the fixed dollar amount set forth in connection with

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                           the Excess Availability tests described herein shall automatically increase
                           proportionately by an amount equal to the proportionate increase to the
                           Revolving Commitments in connection with any Incremental ABL Facility.

Maturity Date:             The earlier of the date that is (a) 36 months from the Closing Date and (b) 91
                           days prior to the latest maturity of the Term Facility (as defined in the Term
                           Loan Term Sheet (such earlier date, the “Maturity Date”).

Purpose:                   The proceeds of the ABL Facility, together with proceeds of the Term Loans,
                           will be used by the Borrower for funding the amounts payable under the
                           Chapter 11 Plan and for working capital and general corporate purposes.

                           “Chapter 11 Plan” shall mean the Joint Prepackaged Chapter 11 Plan of
                                 Reorganization for Mattress Firm, Inc. and its debtor affiliates filed
                                 with the Bankruptcy Court on or about October 5, 2018, as amended,
                                 supplemented or otherwise modified from time to time..

Availability and           Subject to the terms and express conditions set forth herein, Revolving Loans
Amounts:                   and Letters of Credit under the ABL Facility will be available, subject to
                           availability under the then-applicable Maximum Credit, at any time prior to the
                           final maturity of the ABL Facility, in minimum incremental principal amounts
                           to be agreed. Amounts repaid under the ABL Facility may be reborrowed,
                           subject to the then-applicable Borrowing Base.

Borrowing Base:            The borrowing base (the “Borrowing Base”) at any time shall equal the sum
                           of:

                           (a) 90% of the appraised net orderly liquidation value (with respect to any
                           month, using the applicable monthly net orderly liquidation value for such
                           month set forth in the most recent Hilco appraisal received by the ABL
                           Administrative Agent) of eligible inventory of the Borrower and the ABL
                           Guarantors (as defined below) (other than Parent and Holdings), plus

                           (b) 90% of the appraised net orderly liquidation value (with respect to any
                           month, using the applicable monthly net orderly liquidation value for such
                           month set forth in the most recent Hilco appraisal received by the ABL
                           Administrative Agent) of eligible in-transit inventory of the Borrower and the
                           ABL Guarantors (other than Parent and Holdings); provided, that the amounts
                           under this clause (b) shall not exceed 10% of eligible inventory, plus

                           (c) 90% of eligible accounts receivable of the Borrower and the ABL
                           Guarantors (other than Parent and Holdings), plus

                           (d) 90% of eligible credit card receivables of the Borrower and the ABL
                           Guarantors (other than Parent and Holdings), minus

                           (d) reserves as described below.

                           Eligibility criteria for eligible inventory, eligible accounts receivable, eligible
                           credit card receivables and eligible in-transit inventory included in the

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                           Borrowing Base will be consistent with the Pre-Petition ABL Credit
                           Agreement (with adjustments in accordance with the ABL Documentation
                           Principles (as defined below)).

                           The Borrowing Base will be computed by the Borrower on a monthly basis (or
                           more frequently as the Borrower may elect; provided that if such election is
                           exercised, it must be continued until the date that is 60 days after the date of
                           such election), and a certificate (the “Borrowing Base Certificate”) presenting
                           the Borrower’s computation of the Borrowing Base will be delivered to the
                           ABL Administrative Agent promptly, but in no event later than the fifteenth
                           Business Day following the end of each fiscal month; provided, however, that
                           during a Cash Dominion Period, the Borrower will be required to compute the
                           Borrowing Base and deliver a Borrowing Base Certificate on a weekly basis,
                           which weekly Borrowing Base Certificate shall be delivered in no event later
                           than the third (3rd) Business Day after the end of such fiscal week.

                           “Maximum Credit” means, at any time, the lesser of (i) the Revolving
                           Commitments in effect at such time and (ii) the Borrowing Base at such time.

                           “Permitted Discretion” means a determination made by the ABL
                           Administrative Agent or the ABL Collateral Agent in good faith in the exercise
                           of its reasonable (from the perspective of an asset-based lender) business
                           judgment.

                           The ABL Administrative Agent will have the right to establish and modify
                           reserves (including customary reserves for customer deposits) against the
                           Borrowing Base assets in its Permitted Discretion.


Interest Rates and Fees:   As set forth on Annex I hereto.


Default Rate:              Any principal payable under or in respect of the ABL Facility not paid when
                           due shall bear interest at the applicable interest rate plus 2% per annum. Other
                           overdue amounts (including overdue interest) shall bear interest at the interest
                           rate applicable to ABR loans plus 2% per annum.

Guarantees:                All obligations of the Borrower (the “Borrower Obligations”) under the ABL
                           Facility and under any interest rate protection or other hedging arrangements
                           entered into with an ABL Lender or any affiliate of an ABL Lender at the time
                           of the entering into of such arrangements and designated by the Borrower as
                           “ABL Hedging Obligations” (“Hedging Obligations”) and under any cash
                           management arrangements entered into with an ABL Lender or any affiliate of
                           an ABL Lender at the time of the entering into of such arrangements and
                           designated by the Borrower as “ABL Cash Management Obligations” (“Cash
                           Management Obligations”) will be unconditionally guaranteed jointly and
                           severally on a senior secured basis (the “Guarantees”) by (i) to the extent it
                           guarantees the Term Facility, Stripes US Holdings, Inc., a Delaware
                           corporation (“Parent”), and the indirect parent of the Borrower, (ii) Holdings
                           and (iii) subject to customary exceptions to be agreed, each existing and

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                           subsequently acquired or organized direct or indirect wholly-owned U.S.
                           restricted subsidiary of Borrower with exceptions to be agreed (the “ABL
                           Subsidiary Guarantors” and, together with Holdings, the “ABL Guarantors”
                           and, collectively with the Borrower and Holdings, the “Loan Parties”).
                           Hedging Obligations and Cash Management Obligations shall not be permitted
                           to be secured under both the ABL Facility and the Term Facility. The
                           Guarantors under the ABL Facility and the Term Facility shall be the same.

Security/Collateral:       The Borrower Obligations, the Guarantees, any Hedging Obligations and any
                           Cash Management Obligations will be secured by:

                           (a)     a first-priority perfected security interest (subject to certain permitted
                                   liens and other customary exceptions to be agreed) in all accounts,
                                   credit card receivables, payment intangibles, accounts receivable,
                                   chattel paper, and other rights to payment (except to the extent
                                   constituting identifiable proceeds of Term Loan Collateral (as defined
                                   below) (it being understood that any such accounts receivable that are
                                   identifiable proceeds of Term Loan Collateral shall be deemed
                                   ineligible)), inventory, cash, deposit accounts, securities accounts and
                                   commodities accounts (other than any deposit account, securities
                                   account or commodity account (or amount on deposit therein)
                                   established solely to hold (and solely holding) identifiable proceeds of
                                   Term Loan Collateral), intercompany indebtedness, instruments,
                                   general intangibles, contracts, documents, supporting obligations, letter
                                   of credit rights, letters of credit, commercial tort claims related to the
                                   foregoing assets, and certain other assets and books and records related
                                   to the foregoing and, in each case, proceeds (including insurance
                                   policies and proceeds) thereof (all of the foregoing, the “ABL
                                   Collateral”), in each case, subject to exceptions to be agreed; and

                           (b)     a second-priority perfected security interest (subject to certain
                                   permitted liens and other customary exceptions to be agreed) in (i) the
                                   capital stock of the Borrowers and their respective subsidiaries, all
                                   equipment and intellectual property of the Borrowers and the
                                   Guarantors and all other personal property and material fee-owned real
                                   property (as described below) of the Borrower and the Guarantors to
                                   the extent not constituting ABL Collateral, including, without
                                   limitation, proceeds of the foregoing and (ii) in the event that the
                                   Common Equity and PIK Debt are issued by Parent, a non-recourse
                                   pledge of 100% of the equity interests of Parent, Holdings, and each
                                   wholly-owned restricted subsidiary of SUSHI (other than the Borrower
                                   and each Guarantor); (all of the foregoing, the “Term Loan Collateral”
                                   and, together with the ABL Collateral, the “Collateral”), in each case,
                                   subject to the exceptions to be agreed. The Collateral will be at least
                                   as expansive as the Collateral as defined in the Term Facility.

                           All the above-described pledges, security interests and mortgages shall be
                           created on terms, and pursuant to documentation reasonably satisfactory to the
                           ABL Administrative Agent and the Borrower and otherwise consistent with the
                           ABL Documentation Principles, and none of the ABL Collateral shall be

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                           subject to any other liens (except for the liens securing the Term Loan Facility
                           and other permitted liens consistent with the ABL Documentation Principles).

Intercreditor
Agreement:                 The lien priority, relative rights and other creditors’ rights issues between and
                           among the ABL Agent, the ABL Lenders, the lenders under the Term Loan
                           Facility and the agent under the Term Loan Facility will be set forth in a
                           customary intercreditor agreement satisfactory to the aforementioned parties,
                           and the Borrower (the “ABL/Term Intercreditor”).

ABL Documentation          The definitive documentation with respect to the ABL Facility (the “ ABL
Principles:                Financing Documentation”) will contain mandatory prepayments,
                           representations, warranties, conditions to borrowing, affirmative, negative and
                           financial covenants and events of default set forth or referred to below in this
                           Term Sheet, in each case applicable to Holdings, the Borrower and their
                           restricted subsidiaries with materiality thresholds, qualifications, exceptions,
                           “baskets” and grace and cure periods to be mutually agreed and which will be
                           consistent with those in the Pre-Petition ABL Credit Agreement with changes
                           and modifications (w) that reflect the terms of this Term Sheet, (x) to reflect
                           changes in law or accounting standards and requirements of local law
                           (including customary EU bail-in provisions) or to cure mistakes or defects,
                           (y) other changes and modifications to be agreed and (z) that are necessitated
                           by the effectiveness of the Chapter 11 Plan (as defined below) (collectively, the
                           “ABL Documentation Principles”).

Cash                       The Loan Parties shall obtain account control agreements in favor of the ABL
Management/Cash            Administrative Agent on the domestic deposit and securities accounts (subject
Dominion:                  to exceptions set forth in the ABL Facility, which exceptions shall, for the
                           avoidance of doubt, be no less favorable to the Borrower than those set forth in
                           the Pre-Petition ABL Credit Agreement, subject to the ABL Documentation
                           Principles) of the Loan Parties as soon as possible after the Closing Date but
                           not to exceed 30 days after the Closing Date (subject, if requested by the
                           Borrower, to extensions agreed to by the ABL Administrative Agent in its
                           reasonable discretion). If such arrangements are not obtained within such
                           period, the Borrower shall be required to move its bank accounts to the ABL
                           Administrative Agent or another bank reasonably acceptable to the ABL
                           Administrative Agent that will provide such control agreements. During a
                           Cash Dominion Period (as defined below), all amounts in controlled accounts
                           (or in any other material deposit account which are not swept on a regular basis
                           into a concentration account) will be swept into a collection account
                           maintained with the ABL Administrative Agent and used to repay borrowings
                           under the ABL Facility, subject to customary exceptions and thresholds.

                           “Cash Dominion Period” means each period beginning (a) on the date that
                           Excess Availability shall have been less than the greater of (x) 12.5% of the
                           Maximum Credit and (y) $12,500,000, in either case, for five (5) consecutive
                           Business Days, and ending on the date Excess Availability shall have been
                           equal to or greater than the greater of (x) 12.5% of the Maximum Credit and
                           (y) $12,500,000, in each case, for thirty (30) consecutive calendar days, or (b)
                           upon the occurrence of an event of default, the period that such event of default

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                           shall be continuing.

                           “Excess Availability” means, at any time, (a) the Maximum Credit at such time
                           minus (b) sum of (i) the principal amount of the Revolving Loans outstanding
                           at such time, (ii) the letter of credit obligations outstanding under the ABL
                           Facility at such time and (iii) the principal amount of the swing loans under the
                           ABL Facility outstanding at such time.

Mandatory                  If at any time, the aggregate amount of outstanding loans, unreimbursed letter
Prepayments:               of credit drawings and undrawn letters of credit under the ABL Facility
                           exceeds the Maximum Credit, then the Borrower will immediately repay
                           outstanding loans and cash collateralize outstanding letters of credit in an
                           aggregate amount equal to such excess, with no reduction of the ABL Facility
                           commitments.

                           In addition, if at any time during a Cash Dominion Period or in the event such
                           disposition would result in the occurrence of a Cash Dominion Period, the
                           Parent, Holdings, Borrower or any of its restricted subsidiaries disposes of any
                           Collateral outside of the ordinary course of business, then the Borrower will
                           immediately repay outstanding loans and cash collateralize outstanding letters
                           of credit in an aggregate amount equal to such excess, with no reduction of the
                           ABL Facility commitments.

                           In addition, Borrower shall be required to prepay the ABL Facility in full (and
                           terminate any commitments and cash collateralize outstanding letters of credit)
                           upon the occurrence of a Change of Control

Voluntary Prepayments      Voluntary reductions of the unutilized portion of the ABL Facility
and Reductions in          commitments and prepayments of borrowings will be permitted at any time
Commitments:               (subject to customary notice requirements) in minimum principal amounts of
                           $1,000,000, without premium or penalty, subject to reimbursement of the ABL
                           Lenders’ redeployment costs in the case of a prepayment of Eurocurrency Rate
                           borrowings prior to the last day of the relevant interest period.

Representations and        To be substantially the same as the Pre-Petition ABL Credit Agreement
Warranties:                (subject to the ABL Documentation Principles), except applicable to Holdings,
                           Parent, Borrower, and their restricted subsidiaries and also to include
                           additional representations to the extent included in the Term Facility.

Conditions Precedent to    The conditions precedent to the Closing Date shall consist of the conditions set
Closing Date:              forth on Annex I to Exhibit A. The first date on which all of the conditions set
                           forth on Annex I to Exhibit A have been satisfied shall be referred to herein as
                           the “Closing Date.”

Conditions Precedent to    Conditions precedent to each drawing under the ABL Facility after the Closing
Borrowings after the       Date shall consist of the following: (a) delivery of a customary notice of
Closing Date:              borrowing to the ABL Administrative Agent, (b) all representations and
                           warranties are true and correct in all material respects (except to the extent
                           such representation or warranty is qualified by materiality or Material Adverse
                           Effect, it shall be true and correct in all respects), (c) no default or events of
                           default shall have occurred or be continuing and (d) after giving effect to the

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                           relevant credit extension, the revolving credit outstandings shall not exceed the
                           Maximum Credit.

Affirmative Covenants:     The ABL Financing Documentation will contain reporting covenants and
                           affirmative covenants of the types contained in the Pre-Petition ABL Credit
                           Agreement (subject to adjustments in accordance with the ABL Documentation
                           Principles), but application to Parent (if it is a Guarantor), Holdings, Borrower
                           and their restricted subsidiaries, including the following: maintenance of
                           existence; compliance with laws; designation of subsidiaries; payment of taxes;
                           maintenance of insurance; inspection rights; books and records; maintenance of
                           properties; use of proceeds; compliance with environmental laws; covenant to
                           guarantee obligations and give security; cash receipts; further assurances,
                           including as to security (including after-acquired property); periodic updates of
                           field examinations and inventory appraisals; delivery of monthly, quarterly and
                           annual financial statements; monthly (and weekly during a Cash Dominion
                           Period) Borrowing Base Certificates; updated Borrowing Base Certificates in
                           connection with dispositions of ABL Collateral (other than inventory sold in
                           the ordinary course of business) having a fair market value of $5 million or
                           more since the delivery of the most recent Borrowing Base Certificate; delivery
                           of Compliance Certificates; quarterly lender calls; annual budgets and notices
                           of default and other material events. To also include any additional categories
                           of representations and warranties included in the Term Facility.

                           The ABL Administrative Agent may conduct up to two (2) field examinations
                           and up to two (2) inventory appraisals (each at the expense of the Borrower)
                           during any period of 12 consecutive months; provided that (A) at the ABL
                           Lenders’ expense, the ABL Administrative Agent may conduct one (1)
                           additional field examination and one (1) additional inventory appraisal, in each
                           case, during any period of 12 consecutive months and (B) at any time during
                           the continuation of an Event Default, field examinations and inventory
                           appraisals may be conducted (at the expense of the Borrower) as frequently as
                           determined by the ABL Administrative Agent in its reasonable discretion.

Negative Covenants:        The ABL Financing Documentation will contain negative covenants of the
                           types contained in the Pre-Petition ABL Credit Agreement, but applicable to
                           Parent (if it is a Guarantor), Holdings, Borrower and their restricted
                           subsidiaries (subject to adjustments in accordance with the ABL
                           Documentation Principles), including the following: liens; investments; debt;
                           fundamental changes; dispositions; restricted payments; material changes in
                           nature of business; transactions with affiliates; burdensome agreements;
                           accounting changes; prepayments of subordinated, junior or unsecured debt
                           (and amendments to documentation related thereto); Holdings to remain a
                           passive holding company and, if Parent is a Guarantor, Parent to remain a
                           passive holding company. Parent will be treated like a non-Loan Party with
                           respect to covenants that would otherwise permit Parent, as a Loan Party, to
                           receive assets in dispositions from a Loan Party, to receive restricted payments
                           from a Loan Party, to receive investments from a Loan Party, to merge or
                           consolidate with another Loan Party, and or other permissive transactions that
                           would allow leakage from the other Loan Parties to Parent it is were treated as
                           Loan Party. To be updated to also include any additional type of negative
                           covenant included in the Term Facility (subject to adjustment for the ABL

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                           nature of the ABL Facility).

                           Limitation on Liens

                           Exceptions include, but are not limited to (a) liens securing the Term Loan
                           Facility; (b) liens securing the ABL Facility, (c) liens securing permitted
                           indebtedness assumed in connection with (but not in contemplation of) a
                           Permitted Acquisition (to be defined in a manner to be agreed); provided that
                           such liens shall be limited to assets acquired in connection with such Permitted
                           Acquisition and shall not extend to any other asset or property, (d) a general
                           lien basket of $25,000,000; provided that such liens shall not extend to ABL
                           Collateral or shall be junior to liens securing the ABL Facility (and subject to
                           an intercreditor agreement reasonably satisfactory in form and substance to the
                           ABL Administrative Agent) and (e) a basket of $50,000,000 for liens securing
                           debt (senior to the Term Facility but junior with respect to the ABL Facility on
                           ABL Collateral pursuant to an intercreditor agreement in form and substance
                           satisfactory to the ABL Administrative Agent). Notwithstanding the foregoing,
                           no liens are permitted in respect of the Stripes Facilities Agreement (as defined
                           in the Pre-Petition ABL Credit Agreement).

                           Limitation on Investments

                           Exceptions include, but are not limited to (a) Permitted Acquisitions not to
                           exceed $25,000,000, subject to a sublimit for investments in Persons that do
                           not become Loan Parties of the greater of $15,000,000 and 5% of Adjusted
                           EBITDA (“Non-Loan Party Investment Sublimit”), (b) intercompany
                           investments, subject to the Non-Loan Party Investment Sublimit, (c)
                           investments funded with qualified equity interests of Holdings (or any direct or
                           indirect parent thereof) and (d) subject to no event of default, a general
                           investment basket of $15,000,000. Notwithstanding the foregoing, no
                           investments are permitted in respect of the Stripes Facilities Agreement.

                           Limitation on Indebtedness

                           Exceptions include but are not limited to (a) indebtedness under the Term Loan
                           Facility; provided that the aggregate principal amounts at any time outstanding
                           pursuant to this clause (a) shall not exceed $400,000,000 plus fees and interest
                           paid in kind thereon, subject to the ABL/Term Intercreditor, (b) indebtedness
                           under the ABL Facility, (c) indebtedness acquired in connection with Permitted
                           Acquisitions in an aggregate principal amount at any time outstanding not to
                           exceed $25,000,000, subject to a sublimit for indebtedness of non- Loan
                           Parties not to exceed $12,500,000 (“Non-Loan Party Debt Sublimit”), (d)
                           unsecured indebtedness consisting of earn-out and other contingent
                           consideration obligations and deferred purchase price obligations up to
                           $5,000,000, (e) a capital lease and purchase money debt basket in an amount
                           not to exceed the greater of $25,000,000 and 10% of Adjusted EBITDA, (f) a
                           general debt basket in an amount not to exceed $30,000,000, subject to the
                           Non-Loan Party Debt Sublimit and (g) a basket of $50,000,000 for securing
                           debt (senior to the Term Facility but junior with respect to the ABL Facility on
                           ABL Collateral pursuant to an intercreditor agreement in form and substance
                           satisfactory to the ABL Administrative Agent). Notwithstanding the foregoing,

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                           no indebtedness is permitted in respect of the Stripes Facilities Agreement.

                           Limitation on Dispositions

                           Exceptions include but are not limited to (a) sales of inventory in the ordinary
                           course of business, (b) customary asset swaps, (c) dispositions of non-core
                           assets acquired in connection with a Permitted Acquisition or other permitted
                           investments, provided that on a pro forma basis, Excess Availability on the
                           date thereof and for the 30 day period immediately prior to the consummation
                           of such sale or disposition, is not less than $20,000,000, (d) sales of obsolete,
                           worn out, uneconomical, negligible or surplus assets or assets no longer used
                           or useful in the business, and (e) dispositions (other than of material
                           Intellectual Property) in an amount not to exceed $5,000,000, so long as in the
                           case of a sale of ABL Collateral, Excess Availability is not less than
                           $15,000,000 after giving effect thereto.

                           In addition, the Borrower and any Subsidiary Guarantor will be permitted to
                           make asset sales or other dispositions of property (other than material
                           intellectual property) on an unlimited basis for fair market value so long as (w)
                           no event of default has occurred and is continuing or would result from such
                           sale or disposition, (x) for dispositions with a purchase price in excess of
                           $10,000,000 or with respect to any disposition of ABL Collateral, at least 75%
                           of the consideration therefore consists of cash or cash equivalents (subject to a
                           basket of $5,000,000 for customary non-cash consideration that may be
                           designated as cash consideration), (y) Excess Availability is not less than
                           $15,000,000 after giving effect thereto, and (z) delivery of an updated delivery
                           of a Borrowing Base Certificate for dispositions of Current Asset Collateral in
                           excess of $5,000,000.

                           Limitation on Restricted Payments

                           Exceptions include but are not limited to (a) redemptions of equity or options
                           issued by the Borrower or any direct or indirect parent company thereof to
                           directors, officers, employees, and consultants in an annual amount not to
                           exceed $7,500,000 per annum, with ability to carry-forward unused amounts,
                           (b) dividends, repurchases, redemptions and distributions funded with equity or
                           equity proceeds (other than disqualified equity interests) and (c) so long as (i)
                           no default or event of default has occurred and is continuing or would result
                           from such payment, (ii) Excess Availability is not less than $30,000,000 after
                           giving effect thereto and (iii) the Borrower is in compliance with a minimum
                           Fixed Charge Coverage Ratio of at least 1.00 to 1.00, a general basket of
                           $5,000,000 (“General RP Basket”).

                           Limitation on Payments of Unsecured Debt, Junior Lien or Subordinated Debt

                           Exceptions include but are not limited to prepayments, redemptions and
                           repurchases made, in respect of subordinated debt, junior lien debt, or
                           unsecured debt, so long as (a)(i) no default or event of default has occurred and
                           is continuing or would result from such payment, (ii) Excess Availability is not
                           less than $30,000,000 after giving effect thereto and (iii) the Borrower is in
                           compliance with a minimum Fixed Charge Coverage Ratio of at least 1.00 to

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                           1.00, from the General RP Basket or (b) the Payment Conditions (to be defined
                           in a manner consistent with the Pre-Petition ABL Credit Agreement; provided
                           that (1) references in that definition to Intra-Group Debt Restricted Payment
                           will be replaced with references to payments of subordinated debt, junior lien
                           debt or secured debt and (2) there will be an additional requirement in the
                           definition that Excess Availability is not less than $50,000,00 after giving
                           effect thereto) are satisfied before and after giving effect thereto.
                           Notwithstanding the foregoing, payments in respect of indebtedness that is
                           subordinated in right of payment to the Loans shall not be permitted, unless
                           pursuant to the terms of a subordination agreement

Financial Covenants:       The ABL Financing Documentation will contain the following financial
                           covenants:

                           1. Fixed Charge Coverage Ratio

                           The Borrower shall comply on a quarterly basis with a minimum Fixed Charge
                           Coverage Ratio of at least 1.00 to 1.00 on a trailing four quarter basis during
                           any Testing Period.

                           “Testing Period” means the period commencing on the last day of the most
                           recently ended fiscal quarter of the Borrower for which financial statements
                           have been delivered prior to the occurrence of a Trigger Event and continuing
                           until Borrower has had Excess Availability, for 30 consecutive calendar days
                           thereafter, of greater than or equal to the greater of (A) $10,000,000 and (B)
                           12.5% of the Maximum Credit.

                           “Trigger Event” means if Excess Availability shall at any time be less than the
                           greater of (A) $10,000,000 and (B) 12.5% of the Maximum Credit.

                           2. Minimum Liquidity

                           Maintain Excess Availability of at least $10,000,000 at all times.

                           3. Maximum Capital Expenditures

                           Capital expenditures, in any fiscal year, in an aggregate amount for the
                           Borrower and its restricted subsidiaries shall not be in excess of $60,000,000,
                           plus, commencing with the fiscal quarter ended April 2, 2019, the then
                           applicable CAPEX Builder Amount.

                           “CAPEX Builder” a quarterly builder amount to be defined in definitive
                           documents, which builds each quarter by the amount by which actual Adjusted
                           EBITDA for such fiscal quarter exceeds 90% of budgeted Adjusted EBITDA
                           for such fiscal quarter, which amounts may be carried forward for one (1) year
                           from the date added to the CAPEX Builder if not utilized.

Events of Default:         To be substantially the same as the Pre-Petition ABL Credit Agreement
                           (subject to the ABL Documentation Principles) but applicable to Parent,
                           Holdings, Borrower and their restricted subsidiaries, with adjustments to be

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                           agreed to reflect the post-bankruptcy capital structure of the Loan Parties and
                           to also include any additional events of default included in the Term Facility.

Voting:                    To be substantially the same as the Pre-Petition ABL Credit Agreement
                           (subject to the ABL Documentation Principles).

Cost and Yield             To be substantially the same as the Pre-Petition ABL Credit Agreement
Protection:                (subject to the ABL Documentation Principles).


Assignments and            To be substantially the same as the Pre-Petition ABL Credit Agreement
Participations:            (subject to the ABL Documentation Principles).

Expenses and               To be substantially the same as the ABL DIP Credit Agreement (subject to the
Indemnification:           ABL Documentation Principles).

Governing Law and          New York.
Forum:

Counsel to the ABL         Paul Hastings LLP.
Arranger:




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                                                                                ANNEX I to Exhibit A




Interest Rates:          The interest rates under the ABL Facility are as follows:

                         A percentage per annum equal to (a) until the end of the first full Fiscal Quarter
                         ending after the Closing Date, (i) for Eurocurrency Rate Loans, 2.50%, (ii) for
                         Base Rate Loans, 1.50%, and (b) thereafter, the following percentages per
                         annum, based upon Average Historical Excess Availability as of the most
                         recent date of determination.

                          Average      Historical  Excess Applicable Rate for Applicable
                          Availability as a % of Maximum Eurocurrency Loans   Rate for Base
                          Credit                                              Rate Loans

                          Greater than or equal to 66.7%         2.00%                     1.00%

                          Less than 66.7% and greater than 2.25%                           1.25%
                          or equal to 33.3%

                          Less than 33.3%                        2.50%                     1.50%



                         “Average Historical Excess Availability” means, at any date of determination,
                         the average daily Excess Availability for the three month period immediately
                         preceding such date of determination (or, in the case of the first Adjustment
                         Date, the period from and including the Closing Date through the date
                         immediately preceding such first date of determination).


Letter of Credit Fees:   A per annum fee equal to the spread over Eurocurrency Rate under the ABL
                         Facility will accrue on the aggregate face amount of outstanding letters of
                         credit under the ABL Facility, payable in arrears at the end of each quarter and
                         upon the termination of the ABL Facility, in each case for the actual number of
                         days elapsed over a 360-day year. Such fees shall be distributed to the ABL
                         Lenders pro rata in accordance with the amount of each such ABL Lender’s
                         commitment. In addition, the Borrower shall pay to the Issuing Bank, for its
                         own account, (a) a fronting fee equal to 0.125% of the aggregate face amount
                         of outstanding letters of credit, payable in arrears on the first Business Day
                         following the end of each fiscal quarter and upon the termination of the ABL
                         Facility, calculated based upon the actual number of days elapsed over a 360-
                         day year, and (b) customary issuance and administration fees.


Commitment Fees:         A percentage per annum equal to (a) until the end of the first full Fiscal Quarter
                         ending after the Closing Date, 0.375% and (b) thereafter, the following
                         percentages per annum, based upon Average Revolving Loan Utilization
                         determined as of the most recent date of determination:

                          Average       Revolving        Loan Applicable         Unused



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                           Utilization as a % of Maximum Commitment Fee Rate
                           Credit

                           Greater than or equal to 50.0%    0.25%

                           Less than 50.0%                   0.375%




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                                                                                    Annex II to Exhibit A

                                               ABL Facility

                             Summary of Additional Conditions Precedent

        The closing and initial funding of the ABL Facility shall be subject solely to the following
conditions precedent, which shall be subject to the satisfaction (or waiver by the ABL Administrative
Agent and, in each case, subject to the Certain Funds Provision):

         (a)    Documentation. Definitive documentation for the ABL Facility consistent with the ABL
Term Sheet and the Exit Facilities Commitment Letter (including, without limitation, the Intercreditor
Agreements, and the Guarantees and Collateral to the extent required by the Exit Facilities Commitment
Letter and ABL Term Sheet) and acceptable to the Arranger shall have been executed by each of the
parties thereto and delivered to the ABL Administrative Agent, and the borrowings under the ABL
Facility have been funded, or shall be funded, substantially concurrently with the ABL Facility.

        (b)      Term Facility:

                     (i) Documentation. Definitive documentation for the Term Facility with terms and
                         conditions consistent with Exhibit B hereto and acceptable to the Arranger shall
                         have been executed by each of the parties thereto and delivered to the ABL
                         Administrative Agent, and each of the conditions precedent set forth therein shall
                         have been satisfied to the satisfaction of the Term Administrative Agent and the
                         borrowings under the Term Facility are to be funded substantially concurrently
                         with the ABL Facility. All conditions precedent to the closing of the ABL
                         Facility shall have been satisfied and the Term Facility shall have closed with
                         gross proceeds of $400.0 million, on terms and conditions satisfactory to the
                         Lenders

                     (ii) Proceeds. The gross proceeds of the Term Facility shall not be less than
                          $400,000,000.

         (c)       Refinancing of Existing Credit Agreements and Other Indebtedness. The Arranger
shall have received evidence satisfactory to it of the repayment in full of obligations outstanding under the
DIP ABL Credit Agreement and the DIP Term Loan Agreement (and of any other indebtedness for
borrowed money outstanding (or commitments with respect thereto) except any indebtedness to be
mutually agreed in the Financing Documentation), termination of the commitments thereunder and
release of all liens granted thereunder (with such repayment in full, termination and release being
evidenced by one or more payoff letters reasonably acceptable to the Arranger); provided, that, certain
letters of credit issued under the DIP ABL Credit Agreement shall remain outstanding provided, that, the
aggregate amount of such letters of credit does not exceed a maximum amount to be determined and such
letters of credit are cash collateralized to the satisfaction of the Commitment Parties.

         (d)     Fees and Expenses. All accrued fees and other payments under the Exit Facilities Fee
Letter and all accrued reasonable and documented out-of-pocket costs and expenses under the Exit
Facilities Commitment Letter (including legal fees and expenses), in each case required to be paid on the
Closing Date pursuant to the Exit Facilities Fee Letter or the Exit Facilities Commitment Letter, as
applicable, shall, upon the initial funding under the ABL Facility, have been paid (which amounts may be
offset against the proceeds of the ABL Facility).

        (e)     Financial Statements. The Arranger shall have received copies of (i) the audited annual
financial statements required to be delivered by the Borrower under the Existing Credit Agreements (as in


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effect on the date of the Exit Facilities Commitment Letter) for each of the three fiscal years immediately
preceding the Closing Date ended at least 120 days prior to the Closing Date (ii) the unaudited quarterly
financial statements required to be delivered by the Borrower under the Existing Credit Agreements (as in
effect on the date of the Exit Facilities Commitment Letter) for the fiscal quarters of fiscal year 2018
ended at least 45 days prior to the Closing Date and (iii) the monthly financial statements required to be
delivered by the Borrower under the Existing Credit Agreements (as in effect on the date of the Exit
Facilities Commitment Letter) for the calendar months of year 2018 ended at least 30 days prior to the
Closing Date.

         (f)     Projections. The Arranger shall have received quarterly projections of the operating
results of the Company and its subsidiaries for a period ending on the projected maturity date of the ABL
Facility (“Projections”).

        (g)     Patriot Act. The Borrower shall have provided to the ABL Administrative Agent at least
three business days prior to the Closing Date, such documentation and other information regarding the
Company, the Borrower and their respective subsidiaries as required by regulatory authorities under
applicable “know-your-customer” rules and regulations, including the Patriot Act and a certification
regarding beneficial ownership required by 31 C.F.R. § 1010.230, to the extent reasonably requested by
any ABL Lender to the applicable ABL Administrative Agent and conveyed by the applicable ABL
Administrative Agent to the Borrower in writing at least 10 days prior to the Closing Date.

         (h)     Miscellaneous Closing Conditions. The ABL Administrative Agent shall have received
(i) customary legal opinions, customary evidence of authorization, customary officer’s certificates, good
standing certificates (to the extent applicable) and customary UCC searches with respect to the Company
and its subsidiaries, (ii) copies of any insurance certificates then in effect to the extent previously
furnished to the collateral agent under and pursuant to the Existing Credit Agreements, (iii) a Borrowing
Base Certificate from the Company’s chief financial officer or treasurer completed as of the calendar
month ended at least 20 days prior to the Closing Date, (iv) a solvency certificate from the Company’s
chief financial officer or treasurer, in the form attached as Annex III to Exhibit A hereto, certifying that
the Company and its restricted subsidiaries, on a consolidated basis are solvent and (v) all governmental
consents and approvals necessary in connection with the Transactions shall have been obtained and be
effective, other than those which the failure to obtain, individually or in the aggregate, could not
reasonably be expected to have a Material Adverse Effect . To the extent applicable, the ABL
Administrative Agent shall have received a customary notice of borrowing no less than two business days
prior to the Closing Date. Notwithstanding anything in the foregoing, no control agreements shall be
required to be delivered until the later of (a) 30 days from the Closing Date and (b) 30 days from the
opening of the relevant account.

                 As used herein, “Material Adverse Effect” shall mean any event, facts, or circumstances,
 which, after the Closing Date, has a material adverse effect on (a) the business, assets, operations,
 financial condition or income of the Loan Parties taken as a whole, or (b) the validity or enforceability of
 the Financing Documentation or any of the rights or remedies of the ABL Administrative Agent, the
 ABL Collateral Agent, or the lenders thereunder (it being understood that Material Adverse Effect shall
 exclude (i) any matters publicly disclosed prior to the commencement of the Chapter 11 Cases and (ii)
 matters resulting from the Chapter 11 Cases and the events and conditions related and/or leading up to
 the Chapter 11 Cases and the effects thereof).

         (i)     Collateral. All documents and instruments (if any) required to create and perfect the
ABL Collateral Agent’s security interest in the Collateral with the priorities contemplated by the ABL
Term Sheet shall have been executed (if applicable) and delivered and, if applicable, be in proper form for
filing, and the Arranger shall have received: (i) UCC-1 financing statements naming the applicable Loan


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Parties, as debtor, in form appropriate for filing in the relevant jurisdictions covering the collateral
described in the relevant Financing Documentation and (ii) to the extent constituting securities, equity
interest certificates representing the pledged collateral described in the relevant Financing
Documentation, accompanied by undated transfer powers executed in blank.

        (j)     Representations and Warranties and No Default. Each representation and warranty in
the Financing Documentation shall be true and correct in all material respects (except to the extent any
such representation and warranty is qualified by a “Material Adverse Effect,” or a “materiality” qualifier,
in which case, such representation and warranty shall be true and correct in all respects after giving effect
to such qualification) as of the Closing Date. No default or events of default shall have occurred or be
continuing as of the Closing Date.

         (k)      Marketing Period. The Arranger shall have been afforded a period of not less than 20
consecutive calendar days after the later of (x) October 19, 2018 and (y) receipt of the financial
statements and projections referenced in paragraphs (e) and (f) above and other information customarily
provided by borrowers for inclusion in a confidential information memorandum (the “Required Bank
Information”) (the “Marketing Period”); provided that (a) the Marketing Period will exclude November
12, 2018, November 21, 2018, November 22, 2018 and November 23, 2018 as consecutive calendar days
(but such dates shall not restart such Marketing Period) and (b) if the Marketing Period has not ended by
December 18, 2018, it shall not begin before January 3, 2018. If the Borrower reasonably believe that it
has delivered the Required Bank Information, the Borrower may deliver to the Arranger a written notice
to that effect (stating when it believes such delivery was completed), in which case the marketing period
shall be deemed to have commenced on the date specified in such notice, unless the Arranger in good
faith reasonably believes the Borrower has not completed delivery of the Required Bank Information and,
within three business days after the delivery of such notice by the Borrower, deliver a written notice to the
Borrower to that effect (stating with specificity which Required Bank Information the Arranger
reasonably believes the Borrower has not delivered to the Arranger).

         (l)    Loans under the ABL Facility. Excess Availability under the ABL Facility shall not be
less than $75,000,000 as of the Closing Date after giving effect to all extensions of credit on the Closing
Date.

         (m)     Bankruptcy Court Order. Entry by the Bankruptcy Court of an order (which order may
be the confirmation order) approving the ABL Facility, the Term Facility and all related documentation
(including, for the absence of doubt, this Exit Facilities Commitment Letter and the Exit Facilities Fee
Letter), in form and substance satisfactory to the Arranger, which order shall (i) specifically provide that
the right to receive all amounts due and owing, including indemnification obligations, the fees and other
payments as set forth herein and in the Exit Facilities Fee Letter, and reimbursement of all reasonable
costs and expenses incurred in connection with the transactions contemplated herein and as set forth
herein and in the Exit Facilities Fee Letter, shall be entitled to priority as administrative expense claims
under Sections 503(b) and 507(a)(1) of the Bankruptcy Code, regardless of whether the Closing Date
occurs and (ii) be in full force and effect, unstayed, final and non-appealable, and shall not have been
amended, supplemented or otherwise modified without the written consent of the Arranger.

        (n)     Disclosure Statement. The Disclosure Statement shall be satisfactory to the Arranger
and shall have been approved by the US Bankruptcy Court.

         As used herein, “Disclosure Statement” shall mean that certain Disclosure Statement of the
 debtors under the Chapter 11 Plan filed with the Bankruptcy Court on October 4, 2018, as may be
 amended, supplemented or otherwise modified from time to time.



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        (o)      No Material Adverse Effect. Except as disclosed in the Disclosure Statement, other
than the filing and pendency of the Chapter 11 Cases and the consequences thereof, since the Petition
Date, there has not been any event, occurrence, development or state of circumstances or facts that has
had or would reasonably be expected to have, individually or in the aggregate a Material Adverse Effect.

         (p)      Chapter 11 Plan. The Chapter 11 Plan and all other related documentation (a) shall be
satisfactory to the Arranger with respect to any portions of such Chapter 11 Plan that directly relate to the
ABL Facility, and reasonably satisfactory to the Arranger in all other respects (b) shall have been
confirmed by an order of the Bankruptcy Court on or before the date that is 75 days after the Petition
Date, which order shall be satisfactory to the Arranger with respect to any portions of such order that
directly relate to the ABL Facility, and reasonably satisfactory to the Arranger in all other respects, which
order shall be in full force and effect, unstayed, final and non-appealable, and shall not have been
modified or amended without the written consent of the Arranger reversed or vacated, (c) all conditions
precedent to the effectiveness of the Chapter 11 Plan as set forth therein shall have been satisfied or
waived (the waiver thereof having been approved by the Arranger), and the substantial consummation (as
defined in Section 1101 of the Bankruptcy Code) of the Chapter 11 Plan in accordance with its terms shall
have occurred contemporaneously with the closing of the ABL Facility, and (d) the Chapter 11 Plan shall
have become effective in accordance with its terms, and all conditions precedent to the effectiveness of
the Chapter 11 Plan shall have been satisfied or waived with the prior written consent of the ABL
Administrative Agent and Lenders, and (iv) the transactions contemplated by the Chapter 11 Plan to occur
on the effective date of the Chapter 11 Plan shall have been substantially consummated (as defined in
Section 1101 of the Bankruptcy Code) on the Closing Date and substantially contemporaneously with the
initial funding hereunder in accordance with the terms of the Chapter 11 Plan and in compliance with
applicable law and Bankruptcy Court and regulatory approvals.

        (q)     Release of Intercompany Obligations. ABL Administrative Agent shall have received
fully executed release letters or other documentation reasonably satisfactory to ABL Administrative
Agent confirming that, or otherwise be reasonably satisfied that, all obligations owing by any Loan Party
to the lenders of the Intra-Group Loan Agreement dated as of September 16, 2016 (as amended or
supplemented on or prior to the Closing Date, the “Stripes Intercompany Facility”) between SUSHI as
borrower and Steinhoff Finance Holding GMBH and Steinhoff Mobel Holding Alpha GMBH as lenders
and the other parties from time to time party thereto, to the extent not contributed into SUSHI under the
Approved Plan, will be released and all liens upon any of the assets of the Loan Parties in favor of the
lenders under the Stripes Intercompany Facility shall be released.

       (r)     Corporate Documents. The corporate structure, capital structure, other debt instruments
and governing documents of the Borrower and its subsidiaries, and the tax effects resulting from the
Chapter 11 Plan and the Transactions shall be reasonably satisfactory to the ABL Administrative Agent.

        (s)      Overadvance. No overadvance shall result from any borrowings.

       (t)     Lease Rejections. The Loan Parties shall have rejected the leases with respect to not less
than 500 stores on or before the date that is 60 days after the Petition Date in accordance with a
Bankruptcy Court order in form and substance satisfactory to the ABL Administrative Agent

        (u)     Rent Reduction. The Loan Parties shall have secured rent reductions from landlords of
the non-closed stores in an aggregate amount of at least $35,000,000.

       (v)    Pre-Petition Second Lien Term Loan Credit Agreement. The Pre-Petition Second
Lien Term Loan Credit Agreement shall be repaid in full with the proceeds of the Term Facility.



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        (w)     Budget. The Arranger and Lenders shall have received satisfactory evidence that the
Borrower is in compliance with the approved budget most recently delivered to the Lenders under the
ABL DIP Facility (as defined in the Term Loan DIP Credit Agreement) and the DIP Term Loans (as
defined in the DIP ABL Credit Agreement) immediately prior to the Closing Date during the Chapter 11
Cases with 20% headroom to the items set forth therein.

       (x)      Compliance with DIP Facility and PSA. No event of default or other defaults shall
have occurred and be continuing under the Existing Credit Agreements or the PSA (as defined in the
Term Facility).

        (y)     SUSHI Preferred Stock. The existing Series A Preferred Stock of SUSHI shall be
extinguished in form and substance acceptable to the Lenders in their sole and absolute discretion.




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                                                                                      Annex III to Exhibit A

Form of Solvency Certificate
                                                                                                  [●][●], 20[●]

         This Solvency Certificate is being executed and delivered pursuant to Section [●] of that certain
[●]1 (the “Credit Agreement”; the terms defined therein being used herein as therein defined).

         I, [●], the [Chief Financial Officer/equivalent officer] of the Borrower, in such capacity and not
in an individual capacity, hereby certify as follows:

1.         I am generally familiar with the businesses and assets of the Borrower and its Restricted
           Subsidiaries, taken as a whole, and am duly authorized to execute this Solvency Certificate on
           behalf of the Borrower pursuant to the Credit Agreement. I have reviewed the [Loan Documents]
           and such other documentation and information and have made such investigation and inquiries as
           I have deemed necessary and prudent therefor. I have also reviewed the consolidated financial
           statements of the Borrower and its Restricted Subsidiaries, including projected financial
           statements and forecasts relating to income statements and cash flow statements of the Borrower
           and its Restricted Subsidiaries; and

2.         As of the date hereof and after giving effect to the Transactions and the incurrence of the
           indebtedness and obligations being incurred in connection with the Credit Agreement and the
           Transactions, that, (i) the fair value of the assets of the Borrower and its Restricted Subsidiaries,
           on a consolidated basis, exceeds, on a consolidated basis, their debts and liabilities, subordinated,
           contingent or otherwise, (ii) the present fair value of the property of the Borrower and its
           Restricted Subsidiaries, on a consolidated basis, is greater than the amount that will be required to
           pay the probable liability, on a consolidated basis, of their debts and other liabilities,
           subordinated, contingent or otherwise, as such debts and other liabilities become absolute and
           matured, (iii) the Borrower and its Restricted Subsidiaries, on a consolidated basis, are able to pay
           their debts and liabilities, subordinated, contingent or otherwise, as such liabilities become
           absolute and matured and (iv) the Borrower and its Restricted Subsidiaries, on a consolidated
           basis, are not engaged in, and are not about to engage in, business for which they have
           unreasonably small capital. For the purposes hereof, the amount of any contingent liability at any
           time shall be computed as the amount that, in light of all of the facts and circumstances existing at
           such time, represents the amount that can reasonably be expected to become an actual or matured
           liability.

                                  [Remainder of page intentionally left blank]




1
    Describe Credit Agreement.




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                                                                                Exhibit B

                                 Term Loan Facility
                            Summary of Terms and Conditions

                                    [To be attached.]




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                             SUMMARY OF TERMS AND CONDITIONS

                                   MATTRESS FIRM, INC.
                   $400.0 MILLION SENIOR SECURED TERM LOAN FACILITY

This Summary of Terms and Conditions (this “Term Sheet”) is intended as an outline of certain of the
material terms of the Term Facility (as defined below). It does not include descriptions of all of the terms,
conditions and other provisions that are to be contained in the documentation relating to the Term
Facility and it is not intended to limit the scope of discussion and negotiation of any matters that do not
conflict with the specific matters set forth herein. This Term Sheet is for discussion purposes only and is
not a commitment.

Transactions:           Mattress Holdco Inc. and certain of its subsidiaries (the “Debtors”) intend to
                        file voluntary petitions under chapter 11 of title 11 (“Chapter 11”) of the
                        United States Code (11 U.S.C. § 101, et seq.) (the “Bankruptcy Code”) in the
                        United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
                        Court”) on [October __], 2018 (the “Petition Date”), and expect their cases to
                        be jointly administered under the caption [In re Mattress Firm, Inc., et al.],
                        Case No. 18-[______] (the “Chapter 11 Cases”). The commencement of the
                        Chapter 11 Cases is for the purpose of seeking confirmation and
                        consummation of a joint prepackaged Chapter 11 plan of reorganization [as
                        contemplated in [Plan Support Agreement, dated as of [____], 2018 (the
                        “PSA”), among [_________] (together with all exhibits, schedules, annexes,
                        supplements or other attachments thereto, the “Plan”).

                        Pursuant to the Plan, the cash payments required to fund the Debtors’
                        emergence from Chapter 11 would be funded by, inter alia, the proceeds
                        raised from the term loan facility described herein in the aggregate amount not
                        to exceed $400.0 million plus capitalized fees and interest described herein
                        (collectively, the “Transactions”).

Borrower:               Mattress Firm, Inc., a Delaware corporation (the “Borrower”).

Guarantors:             All obligations under the Term Facility (as defined below) and, at the
                        Borrower’s option, under certain hedging arrangements and cash management
                        obligations shall be fully and unconditionally guaranteed by the issuer of
                        Common Equity and PIK Debt (each as described herein) which shall either be
                        Mattress Holdco Inc., a Delaware corporation, or at the election of the Lenders
                        in their sole and absolute discretion prior to the Closing Date, Stripes US
                        Holding Inc., a Delaware corporation (the entity subject to such election,
                        “Holdings”) that is the indirect parent of the Borrower, and each of the
                        Holdings’ existing and future direct or indirect wholly-owned U.S. subsidiaries
                        (the “Subsidiary Guarantors”, together with Holdings, the “Guarantors”; and
                        the Borrower and the Guarantors collectively, the “Loan Parties”) on a senior
                        secured basis, subject to customary limited exceptions consistent with facilities
                        of this type to be agreed. Notwithstanding the foregoing, subsidiaries may be
                        excluded from the guarantee requirements in circumstances where the
                        Borrower and the Lenders reasonably agree that the cost or other consequence
                        of providing such a guarantee is excessive in relation to the value afforded
                        thereby. The Guarantors under the ABL Facility and the Term Loan Facility


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                       shall be the same.
Administrative and     Barclays Bank PLC (in such capacities, the “Agent”).
Collateral Agent:

Sole Lead Arranger     Barclays Bank PLC (the “Arranger”).
and Bookrunner:

Lenders:               A syndicate of financial institutions (collectively, the “Lenders”).

Closing Date:          The date on which all conditions precedent set forth below are satisfied or
                       waived (the “Closing Date”).

Term Facility:         A term loan facility in an aggregate principal amount of $400.0 million (the
                       “Term Facility” and the loans under the Term Facility, the “Term Loans”).
                       The Term Facility shall be comprised of U.S. dollar denominated loans.

Maturity:              The Term Facility shall mature on and be payable on the 4th year anniversary
                       of the Closing Date (the “Term Loan Maturity Date”) with no amortization.

Availability:          The Term Loans shall be drawn in full on the Closing Date. Once repaid, the
                       Term Loans may not be reborrowed.

Use of Proceeds:       The proceeds of the Term Loans shall be used to (i) repay in full the existing
                       debtor-in-possession term and ABL facilities other than letters of credit rolled
                       over into the ABL Facility (collectively, the “DIP Facility”) of the Borrower;
                       (ii) repay in full the $80.0 million facility of the Borrower from Steinhoff
                       International Holdings N.V. plus accrued interest with respect thereto (the
                       “NV Facility”, together with the DIP Facility, the “Existing Facilities”); (iii)
                       repay certain prepetition debt and make a distribution to certain claimholders
                       in accordance with the terms of the Plan; (iv) to pay fees and expenses
                       incurred in connection with the Transactions; (v) fund in part other cash
                       payments required to fund the Debtors’ emergence from Chapter 11 pursuant
                       to the Plan in an aggregate amount to be agreed; and (vi) finance the working
                       capital, other general corporate purposes, and any other purpose not prohibited
                       by the Loan Agreement.

Interest Rates and     As set forth in the Addendum to this Term Sheet.
Fees:

Voluntary              Term Loans may be prepaid and commitments may be reduced, in whole or in
Prepayments and        part without premium or penalty (subject to the Prepayment Fee (to the extent
Commitment             applicable)), in minimum amounts to be agreed, at the option of the Borrower
Reductions:            upon customary notice requirements, subject to reimbursement of the actually
                       incurred Lenders’ breakage costs in the case of a prepayment of LIBOR Loans
                       prior to the last day of the relevant interest period.

Prepayment Fee:        In the event all or any portion of the Term Loans are repaid (or prepaid) prior
                       to maturity for any reason other than mandatory prepayment of the type
                       described in clause (a) or (c) under the heading “Mandatory Prepayments”
                       below (including, without limitation, upon acceleration for any reason
                       including automatic acceleration in the event of a bankruptcy default or upon


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                       any redemptions or buybacks), such repayments shall be made at (i) the
                       amount due, plus a customary T+50 make-whole, if such repayment occurs
                       prior to the second anniversary of the Closing Date, (ii) 110% of the amount
                       repaid if such repayment occurs on or after the second anniversary of the
                       Closing Date but prior to the third anniversary of the Closing Date, and (iii)
                       105% of the amount repaid if such repayment occurs on or after the third
                       anniversary of the Closing Date but prior to the date that is 3 months prior to
                       the Term Loan Maturity Date and (iv) 100% of the amount repaid if such
                       repayment occurs on or after the date that is 3 months prior to the Term Loan
                       Maturity Date. For the avoidance of doubt, the Prepayment Fee shall be due
                       and payable upon acceleration, including upon automatic acceleration upon a
                       bankruptcy event of default.

Mandatory              The Borrower will be required to prepay the Term Loans upon the occurrence
Prepayments:           of a Change of Control (to be defined in the Loan Documents but in any event
                       shall include any bankruptcy filing or restructuring event and to provide for a
                       carve-out for transfers of shares in SUSHI (defined below) to Steinhoff Europe
                       AG (“SEAG”)) at 100% of the principal amount thereof, together with accrued
                       and unpaid interest and the applicable Prepayment Fee.

                       In addition, the following amounts shall be applied to prepay the Term Loans:

                       (a) 100% of the net cash proceeds of certain non-ordinary course asset sales or
                       other dispositions of Term Priority Collateral by Holdings or any of its
                       subsidiaries (including insurance and condemnation proceeds) after the
                       Closing Date (but with exceptions for sales of inventory and other ordinary
                       course dispositions, dispositions of obsolete or worn-out property, property no
                       longer useful in the business, and other to be agreed upon exceptions) in
                       excess of an amount to be agreed, subject to the right of the Borrower to
                       reinvest up to an amount to be agreed of such proceeds if reinvested within 90
                       days;

                       (b) 100% of the net cash proceeds received by Holdings or any of its restricted
                       subsidiaries from the issuance of debt after the Closing Date (other than
                       permitted debt, but including the proceeds of any refinancing facilities); and

                       (c) in each fiscal year commencing with the fiscal year of the Borrower ended
                       October 1, 2019, 50% of excess cash flow for the prior fiscal year (or such
                       period as applicable) (to be defined in a manner to be agreed, but in any event
                       (i) the principal amount of the Term Loans voluntarily prepaid (including
                       pursuant to discounted prepayments with credit given to the cash used to make
                       such purchase) during such fiscal year or (at the option of the Borrower and
                       without duplication) after year-end and prior to the time such excess cash flow
                       prepayment is due, will reduce the amount of excess cash flow prepayments
                       required for such fiscal year on a dollar-for-dollar basis and (ii) excess cash
                       flow shall be reduced for, among other things, cash used for capital
                       expenditures, certain permitted investments, permitted acquisitions and certain
                       restricted payments to be agreed, in each case, other than to the extent financed
                       with long term indebtedness (other than revolving indebtedness), subject to
                       reductions to 25% if the Total Net Leverage Ratio as of the last day of such



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                       fiscal year was less than levels to be agreed.

                       All mandatory prepayments shall be applied to the principal amount of the
                       Term Loans.

Collateral:            Subject to the limitations set forth in this section, the Term Facility and, at the
                       Borrower’s option, certain hedging arrangements entered into with, or cash
                       management obligations owing to, any Lender or any affiliate of a Lender
                       (provided Borrower shall elect whether to have hedging arrangements and cash
                       management arrangements secured by either the ABL Facility or the Term
                       Loan Facility) will be secured by (i) a valid and perfected first priority lien
                       (subject to permitted liens) on substantially all assets of the Borrower and each
                       Guarantor (other than ABL Priority Collateral, as defined below), including:
                       (a) a perfected first priority (subject to permitted liens) pledge of 100% of the
                       equity interests of the Borrower and each direct or indirect wholly-owned
                       subsidiary of the Borrower and of each Subsidiary Guarantor (which pledge is
                       limited to 65% of the issued and outstanding voting equity interests and 100%
                       of the issued and outstanding non-voting equity interests, if any, of each first-
                       tier subsidiary that is a “controlled foreign corporation” for US federal income
                       tax purposes or a foreign-subsidiary holding company); (b) in the event that
                       the Common Equity and PIK Debt are issued by Stripes US Holding, Inc.
                       (“SUSHI”), a perfected first priority (subject to permitted liens) non-recourse
                       pledge of 100% of the equity interests of SUSHI, Holdings and each wholly-
                       owned restricted subsidiary of SUSHI (other than the Borrower and each
                       Subsidiary Guarantor); and (c) perfected first priority (subject to permitted
                       liens) security interests in, and mortgages on, substantially all tangible and
                       intangible personal and real property of the Borrower and each Guarantor
                       (including but not limited to equipment, general intangibles (including contract
                       rights), investment property, U.S. intellectual property, owned and leased real
                       property, instruments, chattel paper and documents, letter of credit rights,
                       commercial tort claims, all other property not constituting ABL Priority
                       Collateral and proceeds of the foregoing collectively, the “Term Priority
                       Collateral”); and (ii) a valid and perfected second priority security interest in
                       the ABL Priority Collateral (other than, in the case of (i) and (ii) above,
                       Excluded Assets (as defined below)), whether owned on the Closing Date or
                       thereafter acquired (collectively, the “Collateral”).

                       “ABL Priority Collateral” means all accounts, credit card receivables, payment
                       intangibles, accounts receivable, chattel paper, and other rights to payment
                       (except to the extent constituting identifiable proceeds of Term Loan Collateral
                       (as defined below), inventory, cash, deposit accounts, securities accounts and
                       commodities accounts (other than any deposit account, securities account or
                       commodity account (or amount on deposit therein) established solely to hold
                       (and solely holding) identifiable proceeds of Term Loan Collateral) (other than
                       identifiable cash proceeds of Term Priority Collateral and the accounts in
                       which net cash proceeds from the sale of Term Priority Collateral are
                       deposited pending reinvestment), intercompany indebtedness, instruments,
                       general intangibles, contracts, documents, supporting obligations, letter of
                       credit rights, letters of credit, commercial tort claims related to the foregoing
                       assets, and certain other assets and books and records related to the foregoing
                       and, in each case, proceeds (including insurance policies and proceeds)


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                       thereof. For the avoidance of doubt, ABL Priority Collateral shall not include
                       intellectual property and certain other related assets evidencing, governing,
                       securing or otherwise relating thereto.

                       Subject to the limitations set forth in this section, all pledges, security interests
                       and mortgages covering the Collateral shall be created on terms and pursuant
                       to documentation consistent with facilities of this type.

                       Notwithstanding the foregoing, the following assets will be excluded from
                       Collateral (collectively, the “Excluded Assets”): (i) letter of credit rights with a
                       value of less than an amount to be agreed (except to the extent perfected by the
                       filing of UCC financing statements) and commercial tort claims with a value
                       of less than an amount to be agreed, (ii) any assets to the extent the grant of a
                       security interest therein is prohibited or restricted by applicable law, rule or
                       regulation (including any requirement to obtain the consent of any
                       governmental authority) or contract (to the extent such contract existed on the
                       Closing Date, or if after the Closing Date, at the time the relevant subsidiary is
                       acquired but not entered in contemplation of such acquisition), in each case
                       except to the extent such prohibition or restriction is ineffective or
                       unenforceable under the applicable Uniform Commercial Code (other than
                       proceeds thereof) or under the Bankruptcy Code or the Confirmation Order (as
                       defined below) and only so long as such prohibition or restriction exists, (iii)
                       all personal property leases, contracts, agreements, licenses, franchises and
                       permits to the extent the grant of a security interest therein is prohibited or
                       restricted by law or by the terms thereof, in each case (a) except to the extent
                       such prohibition or restriction is ineffective or unenforceable under the
                       applicable Uniform Commercial Code (other than proceeds thereof) or under
                       the Bankruptcy Code or the Confirmation Order, (b) only to the extent such
                       prohibition or restriction is not created in anticipation of such grant and (c)
                       only so long as such prohibition or restriction exists, (iv) equipment and assets
                       that are subject to a lien securing a purchase money or capital lease obligation
                       permitted to be incurred under the Loan Documents, if the underlying contract
                       or other agreement prohibits or restricts the creation of any other lien on such
                       equipment, except to the extent such prohibition or restriction is ineffective
                       under the applicable Uniform Commercial Code (other than proceeds thereof),
                       (v) equity interests in any non-wholly owned subsidiary to the extent that the
                       organizational documents or other agreements with other equity holders do not
                       permit or restrict the pledge of such equity interests, (vi) any “intent to use”
                       trademark applications, (vii) payroll, petty cash, withholding and trust, and
                       other deposit and securities accounts with a de minimis average balance
                       (including zero balance accounts) and other accounts to be agreed upon, (viii)
                       margin stock and (ix) other exceptions consistent with facilities of this type to
                       be agreed. In no event will the collateral securing the Term Facility be less
                       broad than the collateral securing the ABL Facility (as defined below).

Intercreditor          The relative rights and priorities in the Collateral for the secured parties in
Matters:               respect of that certain $125.0 million asset based revolving credit facility as set
                       out in the Plan (the “ABL Facility”) and the secured parties in respect of the
                       Term Facility will be set forth in a customary intercreditor agreement as
                       between the collateral agent for the Term Facility, and the collateral agent for
                       the ABL Facility (the “ABL Intercreditor Agreement”) which shall include,


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                       without limitation, buyout rights by the Lenders of the ABL Facility at par at
                       any time and a waiting period to be agreed (subject to a caveat for exigent
                       circumstances) for ABL to exercise remedies to enable Lenders to exercise
                       buyout right.

Conditions             The effectiveness of the Term Facility and the funding of the initial Term
Precedent to Initial   Loans on the Closing Date shall be subject to the conditions set forth on Annex
Borrowings:            I hereto.

Representations and    Applicable to Holdings, the Borrower and their respective subsidiaries (subject
Warranties:            to thresholds and/or exceptions to be agreed and to be no less restrictive than
                       the representations and warranties in the Existing Facilities and with
                       appropriate changes for holding companies) and including, without, limitation:
                       organization and existence; corporate separateness; power and authority;
                       authorization; execution, delivery and enforceability of the Loan Documents;
                       no conflicts with law, organizational documents or material contractual
                       obligations; material governmental authorizations; accuracy and completeness
                       of financial and other information (including pro forma financial information);
                       no material adverse change; compliance with applicable laws and regulations,
                       including margin regulations, anti-bribery laws, anti-terrorism laws (including
                       PATRIOT Act), export controls and economic sanctions laws, anti-money
                       laundering laws, anti-fraud laws, laws requiring the maintenance of accurate
                       books and records and effective systems of internal controls; accuracy and
                       completeness of disclosure at closing; material consents and approvals;
                       ownership of property; intellectual property; capitalization; insurance;
                       accuracy of the Beneficial Ownership Certification; environmental laws;
                       ERISA and labor matters; no material litigation; inapplicability of the
                       Investment Company Act of 1940; solvency on a consolidated basis at closing
                       after giving effect to the Transactions; use of proceeds; payment of taxes; no
                       default or event of default; validity, priority and perfection of liens and
                       security interests in the Collateral; and Confirmation Order upon exit from
                       Chapter 11 Cases and Plan.

Affirmative            Applicable to Holdings, the Borrower and their respective subsidiaries (subject
Covenants:             to exceptions to be agreed and to be no less restrictive than the corresponding
                       terms and conditions of the Existing Facilities and with appropriate changes
                       for holding companies) and including, without limitation: delivery of annual
                       audited financial statements of Holdings within 120 days after the end of the
                       fiscal year ended October 2, 2018 and 90 days after the fiscal year end for each
                       fiscal year thereafter (accompanied by an audit opinion from nationally
                       recognized auditors that is not subject to qualification as to “going concern” or
                       the scope of such audit), quarterly unaudited financial statements within 45
                       days after the end of the first three fiscal quarters in any fiscal year and annual
                       financial projections with delivery of the prior year’s audit; customary
                       narrative report with delivery of quarterly financial statements; forecasts of the
                       Borrower’s six-month liquidity (calculated based on normalized vendor
                       payment terms) certified by management; quarterly lender calls; monthly
                       trading updates, delivery of certificates, notices and other material information
                       (including notices of default, litigation, ERISA events and material adverse
                       change); compliance with applicable laws and regulations including ERISA
                       and environmental laws, anti-bribery laws, anti-terrorism laws (including


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                       PATRIOT Act), export controls and economic sanctions laws, anti-money
                       laundering laws, anti-fraud laws, laws requiring the maintenance of accurate
                       books and records and effective systems of internal controls, and Beneficial
                       Ownership Regulation; maintenance of effective policies and procedures to
                       ensure compliance with applicable laws and regulations; commitment to
                       disclose to Lenders evidence or allegations of non-compliance with applicable
                       laws and regulations, or investigations regarding the foregoing; payment of
                       taxes; use of proceeds; preservation of existence, permits, licenses and
                       approvals; audit, visitation and inspection rights; access by Lenders to
                       information and personnel sufficient to monitor effectiveness of compliance
                       program; removal (at the option of the Lenders) of any Board members or
                       senior managers of Borrower or its subsidiaries who are found guilty or liable
                       for fraud or corruption-related offenses; keeping of books and records;
                       maintenance of properties and insurance coverage; covenants to guarantee
                       obligations and give security; and further assurances.

Negative Covenants:    Applicable to Holdings, the Borrower and their respective subsidiaries (subject
                       to exceptions and baskets to be agreed and to be no less restrictive than the
                       corresponding terms and conditions of the Existing Facilities and with
                       appropriate changes for holding companies), including, without limitation:

                       (a) Limitations on debt, guarantees and hedging arrangements, which shall
                           provide for a basket of $50.0 million for secured debt (which will be
                           senior to the Term Facility but junior with respect to the ABL Facility on
                           ABL Priority Collateral) with a right of first refusal to the Lenders.

                       (b) Limitations on liens and further negative pledges.

                       (c) Limitations on voluntary prepayments and redemptions or repurchases of
                           junior debt (other than permitted refinancings).

                       (d) Limitations on mergers, consolidations and other fundamental changes.

                       (e) Limitations on sales, transfers and other dispositions of assets.

                       (f) Limitations on loans, investments and capital expenditures.

                       (g) Limitations on dividends and other distributions, stock repurchases and
                           redemptions and other restricted payments other than payments made
                           pursuant to the Management Incentive Plan.

                       (h) Limitations on transactions with affiliates.

                       (i) Limitations on change in (i) nature of business and (ii) fiscal year.

                       (j) No modification or waiver of charter documents or any material
                           subordinated debt documents in a manner materially adverse to the
                           Lenders.

                       (k) Limitations on sales and leasebacks.




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Financial Covenant:         (a) Minimum liquidity (i.e. amounts available to be drawn under the ABL
                            Facility plus cash to be agreed) of US$25.0 million at all times, to be tested
                            quarterly, on a consolidated basis, beginning on the last day of the first full
                            fiscal quarter following the Closing Date, with a 6 month look forward based
                            on a liquidity forecast certified by management and calculated based on
                            normalized vendor payment terms.

                            (b) A maximum Total Net Leverage Ratio set at levels in a grid to be agreed1 ,
                            to be tested quarterly, beginning on the last day of the fiscal quarter ending on
                            December 31, 2019.

                            As used herein, the “Total Net Leverage Ratio” will be measured for Borrower
                            and its subsidiaries and be defined as the ratio of (i) consolidated debt
                            (comprised of debt for borrowed money including the ABL Facility, purchase
                            money indebtedness and capital leases and unreimbursed obligations with
                            respect to standby letters of credit of the Borrower and its restricted
                            subsidiaries (“Consolidated Total Debt”)), net of (x) unrestricted cash and cash
                            equivalents of Borrower and its subsidiaries whether or not held in a pledged
                            account and (y) cash and cash equivalents of Borrower and its subsidiaries
                            restricted in favor of the Term Facility (which may also include cash and cash
                            equivalents securing other indebtedness secured by a lien on the Collateral
                            along with the Term Facility), in each case, such unrestricted cash and
                            restricted cash and cash equivalents to be determined in accordance with
                            generally accepted accounting principles (the amounts in clause (x) and (y),
                            collectively, “Unrestricted Cash”) to (ii) trailing 4-quarter consolidated
                            “EBITDA”. “EBITDA” shall be defined in the Loan Documents in a manner
                            to be agreed, but to include, in any event, as net income plus to the extent
                            deducted in determining net income, the sum of (i) interest expense, (ii)
                            income tax expense, and (iii) all amounts attributable to depreciation
                            and amortization expense, subject to such modifications as Lenders may
                            approve.

                            (c) A minimum of EBITDA at levels to be agreed2, to be tested quarterly, on a
                            consolidated basis beginning on the last day of the first full fiscal quarter
                            following the Closing Date. In the event EBITDA falls below such threshold,
                            the Lenders shall have the right to appoint (but, for the avoidance of doubt, not
                            replace) an additional executive officer of the Borrower but failure to satisfy
                            such EBITDA levels shall not result in an Event of Default.

Events of Default:          Applicable to Holdings and its subsidiaries (subject to grace periods,
                            thresholds and exceptions to be agreed and to be no less restrictive than the
                            corresponding terms and conditions of the Existing Facilities), including,
                            without limitation: failure to pay principal when due; failure to pay interest or
                            other amounts within five days when due; inaccuracy of representations or
                            warranties in any material respect when made; breach of covenants (subject, in
                            the case of affirmative covenants (other than notices of default, use of
                            proceeds, and the covenant to maintain existence ) to a grace period of 30
                            days); cross-default and cross-acceleration to material debt of the loan parties

1
    FTI/Alix Partners to provide leverage grid. Total Net Leverage Ratios will have 35% headroom.
2
    EBITDA levels will have 20% headroom.


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                       (provided, that any cross default to the ABL Facility shall be limited to
                       payment defaults, acceleration, enforcement of remedies and other uncured or
                       unwaived defaults that continue for 30 days); bankruptcy and insolvency
                       events of any direct or indirect parent of the Borrower (other than the company
                       voluntary arrangement or scheme of arrangement contemplated by the Global
                       Lock Up Agreement, Permitted Closures (as defined in the Global Lock Up
                       Agreement), and other insolvency events that do not constitute Insolvency
                       Events (as defined in the Global Lock Up Agreement), and provided that such
                       events of default shall cease to apply upon consummation of the restructuring
                       contemplated by the Global Lock Up Agreement), the Borrower or any
                       significant subsidiary thereof; material monetary judgment defaults; actual or
                       asserted invalidity or impairment of any material guarantees or security
                       documents (including the ABL Intercreditor Agreement) or collateral; a
                       change of control consistent with facilities of this type; customary ERISA
                       defaults (subject to a material adverse effect qualifier). Agents and Lenders
                       shall be entitled to cumulative remedies to the maximum extent permitted by
                       law.

Amendments:            Amendments and waivers of the provisions of the Loan Documents shall
                       require the approval of Lenders holding more than 50% of the aggregate
                       principal amount of the Term Loans and unused commitments under the Term
                       Facility (the “Required Lenders”); provided that (a) the consent of each
                       directly and adversely affected Lender shall be required for (i) increases in the
                       commitment of such Lender; (ii) reductions of principal, interest or fees of
                       such Lender; (iii) extensions of the final maturity date of the Term Loans or
                       commitments of such Lender; (iv) releases of all or substantially all of the
                       Collateral or all or substantially all of the value of the guarantees; (v)
                       modifications to any of the voting requirements (or any applicable related
                       definitions); and (vi) modifications to pro rata treatment; (b) consent of the
                       Lenders holding not less than 50% of any class of Term Loans under the Term
                       Facility shall be required for, among other things, any amendment or waiver
                       that by its terms adversely affects the rights of such class in respect of
                       payments or Collateral in a manner different than such amendment or waiver
                       affects another class and (c) the Loan Documents will include customary
                       protections for the Agent. The Loan Documents shall contain customary
                       provisions for replacing of (i) non-consenting Lenders in connection with
                       amendments and waivers requiring the consent of all (or all affected) Lenders,
                       so long as Lenders holding more than 50% of the aggregate amount of the
                       Term Loans and unused commitments have consented thereto and (ii) Lenders
                       in connection with increased costs or taxes or the inability to provide LIBOR
                       Loans.

                       Notwithstanding the foregoing, modifications to customary provisions in
                       connection with “amend and extend” shall be permitted on customary terms.

Assignments and        Each Lender may assign all or part (subject to minimum amounts to be agreed)
Participations:        of its Term Loans and commitments with the consent of the Agent (each such
                       consent not to be unreasonably withheld or delayed). A Lender’s Term Loans,
                       commitments and equity holdings shall not be stapled or otherwise tied in
                       connection with assignments of any such interests.



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                       Each Lender may sell participations in all or part of its Term Loans and
                       commitments under the Term Facility; provided that no participant shall have
                       direct or indirect voting rights except for certain unanimous/all affected Lender
                       voting issues. Participants shall have the same benefits as the Lenders (but no
                       greater than its assigning Lender) and mitigation obligations with respect to
                       yield protection and increased cost provisions.

                       Assignments to Holdings, the Borrower and certain of Holdings’ affiliates,
                       together with related rights of such assignees, shall be subject to limitations to
                       be agreed.

Expenses and           The Borrower shall pay (a) all reasonable and documented out-of-pocket
Indemnification:       expenses of the Agent, the Arranger and the Lenders incurred in connection
                       with the syndication of the Term Facility and the preparation, execution,
                       delivery, administration, amendment or waiver of the Loan Documents
                       (including the reasonable out-of-pocket fees, disbursements and other charges
                       of the counsel and financial advisor to the Agent and the Lenders identified
                       below and, if necessary, of one local counsel in each relevant jurisdiction); and
                       (b) all reasonable out-of-pocket expenses of the Agent, the Arranger and the
                       Lenders (including the fees, disbursements and other charges of one counsel
                       and financial advisor to each of (i) the Agent and (ii) the Lenders taken as a
                       whole and, if necessary, of one local counsel in each relevant jurisdiction, and,
                       solely in the case of a conflict of interest, one additional counsel to the Lenders
                       taken as a whole) in connection with the enforcement of the Loan Documents,
                       including in connection with workouts or restructurings, in each case including
                       the fees and expenses of Latham & Watkins, Paul Hastings and PJT Partners.

                       The Borrower will indemnify and hold harmless the Agent, the Arranger and
                       the Lenders (and their affiliates and their respective officers, directors,
                       employees, advisors, agents and representatives including Latham & Watkins,
                       Paul Hastings and PJT Partners (collectively with the Agent, Arranger and
                       Lender, the “indemnified persons”)) against any loss, liability, cost or expense
                       incurred in connection with or arising out of the Transactions, Loan
                       Documents and financing contemplated hereby, any action contemplated by
                       the Transactions or Loan Documents contemplated hereby or the use of
                       proceeds of the Term Facility, except (a) to the extent resulting from such
                       indemnified person’s or any of its affiliates and their respective officers,
                       directors, employees, advisors and agents’ gross negligence, bad faith or
                       willful misconduct, in each case, as determined by a final, non-appealable
                       judgment of a court of competent jurisdiction and (b) in the case of a dispute
                       solely among the indemnified persons (other than any claims against the Agent
                       or Arranger each in its capacity as such under the Term Facility and other than
                       any claims arising out of any act or omission of the Borrower or any of its
                       affiliates), provided that no indemnified person, nor the Borrower and its
                       subsidiaries shall be liable for any indirect, special, punitive or consequential
                       damages (other than with respect to the Borrower and its subsidiaries in
                       respect of any such damages incurred or paid by an indemnified person to a
                       third party).

Taxes, Yield           The Loan Documents will contain customary provisions for facilities of this
Protection and         kind, including, without limitation, in respect of tax gross-ups (excluding tax


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Increased Costs:       gross-ups with respect to recharacterization risk), breakage and redeployment
                       costs, increased costs, funding losses, capital adequacy liquidity and illegality.
                       There will be customary exceptions to gross-up obligations, yield protection
                       and increased costs.

                       The Term Loans are intended to be treated as indebtedness for all relevant tax
Tax Treatment:         and financial accounting purposes, including for U.S. federal and state income
                       tax purposes. The Borrower and each Lender agrees to, and cause its Affiliates
                       to, (i) file all tax returns and prepare all financial statements consistently with
                       such intended treatment and (ii) not take any actions inconsistent with treating
                       the Term Loans as indebtedness for all relevant tax and financial accounting
                       purposes, except to the extent required by (x) a final determination by an
                       applicable taxing authority or a court of competent jurisdiction or (y) a change
                       in applicable accounting standards. The Borrower and each Lender further
                       agree, for U.S. federal and other applicable income tax purposes, not to treat
                       the Term Loans as “contingent payment debt instruments” under Treasury
                       Regulation Section 1.1275-4 (or any corresponding provision of state income
                       tax law), and to file all tax returns consistently with this intended tax treatment,
                       except to the extent required by a final determination by an applicable taxing
                       authority or a court of competent jurisdiction.

Bail-In Provisions:    The definitive documentation for the Term Facility shall include European
                       Union bail-in provisions (including in “Defaulting Lenders” provisions)
                       substantially in the form of the Loan Syndication and Trading Association
                       proposed standard form.

Governing Law and      State of New York.
Forum:

Miscellaneous:         Each of the parties shall (i) waive its right to a trial by jury and (ii) submit to New
                       York jurisdiction.

Counsel to the         Paul Hastings LLP
Agent:

Counsel to the         Latham & Watkins LLP
Lenders:




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                                             ADDENDUM

                                   INTEREST RATES AND FEES

        Capitalized terms not otherwise defined herein have the same meanings as specified therefor in
the Term Sheet to which this Addendum is attached.

Interest Rates:        U.S. dollar denominated loans will bear interest based on the Base Rate (“Base Rate
                       Loans”) or LIBOR (“LIBOR Loans”), at the Borrower’s option (subject to certain
                       customary exceptions).

                       Base Rate Loans: Interest on Base Rate Loans will accrue at the Base Rate plus
                       the applicable Interest Margin referred to below. Such interest will be calculated on
                       the basis of the actual number of days elapsed in a 360-day year (or with respect to
                       interest payable based on the prime rate, a 365-day year (or a 366-day year in a leap
                       year)) and payable quarterly in arrears.

                       “Base Rate” means a per annum rate equal to the greatest of (i) the Federal Funds
                       Effective Rate plus ½ of 1.00%, (ii) the rate of interest last quoted by The Wall
                       Street Journal as the “Prime Rate” in the U.S. or, if The Wall Street Journal ceases
                       to quote such rate, the highest per annum interest rate published by the Federal
                       Reserve Board in Federal Reserve Statistical Release H.15 (519) (Selected Interest
                       Rates) as the “bank prime loan” rate or, if such rate is no longer quoted therein, any
                       similar rate quoted therein (as determined by the Agent) or any similar release by
                       the Federal Reserve Board (as determined by the Agent) and (iii) one-month
                       LIBOR plus 1.00%. Base Rate Loan borrowings will require one business day’s
                       prior notice and will be minimum amounts to be agreed.

                       LIBOR Loans: Interest on LIBOR Loans will be determined for interest periods of
                       three months and accrue at a rate equal to the greater of (x) an annual rate equal to
                       the London Interbank Offered Rate determined by reference to a customary source
                       to be agreed (“LIBOR”) and (y) 1.00%, plus the applicable Interest Margin referred
                       to below.

                       LIBOR borrowings will require three business days’ prior notice and will be in
                       minimum amounts to be agreed. Interest will be payable quarterly in arrears and
                       will be calculated on the basis of the actual number of days elapsed in a 360-day
                       year.

                       Interest Margins: The applicable interest margin (the “Interest Margin”) will be
                       the following percentages:

                            Term Facility           Base Rate Loans           LIBOR Loans
                                                         9.00%                   10.00%

                       PIK Option: If on any interest payment date, (i) the Total Net Leverage Ratio
                       exceeds 4.00x, (ii) the minimum cash liquidity is less than $100.0 million or (iii) the
                       trailing 4 quarter consolidated EBITDA is less than zero, in each case after giving
                       pro forma effect to such interest payment, the Borrower shall have the option to
                       elect, so long as no event of default has occurred and is continuing, to pay all or a
                       portion of the interest due and payable on the outstanding principal of the Term


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                       Loans on such interest payment date in-kind. If the Borrower so elects, such
                       interest shall be payable at a rate per annum equal to LIBOR plus 12.00% (the “PIK
                       Interest Rate”).

Default Rate:          Upon the occurrence of an event of default, overdue amounts of principal under the
                       Term Facility shall bear interest at 2.00% above the otherwise applicable rate and,
                       after giving effect to the applicable grace periods, overdue interest, fees and other
                       amounts shall bear interest at 2.00% above the rate applicable to Base Rate Loans,
                       which interest shall be payable on demand.
Fees:                  To be set forth in the Fee Letter




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                                                 ANNEX I

             SUMMARY OF CONDITIONS PRECEDENT TO THE TERM FACILITY

This Summary of Conditions Precedent outlines certain of the conditions precedent to the Term Facility
referred to in the Term Sheet. Certain capitalized terms used herein are defined in the Term Sheet.

                (a)      Loan Documents. Agent shall have received on or before the Closing Date
executed originals of all of the definitive documentation for the Term Facility (the “Loan Documents”)
required to be executed as of the Closing Date each in form and substance reasonably satisfactory to
Agent.

                 (b)     ABL Facility and Liquidity. All conditions precedent to the closing of the ABL
Facility shall have been satisfied and the ABL Facility shall have closed with aggregate commitments
available of at least $125.0 million, on terms and conditions satisfactory to the Lenders. Agent shall be
reasonably satisfied that after giving effect to the consummation of the Transactions, payment of all costs
and expenses in connection therewith, funding of the initial Revolving Loans (to be defined in the
definitive documentation evidencing the ABL Facility) and issuance of the initial Letters of Credit (to be
defined in the definitive documentation evidencing the ABL Facility), liquidity (inclusive of excess
availability under the ABL Facility) shall be not less than (x) $75.0 million on the Closing Date and (y)
$50.0 million on a normalized look forward basis for the six month period ending after the Closing Date.

                  (c)     Budget. The Arranger and Lenders shall have received satisfactory evidence that
the Borrower is in compliance with the approved budget during the Chapter 11 Cases with 20% headroom
to the items set forth therein.

                (d)     Financial Statements. The Arranger shall have received (i) audited consolidated
balance sheets and related statements of income and cash flows for Borrower and its subsidiaries for the
fiscal year ended October 3, 2017 and (ii) unaudited consolidated balance sheets and related statements of
income and cash flows for Borrower and its subsidiaries for each fiscal quarter subsequent to October 3,
2017 and ended at least 45 days prior to the Closing Date.

                 (e)     Customary Closing Documents. All documents required to be delivered under
the definitive financing documents, including notices of borrowing, customary legal opinions, corporate
records and documents from public officials and officers’ certificates shall have been delivered.

                (f)     Representations and Warranties. The representations and warranties of the Loan
Parties in the Loan Documents shall be true and correct in all material respects as of the Closing Date
(provided that such materiality qualifier shall not apply to representations and warranties that are already
qualified or modified by materiality or material adverse effect).

                 (g)     Solvency. After giving effect to the Transactions, Agent shall have received a
solvency certificate, executed by a responsible officer of the Borrower in form substantially similar to that
provided under the ABL Facility.

                 (h)     Transactions. The Transactions shall have closed and been substantially
consummated in the manner contemplated by the Approved Plan (as defined below), including without
limitation, the issuance of the Common Equity as described on Exhibit B-1 hereto (the “Common
Equity”) and the US$150.0 million unsecured term loan facility (the “PIK Debt”) as described on Exhibit
B-2 hereto, shall have been consummated, and the other applicable documents (as set out in the Approved



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Plan) and shall otherwise be in form and substance satisfactory to Agent, the Lenders SEAG and
Steinhoff International Holdings N.V. in each case in their respective sole discretion.

                (i)      Repayment of Obligations. (i) Agent shall have received fully executed pay-off
letters reasonably satisfactory to Agent confirming that, or otherwise be reasonably satisfied that, all
obligations owing by any Loan Party to any lender of the Existing Facilities, to the extent not contributed
into SUSHI under the Approved Plan, will be paid in full from the proceeds of the initial Term Loans and
other proceeds from the consummation of the Transactions and all liens upon any of the assets of the
Loan Parties in favor of the lenders under the Existing Facilities shall be terminated immediately upon
such payment; and (ii) all letters of credit issued under such pre-petition or debtor-in-possession facilities
shall have been cash collateralized or rolled over into the ABL Facility.

                 (j)      Release of Intercompany Obligations. Agent shall have received fully executed
release letters or other documentation reasonably satisfactory to Agent confirming that, or otherwise be
reasonably satisfied that, all obligations owing by any Loan Party to the lenders of the Intra-Group Loan
Agreement dated as of September 16, 2016 (as amended or supplemented on or prior to the Closing Date,
the “Stripes Intercompany Facility”) between SUSHI as borrower and Steinhoff Finance Holding GMBH
and Steinhoff Mobel Holding Alpha GMBH as lenders and the other parties from time to time party
thereto, to the extent not contributed into SUSHI under the Approved Plan, will be released and all liens
upon any of the assets of the Loan Parties in favor of the lenders under the Stripes Intercompany Facility
shall be released.

                 (k)     Approval of Commitment Letter and Payment of Fees. (i) The Debtors shall
have filed on the Petition Date a motion to approve the Commitment Letter and the Commitment Fee on
expedited notice and shall have used their best efforts to obtain the approval by the Bankruptcy Court of
the Commitment Fee as a super-priority administrative expense of each of the Debtors pursuant to an
order in form and substance acceptable to the Agent and Lenders upon expedited notice at the earliest
practicable date, and such order shall have become a final order of the Bankruptcy Court, for which the
time for taking of any appeal or petition for writ of certiorari shall have passed, and shall not have been
stayed, reversed, vacated, amended, supplemented or modified without the prior written consent of the
Agent and the Lenders. (ii) The Commitment Letter, the Commitment Fee, and all fees required to be
paid on the Closing Date to Agent, the Arranger and the Lenders shall have been approved as super-
priority administrative expenses of each of the Debtors by the Bankruptcy Court pursuant to an order in
form and substance acceptable to the Agent and Lenders within 25 days of the Petition Date, which order
shall have become a final order of the Bankruptcy Court, for which the time for taking of any appeal or
petition for writ of certiorari shall have passed, and shall not have been stayed, reversed, vacated,
amended, supplemented or modified without the prior written consent of the Agent and the Lenders. (iii)
The Borrower shall have paid all fees required to be paid on the Closing Date to Agent, the Arranger and
the Lenders and shall have reimbursed Agent, the Arranger and the Lenders for all fees, costs and
expenses of closing presented as of the Closing Date.

                 (l)     Material Adverse Effect. Except as set forth in the disclosure statement of the
Debtors filed in the Chapter 11 Cases, since the Petition Date, there shall not have been a material adverse
change, individually or in the aggregate, in the business, operations, property, assets, or condition,
financial or otherwise, of the Debtors taken as a whole, or their assets taken as a whole, other than the
filing and pendency of the Chapter 11 Cases and the consequences thereof.

                 (m)       Collateral. Each UCC financing statement and each document required by any
security document or any applicable requirements of law to be filed, registered or recorded in order to
create in favor of Agent, for the benefit of the Secured Parties (to be defined in the Loan Documents), a
perfected first priority lien and, as to the ABL Priority Collateral, a perfected second priority lien, on the


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Collateral (subject to Permitted Liens (to be defined in the Loan Documents)) required to be delivered
pursuant to each security document, shall be in proper form for filing, registration or recording.

                (n)      Leases. Agent shall have received reasonably satisfactory evidence that no less
than 500 leases to which any Debtor is a party shall have been rejected in accordance with the Plan and
pursuant to an order of the Bankruptcy Court in form and substance acceptable to the Agent and Lenders.

                  (o)    Plan of Reorganization and Confirmation Order. (i) The Plan, the Confirmation
Order (defined below) and all documents to be executed and/or delivered in connection with
implementation of the Plan shall be on terms and conditions acceptable to Agent and the Lenders (such
acceptable Plan, the “Approved Plan”), and, without the prior written consent of the Agent and the
Lenders, no amendment, modification, supplement or waiver shall have been made to the Approved Plan,
the Confirmation Order or any document to be executed and/or delivered in connection with the
implementation of the Plan, (ii) the Bankruptcy Court shall have entered an order, in form and substance
satisfactory to Agent, confirming the Approved Plan, which order shall have become a final order of the
Bankruptcy Court, for which the time for taking of any appeal or petition for writ of certiorari shall have
passed, and shall not have been stayed, reversed, vacated, amended, supplemented or modified without
the prior written consent of the Agent and the Lenders (the “Confirmation Order”), and which shall
authorize the Loan Parties and their subsidiaries to execute, deliver and perform all of their obligations
under all documents contemplated hereunder and thereunder, (iii) the Approved Plan shall have become
effective in accordance with its terms, and all conditions precedent to the effectiveness of the Approved
Plan shall have been satisfied or waived with the prior written consent of the Agent and Lenders, and
(iv) the transactions contemplated by the Approved Plan to occur on the effective date of the Plan shall
have been substantially consummated (as defined in Section 1101 of the Bankruptcy Code) on the
Closing Date and substantially contemporaneously with the initial funding hereunder in accordance with
the terms of the Approved Plan and in compliance with applicable law and Bankruptcy Court and
regulatory approvals.

                (p)     Compliance with DIP Facility and PSA. No event of default or other defaults
shall have occurred and be continuing under the DIP Facility or the PSA.

                 (q)      PATRIOT Act, etc. Agent shall have received, no later than 3 business days in
advance of the Closing Date, all documentation and other information with respect to the Borrower and
the Guarantors required by regulatory authorities under applicable “know your customer” and anti-money
laundering rules and regulations, including, without limitation, the PATRIOT Act and 31 C.F.R.
§1010.230 (the “Beneficial Ownership Regulation”), that has been reasonably requested by any Lender or
Agent in writing at least 10 days in advance of the Closing Date. No later than 3 business days prior to the
Closing Date, if the Borrower qualifies as a “legal entity customer” under the Beneficial Ownership
Regulation, then the Borrower shall have delivered to Agent a Beneficial Ownership Certification in
relation to the Borrower. “Beneficial Ownership Certification” means a certification regarding individual
beneficial ownership solely to the extent expressly required by 31 C.F.R. §1010.230.

                 (r)    Tax Restructuring.

                        (i)      SUSHI shall not be a “Facility C Borrower” under that certain
Acquisition Facilities Agreement dated August 5, 2016 between Steinhoff Finance Holding GMBH
Steinhoff Mobel Holding Alpha GMBH, Steinhoff Europe AG and SUSHI as borrowers, JPMorgan
Europe Limited as Agent, and certain lenders (as amended or supplemented on or prior to the Closing
Date, the “Acquisition Facilities Agreement”), whether as a result of consent of each of the lenders under
Facility C (as defined in the Acquisition Facilities Agreement) or an English Scheme of Arrangement,
and the Common Equity and PIK Debt shall have been issued by SUSHI, or


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                          (ii)    if SUSHI remains a Facility C Borrower under the Acquisition Facilities
Agreement, the Agent and each of the Lenders shall be satisfied with the results of tax diligence and
transaction structuring in their sole and absolute discretion, the Borrower and Steinhoff are satisfied with
the results of tax diligence and transaction structuring in their reasonable discretion, the Common Equity
and PIK Debt shall have been issued by Mattress Holdco Inc.

                (s)     Tax Opinions. In addition, SUSHI shall have received a written opinion from
Crowe LLP or another tax advisor reasonably acceptable to the Agent and each of the Lenders, at a level
which is at least “more likely than not,” that the contribution of the Stripes Intercompany Facility to
SUSHI as contemplated by the Approved Plan will not result in any cancellation of debt income by
SUSHI or any of its subsidiaries.

                (t)      Projections. The Arranger and Lenders shall have received quarterly projections
of the operating results of the Borrower and its subsidiaries for a period commencing ending on the
projected maturity date of the Term Facility.

                (u)      Rent Reduction. The Debtors shall have secured rent reductions from landlords
of the non-closed stores in an aggregate amount of at least $35,000,000.

                 (v)     PIK Debt. The PIK Debt shall be treated and structured as debt for US tax
purposes, or in the alternative, the Borrower and Lenders shall agree on alternative terms and structuring
for the Transactions in form and substance acceptable to the Lenders in their sole and absolute discretion.

                  (w)      Affiliate Releases. SUSHI and Mattress Firm Holdco Corp. shall have granted
releases in favor of the Debtors for any and all claims arising in whole or in part from facts arising prior
to the effective date of the Plan.

                (x)     SUSHI Preferred Stock. The existing Series A Preferred Stock of SUSHI shall be
extinguished in form and substance acceptable to the Lenders in their sole and absolute discretion.

                 (y)      Back Stop Commitment Letter. The Arranger shall have received an executed
commitment letter, in form and substance and with respect to matters satisfactory to it, in respect of
backstopped commitments from the commitment parties party thereto (the “Backstop Commitment
Parties”) for the Term Loans (together with any amendments or modifications thereto satisfactory to the
Arranger, the “Back Stop Commitment Letter”) and such Back Stop Commitment Letter shall be in full
force and effect immediately prior to the Closing Date. The Arranger shall have received cash proceeds in
escrow from the Backstop Commitment Parties in an aggregate amount of not less than $380,000,000
pursuant to the terms of the Backstop Commitment Letter; provided that the Initial Lender shall have no
obligation to fund any amounts in excess of the amounts funded to the Initial Lender in escrow pursuant
to the terms and conditions of the Back-Stop Commitment Letter and the amount of the Term Loan
Facility shall be reduced by the amount equal to any such deficiency not received by the Initial Lender as
of such date. Barclays shall have the right to participate in up to 5% of the aggregate amount of the Term
Facility on identical terms to those applicable to the other lenders under such Term Facility, except for the
right to designate or vote on the initial board of directors.




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                                                                                                 Exhibit B-1




                                PRINCIPLE TERMS AND CONDITIONS

                       EQUITY INVESTMENT - STOCKHOLDERS AGREEMENT

                                            October 4, 2018



     Corporation                             Stripes US Holding, Inc. (“SUSHI”) (unless the Agent,
                                             each of the “Lenders” (being a syndicate of financial
                                             institutions), Mattress Firm, Inc. (the “Borrower”) and
                                             Steinhoff International Holding N.V. (“Steinhoff”)
                                             agrees prior to the closing of the exit financing (the
                                             “Closing”) that Mattress Holdco, Inc. should issue the
                                             Issued Shares (the elected entity, the “Issuer”).

     Securities to be Issued at Closing      At the Closing, the Lenders will be issued such number
                                             of newly-issued shares of common stock of the Issuer
                                             (the “Common Stock”) constituting 49.9% of the issued
                                             and outstanding shares of Common Stock of the Issuer
                                             as of the Closing (the “Issued Shares”). A capitalization
                                             table of the Issuer as of the Closing is attached as
                                             Schedule I hereto.

     Representative                          [●], or such other person or entity appointed by the
                                             Lender Stockholders from time to time (the
                                             “Representative”).

     Stockholders                                  •       The Lenders (or their respective transferees)
                                                           (the “Lender Stockholders”).

                                                   •       If the Issuer is SUSHI, Steinhoff Europe AG
                                                           (“SEAG”), or if the Issuer is Mattress Holdco,
                                                           Inc., Mattress Firm Holding Corp. (such entity,
                                                           “SEAG Stockholder”, and, together with the
                                                           Lender Stockholders, the “Stockholders”).

                                                   •       Members of the management team of Mattress
                                                           Firm, Inc. who received awards of Common
                                                           Stock in accordance with the terms of an equity-
                                                           based       management          incentive       plan
                                                           (“Management Stockholders”). As a condition
                                                           to receiving such equity awards, the
                                                           Management Stockholders shall enter into a
                                                           separate stockholders agreement with respect to
                                                           their equity holding in the Issuer, covering such
                                                           matters customarily addressed in management
                                                           stockholders agreement (including, without
                                                           limitation, transfer restrictions, call right, bring-



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                                                        along right, etc.).

     Agreement                            Stockholders Agreement of the Issuer (the “SHA”), to
                                          be entered into as of the Closing by SEAG Stockholder,
                                          the Issuer and the Lender Stockholders.

     Equity Securities                    Common Stock, and any other equity securities of the
                                          Issuer (whether issued in lieu of Common Stock or in
                                          addition thereto (collectively, “Securities”).

     Final Documentation;                 The SHA and the other transaction documentation (as
     Organizational Documents of the      applicable) shall include, among other things, customary
     Issuer                               representations and warranties by the Issuer, including
                                          authority, no conflicts, capitalization, compliance with
                                          applicable laws, implementation of adequate compliance
                                          procedures and accounting controls and “not a
                                          USRPHC” status, and covenants of the Issuer reflecting
                                          the provisions contained in this Terms Sheet.

                                          Effective as of the Closing, the organizational documents
                                          of the Issuer will be amended and restated to reflect the
                                          transactions contemplated by this Term Sheet, as well as
                                          such other terms agreed to by the Representative and the
                                          SEAG Stockholder.

     Governance; Board of Directors       The Issuer’s board of directors (the “Board”) will have
                                          full power to manage and control the business and affairs
                                          of the Issuer.

                                          The Board shall be comprised of five (5) members (each,
                                          a “Director”), nominated and appointed as follows:

                                                •       The Lender Stockholders, acting through the
                                                        Representative, shall have the right to nominate
                                                        three (3) Directors (each, a “Lender Director”).
                                                        The Representative shall propose each Lender
                                                        Director nominee to SEAG Stockholder, and
                                                        SEAG Stockholder, within fifteen (15) business
                                                        days of such proposal, shall have a right to
                                                        reasonably reject the appointment of a Lender
                                                        Director nominee and request that the
                                                        Representative propose another individual to
                                                        serve as such Lender Director in lieu of the
                                                        nominee so rejected; provided that,
                                                        notwithstanding anything to the contrary,
                                                        SEAG Stockholder shall not reject any Lender
                                                        Director nominee unless such nominee was
                                                        convicted of a crime involving a moral
                                                        turpitude, has a material personal interest in a
                                                        direct competitor of the Issuer or its subsidiaries
                                                        or is in a material conflict of interests with the



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                                                  Issuer or its subsidiaries;

                                          •       For so long as SEAG Stockholder beneficially
                                                  owns at least 20% of the issued and outstanding
                                                  Securities entitled to vote in the election of
                                                  directors, SEAG Stockholder shall have the
                                                  right to nominate one (1) Director (the “SEAG
                                                  Director”); provided that the SEAG Director
                                                  nominee has not been convicted of a crime
                                                  involving a moral turpitude, shall not have a
                                                  material personal interest in a direct competitor
                                                  of the Issuer or its subsidiaries and shall not be
                                                  in a material conflict of interests with the Issuer
                                                  or its subsidiaries; and

                                          •       The Chief Executive Officer of Mattress Firm,
                                                  Inc.

                                    SEAG Stockholder and the Lender Stockholders shall
                                    take all actions reasonably necessary to cause the
                                    individuals nominated in accordance with the foregoing
                                    to be appointed as directors, including voting all their
                                    Securities in favor of such nominees.

                                    Each Director shall have one (1) vote. All actions of the
                                    Board must be approved by a majority of the votes.

                                    For so long as SEAG Stockholder beneficially owns at
                                    least 20% of the issued and outstanding Securities
                                    entitled to vote in the election of directors, SEAG
                                    Stockholder shall have the right to designate one (1)
                                    observer to the Board (who shall, at its election, be a
                                    Steinhoff nominee to the SEAG Stockholder board)
                                    who shall be entitled to attend all meetings of the Board
                                    and all committees thereof in a nonvoting observer
                                    capacity and to receive copies of all materials provided to
                                    the Board and any committee thereof, including notices,
                                    minutes, consents and any other materials provided to
                                    the Directors at the same time and in the same manner
                                    as provided to such Directors; provided, however, that
                                    such observer shall agree to hold such materials and
                                    information in confidence and trust, and, provided,
                                    further, that such observer has not been convicted of a
                                    crime involving a moral turpitude, shall not have a
                                    material personal interest in a direct competitor of the
                                    Issuer or its subsidiaries and shall not be in a material
                                    conflict of interests with the Issuer or its subsidiaries.

                                    The Issuer’s and each of its subsidiaries’ organizational
                                    documents will include a waiver of corporate
                                    opportunities or similar doctrines to the maximum



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                                    extent permitted under applicable law.

                                    The SHA will include the Issuer’s director and officer
                                    slates as of the Closing.

     Transfer Restrictions          Without the consent of: (i) where SEAG Stockholder
                                    proposes a Transfer, the Representative (acting on
                                    instructions of the Lender Stockholders given on a
                                    consensual (not unanimous) basis); or (ii) where Lender
                                    Stockholders propose a Transfer, SEAG Stockholder,
                                    prior to an IPO (and other than in a Bring-Along
                                    Transaction), no Stockholder shall be permitted to,
                                    directly or indirectly, sell, assign, transfer, convey, pledge
                                    in favor of or otherwise dispose of (including, without
                                    limitation, through the use of derivative securities or
                                    other instruments) (collectively, “Transfer”) any of its
                                    Securities to any person or entity that is or has (directly
                                    or indirectly) a material ownership stake in: (a) a material
                                    competitor of the Issuer or its subsidiaries; and/or (b)
                                    any of the Issuer’s or its subsidiaries’ actual or past
                                    material suppliers or vendors (other than a passive
                                    investment of not more than 1% of the securities of a
                                    publicly-traded company, so long as the transferee does
                                    not have, and does not exercise, any rights with respect
                                    to such company (including, without limitation, any
                                    rights to manage, advise, consult with or operate the
                                    business of such company)).

                                    Without limiting the foregoing, if SEAG Stockholder
                                    proposes to Transfer all or any portion of its Securities,
                                    the Lender Stockholders will have a right of first offer
                                    with respect to such Securities.

                                    Subject to compliance with the tag-along right described
                                    below, Issued Shares will be freely transferable subject to
                                    applicable securities laws. For the avoidance of doubt
                                    (and without limiting the foregoing), the Issued Shares
                                    are not stapled to, and issued separately from, the PIK
                                    Loans and the Term Loans, and may be transferred
                                    separately without regard to such other instruments.

     Bring-Along Rights             If the Lender Stockholders determine to sell Securities
                                    representing 75% or more of all of the Securities held by
                                    all the Lender Stockholders as of the Closing to, or merge
                                    the Issuer with or sell substantially all of the Issuer’s
                                    assets to, or otherwise cause the Issuer or substantially all
                                    of its subsidiaries to enter into a business combination
                                    with one or more unaffiliated third party purchasers (a
                                    “Bring-Along Transaction”), SEAG Stockholder shall be
                                    required to take all reasonable actions reasonably
                                    requested by the Representative in connection with such
                                    Bring-Along Transaction, including voting all its equity


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                                    interests in favor of such transaction, and, in the event of
                                    a sale of equity interests, the Representative shall have
                                    the right, but not the obligation, to require SEAG
                                    Stockholder to sell, for cash consideration, to such
                                    unaffiliated third party purchaser(s) that number of its
                                    Securities that equal the lesser of (a) the number derived
                                    by multiplying (i) the total number of Securities of an
                                    applicable class held by SEAG Stockholder, by (ii) a
                                    fraction, the numerator of which is the total number of
                                    Securities of such class to be sold by the Lender
                                    Stockholders in connection with the transaction or series
                                    of related transactions and the denominator of which is
                                    the total number of the then outstanding Securities of
                                    such class held by the Lender Stockholders, or (b) the
                                    number of Securities as the Representative shall
                                    designate in its notice of intent to exercise the bring-
                                    along right; provided that SEAG Stockholder shall
                                    participate in the sale on terms not less favorable than
                                    those of the Lender Stockholders (subject to customary
                                    limitations), including consideration per Security and
                                    assumption       of     expense     reimbursement       and
                                    indemnification (and other post-closing liabilities) pro
                                    rata; provided, further, that only if the Bring-Along
                                    Transaction is not conducted through a customary
                                    competitive U.S. marketing process reasonably
                                    acceptable to the SEAG Stockholder, the consideration
                                    payable to SEAG Stockholder for the Securities it is
                                    required to sell in a Bring-Along Transaction pursuant to
                                    the Lender Stockholders bring-along right shall be not
                                    less than the “fair market value” (a reasonable detailed
                                    definition of which to be agreed between the parties and
                                    included in the SHA) of such Securities.

     Tag-Along Rights               Subject to customary exceptions, if Stockholder(s)
                                    (whether individually or together) (the “Proposing
                                    Stockholders”) determine to sell Securities of a class,
                                    representing 20% or more of the issued and outstanding
                                    Securities, to one or more unaffiliated third-party
                                    purchasers in a single transaction or a series of related
                                    transactions, then the other Stockholders shall have the
                                    right (the “Tag-Along Right”) to require that the
                                    proposed purchaser purchase from such Stockholders,
                                    on no less favorable terms and conditions as apply to the
                                    Proposing Stockholders, up to the number of Securities
                                    of the applicable class equal to the number derived by
                                    multiplying (a) the total number of Securities of such
                                    class that the proposed purchaser has agreed or
                                    committed to purchase, by (b) a fraction, the numerator
                                    of which is the total number of Securities of such class
                                    owned by the tagging Stockholders, and the denominator
                                    of which is the aggregate number of Securities of such



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                                             class owned by the Proposing Stockholders, the tagging
                                             Stockholders and all other holders of such class of
                                             Securities who have exercised a tag-along right similar to
                                             such rights granted to the tagging Stockholders
                                             hereunder.

                                             This Tag-Along Right shall terminate immediately prior
                                             to effectiveness of the registration statement in
                                             connection with an IPO.

     Initial Public Offering; Registration   The Lender Stockholders shall have the right to cause an
     Rights                                  initial public offering of equity interests of the Issuer (or
                                             a successor entity or affiliate thereof) (an “IPO”).

                                             If an IPO is undertaken, SEAG Stockholder shall agree,
                                             if requested in connection with the IPO, to convert or
                                             exchange its Securities into other equity securities of the
                                             Issuer or equity securities of any other entity upon the
                                             same terms and conditions as the Lender Stockholders
                                             and take such other actions and enter into and modify
                                             such agreements reasonably necessary in order to
                                             facilitate the IPO; provided that the SEAG Stockholder
                                             shall not be required to sell any of its Securities in an
                                             IPO.

                                             Following an initial public offering, the Lender
                                             Stockholders and the SEAG Stockholder (for so long as
                                             SEAG Stockholder beneficially owns at least 20% of the
                                             issued and outstanding Securities) shall be permitted to
                                             exercise unlimited demand registration rights.

                                             Each of SEAG Stockholder and the Lender
                                             Stockholders shall have customary piggyback registration
                                             rights (with pro rata cutbacks) following an IPO.

                                             At the request of the Lender Stockholders or the SEAG
                                             Stockholder (for so long as SEAG Stockholder
                                             beneficially owns at least 20% of the issued and
                                             outstanding Securities), each other Stockholder shall
                                             enter into a customary coordination agreement related to
                                             the sale of equity securities following an IPO.

                                             In connection with an IPO or a demand registration, the
                                             SEAG Stockholder, the Lender Stockholders and the
                                             Management Stockholders (pursuant to the management
                                             incentive plan) shall enter into customary lock-up
                                             agreements with the managing underwriters of the
                                             offering. In addition, the Issuer shall use its reasonable
                                             best efforts to cause its directors and executive officers
                                             to enter into similar lock-up agreements.

                                             The Issuer shall bear the registration expenses of all


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                                      piggyback and demand registrations, and shall reimburse
                                      the holders of registrable securities included in each
                                      registration (including registrations pursuant to an initial
                                      public offering) for the reasonable fees and
                                      disbursements of one counsel. Any underwriting
                                      discounts and selling commissions with respect to
                                      registrable securities shall be paid by the holders of such
                                      securities.

     Expenses                         The Issuer will pay all reasonable costs and expenses of
                                      the Lender Stockholders associated with due diligence
                                      and the preparation, negotiation and closing of all
                                      definitive documentation relating to the equity
                                      investment contemplated by this Term Sheet, including,
                                      without limitation, the legal fees of counsel and third
                                      party advisors to the Representative, regardless of
                                      whether or not the Closing occurs.

                                      The Issuer will pay all reasonable costs and expenses of
                                      the SEAG Stockholder associated with the preparation,
                                      negotiation and closing of all definitive documentation
                                      relating to the equity investment contemplated by this
                                      Term Sheet, the PIK Loans, the Term Loans and the
                                      other transactions contemplated thereby, up to a
                                      maximum aggregate amount of $3,650,000 (the “SEAG
                                      Fees”); provided that the SEAG Fees (or any portion
                                      thereof) shall be payable in five equal monthly
                                      installments commencing in May, 2019.

     Governing Law; Jurisdiction      Delaware.




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                                         Schedule I

                        Capitalization of the Issuer as of the Closing




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                                                                                               Exhibit B-2



                            SUMMARY OF TERMS AND CONDITIONS

                                   STRIPES US HOLDING, INC.
                   $150.0 MILLION SENIOR UNSECURED TERM LOAN FACILITY

This Summary of Terms and Conditions (this “Term Sheet”) is intended as an outline of certain of the
material terms of the PIK Facility (as defined below). It does not include descriptions of all of the terms,
conditions and other provisions that are to be contained in the documentation relating to the PIK Facility
and it is not intended to limit the scope of discussion and negotiation of any matters that do not conflict
with the specific matters set forth herein. The “Term Facility Term Sheet” means the term sheet entitled
“Summary of Terms and Conditions Mattress Firm, Inc. $400 million Senior Secured Term Loan Facility”
which sets forth a summary of certain material terms of the senior secured term loan credit facility (the
“Term Facility”) described therein. Capitalized terms used herein without definition shall have the
meanings assigned to such terms in the Term Facility Term Sheet. This Term Sheet is for discussion
purposes only and is not a commitment.


 PIK Facility:                       A senior unsecured term facility of the Borrower in an initial aggregate
                                     principal amount of $150,000,000 (the “PIK Facility” and the loans
                                     under the PIK Facility, the “PIK Loans”).

 Borrower:                           Either of (a) Stripes US Holding, Inc., a Delaware corporation
                                     (“Stripes”) or (b) Mattress Holdco, Inc., a Delaware corporation (“MF
                                     Holdco”), which such entity as shall be chosen at the election of the
                                     Lenders pursuant to the terms and conditions set forth in the Term
                                     Facility Credit Agreement (as defined below) and shall be hereinafter
                                     referred to as the “Borrower” and being the same entity as the issuer
                                     of the Common Equity (as defined below).

 Transactions:                       MF Holdco and certain of its subsidiaries (the “Debtors”) intend to file
                                     voluntary petitions under chapter 11 of title 11 (“Chapter 11”) of the
                                     United States Code (11 U.S.C. § 101, et seq.) (the “Bankruptcy Code”)
                                     in the United States Bankruptcy Court for the District of Delaware (the
                                     “Bankruptcy Court”) on October 4, 2018 (the “Petition Date”), and
                                     expect their cases to be jointly administered under the caption [In re
                                     Mattress Firm, Inc., et al., Case No. 18-[______] (the “Chapter 11
                                     Cases”). The commencement of the Chapter 11 Cases is for the
                                     purpose of seeking confirmation and consummation of a joint
                                     prepackaged Chapter 11 plan of reorganization [as contemplated in
                                     [Plan Support Agreement, dated as of [____], 2018 (the “PSA”),
                                     among [_________] (together with all exhibits, schedules, annexes,
                                     supplements or other attachments thereto, the “Plan”).

                                     Pursuant to the Plan, the cash payments required to fund the Debtors’
                                     emergence from Chapter 11 would be funded by, inter alia, the
                                     proceeds raised from the Term Facility in the aggregate amount not to
                                     exceed $400.0 million and in connection therewith the lenders under
                                     the Term Facility will be issued the PIK Loans and the common equity
                                     as further described on Exhibit B-1 (the “Common Equity”)
                                     (collectively, the “Transactions”).




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 Administrative Agent:         An institution selected by the Required Lenders (in such capacity, the
                               “Agent”).

 Guarantors:                   None.

 Collateral:                   None.

 Lenders:                      Initially, the same lenders as under the Term Facility along with
                               members of the management team of Mattress Firm, Inc., a Delaware
                               corporation who receive awards of Common Stock in accordance with
                               the terms of an equity-based management incentive plan.

 Maturity:                     5 years after        the   funding     of   the   PIK     Loans    (the
                               “Closing Date”).

 Availability:                 The PIK Loans shall be issued in full on the Closing Date.

 Amortization:                 None.

 Interest Rate:                Interest on the PIK Loans shall accrue from the Closing Date at a rate
                               equal to 15.00% per annum all of which shall be payable semi-
                               annually, in-kind by increasing the aggregate principal amount of the
                               PIK Loans (any interest payable in kind being referred to herein as
                               “PIK Interest”). The principal amount of the PIK Loans will increase
                               in an amount equal to such PIK Interest for the applicable interest
                               period on the last day of such interest period (the “Interest Payment
                               Date”). The PIK Loans will bear interest on the increased amount
                               thereof from and after the applicable Interest Payment Date on which
                               a payment of PIK Interest is made. Interest will be computed on the
                               basis of a 360 day year comprised of twelve 30-day months.

 Default Rate:                 Upon the occurrence of a payment or bankruptcy event of default, all
                               overdue amounts under the PIK Facility shall bear interest at 2.00%
                               above the otherwise applicable rate, which interest shall be payable in
                               additional PIK Interest.
 Voluntary Prepayments and     PIK Loans may be prepaid and commitments may be reduced, in whole
 Commitment Reductions:        or in part without premium or penalty (subject to the Prepayment Fee
                               (to the extent applicable)), in minimum amounts to be agreed, at the
                               option of the Borrower upon customary notice requirements.

 Prepayment Fee:               In the event all or any portion of the PIK Loans are repaid (or prepaid)
                               other than at maturity for any reason (including, without limitation,
                               upon acceleration or as a result of a mandatory prepayment), such
                               repayments shall be made (i) subject to a customary T+50 make-whole
                               premium, if such repayment occurs prior to the second anniversary of
                               the Closing Date; (ii) at 110% of the amount repaid if such repayment
                               occurs on or after the second anniversary of the Closing Date but prior
                               to the third anniversary of the Closing Date; and (iii) at 105.0% of the
                               amount repaid if such repayment occurs on or after the third




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                             anniversary of the Closing Date, in each case, plus accrued, but unpaid
                             interest.

 Mandatory Prepayments:      The Borrower will be required to prepay the entire amount of the then
                             outstanding PIK Loans upon the occurrence of a Change of Control or
                             a Qualified IPO (in each case, to be defined consistent with the PIK
                             Documentation Principles in the PIK Facility Documentation) at 100%
                             of the principal amount thereof, together with the applicable
                             Prepayment Fee, plus accrued and unpaid interest.

 Ranking:                    The PIK Loans will be the senior unsecured obligations of the
                             Borrower.

 Representations and         Consistent with the PIK Documentation Principles (as defined below),
 Warranties:                 the PIK Facility Documentation will contain certain limited
                             representations and warranties by the Borrower, which for the
                             avoidance of doubt, will include, organization and existence; corporate
                             separateness; power and authority; authorization; execution, delivery
                             and enforceability of the PIK Facility Documentation; no conflicts
                             with law, organizational documents or material contractual
                             obligations; material governmental authorizations, compliance with
                             applicable laws and regulations, including margin regulations, anti-
                             bribery laws, anti-terrorism laws (including Patriot Act), export
                             controls and economic sanctions laws, anti-money laundering laws,
                             anti-fraud laws, Investment Company Act, accuracy of the Beneficial
                             Ownership Certification and solvency).

 Documentation:              The definitive documentation for the PIK Facility (the “PIK Facility
                             Documentation”) will consist of a credit agreement, among the
                             Borrower, the Lenders and the Administrative Agent, together with
                             certain associated documentation, which will be consistent with this
                             Term Sheet and otherwise, will be consistent with the materiality
                             thresholds, qualifications, exceptions, “baskets” and grace and cure
                             periods to be mutually agreed and which, will be consistent, where
                             applicable, with those in the definitive documentation governing the
                             Term Facility (the “Term Facility Credit Agreement”) with changes
                             and modifications that reflect the terms of this Term Sheet, reflect that
                             the PIK Facility is unsecured holding company indebtedness, reflect
                             changes in law or accounting standards and requirements of local law
                             or to cure mistakes or defects, other changes and modifications to be
                             agreed and that are necessitated by the effectiveness of the Plan
                             (collectively, the “PIK Documentation Principles”).

 Affirmative Covenants:      Consistent with the PIK Documentation Principles, the same as the
                             Term Facility, as modified to be applicable only to the Holding
                             Companies (as defined below) and to reflect the status of the PIK
                             Facility as unsecured holding company indebtedness.




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 Negative Covenants:           Applicable only to the Borrower and its subsidiaries (other than
                               Mattress Holding Corp. (the “Company”) and its subsidiaries) (the
                               “Holding Companies”):

                               - A passive holding company covenant, including prohibitions on the
                               incurrence of any debt, liens or preferred stock (other than, in the case
                               of preferred stock, by the Borrower) or the making of any direct or
                               indirect (including restricted payments in respect of direct or indirect
                               equity holders of the Borrower made by subsidiaries of the Borrower)
                               restricted payments prior to the repayment of the PIK Loans and
                               including a requirement that Borrower at all times directly or indirectly
                               own 100% of the equity interests of Mattress Firm, Inc.

                               - Limitations on mergers, consolidations and other fundamental
                               changes.

                               - No modification or waiver of charter documents in a manner
                               materially adverse to the Lenders.

 Financial Covenant:           None

 Events of Default and         Consistent with the PIK Documentation Principles, including breach
 Remedies:                     of representations and warranties, breach of covenants, non-payment,
                               certain bankruptcy and insolvency events of the Holding Companies,
                               judgment defaults of the Holding Companies, actual or asserted
                               invalidity or impairment of the PIK Facility Documentation.

                               In the event of an acceleration, any applicable premium that would be
                               payable in a voluntary prepayment made on such date will be required
                               to be paid, in addition to the principal amount and accrued and unpaid
                               interest.

 Amendments:                   Consistent with the PIK Documentation Principles, the same as the
                               Term Facility, as modified to reflect the status of the PIK Facility as
                               unsecured indebtedness.

 Assignments and               Consistent with the PIK Documentation Principles, the same as the
 Participations:               Term Facility. For the avoidance of doubt, the non-management PIK
                               Loans will not be stapled to either the Term Loans or the Common
                               Equity and may be assigned separately without regard to such other
                               instruments.

 Indemnity/Expense             Consistent with the PIK Documentation Principles, as to be mutually
 Reimbursement:                agreed.

 Taxes, Yield Protection and   Consistent with the PIK Documentation Principles, as to be mutually
 Increased Costs:              agreed.

 Bail-In Provisions:           Consistent with the PIK Documentation Principles, the same as the
                               Term Facility.




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 Governing Law and           State of New York.
 Jurisdiction:

 Miscellaneous:              Each of the parties shall (i) waive its right to a trial by jury and (ii)
                             submit to New York jurisdiction, with language in the PIK Facility
                             Documentation consistent with the PIK Documentation Principles.

 Tax Treatment:              The PIK Loans are intended to be treated as indebtedness for all
                             relevant tax and financial accounting purposes, including for U.S.
                             federal and state income tax purposes. The Borrower and each Lender
                             agrees to, and cause its Affiliates to, (i) file all tax returns and prepare
                             all financial statements consistently with such intended treatment and
                             (ii) not take any actions inconsistent with treating the PIK Loans as
                             indebtedness for all relevant tax and financial accounting purposes,
                             except to the extent required by (x) a final determination by an
                             applicable taxing authority or a court of competent jurisdiction or (y) a
                             change in applicable accounting standards. The Borrower and each
                             Lender further agree, for U.S. federal and other applicable income tax
                             purposes, not to treat the Loans as “contingent payment debt
                             instruments” under Treasury Regulation Section 1.1275-4 (or any
                             corresponding provision of state income tax law), and to file all tax
                             returns consistently with this intended tax treatment, except to the
                             extent required by a final determination by an applicable taxing
                             authority or a court of competent jurisdiction.

 Counsel to the Agent:       To be selected by the Agent.

 Counsel to the Lenders:     Latham & Watkins LLP




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                        Exhibit C



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                                  $150,000,000
              SENIOR SECURED SUPER-PRIORITY DEBTOR-IN-POSSESSION
                            ABL CREDIT AGREEMENT


                                           Dated as of [ ], 2018

                                                  among

                                        MATTRESS FIRM, INC.,
                                           as the Borrower,



                                    MATTRESS HOLDING CORP.,
                                          as Holdings,



                                        BARCLAYS BANK PLC,
                           as Administrative Agent, Collateral Agent and Issuer,

                                                   and

                    THE OTHER LENDERS AND ISSUERS PARTY HERETO

                                           ________________

                                        CITIZENS BANK, N.A.,
                                        as a Co-Collateral Agent

                                        BARCLAYS BANK PLC
                                                 AND
                                        CITIZENS BANK, N.A.,
                             as Joint Book Runners and Joint Lead Arrangers




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       This SENIOR SECURED SUPER-PRIORITY DEBTOR-IN-POSSESSION ABL
CREDIT AGREEMENT (“Agreement”) is entered into as of [ ], 2018, among MATTRESS
FIRM, INC., a Delaware corporation (the “Borrower”), MATTRESS HOLDING CORP., a
Delaware corporation (“Holdings”), BARCLAYS BANK PLC, as administrative agent (in such
capacity, including any successor thereto, the “Administrative Agent”) and as collateral agent (in
such capacity, including any successor thereto, the “Collateral Agent”) under the Loan
Documents, Citizens Bank, N.A. (as a “Co-Collateral Agent”) and each lender from time to time
party hereto (collectively, the “Lenders” and individually, a “Lender”).

                                    PRELIMINARY STATEMENTS

        The Borrower has entered into an ABL Credit Agreement, dated as of December 22,
2017 (as amended and in effect prior to the date hereof, the “Pre-Petition Credit Agreement”),
among the Borrower, Holdings, Barclays Bank PLC, as administrative agent and as collateral
agent, Citizens Bank, N.A., as co-collateral agent, and each lender from time to time party
thereto.

       On October [ ], 2018, (the “Petition Date”), each of the Loan Parties (collectively, the
“Debtors”) filed a voluntary petition for relief (collectively, the “Cases”) under Chapter 11 of the
Bankruptcy Code with the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”). The Debtors are continuing in the possession of their assets and
continuing to operate their respective businesses and manage their respective properties as
debtors and debtors in possession under Section 1107(a) and 1108 of the Bankruptcy Code;

       On the Petition Date, the Loan Parties filed a Disclosure Statement (as defined below)
and the Chapter 11 Plan (as defined below) with the Bankruptcy Court; and

        The Debtors have requested that the Lenders make available to the Borrower, from and
after the date of entry of the Interim Order, a senior secured super-priority debtor-in-possession
asset-based revolving credit facility on the terms and conditions set forth in this Agreement to,
among other things, fund the working capital requirements and other financial needs of the
Debtors during the pendency of the Cases, including a “roll-up” of all the existing outstanding
obligations under Pre-Petition Credit Agreement, which shall be secured by a first priority lien
on the Collateral. Concurrently therewith, the Debtors will also obtain a new $100,000,000
senior secured debtor-in-possession term loan facility secured by a second priority lien on the
Collateral pursuant to the DIP Term Loan Agreement (as defined below).

        In consideration of the mutual covenants and agreements herein contained, the parties
hereto covenant and agree as follows:

                                           ARTICLE I

             DEFINITIONS, INTERPRETATION AND ACCOUNTING TERMS



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          SECTION 1.1         Defined Terms.

        As used in this Agreement, the following terms have the following meanings:

        “Account” has the meaning given to such term in Article 9 of the UCC.

        “Account Debtor” has the meaning given to such term in Article 9 of the UCC.

        “ACH” means automated clearing house transfers.

        “Acquired Indebtedness” means, with respect to any specified Person: (a) Indebtedness of
any other Person existing at the time such other Person is merged, consolidated or amalgamated
with or into or became a Restricted Subsidiary of such specified Person, (but excluding
Indebtedness incurred in connection with, or in contemplation of, such other Person merging,
amalgamating or consolidating with or into, or becoming a Restricted Subsidiary of, such
specified Person), and (b) Indebtedness secured by a Lien encumbering any asset acquired by
such specified Person; provided, however, that any Lien securing Acquired Indebtedness (other
than any purchase money Indebtedness with respect to real estate, equipment or other fixed
assets or any Capitalized Lease) shall be junior to the Liens on the Collateral securing the
Obligations and subject to a Customary Intercreditor Agreement.

        “Actual Cash Receipts” means the sum of all cash collections received by the Loan
Parties from operations (excluding any borrowings or other cash receipts not constituting trade
receipts) during the relevant period of determination, as determined in a manner consistent with
the Budget.

       “Actual Disbursements” means the sum of all operating disbursements, expenses and
payments made by the Loan Parties (other than transaction-related payments and professional
fees and expenses, in each case, to the extent paid on the Closing Date, and professional fees and
expenses of Gordon Brothers Retail Partners LLC (and their subcontractors)) during the relevant
period of determination, as determined in a manner consistent with the Budget.

        “Actual Inventory Levels” means the actual aggregate inventory levels of the Loan Parties
as of the relevant date of determination which corresponds to the budgeted aggregate inventory
levels of the Loan Parties contained in the Budget under “forecast ending inventory”, as
determined in a manner consistent with the Budget.

         “Adjusted Eurocurrency Rate” means, as to any Eurocurrency Rate Loan for any Interest
Period, an interest rate per annum (rounded upwards, if necessary, to the next 1/100 of 1%) equal
to (a) the Eurocurrency Rate for such Interest Period divided by (b) one minus the Eurocurrency
Reserve Percentage.

        “Adjustment Date” [means the first day of each calendar month, as applicable.]

      “Administrative Agent” has the meaning specified in the introductory paragraph to this
Agreement.



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       “Administrative Agent’s Office” means the Administrative Agent’s address and, as
appropriate, account as set forth on Schedule 12.8, or such other address or account as the
Administrative Agent may from time to time notify the Borrower and the Lenders.

       “Administrative Questionnaire” means an Administrative Questionnaire in a form
supplied by the Administrative Agent.

         “Affiliate” means, with respect to any Person, another Person that directly or indirectly
through one or more intermediaries, Controls or is Controlled by or is under common Control
with the Person specified. “Control” means the possession, directly or indirectly, of the power to
direct or cause the direction of the management or policies of a Person, whether through the
ability to exercise voting power, by contract or otherwise. “Controlling” and “Controlled” have
meanings correlative thereto. For the avoidance of doubt, none of the Arrangers, nor the Agents,
nor their respective lending affiliates nor any entity acting as an Issuer hereunder shall be
deemed to be an Affiliate of Holdings, the Borrower or any of their respective Subsidiaries.

        “Agent Parties” has the meaning specified in Section 12.8(d).

        “Agent-Related Distress Event” means, with respect to the Administrative Agent,
Collateral Agent, any Co-Collateral Agent, or any Person that directly or indirectly Controls the
Administrative Agent, Collateral Agent, or any Co-Collateral Agent (each, a “Distressed Agent-
Related Person”), a voluntary or involuntary case with respect to such Distressed Agent-Related
Person under any Debtor Relief Law, or a custodian, conservator, receiver or similar official is
appointed for such Distressed Agent-Related Person or any substantial part of such Distressed
Agent-Related Person’s assets, or such Distressed Agent-Related Person makes a general
assignment for the benefit of creditors or is otherwise adjudicated as, or determined by any
Governmental Authority having regulatory authority over such Distressed Agent-Related Person
to be, insolvent or bankrupt; provided that an Agent-Related Distress Event shall not be deemed
to have occurred solely by virtue of the ownership or acquisition of any Equity Interests in the
Administrative Agent, Collateral Agent, Co-Collateral Agent or any Person that directly or
indirectly Controls the Administrative Agent, Collateral Agent, or any Co-Collateral Agent by a
Governmental Authority or an instrumentality thereof.

        “Agent-Related Persons” means the Agents, together with their respective Affiliates, and
the officers, directors, employees, agents, attorney-in-fact, partners, trustees and advisors of such
Persons and of such Persons’ Affiliates.

       “Agents” means, collectively, the Administrative Agent, the Collateral Agent, any Co-
Collateral Agent, the Supplemental Administrative Agents (if any), and the Arrangers.

        “Aggregate Commitments” means the Revolving Credit Commitments of all the Lenders.

       “Aggregate Letter of Credit Sublimit” means the lesser of (a) $30,000,000 and (b) the
aggregate principal amount of the Revolving Credit Commitments.

       “Agreement” means this Credit Agreement, as amended, restated, modified or
supplemented from time to time in accordance with the terms hereof.


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        “Agreement Currency” has the meaning specified in Section 12.10.

       “Applicable Rate” means a percentage per annum equal to (i) for Eurocurrency Rate
Loans, 2.75%, (ii) for Base Rate Loans, 1.75% and (iii) for Letter of Credit fees, 2.75%.

        “Applicable Percentage” means with respect to any Lender at any time, the percentage
(carried out to the ninth decimal place) of the Aggregate Commitments represented by such
Lender’s Revolving Credit Commitment at such time, subject to adjustment as provided in
Section 2.16. If the commitment of each Lender to make Loans and the obligation of the Issuers
to make L/C Credit Extensions have been terminated pursuant to Section 10.2 or if the Aggregate
Commitments have expired, then the Applicable Percentage of each Lender shall be determined
based on the Applicable Percentage of such Lender most recently in effect, giving effect to any
subsequent assignments. The initial Applicable Percentage of each Lender is set forth opposite
the name of such Lender on Schedule I or in the Assignment and Assumption pursuant to which
such Lender becomes a party hereto, as applicable.

        “Applicable Unused Commitment Fee Rate” means a percentage per annum equal to (a)
until the end of October 2018, 0.375% and (b) thereafter, the following percentages per annum,
based upon Average Revolving Loan Utilization determined as of the most recent Adjustment
Date:

   Average Revolving Loan Utilization as a
       percentage of Maximum Credit                Applicable Unused Commitment Fee Rate

        Greater than or equal to 50.0%                              0.25%

                 Less than 50.0%                                    0.375%


       The Applicable Unused Commitment Fee Rate shall be adjusted monthly in accordance
with the table above on each Adjustment Date for the period beginning on such Adjustment Date
based upon the Average Revolving Loan Utilization as the Administrative Agent shall determine
in good faith within ten (10) Business Days after such Adjustment Date. Any increase or
decrease in the Applicable Unused Commitment Fee Rate resulting from a change in the
Average Revolving Loan Utilization shall become effective as of the Adjustment Date for the
period beginning on such Adjustment Date.

      “Appropriate Lender” means, at any time, with respect to Loans of any Class, the
Lenders of such Class.

      “Approved Account Bank” means a financial institution at which the Borrower or a
Guarantor maintains an Approved Deposit Account.

        “Approved Bank” means any commercial bank that is organized under the Laws of the
United States, any state thereof, the District of Columbia or any member nation of the
Organization for Economic Cooperation and Development or is the principal banking Subsidiary
of a bank holding company organized under the Laws of the United States, any state thereof, the
District of Columbia or any member nation of the Organization for Economic Cooperation and

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Development, is a member of the Federal Reserve System and has combined capital and surplus
of not less than $500,000,000 in the case of U.S. domestic banks and $100,000,000 (or the Dollar
equivalent as of the date of determination) in the case of non-U.S. banks.

        “Approved Deposit Account” means each Deposit Account that is subject to the control of
the Administrative Agent pursuant to the Cash Management Order or Orders, as applicable, and
that is maintained by any Loan Party with a financial institution approved by the Administrative
Agent, the Collateral Agent and the Co-Collateral Agent.

        “Approved Fund” means, with respect to any Lender, any Fund that is administered,
advised or managed by (a) such Lender, (b) an Affiliate of such Lender or (c) an entity or an
Affiliate of an entity that administers, advises or manages such Lender.

       “Approved Securities Account” means each Securities Account that is subject to the
control of the Administrative Agent pursuant to the Cash Management Order or Orders, as
applicable, and that is maintained by the Borrower or any Subsidiary Guarantor with a securities
intermediary or commodity intermediary approved by the Administrative Agent, the Collateral
Agent and the Co-Collateral Agent.

      “Approved Securities Intermediary” means a securities intermediary at which the
Borrower or a Subsidiary Guarantor maintains an Approved Securities Account.

        “Arrangers” means Barclays Bank PLC and Citizens Bank, N.A., each in its capacity as a
joint bookrunner and a joint lead arranger under this Agreement.

        “Assignee Group” means two or more Eligible Assignees that are Affiliates of one
another or two or more Approved Funds managed by the same investment advisor.

       “Assignment and Assumption” means an Assignment and Assumption substantially in the
form of Exhibit A or any other form approved by the Administrative Agent.

       “Attorney Costs” means all reasonable and documented or invoiced, fees, costs, expenses
and disbursements of any law firm or other external legal counsel.

       “Attributable Indebtedness” means, subject to the second paragraph of Section 1.3, on
any date, in respect of any Capitalized Lease of any Person, the capitalized amount thereof that
would appear on a balance sheet of such Person prepared as of such date in accordance with
IFRS.

        “Availability Rent” means the lesser of (1) rent for two months and (2) rent for the
projected “going out of business sale” period for Inventory at leased locations as set forth in the
most recent appraisal of Inventory received by the Administrative Agent, the Co-Collateral
Agent and the Collateral Agent.

        “Availability Reserves” means the Carve Out Reserve and, without duplication of any
other reserves or items that are otherwise addressed or excluded through eligibility criteria, such
other reserves as the Administrative Agent, the Collateral Agent and any Co-Collateral Agent
from time to time determines in its Permitted Discretion as being appropriate (a) to reflect the

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impediments to the Agents’ ability to realize upon the Collateral, (b) to reflect claims and
liabilities that the Administrative Agent, the Collateral Agent and any Co-Collateral Agent
determines will need to be satisfied in connection with the realization upon the Collateral, (c) to
reflect criteria, events, conditions, contingencies or risks which adversely affect any component
of the Borrowing Base, the Collateral or the validity or enforceability of this Agreement or the
other Loan Documents or any material remedies of the Secured Parties hereunder or thereunder,
(d) to reflect any Lien, choate or inchoate, which could reasonably be expected to rank in priority
to or pari passu with the Agents’ Lien or (e) to reflect the amount of any priority claims that, in
the Administrative Agent’s reasonable determination, ranks equal or senior in priority to the
Obligations, or require payment prior to the payment of the Obligations, in the Cases. Without
limiting the generality of the foregoing, Availability Reserves may include reserves based on: (i)
rent; provided that such Availability Reserves shall be limited to an amount not to exceed the
sum of (x) past due rent for all of the Borrower’s and the Subsidiary Guarantors’ leased locations
plus (y) (A) Availability Rent for all of the Borrower’s and the Subsidiary Guarantors’ leased
locations located in the states of Washington, Virginia, Pennsylvania and all other Landlord Lien
States and (B) Availability Rent for all of the Borrower’s and the Subsidiary Guarantors’ leased
locations located in any other state that are distribution centers and warehouses, in each case,
with respect to which the Administrative Agent has not received a Collateral Access Agreement
in form and substance reasonably satisfactory to the Administrative Agent, the Co-Collateral
Agent and the Collateral Agent (it being understood that any Collateral Access Agreements
obtained in respect of the Pre-Petition Credit Agreement shall be deemed to be delivered in
respect of this Agreement pursuant to the Cash Management Order or Orders, as applicable); (ii)
customs duties, and other costs to release Inventory which is being imported into the United
States; (iii) outstanding Taxes and other governmental charges, including, ad valorem, real
estate, personal property, sales, and other Taxes which have priority over the interests of the
Collateral Agent in the Collateral; (iv) salaries, wages and benefits due to employees of the
Borrower which have priority over the interests of the Collateral Agent in the Collateral, (v)
Customer Credit Liabilities; (vi) warehousemen’s or bailee’s charges and other Liens permitted
under Section 9.1 which have priority over the interests of the Collateral Agent in the Collateral;
(vii) reserves in respect of Cash Management Obligations, provided that reserves of the type
described in this clause (vii) in respect of such Cash Management Obligations shall require the
consent of the Borrower; (viii) reserves in respect of Obligations in respect of Secured Hedge
Agreements, provided that, if such Obligations in respect of Secured Hedge Agreements shall
constitute Specified Secured Hedge Obligations, then reserves of the type described in this clause
(viii) shall require the consent of the Borrower; (ix) subject to the limitations set forth above,
customer deposit and similar reserves and (x) additional reserves in the Administrative Agent’s
Permitted Discretion, the Collateral Agent’s Permitted Discretion and the Co-Collateral Agent’s
Permitted Discretion.

        “Avoidance Action” means any cause of action under chapter 5 of the Bankruptcy Code.

       “Average Revolving Loan Utilization” means the fraction, expressed as a percentage as of
the most recent Adjustment Date, (a) the numerator of which is the average daily aggregate
Revolving Credit Exposure (excluding any Revolving Credit Exposure resulting from any
outstanding Swing Loans) for the three month period immediately preceding such Adjustment
Date (or, in the case of the first Adjustment Date, the period from and including the Closing Date


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through the date immediately preceding such first Adjustment Date), and (b) the denominator of
which is the Aggregate Commitments at such time.

       “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
applicable EEA Resolution Authority in respect of any liability of an EEA Financial Institution.

        “Bail-In Legislation” means, with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the
European Union, the implementing law for such EEA Member Country from time to time which
is described in the EU Bail-In Legislation Schedule.

       “Bankruptcy Code” means Title 11, U.S.C., as now or hereafter in effect, or any
successor thereto.

        “Bankruptcy Court” has the meaning specified in the recitals hereto.

       “Barclays” means Barclays Bank PLC, acting in its individual capacity, and its
successors and assigns.

       “Base Rate” means the rate of interest last quoted by The Wall Street Journal as the
“Prime Rate” in the U.S. or, if The Wall Street Journal ceases to quote such rate, the highest per
annum interest rate published by the Federal Reserve Board in Federal Reserve Statistical
Release H.15 (519) (Selected Interest Rates) as the “bank prime loan” rate or, if such rate is no
longer quoted therein, any similar rate quoted therein (as determined by the Administrative
Agent) or any similar release by the Federal Reserve Board (as determined by the Administrative
Agent).

        “Base Rate Loan” means a Loan that bears interest based on the Base Rate.

       “Basel III” means, collectively, those certain agreements on capital requirements,
leverage ratios and liquidity standards contained in “Basel III: A Global Regulatory Framework
for More Resilient Banks and Banking Systems,” “Basel III: International Framework for
Liquidity Risk Measurement, Standards and Monitoring,” and “Guidance for National
Authorities Operating the Countercyclical Capital Buffer,” each as published by the Basel
Committee on Banking Supervision in December 2010 (as revised from time to time).

        “Board of Directors” means, for any Person, the board of directors or other governing
body of such Person or, if such Person does not have such a board of directors or other governing
body and is owned or managed by a single entity, the Board of Directors of such entity, or, in
either case, any committee thereof duly authorized to act on behalf of such Board of Directors.
Unless otherwise provided, “Board of Directors” means the Board of Directors of the Borrower.

        “Borrower” has the meaning specified in the introductory paragraph to this Agreement.

        “Borrower Materials” has the meaning specified in Section 7.2.




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       “Borrowing” means a borrowing consisting of Loans of the same Class and Type made,
converted or continued on the same date and, in the case of Eurocurrency Rate Loans, having the
same Interest Period.

        “Borrowing Base” means, at any time of calculation, an amount equal to:

               (a)    the face amount of Eligible Credit Card Receivables multiplied by the
        Credit Card Advance Rate; plus

              (b)    the face amount of Eligible Accounts multiplied by the Eligible Accounts
        Advance Rate; plus

               (c)     the Net Recovery Percentage of Eligible Inventory, multiplied by the
        Inventory Advance Rate multiplied by the Cost of Eligible Inventory, net of Inventory
        Reserves attributable to Eligible Inventory; plus

                (d)    the Net Recovery Percentage of Eligible In-Transit Inventory multiplied
        by the In-Transit Advance Rate, multiplied by the Cost of Eligible In-Transit Inventory,
        net of Inventory Reserves attributable to Eligible In-Transit Inventory, provided that such
        amount shall not exceed 10% of Eligible Inventory; minus

               (e)    the then amount of all Availability Reserves (including, for the avoidance
        of doubt and without duplication, the Carve Out Reserve).

         The Borrowing Base at any time shall be determined by reference to the most recent
Borrowing Base Certificate delivered to the Administrative Agent, the Co-Collateral Agent and
the Collateral Agent pursuant to Section 7.4, as adjusted to give effect to Reserves following
such delivery; provided, that Administrative Agent, the Co-Collateral Agent and the Collateral
Agent shall be available to discuss any Reserve or change with the Borrower and the Borrower
may take such action as may be required so that the event, condition or matter that is the basis for
such Reserve or change no longer exists, in a manner and to the extent reasonably satisfactory to
the Administrative Agent, the Collateral Agent and the Co-Collateral Agent. The amount of any
Reserve established by the Administrative Agent, the Co-Collateral Agent and the Collateral
Agent and any change in the amount of any Reserve, shall have a reasonable relationship to the
event, condition or other matter that is the basis for such Reserve or such change (including for
the avoidance of doubt, reasonable efforts by the Administrative Agent, the Co-Collateral Agent
and the Collateral Agent to reduce or eliminate any Reserve for which the related event,
condition or other matter giving rise to such established or increased Reserve no longer exists or
is continuing). Notwithstanding anything herein to the contrary, Reserves shall not duplicate
eligibility criteria contained in the definition of Eligible Account, Eligible Credit Card
Receivables, Eligible In-Transit Inventory, Eligible Inventory or any other Reserve then
established.

       “Borrowing Base Certificate” means a certificate of the Borrower substantially in the
form of Exhibit I.

       “Budget” means the financial projections for the Loan Parties covering the thirteen-week
period on a weekly basis (i.e., Saturday to Friday) (but with the first period therein commencing

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on the Petition Date through October 5, 2018 and weekly thereafter), substantially in the form of
the initial Budget annexed hereto as Schedule 5.16. Such Budget may be amended, modified or
otherwise updated from time to time by the Borrower, including pursuant to the requirements of
Section 7.1(g), as approved by the Administrative Agent, the Collateral Agent and the Co-
Collateral Agent in their sole and absolute discretion; provided, that upon the receipt of any such
proposed updates, the Administrative Agent, the Collateral Agent and Co-Collateral Agent shall
notify the Borrower in writing within 3 Business Days of receipt thereof if such updates are
unacceptable and if no such written notice is provided, then the updated budget so delivered shall
thereafter constitute the Budget for all purposes hereunder.

       “Budgeted Cash Receipts” means the sum of the line items contained in the Budget
labeled “operating receipts: trading receipts” during the relevant period of determination.

       “Budgeted Disbursements” means the sum of the line items contained in the Budget
labeled “total operating disbursements” and “professional fees” during the relevant period of
determination.

        “Budgeted Inventory Levels” means the budgeted aggregate inventory levels of the Loan
Parties contained in the “forecast ending inventory” portion of the Budget opposite the heading
“Ending Inventory” as of the relevant date of determination.

        “Business Day” means any day other than a Saturday, Sunday or other day on which
commercial banks are authorized to close under the Laws of, or are in fact closed in, in New
York City, New York and if such day relates to any interest rate settings as to a Eurocurrency
Rate Loan, any fundings, disbursements, settlements and payments in respect of any such
Eurocurrency Rate Loan, or any other dealings to be carried out pursuant to this Agreement in
respect of any such Eurocurrency Rate Loan, means any such day on which dealings in deposits
in Dollars are conducted by and between banks in the London interbank eurocurrency market.

         “Canadian Dollars” means Canadian dollars, the lawful currency of Canada.

        “Capitalized Lease Obligation” means, subject to the second paragraph of Section 1.3, at
the time any determination thereof is to be made, the amount of the liability in respect of a
Capitalized Lease that would at such time be required to be capitalized and reflected as a liability
on a balance sheet (excluding the footnotes thereto) prepared in accordance with IFRS.

        “Capitalized Leases” means, subject to the second paragraph of Section 1.3, all leases
that have been or are required to be, in accordance with IFRS, recorded as capitalized leases;
provided that for all purposes hereunder the amount of obligations under any Capitalized Lease
shall be the amount thereof accounted for as a liability in accordance with IFRS.

       “Carve Out” has the meaning assigned to such term in the Interim Order or the Final
Order, as applicable.

       “Carve Out Reserve” means an Availability Reserve established by the Administrative
Agent in an amount equal to the sum of (i) the maximum amount of the Carve Out Reserve (as
defined in any Order), but in any event not less than $7,000,000 at any time plus (ii) all fees
payable (or projected to be payable) to the Clerk of the Court and to the United States Trustee

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under section 1930(a) of title 28 of the United States Code or otherwise during the Cases, plus
interest at the statutory rate.

        “Cases” has the meaning specified in the recitals hereto.

        “Cash Collateralize” means to pledge and deposit with or deliver to the Administrative
Agent, for the benefit of the Administrative Agent, an Issuer or the Swing Loan Lender (as
applicable) and the Lenders, as collateral for Letter of Credit Obligations, Obligations in respect
of Swing Loans, or obligations of Lenders to fund participations in respect of either thereof (as
the context may require), cash (which the applicable Issuer may require to be in the same
currency as the relevant Letter of Credit) or deposit account balances or, if the applicable Issuer
or Swing Loan Lender benefitting from such collateral shall agree in its sole discretion, other
credit support, in each case in an amount (taking into account potential currency fluctuations)
and pursuant to documentation in form and substance reasonably satisfactory to (a) the
Administrative Agent and (b) the applicable Issuer or the Swing Loan Lender (as applicable).
“Cash Collateral” shall have a meaning correlative to the foregoing and shall include the
proceeds of such cash collateral and other credit support.

       “Cash Dominion Period” means each period beginning (a) on the date that Excess
Availability shall have been less than $30,000,000 (or, if the Interim Order has approved DIP
Term Loans on the Closing Date in an aggregate principal amount under the DIP Term Loan
Agreement of $60,000,000 or less, $17,500,000 until such time the Final Order is entered and
then, $30,000,000) for five (5) consecutive Business Days, and ending on the date Excess
Availability shall have been equal to or greater than $30,000,000 (or, if the Interim Order has
approved DIP Term Loans on the Closing Date in an aggregate principal amount under the DIP
Term Loan Agreement of $60,000,000 or less, $17,500,000 until such time the Final Order is
entered and then, $30,000,000) for thirty (30) consecutive calendar days, or (b) upon the
occurrence of an Event of Default, the period that such Event of Default shall be continuing.

       “Cash Equivalents” means any of the following types of Investments, to the extent owned
by the Borrower or any Restricted Subsidiary:

                (a)        Dollars, pounds sterling, yen, Euros or Canadian Dollars;

                (b)     in the case of any Foreign Subsidiary that is a Restricted Subsidiary or any
        jurisdiction in which the Borrower or its Restricted Subsidiaries conducts business, such
        local currencies held by it from time to time in the Ordinary Course of Business and not
        for speculation;

                (c)     readily marketable direct obligations issued or directly and fully and
        unconditionally guaranteed or insured by the United States government or any agency or
        instrumentality thereof the securities of which are unconditionally guaranteed as a full
        faith and credit obligation of such government with maturities of 12 months or less from
        the date of acquisition;

               (d)     certificates of deposit, time deposits and eurocurrency time deposits with
        maturities of 12 months or less from the date of acquisition, demand deposits, bankers’


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        acceptances with maturities not exceeding 24 months and overnight bank deposits, in
        each case with any Approved Bank;

               (e)     repurchase obligations for underlying securities of the types described in
        clauses (c) and (d) above or clause (g) below entered into with any Approved Bank;

                (f)    commercial paper rated at least P-2 by Moody’s or at least A-2 by S&P
        (or, if at any time neither Moody’s nor S&P shall be rating such obligations, an
        equivalent rating from another nationally recognized statistical rating agency) and in each
        case maturing within 12 months after the date of acquisition thereof;

               (g)     marketable short-term money market and similar highly liquid funds
        having a rating of at least P-2 or A-2 from either Moody’s or S&P, respectively (or, if at
        any time neither Moody’s nor S&P shall be rating such obligations, an equivalent rating
        from another nationally recognized statistical rating agency);

                 (h)     readily marketable direct obligations issued by any state, commonwealth
        or territory of the United States or any political subdivision or taxing authority thereof, in
        each case having an Investment Grade Rating from either Moody’s or S&P (or, if at any
        time neither Moody’s nor S&P shall be rating such obligations, an equivalent rating from
        another nationally recognized statistical rating agency) with maturities of 12 months or
        less from the date of acquisition;

                (i)    Investments with average maturities of 12 months or less from the date of
        acquisition in money market funds rated AAA- (or the equivalent thereof) or better by
        S&P or Aaa3 (or the equivalent thereof) or better by Moody’s (or, if at any time neither
        Moody’s nor S&P shall be rating such obligations, an equivalent rating from another
        nationally recognized statistical rating agency);

               (j)     Investments, classified in accordance with IFRS as Consolidated Current
        Assets of the Borrower or any Restricted Subsidiary, in money market investment
        programs which are registered under the Investment Company Act of 1940 or which are
        administered by an Approved Bank, and, in either case, the portfolios of which are
        limited such that substantially all of such Investments are of the character, quality and
        maturity described in clauses (a) through (i) of this definition; and

                (k)    investment funds investing substantially all of their assets in securities of
        the types described in clauses (a) through (j) above.

        In the case of Investments by any Foreign Subsidiary that is a Restricted Subsidiary or
Investments made in a country outside the United States, Cash Equivalents shall also include (i)
investments of the type and maturity described in clauses (a) through (k) above of foreign
obligors, which Investments or obligors (or the parents of such obligors) have ratings described
in such clauses or equivalent ratings from comparable foreign rating agencies and (ii) other
short-term investments utilized by Foreign Subsidiaries that are Restricted Subsidiaries in
accordance with normal investment practices for cash management in investments analogous to
the foregoing investments in clauses (a) through (k) and in this paragraph.


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       Notwithstanding the foregoing, Cash Equivalents shall include amounts denominated in
currencies other than those set forth in clause (a) above, provided that such amounts are
converted into Dollars as promptly as practicable and in any event within ten (10) Business Days
following the receipt of such amounts.

         “Cash Management Bank” means any Person that is a Lender or an Affiliate of a Lender
at the time it provides any Cash Management Services, whether or not such Person subsequently
ceases to be a Lender or an Affiliate of a Lender.

        “Cash Management Obligations” means obligations owed by the Borrower or any
Restricted Subsidiary to any Cash Management Bank in respect of or in connection with any
Cash Management Services and designated by the Cash Management Bank and the Borrower in
writing to the Administrative Agent as “Cash Management Obligations”.

        “Cash Management Order” means an order of the Bankruptcy Court, in form and
substance satisfactory to the Administrative Agent, the Collateral Agent and the Co-Collateral
Agent, among other things, (i) approving and authorizing the Debtors to use existing cash
management systems, (ii) authorizing and directing banks and financial institutions to honor and
process checks and transfers, (iii) authorizing continued use of intercompany transactions, (iv)
waiving requirements of Section 345(b) of the Bankruptcy Code and (v) authorizing the Debtors
to use existing bank accounts and existing business forms.

        “Cash Management Services” means any agreement or arrangement to provide cash
management services, including treasury, depository, overdraft, credit card processing, credit or
debit card, purchase card, electronic funds transfer and other cash management arrangements.

        “Cash Receipts” shall have the meaning specified in Section 8.12.

       “Cash Taxes” means, with respect to any Test Period, all taxes paid or payable in cash by
the Borrower and its Restricted Subsidiaries during such period.

       “CFC” means a “controlled foreign corporation” within the meaning of Section 957 of
the Code.

        “CFC Holdco” means any Domestic Subsidiary that has no material assets other than,
directly or indirectly, equity interests (or equity interests and indebtedness) of one or more
Foreign Subsidiaries that are CFCs or any other Domestic Subsidiary that itself is a CFC Holdco.

        “Change in Law” means the occurrence after the date of this Agreement (a) the adoption
or taking effect of any law, rule, regulation or treaty, (b) any change in any law, rule, regulation
or treaty or in the administration, interpretation or application thereof by any Governmental
Authority or (c) the making or issuance of any request, rules, guideline, requirement or directive
(whether or not having the force of law) by any Governmental Authority; provided however, that
notwithstanding anything herein to the contrary (i) the Dodd-Frank Wall Street Reform and
Consumer Protection Act and all requests, rules, guidelines, requirements and directives
thereunder, issued in connection therewith or in implementation thereof and (ii) all requests,
rules, guidelines, requirements and directives promulgated by the Bank for International
Settlements, the Basel Committee on Banking Supervision (or any successor or similar authority)

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or the United States or foreign regulatory authorities, in each case pursuant to Basel III, shall in
each case arising under clauses (i) or (ii) be deemed to be a “Change in Law”, regardless of the
date enacted, adopted or issued.

        “Change of Control” means the earliest to occur of:

        (a)    Steinhoff Parent ceases to own and control, directly or indirectly, more than
        50.1% of the aggregate ordinary voting power represented by the issued and outstanding
        Equity Interests of Parent;

        (b)     Holdings ceases to be an indirect wholly owned Subsidiary of Parent; or

        (c)     the Borrower ceases to be a direct wholly owned Subsidiary of Holdings; or

        (d)   the occurrence of a Change of Control (as defined in the DIP Term Loan
        Agreement) shall have occurred.

       “Chapter 11 Plan” shall have the meaning specified in Section 8.16(b), which Chapter
11 Plan shall not be modified or amended without the consent of the Administrative Agent, the
Collateral Agent and the Co-Collateral Agent in their sole discretion.

        “Citizens” means Citizens Bank, N.A.

       “Class” means (i) with respect to Commitments or Loans, those of such Commitments or
Loans that have the same terms and conditions (without regard to differences in the Type of
Loan, Interest Period, upfront fees, OID or similar fees paid or payable in connection with such
Commitments or Loans, or differences in tax treatment (e.g., “fungibility”)) and (ii) with respect
to Lenders, those of such Lenders that have Commitments or Loans of a particular Class.

         “Closing Date” means the first date on which all the conditions precedent in Section 4.1
are satisfied or waived in accordance with Section 12.1, which date is [ ], 2018.

        “Co-Collateral Agent” means Citizens Bank, N.A. and any other Co-Collateral Agent
appointed in accordance with the terms of Section 11.9.

        “Code” means the U.S. Internal Revenue Code of 1986, as amended from time to time.

        “Collateral” means substantially all property and assets of the Loan Parties, including (a)
all the “Collateral” (or equivalent term or words of similar intent) as defined in any Collateral
Document and shall include the Mortgaged Properties and (b) the [“DIP Collateral”] referred to
in any Orders, it being understood that “Collateral” shall include all such “DIP Collateral”
irrespective of whether any such property was excluded pursuant to the Pre-Petition Loan
Documents.

      “Collateral Agent” has the meaning specified in the introductory paragraph to this
Agreement.



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       “Collateral Access Agreement” means an agreement reasonably satisfactory in form and
substance to the Administrative Agent, the Co-Collateral Agent and the Collateral Agent
executed by, as the case may be, (a) a bailee or other Person in possession of Collateral, and (b)
any landlord of any premises leased by any Loan Party, pursuant to which such Person (i)
acknowledges the Collateral Agent’s Lien on the Collateral, (ii) releases or subordinates such
Person’s Liens in the Collateral held by such Person or located on such premises, (iii) agrees to
provide the Collateral Agent with access to the Collateral held by such bailee or other Person or
located in or on such premises for the purpose of conducting field examinations, appraisals or
Liquidation and (iv) makes such other agreements with the Collateral Agent as the
Administrative Agent and the Co-Collateral Agent may reasonably require.

        “Collateral and Guarantee Requirement” means, at any time, the requirement that:

                (l)    the Collateral Agent shall have received each Collateral Document
        required to be delivered on the Closing Date pursuant to Section 4.1(a)(iii) or pursuant to
        Section 8.11, Section 8.12 or Section 8.13 at such time, subject, in each case, to the
        limitations and exceptions of this Agreement and the Collateral Documents and any
        Order, duly executed by each Loan Party thereto;

                (m)   the Bankruptcy Court shall have entered an Order granting the super-
        priority claim and the liens in the Collateral and other rights and protections
        contemplated hereby and customary for debtor in possession financings and authorizing
        the Loans, which order (i) shall be in full force and effect and shall not have been, in
        whole or in part, vacated, reversed, stayed, or set aside and (ii) shall not have been
        modified or amended without the consent of the Administrative Agent, the Collateral
        Agent and the Co-Collateral Agent, such consent not to be unreasonably withheld,
        delayed, denied or conditioned;

                (n)    all Obligations (other than, with respect to any Guarantor, any Excluded
        Swap Obligations of such Guarantor) shall have been unconditionally guaranteed by (i)
        Holdings and each Restricted Subsidiary of the Borrower that is a wholly owned Material
        Domestic Subsidiary and not an Excluded Subsidiary including those Subsidiaries that
        are listed on Schedule II hereto (each, a “Guarantor”) and (ii) any Subsidiary of the
        Borrower that Guarantees any Indebtedness incurred by the Borrower pursuant to any
        Junior Financing shall be a Guarantor hereunder;

                (o)     the Obligations and the Guaranty shall have been secured by a first-
        priority security interest (subject to Liens permitted by Section 9.1) in (i) all the Equity
        Interests of the Borrower, (ii) all Equity Interests of each Restricted Subsidiary that is a
        Domestic Subsidiary (other than a Restricted Subsidiary described in the following clause
        (iii)(A)) that is directly owned by the Borrower or any Subsidiary Guarantor and (iii)
        65% of the issued and outstanding Equity Interests directly owned by the Borrower or by
        any Subsidiary Guarantor of (A) each Restricted Subsidiary that is a CFC Holdco and (B)
        each Restricted Subsidiary that is a CFC; and

               (p)    except to the extent otherwise provided hereunder, including subject to
        Liens permitted by Section 9.1, or under any Collateral Document or any Order, the

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        Obligations and the Guaranty shall have been secured by a perfected first-priority
        security interest in substantially all tangible and intangible property of the Borrower and
        each Guarantor (including accounts, deposit accounts, Inventory, equipment, investment
        property, contract rights, applications and registrations of intellectual property filed in the
        United States, other general intangibles, and proceeds of the foregoing), in each case,
        with the priority required by the Collateral Documents or any Order, in each case subject
        to exceptions and limitations otherwise set forth in this Agreement and the Collateral
        Documents or any Order; and

                (q)        [reserved].

        The foregoing definition and/or any other provision of this Agreement shall not require
(i) the creation or perfection of pledges of or security interests in, or the obtaining of title
insurance, surveys, abstracts or appraisals or taking other actions with respect to any Excluded
Assets, (ii) any Loan Party to provide Mortgages, obtain title insurance, surveys, abstracts or
appraisals or take any other action with respect to any fee-owned or leased real property of any
Loan Party, and/or (iii) any Loan Party to obtain a Lien Acknowledgement Agreement or deliver
a Credit Card Notification.

        The Collateral Agent and the Co-Collateral Agent may grant extensions of time for the
perfection of security interests in or the obtaining of title insurance and surveys with respect to
particular assets (including extensions beyond the Closing Date for the perfection of security
interests in the assets of the Loan Parties on such date) where it reasonably determines, in
consultation with the Borrower, that perfection cannot be accomplished without undue effort or
expense by the time or times at which it would otherwise be required by this Agreement or the
Collateral Documents.

        No actions in any non-U.S. jurisdiction or required by the Laws of any non-U.S.
jurisdiction shall be required in order to create any security interests in assets located or titled
outside of the U.S. or to perfect such security interests, including any intellectual property
registered in any non-U.S. jurisdiction (it being understood that there shall be no security
agreements or pledge agreements governed under the Laws of any non-U.S. jurisdiction).

        “Collateral Documents” means, collectively, the Security Agreement, the Intellectual
Property Security Agreements, each of the collateral assignments, Security Agreement
Supplements, security agreements, pledge agreements or other similar agreements delivered to
the Agents and the Lenders pursuant to Section 4.1(a)(iv), Section 8.11, Section 8.12 or Section
8.13, the Guaranty, each Lien Acknowledgment Agreement and each of the other agreements,
instruments or documents that creates or purports to create a Lien or Guarantee in favor of the
Collateral Agent for the benefit of the Secured Parties.

       “Commitment Letter” means the Commitment Letter dated as of October 4, 2018, among
Barclays Bank PLC, Citizens Bank, N.A. and Borrower.

        “Committee Professionals” has the meaning specified in the definition of “Carve Out”.

       “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.),
as amended from time to time, and any successor statute.
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        “Compliance Certificate” means a certificate substantially in the form of Exhibit O and
which certificate shall in any event be a certificate of the chief financial officer, chief accounting
officer or other Responsible Officer of the Borrower with equivalent duties with financial
reporting responsibilities (a) certifying as to whether a Default has occurred and is continuing
and, if applicable, specifying the details thereof and any action taken or proposed to be taken
with respect thereto, and (b) setting forth a reasonably detailed calculation of Excess Availability
as of the last day of the most recently completed Test Period.

        “Concentration Account” has the meaning specified in Section 8.12(d).

        “Consolidated Total Debt” means, as of any date of determination, the aggregate
principal amount of Indebtedness of the Borrower and the Restricted Subsidiaries outstanding on
such date, in an amount that would be reflected on a balance sheet prepared as of such date on a
consolidated basis in accordance with IFRS (but excluding the effects of any discounting of
Indebtedness resulting from the application of acquisition accounting in connection with the
Transaction, any Permitted Acquisition or any other Investment permitted hereunder), consisting
of Indebtedness for borrowed money, Attributable Indebtedness, and all Guarantees of
Indebtedness of such type that is owed by a Person that is not the Borrower or a Restricted
Subsidiary; provided that Consolidated Total Debt shall not include Indebtedness in respect of (i)
any letter of credit, except to the extent of unreimbursed obligations in respect of drawn letters of
credit (provided that any unreimbursed amount under commercial letters of credit shall not be
counted as Consolidated Total Debt until three (3) Business Days after such amount is drawn (it
being understood that any borrowing, whether automatic or otherwise, to fund such
reimbursement shall be counted)) and (ii) obligations under Swap Contracts.

        “Contractual Obligation” means, as to any Person, any provision of any security issued
by such Person or of any agreement, instrument or other undertaking to which such Person is a
party or by which it or any of its property is bound.

        “Cost” means the cost of purchases of Inventory determined according to the accounting
policies used in the preparation of the Borrower’s financial statements.

        “Credit Card Advance Rate” means 90%.

        “Credit Card Agreements” means all agreements now or hereafter entered into by the
Borrower or any Guarantor for the benefit of the Borrower or a Subsidiary Guarantor, in each
case with any Credit Card Issuer or any Credit Card Processor, as the same now exist or may
hereafter be amended, modified, supplemented, extended, renewed, restated or replaced,
including, but not limited to, the agreements set forth on Schedule 1.1E hereto.

        “Credit Card Issuer” means any Person (other than the Borrower or a Guarantor) who
issues or whose members issue credit cards, including MasterCard or VISA bank credit or debit
cards or other bank credit or debit cards issued through MasterCard International, Inc., Visa,
U.S.A., Inc. or Visa International and American Express, Discover, Diners Club, Carte Blanche
and other non bank credit or debit cards, including credit or debit cards issued by or through
American Express Travel Related Services Company, Inc., Novus Services, Inc. and the Mattress
Firm Card.

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        “Credit Card Notification” means, collectively, the notices to Credit Card Issuers or
Credit Card Processors who are parties to Credit Card Agreements in substantially the form of
Exhibit P and which Credit Card Notifications shall require the ACH or wire transfer no less
frequently than each Business Day (and whether or not there are then any outstanding
Obligations) to an Approved Deposit Account of all payments due from Credit Card Processors;
it being understood that pursuant to the Cash Management Order or the Orders, as applicable,
any Credit Card Notification delivered under the Pre-Petition Credit Agreement shall be deemed
to have been delivered in respect of this Agreement.

        “Credit Card Processor” means any servicing or processing agent or any factor or
financial intermediary, in each case, other than a Credit Card Issuer, who facilitates, services,
processes or manages the credit authorization, billing transfer and/or payment procedures with
respect to the Borrower’s or any Guarantor’s sales transactions involving credit card or debit
card purchases by customers using credit cards or debit cards issued by any Credit Card Issuer.

        “Credit Card Receivables” means, collectively, but without duplication, (a) all present
and future rights of the Borrower or any Guarantor to payment from any Credit Card Issuer
(other than the issuer of the Mattress Firm Card), Credit Card Processor or other third party
arising from sales of goods or rendition of services to customers who have purchased such goods
or services using a credit or debit card and (b) all present and future rights of the Borrower or
any Guarantor to payment from any Credit Card Issuer (other than the issuer of the Mattress
Firm Card), Credit Card Processor or other third party in connection with the sale or transfer of
Accounts arising pursuant to the sale of goods or rendition of services to customers who have
purchased such goods or services using a credit card or a debit card, including, but not limited to,
all amounts at any time due or to become due from any Credit Card Issuer (other than the issuer
of the Mattress Firm Card) or Credit Card Processor under the Credit Card Agreements or
otherwise, in each case above calculated net of prevailing interchange charges.

       “Credit Extension” means each of the following: (a) a Borrowing and (b) a L/C Credit
Extension.

        “Cure Amount” has the meaning specified in Section 10.4(b).

        “Current Assets Collateral” means all Collateral other than Collateral consisting of:

                (B)        Equipment;

                (C)        Fixtures;

                (D)        Intellectual Property (as defined in the Security Agreement);

                (E)        real estate; and/or

                (F)        Equity Interests.

        For purposes of this definition of “Current Assets Collateral”, capitalized terms not
        otherwise defined in this Agreement shall have the meanings ascribed to them in the
        UCC.

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       “Customary Intercreditor Agreement” means an intercreditor agreement executed in
connection with the incurrence of Indebtedness secured by Liens on the Collateral which are
intended to rank junior to the Liens on the Collateral securing the Obligations, in form and
substance reasonably acceptable to the Administrative Agent, the Co-Collateral Agent and the
Collateral Agent which agreement shall provide that the Liens on the Collateral securing such
Indebtedness shall rank junior to the Liens on the Collateral securing the Obligations.

        “Customer Credit Liabilities” means, at any time, the aggregate remaining balance at
such time of (a) outstanding gift certificates and gift cards of the Borrower entitling the holder
thereof to use all or a portion of the certificate or gift card to pay all or a portion of the purchase
price for any Inventory and (b) outstanding merchandise credits of the Borrower, in each case,
net of any dormancy reserves maintained by the Borrower on its books and records in the
Ordinary Course of Business consistent with past practices.

        “Customs Broker Agreement” means an agreement in substantially the form attached
hereto as Exhibit Q (or such other form as may be reasonably satisfactory to the Administrative
Agent, the Co-Collateral Agent and the Collateral Agent) among a Loan Party, a customs broker,
freight forwarder or other carrier, and the Collateral Agent, in which the customs broker, freight
forwarder or other carrier acknowledges that it has control over and holds the documents
evidencing ownership of, or other shipping documents relating to, the subject Inventory or other
property for the benefit of the Collateral Agent, and agrees, upon notice from the Collateral
Agent (which notice shall be delivered only upon the occurrence and during the continuance of
an Event of Default), to hold and dispose of the subject Inventory and other property solely as
directed by the Collateral Agent.

        “Debtor Professionals” has the meaning specified in the definition of “Carve Out”.

        “Debtor Relief Laws” means the Bankruptcy Code of the United States, and all other
liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium,
rearrangement, receivership, insolvency, reorganization, or similar debtor relief Laws of the
United States or other applicable jurisdictions from time to time in effect and affecting the rights
of creditors generally.

        “Debtors” has the meaning specified in the recitals hereto.

        “Default” means any event or condition that constitutes an Event of Default or that, with
the giving of any notice, the passage of time, or both, would be an Event of Default.

        “Default Rate” means an interest rate equal to (a) the Base Rate plus (b) the Applicable
Rate applicable to Base Rate Loans plus (c) 2.0% per annum; provided that with respect to the
outstanding principal amount of any Loan, the Default Rate shall be an interest rate equal to the
interest rate (including any Applicable Rate) otherwise applicable to such Loan (giving effect to
Section 2.11) plus 2.0% per annum; provided further that with respect to Letter of Credit Fee
amounts due and payable, the Default Rate shall be the rate equal to the rate otherwise applicable
to such Letter of Credit plus 2.0% per annum, in each case, to the fullest extent permitted by
applicable Laws.


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        “Defaulting Lender” means, subject to Section 2.16(b), any Lender that, as determined by
the Administrative Agent, (a) has failed to perform any of its funding obligations hereunder,
including in respect of its Loans or participations in respect of Letters of Credit or Swing Loans,
within three (3) Business Days of the date required to be funded by it hereunder, (b) has notified
the Borrower or the Administrative Agent that it does not intend to comply with its funding
obligations or has made a public statement to that effect with respect to its funding obligations
hereunder or under other agreements in which it commits to extend credit, (c) has failed, within
three Business Days after request by the Administrative Agent, to confirm in a manner
satisfactory to the Administrative Agent that it will comply with its funding obligations
(provided that any Lender that has failed to give such timely confirmation shall cease to be a
Defaulting Lender under this clause (c) upon receipt of such confirmation by the Administrative
Agent), or (d) has, or has a direct or indirect parent company that has, (i) become the subject of a
proceeding under any Debtor Relief Law, (ii) had a receiver, conservator, trustee, administrator,
assignee for the benefit of creditors or similar Person charged with reorganization or liquidation
of its business or a custodian appointed for it, (iii) become the subject of a Bail-in Action or (iv)
taken any action in furtherance of, or indicated its consent to, approval of or acquiescence in any
such proceeding or appointment; provided that a Lender shall not be a Defaulting Lender solely
by virtue of the ownership or acquisition of any equity interest in that Lender or any direct or
indirect parent company thereof by a Governmental Authority.

       “Deposit Account” means any checking or other demand deposit account maintained by
the Loan Parties, including any “deposit accounts” under Article 9 of the UCC. All funds in
such Deposit Accounts shall be conclusively presumed to be Collateral and proceeds of
Collateral and the Agent and the Lenders shall have no duty to inquire as to the source of the
amounts on deposit in the Deposit Accounts, subject to the Security Agreement.

        “Designated Cash Equivalents” means funds maintained in a Deposit Account and items
specified in clauses (d) and (i) of the definition of “Cash Equivalents”.

       “Designated Non-Cash Consideration” means the fair market value of non-cash
consideration received by the Borrower or a Restricted Subsidiary in connection with a
Disposition pursuant to Section 9.5(j) that is designated as Designated Non-Cash Consideration
pursuant to a certificate of a Responsible Officer, setting forth the basis of such valuation (which
amount will be reduced by the fair market value of the portion of the non-cash consideration
converted to cash within one-hundred eighty (180) days following the consummation of the
applicable Disposition).

        “DIP Intercreditor Agreement” means that certain DIP Intercreditor Agreement dated as
of [ ], 2018 by and between the Administrative Agent and Barclays, as administrative agent for
the holders of the DIP Term Loan, as amended and in effect from time to time.

       “DIP Superpriority Claim” means the allowed superpriority administrative expense claim
granted to the Loan Parties in the Cases and any Successor Cases pursuant to Section 364(c)(1)
of the Bankruptcy Code for all of the Obligations with priority over any and all Cases and any
Successor Cases, at any time existing or arising, of any kind or nature whatsoever, including
administrative expenses of the kinds specified in or ordered pursuant to Sections 105, 326, 328,
330, 331, 365, 503(a), 503(b), 507(a), 507(b) (except as set forth in the Orders), 546(c), 546(d),

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726, 1113, and 1114 of the Bankruptcy Code, and any other provision of the Bankruptcy Code,
which shall at all times be senior to the rights of the Debtors and their estates, and any successor
trustee or other estate representative; provided, however, that the DIP Superpriority Claim shall
not have recourse to any Avoidance Actions or the proceeds thereof subject to entry of the Final
Order; provided, further, that the DIP Superpriority Claim shall be subject to the Carve Out.

        “DIP Term Loan Agreement” means that certain [Senior Secured Super-Priority Debtor-
In-Possession Term Loan Credit Agreement] dated as of October [•], 2018 among the Borrower,
the lenders party thereto, Barclays Bank PLC, as administrative agent and collateral agent, and
the other parties thereto, as amended and in effect from time to time in accordance with the terms
of the DIP Intercreditor Agreement or any Order and any refinancing or replacement thereof in
whole or in part (in accordance with the terms of the DIP Intercreditor Agreement and the
Orders).

        “DIP Term Loans” means the “Term Loans” as defined in the DIP Term Loan Agreement
as of the date hereof.

       “Disclosure Statement” shall have the meaning specified in Section 8.16(b), which
Disclosure Statement shall not be modified or amended without the consent of the
Administrative Agent, the Collateral Agent and the Co-Collateral Agent in their sole discretion.

        “Disposition” or “Dispose” means the sale, transfer, license, lease or other disposition
(including any Sale-Leaseback and any sale or issuance of Equity Interests in a Restricted
Subsidiary) of any property by any Person, including any sale, assignment, transfer or other
disposal, with or without recourse, of any notes or accounts receivable or any rights and claims
associated therewith.

        “Disqualified Equity Interests” means any Equity Interest that, by its terms (or by the
terms of any security or other Equity Interests into which it is convertible or for which it is
exchangeable), or upon the happening of any event or condition (a) matures or is mandatorily
redeemable (other than solely for Qualified Equity Interests), pursuant to a sinking fund
obligation or otherwise (except as a result of a change of control or asset sale so long as any
rights of the holders thereof upon the occurrence of a change of control or asset sale event shall
be subject to the prior repayment in full of the Loans and all other Obligations (other than (i)
contingent indemnification obligations as to which no claim has been asserted and (ii) Cash
Management Obligations or obligations under Secured Hedge Agreements) that are accrued and
payable and the termination of the Revolving Credit Commitments and the termination of all
outstanding Letters of Credit (unless the Outstanding Amount of the Letter of Credit Obligations
related thereto has been Cash Collateralized, back-stopped by a letter of credit reasonably
satisfactory to the applicable Issuer or deemed reissued under another agreement reasonably
acceptable to the applicable Issuer)), (b) is redeemable at the option of the holder thereof (other
than solely for Qualified Equity Interests and other than as a result of a change of control or asset
sale so long as any rights of the holders thereof upon the occurrence of a change of control or
asset sale event shall be subject to the prior repayment in full of the Loans and all other
Obligations (other than (i) contingent indemnification obligations as to which no claim has been
asserted and (ii) Cash Management Obligations or obligations under Secured Hedge
Agreements) that are accrued and payable and the termination of the Revolving Credit

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Commitments and the termination of all outstanding Letters of Credit (unless the Outstanding
Amount of the Letter of Credit Obligations related thereto has been Cash Collateralized, back-
stopped by a letter of credit reasonably satisfactory to the applicable Issuer or deemed reissued
under another agreement reasonably acceptable to the applicable Issuer)), in whole or in part, (c)
provides for the scheduled payments of dividends in cash, or (d) is or becomes convertible into
or exchangeable for Indebtedness or any other Equity Interests that would constitute Disqualified
Equity Interests, in each case, prior to the date that is ninety-one (91) days after the Latest
Maturity Date at the time of issuance of such Equity Interests; provided, that if such Equity
Interests are issued pursuant to a plan for the benefit of future, current or former employees,
directors, officers, members of management or consultants of Holdings (or any direct or indirect
parent thereof), the Borrower or the Restricted Subsidiaries or by any such plan to such
employees, directors, officers, members of management or consultants, such Equity Interests
shall not constitute Disqualified Equity Interests solely because they may be permitted to be
repurchased by the Borrower or its Restricted Subsidiaries in order to satisfy applicable statutory
or regulatory obligations or as a result of such employee’s, director’s, officer’s, management
member’s or consultant’s termination of employment or service, as applicable, death or
disability.

         “Disqualified Institutions” means those Persons (the list of all such Persons, the
“Disqualified Institutions List”) that are (i) identified in writing by the Borrower to the Arrangers
prior to the Closing Date, (ii) competitors of the Borrower and its Subsidiaries (other than bona
fide fixed income investors or debt funds) that are identified in writing by the Borrower to the
Arrangers from time to time or (iii) Affiliates of such Persons set forth in clauses (i) and (ii)
above (in the case of Affiliates of such Persons set forth in clause (ii) above, other than bona fide
fixed income investors or debt funds) that are either (a) identified in writing by the Borrower to
the Administrative Agent from time to time or (b) clearly identifiable on the basis of such
Affiliate’s name; provided, that, to the extent Persons are identified as Disqualified Institutions
in writing by the Borrower to the Administrative Agent after the Closing Date pursuant to
clauses (ii) or (iii)(a), the inclusion of such Persons as Disqualified Institutions shall not
retroactively apply to prior assignments or participations in respect of any Loan under this
Agreement. Until the disclosure of the identity of a Disqualified Institution to the Lenders
generally by the Administrative Agent, such Person shall not constitute a Disqualified Institution
for purposes of a sale of a participation in a Loan (as opposed to an assignment of a Loan) by a
Lender. Notwithstanding the foregoing, the Borrower, by written notice to the Administrative
Agent, may from time to time in its sole discretion remove any entity from the Disqualified
Institutions List (or otherwise modify such list to exclude any particular entity), and such entity
removed or excluded from the Disqualified Institutions List shall no longer be a Disqualified
Institution for any purpose under this Agreement or any other Loan Document.

      “Disqualified Institutions List” has the meaning specified in the definition of
“Disqualified Institutions”.

        “Document” has the meaning set forth in Article 9 of the UCC.

       “Documentary Letter of Credit” means any Letter of Credit that is drawable upon
presentation of documents evidencing the sale or shipment of goods purchased by the Borrower
or a Guarantor in the ordinary course of its business.

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        “Dollars” and “$” mean lawful money of the United States.

       “Domestic Subsidiary” means any Subsidiary that is organized under the Laws of the
United States, any state thereof or the District of Columbia.

        “EEA Financial Institution” means (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA
Resolution Authority, (b) any entity established in an EEA Member Country which is a parent of
an institution described in clause (a) of this definition, or (c) any financial institution established
in an EEA Member Country which is a subsidiary of an institution described in clauses (a) or (b)
of this definition and is subject to consolidated supervision with its parent.

       “EEA Member Country” means any of the member states of the European Union, Iceland,
Liechtenstein, and Norway.

        “EEA Resolution Authority” means any public administrative authority or any person
entrusted with public administrative authority of any EEA Member Country (including any
delegee) having responsibility for the resolution of any EEA Financial Institution.

        “Eligible Accounts” means, as of any date of determination thereof, the aggregate amount
of all Accounts (which, for the avoidance of doubt, shall include the Mattress Firm Card
Receivables) due to the Borrower and each Subsidiary Guarantor, except in each case to the
extent that (determined without duplication):

               (a)      such Account (i) does not arise from the sale of goods or the performance
        of services by the Borrower or any Subsidiary Guarantor in the ordinary course of its
        business or (ii) arises out of arrangements with franchisees; provided that up to $4 million
        in Accounts owed to the Borrower or any Subsidiary Guarantor by franchisees, so long as
        any such Account satisfies clauses (b) through (z) of this definition of “Eligible
        Accounts”, shall be deemed Eligible Accounts notwithstanding this clause (a);

               (b)      (i) the Borrower’s or Subsidiary Guarantor’s right to receive payment is
        not absolute or is contingent upon the fulfillment of any condition whatsoever (other than
        the preparation and delivery of an invoice) or (ii) as to which such Person is not able to
        bring suit or otherwise enforce its remedies against the Account Debtor through judicial
        process;

                (c)     any defense, counterclaim, set-off or dispute exists as to such Account, but
        only to the extent of such defense, counterclaim, set-off or dispute;

               (d)     such Account is not a true and correct statement of bona fide indebtedness
        incurred in the amount of the Account for merchandise sold to or services rendered and
        accepted by the applicable Account Debtor;

               (e)     an invoice, reasonably acceptable to the Administrative Agent, the Co-
        Collateral Agent and the Collateral Agent, in form and substance or otherwise in the form
        otherwise required by any Account Debtor, has not been sent to the applicable Account
        Debtor in respect of such Account on or before the date as of which such Account is first

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        included in the Borrowing Base Certificate or otherwise reported to the Administrative
        Agent, the Co-Collateral Agent and the Collateral Agent as Collateral;

                 (f)    such Account (i) is not owned by the Borrower or Subsidiary Guarantor or
        (ii) is not subject to the first priority, valid and perfected security interest and Lien of
        Collateral Agent, for and on behalf of itself and the Lenders (subject to Liens permitted
        under Section 9.1 having priority by operation of applicable Law over the Liens of the
        Collateral Agent) or (iii) is subject to any other Lien (other than Liens permitted
        hereunder pursuant to clauses (a), (c), (d), (h) and (dd) of Section 9.1) (the foregoing
        clauses (ii) and (iii) (other than in respect of the immediately foregoing clause (y)) not
        being intended to limit the ability of the Administrative Agent, the Co-Collateral Agent
        and the Collateral Agent to change, establish or eliminate any Reserves in its Permitted
        Discretion on account of any such permitted Liens);

                (g)     such Account is the obligation of an Account Debtor that is (i) a director,
        officer, other employee or Affiliate of the Borrower or Subsidiary Guarantor or (ii) a
        natural person;

              (h)    such Account is the obligation of an Account Debtor that is any
        Governmental Authority;

                (i)        Accounts subject to a partial payment plan;

                (j)     the Borrower or Subsidiary Guarantor is liable for goods sold or services
        rendered by the applicable Account Debtor to the Borrower but only to the extent of the
        potential offset;

                (k)     (i) if such Account constitutes third-party financing receivables or
        Mattress Firm Card Receivables, such Account is unpaid for more than fifteen (15) days
        after the date of sale of Inventory giving rise to such third-party financing receivables or
        such Mattress Firm Card Receivables or (ii) if such Account does not constitute third-
        party financing receivables or Mattress Firm Card Receivables, the Account is not paid
        on or prior to (x) ninety (90) days following the original invoice date or (y) sixty (60)
        days following the date on which such Account was due;

                (l)        [reserved];

                (m)      such Account is the obligation of an Account Debtor from whom 50% or
        more of the amount of all Accounts owing by that Account Debtor are ineligible under
        the criteria set forth in this definition;

                (n)    any of the representations or warranties in the Loan Documents with
        respect to such Account are untrue in any material respect with respect to such Account
        (or, with respect to representations or warranties that are qualified by materiality, any of
        such representations and warranties are untrue);

                (o)    such Account is evidenced by chattel paper or an instrument of any kind,
        or has been reduced to judgment;

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                (p)    such Account, together with all other Accounts owing by such Account
        Debtor and its Affiliates as of any date of determination, exceeds the greater of (i) 15% of
        all Eligible Accounts and (ii) 10% of the Borrowing Base (but, in each case, only to the
        extent of such excess) (the “Account Concentration Limits”); provided, that for purposes
        of this clause (p), Accounts owing by any third-party financing source that has an
        Investment Grade Rating shall not be subject to the Account Concentration Limits;

                (q)        such Account is payable in any currency other than Dollars;

                (r)     such Account has been redated, extended, compromised, settled or
        otherwise modified or discounted, except discounts or modifications that are granted by
        the Borrower or Subsidiary Guarantor in the Ordinary Course of Business and that are
        reflected in the calculation of the Borrowing Base;

                 (s)    such Account is of an Account Debtor that is located in a state requiring
        the filing of a notice of business activities report or similar report in order to permit the
        Borrower or Subsidiary Guarantor to seek judicial enforcement in such state of payment
        of such Account, unless the Borrower or Subsidiary Guarantor has qualified to do
        business in such state or has filed a notice of business activities report or equivalent
        report for the then-current year or if such failure to file and inability to seek judicial
        enforcement is capable of being remedied without any material delay or material cost;

                (t)   such Account was acquired or originated by a Person acquired in a
        Permitted Acquisition (until such time as the Administrative Agent, the Co-Collateral
        Agent and the Collateral Agent have completed a customary due diligence investigation
        as to such Accounts and such Person, which investigation may, at the sole discretion of
        the Administrative Agent, the Co-Collateral Agent and the Collateral Agent, include a
        field examination, and the Administrative Agent, the Co-Collateral Agent and the
        Collateral Agent are satisfied with the results thereof in its Permitted Discretion);

                (u)        Account Debtor is subject to an event of the type described in Section
        10.1(f);

                (v)     such Account represents a sale on a bill-and-hold, guaranteed sale, sale
        and return, sale on approval, consignment or other repurchase or return basis;

                (w)     the Account Debtor is organized or has its principal offices or assets
        outside the United States, unless such Account is backed by a letter of credit reasonably
        acceptable to the Administrative Agent, the Co-Collateral Agent and the Collateral Agent
        (which is issued by a bank reasonably acceptable to the Administrative Agent, the Co-
        Collateral Agent and the Collateral Agent) and such letter of credit is subject to a first
        priority perfected Lien in favor of the Collateral Agent;

               (x)      Accounts that are subject to any factoring or receivables finance program
        or constitute proceeds thereof;

                 (y)    the portion, if any, of any Account that includes a billing for interest, fees
        or late charges; or

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                (z)        such Account constitutes a Credit Card Receivable.

        “Eligible Accounts Advance Rate” means 90%.

       “Eligible Assignee” means any Person that meets the requirements to be an assignee
under Section 12.2(b)(iii) and (v) (subject to such consents, if any, as may be required under
Section 12.2(b)(ii)).

      “Eligible Credit Card Receivables” means, as to the Borrower and each Subsidiary
Guarantor, Credit Card Receivables of such Person which satisfy the criteria set forth below:

               (aa) such Credit Card Receivables arise from the actual and bona fide sale and
        delivery of goods or rendition of services by such Person in the ordinary course of the
        business of such Person;

                (bb) such Credit Card Receivables are not past due (beyond any stated
        applicable grace period, if any, therefor) pursuant to the terms set forth in the Credit Card
        Agreements with the Credit Card Issuer or Credit Card Processor of the credit card or
        debit card used in the purchase which gave rise to such Credit Card Receivables;

               (cc) such Credit Card Receivables are not unpaid more than five (5) Business
        Days after the date of the sale of Inventory giving rise to such Credit Card Receivables;

               (dd) the Credit Card Issuer or Credit Card Processor obligated in respect of
        such Credit Card Receivable has not failed to remit any monthly payment in respect of
        any Credit Card Receivable owing to a Loan Party;

                (ee) the Credit Card Issuer or Credit Card Processor with respect to such Credit
        Card Receivables has not asserted a counterclaim, defense or dispute against such Credit
        Card Receivables (other than customary set-offs to fees and chargebacks consistent with
        the practices of such Credit Card Issuer or Credit Card Processor with such Person from
        time to time), but the portion of the Credit Card Receivables owing by such Credit Card
        Issuer or Credit Card Processor in excess of the amount owing by such Person to such
        Credit Card Issuer or Credit Card Processor pursuant to such fees and chargebacks shall
        be deemed Eligible Credit Card Receivables;

                (ff)   the Credit Card Issuer or Credit Card Processor with respect to such Credit
        Card Receivables has not set off against amounts otherwise payable by such Credit Card
        Issuer or Credit Card Processor to such Person for the purpose of establishing a reserve or
        collateral for obligations of such Person to such Credit Card Issuer or Credit Card
        Processor (other than customary set-offs and chargebacks consistent with the practices of
        such Credit Card Issuer or Credit Card Processor from time to time) but the portion of the
        Credit Card Receivables owing by such Credit Card Issuer or Credit Card Processor in
        excess of the set-off amounts shall be deemed Eligible Credit Card Receivables;

               (gg) such Credit Card Receivables (x) are owned by the Borrower or a
        Subsidiary Guarantor and such Person has a good title to such Credit Card Receivables,
        (y) are subject to the first priority, valid and perfected security interest and Lien of

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        Collateral Agent (subject only to Liens permitted under Section 9.1 having priority by
        operation of applicable Law over the Liens of the Collateral Agent), for and on behalf of
        itself and Lenders, as to such Credit Card Receivables of such Person and (z) are not
        subject to any other Lien (other than Liens permitted hereunder pursuant to clauses (a),
        (c), (d), (h) and (dd) of Section 9.1) (the foregoing clauses (y) and (z) (other than in
        respect of the immediately foregoing clause (2)) not being intended to limit the ability of
        the Administrative Agent, the Co-Collateral Agent and the Collateral Agent to change,
        establish or eliminate any Reserves in its Permitted Discretion on account of any such
        permitted Liens);

              (hh) the Credit Card Issuer or Credit Card Processor with respect to such Credit
        Card Receivables is not subject to an event of the type described in Section 10.1(f);

                (ii)   no event of default has occurred under the Credit Card Agreement of such
        Person with the Credit Card Issuer or Credit Card Processor who has issued the credit
        card or debit card or handles payments under the credit card or debit card used in the sale
        which gave rise to such Credit Card Receivables which event of default gives such Credit
        Card Issuer or Credit Card Processor the right to cease or suspend payments to such
        Person;

               (jj)   the customer using the credit card or debit card giving rise to such Credit
        Card Receivable shall not have returned the merchandise purchased giving rise to such
        Credit Card Receivable;

                (kk) to the extent required by Section 8.12(c), the Credit Card Receivables are
        subject to Credit Card Notifications;

                (ll)    the Credit Card Processor is organized and has its principal offices or
        assets within the United States or is otherwise acceptable to the Administrative Agent, the
        Co-Collateral Agent and the Collateral Agent in each of their Permitted Discretion;

               (mm) such Credit Card Receivables are not evidenced by chattel paper or an
        instrument of any kind, and have not been reduced to judgment;

                (nn) the portion of such Credit Card Receivables that does not include a billing
        for interest, fees or late charges; and

                (oo) in the case of a Credit Card Receivable due from a Credit Card Processor
        (other than an Agent, Paymentech, LLC, First Data, Alliance Data or any of their
        respective Affiliates), none of the Administrative Agent, the Co-Collateral Agent and the
        Collateral Agent, have notified the Borrower that the Administrative Agent, the Co-
        Collateral Agent and the Collateral Agent have determined in their respective Permitted
        Discretion that such Credit Card Receivable is unlikely to be collected.

Credit Card Receivables which would otherwise constitute Eligible Credit Card Receivables
pursuant to this Section will not be deemed ineligible solely by virtue of the Credit Card
Agreements with respect thereto having been entered into by any Guarantor, for the benefit of


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Borrower. Any Credit Card Receivables which are not Eligible Credit Card Receivables shall, to
the extent not constituting Excluded Assets, nevertheless be part of the Collateral.

       “Eligible In-Transit Inventory” means, as of any date of determination, without
duplication of other Eligible Inventory, Inventory of the Borrower or a Subsidiary Guarantor
which meets the following criteria:

                (pp) such Inventory has been shipped from any foreign location to a United
        States location for receipt by the Borrower or a Subsidiary Guarantor within sixty (60)
        days of the date of determination and has not yet been received by the Borrower or a
        Subsidiary Guarantor,

               (qq) the purchase order for such Inventory is in the name of the Borrower or a
        Subsidiary Guarantor and title has passed to the Borrower or a Subsidiary Guarantor,

               (rr)     either (i) such Inventory is subject to a negotiable document of title, in
        form reasonably satisfactory to the Administrative Agent, the Co-Collateral Agent and
        the Collateral Agent, which shall, except as otherwise agreed by the Administrative
        Agent, the Co-Collateral Agent and the Collateral Agent, each in their respective
        Permitted Discretion, have been endorsed to the Collateral Agent or an agent acting on its
        behalf or (ii) such Inventory is evidenced by a non-negotiable document of title in form
        reasonably acceptable to the Administrative Agent, the Co-Collateral Agent and the
        Collateral Agent, or other shipping document reasonably acceptable to the Administrative
        Agent, the Co-Collateral Agent and the Collateral Agent, which names the Borrower or a
        Subsidiary Guarantor as consignee,

                (ss)    during the continuation of any In-Transit Trigger Period, (i) each relevant
        freight carrier, freight forwarder, customs broker, shipping company or other Person in
        possession of such Inventory and/or the documents relating to such Inventory, in each
        case, as reasonably requested by Administrative Agent, the Co-Collateral Agent and the
        Collateral Agent, shall have entered into a Customs Broker Agreement and (ii) as
        reasonably requested by the Administrative Agent, the Co-Collateral Agent and the
        Collateral Agent, the documents relating to such Inventory shall be in the possession of
        the Administrative Agent or an agent (or sub-agent) acting on its behalf,

              (tt)   such Inventory is insured in accordance with the provisions of this
        Agreement and the other Loan Documents, including marine cargo insurance,

                (uu) such Inventory is subject, to the reasonable satisfaction of the
        Administrative Agent, the Co-Collateral Agent and the Collateral Agent, to a first priority
        perfected security interest in and lien upon such Inventory in favor of the Collateral
        Agent (except for any possessory lien upon such goods in the possession of a freight
        carrier or shipping company securing only the freight charges for the transportation of
        such goods to the Borrower or Subsidiary Guarantor), and

               (vv) such Inventory is not excluded from the definition of Eligible Inventory
        (except solely pursuant to clauses (f), (j), (o), (p), (x) and (y) thereof); provided that the
        Administrative Agent, the Co-Collateral Agent and the Collateral Agent may, in their
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        respective Permitted Discretion and upon notice to the Borrower, exclude any particular
        Inventory from the definition of “Eligible In-Transit Inventory” in the event that the
        Administrative Agent, the Co-Collateral Agent or the Collateral Agent determines in its
        respective Permitted Discretion and upon notice to the Borrower that such Inventory is
        subject to any Person’s right or claim which is (or is capable of being) senior to, or pari
        passu with, the Lien of the Collateral Agent (such as, without limitation, a right of
        reclamation or stoppage in transit), as applicable, or may otherwise adversely impact the
        ability of the Collateral Agent to realize upon such Inventory.

Eligible In-Transit Inventory shall not include Inventory accounted for as “in transit” by the
Borrower by virtue of such Inventory’s being in transit between the Loan Parties’ locations or in
storage trailers at Loan Parties’ locations; rather such Inventory shall be treated as “Eligible
Inventory” if it satisfies the conditions therefor.

        “Eligible Inventory” means, as to the Borrower and each Subsidiary Guarantor, Inventory
consisting of finished goods merchantable and readily saleable to the public in the ordinary
course of the business of such Person but shall not include:

                  (ww) work-in-process;

                  (xx)     raw materials;

                  (yy)     spare parts for equipment;

                  (zz)     packaging and shipping materials;

                  (aaa)    supplies used or consumed in such Person’s business;

                (bbb) Inventory (other than In-Transit Inventory as described in clause (x)
        below) located at premises owned and operated by a Person other than, and not leased by,
        the Borrower or any Subsidiary Guarantor, if the Administrative Agent shall not have
        received a Collateral Access Agreement from the owner and operator with respect to such
        location, duly authorized, executed and delivered by such owner and operator (or the
        Administrative Agent, the Co-Collateral Agent and the Collateral Agent shall determine
        to accept a Collateral Access Agreement that does not include all required provisions or
        provisions in the form otherwise required by the Administrative Agent, the Co-Collateral
        Agent and the Collateral Agent), unless the Administrative Agent, the Co-Collateral
        Agent and the Collateral Agent have, at their option, established such Availability
        Reserves in respect of amounts at any time due or to become due to the owner and
        operator thereof as the Administrative Agent, the Co-Collateral Agent and the Collateral
        Agent shall determine in their respective Permitted Discretion;

                  (ccc)    35% of all Inventory located at any Store designated by the Debtors to be
        closed,

                  (ddd) bill and hold goods;



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               (eee)       obsolete, unmerchantable, “seconds”, used, unfit for sale or slow moving
        Inventory;

                (fff) Inventory (i) which is not subject to the first priority, valid and perfected
        security interest of the Collateral Agent (subject only to Liens permitted under Section
        9.1 having priority by operation of applicable Law over the Liens of the Collateral Agent)
        or (ii) which is subject to any other Lien (other than Liens permitted hereunder pursuant
        to clauses (a), (c), (d), (h), (q) and (dd) of Section 9.1) (the foregoing clauses (i) and (ii)
        (other than in respect of the immediately foregoing clause (y)) not being intended to limit
        the ability of the Administrative Agent, the Co-Collateral Agent and the Collateral Agent
        to change, establish or eliminate any Reserves in its Permitted Discretion on account of
        any such permitted Liens);

                (ggg) damaged and/or defective Inventory;

               (hhh) returned Inventory which is not held for sale in the Ordinary Course of
        Business;

                (iii)      Inventory purchased or sold on consignment;

               (jjj) Inventory acquired in a Permitted Acquisition, unless (i) such Inventory
        otherwise meets the requirements of Eligible Inventory and (ii) either (x) such Inventory
        does not exceed 15% of all Eligible Inventory or (y) the Administrative Agent, the Co-
        Collateral Agent and the Collateral Agent have completed or received (A) an appraisal of
        such Inventory from appraisers reasonably satisfactory to the Administrative Agent, the
        Co-Collateral Agent and the Collateral Agent, and established Inventory Reserves (if
        applicable) therefor and (B) such other due diligence as the Administrative Agent, the
        Co-Collateral Agent and the Collateral Agent may require in their respective Permitted
        Discretion, all of the results of the foregoing to be satisfactory to the Administrative
        Agent, the Co-Collateral Agent and the Collateral Agent in their respective Permitted
        Discretion;

               (kkk) Inventory that is not solely owned by the applicable Loan Party or the
        applicable Loan Party does not have good and valid title thereto;

               (lll) Inventory that is not located in the United States (excluding territories or
        possessions of the United States);

                (mmm)custom items;

               (nnn) spare parts, promotional, marketing, packaging and shipping materials or
        supplies used or consumed in a Loan Party’s business;

               (ooo) samples, labels, bags, packaging, and other similar non-merchandise
        categories;

              (ppp) are not in material compliance with all standards imposed by any
        Governmental Authority having regulatory authority over such Inventory, its use or sale;

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                (qqq) Inventory that is not insured in compliance with this Agreement;

              (rrr) Inventory that has been sold but not yet delivered or as to which the
        Borrower has accepted a deposit;

                (sss) Inventory that is subject to any licensing, patent, royalty, trademark, trade
        name or copyright agreement with any third party from which the Borrower or any of its
        Subsidiaries has received notice of a dispute in respect of any such agreement (but
        ineligibility shall be limited to the amount of such dispute);

                (ttt)      In-Transit Inventory; and

               (uuu) Except as otherwise agreed by the Administrative Agent, the Co-Collateral
        Agent and the Collateral Agent in their respective Permitted Discretion, Inventory that
        represents goods that do not conform in all material respects to the representations and
        warranties contained in this Agreement or any of the Collateral Documents.

      Any Inventory which is not Eligible Inventory shall, to the extent not constituting
Excluded Assets, nevertheless be part of the Collateral.

      “EMU” means the economic and monetary union as contemplated in the Treaty on
European Union.

       “EMU Legislation” means the legislative measures of the European Council for the
introduction of, changeover to or operation of a single or unified European currency.

         “Entitlement Holder” has the meaning given to such term in Article 8 of the UCC.

        “Entitlement Order” has the meaning given to such term in Article 8 of the UCC.

        “Environmental Claim” means any and all administrative, regulatory or judicial actions,
suits, demands, demand letters, claims, liens, notices of noncompliance or violation,
investigations (other than internal reports prepared by any Loan Party or any of its Subsidiaries
(a) in the Ordinary Course of Business of such Person or (b) as required in connection with a
financing transaction or an acquisition or disposition of real estate) or proceedings with respect
to any Environmental Liability (hereinafter “Claims”), including (i) any and all Claims by
governmental or regulatory authorities for enforcement, cleanup, removal, response, remedial or
other actions or damages pursuant to any Environmental Law and (ii) any and all Claims by any
third party seeking damages, contribution, indemnification, cost recovery, compensation or
injunctive relief pursuant to any Environmental Law.

       “Environmental Laws” means any and all Laws relating to the protection of the
environment or, to the extent relating to exposure to Hazardous Materials, human health.

         “Environmental Liability” means any liability, contingent or otherwise (including any
liability for damages, costs of environmental remediation, fines, penalties or indemnities) of any
Loan Party or any of its Restricted Subsidiaries directly or indirectly resulting from or based
upon (a) violation of any Environmental Law, (b) the generation, use, handling, transportation,

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storage, treatment or disposal of any Hazardous Materials, (c) exposure to any Hazardous
Materials, (d) the release or threatened release of any Hazardous Materials into the environment
or (e) any contract, agreement or other consensual arrangement pursuant to which liability is
assumed or imposed with respect to any of the foregoing.

        “Environmental Permit” means any permit, approval, identification number, license or
other authorization required under any Environmental Law.

        “Equity Interests” means, with respect to any Person, all of the shares, interests, rights,
participations or other equivalents (however designated) of capital stock of (or other ownership
or profit interests or units in) such Person and all of the warrants, options or other rights for the
purchase, acquisition or exchange from such Person of any of the foregoing (including through
convertible securities).

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
from time to time.

       “ERISA Affiliate” means any trade or business (whether or not incorporated) that together
with any Loan Party is under common control with or treated as a single employer within the
meaning of Sections 414(b) or (c) of the Code (and Sections 414(m) and (o) of the Code for
purposes of provisions relating to Section 412 of the Code).

        “ERISA Event” means (a) a Reportable Event with respect to a Pension Plan; (b) a
withdrawal by any Loan Party or any of their respective ERISA Affiliates from a Pension Plan
subject to Section 4063 of ERISA during a plan year in which it was a substantial employer (as
defined in Section 4001(a)(2) of ERISA) or a cessation of operations that is treated as a
termination under Section 4062(e) of ERISA; (c) a written notification to any Loan Party or any
of their respective ERISA Affiliates concerning the imposition of Withdrawal Liability, a
complete or partial withdrawal by any Loan Party or any of their respective ERISA Affiliates
from a Multiemployer Plan (within the meaning of Sections 4203 and 4205 of ERISA), or
written notification that a Multiemployer Plan is insolvent or is in reorganization, within the
meaning of Title IV of ERISA; (d) the filing under Section 4041(c) of ERISA of a notice of
intent to terminate a Pension Plan, the treatment of a Pension Plan or Multiemployer Plan
amendment as a termination under Sections 4041 or 4041A of ERISA; (e) the commencement of
proceedings by the PBGC to terminate a Pension Plan or Multiemployer Plan or to appoint a
trustee to administer a Pension Plan; (f) the imposition of any liability under Title IV of ERISA
with respect to the termination of any Pension Plan or Multiemployer Plan, other than for the
payment of plan contributions or PBGC premiums due but not delinquent under Section 4007 of
ERISA, upon any Loan Party or any of their respective ERISA Affiliates; (g) the application for
a minimum funding waiver under Section 302(c) of ERISA or Section 412(c) of the Code with
respect to a Pension Plan; (h) the imposition of a lien under Section 303(k) of ERISA or Section
430(k) of the Code with respect to any Pension Plan; or (i) the imposition of liability on any of
the Loan Parties or any of their respective ERISA Affiliates pursuant to Sections 4069 or 4212(c)
of ERISA.

       “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published
by the Loan Market Association (or any successor person), as in effect from time to time.

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         “Eurocurrency Rate” means for any Interest Period as to any Eurocurrency Rate Loan, (i)
the rate per annum determined by the Administrative Agent to be the offered rate which appears
on the page of the Reuters Screen which displays the London interbank offered rate administered
by ICE Benchmark Administration Limited (such page currently being the LIBOR01 page) (the
“LIBO Rate”) for deposits (for delivery on the first day of such Interest Period) with a term
equivalent to such Interest Period in Dollars, determined as of approximately 11:00 a.m.
(London, England time), two Business Days prior to the commencement of such Interest Period,
or (ii) in the event the rate referenced in the preceding clause (i) does not appear on such page or
service or if such page or service shall cease to be available, the rate determined by the
Administrative Agent to be the offered rate on such other page or other service which displays
the LIBO Rate for deposits (for delivery on the first day of such Interest Period) with a term
equivalent to such Interest Period in Dollars, determined as of approximately 11:00 a.m.
(London, England time) two Business Days prior to the commencement of such Interest Period;
provided that if LIBO Rates are quoted under either of the preceding clauses (i) or (ii), but there
is no such quotation for the Interest Period elected, the LIBO Rate shall be equal to the
Interpolated Rate; and provided, further, that if any such rate determined pursuant to the
preceding clauses (i) or (ii) is less than zero, the Eurocurrency Rate will be deemed to be zero.

       “Eurocurrency Rate Loan” means a Loan that bears interest at a rate determined by
reference to the Eurocurrency Rate.

         “Eurocurrency Reserve Percentage” means, for any day during any Interest Period, the
reserve percentage in effect on such day applicable to the Administrative Agent under
regulations issued from time to time by the Federal Reserve Board for determining the maximum
reserve requirement (including any emergency, special, supplemental or other marginal reserve
requirement) with respect to eurocurrency funding (currently referred to as “Eurocurrency
liabilities” in Regulation D). The Adjusted Eurocurrency Rate for each outstanding
Eurocurrency Rate Loan shall be adjusted automatically as of the effective date of any change in
the Eurocurrency Reserve Percentage.

       “Euros” means the lawful currency of the Participating Member States introduced in
accordance with the EMU Legislation.

        “Event of Default” has the meaning specified in Section 10.1.

       “Excess Availability” means, at any time, (a) the Maximum Credit at such time minus (b)
the aggregate Revolving Credit Outstandings at such time.

        “Exchange Act” means the Securities Exchange Act of 1934, as amended.

        “Excluded Assets” means (i) governmental licenses or state or local franchises, charters
and authorizations and any other property and assets to the extent that the Collateral Agent may
not validly possess a security interest therein under applicable Laws (including, without
limitation, rules and regulations of any Governmental Authority or agency) or the pledge or
creation of a security interest in which would require governmental consent, approval, license or
authorization, other than to the extent such prohibition or limitation is rendered ineffective under
the UCC or other applicable Law notwithstanding such prohibition and other than proceeds and

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receivable thereof, (ii) any particular asset or right under contract, if the pledge thereof or the
security interest therein is prohibited or restricted by applicable Law (including, without
limitation, rules and regulations of any Governmental Authority or agency) or any third party (so
long as any agreement with such third party that provides for such prohibition or restriction was
not entered into in contemplation of the acquisition of such assets or entering into of such
contract or for the purpose of creating such prohibition or restriction), other than to the extent
such prohibition or restriction is rendered ineffective under the UCC or other applicable Law,
notwithstanding such prohibition, and other than proceeds and receivable thereof, (iii) any
written agreement, license or lease or any property subject to a purchase money security interest,
capital lease obligations or similar arrangement permitted hereunder, in each case, to the extent
the grant of a security interest therein would violate or invalidate such lease, license or
agreement or purchase money or similar arrangement or would give rise to a termination right in
favor of any other party thereto (other than Holdings or any of its Subsidiaries) after giving effect
to the applicable anti-assignment provisions of the UCC or other applicable Laws, in each case,
only to the extent that such limitation on such pledge or security interest is otherwise permitted
under Section 9.9, other than proceeds and receivable thereof, the assignment of which is
expressly deemed effective under the UCC or other applicable Laws, notwithstanding such
prohibition, (iv) Equity Interests in any non-wholly owned Subsidiaries and any entities which
do not constitute Subsidiaries, but only to the extent that (x) the Organization Documents or
other agreements with equity holders of such non-wholly owned Restricted Subsidiaries or other
entities do not permit or restrict the pledge of such Equity Interests, or (y) the pledge of such
Equity Interests (including any exercise of remedies) would result in a change of control,
repurchase obligation or other adverse consequence to any of the Loan Parties or such non-
wholly owned Restricted Subsidiary or other entity), (v) any intent-to-use trademark application
prior to the filing of a “Statement of Use” or “Amendment to Allege Use” with respect thereto, to
the extent, if any, that, and solely during the period, if any, in which the grant of a security
interest therein would impair the validity or enforceability of such intent-to-use trademark
application under applicable federal law and (vi) assets in circumstances where the cost of
obtaining a security interest in such assets, including, without limitation, the cost of title
insurance, surveys or flood insurance (if necessary) would be excessive in light of the practical
benefit to the Lenders afforded thereby as reasonably determined by the Borrower, the
Administrative Agent, the Collateral Agent and the Co-Collateral Agent; provided, however, that
Excluded Assets shall not include any proceeds, substitutions or replacements of any Excluded
Assets referred to in clause (i) through (vi) (unless such proceeds, substitutions or replacements
would independently constitute Excluded Assets referred to in clauses (i) through (vi)).

        “Excluded Accounts” means (a) any Deposit Account specifically, solely and exclusively
used for escrow arrangements, fiduciary arrangements, or trust arrangements, in each case, for
the benefit of unaffiliated third parties or for making payments in respect of payroll, employee
wage and benefit payments or taxes, and (b) any Deposit Account so long as the balance in each
such account, individually, does not exceed $3,000,000 at any time and the aggregate balance of
all such Deposit Accounts under this clause (b) does not at any time exceed $3,000,000.

         “Excluded Subsidiary” means (a) any Subsidiary that is not a wholly owned Subsidiary of
the Borrower or a Guarantor, (b) any CFC, (c) any CFC Holdco, (d) any Domestic Subsidiary
that is a direct or indirect Subsidiary of a CFC, (e) any Subsidiary that is prohibited or restricted
by applicable Law or by Contractual Obligations existing on the Closing Date (or, in the case of

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any newly acquired Subsidiary, in existence at the time of acquisition but not entered into in
contemplation thereof) from providing a Guaranty or if such Guaranty would require
governmental (including regulatory) consent, approval, license or authorization, (f) [reserved],
(g) any Subsidiary that is a not-for-profit organization, (h) any Subsidiary, the obtaining of a
Guarantee with respect to which would result in material adverse tax consequences as reasonably
determined by the Borrower in good faith consultation with the Administrative Agent, the Co-
Collateral Agent and the Collateral Agent (including as a result of the operation of Section 956
of the Code), (i) [reserved], (j) each Unrestricted Subsidiary, (k) any Captive Insurance
Subsidiary, and (l) any other Subsidiary with respect to which, in the reasonable judgment of the
Administrative Agent, the Co-Collateral Agent, the Collateral Agent and the Borrower, the cost
or other consequences (including any adverse tax consequences) of providing the Guaranty
outweighs the benefits to be obtained by the Lenders therefrom.

         “Excluded Swap Obligation” means, with respect to any Guarantor, any Swap Obligation
if, and to the extent that, all or a portion of the guarantee of such Guarantor of, or the grant by
such Guarantor of a security interest to secure, as applicable, such Swap Obligation (or any
guarantee thereof) is or becomes illegal under the Commodity Exchange Act or any rule,
regulation or order of the Commodity Futures Trading Commission (or the application or official
interpretation of any thereof) (a) by virtue of such Guarantor’s failure to constitute an “eligible
contract participant,” as defined in the Commodity Exchange Act and the regulations thereunder,
at the time the guarantee of (or grant of such security interest by, as applicable) such Guarantor
becomes or would become effective with respect to such Swap Obligation or (b) in the case of a
Swap Obligation that is subject to a clearing requirement pursuant to section 2(h) of the
Commodity Exchange Act, because such Guarantor is a “financial entity,” as defined in section
2(h)(7)(C) of the Commodity Exchange Act, at the time the guarantee of (or grant of such
security interest by, as applicable) such Guarantor becomes or would become effective with
respect to such Swap Obligation. If a Swap Obligation arises under a master agreement
governing more than one Swap, such exclusion shall apply only to the portion of such Swap
Obligation that is attributable to Swaps for which such guarantee or security interest is or
becomes illegal under the Commodity Exchange Act or any rule, regulation or order of the
Commodity Futures Trading Commission (or the application or official interpretation of any
thereof).

       “fair market value” means, with respect to any asset or liability, the fair market value of
such asset or liability as determined by the Borrower in good faith.

        “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations or official
interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1) of the Code
and any fiscal or regulatory legislation, rules or practices adopted pursuant to any
intergovernmental agreement, treaty or convention among Governmental Authorities and
implementing such Sections of the Code.

       “Federal Funds Rate” means, for any day, the rate calculated by the Federal Reserve
Bank of New York based on such day’s federal funds transactions by depository institutions (as
determined in such manner as the Federal Reserve Bank of New York shall set forth on its public

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website from time to time) and published on the next succeeding Business Day by the Federal
Reserve Bank of New York as the federal funds effective rate; provided, that if the Federal
Funds Effective Rate for any day is less than zero, the Federal Funds Effective Rate for such day
will be deemed to be zero.

       “Federal Reserve Board” means the Board of Governors of the United States Federal
Reserve System, or any successor thereto.

       “Fee Letter” means that certain Fee Letter entered into on October 4, 2018 between
Barclays Bank PLC, Citizens Bank, N.A. and the Borrower.

        “Field Examination” has the meaning specified in Section 7.4(d).

        “Final Order” means an order or judgment as entered on the docket of the Bankruptcy
Court with respect to the Cases substantially in the form of the Interim Order, with only such
modifications as are satisfactory in form and substance to the Administrative Agent, the
Collateral Agent and the Co-Collateral Agent, which order shall have been entered on such prior
notice to such parties as may be satisfactory to the Administrative Agent, the Collateral Agent
and the Co-Collateral Agent, which order shall not have been vacated, reversed, modified,
amended or stayed without the consent of the Administrative Agent, the Collateral Agent and the
Co-Collateral Agent in their sole discretion.

        “Financial Asset” has the meaning given to such term in Article 8 of the UCC.

        “Financial Covenants” shall mean the covenants set forth in Section 6.1 and Section 6.2.

        “First Day Orders” has the meaning specified in Section 8.15(f).

        “Fiscal Quarter” means a fiscal quarter of any Fiscal Year.

      “Fiscal Year” means the fiscal year of the Borrower and its Subsidiaries ending on the
Tuesday closest to September 30 in the following calendar year.

        “Flood Insurance Laws” shall mean, collectively, (i) the National Flood Insurance Act of
1968 as now or hereafter in effect or any successor statute thereto, (ii) the Flood Disaster
Protection Act of 1973 as now or hereafter in effect or any successor statue thereto, (iii) the
National Flood Insurance Reform Act of 1994 as now or hereafter in effect or any successor
statute thereto, (iv) the Flood Insurance Reform Act of 2004 as now or hereafter in effect or any
successor statute thereto and (v) Biggert- Waters Flood Insurance Reform Act of 2012 as now or
hereafter in effect or any successor statute thereto.

        “Foreign Lender” has the meaning specified in Section 3.1(b).

      “Foreign Subsidiary” means any direct or indirect Subsidiary of the Borrower that is not
a Domestic Subsidiary.

       “Fronting Exposure” means, at any time there is a Defaulting Lender, (a) with respect to
an Issuer, such Defaulting Lender’s Applicable Percentage of the outstanding Letter of Credit

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Obligations to the extent that such Defaulting Lender’s Applicable Percentage of such
outstanding Letter of Credit Obligations has not been reallocated pursuant to Section 2.16(a)(iv)
or Cash Collateralized pursuant to Section 2.16(c), and (b) with respect to the Swing Loan
Lender, such Defaulting Lender’s Applicable Percentage of Swing Loans to the extent that such
Defaulting Lender’s Applicable Percentage of Swing Loans has not been reallocated pursuant to
Section 2.16(a)(iv) or Cash Collateralized pursuant to Section 2.16(c).

        “Fund” means any Person (other than a natural person) that is engaged in making,
purchasing, holding or otherwise investing in commercial loans and similar extensions of credit
in the ordinary course.

         “GAAP” means generally accepted accounting principles in the United States, as in
effect from time to time; provided, however, that if the Borrower notifies the Administrative
Agent that the Borrower requests an amendment to any provision hereof to eliminate the effect
of any change occurring after the Closing Date in GAAP or in the application thereof on the
operation of such provision (or if the Administrative Agent notifies the Borrower that the
Requisite Lenders request an amendment to any provision hereof for such purpose), regardless of
whether any such notice is given before or after such change in GAAP or in the application
thereof, then such provision shall be interpreted on the basis of GAAP as in effect and applied
immediately before such change shall have become effective until such notice shall have been
withdrawn or such provision amended in accordance herewith.

        “Governmental Authority” means the government of the United States or any other
nation, or of any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality, regulatory body, court, central bank or other entity exercising executive,
legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to
government (including any supra-national bodies such as the European Union or the European
Central Bank).

        “Granting Lender” has the meaning specified in Section 12.2(g).

        “Guarantee” means, as to any Person, without duplication, (a) any obligation, contingent
or otherwise, of such Person guaranteeing or having the economic effect of guaranteeing any
Indebtedness or other monetary obligation payable or performable by another Person (the
“primary obligor”) in any manner, whether directly or indirectly, and including any obligation of
such Person, direct or indirect, (i) to purchase or pay (or advance or supply funds for the
purchase or payment of) such Indebtedness or other monetary obligation, (ii) to purchase or lease
property, securities or services for the purpose of assuring the obligee in respect of such
Indebtedness or other monetary obligation of the payment or performance of such Indebtedness
or other monetary obligation, (iii) to maintain working capital, equity capital or any other
financial statement condition or liquidity or level of income or cash flow of the primary obligor
so as to enable the primary obligor to pay such Indebtedness or other monetary obligation, or (iv)
entered into for the purpose of assuring in any other manner the obligee in respect of such
Indebtedness or other monetary obligation of the payment or performance thereof or to protect
such obligee against loss in respect thereof (in whole or in part), or (b) any Lien on any assets of
such Person securing any Indebtedness or other monetary obligation of any other Person,
whether or not such Indebtedness or other monetary obligation is assumed by such Person (or

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any right, contingent or otherwise, of any holder of such Indebtedness to obtain any such Lien);
provided that the term “Guarantee” shall not include endorsements for collection or deposit, in
either case in the Ordinary Course of Business, or customary and reasonable indemnity
obligations in effect on the Closing Date or entered into in connection with any acquisition or
disposition of assets permitted under this Agreement (other than such obligations with respect to
Indebtedness). The amount of any Guarantee shall be deemed to be an amount equal to the
stated or determinable amount of the related primary obligation, or portion thereof, in respect of
which such Guarantee is made or, if not stated or determinable, the maximum reasonably
anticipated liability in respect thereof as determined by the guaranteeing Person in good faith.
The term “Guarantee” as a verb has a corresponding meaning.

        “Guarantors” has the meaning specified in the definition of “Collateral and Guarantee
Requirement”. For avoidance of doubt, the Borrower may cause any Restricted Subsidiary that
is not an Excluded Subsidiary to Guarantee the Obligations by causing such Restricted
Subsidiary to execute a supplement to the Guaranty in substantially the form attached thereto,
and thereafter any such Restricted Subsidiary shall be a Guarantor hereunder and thereunder for
all purposes.

        “Guaranty” means (a) the guaranty made by Holdings and the other Guarantors in favor
of the Administrative Agent on behalf of the Secured Parties pursuant to clause (b) of the
definition of “Collateral and Guarantee Requirement,” substantially in the form of Exhibit G, and
(b) each other guaranty and guaranty supplement delivered pursuant to Section 8.11.

         “Hazardous Materials” means all explosive or radioactive substances or wastes, all
hazardous or toxic substances, and all wastes or pollutants, including petroleum or petroleum
distillates, asbestos or asbestos-containing materials, polychlorinated biphenyls, radon gas and
infectious or medical wastes regulated pursuant to any Environmental Law.

       “Hedge Bank” means, with respect to any Swap Contract, as of any date of
determination, (a) any Person that is a Lender or an Affiliate of a Lender on such date or (b) any
Person who (i) was a Lender or an Affiliate of a Lender at the time such Swap Contract was
entered into and who is no longer a Lender or an Affiliate of a Lender, (ii) is, and at all times
remains, in compliance with the provisions of Section 11.13(b)(i) and (iii) agrees in writing that
the Agents and the other Secured Parties shall have no duty to such Person (other than the
payment of any amounts to which such Person may be entitled under Section 10.3) and
acknowledges that the Agents and the other Secured Parties may deal with the Loan Parties and
the Collateral as they deem appropriate (including the release of any Loan Party or all or any
portion of the Collateral) without notice or consent from such Person, whether or not such action
impairs the ability of such Person to be repaid Obligations owing to it in respect of the Secured
Hedge Agreements to which it is a party) and agrees to be bound by Section 11.13(b)(ii).

        “Holdings” has the meaning specified in the introductory paragraph to this Agreement.

       “IFRS” means international accounting standards within the meaning of the IAS
Regulation 1606/2002 to the extent applicable to the relevant financial statements; provided,
however, that if the Borrower notifies the Administrative Agent that the Borrower requests an
amendment to any provision hereof to eliminate the effect of any change occurring after the

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Closing Date in IFRS or in the application thereof (including through the adoption of GAAP) on
the operation of such provision (or if the Administrative Agent notifies the Borrower that the
Requisite Lenders request an amendment to any provision hereof for such purpose), regardless of
whether any such notice is given before or after such change in IFRS or in the application thereof
(including through the adoption of GAAP), then such provision shall be interpreted on the basis
of IFRS as in effect and applied immediately before such change shall have become effective
until such notice shall have been withdrawn or such provision amended in accordance herewith

        “Initial Orders” has the meaning specified in Section 8.15(f)

        “In-Transit Advance Rate” means 90%.

        “In-Transit Inventory” means Inventory located outside of the United States or in transit
within or outside of the United States to the Borrower or any Subsidiary Guarantor from vendors
and suppliers that has not yet been received into a distribution center or store of such Person.

       “In-Transit Trigger Period” means the period beginning on the date on which the
Borrower has failed to maintain Excess Availability at least equal to the greater of (a) 20% of the
Maximum Credit or (b) $12,500,000 in either case, for five (5) consecutive Business Days, and
ending on the date Excess Availability shall have been equal to or greater than the greater of (x)
20% of the Maximum Credit and (y) $12,500,000, in each case, for thirty (30) consecutive
calendar days.

        “Indebtedness” means, as to any Person at a particular time, without duplication, all of
the following:

               (vvv) all obligations of such Person for borrowed money and all obligations of
        such Person evidenced by bonds, debentures, notes, loan agreements or other similar
        instruments;

               (www) the maximum amount (after giving effect to any prior drawings or
        reductions that may have been reimbursed) of all outstanding letters of credit (including
        standby and commercial), bankers’ acceptances, bank guaranties, surety bonds,
        performance bonds and similar instruments issued or created by or for the account of
        such Person;

                (xxx) net obligations of such Person under any Swap Contract;

                 (yyy) all obligations of such Person to pay the deferred purchase price of
        property or services (other than (i) trade accounts and accrued expenses payable in the
        Ordinary Course of Business, (ii) any earn-out obligation until such obligation is not paid
        within 30 days after becoming due and payable and becomes a liability on the balance
        sheet of such Person in accordance with IFRS and (iii) accruals for payroll and other
        liabilities accrued in the Ordinary Course of Business);

               (zzz) indebtedness (excluding prepaid interest thereon) secured by a Lien on
        property owned or being purchased by such Person (including indebtedness arising under
        conditional sales or other title retention agreements and mortgage, industrial revenue

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        bond, industrial development bond and similar financings), whether or not such
        indebtedness shall have been assumed by such Person or is limited in recourse;

                (aaaa) all Attributable Indebtedness;

               (bbbb) all obligations of such Person in respect of Disqualified Equity Interests if
        and to the extent that the foregoing would constitute indebtedness or a liability in
        accordance with IFRS; and

                (cccc) to the extent not otherwise included above, all Guarantees of such Person
        in respect of any of the foregoing.

        For all purposes hereof, the Indebtedness of any Person shall (A) include the
Indebtedness of any partnership or joint venture (other than a joint venture that is itself a
corporation or limited liability company) in which such Person is a general partner or a joint
venturer, except to the extent such Person’s liability for such Indebtedness is otherwise limited
and only to the extent such Indebtedness would be included in the calculation of Consolidated
Total Debt and (B) in the case of the Borrower and its Subsidiaries, exclude all intercompany
Indebtedness having a term not exceeding 364 days (inclusive of any roll over or extensions of
terms) and made in the Ordinary Course of Business. The amount of any net obligation under
any Swap Contract on any date shall be deemed to be the Swap Termination Value thereof as of
such date. The amount of Indebtedness of any Person for purposes of clause (e) shall be deemed
to be equal to the lesser of (i) the aggregate unpaid amount of such Indebtedness and (ii) the fair
market value (as determined by such Person in good faith) of the property encumbered thereby
as determined by such Person in good faith.

        “Indemnified Liabilities” has the meaning specified in Section 12.4(a).

        “Indemnitees” has the meaning specified in Section 12.4(a).

       “Independent Financial Advisor” means an accounting, appraisal, investment banking
firm or consultant of nationally recognized standing that is, in the good faith judgment of the
Borrower, qualified to perform the task for which it has been engaged and that is independent of
the Borrower and its Affiliates.

        “Information” has the meaning specified in Section 12.19.

      “Initial Field Examination” means that certain initial field examination to be prepared by
Hilco Global for the Administrative Agent in form and detail reasonably satisfactory to the
Administrative Agent.

        “Initial Inventory Appraisal” means that certain initial inventory appraisal report to be
prepared by Hilco Global for the Administrative Agent in form and detail reasonably satisfactory
to the Administrative Agent.

      “Intellectual Property Security Agreements” has the meaning specified in the Security
Agreement.


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        “Intercompany Subordination Agreement” means an agreement executed by each
Restricted Subsidiary of the Borrower, in substantially the form of Exhibit K, as amended,
restated, supplemented or otherwise modified from time to time.

        “Interest Period” means, as to each Eurocurrency Rate Loan, the period commencing on
the date such Eurocurrency Rate Loan is disbursed or converted to or continued as a
Eurocurrency Rate Loan and ending on the date one, two, three or six months thereafter, or to the
extent consented to by each applicable Lender, twelve months (or such period of less than one
month as may be consented to by each applicable Lender), as selected by the Borrower in its
Notice of Borrowing or Notice of Conversion or Continuation; provided that:

               (dddd) any Interest Period that would otherwise end on a day that is not a
        Business Day shall be extended to the next succeeding Business Day unless such
        Business Day falls in another calendar month, in which case such Interest Period shall
        end on the immediately preceding Business Day;

                (eeee) any Interest Period (other than an Interest Period having a duration of less
        than one month) that begins on the last Business Day of a calendar month (or on a day for
        which there is no numerically corresponding day in the calendar month at the end of such
        Interest Period) shall end on the last Business Day of the calendar month at the end of
        such Interest Period; and

              (ffff) no Interest Period shall extend beyond the applicable Scheduled
        Termination Date of the Class of Loans of which the Eurocurrency Rate Loan is a part.

        “Interim Order” means the order or judgment of the Bankruptcy Court as entered on the
docket of the Bankruptcy Court with respect to the Cases substantially in the form of Exhibit R
and otherwise acceptable to the Co-Collateral Agent, the Collateral Agent and the Administrative
Agent, approving, inter alia, this Agreement and the other Loan Documents, and (a) authorizing
the incurrence by the Borrower of interim secured indebtedness in accordance with this
Agreement, (b) providing for the lifting of the automatic stay (to the extent applicable) arising
under section 362 of the Bankruptcy Code to enable the Administrative Agent, the Collateral
Agent, a Co-Collateral Agent or any Lender effectuate, among other things, their respective
rights and remedies under Section 10.2 and 10.3 and the Loan Documents), and (c) subject to the
terms thereof, approving the payment by the Borrower of the fees and other amounts
contemplated by this Agreement, which order shall not have been vacated, reversed, modified,
amended or stayed without the consent of the Administrative Agent, the Collateral Agent and the
Co-Collateral Agent in their sole discretion.

       “Interim Order Period” means the period of time from the time at which the Bankruptcy
Court enters the Interim Order until the time at which the Bankruptcy Court enters the Final
Order.

        “Interpolated Rate” means, in relation to the LIBO Rate, the rate which results from
interpolating on a linear basis between:

                (gggg) the applicable LIBO Rate for the longest period (for which that LIBO Rate
        is available) which is less than the Interest Period of that Loan; and
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                (hhhh) the applicable LIBO Rate for the shortest period (for which that LIBO
        Rate is available) which exceeds the Interest Period of that Loan,

each as of approximately 11:00 a.m. (London, England time) two Business Days prior to the
commencement of such Interest Period of that Loan.

        “Intra-Group Debt Restricted Payment” has the meaning set forth in Section 9.14.

        “Inventory” has the meaning given to such term in Article 9 of the UCC.

        “Inventory Advance Rate” means 90%.

          “Inventory Reserves” means (a) such reserves as may be established from time to time
by the Administrative Agent, the Co-Collateral Agent and the Collateral Agent, in their
respective Permitted Discretion, with respect to changes in the determination of the saleability, at
retail, of the Eligible Inventory or which reflect such other factors as negatively affect the market
value of the Eligible Inventory, including the closing of any store (including, without limitation,
transportation and refurbishment costs and expenses), the rejection of any store lease or a
proposed going out of business sale at any store and (b) Shrink Reserves.

        “Investment” means, as to any Person, any direct or indirect acquisition or investment by
such Person, whether by means of (a) the purchase or other acquisition (including without
limitation by merger or otherwise) of Equity Interests or debt or other securities of another
Person, (b) a loan, advance or capital contribution (excluding accounts receivable, credit card
and debit card receivables, trade credit, advances to customers, commission, travel and similar
advances to employees, directors, officers, members of management, manufacturers and
consultants, in each case made in the Ordinary Course of Business) to, Guarantee or assumption
of Indebtedness of, or purchase or other acquisition of any other debt or equity participation or
interest in, another Person, including any partnership or joint venture interest in such other
Person or (c) the purchase or other acquisition (in one transaction or a series of transactions,
including without limitation by merger or otherwise) of all or substantially all of the property and
assets or business of another Person or assets constituting a business unit, line of business or
division of such Person. For purposes of the definition of “Unrestricted Subsidiary”:

        (1)    “Investments” shall include the portion (proportionate to the Borrower’s Equity
Interest in such Subsidiary) of the fair market value of the net assets of a Subsidiary of the
Borrower at the time that such Subsidiary is designated an Unrestricted Subsidiary; provided,
that upon a redesignation of such Subsidiary as a Restricted Subsidiary, the Borrower shall be
deemed to continue to have a permanent “Investment” in an Unrestricted Subsidiary in an
amount (if positive) equal to:

               (iiii) the Borrower’s “Investment” in such Subsidiary at the time of such
        redesignation; less

               (jjjj) the portion (proportionate to the Borrower’s Equity Interest in such
        Subsidiary) of the fair market value of the net assets of such Subsidiary at the time of
        such redesignation; and


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         (2)    any property transferred to or from an Unrestricted Subsidiary shall be valued at
its fair market value at the time of such transfer.

        The amount of any Investment outstanding at any time (including for purposes of
calculating the amount of any Investment outstanding at any time under any provision of the
covenant described Section 9.2 and otherwise determining compliance with such covenant) shall
be the original cost of such Investment (determined, in the case of any Investment made with
assets of the Borrower or any Restricted Subsidiary, based on the fair market value of the assets
invested and without taking into account subsequent increases or decreases in value), reduced
(but not in excess of the original amount of such Investment) by any dividend, distribution,
interest payment, return of capital, repayment or other amount received in cash by the Borrower
or a Restricted Subsidiary in respect of such Investment. Any Investment in the form of a loan
or an advance shall be the principal amount thereof outstanding on such date, minus any cash
payments actually received by such investor representing interest in respect of such Investment
(to the extent any such payment to be deducted does not exceed the remaining principal amount
of such Investment), but without any adjustment for write-downs or write-offs (including as a
result of forgiveness of any portion thereof) with respect to such loan or advance after the date
thereof. Any Investment in the form of a Guarantee shall be equal to the stated or determinable
amount of the related primary obligation, or portion thereof, in respect of which such Guarantee
is made or, if not stated or determinable, the maximum reasonably anticipated liability in respect
thereof.

       “Investment Grade Rating” means a rating equal to or higher than Baa3 (or the
equivalent) by Moody’s and BBB- (or the equivalent) by S&P, or an equivalent rating by any
other nationally recognized statistical rating agency selected by the Borrower.

        “IP Rights” has the meaning specified in Section 5.15.

        “IRS” means the Internal Revenue Service of the United States.

        “ISP” means, with respect to any Letter of Credit, the “International Standby Practices
1998” published by the Institute of International Banking Law & Practice (or such later version
thereof as may be in effect at the time of issuance).

       “Issue” means, with respect to any Letter of Credit, to issue, extend the expiry of, amend,
renew or increase the maximum face amount (including by deleting or reducing any scheduled
decrease in such maximum face amount) of, such Letter of Credit. The terms “Issued”, “Issuing”
and “Issuance” shall have a corresponding meaning.

       “Issuer” means Barclays and each other Lender or Affiliate of a Lender that (a) is listed
on the signature pages hereof as an “Issuer” and (b) hereafter becomes an Issuer with the
approval of the Administrative Agent and the Borrower by agreeing pursuant to an agreement
with and in form and substance satisfactory to the Administrative Agent and the Borrower to be
bound by the terms hereof applicable to Issuers (and in the case of any resignation, subject to and
in accordance with Section 12.2(h)). Notwithstanding anything herein to the contrary, neither
Barclays nor any of its branches or Affiliates shall be required to issue any commercial or
documentary letters of credit hereunder.

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        “Issuer Documents” means, with respect to any Letter of Credit, the Letter of Credit
Request, and any other document, agreement and instrument entered into by an Issuer and the
Borrower (or any of its Subsidiaries) or in favor of such Issuer and relating to such Letter of
Credit.

        “Joint Venture” means (a) any Person which would constitute an “equity method
investee” of the Borrower or any of the Restricted Subsidiaries and (b) any Person in whom the
Borrower or any of the Restricted Subsidiaries beneficially owns any Equity Interest that is not a
Restricted Subsidiary (other than an Unrestricted Subsidiary).

        “Judgment Currency” has the meaning specified in Section 12.10.

        “Junior Financing” has the meaning specified in Section 9.12(a)(i). For the avoidance of
doubt, the Stripes Intra-Group Loan Agreement, the DIP Term Loan Credit Agreement and the
Second Lien Credit Agreement constitute Junior Financing.

       “Junior Financing Documentation” means any documentation governing any Junior
Financing.

       “L/C Credit Extension” means, with respect to any Letter of Credit, the issuance thereof
or extension of the expiry date thereof, or the renewal or increase of the amount thereof.

        “Landlord Lien State” means any state in which, at any time, a landlord’s claim for rent
has priority notwithstanding any contractual provision to the contrary by operation of applicable
Law over the lien of the Collateral Agent in any of the Collateral.

         “Laws” means, collectively, all international, foreign, federal, state and local statutes,
treaties, rules, guidelines, regulations, ordinances, codes and administrative or judicial
precedents or authorities and executive orders, including the interpretation or administration
thereof by any Governmental Authority charged with the enforcement, interpretation or
administration thereof, and all applicable administrative orders, directed duties, requests,
licenses, authorizations and permits of, and agreements with, any Governmental Authority.

        “Lender” means the Swing Loan Lender, Revolving Credit Lender and each other
financial institution or other entity that (a) is listed on the signature pages hereof as a “Lender” or
(b) from time to time becomes a party hereto by execution of an Assignment and Assumption.

       “Lending Office” means, as to any Lender, the office or offices of such Lender described
as such in such Lender’s Administrative Questionnaire, or such other office or offices as a
Lender may from time to time notify the Borrower and the Administrative Agent.

        “Letter of Credit” means any letter of credit Issued (or deemed Issued) pursuant to
Section 2.4. A Letter of Credit may be a Documentary Letter of Credit or a Standby Letter of
Credit. The Pre-Petition Letters of Credit shall constitute Letters of Credit hereunder.

        “Letter of Credit Borrowing” means an extension of credit resulting from a drawing
under any Letter of Credit that has not been reimbursed on the applicable Reimbursement Date
or refinanced as a Revolving Loan.

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        “Letter of Credit Fee” has the meaning specified in Section 2.12(b).

         “Letter of Credit Obligations” means, at any time, the aggregate of all liabilities at such
time of any Loan Party to all Issuers with respect to Letters of Credit, whether or not any such
liability is contingent, including, without duplication, the sum of (a) the Reimbursement
Obligations at such time and (b) the Letter of Credit Undrawn Amounts at such time.

       “Letter of Credit Reimbursement Agreement” has the meaning specified in clause (v) of
the proviso to clause (a) of Section 2.4.

        “Letter of Credit Request” has the meaning specified in Section 2.4(c).

       “Letter of Credit Sublimit” means the lesser of (i) $30,000,000 and (ii) the principal
amount of Barclays’ Revolving Credit Commitment. The Letter of Credit Sublimit is part of,
and not in addition to, the Revolving Credit Commitments.

      “Letter of Credit Undrawn Amounts” means, at any time, the aggregate undrawn face
amount of all Letters of Credit outstanding at such time.

        “LIBO Rate” has the meaning specified in the definition of “Eurocurrency Rate”.

        “Lien” means any mortgage, pledge, hypothecation, assignment, deposit arrangement,
encumbrance, lien (statutory or other), charge, or preference, priority or other security interest or
preferential arrangement of any kind or nature whatsoever (including any conditional sale or
other title retention agreement, any easement, right of way or other encumbrance on title to real
property, and any Capitalized Lease having substantially the same economic effect as any of the
foregoing); provided, that in no event shall an operating lease in and of itself be deemed a Lien.

      “Lien Acknowledgment Agreement” means each Collateral Access Agreement and
Customs Broker Agreement.

         “Liquidation” means the exercise by the Collateral Agent or the Administrative Agent of
those rights and remedies accorded to the Collateral Agent or the Administrative Agent under the
Loan Documents and applicable Law as a creditor of the Loan Parties with respect to the
realization on the Collateral, including (after the occurrence and continuation of an Event of
Default) the conduct by the Loan Parties acting with the consent of the Collateral Agent or the
Administrative Agent, of any public, private or “going out of business” sale or other disposition
of the Collateral for the purpose of liquidating the Collateral. Derivations of the word
“Liquidation” (such as “Liquidate”) are used with like meaning in this Agreement.

      “Loan” means any loan made by any Lender pursuant to this Agreement, including
Swing Loans.

        “Loan Documents” means, collectively, (a) this Agreement, (b) the Revolving Credit
Notes, (c) the Guaranty, (d) the Commitment Letter, (e) each Letter of Credit Reimbursement
Agreement, (f) the Collateral Documents, (g) the Issuer Documents, (h) any Customary
Intercreditor Agreement, (i) the Fee Letter, (j) the Borrowing Base Certificates and (k) the DIP
Intercreditor Agreement.

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      “Loan Parties” means, collectively, (a) Holdings, (b) the Borrower and (c) each other
Guarantor.

       “Margin Stock” has the meaning set forth in Regulation U of the Board of Governors of
the United States Federal Reserve System, or any successor thereto.

        “Master Agreement” has the meaning specified in the definition of “Swap Contract”.

        “Material Adverse Effect” means any event, facts, or circumstances, which, after the
Closing Date, has a material adverse effect on (a) the business, assets, operations, financial
condition or income of the Loan Parties taken as a whole, or (b) the validity or enforceability of
the Loan Documents or any of the rights or remedies of the Administrative Agent, the Co-
Collateral Agent, the Collateral Agent or the Lenders thereunder (it being understood that
Material Adverse Effect shall exclude (i) any matters publicly disclosed prior to the Petition Date
and (ii) matters resulting from the Cases and the events and conditions related and/or leading up
to the Cases and the effects thereof).

        “Material Domestic Subsidiary” means, at any date of determination, each of the
Borrower’s Domestic Subsidiaries (a) whose total assets at the last day of the most recent Test
Period were equal to or greater than 2.5% of Total Assets at such date or (b) whose gross
revenues for such Test Period were equal to or greater than 2.5% of the consolidated gross
revenues of the Borrower and the Restricted Subsidiaries for such period, in each case
determined in accordance with IFRS; provided that if, at any time and from time to time after the
Closing Date, Domestic Subsidiaries that are not Guarantors solely because they do not meet the
thresholds set forth in clauses (a) or (b) comprise in the aggregate more than 5.0% of Total
Assets as of the end of the most recently ended Fiscal Quarter of the Borrower for which
financial statements have been delivered pursuant to Section 7.1 or more than 5.0% of the
consolidated gross revenues of the Borrower and the Restricted Subsidiaries for the period of
four consecutive Fiscal Quarters ending as of the last day of such Fiscal Quarter, then the
Borrower shall, not later than forty-five (45) days after the date by which financial statements for
such quarter are required to be delivered pursuant to this Agreement (or such longer period as
may be agreed by the Administrative Agent in its reasonable discretion), (i) designate in writing
to the Administrative Agent one or more of such Domestic Subsidiaries as “Material Domestic
Subsidiaries” to the extent required such that the foregoing condition ceases to be true and (ii)
comply with the provisions of Sections 8.11, 8.12 and 8.13 applicable to such Subsidiary.

       “Material Foreign Subsidiary” means, at any date of determination, each of the
Borrower’s Foreign Subsidiaries (a) whose total assets at the last day of the most recent Test
Period were equal to or greater than 2.5% of Total Assets at such date or (b) whose gross
revenues for such Test Period were equal to or greater than 2.5% of the consolidated gross
revenues of the Borrower and the Restricted Subsidiaries for such period, in each case
determined in accordance with IFRS.

       “Material Subsidiary” means any Material Domestic Subsidiary or any Material Foreign
Subsidiary.



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       “Mattress Firm Card” means the private label credit card issued by Synchrony Bank
pursuant to the Credit Card Agreement of the Borrower or any Subsidiary Guarantor with such
bank (or any subsequent Credit Card Issuer with respect to such private label credit card) to
customers or prospective customers of the Borrower or a Subsidiary Guarantor.

        “Mattress Firm Card Receivables” means, collectively, but without duplication, (a) all
present and future rights of the Borrower or any Guarantor to payment from the issuer of the
Mattress Firm Card arising from sales of goods or rendition of services to customers who have
purchased such goods or services using the Mattress Firm Card and (b) all present and future
rights of the Borrower or any Guarantor to payment from the issuer of the Mattress Firm Card in
connection with the sale or transfer of Accounts arising pursuant to the sale of goods or rendition
of services to customers who have purchased such goods or services using the Mattress Firm
Card, including, but not limited to, all amounts at any time due or to become due from the issuer
of the Mattress Firm Card under the Credit Card Agreement of the Borrower or any Subsidiary
Guarantor with such issuer or otherwise, in each case above calculated net of prevailing
interchange charges.

       “Maximum Credit” means, at any time, the lesser of (i) the Revolving Credit
Commitments in effect at such time less the Carve Out Reserve and (ii) the Borrowing Base at
such time.

        “Maximum Rate” has the meaning specified in Section 12.27.

         “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

       “Mortgage Policies” has the meaning specified in paragraph (e) of the definition of
“Collateral and Guarantee Requirement”.

       “Mortgaged Properties” has the meaning specified in paragraph (e) of the definition of
“Collateral and Guarantee Requirement”.

        “Mortgages” means, collectively, the deeds of trust, trust deeds, hypothecs and
mortgages made by the Loan Parties in favor or for the benefit of the Collateral Agent on behalf
of the Lenders in form and substance reasonably satisfactory to the Collateral Agent (taking
account of relevant local Law matters), and any other mortgages executed and delivered pursuant
to Sections 8.11or 8.13.

       “Multiemployer Plan” means any multiemployer plan as defined in Section 4001(a)(3) of
ERISA and subject to Title IV of ERISA, to which any Loan Party or any of their respective
ERISA Affiliates makes or is obligated to make contributions, or during the preceding five plan
years has made or been obligated to make contributions.

        “Net Cash Proceeds” means:

               (kkkk) with respect to (x) the Disposition of any asset by the Borrower or any of
        the Restricted Subsidiaries or (y) with respect to any casualty or condemnation event, (i)
        insurance proceeds paid on account of any loss of or damage to or (ii) awards of
        compensation arising from the taking by eminent domain or condemnation of, in each

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        case, any assets of the Borrower or any of the Restricted Subsidiaries (any such event in
        this clause (y), a “C&C Event”), the excess, if any, of (i) the sum of cash and Cash
        Equivalents received by the Borrower or any of the Restricted Subsidiaries in connection
        with such Disposition (including any cash and Cash Equivalents received by way of
        deferred payment pursuant to, or by monetization of, a note receivable or otherwise, but
        only as and when so received) or C&C Event, as applicable, over (ii) the sum of (A) the
        principal amount, premium or penalty, if any, interest and other amounts on any
        Indebtedness that is secured by the asset subject to such Disposition or C&C Event and
        that is required to be repaid in connection with such Disposition or C&C Event (other
        than Indebtedness under the Loan Documents), (B) the out-of-pocket fees and expenses
        (including attorneys’ fees, investment banking fees, survey costs, title insurance
        premiums, and related search and recording charges, transfer taxes, deed or mortgage
        recording taxes, other customary expenses and brokerage, consultant and other customary
        fees) actually incurred by the Borrower or such Restricted Subsidiary in connection with
        such Disposition or C&C Event, (C) taxes or distributions made pursuant to Section
        9.6(g)(A) or (g)(C) paid or reasonably estimated to be payable, directly or indirectly, in
        connection therewith (including taxes imposed on the distribution or repatriation of any
        such Net Cash Proceeds), (D) in the case of any Disposition or C&C Event by a non-
        wholly owned Restricted Subsidiary, the pro-rata portion of the Net Cash Proceeds
        thereof (calculated without regard to this clause (D)) attributable to minority interests and
        not available for distribution to or for the account of the Borrower or a wholly owned
        Restricted Subsidiary as a result thereof, and (E) any reserve for adjustment in respect of
        (x) the sale price of such asset or assets established in accordance with IFRS and (y) any
        liabilities associated with such asset or assets and retained by the Borrower or any
        Restricted Subsidiary after such sale or other disposition thereof, including pension and
        other post-employment benefit liabilities and liabilities related to environmental matters
        or against any indemnification obligations associated with such transaction, it being
        understood that “Net Cash Proceeds” shall include the amount of any reversal (without
        the satisfaction of any applicable liabilities in cash in a corresponding amount) of any
        reserve described in this clause (E) as of the date of such reversal; and

                (llll) (i) with respect to the incurrence or issuance of any Indebtedness by the
        Borrower or any Restricted Subsidiary or any Permitted Equity Issuance by the Borrower
        or any direct or indirect parent of the Borrower, the excess, if any, of (A) the sum of the
        cash and Cash Equivalents received in connection with such incurrence or issuance over
        (B) the investment banking fees, underwriting discounts, commissions, costs and other
        out-of-pocket expenses and other customary expenses, incurred by the Borrower or such
        Restricted Subsidiary in connection with such incurrence or issuance and (ii) with respect
        to any Permitted Equity Issuance by any direct or indirect parent of the Borrower, the
        amount of cash from such Permitted Equity Issuance contributed to the capital of the
        Borrower.

        “Net Income” means, with respect to any Person, the net income (loss) of such Person,
determined in accordance with IFRS and before any reduction in respect of preferred stock
dividends.



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       “Net Recovery Percentage” means the fraction, expressed as a percentage, (a) the
numerator of which is the amount equal to the recovery on the aggregate amount of the Inventory
at such time on a “going out of business sale” basis as set forth in the most recent appraisal of
Inventory received by the Administrative Agent, the Co-Collateral Agent and the Collateral
Agent in accordance with Section 7.4, net of operating expenses, liquidation expenses and
commissions, and (b) the denominator of which is the applicable original cost of the aggregate
amount of the Inventory subject to appraisal. The Net Recovery Percentage for any category of
Inventory used in determining the Borrowing Base shall be based on the applicable percentage in
the most recent appraisal conducted as set forth in Section 7.4. The foregoing to the contrary
notwithstanding, until such time as Administrative Agent, the Co-Collateral Agent and the
Collateral Agent shall have received the results of any Updated Inventory Appraisal after the
Closing Date, the Net Recovery Percentage shall be (i) for October 2018, 62.4%, (ii) for
November 2018, 64.7% and (iii) for December 2018, 64.1%, and (iv) for any months thereafter,
the percentage set forth for any such applicable month in the Hilco Inventory Appraisal of
Mattress Firm, Inc. dated August 4, 2018.

        “Non-Bank Certificate” has the meaning specified in Section 3.1(b).

        “Non-Consenting Lender” has the meaning specified in Section 3.7.

        “Non-Loan Party” means any Subsidiary of the Borrower that is not a Loan Party.

        “Notice of Borrowing” has the meaning specified in Section 2.2.

        “Notice of Conversion or Continuation” has the meaning specified in Section 2.11(a).

        “Notice of Intent to Cure” has the meaning specified in Section 7.2.

        “Obligations” means all (a) advances to, and debts, liabilities, obligations, covenants and
duties of, any Loan Party arising under any Loan Document or otherwise with respect to any
Loan or Letter of Credit, whether direct or indirect (including those acquired by assumption),
absolute or contingent, due or to become due, now existing or hereafter arising and including
interest and fees that accrue after the commencement by or against any Loan Party of any
proceeding under any Debtor Relief Laws naming such Person as the debtor in such proceeding,
regardless of whether such interest and fees are allowed claims in such proceeding, (b)
obligations of any Loan Party arising under any Secured Hedge Agreement and (c) obligations of
any Loan Party arising under any Cash Management Obligations, other than, in each case,
Excluded Swap Obligations. Without limiting the generality of the foregoing, the Obligations of
the Loan Parties under the Loan Documents (and any of their Restricted Subsidiaries to the
extent they have obligations under the Loan Documents) include the obligation (including
guarantee obligations) to pay principal, interest, Letter of Credit, reimbursement obligations,
charges, expenses, fees, Attorney Costs, indemnities and other amounts payable by any Loan
Party under any Loan Document.

        “OFAC” has the meaning specified in Section 5.18.

        “OID” means original issue discount.


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        “Orders” means, together, the Interim Order and the Final Order.

        “Ordinary Course of Business” shall mean, with respect to any Person, any ordinary
course business practices engaged in by such Person or other business practice reasonably related
thereto or that is a reasonable extension, development or expansion thereof.

        “Organization Documents” means (a) with respect to any corporation, the certificate or
articles of incorporation and the bylaws (or equivalent or comparable constitutive documents
with respect to any non-U.S. jurisdiction); (b) with respect to any limited liability company, the
certificate or articles of formation or organization and operating agreement; and (c) with respect
to any partnership, joint venture, trust or other form of business entity, the partnership, joint
venture or other applicable agreement of formation or organization and any agreement,
instrument, filing or notice with respect thereto filed in connection with its formation or
organization with the applicable Governmental Authority in the jurisdiction of its formation or
organization and, if applicable, any certificate or articles of formation or organization of such
entity.

         “Other Taxes” has the meaning specified in Section 3.1.

        “Outstanding Amount” means (a) with respect to the Revolving Loans and Swing Loans
on any date, the amount thereof after giving effect to any borrowings and prepayments or
repayments of Revolving Loans (including any refinancing of Letter of Credit Obligations as a
Revolving Loan) and Swing Loans, as the case may be, occurring on such date; and (b) with
respect to any Letter of Credit Obligations on any date, the amount thereof on such date after
giving effect to any related extension of any Letter of Credit occurring on such date and any
other changes thereto as of such date, including as a result of any reimbursements of outstanding
Letter of Credit Obligations (including any refinancing of outstanding Letter of Credit
Obligations under related Letters of Credit or related extensions of any Letters of Credit as a
Revolving Loan) or any reductions in the maximum amount available for drawing under related
Letters of Credit taking effect on such date.

       “Overnight Rate” means, for any day, the greater of (a) the Federal Funds Rate and (b) an
overnight rate determined by the Administrative Agent, an Issuer, or the Swing Loan Lender, as
applicable, in accordance with banking industry rules on interbank compensation.

        “Parent” means Stripes US Holding, Inc.

        “Participant” has the meaning specified in Section 12.2(d).

        “Participant Register” has the meaning specified in Section 12.2(e).

        “Participating Member State” means each state so described in any EMU Legislation.

       “Payroll Account” shall mean any Deposit Account used by the Loan Parties solely and
exclusively for the purpose of making payroll, other employee wage and benefit payments to
employees and withholding tax payments on behalf of employees.

        “PBGC” means the Pension Benefit Guaranty Corporation.

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        “Pension Plan” means any “employee pension benefit plan” (as such term is defined in
Section 3(2) of ERISA), other than a Multiemployer Plan, that is subject to Title IV of ERISA
and is sponsored or maintained by any Loan Party or any of their respective ERISA Affiliates or
to which any Loan Party or any of their respective ERISA Affiliates contributes or has an
obligation to contribute, or in the case of a multiple employer or other plan described in Section
4064(a) of ERISA, has made contributions at any time in the preceding five plan years.

       “Permitted Acquisition” means the purchase or other acquisition, in each case, prior to
the Petition Date by Borrower or any of its Restricted Subsidiaries of property and assets or
businesses of any Person or of assets constituting a business unit, a line of business or division of
such Person, a Store or Equity Interests in a Person that, upon the consummation thereof, will be
a wholly owned Restricted Subsidiary of the Borrower (including as a result of a merger or
consolidation).

        “Permitted Discretion” means a determination made by the Administrative Agent, the
Collateral Agent, or any Co-Collateral Agent (as applicable) in good faith in the exercise of its
reasonable (from the perspective of an asset-based lender) business judgment.

       “Permitted Equity Issuance” means any sale or issuance of any Qualified Equity Interests
of the Borrower or any direct or indirect parent of the Borrower (in which case the Net Cash
Proceeds have been received by the Borrower as cash common equity), in each case to the extent
permitted hereunder.

        “Permitted Variances” has the meaning set forth in Section 8.17.

        “Petition Date” has the meaning specified in the recitals hereto.

       “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity.

        “Plan” means any material “employee benefit plan” (as such term is defined in Section
3(3) of ERISA, whether or not such plan is subject to ERISA) established or contributed to by
any Loan Party or, with respect to any such plan that is subject to Section 412 of the Code or
Title IV of ERISA, any of their respective ERISA Affiliates.

        “Platform” has the meaning specified in Section 7.2.

         “Pledged Debt” has the meaning specified in the Security Agreement.

        “Pledged Equity” has the meaning specified in the Security Agreement.

        “Post-Petition Credit Card Notifications” has the meaning specified in Section 8.12(j).

        “Post-Petition Deposit Account” has the meaning specified in Section 8.12(i).

         “Post-Petition Securities Account” has the meaning specified in Section 8.12(i).

        “Pre-Petition” means the time period ending immediately prior to the filing of the Cases.

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         “Pre-Petition Credit Agreement” has the meaning specified in the recitals hereto.

        “Pre-Petition Letter of Credit” has the meaning specified in Section 2.4(l).

        “Pre-Petition Letter of Credit Borrowings” means Pre-Petition Obligations in respect of
“Letter of Credit Borrowings” under, and as defined in, the Pre-Petition Credit Agreement and
all interest, expenses, fees and other amounts payable in respect thereof under the Pre-Petition
Credit Agreement.

        “Pre-Petition Loan Documents” means the “Loan Documents” as set forth in the Pre-
Petition Credit Agreement.

       “Pre-Petition Obligations” means all of the “Obligations” as set forth in the Pre-Petition
Credit Agreement.

         “Pre-Petition Revolving Loans” has the meaning specified in Section 2.1(a).

         “Pro Forma Basis” and “Pro Forma Effect” mean, with respect to compliance with any
test or covenant or calculation hereunder, the determination or calculation of such test, covenant
or ratio (including in connection with Specified Transactions) in accordance with Section 1.9.

        “Proceeds” has the meaning given to such term in Article 9 of the UCC.

        “Professional Persons” has the meaning specified in the definition of “Carve Out”.

        “Projections” shall have the meaning specified in Section 7.1(d).

      “Protective Advances” means an overadvance made or deemed to exist by the
Administrative Agent, in its discretion, which:

               (mmmm)         is made to maintain, protect or preserve the Collateral and/or the
        Loan Parties’ rights under the Loan Documents or which is otherwise for the benefit of
        the Loan Parties; or

              (nnnn) is made to enhance the likelihood of, or to maximize the amount of,
        repayment of any Obligation; or

                (oooo) is made to pay any other amount chargeable to any Loan Party hereunder;
        and

               (pppp) together with all other Protective Advances then outstanding, shall not (i)
        exceed five percent (5%) of the Borrowing Base at any time or (ii) unless a Liquidation is
        taking place, remain outstanding for more than forty-five (45) consecutive Business
        Days, unless in each case, the Requisite Lenders otherwise agree.

      “Public Lender” has the meaning specified in Section 7.2. “Qualified Equity Interests”
means any Equity Interests that are not Disqualified Equity Interests.



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        “Ratable Portion”, “Pro Rata Share”, “ratable share” or (other than in the expression
“equally and ratably”) “ratably” means, with respect to each Lender at any time a fraction
(expressed as a percentage, carried out to the ninth decimal place), the numerator of which is the
amount of the Revolving Credit Commitments and, if applicable and without duplication, Loans
of such Lender under the applicable Class or Classes at such time and the denominator of which
is the amount of the Aggregate Commitments and, if applicable and without duplication, Loans
under the applicable Class or Classes at such time.

        “Register” has the meaning specified in Section 12.2(c).

        “Reimbursement Date” has the meaning specified in Section 2.4(h).

        “Reimbursement Obligations” means, as and when matured, the obligation of any Loan
Party to pay, on the date payment is made or scheduled to be made to the beneficiary under each
such Letter of Credit (or at such other date as may be specified in the applicable Letter of Credit
Reimbursement Agreement) and in the currency drawn (or in such other currency as may be
specified in the applicable Letter of Credit Reimbursement Agreement), all amounts of each
drafts and other requests for payments drawn under Letters of Credit, and all other matured
reimbursement or repayment obligations of any Loan Party to any Issuer with respect to amounts
drawn under Letters of Credit.

        “Related Indemnified Person” of an Indemnitee means (a) any controlling person or
controlled affiliate of such Indemnitee, (b) the respective directors, officers, or employees of
such Indemnitee or any of its controlling persons or controlled affiliates and (c) the respective
agents of such Indemnitee or any of its controlling persons or controlled affiliates, in the case of
this clause (c), acting at the instructions of such Indemnitee, controlling person or such
controlled affiliate; provided that each reference to a controlled affiliate or controlling person in
this definition shall pertain to a controlled affiliate or controlling person involved in the
negotiation or syndication of the Revolving Credit Commitments.

       “Relevant Participant” has the meaning specified in the lock-up agreement dated July 11,
2018 in respect of Steinhoff International Holdings N.V., Steinhoff Finance Holding GmbH and
Steinhoff Europe AG, as amended from time to time.

        “Reportable Event” means, with respect to any Pension Plan, any of the events set forth
in Section 4043(c) of ERISA or the regulations issued thereunder, other than events for which
the thirty (30) day notice period has been waived under applicable regulation or guidance.

       “Requisite Lenders” means, collectively, Lenders having more than fifty percent (50%)
of the aggregate outstanding amount of the Revolving Credit Commitments or, after the
Revolving Credit Termination Date, more than fifty percent (50%) of the aggregate Revolving
Credit Outstandings; provided that the unused Revolving Credit Commitment of, and the portion
of the Loans and outstanding Letters of Credit held or deemed held by, any Defaulting Lender
shall be excluded for purposes of making a determination of Requisite Lenders; provided,
however, that, (x) at any time that there are at least two, but not more than three, Lenders that are
not Affiliates or Approved Funds of one another, “Requisite Lenders” shall include at least two
(2) Lenders that are not Affiliates or Approved Funds of one another and (y) at any time that any

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Lender (together with its Affiliates) holds Revolving Credit Commitments in excess of 33 and
1/3% of the Aggregate Commitments (or, after the Revolving Credit Termination Date,
Revolving Credit Exposure in excess of 33 and 1/3% of the Revolving Credit Outstandings),
“Requisite Lenders” shall include such Lender so long as such Lender is not a Defaulting
Lender.

       “Reserves” means any Inventory Reserves, Availability Reserves and, without
duplication, the Carve Out Reserve.

        “Responsible Officer” means the chief executive officer, president, vice president, chief
financial officer, chief operating officer, chief administrative officer, secretary or assistant
secretary, treasurer or assistant treasurer or other similar officer or Person performing similar
functions of a Loan Party. Any document delivered hereunder that is signed by a Responsible
Officer of a Loan Party shall be conclusively presumed to have been authorized by all necessary
corporate, partnership and/or other action on the part of such Loan Party and such Responsible
Officer shall be conclusively presumed to have acted on behalf of such Loan Party. Unless
otherwise specified, all references herein to a “Responsible Officer” shall refer to a Responsible
Officer of the Borrower.

        “Restricted Payment” means any dividend or other distribution (whether in cash,
securities or other property) with respect to any Equity Interest of Holdings, the Borrower or any
Restricted Subsidiaries, or any payment (whether in cash, securities or other property), including
any sinking fund or similar deposit, on account of the purchase, redemption, retirement,
defeasance, acquisition, cancellation or termination of any such Equity Interest, or on account of
any return of capital to Holdings or the Borrower’s stockholders, partners or members (or the
equivalent Persons thereof).

       “Restricted Subsidiary” means any Subsidiary of the Borrower other than an Unrestricted
Subsidiary.

        “Revolving Credit Commitment” means, with respect to each Lender, the commitment of
such Lender to make Loans and acquire interests in other Revolving Credit Outstandings
expressed as an amount representing the maximum principal amount of the Loans to be made by
such Lender under this Agreement, as such commitment may be (a) reduced from time to time
pursuant to this Agreement and (b) reduced from time to time pursuant to assignments by or to
such Lender pursuant to an Assignment and Assumption. The initial amount of each Lender’s
Revolving Credit Commitment is set forth on Schedule I under the caption “Revolving Credit
Commitment,” as amended to reflect each Assignment and Assumption executed by such
Lender. The aggregate amount of the Revolving Credit Commitment on and after the Closing
Date is $150,000,000.

        “Revolving Credit Exposure” means, as to each Lender, the sum of the Outstanding
Amount of such Lender’s Revolving Loans, its Pro Rata Share of the Letter of Credit Obligations
and its Pro Rata Share of the Swing Loan Obligations at such time.

     “Revolving Credit Lender” means each Lender that (a) has a Revolving Credit
Commitment, (b) holds a Revolving Loan or (c) participates in any Letter of Credit.

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        “Revolving Credit Note” means a promissory note of the Borrower payable to any
Revolving Credit Lender in a principal amount equal to the amount of such Lender’s Revolving
Credit Commitment evidencing the aggregate Indebtedness of the Borrower to such Lender
resulting from the Loans of a given Class owing to such Lender.

       “Revolving Credit Outstandings” means, at any particular time, the sum of (a) the
principal amount of the Loans outstanding at such time, (b) the Letter of Credit Obligations
outstanding at such time and (c) the principal amount of the Swing Loans outstanding at such
time.

        “Revolving Credit Termination Date” means the earliest of (a) the Scheduled
Termination Date, (b) the date of termination of the Revolving Credit Commitments during the
continuance of an Event of Default, (c) the closing date of a sale pursuant to Section 363 of the
Bankruptcy Code of all or substantially all of the Loan Parties’ assets, (d) the effective date of a
confirmed Chapter 11 Plan of reorganization for the Loan Parties, (e) the date of conversion of
the Cases to Successor Cases, (f) five (5) Business Days following the Petition Date if the
Interim Order has not been entered by the Bankruptcy Court by such date, (g) 30 days following
the Petition Date if the Final Order has not been entered by the Bankruptcy Court by such date
and (h) the date on which all Obligations are paid in full (including, without limitation, Cash
Collateralization of Letters of Credit but excluding contingent obligations not due and owing)
and the Revolving Credit Commitments have terminated.

        “Revolving Loan” has the meaning specified in Section 2.1(a).

       “S&P” means Standard & Poor’s Ratings Services, a division of S&P Global, Inc., and
any successor thereto.

        “Sale-Leaseback” means any transaction or series of related transactions pursuant to
which the Borrower or any of the Restricted Subsidiaries (a) sells, transfers or otherwise
Disposes of any property, real or personal, whether now owned or hereafter acquired, and (b) as
part of such transaction, thereafter rents or leases such property or other property that it intends
to use for substantially the same purpose or purposes as the property being sold, transferred or
otherwise Disposed.

        “Same Day Funds” means disbursements and payments in immediately available funds.

       “Sanctions” means economic or financial sanctions or trade embargoes imposed,
administered or enforced from time to time by the U.S. government, including those
administered by the Office of Foreign Assets Control of the U.S. Department of the Treasury or
the U.S. Department of State.

        “Sanctioned Country” means, at any time, a country or territory which is the subject or
target of any Sanctions (as of the date of this Agreement, Cuba, Iran, North Korea, Sudan and
Syria).

        “Sanctioned Person” means, at any time, (a) any Person listed in any Sanctions-related
list of designated Persons maintained by the Office of Foreign Assets Control of the U.S.
Department of the Treasury or the U.S. Department of State and (b) any other Person operating

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or organized in a Sanctioned Country or controlled (as determined by applicable law) by any
Person that is a Sanctioned Person.

           “Scheduled Termination Date” means [_________]1 after the Closing Date.

       “SEC” means the Securities and Exchange Commission, or any Governmental Authority
succeeding to any of its principal functions.

           “Second Day Orders” has the meaning specified in Section 8.15(f).

       “Second Lien Credit Agreement” means that certain Term Loan Agreement, dated as of
March 26, 2018 by and among the Borrower, Holdings and Steinhoff Parent, as lender
thereunder.

        “Second Lien Intercreditor Agreement” means the Intercreditor Agreement, dated as of
March 26, 2018 between Barclays Bank PLC, as first lien agent, and Steinhoff Parent, as second
lien lender, and the Loan Parties party thereto.

       “Second Lien Loan Documents” means the Loan Documents as defined in the Second
Lien Credit Agreement.

        “Secured Cash Management Agreement” means any Cash Management Agreement that
is entered into by and between the Borrower or any Subsidiary and any Cash Management Bank.

        “Secured Hedge Agreement” means any Swap Contract permitted under Section 9.3(f)
that is entered into by and between the Borrower or any Restricted Subsidiary and any Hedge
Bank; and designated in writing by the Hedge Bank and the Borrower to the Administrative
Agent as a “Secured Hedge Agreement”.

        “Secured Obligations” means, in the case of the Borrower, the Obligations and, in the
case of any other Loan Party, the “Guaranteed Obligations” under the Guaranty and any of such
Loan Party’s other obligations under the other Loan Documents to which it is a party.

       “Secured Parties” means, collectively, the Lenders, the Issuers, the Administrative
Agent, the Collateral Agent, each Co-Collateral Agent, each Hedge Bank, each Cash
Management Bank, the Supplemental Administrative Agent and each co-agent or sub-agent (if
any) appointed by the Administrative Agent from time to time pursuant to Section 11.5.

        “Securities Account” means all securities accounts of any Loan Party, including
“securities accounts” within the meaning given to such term in Article 8 of the UCC.

           “Securities Act” means the Securities Act of 1933, as amended.

        “Security” means any Equity Interest, voting trust certificate, bond, debenture, note or
other evidence of Indebtedness, whether secured, unsecured, convertible or subordinated, or any
certificate of interest, share or participation in, any temporary or interim certificate for the

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    To be the date that is 3 months after the closing date

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purchase or acquisition of, or any right to subscribe to, purchase or acquire, any of the foregoing,
but shall not include any evidence of the Obligations.

        “Security Agreement” means, collectively, the Security Agreement executed by the Loan
Parties, substantially in the form of Exhibit H, as amended, restated, supplemented or otherwise
modified from time to time, together with each other Security Agreement Supplement executed
and delivered pursuant to Section 8.11.

          “Security Agreement Supplement” has the meaning specified in the Security Agreement.

        “Shrink Reserve” means an amount reasonably estimated by the Administrative Agent,
the Co-Collateral Agent and the Collateral Agent to be equal to that amount which is required in
order that the shrink reflected in current books and records of the Borrower and its Subsidiaries
would be reasonably equivalent to the shrink calculated as part of the Borrower’s most recent
physical Inventory (it being understood and agreed that no Shrink Reserve established by the
Administrative Agent, the Co-Collateral Agent and the Collateral Agent shall be duplicative of
any shrink as so reflected in the current books and records of the Borrower and its Subsidiaries
or estimated by the Borrower for purposes of computing the Borrowing Base).

          “SPC” has the meaning specified in Section 12.2(g).

        “Specified Secured Hedge Obligations” means Obligations under any Secured Hedge
Agreement which provides by its terms that such Obligations shall only be payable pursuant to
Section 10.3 pursuant to clause “Ninth” thereof. Any applicable Hedge Bank may, with the
consent of the Borrower, designate or cancel such designation of Obligations under any
applicable Secured Hedge Agreement as “Specified Secured Hedge Obligations” by delivering
notice in writing to the Administrative Agent of such designation or cancellation of designation.

        “Specified Transaction” means (u) the Transaction, (v) any Investment that results in a
Person becoming a Restricted Subsidiary, (w) any designation of a Subsidiary as a Restricted
Subsidiary or an Unrestricted Subsidiary, (x) any Permitted Acquisition and any Investment
constituting an acquisition of assets constituting a business unit, line of business or division of
another Person or a Store, (y) any Disposition that results in a Restricted Subsidiary ceasing to be
a Subsidiary of the Borrower, and any Disposition of a business unit, line of business or division
or a Store of the Borrower or a Restricted Subsidiary, in each case whether by merger,
consolidation, amalgamation or otherwise or (z) any incurrence or repayment of Indebtedness
(other than Indebtedness incurred or repaid under any revolving credit facility or line of credit),
Restricted Payment, that by the terms of this Agreement requires a financial ratio or test to be
calculated on a “Pro Forma Basis” or after giving “Pro Forma Effect.”

          “Standby Letter of Credit” means any Letter of Credit that is not a Documentary Letter of
Credit.

          “Steinhoff Parent” means Steinhoff International Holdings, N.V.

        “Store” means any retail store (which includes any real property, fixtures, equipment,
Inventory and other property related thereto) operated, or to be operated, by the Borrower or any
Restricted Subsidiary.

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        “Stripes Facilities Agreement” means the U.S. $4,000,000,000 Acquisition Facilities
Agreement, dated August 5, 2016 (as amended or supplemented prior to the Closing Date)
between Steinhoff Finance Holding GMBH and Steinhoff Mobel Holding Alpha GMBH, Stripes
US Holding, Inc., Bank of America Merrill Lynch International Limited, Bank of America N.A.
and J.P. Morgan Limited, as arrangers, J.P. Morgan Europe Limited as agent, and the other
parties from time to time party thereto.

       “Stripes Intra-Group Loan Agreement” means the Intra-Group Loan Agreement dated
September 16, 2016 (as amended or supplemented on or prior to the Closing Date) between
Stripes US Holding, Inc. as borrower and Steinhoff Finance Holding GMBH and Steinhoff
Mobel Holding Alpha GMBH as lenders and the other parties from time to time party thereto.

        “Subsidiary” of a Person means a corporation, partnership, joint venture, limited liability
company or other business entity (excluding, for the avoidance of doubt, charitable foundations
and any other Person that meets the requirements of Section 501(c)(3) of the Code) (i) of which a
majority of the shares of securities or other interests having ordinary voting power for the
election of directors or other governing body (other than securities or interests having such
power only by reason of the happening of a contingency) are at the time beneficially owned by
such Person, or (ii) the management of which is otherwise controlled, directly, or indirectly
through one or more intermediaries, by such Person, to the extent such entity’s financial results
are required to be included in such Person’s consolidated financial statements under IFRS.
Unless otherwise specified, all references herein to a “Subsidiary” or to “Subsidiaries” shall refer
to a Subsidiary or Subsidiaries of the Borrower.

        “Subsidiary Guarantor” means any Guarantor other than Holdings.

       “Successor Cases” means any case under Chapter 7 of the Bankruptcy Code commenced
upon the conversion of any Cases.

         “Supermajority Lenders” means, as of any date of determination, Lenders having 66.67%
or more of the sum of the (a) Revolving Credit Outstandings (with the aggregate principal
amount of each Lender’s risk participation and funded participation in Letter of Credit
Obligations and Swing Loans being deemed “held” by such Lender for purposes of this
definition) and (b) aggregate unused Revolving Credit Commitments; provided that the unused
Revolving Credit Commitment of, and the portion of the Loans and outstanding Letters of Credit
held or deemed held by, any Defaulting Lender shall be excluded for purposes of making a
determination of Supermajority Lenders; provided, however, that, (x) at any time that there are at
least two, but not more than three, Lenders that are not Affiliates or Approved Funds of one
another, “Supermajority Lenders” shall include at least two (2) Lenders that are not Affiliates or
Approved Funds of one another and (y) at any time that any Lender (together with its Affiliates)
holds Revolving Credit Commitments in excess of 33 and 1/3% of the Aggregate Commitments
(or, after the Revolving Credit Termination Date, Revolving Credit Exposure in excess of 33 and
1/3% of the Revolving Credit Outstandings), “Supermajority Lenders” shall include such Lender
so long as such Lender is not a Defaulting Lender.

       “Supplemental Administrative Agent” and “Supplemental Administrative Agents” have
the meanings specified in Section 11.12(a).

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       “Swap” means any agreement, contract, or transaction that constitutes a “swap” within
the meaning of section 1a(47) of the Commodity Exchange Act.

        “Swap Contract” means (a) any and all rate swap transactions, basis swaps, credit
derivative transactions, forward rate transactions, commodity swaps, commodity options,
forward commodity contracts, equity or equity index swaps or options, bond or bond price or
bond index swaps or options or forward bond or forward bond price or forward bond index
transactions, interest rate options, forward foreign exchange transactions, cap transactions, floor
transactions, collar transactions, currency swap transactions, cross-currency rate swap
transactions, currency options, spot contracts, or any other similar transactions or any
combination of any of the foregoing (including any options to enter into any of the foregoing),
whether or not any such transaction is governed by or subject to any master agreement, and (b)
any and all transactions of any kind, and the related confirmations, which are subject to the terms
and conditions of, or governed by, any form of master agreement published by the International
Swaps and Derivatives Association, Inc., any International Foreign Exchange Master Agreement,
or any other master agreement (any such master agreement, together with any related schedules,
a “Master Agreement”), including any such obligations or liabilities under any Master
Agreement.

       “Swap Obligation” means, with respect to any person, any obligation to pay or perform
under any Swap.

        “Swap Termination Value” means, in respect of any one or more Swap Contracts, after
taking into account the effect of any legally enforceable netting agreement relating to such Swap
Contracts, (a) for any date on or after the date such Swap Contracts have been closed out and
termination value(s) determined in accordance therewith, such termination value(s), and (b) for
any date prior to the date referenced in clause (a), the amount(s) determined as the mark to-
market value(s) for such Swap Contracts, as determined based upon one or more mid market or
other readily available quotations provided by any recognized dealer in such Swap Contracts
(which may include a Lender or any Affiliate of a Lender).

        “Swing Loan” has the meaning specified in Section 2.3(a).

       “Swing Loan Lender” means Barclays in its capacity as the Swing Loan Lender
hereunder.

       “Swing Loan Obligations” means, as at any date of determination, the aggregate
Outstanding Amount of all Swing Loans.

        “Swing Loan Request” has the meaning specified in Section 2.3(b).

       “Swing Loan Sublimit” means the lesser of (a) $15,000,000 and (b) the aggregate
principal amount of the Revolving Credit Commitments. The Swing Loan Sublimit is part of,
and not in addition to, the Revolving Credit Commitments.

        “Taxes” has the meaning specified in Section 3.1(a).



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        “Test Period” in effect at any time means the most recent period of four consecutive
Fiscal Quarters of the Borrower ended on or prior to such time (taken as one accounting period);
provided that, prior to the first date that financial statements have been or are required to be
delivered pursuant to Section 7.1(a) or (b), the Test Period in effect shall be the period of four
consecutive Fiscal Quarters of the Borrower ended [ ], 2018. A Test Period may be designated
by reference to the last day thereof (i.e., the “[ ], 2018 Test Period” refers to the period of four
consecutive Fiscal Quarters of the Borrower ended [ ], 2018), and a Test Period shall be deemed
to end on the last day thereof.

        “Threshold Amount” means $18,500,000.

       “Total Assets” means the total assets of the Borrower and the Restricted Subsidiaries on a
consolidated basis in accordance with IFRS, as shown on the most recent balance sheet of the
Borrower delivered pursuant to Sections 7.1(a) or 7.1(b) or, for the period prior to the time any
such statements are so delivered pursuant to Sections 7.1(a) or 7.1(b), the Pro Forma Financial
Statements.

        “Transaction” means, collectively, (a) the funding of the Loans on the Closing Date, if
any, (b) the consummation of any other transactions in connection with the foregoing, including
the funding of DIP Term Loans under the DIP Term Loan Agreement and the prepayment of any
Pre-Petition Revolving Loans outstanding under the Pre-Petition Credit Agreement, and (c) the
payment of the fees and expenses incurred in connection with any of the foregoing.

        “Transaction Expenses” means any fees or expenses incurred or paid by any direct or
indirect parent of the Borrower, the Borrower or any of its (or their) Subsidiaries in connection
with the Transactions (including expenses in connection with close-out fees in connection with
the termination of hedging transactions, if any, and payments to officers, employees and
directors as change of control payments, severance payments, special or retention bonuses and
charges for repurchase or rollover of, or modifications to, stock options and/or restricted stock),
this Agreement and the other Loan Documents and the transactions contemplated hereby and
thereby.

      “Type” means, with respect to a Loan, its character as a Base Rate Loan or a
Eurocurrency Rate Loan.

        “Uniform Commercial Code” or “UCC” means the Uniform Commercial Code or any
successor provision thereof as the same may from time to time be in effect in the State of New
York or the Uniform Commercial Code or any successor provision thereof (or similar code or
statute) of another jurisdiction, to the extent it may be required to apply to any item or items of
Collateral.

        “United States” and “U.S.” mean the United States of America.

       “Unrestricted Subsidiary” means any Subsidiary of the Borrower designated by the
Board of Directors of the Borrower as an Unrestricted Subsidiary prior to the Closing Date.
There are no Unrestricted Subsidiaries as of the Closing Date.

        “Unused Commitment Fee” has the meaning specified in Section 2.12(a).
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        “Updated Inventory Appraisal” has the meaning specified in Section 7.4.

        “U.S. Lender” has the meaning specified in Section 3.1.

        “U.S. Trustee” means the United States Trustee applicable in the Cases.

       “USA PATRIOT Act” means The Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title III of Pub. L.
No. 107-56 (signed into law October 26, 2001)), as amended or modified from time to time.

        “Variance Report” has the meaning provided in Section 7.1(g).

       “wholly owned” means, with respect to a Subsidiary of a Person, a Subsidiary of such
Person all of the outstanding Equity Interests of which (other than (x) director’s qualifying shares
and (y) nominal shares issued to foreign nationals to the extent required by applicable Law) are
owned by such Person and/or by one or more wholly owned Subsidiaries of such Person.

       “Write-down and Conversion Powers” means, with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time
to time under the Bail-In Legislation for the applicable EEA Member Country, which write-
down and conversion powers are described in the EU Bail-In Legislation Schedule.

       “Withdrawal Liability” means the liability to a Multiemployer Plan as a result of a
complete or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I
of Subtitle E of Title IV of ERISA.

          SECTION 1.2             Other Interpretive Provisions.

        With reference to this Agreement and each other Loan Document, unless otherwise
specified herein or in such other Loan Document:

       (a)     The meanings of defined terms are equally applicable to the singular and plural
forms of the defined terms.

        (b)     (i) The words “herein,” “hereto,” “hereof” and “hereunder” and words of similar
import when used in any Loan Document shall refer to such Loan Document as a whole and not
to any particular provision thereof.

                (ii)    References in this Agreement to an Exhibit, Schedule, Article, Section,
        clause or sub-clause refer (A) to the appropriate Exhibit or Schedule to, or Article,
        Section, clause or sub-clause in this Agreement or (B) to the extent such references are
        not present in this Agreement, to the Loan Document in which such reference appears,

                (iii)      The term “including” is by way of example and not limitation,

               (iv)   The term “documents” includes any and all instruments, documents,
        agreements, certificates, notices, reports, financial statements and other writings, however
        evidenced, whether in physical or electronic form, and

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                (v)     Unless otherwise expressly indicated herein, the words “above” and
        “below”, when following a reference to a clause or a sub-clause of any Loan Document,
        refer to a clause or sub-clause within, respectively, the same Section or clause.

        (c)     The terms “Lender,” “Issuer” and “Administrative Agent” include, without
limitation, their respective successors.

        (d)    In the computation of periods of time from a specified date to a later specified
date, the word “from” means “from and including”, the words “to” and “until” each mean “to but
excluding” and the word “through” means “to and including.”

       (e)   Section headings herein and in the other Loan Documents are included for
convenience of reference only and shall not affect the interpretation of this Agreement or any
other Loan Document.

        (f)    For purposes of determining compliance with any Section of Article IX at any
time, except as otherwise expressly set forth herein, in the event that any Lien, Investment,
Indebtedness (whether at the time of incurrence or upon application of all or a portion of the
proceeds thereof), Disposition, Restricted Payment, Affiliate transaction, Contractual Obligation,
or prepayment of Indebtedness meets the criteria of one or more than one of the categories of
transactions permitted pursuant to any clause of such Sections, such transaction (or portion
thereof) at any time, shall be permitted under one or more of such clauses as determined by the
Borrower in its sole discretion at such time.

          SECTION 1.3         Accounting Terms.

        All accounting terms not specifically or completely defined herein shall be construed in
conformity with, and all financial data (including financial ratios and other financial
calculations) required to be submitted pursuant to this Agreement shall be prepared in
conformity with, IFRS (or, if the Borrower has elected to report under GAAP, GAAP), except as
otherwise specifically prescribed herein.

       Notwithstanding any changes in GAAP or IFRS after the Closing Date, any lease of the
Loan Parties and their Subsidiaries that would be characterized as an operating lease under
GAAP or IFRS in effect on the Closing Date (whether such lease is entered into before or after
the Closing Date) shall not constitute Indebtedness, Attributable Indebtedness or a Capitalized
Lease Obligation under this Agreement or any other Loan Document as a result of such changes
in GAAP or IFRS.

          SECTION 1.4         Rounding.

        Any financial ratios required to be satisfied in order for a specific action to be permitted
under this Agreement shall be calculated by dividing the appropriate component by the other
component, carrying the result to one place more than the number of places by which such ratio
is expressed herein and rounding the result up or down to the nearest number (with a rounding-
up if there is no nearest number)

          SECTION 1.5         [Reserved].

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         SECTION 1.6         References to Agreements, Laws, Etc. Unless otherwise expressly
provided herein, (a) references to Organization Documents, agreements (including the Loan
Documents) and other contractual instruments shall be deemed to include all appendices,
exhibits and schedules thereto and all subsequent amendments, restatements, extensions,
supplements and other modifications thereto (but only to the extent that such amendments,
restatements, extensions, supplements and other modifications are permitted by any Loan
Document); and (b) references to any Law shall include all statutory and regulatory provisions
consolidating, amending, replacing, supplementing or interpreting such Law.

          SECTION 1.7         Times of Day. Unless otherwise specified, all references herein to
times of day shall be references to Eastern time (daylight or standard, as applicable).

         SECTION 1.8           Timing of Payment of Performance. When the payment of any
obligation or the performance of any covenant, duty or obligation is stated to be due or
performance required on a day which is not a Business Day, the date of such payment (other than
as described in the definition of Interest Period) or performance shall extend to the immediately
succeeding Business Day.

          SECTION 1.9          Pro Forma Calculations.

        (a)     Notwithstanding anything to the contrary herein, financial ratios and tests shall be
calculated in the manner prescribed by this Section 1.9; provided that, notwithstanding anything
to the contrary in clauses (b), (c), (d), (e) or (f) of this Section 1.9, when calculating any such
ratio or test for purposes of the incurrence of any Indebtedness, cash and Cash Equivalents
resulting from the incurrence of any such Indebtedness shall be excluded from the pro forma
calculation of any applicable ratio or test. In addition, whenever a financial ratio or test is to be
calculated on a pro forma basis, the reference to the “Test Period” for purposes of calculating
such financial ratio or test shall be deemed to be a reference to, and shall be based on, the most
recently ended Test Period for which financial statements have been delivered pursuant to
Section 7.1(a) or (b), as applicable, for the relevant Test Period.

        (b)     For purposes of calculating any financial ratio or test or compliance with any
covenant determined by reference to Total Assets, Specified Transactions (with any incurrence
or repayment of any Indebtedness in connection therewith to be subject to clause (d) of this
Section 1.9) that have been made (i) during the applicable Test Period or (ii) if applicable as
described in clause (a) above, subsequent to such Test Period and prior to or simultaneously with
the event for which the calculation of any such ratio is made shall be calculated on a pro forma
basis assuming that all such Specified Transactions (and any increase or decrease in Total Assets
and the component financial definitions used therein attributable to any Specified Transaction)
had occurred on the first day of the applicable Test Period (or, in the case of Total Assets, on the
last day of the applicable Test Period). If since the beginning of any applicable Test Period any
Person that subsequently became a Restricted Subsidiary or was merged, amalgamated or
consolidated with or into the Borrower or any of its Restricted Subsidiaries since the beginning
of such Test Period shall have made any Specified Transaction that would have required
adjustment pursuant to this Section 1.9, then such financial ratio or test (or Total Assets) shall be
calculated to give pro forma effect thereto in accordance with this Section 1.9.


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        (c)     In the event that the Borrower or any Restricted Subsidiary incurs (including by
assumption or guarantees) or repays (including by redemption, repayment, retirement or
extinguishment) any Indebtedness (other than Indebtedness incurred or repaid under any
revolving credit facility unless such Indebtedness has been permanently repaid and not replaced),
(i) during the applicable Test Period or (ii) subject to paragraph (a), subsequent to the end of the
applicable Test Period and prior to or simultaneously with the event for which the calculation of
any such ratio is made, then such financial ratio or test shall be calculated giving pro forma effect
to such incurrence or repayment of Indebtedness, in each case to the extent required, as if the
same had occurred on the last day of the applicable Test Period.

       (d)     Whenever pro forma effect is to be given to a Specified Transaction, the pro
forma calculations shall be made in good faith by a responsible financial or accounting officer of
the Borrower.

        (e)     [reserved].

         (f)    If any Indebtedness bears a floating rate of interest and is being given pro forma
effect, the interest on such Indebtedness shall be calculated as if the rate in effect on the date of
the event for which the calculation is made had been the applicable rate for the entire period
(taking into account any interest hedging arrangements applicable to such Indebtedness);
provided, in the case of repayment of any Indebtedness, to the extent actual interest related
thereto was included during all or any portion of the applicable Test Period, the actual interest
may be used for the applicable portion of such Test Period. Interest on a Capitalized Lease
Obligation shall be deemed to accrue at an interest rate reasonably determined by a Responsible
Officer of the Borrower to be the rate of interest implicit in such Capitalized Lease Obligation in
accordance with IFRS. Interest on Indebtedness that may optionally be determined at an interest
rate based upon a factor of a prime or similar rate, a London interbank offered rate, or other rate,
shall be determined to have been based upon the rate actually chosen, or if none, then based upon
such optional rate chosen as the Borrower or Restricted Subsidiary may designate.

          SECTION 1.10         Currency Equivalents Generally.

        For purposes of determining compliance with Sections 9.1, 9.2 and 9.3 with respect to
any amount of Indebtedness or Investment in a currency other than Dollars, no Default shall be
deemed to have occurred solely as a result of changes in rates of currency exchange occurring
after the time such Indebtedness or Investment is incurred (so long as such Indebtedness or
Investment, at the time incurred, made or acquired, was permitted hereunder).

          SECTION 1.11         Schedules.

       All schedules attached hereto or to any other Loan Documents shall be deemed to
incorporate by reference all information disclosed in the Orders, the Chapter 11 Plan and the
Disclosure Statement, in each case as of the Petition Date, in the form delivered to the
Administrative Agent, the Collateral Agent and the Co-Collateral Agent prior to date of the
Commitment Letters, which Orders, the Chapter 11 Plan and the Disclosure Statement, shall
have been modified or amended without the consent of the Administrative Agent, the Collateral
Agent and the Co-Collateral Agent in their sole discretion.

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                                         ARTICLE II

                                       THE FACILITY

          SECTION 2.1        The Revolving Credit Commitments.

        (a)    On the terms and subject to the conditions contained in this Agreement, each
Lender severally agrees to make loans in Dollars (each, a “Revolving Loan”) to the Borrower
from time to time on any Business Day during the period from the Closing Date until the
Revolving Credit Termination Date in an aggregate principal amount at any time outstanding for
all such loans by such Lender not to exceed such Lender’s Revolving Credit Commitment;
provided, however, that at no time shall any Lender be obligated to make a Revolving Loan in
excess of such Lender’s Ratable Portion of the Maximum Credit. Within the limits of the
Revolving Credit Commitment of each Lender, amounts of Loans repaid may be reborrowed
under this Section 2.1. Notwithstanding anything to the contrary contained in this subsection
2.1(a), the Loan Parties hereby, acknowledge, confirm and agree that immediately prior to the
Closing Date, the outstanding principal amount of loans under the Pre-Petition Credit Agreement
was not less than $86,781,250.00 (such Indebtedness being hereinafter referred to as the “Pre-
Petition Revolving Loans”), (ii) such Pre-Petition Revolving Loans shall either be repaid on the
Closing Date with the proceeds of the DIP Term Loans, or re-evidenced by this Agreement as a
portion of the Revolving Loans outstanding hereunder, (iii) for all purposes of this Agreement
and the other Loan Documents, the sum of the Pre-Petition Revolving Loans and any other
Revolving Loans made on the Closing Date shall constitute all of the Revolving Loans
outstanding on the Closing Date, and (iv) the revolving credit commitments under the Pre-
Petition Credit Agreement shall hereinafter be deemed to be assigned or re-allocated among the
Revolving Credit Commitments hereunder and after giving effect hereto, the Revolving Credit
Commitments as of the Closing Date shall be as set forth on Schedule I.

        (b)    Subject to the limitations set forth below (and notwithstanding anything to the
contrary in Section 4.2), the Administrative Agent is authorized by the Borrower and the
Lenders, from time to time in the Administrative Agent’s sole discretion (but shall have
absolutely no obligation), to make Revolving Loans to the Borrower, on behalf of all Lenders at
any time that any condition precedent set forth in Section 4.2 has not been satisfied or waived,
which the Administrative Agent, in its Permitted Discretion, deems necessary or desirable for the
purposes specified in the definition of “Protective Advances”. Any Protective Advance may be
made in a principal amount that would cause the aggregate Revolving Credit Exposure to exceed
the Borrowing Base; provided that the aggregate amount of outstanding Protective Advances
plus the aggregate of all other Revolving Credit Exposure shall not exceed the Aggregate
Commitments. Protective Advances may be made even if the conditions precedent set forth in
Section 4.2 have not been satisfied or waived. Each Protective Advance shall be secured by the
Liens in favor of the Collateral Agent in and to the Collateral and shall constitute Obligations
hereunder. The Administrative Agent’s authorization to make Protective Advances may be
revoked at any time by the Requisite Lenders. Any such revocation must be in writing and shall
become effective prospectively upon the Administrative Agent’s receipt thereof. The making of
a Protective Advance on any one occasion shall not obligate the Administrative Agent to make
any Protective Advance on any other occasion. At any time that the conditions precedent set
forth in Section 4.2 have been satisfied or waived, the Administrative Agent may request the

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Lenders to make a Revolving Loan to repay a Protective Advance. At any other time, the
Administrative Agent may require the Lenders to fund their risk participations described in
Section 2.1(c).

       (c)      Upon the making of a Protective Advance by the Administrative Agent (whether
before or after the occurrence of a Default), each Lender shall be deemed, without further action
by any party hereto, unconditionally and irrevocably to have purchased from the Administrative
Agent without recourse or warranty, an undivided interest and participation in such Protective
Advance in proportion to its Applicable Percentage. From and after the date, if any, on which
any Lender is required to fund its participation in any Protective Advance purchased hereunder,
the Administrative Agent shall promptly distribute to such Lender, such Lender’s Applicable
Percentage of all payments of principal and interest and all proceeds of Collateral received by the
Administrative Agent in respect of such Protective Advance.

       (d)     Each Borrowing shall be comprised entirely of Base Rate Loans or Eurocurrency
Rate Loans as the Borrower may request in accordance herewith.

          SECTION 2.2         Borrowing Procedure.

        (a)    Each Borrowing shall be made on notice given by the Borrower to the
Administrative Agent (i) not later than 9:00 a.m. (New York, New York time) on the requested
date of such Borrowing, in the case of a Borrowing of Base Rate Loans or (ii) not later than
12:00 noon (New York, New York time) three (3) Business Days prior to the requested date of
such Borrowing, in the case of a Borrowing of Eurocurrency Rate Loans; provided that the
notice referred to in this subclause (ii) may be delivered no later than one (1) Business Day prior
to the Closing Date in the case of any Borrowing of Eurocurrency Rate Loans on the Closing
Date. Each such notice shall be in substantially the form of Exhibit C (a “Notice of Borrowing”),
specifying (A) the date of such proposed Borrowing, which shall be a Business Day, (B) the
aggregate amount of such proposed Borrowing, (C) whether any portion of the proposed
Borrowing will be of Base Rate Loans or Eurocurrency Rate Loans, (D) the initial Interest Period
or Interest Periods for any Eurocurrency Rate Loans and (E) the Class of such proposed
Borrowing. The Loans shall be made as Base Rate Loans, unless, subject to Section 2.14, the
Notice of Borrowing specifies that all or a portion thereof shall be Eurocurrency Rate Loans.
Each Borrowing shall be in an aggregate amount of not less than $500,000 or an integral
multiple of $100,000 in excess thereof.

        (b)    The Administrative Agent shall give to each Appropriate Lender prompt notice of
the Administrative Agent’s receipt of a Notice of Borrowing and, if Eurocurrency Rate Loans are
properly requested in such Notice of Borrowing, the applicable interest rate determined pursuant
to Section 2.14(a). Each Lender shall, before 2:00 p.m. on the date of the proposed Borrowing,
make available to the Administrative Agent at its address referred to in Section 12.8, in Same
Day Funds in the applicable currency, such Lender’s Ratable Portion of such proposed
Borrowing. Upon fulfillment (or due waiver in accordance with Section 12.1) (i) on the Closing
Date, of the applicable conditions set forth in Section 4.1 and (ii) at any time (including the
Closing Date), of the applicable conditions set forth in Section 4.2, and, subject to clause (c)
below, after the Administrative Agent’s receipt of such funds, the Administrative Agent shall
make such funds available to the Borrower as promptly as reasonably practicable.

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         (c)     Unless the Administrative Agent shall have received notice from a Lender prior to
the date of any proposed Borrowing that such Lender will not make available to the
Administrative Agent such Lender’s Ratable Portion of such Borrowing (or any portion thereof),
the Administrative Agent may assume that such Lender has made such Ratable Portion available
to the Administrative Agent on the date of such Borrowing in accordance with this Section 2.2
and the Administrative Agent may, in reliance upon such assumption, make available to the
Borrower on such date a corresponding amount. If and to the extent that such Lender shall not
have so made such Ratable Portion available to the Administrative Agent, such Lender and the
Borrower severally agrees to repay to the Administrative Agent forthwith on demand such
corresponding amount together with interest thereon, for each day from the date such amount is
made available to the Borrower until the date such amount is repaid to the Administrative Agent,
at (i) in the case of the Borrower, the interest rate applicable at the time to the Loans comprising
such Borrowing and (ii) in the case of such Lender, the Federal Funds Rate for the first Business
Day and thereafter at the interest rate applicable at the time to the Loans comprising such
Borrowing. If such Lender shall repay to the Administrative Agent such corresponding amount,
such corresponding amount so repaid shall constitute such Lender’s Loan as part of such
Borrowing for purposes of this Agreement. If the Borrower shall repay to the Administrative
Agent such corresponding amount, such payment shall not relieve such Lender of any obligation
it may have hereunder to the Borrower.

       (d)    The failure of any Defaulting Lender to make on the date specified any Loan or
any payment required by it, including any payment in respect of its participation in Swing Loans
and Letter of Credit Obligations, shall not relieve any other Lender of its obligations to make
such Loan or payment on such date but, except to the extent otherwise provided herein, no such
other Lender shall be responsible for the failure of any Defaulting Lender to make a Loan or
payment required under this Agreement.

        (e)    After giving effect to all Borrowings, all conversions of Loans from one Type to
the other, and all continuations of Loans as the same Type, there shall not be more than ten (10)
Interest Periods in effect unless otherwise agreed between the Borrower and the Administrative
Agent.

          SECTION 2.3         Swing Loans.

        (a)    On the terms and subject to the conditions contained in this Agreement, the Swing
Loan Lender shall make, in Dollars, loans (each, a “Swing Loan”) otherwise available to the
Borrower under the Revolving Credit Commitments from time to time on any Business Day
during the period from the Closing Date until the Revolving Credit Termination Date in an
aggregate principal amount at any time outstanding (together with the aggregate outstanding
principal amount of any other Loan made by the Swing Loan Lender hereunder in its capacity as
the Swing Loan Lender) not to exceed the Swing Loan Sublimit; provided, however, that at no
time shall the Swing Loan Lender make any Swing Loan to the extent that, after giving effect to
such Swing Loan, the aggregate Revolving Credit Outstandings would exceed the Maximum
Credit; provided further that in the event that the Swing Loan Lender and the Administrative
Agent are not the same Person, then the Swing Loan Lender shall only make a Swing Loan after
having given prior notice thereof to the Administrative Agent; provided further that the Swing
Loan Lender shall not be required to make any Swing Loan to the extent that such Swing Loan

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Lender reasonably believes that any Lender is a Defaulting Lender, unless after giving effect to
the requested Swing Loans, there would exist no Fronting Exposure (in the good faith
determination of the Swing Loan Lender). Each Swing Loan shall be a Base Rate Loan and must
be repaid in full in Dollars within seven (7) days after its making or, if sooner, upon any
Borrowing hereunder and shall in any event mature no later than the Revolving Credit
Termination Date. Within the limits set forth in the first sentence of this clause (a), amounts of
Swing Loans repaid may be reborrowed under this clause (a).

        (b)     In order to request a Swing Loan, the Borrower shall telecopy (or forward by
electronic mail or similar means) to the Administrative Agent a duly completed request in
substantially the form of Exhibit D, setting forth the requested amount and date of such Swing
Loan (a “Swing Loan Request”), to be received by the Administrative Agent not later than 1:00
p.m. on the day of the proposed borrowing. The Administrative Agent shall promptly notify the
Swing Loan Lender of the details of the requested Swing Loan. Subject to the terms of this
Agreement, the Swing Loan Lender shall make a Swing Loan available to the Administrative
Agent and, in turn, the Administrative Agent shall make such amounts available to the Borrower
as promptly as reasonably practicable on the date set forth in the relevant Swing Loan Request.
The Swing Loan Lender shall not make any Swing Loan (other than a Protective Advance) in the
period commencing on the first Business Day after it receives written notice from the
Administrative Agent or any Lender that one or more of the conditions precedent contained in
Section 4.2 shall not on such date be satisfied, and ending when such conditions are satisfied.
The Swing Loan Lender shall not otherwise be required to determine that, or take notice
whether, the conditions precedent set forth in Section 4.2 have been satisfied in connection with
the making of any Swing Loan.

       (c)     The Swing Loan Lender may demand at any time, and shall demand on a least a
weekly basis, that each Lender pay to the Administrative Agent, for the account of the Swing
Loan Lender, in the manner provided in clause (d) below, such Lender’s Ratable Portion of all or
a portion of the outstanding Swing Loans, which demand shall be made through the
Administrative Agent, shall be in writing and shall specify the outstanding principal amount of
Swing Loans demanded to be paid.

        (d)    The Administrative Agent shall forward each demand referred to in clause (c)
above to each Lender on the day such notice or such demand is received by the Administrative
Agent (except that any such notice or demand received by the Administrative Agent after 2:00
p.m. on any Business Day or any such notice or demand received on a day that is not a Business
Day shall not be required to be forwarded to the Lenders by the Administrative Agent until the
next succeeding Business Day), together with a statement prepared by the Administrative Agent
specifying the amount of each Lender’s Ratable Portion of the aggregate principal amount of the
Swing Loans stated to be outstanding in such notice or demanded to be paid pursuant to such
demand, and, notwithstanding whether or not the conditions precedent set forth in Sections 4.2
and 2.1 shall have been satisfied (which conditions precedent the Lenders hereby irrevocably
waive), each Lender shall, before 11:00 a.m. on the Business Day next succeeding the date of
such Lender’s receipt of such notice or demand, make available to the Administrative Agent, in
Same Day Funds in Dollars, for the account of the Swing Loan Lender, the amount specified in
such statement. Upon such payment by a Lender, such Lender shall, except as provided in
clause (e) below, be deemed to have made a Revolving Loan to the Borrower in the amount of

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such payment. The Administrative Agent shall use such funds to repay the Swing Loans to the
Swing Loan Lender.

       (e)     From and after the date on which any Lender is deemed to have made a
Revolving Loan pursuant to clause (d) above with respect to any Swing Loan, the Swing Loan
Lender shall promptly distribute to such Lender such Lender’s Ratable Portion of all payments of
principal and interest received by the Swing Loan Lender on account of such Swing Loan other
than those received from a Lender pursuant to clause (d) above.

          SECTION 2.4          Letters of Credit.

        (a)     Subject to the terms and subject to the conditions contained in this Agreement,
each Issuer agrees to Issue at the request of the Borrower, for the account of the Borrower or a
Restricted Subsidiary (provided that any Letter of Credit issued for the benefit of any Restricted
Subsidiary that is not the Borrower shall be issued naming the Borrower as the account party on
any such Letter of Credit but such Letter of Credit may contain a statement that it is being issued
for the benefit of such Restricted Subsidiary), one or more Letters of Credit from time to time on
any Business Day during the period commencing on the Closing Date and ending on the earlier
of the Revolving Credit Termination Date and five (5) Business Days prior to the Scheduled
Termination Date (or, if such day is not a Business Day, the next preceding Business Day), or
such later date as agreed to by the Administrative Agent in its sole discretion; provided,
however, that no Issuer shall be under any obligation to Issue (and, upon the occurrence of any
of the events described in clauses (ii), (iii), (iv) and (v)(A) below, shall not Issue) any Letter of
Credit upon the occurrence of any of the following:

                (i)     any order, judgment or decree of any Governmental Authority or arbitrator
        having binding powers shall purport by its terms to enjoin or restrain such Issuer from
        Issuing such Letter of Credit or any Law applicable to such Issuer or any request or
        directive (whether or not having the force of law) from any Governmental Authority with
        jurisdiction over such Issuer shall prohibit, or request that such Issuer refrain from, the
        Issuance of letters of credit generally or such Letter of Credit in particular or shall impose
        upon such Issuer with respect to such Letter of Credit any restriction or reserve or capital
        requirement (for which such Issuer is not otherwise compensated) not in effect on the
        Closing Date or result in any unreimbursed loss, cost or expense that was not applicable,
        in effect or known to such Issuer as of the Closing Date and that such Issuer in good faith
        deems material to it (for which such Issuer is not otherwise compensated);

                (ii)   such Issuer shall have received any written notice of the type described in
        clause (d) below;

                (iii) after giving effect to the Issuance of such Letter of Credit, (A) the
        aggregate Revolving Credit Outstandings would exceed the Maximum Credit at such
        time, (B) the Revolving Credit Outstandings of any Lender would exceed such Lender’s
        Revolving Credit Commitment, (C) the Outstanding Amount of the Letter of Credit
        Obligations would exceed the Aggregate Letter of Credit Sublimit or (D) with respect to
        the Issuer of such Letter of Credit, the Outstanding Amount of the Letter of Credit


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        Obligations with respect to such Issuer would exceed the Letter of Credit Sublimit for
        such Issuer;

                (iv)    such Letter of Credit is requested to be denominated in any currency other
        than Dollars, except as may be approved by the Administrative Agent and such Issuer,
        each in their sole discretion;

                (v)     (A) any fees due in connection with a requested Issuance have not been
        paid, (B) such Letter of Credit is requested to be Issued in a form that is not acceptable to
        such Issuer or (C) the Issuer for such Letter of Credit shall not have received, in form and
        substance reasonably acceptable to it and, if applicable, duly executed by the Borrower,
        applications, agreements and other documentation (collectively, a “Letter of Credit
        Reimbursement Agreement”) such Issuer generally employs in the ordinary course of its
        business for the Issuance of letters of credit of the type of such Letter of Credit; or

                (vi)    any Lender is at that time a Defaulting Lender, unless (i) after giving
        effect to the requested Issuance, there would exist no Fronting Exposure (in the good
        faith determination of the applicable Issuer) or (ii) the applicable Issuer has entered into
        arrangements, including the delivery of Cash Collateral, satisfactory to the applicable
        Issuer (in its good faith determination) with the Borrower or such Lender to eliminate
        such Issuer’s actual or potential Fronting Exposure (after giving effect to Section
        2.16(a)(iv)) with respect to the Defaulting Lender arising from either the Letter of Credit
        then proposed to be issued or any other Letter of Credit Obligations as to which such
        Issuer has actual or potential Fronting Exposure, as it may elect in its sole discretion.

               (vii) None of the Lenders (other than the Issuers in their capacity as such) shall
        have any obligation to Issue any Letter of Credit. Any Letter of Credit which has been or
        deemed Issued hereunder may be amended at any time to reduce the amount outstanding
        thereunder.

        (b)     In no event shall the expiration date of any Letter of Credit (other than the Pre-
Petition Letters of Credit) be more than one (1) year after the date of issuance thereof unless the
Administrative Agent and the applicable Issuer have approved such later expiry date; provided,
however, that any Letter of Credit with a term less than or equal to one (1) year may provide for
the renewal thereof for additional periods less than or equal to one (1) year, as long as, on or
before the expiration of each such term and each such period, the Borrower and the Issuer of
such Letter of Credit shall have the option to prevent such renewal; provided further, that, for
any Letter of Credit having an expiration date after the Scheduled Termination Date (other than
the Pre-Petition Letters of Credit), the Borrower agrees to deliver to the applicable Issuer on or
prior to the date that occurs five (5) Business Days prior to the Scheduled Termination Date a
letter of credit or letters of credit in form and substance reasonably acceptable to the
Administrative Agent and the applicable Issuer issued by a bank acceptable to the Administrative
Agent and the applicable Issuer, in each case in their sole discretion, and/or cash collateral in an
amount equal to 101% of the maximum drawable amount of any such Letter of Credit.

        (c)    In connection with the Issuance of each Letter of Credit, the Borrower shall give
the relevant Issuer and the Administrative Agent at least three (3) Business Days’ (or such

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shorter period as may be agreed by the relevant Issuer) prior written notice for Letters of Credit
denominated in Dollars (and at least five (5) Business Days’ prior written notice for Letters of
Credit denominated in currencies other than Dollars), in substantially the form of Exhibit E (or in
such other written or electronic form as is acceptable to such Issuer), of the requested Issuance of
such Letter of Credit (a “Letter of Credit Request”). Such notice shall specify the Issuer of such
Letter of Credit, the face amount and currency of the Letter of Credit requested, the date on
which such Letter of Credit is to expire (which date shall be a Business Day) and, in the case of
an issuance, the Person for whose benefit the requested Letter of Credit is to be issued. Such
notice, to be effective, must be received by the relevant Issuer and the Administrative Agent not
later than 11:00 a.m. on the last Business Day on which such notice can be given under the first
sentence of this clause (c); provided that the relevant Issuer and the Administrative Agent may
agree in a particular instance in their sole discretion to a later time and date.

        (d)     Subject to the satisfaction of the conditions set forth in this Section 2.4, the
relevant Issuer shall, on the requested date, Issue a Letter of Credit on behalf of the Borrower in
accordance with such Issuer’s usual and customary business practices. No Issuer shall Issue any
Letter of Credit in the period commencing on the first Business Day after it receives written
notice from any Lender that one or more of the conditions precedent contained in Section 4.2 or
clause (a) above (other than those conditions set forth in clauses (a)(i), (a)(v)(B) and (C) above
and, to the extent such clause relates to fees owing to the Issuer of such Letter of Credit and its
Affiliates, clause (a)(v)(A) above) are not on such date satisfied or duly waived and ending when
such conditions are satisfied or duly waived. No Issuer shall otherwise be required to determine
that, or take notice whether, the conditions precedent set forth in Section 4.2 have been satisfied
in connection with the Issuance of any Letter of Credit.

       (e)     The Borrower agrees that, if requested by the Issuer of any Letter of Credit prior
to the issuance of a Letter of Credit, it shall execute a Letter of Credit Reimbursement
Agreement in respect to any Letter of Credit Issued hereunder. In the event of any conflict
between the terms of any Letter of Credit Reimbursement Agreement and this Agreement, the
terms of this Agreement shall govern.

        (f)     Each Issuer shall comply with the following:

                (i)     give the Administrative Agent written notice (or telephonic notice
        confirmed promptly thereafter in writing), which writing may be a telecopy or electronic
        mail, of the Issuance of any Letter of Credit Issued by it (including the applicable
        currency), all drawings under any Letter of Credit Issued by it and of the payment (or the
        failure to pay when due) by the Borrower of any Reimbursement Obligation when due
        (which notice the Administrative Agent shall promptly transmit by telecopy, electronic
        mail or similar transmission to each Lender);

                (ii)   upon the request of any Lender, furnish to such Lender copies of any
        Letter of Credit Reimbursement Agreement to which such Issuer is a party and such other
        documentation as may reasonably be requested by such Lender; and

              (iii) on the first Business Day of each calendar week, provide to the
        Administrative Agent (and the Administrative Agent shall provide a copy to each Lender

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        requesting the same) and the Borrower separate schedules for Documentary Letters of
        Credit and Standby Letters of Credit issued by it, in form and substance reasonably
        satisfactory to the Administrative Agent, setting forth the aggregate Letter of Credit
        Obligations and applicable currencies, in each case outstanding at the end of each month,
        and any information requested by the Borrower or the Administrative Agent relating
        thereto.

        (g)     Immediately upon the issuance by an Issuer of a Letter of Credit in accordance
with the terms and conditions of this Agreement, such Issuer shall be deemed to have sold and
transferred to each Lender, and each Lender shall be deemed irrevocably and unconditionally to
have purchased and received from such Issuer, without recourse or warranty, an undivided
interest and participation, to the extent of such Lender’s Ratable Portion, in such Letter of Credit
and the obligations of the Borrower with respect thereto (including all Letter of Credit
Obligations with respect thereto) and any security therefor and guaranty pertaining thereto.

        (h)     The Borrower agrees to pay to the Issuer of any Letter of Credit, in each case in
the same currency and in an equivalent amount, and, to the extent so financed, all
Reimbursement Obligations owing to such Issuer under any Letter of Credit issued for its
account no later than (x) on the same Business Day that the Borrower receives written notice
from such Issuer that payment has been made under such Letter of Credit in accordance with its
terms if such notice is received by the Borrower by 11:00 a.m. and (y) on the next succeeding
Business Day after which the Borrower receives written notice from such Issuer that payment
has been made under such Letter of Credit in accordance with its terms if such notice is received
by the Borrower after 11:00 a.m. (such date described in clause (x) or (y) above, the
“Reimbursement Date”), irrespective of any claim, set off, defense or other right that the
Borrower may have at any time against such Issuer or any other Person. In the event that any
Issuer makes any payment under any Letter of Credit in accordance with its terms and the
Borrower shall not have repaid such amount to such Issuer pursuant to this clause (h) (directly or
by application of the deemed Loans described below in this clause (h) or by virtue of the
penultimate sentence of this clause (h)) or any such payment by the Borrower is rescinded or set
aside for any reason, such Reimbursement Obligation shall be payable on demand with interest
thereon computed (i) from the date on which such Reimbursement Obligation arose to the
Reimbursement Date, at the rate of interest applicable during such period to Loans that are Base
Rate Loans and (ii) from the Reimbursement Date until the date of repayment in full, at the rate
of interest applicable during such period to past due Loans that are Base Rate Loans, and such
Issuer shall promptly notify the Administrative Agent, which shall promptly notify each Lender
of such failure, and each Lender shall promptly and unconditionally pay to the Administrative
Agent for the account of such Issuer the amount of such Lender’s Ratable Portion of such
payment in Same Day Funds. If the Administrative Agent so notifies such Lender prior to 11:00
a.m. on any Business Day, such Lender shall make available to the Administrative Agent for the
account of such Issuer its Ratable Portion of the amount of such payment on such Business Day
in Same Day Funds. Upon such payment by a Lender, such Lender shall, notwithstanding
whether or not the conditions precedent set forth in Section 4.2 shall have been satisfied (which
conditions precedent the Lenders hereby irrevocably waive), be deemed to have made a
Revolving Loan to the Borrower in the principal amount of such payment. Whenever any Issuer
receives from the Borrower a payment of a Reimbursement Obligation as to which the
Administrative Agent has received for the account of such Issuer any payment from a Lender

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pursuant to this clause (h), such Issuer shall pay over to the Administrative Agent any amount
received in excess of such Reimbursement Obligation and, upon receipt of such amount, the
Administrative Agent shall promptly pay over to each Lender, in Same Day Funds in the
applicable currency, an amount equal to such Lender’s Ratable Portion of the amount of such
payment adjusted, if necessary, to reflect the respective amounts the Lenders have paid in respect
of such Reimbursement Obligation. (A) In the absence of written notice to the contrary from the
Borrower, and subject to the other provisions of this Agreement (but without regard to the
conditions to borrowing set forth in Section 4.2), Reimbursement Obligations shall be financed
when due with Swing Loans or Base Rate Loans, in each case to the Borrower in an equivalent
amount and, to the extent so financed, the Borrower’s obligation to make such payment shall be
discharged and replaced by the resulting Base Rate Loan or Swing Loan, as the case may be, and
(B) in the event that the Borrower has notified the Administrative Agent that it will not so
finance any such payments, the Borrower will make payment directly to the applicable Issuer
when due. The Administrative Agent shall promptly remit the proceeds from any Loans made
pursuant to clause (A) above in reimbursement of a draw under a Letter of Credit to the
applicable Issuer.

         (i)    Each Defaulting Lender agrees to pay to the Administrative Agent for the account
of such Issuer forthwith on demand any such unpaid amount together with interest thereon, for
the first Business Day after payment was first due at the Federal Funds Rate and, thereafter, until
such amount is repaid to the Administrative Agent for the account of such Issuer, at a rate per
annum equal to the rate applicable to Base Rate Loans.

        (j)     The Borrower’s obligations to pay each Reimbursement Obligation and the
obligations of the Lenders to make payments to the Administrative Agent for the account of the
Issuers with respect to Letters of Credit shall be absolute, unconditional and irrevocable and shall
be performed strictly in accordance with the terms of this Agreement, under any and all
circumstances whatsoever, including the occurrence of any Default or Event of Default, and
irrespective of any of the following:

             (i)      any lack of validity or enforceability of any Letter of Credit or any Loan
        Document, or any term or provision therein;

               (ii)    any amendment or waiver of or any consent to departure from all or any of
        the provisions of any Letter of Credit or any Loan Document;

               (iii) the existence of any claim, set-off, defense or other right that the
        Borrower, any other party guaranteeing, or otherwise obligated with, the Borrower, any
        Subsidiary or other Affiliate thereof or any other Person may at any time have against the
        beneficiary under any Letter of Credit, any Issuer, the Administrative Agent or any
        Lender or any other Person, whether in connection with this Agreement, any other Loan
        Document or any other related or unrelated agreement or transaction;

               (iv)    any draft or other document presented under a Letter of Credit proving to
        be forged, fraudulent, invalid or insufficient in any respect or any statement therein being
        untrue or inaccurate in any respect;


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                (v)     payment by the Issuer under a Letter of Credit against presentation of a
        draft or other document that does not strictly comply, but that does substantially comply,
        with the terms of such Letter of Credit; and

               (vi)    any other act or omission to act or delay of any kind of any Issuer, the
        Lenders, the Administrative Agent or any other Person or any other event or
        circumstance whatsoever, whether or not similar to any of the foregoing, that might, but
        for the provisions of this Section 2.4, constitute a legal or equitable discharge of the
        Borrower’s obligations hereunder.

Any action taken or omitted to be taken by the relevant Issuer under or in connection with any
Letter of Credit, if taken or omitted in the absence of gross negligence or willful misconduct,
shall not result in any liability of such Issuer to the Borrower or any Lender. In determining
whether drafts and other documents presented under a Letter of Credit comply with the terms
thereof, the Issuers may accept documents that appear on their face to be in order, without
responsibility for further investigation, regardless of any notice or information to the contrary
and, in making any payment under any Letter of Credit, the Issuers may rely exclusively on the
documents presented to it under such Letter of Credit as to any and all matters set forth therein,
including reliance on the amount of any draft presented under such Letter of Credit, whether or
not the amount due to the beneficiary thereunder equals the amount of such draft and whether or
not any document presented pursuant to such Letter of Credit proves to be insufficient in any
respect, if such document on its face appears to be in order, and whether or not any other
statement or any other document presented pursuant to such Letter of Credit proves to be forged
or invalid or any statement therein proves to be inaccurate or untrue in any respect whatsoever,
and any noncompliance in any immaterial respect of the documents presented under such Letter
of Credit with the terms thereof shall, in each case, be deemed not to constitute willful
misconduct or gross negligence of the applicable Issuer.

        (k)     Applicability of ISP and UCP. Unless otherwise expressly agreed by the relevant
Issuer and the Borrower when a Letter of Credit is issued, (i) the rules of the ISP shall apply to
each Standby Letter of Credit, and (ii) the rules of the Uniform Customs and Practice for
Documentary Credits, as most recently published by the International Chamber of Commerce at
the time of issuance, shall apply to each Documentary Letter of Credit.

        (l)     Notwithstanding anything to the contrary contained in this Section 2.4, it is
hereby acknowledged and agreed that each of the letters of credit described in Schedule 2.4 (each
a “Pre-Petition Letter of Credit”) shall constitute a “Letter of Credit” for all purposes of this
Agreement and shall be deemed issued under this Agreement on the Closing Date and all Pre-
Petition Letter of Credit Borrowings outstanding on the Closing Date shall constitute “Letter of
Credit Borrowings” for all purposes of this Agreement.

          SECTION 2.5         Reduction and Termination of the Revolving Credit Commitments.

       The Borrower may, upon at least three (3) Business Days’ prior notice to the
Administrative Agent, terminate in whole or reduce in part ratably the unused portions of any
Class of Revolving Credit Commitments of the Lenders without premium or penalty other than
any amount required to be paid by the Borrower pursuant to Section 3.5; provided, however, that

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each partial reduction shall be in an aggregate amount of not less than $1,000,000 or an integral
multiple of $500,000 in excess thereof; provided, further, that no reduction or termination of
Commitments having a later maturity shall be permitted on a greater than pro rata basis with
commitments having an earlier maturity. Notwithstanding the foregoing, the Borrower may
rescind or postpone any notice of termination of the Revolving Credit Commitments if such
termination would have resulted from a refinancing of all of the applicable Class, which
refinancing shall not be consummated or otherwise shall be delayed.

          SECTION 2.6          Repayment of Loans.

       The Borrower promises to repay to the Administrative Agent for the ratable account of
the Lenders the aggregate unpaid principal amount of the Loans (including any Letter of Credit
Borrowings) and the Swing Loans on the Revolving Credit Termination Date or earlier, if
otherwise required by the terms hereof.

          SECTION 2.7          Evidence of Indebtedness.

       (a)     The Loans made by each Lender shall be evidenced by one or more accounts or
records maintained by such Lender and evidenced by one or more entries in the Register
maintained by the Administrative Agent, acting solely for purposes of Treasury Regulation
Section 5f.103-1(c), as agent for the Borrower, in each case in the Ordinary Course of Business.
Subject to Section 12.2(c), accounts or records maintained by the Administrative Agent and each
Lender shall be prima facie evidence absent manifest error of the amount of the Loans made by
the Lenders to the Borrower and the interest and payments thereon. Any failure to so record or
any error in doing so shall not, however, limit or otherwise affect the obligation of the Borrower
hereunder to pay any amount owing with respect to the Obligations. In the event of any conflict
between the accounts and records maintained by any Lender and the accounts and records of the
Administrative Agent in respect of such matters, the accounts and records of the Administrative
Agent shall control in the absence of manifest error.

       (b)     (i) Subject to Section 12.2(c), entries made in good faith by the Administrative
Agent in the Register pursuant to Sections 2.7(a) and by each Lender in its account or accounts
pursuant to Section 2.7a) shall be prima facie evidence of the amount of principal and interest
due and payable or to become due and payable from the Borrower to, in the case of the Register,
each Lender and, in the case of such account or accounts, such Lender, under this Agreement and
the other Loan Documents, absent manifest error; provided that the failure of the Administrative
Agent or such Lender to make an entry, or any finding that an entry is incorrect, in the Register
or such account or accounts shall not limit or otherwise affect the obligations of the Borrower
under this Agreement and the other Loan Documents.

                (ii)    Notwithstanding anything to the contrary contained in this Agreement, the
        Loans (including the Revolving Credit Notes evidencing such Loans) and the drawn
        Letters of Credit are registered obligations and the right, title, and interest of the Lenders
        and the Issuers and their assignees in and to such Loans or drawn Letters of Credit, as the
        case may be, shall be transferable only upon notation of such transfer in the Register. A
        Revolving Credit Note shall only evidence the Lender’s or a registered assignee’s right,
        title and interest in and to the related Loan, and in no event is any such Revolving Credit

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        Note to be considered a bearer instrument or obligation. This Section 2.7(b) and Section
        12.2 shall be construed so that the Loans and drawn Letters of Credit are at all times
        maintained in “registered form” within the meaning of Sections 163(f), 871(h)(2) and
        881(c)(2) of the Code and any related regulations (or any successor provisions of the
        Code or such regulations).

       (c)     Notwithstanding any other provision of the Agreement, in the event that any
Lender requests that the Borrower execute and deliver a promissory note or notes payable to
such Lender in order to evidence the Indebtedness owing to such Lender by the Borrower
hereunder, the Borrower shall promptly execute and deliver a Revolving Credit Note or
Revolving Credit Notes to such Lender evidencing the Loans of such Lender, substantially in the
form of Exhibit B. Each Lender may attach schedules to its Revolving Credit Note and endorse
thereon the date, Type (if applicable), amount and maturity of its Loans and payments with
respect thereto; provided that the failure to do so shall in no way affect the obligations of the
Borrower or any other Loan Party under any Loan Document.

          SECTION 2.8         Optional Prepayments.

        The Borrower may prepay, in the applicable currency, the outstanding principal amount
of the Loans and Swing Loans in whole or in part at any time; provided, however, that if any
prepayment of any Eurocurrency Rate Loan is made by the Borrower other than on the last day
of an Interest Period for such Loan, the Borrower shall also pay any amount owing pursuant to
Section 3.5.

          SECTION 2.9         Mandatory Prepayments.

        (a)     If at any time, the aggregate principal amount of Revolving Credit Outstandings
exceeds the aggregate Maximum Credit at such time (including as a result of any currency
fluctuation), the Borrower shall within one (1) Business Day from the date of such occurrence, in
each case, prepay, in the applicable currency, the Swing Loans first and then the other Loans
then outstanding in an amount equal to such excess. If any such excess remains after repayment
in full of the aggregate outstanding Swing Loans and the other Loans, the Borrower shall Cash
Collateralize the Letter of Credit Obligations in the manner set forth in Section 10.5 in an
amount equal to 101% of such excess.

        (b)    If (x) at any time during a Cash Dominion Period or (y) in respect of any
Disposition that would result in the occurrence of a Cash Dominion Period, any Loan Party or
any of its Subsidiaries receives any Net Cash Proceeds arising from any Disposition in respect of
any Collateral outside of the Ordinary Course of Business, the Borrower shall promptly (but in
any event within five (5) Business Days of such receipt) prepay the Loans in an amount equal to
100% of such Net Cash Proceeds (and, to the extent such Net Cash Proceeds exceed the
aggregate principal amount of Loans outstanding, Cash Collateralize Letters of Credit in an
amount equal to up to 101% of the aggregate maximum drawable amount of such Letters of
Credit).

        (c)    Subject to Section 3.5 hereof, all such payments in respect of the Loans pursuant
to this Section 2.9 shall be without premium or penalty. All interest accrued on the principal

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amount of the Loans paid pursuant to this Section 2.9 shall be paid, or may be charged by the
Administrative Agent to any loan account(s) of the Borrower, at the Administrative Agent’s
option, on the date of such payment. Interest shall accrue and be due, until the next Business
Day, if the amount so paid by the Borrower to the bank account designated by the Administrative
Agent for such purpose is received in such bank account after 3:00 p.m.

       (d)      At all times after the occurrence and during the continuance of Cash Dominion
Period and notification thereof by the Administrative Agent to the Borrower (subject to the
provisions of Section 10.3 and to the terms of the Security Agreement), on each Business Day, at
or before 1:00 p.m., the Agent shall apply all Same Day Funds credited to the Concentration
Account and all amounts received pursuant to Section 2.9(b), first to pay any fees or expense
reimbursements then due to the Administrative Agent, the Issuers and the Lenders (other than in
connection with Cash Management Obligations, Obligations in respect of Secured Hedge
Agreements), pro rata, second to pay interest due and payable in respect of any Loans (including
Swing Loans) and any Protective Advances that may be outstanding, pro rata, third to prepay the
principal of any Protective Advances that may be outstanding, pro rata, and fourth to prepay the
principal of the Loans (including Swing Loans) and to Cash Collateralize outstanding Letter of
Credit Obligations, pro rata.

       (e)     Substantially concurrently with receipt by the Borrower of proceeds of the DIP
Term Loans, the Borrower shall prepay all Loans then outstanding in an amount not less than (i)
the aggregate amount of such proceeds less (ii) fees and expenses paid on such funding date.

          SECTION 2.10        Interest.

        (a)     Rate of Interest. All Loans and the outstanding amount of all other Obligations
owing under the Loan Documents shall bear interest, in the case of any Class of Loans, on the
unpaid principal amount thereof from the date such Loans are made and, in the case of such other
Obligations, from the date such other Obligations are due and payable until, in all cases, paid in
full, except as otherwise provided in clause (c) below, as follows:

               (i)      if a Base Rate Loan or such other Obligation (except as otherwise
        provided in this Section 2.10(a)), at a rate per annum equal to the sum of (A) the Base
        Rate as in effect from time to time and (B) the Applicable Rate for Base Rate Loans; and

               (ii)    if a Eurocurrency Rate Loan, at a rate per annum equal to the sum of (A)
        the Adjusted Eurocurrency Rate determined for the applicable Interest Period and (B) the
        Applicable Rate applicable to Eurocurrency Rate Loans in effect from time to time
        during such Interest Period.

         (b)    Interest Payments. (i) Interest accrued on each Base Rate Loan (other than Swing
Loans) shall be payable in arrears (A) on the first Business Day of each month, commencing on
the first such day following the making of such Base Rate Loan and (B) if not previously paid in
full, at maturity (whether by acceleration or otherwise) of such Base Rate Loan, (ii) interest
accrued on Swing Loans shall be payable in arrears on the first Business Day of the immediately
succeeding calendar month, (iii) interest accrued on each Eurocurrency Rate Loan shall be
payable in arrears (A) on the last day of each Interest Period applicable to such Loan and, if such

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Interest Period has a duration of more than one (1) month, on each date during such Interest
Period occurring every one (1) month from the first day of such Interest Period, (B) upon the
payment or prepayment thereof in full or in part and (C) if not previously paid in full, at maturity
(whether by acceleration or otherwise) of such Eurocurrency Rate Loan and (iv) interest accrued
on the amount of all other Obligations shall be payable on demand from and after the time such
Obligation becomes due and payable (whether by acceleration or otherwise).

        (c)     Default Interest. The Borrower shall pay interest on past due amounts hereunder
at a fluctuating interest rate per annum at all times equal to the Default Rate to the fullest extent
permitted by applicable Laws. Accrued and unpaid interest on past due amounts (including
interest on past due interest) shall be due and payable upon demand.

          SECTION 2.11         Conversion/Continuation Option.

        (a)    The Borrower may elect (i) at any time on any Business Day, to convert Base
Rate Loans (other than Swing Loans) or any portion thereof to Eurocurrency Rate Loans and (ii)
at the end of any applicable Interest Period, to convert Eurocurrency Rate Loans or any portion
thereof into Base Rate Loans, or to continue such Eurocurrency Rate Loans or any portion
thereof for an additional Interest Period; provided, however, that the aggregate amount of the
Eurocurrency Rate Loans for each Interest Period must be in the amount of at least $500,000 or
an integral multiple of $100,000 in excess thereof. Each conversion or continuation shall be
allocated among the Loans of each Lender in accordance with such Lender’s Ratable Portion.
Each such election shall be in substantially the form of Exhibit F (a “Notice of Conversion or
Continuation”) and shall be made by giving the Administrative Agent at least three (3) Business
Days’ prior written notice specifying (A) the amount and type of Loan being converted or
continued, (B) in the case of a conversion to or a continuation of Eurocurrency Rate Loans, the
applicable Interest Period and (C) in the case of a conversion, the date of such conversion.

        (b)     The Administrative Agent shall promptly notify each Lender of its receipt of a
Notice of Conversion or Continuation and of the options selected therein. Notwithstanding the
foregoing, the Administrative Agent or the Requisite Lenders may require by notice to the
Borrower that no conversion in whole or in part of Base Rate Loans to Eurocurrency Rate Loans
and no continuation in whole or in part of Eurocurrency Rate Loans upon the expiration of any
applicable Interest Period shall be permitted at any time at which (A) an Event of Default shall
have occurred and be continuing or (B) the continuation of, or conversion into, a Eurocurrency
Rate Loan would violate any provision of Section 2.14. If, within the time period required under
the terms of this Section 2.11, the Administrative Agent does not receive a Notice of Conversion
or Continuation from the Borrower containing a permitted election to continue any Eurocurrency
Rate Loans for an additional Interest Period or to convert any such Loans, then, upon the
expiration of the applicable Interest Period, such Loans shall be automatically converted to Base
Rate Loans. Each Notice of Conversion or Continuation shall be irrevocable.

          SECTION 2.12         Fees.

       (a)    Unused Commitment Fee. The Borrower agrees to pay in Same Day Funds in
Dollars to the Administrative Agent for the account of each Lender a commitment fee (the
“Unused Commitment Fee”) on the average daily amount by which the Revolving Credit

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Commitment of such Lender exceeds such Lender’s Ratable Portion of the sum of (i) the
aggregate outstanding principal amount of Loans for the applicable Class and (ii) the outstanding
amount of the aggregate Letter of Credit Undrawn Amounts from the Closing Date through the
Revolving Credit Termination Date at the Applicable Unused Commitment Fee Rate, payable in
arrears (x) on the first Business Day of each month, commencing on the first such Business Day
following the Closing Date and (y) on the Revolving Credit Termination Date. For the
avoidance of doubt, any Swing Loans outstanding shall reduce the Revolving Credit
Commitment of the Swing Loan Lender in its capacity as a Lender.

        (b)     Letter of Credit Fees. The Borrower agrees to pay the following amounts with
respect to Letters of Credit issued by any Issuer:

                (i)    to the Administrative Agent for the account of each Issuer of a Letter of
        Credit, with respect to each Letter of Credit issued by such Issuer, an issuance fee equal
        to 0.125% per annum of the average daily maximum undrawn face amount of such Letter
        of Credit (whether or not such maximum amount is then in effect under such Letter of
        Credit if such maximum amount increases periodically pursuant to the terms of such
        Letter of Credit) for the immediately preceding month (or portion thereof), payable in
        arrears (A) on the first Business Day of each month, commencing on the first such
        Business Day following the issuance of such Letter of Credit and (B) on the Revolving
        Credit Termination Date;

                (ii)   to the Administrative Agent for the ratable benefit of the Lenders, with
        respect to each Letter of Credit, a fee accruing in Dollars at a rate per annum equal to the
        Applicable Rate for Eurocurrency Rate Loans (each such fee, a “Letter of Credit Fee”), in
        each case multiplied by the average daily maximum undrawn face amount of such Letter
        of Credit (whether or not such maximum amount is then in effect under such Letter of
        Credit if such maximum amount increases periodically pursuant to the terms of such
        Letter of Credit) for the immediately preceding month (or portion thereof), payable in
        arrears (A) on the first Business Day of each month, commencing on the first such
        Business Day following the issuance of such Letter of Credit and (B) on the Revolving
        Credit Termination Date; provided, however, that any Letter of Credit Fees otherwise
        payable for the account of a Defaulting Lender with respect to any Letter of Credit as to
        which such Defaulting Lender has not provided Cash Collateral satisfactory to the
        applicable Issuer pursuant to Section 2.4 shall be payable, to the maximum extent
        permitted by applicable Law, to the other Lenders in accordance with the upward
        adjustments in their respective Applicable Percentages allocable to such Letter of Credit
        pursuant to Section 2.16(a)(iv), with the balance of such fee, if any, payable to the
        applicable Issuer for its own account; and

               (iii) to the Issuer of any Letter of Credit, with respect to the issuance,
        amendment or transfer of each Letter of Credit and each drawing made thereunder,
        customary documentary and processing charges in accordance with such Issuer’s
        standard schedule for such charges in effect at the time of issuance, amendment, transfer
        or drawing, as the case may be.



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       (c)    Additional Fees. The Borrower has agreed to pay to the Administrative Agent
and the Arrangers additional fees, the amount and dates of payment of which are embodied in the
Fee Letter.

          SECTION 2.13        Payments and Computations.

        (a)     All payments to be made by the Borrower shall be made without condition or
deduction for any counterclaim, defense, recoupment or setoff. The Borrower shall make each
payment and prepayment hereunder (including fees and expenses) not later than 2:00 p.m. on the
day when due, (i) in the case of Loans, in the currency in which such Loan is denominated, (ii) in
the case of Reimbursement Obligations, in the currency of the applicable Letter of Credit, (iii) in
the case of any accrued interest payable on a Loan or Reimbursement Obligation, in the currency
of such Loan or Reimbursement Obligation, as applicable, and (iv) in the case of all other
payments under each Loan Document, in Dollars except as otherwise expressly provided herein
or therein, in each case to the Administrative Agent, for the account of the respective Lenders to
which such payment is owed, at the applicable Administrative Agent’s Office for payment and in
Same Day Funds without condition or deduction for any defense, recoupment, set-off or
counterclaim. The Administrative Agent will promptly distribute to each Lender its Pro Rata
Share (or other applicable share as provided herein) of such payment in like funds as received by
wire transfer to such Lender’s Lending Office. All payments received by the Administrative
Agent after 2:00 p.m. shall, in each case be deemed received on the next succeeding Business
Day and any applicable interest or fee shall continue to accrue.

         (b)    All computations of interest for Base Rate Loans shall be made on the basis of a
year of 365 days or 366 days, as the case may be, and actual days elapsed. All other
computations of fees and interest shall be made on the basis of a 360-day year and actual days
elapsed (which results in more fees or interest, as applicable, being paid than if computed on the
basis of a 365 day year). Interest shall accrue on each Loan for the day on which the Loan is
made, and shall not accrue on a Loan, or any portion thereof, for the day on which the Loan or
such portion is paid; provided that any Loan that is repaid on the same day on which it is made
shall bear interest for one (1) day. Each determination by the Administrative Agent of an interest
rate or fee hereunder shall be conclusive and binding for all purposes, absent manifest error.

        (c)     [reserved]

        (d)    Whenever any payment hereunder shall be stated to be due on a day other than a
Business Day, the due date for such payment shall be extended to the next succeeding Business
Day, and such extension of time shall in such case be included in the computation of payment of
interest or fees, as the case may be; provided, however, that if such extension would cause
payment of interest on or principal of any Eurocurrency Rate Loan to be made in the next
calendar month, such payment shall be made on the immediately preceding Business Day. All
repayments of any Loans shall be applied as follows: first, to repay any such Loans outstanding
as Base Rate Loans and then, to repay any such Loans outstanding as Eurocurrency Rate Loans,
with those Eurocurrency Rate Loans having earlier expiring Interest Periods being repaid prior to
those having later expiring Interest Periods.



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        (e)     Unless the Administrative Agent shall have received notice from the Borrower to
the Lenders prior to the date on which any payment is due hereunder that the Borrower will not
make such payment in full, the Administrative Agent may assume that the Borrower has made
such payment in full to the Administrative Agent on such date and the Administrative Agent may
(but shall not be so required to), in reliance upon such assumption, cause to be distributed to each
Lender on such due date an amount equal to the amount then due such Lender. If and to the
extent that the Borrower shall not have made such payment to the Administrative Agent in Same
Day Funds in the applicable currency, then each Lender shall repay to the Administrative Agent
forthwith on demand the portion of such assumed payment that was made available to such
Lender in Same Day Funds in the applicable currency, together with interest thereon in respect of
each day from and including the date such amount was made available to such Lender to the date
such amount is repaid to the Administrative Agent in Same Day Funds in the applicable currency
at the applicable Overnight Rate from time to time in effect.

        (f)    Except for payments and other amounts received by the Administrative Agent and
applied in accordance with the provisions of Section 10.2(b) below (or required to be applied in
accordance with Section 2.9), all payments and any other amounts received by the
Administrative Agent from or for the benefit of the Borrower shall be applied as follows: first, to
pay principal of, and interest on, any portion of the Loans the Administrative Agent may have
advanced pursuant to the express provisions of this Agreement on behalf of any Lender, for
which the Administrative Agent has not then been reimbursed by such Lender or the Borrower,
second, to pay all other Obligations then due and payable and third, as the Borrower so
designates. Payments in respect of Swing Loans received by the Administrative Agent shall be
distributed to the Swing Loan Lender; payments in respect of Loans received by the
Administrative Agent shall be distributed to each Lender in accordance with such Lender’s
Ratable Portion; and all payments of fees and all other payments in respect of any other
Obligation shall be allocated among such of the Lenders and Issuers as are entitled thereto and,
for such payments allocated to the Lenders, in proportion to their respective Ratable Portions.

        (g)     At the option of the Administrative Agent, principal on the Swing Loans,
Reimbursement Obligations, interest, fees, expenses and other sums due and payable in respect
of the Loans and Protective Advances may be paid from the proceeds of Swing Loans or the
Revolving Loans unless the Borrower makes such payments on the next succeeding Business
Day after the Borrower receives written notice from the Administrative Agent requesting such
payments. The Borrower hereby authorizes the Swing Loan Lender to make such Swing Loans
pursuant to Section 2.3(a) and the Lenders to make such Loans pursuant to Section 2.2(a) from
time to time in the amounts of any and all principal payable with respect to the Swing Loans,
Reimbursement Obligations, interest, fees, expenses and other sums payable in respect of the
Loans and Protective Advances, and further authorizes the Administrative Agent to give the
Lenders notice of any Borrowing with respect to such Swing Loans and the Revolving Loans and
to distribute the proceeds of such Swing Loans and the Revolving Loans to pay such amounts.
The Borrower agrees that all such Swing Loans and the Revolving Loans so made shall be
deemed to have been requested by it (irrespective of the satisfaction of the conditions in Section
4.2, which conditions the Lenders irrevocably waive) and directs that all proceeds thereof shall
be used to pay such amounts.

          SECTION 2.14        Special Provisions Governing Eurocurrency Rate Loans.

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       (a)     Determination of Interest Rate. The Adjusted Eurocurrency Rate for each Interest
Period for Eurocurrency Rate Loans shall be determined by the Administrative Agent pursuant to
the procedures set forth in the definition of “Eurocurrency Rate”. The Administrative Agent’s
determination shall be presumed to be correct and binding on the Loan Parties, absent manifest
error.

         (b)    Interest Rate Unascertainable, Inadequate or Unfair. In the event that (i) the
Administrative Agent reasonably determines that adequate and fair means do not exist for
ascertaining the applicable interest rates by reference to which the Eurocurrency Rate then being
determined is to be fixed or (ii) the Requisite Lenders reasonably determine and notify the
Administrative Agent that the Eurocurrency Rate for any Interest Period will not adequately
reflect the cost to the Lenders of making or maintaining such Loans for such Interest Period, the
Administrative Agent shall forthwith so notify the Borrower and the Lenders, whereupon each
Eurocurrency Rate Loan shall automatically, on the last day of the current Interest Period for
such Loan, convert into a Base Rate Loan, and the obligations of the Lenders to make
Eurocurrency Rate Loans or to convert Base Rate Loans into Eurocurrency Rate Loans shall be
suspended until the Administrative Agent shall notify the Borrower that the Requisite Lenders
have determined that the circumstances causing such suspension no longer exist.

          SECTION 2.15        [Reserved].

          SECTION 2.16        Defaulting Lenders.

       (a)    Adjustments. Notwithstanding anything to the contrary contained in this
Agreement, if any Lender becomes a Defaulting Lender, then, until such time as that Lender is
no longer a Defaulting Lender, to the extent permitted by applicable Law:

                 (i)    Waivers and Amendments. That Defaulting Lender’s right to approve or
        disapprove any amendment, waiver or consent with respect to this Agreement shall be
        restricted as set forth in Section 12.1.

                (ii)   Reallocation of Payments. Any payment of principal, interest, fees or
        other amounts received by the Administrative Agent for the account of that Defaulting
        Lender (whether voluntary or mandatory, at maturity, pursuant to Article X or otherwise,
        and including any amounts made available to the Administrative Agent by that
        Defaulting Lender pursuant to Section 12.6), shall be applied at such time or times as
        may be determined by the Administrative Agent as follows: first, to the payment of any
        amounts owing by that Defaulting Lender to the Administrative Agent hereunder; second,
        to the payment on a pro rata basis of any amounts owing by that Defaulting Lender to any
        Issuer or the Swing Loan Lender hereunder; third, if so determined by the Administrative
        Agent or requested by any Issuer or the Swing Loan Lender, to be held as cash collateral
        for future funding obligations of that Defaulting Lender of any participation in any Swing
        Loan or Letter of Credit; fourth, as the Borrower may request (so long as no Default or
        Event of Default exists), to the funding of any Loan in respect of which that Defaulting
        Lender has failed to fund its portion thereof as required by this Agreement, as determined
        by the Administrative Agent; fifth, if so determined by the Administrative Agent and the
        Borrower, to be held in a non-interest bearing deposit account and released in order to

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        satisfy obligations of that Defaulting Lender to fund Loans under this Agreement; sixth,
        to the payment of any amounts owing to the Lenders, any Issuer or the Swing Loan
        Lender as a result of any judgment of a court of competent jurisdiction obtained by any
        Lender, any Issuer or the Swing Loan Lender against that Defaulting Lender as a result of
        that Defaulting Lender’s breach of its obligations under this Agreement; seventh, so long
        as no Default or Event of Default exists, to the payment of any amounts owing to the
        Borrower as a result of any judgment of a court of competent jurisdiction obtained by the
        Borrower against that Defaulting Lender as a result of that Defaulting Lender’s breach of
        its obligations under this Agreement; and eighth, to that Defaulting Lender or as
        otherwise directed by a court of competent jurisdiction; provided that if (x) such payment
        is a payment of the principal amount of any Loans or Letter of Credit Borrowings in
        respect of which that Defaulting Lender has not fully funded its appropriate share and (y)
        such Loans or Letter of Credit Borrowings were made at a time when the conditions set
        forth in Section 4.2 were satisfied or waived, such payment shall be applied solely to pay
        the Loans of, and Letter of Credit Borrowings owed to, all non-Defaulting Lenders on a
        pro rata basis prior to being applied to the payment of any Loans of, or Letter of Credit
        Borrowings owed to, that Defaulting Lender. Any payments, prepayments or other
        amounts paid or payable to a Defaulting Lender that are applied (or held) to pay amounts
        owed by a Defaulting Lender or to post cash collateral pursuant to this Section 2.16(a)(ii)
        shall be deemed paid to and redirected by that Defaulting Lender, and each Lender
        irrevocably consents hereto.

               (iii) Certain Fees. That Defaulting Lender (x) shall not be entitled to receive
        any commitment fee pursuant to Section 2.12(a) for any period during which that Lender
        is a Defaulting Lender (and the Borrower shall not be required to pay any such fee that
        otherwise would have been required to have been paid to that Defaulting Lender for such
        period) and (y) shall be limited in its right to receive Letter of Credit Fees as provided in
        Section 2.12(b).

                (iv)    Reallocation of Applicable Percentages to Reduce Fronting Exposure.
        During any period in which there is a Defaulting Lender, for purposes of computing the
        amount of the obligation of each non-Defaulting Lender to acquire, refinance or fund
        participations in Letters of Credit or Swing Loans pursuant to Sections 2.3 and 2.4, the
        “Applicable Percentage” of each non-Defaulting Lender shall be computed without
        giving effect to the Revolving Credit Commitment of that Defaulting Lender; provided
        that (i) each such reallocation shall be given effect only if, at the date the applicable
        Lender becomes a Defaulting Lender, no Default or Event of Default exists; and (ii) the
        aggregate obligation of each non-Defaulting Lender to acquire, refinance or fund
        participations in Letters of Credit and Swing Loans shall not exceed the positive
        difference, if any, of (1) the Revolving Credit Commitment of that non Defaulting Lender
        minus (2) the aggregate Outstanding Amount of the Revolving Loans of that Lender.

        (b)     Defaulting Lender Cure. If the Borrower, the Administrative Agent, Swing Loan
Lender and the Issuers agree in writing in their reasonable discretion that a Defaulting Lender
should no longer be deemed to be a Defaulting Lender, the Administrative Agent will so notify
the parties hereto, whereupon as of the effective date specified in such notice and subject to any
conditions set forth therein (which may include arrangements with respect to any Cash

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Collateral), that Lender will, to the extent applicable, purchase that portion of outstanding Loans
of the other Lenders or take such other actions as the Administrative Agent may determine to be
necessary to cause the Revolving Loans and funded and unfunded participations in Letters of
Credit and Swing Loans to be held on a pro rata basis by the Lenders in accordance with their
Applicable Percentages (without giving effect to Section 2.16(a)(iv)), whereupon that Lender
will cease to be a Defaulting Lender; provided that no adjustments will be made retroactively
with respect to fees accrued or payments made by or on behalf of the Borrower for the period
that such Lender was a Defaulting Lender; and provided further that except to the extent
otherwise expressly agreed by the affected parties, no change hereunder from Defaulting Lender
to Lender will constitute a waiver or release of any claim of any party hereunder arising from
that Lender’s having been a Defaulting Lender.

       (c)    Cash Collateral. At any time that there shall exist a Defaulting Lender,
immediately upon the request of the Administrative Agent, the applicable Issuer or the Swing
Loan Lender, the Borrower shall deliver to the Administrative Agent Cash Collateral in an
amount sufficient to cover all Fronting Exposure (after giving effect to Section 2.16(a)(iv) and
any Cash Collateral provided by the Defaulting Lender).

          SECTION 2.17         Certain Bankruptcy Matters.

        (a)     Except to the extent expressly provided otherwise in an Order, the Loan Parties
hereby agree that, subject only to the Carve Out and the DIP Intercreditor Agreement, the
Obligations shall be deemed to (i) constitute DIP Superpriority Claims over all administrative
expense claims and claims against the Borrower or the other Loan Parties now existing or
hereafter arising, of any kind or nature whatsoever, including, without limitation, all
administrative expense claims of the kind specified in Sections 105, 326, 328, 330, 331, 365,
503(a), 503(b), 506(c) (subject to entry of the Final Order) (and all rights to charge the Collateral
and all collateral securing the Pre-Petition Obligations under Section 506(c) shall be waived),
507(a), 507(b), 546(c), 546(d), 726, 1113, 1114 or any other provisions of the Bankruptcy Code
and all superpriority administrative expense claims granted to any other Person the establishment
of which super-priority shall have been approved and authorized by the Bankruptcy Court, (ii)
pursuant to Bankruptcy Code Section 364(c)(2), be secured by a perfected first-priority security
interest in the Collateral, and any proceeds and products thereof in whatever form received,
provided, further that the Collateral shall exclude the Debtors’ claims and causes of action under
Chapter 5 of the Bankruptcy Code, or other Avoidance Actions, but subject only to, and effective
upon, entry of the Final Order, shall include any proceeds or property recovered, unencumbered
or otherwise the subject of successful Avoidance Actions, whether by judgment, settlement or
otherwise, in each case, to the extent that such Collateral is not subject to valid, perfected and
non-avoidable liens as of the commencement of the Cases, (iii) pursuant to Bankruptcy Code
section 364(c)(3), be secured by a perfected lien on all Collateral, to the extent that such
Collateral is subject to valid, perfected and non-avoidable liens in favor of third parties in
existence at the time of the commencement of the Cases or to valid liens in existence at the time
of such commencement that are perfected subsequent to such commencement as permitted by
Section 546(b) of the Bankruptcy Code and (iv) pursuant to Bankruptcy Code section 364(d), be
secured by a perfected priming first priority lien on all Collateral, to the extent that such
Collateral is subject to valid, perfected and non-avoidable liens in favor of third parties as of the


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commencement of the Cases that secure the obligations of the Loan Parties under or in
connection with the Pre-Petition Credit Agreement.

       (b)    In the event of a conflict between, or inconsistency among, the Orders, on the one
hand, and any Loan Document, on the other hand, the Orders shall control.

        (c)     Notwithstanding anything to the contrary contained herein or elsewhere (except as
specifically described below):

                (i)     the parties hereto agree, and the Orders shall provide, that the Loan Parties
        shall not be required to prepare, file, register or publish any financing statements,
        mortgages, account control agreements, notices of Lien or similar instruments in any
        jurisdiction or filing or registration office, or to take possession of any Collateral or to
        take any other action in order to validate, render enforceable or perfect the Liens on the
        Collateral granted by or pursuant to this Agreement, the Orders or any other Loan
        Document. Subject to the limitations set forth in the definition of “Guarantee and
        Collateral Requirement” and in Sections 8.11 and 8.13, if the Administrative Agent (in its
        sole discretion), from time to time elects to prepare, file, register or publish any such
        financing statements, mortgages, account control agreements, notices of Lien or similar
        instruments, take possession of any Collateral, or take any other action to validate, render
        enforceable or perfect all or any portion of the Collateral Agent’s Liens on the Collateral,
        (A) all such documents and actions shall be deemed to have been filed, registered,
        published or recorded or taken at the time and on the date that the Interim Order is
        entered, and (B) shall not negate or impair the validity or effectiveness of this Section
        2.17(c) or of the perfection of any other Liens in favor of the Collateral Agent, for the
        benefit of the Lenders and the other Loan Parties, on the Collateral; and

                (ii)     except as otherwise agreed to by the Lenders (including, without
        limitation, in the DIP Intercreditor Agreement) or as otherwise permitted or contemplated
        by this Agreement, the Orders or the other Loan Documents, the Liens, Lien priorities,
        DIP Superpriority Claims and other rights and remedies granted to the Loan Parties
        pursuant to this Agreement, the Orders or the other Loan Documents (specifically
        including, but not limited to, the existence, perfection, enforceability and priority of the
        Liens provided for herein and therein, and the DIP Superpriority Claims provided herein
        and therein) shall not be modified, altered or impaired in any manner by any other
        financing or extension of credit or incurrence of indebtedness by the Borrower or any
        other Loan Party (pursuant to Section 364 of the Bankruptcy Code or otherwise), or by
        dismissal or conversion of the Cases, or by any other act or omission whatsoever.

       (d)     Without limiting the generality of the foregoing, notwithstanding any such
financing, extension, incurrence, dismissal, conversion, act or omission:

                (i)     subject only to the Carve Out and the Orders, no costs or expenses of
        administration which have been or may be incurred in the Cases or any conversion of the
        same or in any other proceedings related thereto, and no priority claims, are or will be
        prior to or on a parity with any claim of any Lender or the Administrative Agent against
        the Borrower in respect of any Obligations;

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                (ii)    other than as provided in the Orders or the Loan Documents, the Collateral
        Agent’s Liens on the Collateral shall constitute valid, enforceable and perfected Liens,
        and, except with respect to the Carve Out (and as otherwise set forth in the DIP
        Intercreditor Agreement and in the Orders), shall be prior to all other Liens now existing
        or hereafter arising, in favor of any other creditor or other Person; and

                (iii) the parties hereto agree, and the Orders shall provide, that the Collateral
        Agent’s Liens on the Collateral shall continue to be valid, enforceable and perfected
        without the need for the Collateral Agent or any Lender to prepare, file, register or
        publish any financing statements, mortgages, hypothecs, account control agreements,
        notices of Lien or similar instruments or to otherwise perfect the Collateral Agent’s Liens
        under applicable non-bankruptcy law.

                                          ARTICLE III

             TAXES, INCREASED COSTS PROTECTION AND ILLEGALITY

          SECTION 3.1         Taxes.

        (a)    Except as required by law, any and all payments by the Borrower (the term
“Borrower” under this Article III being deemed to include any Subsidiary for whose account a
Letter of Credit is issued) or any Guarantor under any Loan Document shall be made free and
clear of and without deduction for any and all present or future taxes, duties, levies, imposts,
deductions, assessments, fees, withholdings (including backup withholding) or other charges
imposed by any Governmental Authority, including any interest, additions to tax or penalties
applicable thereto (collectively, “Taxes”), excluding, in the case of each Agent and each Lender,
(i) Taxes imposed on or measured by net income (however denominated), franchise Taxes, and
branch profits Taxes, in each case, imposed as a result of such Agent or Lender being organized
under the laws of, or having its principal office in or, in the case of any Lender, its applicable
lending office located in, the jurisdiction imposing such Tax, (ii) Taxes imposed on such Agent
or Lender as a result of a present or former connection between such Agent or Lender and the
jurisdiction imposing such Tax (other than connections arising from such Agent or Lender
having executed, delivered, become a party to, performed its obligations under, received
payments under, received or perfected a security interest under, engaged in any other transaction
pursuant to or enforced any Loan Document, or sold or assigned an interest in any Loan or Loan
Document), (iii) in the case of a Lender, U.S. federal withholding Taxes imposed on amounts
payable to or for the account of such Lender with respect to an applicable interest in a Loan or
Commitment pursuant to a law in effect on the date on which (A) such Lender acquires such
interest in the Loan or Commitment (other than pursuant to an assignment request by the
Borrower under Section 3.7 or (B) such Lender changes its lending office, except in each case to
the extent that, pursuant to this Section 3.1, amounts with respect to such Taxes were payable
either to such Lender’s assignor immediately before such Lender became a party hereto or to
such Lender immediately before it changed its lending office, (iv) any U.S. federal withholding
Taxes imposed as a result of the failure of any Agent or Lender to comply with, in the case of
any Foreign Lender, as defined below, the provisions of Sections 3.1(b) and 3.1(c) or, in the case
of any U.S. Lender, as defined below, the provisions of Section 3.1(d), and (v) any U.S. federal
withholding taxes imposed pursuant to FATCA (all Taxes described in this Section 3.1(a)(i)-(v)

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being hereinafter referred to as “Excluded Taxes”; all Taxes, other than Excluded Taxes,
imposed on or with respect to any payment made by or on account of any obligation of the
Borrower under any Loan Document being hereinafter referred to as “Indemnified Taxes”). If
the Borrower or a Guarantor is required by Law (as determined in the good faith discretion of the
Borrower or Guarantor) to deduct or withhold any Indemnified Taxes or Other Taxes (as defined
below) from or in respect of any sum payable under any Loan Document to any Agent or any
Lender, (i) the sum payable shall be increased as necessary so that after making all required
deductions or withholdings (including deductions or withholdings applicable to additional sums
payable under this Section 3.1(a)), each of such Agent and such Lender receives an amount equal
to the sum it would have received had no such deductions or withholdings been made, (ii) the
Borrower or Guarantor shall make such deductions or withholdings, (iii) the Borrower or
Guarantor shall timely pay the full amount deducted or withheld to the relevant taxing authority,
and (iv) within thirty (30) days after the date of such payment (or, if receipts or evidence are not
available within thirty (30) days, as soon as practicable thereafter), the Borrower or Guarantor
shall furnish to such Agent or Lender (as the case may be) the original or a certified copy of a
receipt evidencing payment thereof to the extent such a receipt has been made available to the
Borrower or Guarantor (or other evidence of payment reasonably satisfactory to the
Administrative Agent). If the Borrower or Guarantor fails to pay any Indemnified Taxes or
Other Taxes when due to the appropriate taxing authority or fails to remit to any Agent or any
Lender the required receipts or other required documentary evidence that has been made
available to the Borrower or Guarantor, the Borrower or Guarantor shall indemnify such Agent
and such Lender for any incremental Indemnified Taxes and Other Taxes that may become
payable by such Agent or such Lender arising out of such failure.

        (b)     To the extent it is legally able to do so, each Agent or Lender (including an
Eligible Assignee to which a Lender assigns its interest in accordance with Section 12.2) that is
not a “United States person” within the meaning of Section 7701(a)(30) of the Code (each, a
“Foreign Lender”) agrees to complete and deliver to the Borrower and the Administrative Agent
on or prior to the date on which the Agent or Lender (or Eligible Assignee) becomes a party
hereto, two (2) accurate, complete and original signed copies of whichever of the following is
applicable: (i) IRS Form W-8BEN or IRS Form W-8BEN-E certifying that it is entitled to
benefits under an income tax treaty to which the United States is a party; (ii) IRS Form W-8ECI
certifying that the income receivable pursuant to any Loan Document is effectively connected
with the conduct of a trade or business in the United States; (iii) if the Foreign Lender is not (A)
a bank described in Section 881(c)(3)(A) of the Code, (B) a 10-percent shareholder described in
Section 871(h)(3)(B) of the Code, or (C) a controlled foreign corporation related to the Borrower
within the meaning of Section 864(d) of the Code, a certificate to that effect in substantially the
form attached hereto as Exhibit N (a “Non-Bank Certificate”) and an IRS Form W-8BEN or IRS
Form W-8BEN-E, certifying that the Foreign Lender is not a United States person; (iv) to the
extent a Lender is not the beneficial owner for U.S. federal income tax purposes, IRS Form W-
8IMY (or any successor forms) of the Lender, accompanied by, as and to the extent applicable,
an IRS Form W-8BEN or IRS Form W-8BEN-E, IRS Form W-8ECI, IRS Form W-9, IRS Form
W-8IMY (or other successor forms), Non-Bank Certificate and any other required supporting
information from each beneficial owner (it being understood that a Lender need not provide
certificates or supporting documentation from beneficial owners if (x) the Lender is a “qualified
intermediary” or “withholding foreign partnership” for U.S. federal income tax purposes and (y)
such Lender is as a result able to establish, and does establish, that payments to such Lender are,
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to the extent applicable, entitled to an exemption from or, if an exemption is not available, a
reduction in the rate of, U.S. federal withholding taxes without providing such certificates or
supporting documentation); or (v) any other form prescribed by applicable requirements of U.S.
federal income tax law as a basis for claiming exemption from or a reduction in U.S. federal
withholding tax duly completed together with such supplementary documentation as may be
prescribed by applicable requirements of law to permit the Borrower and the Administrative
Agent to determine the withholding or deduction required to be made.

        (c)     In addition, each such Lender shall, to the extent it is legally entitled to do so, (i)
promptly submit to the Borrower and the Administrative Agent two (2) accurate, complete and
original signed copies of such other or additional forms or certificates (or such successor forms
or certificates as shall be adopted from time to time by the relevant taxing authorities) as may
then be applicable or available to secure an exemption from or reduction in the rate of U.S.
federal withholding tax (A) on or before the date that such Lender’s most recently delivered
form, certificate or other evidence expires or becomes obsolete or inaccurate in any material
respect, (B) after the occurrence of a change in the Foreign Lender’s circumstances requiring a
change in the most recent form, certificate or evidence previously delivered by it to the Borrower
and the Administrative Agent, and (C) from time to time thereafter if reasonably requested by the
Borrower or the Administrative Agent, and (ii) promptly notify the Borrower and the
Administrative Agent of any change in the Foreign Lender’s circumstances which would modify
or render invalid any claimed exemption or reduction.

        (d)      Each Agent or Lender that is a “United States person” (within the meaning of
Section 7701(a)(30) of the Code) (each a “U.S. Lender”) agrees to complete and deliver to the
Borrower and the Administrative Agent two (2) original copies of accurate, complete and signed
IRS Form W-9 or successor form certifying that such Agent or Lender is not subject to United
States backup withholding tax (i) on or prior to the Closing Date (or on or prior to the date it
becomes a party to this Agreement), (ii) on or before the date that such form expires or becomes
obsolete or inaccurate in any material respect, (iii) after the occurrence of a change in the
Agent’s or Lender’s circumstances requiring a change in the most recent form previously
delivered by it to the Borrower and the Administrative Agent, and (iv) from time to time
thereafter if reasonably requested by the Borrower or the Administrative Agent.

       (e)     If a payment made to a Lender under any Loan Document would be subject to
U.S. federal withholding Tax imposed by FATCA if such Lender were to fail to comply with the
applicable reporting requirements of FATCA (including those contained in Section 1471(b) or
1472(b) of the Code, as applicable), such Lender shall deliver to the Borrower and the Agent at
the time or times prescribed by law and at such time or times reasonably requested by the
Borrower or the Agent such documentation prescribed by applicable law (including as prescribed
by Section 1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably
requested by the Borrower or the Agent as may be necessary for the Borrower and the Agent to
comply with their obligations under FATCA and to determine that such Lender has complied
with such Lender’s obligations under FATCA or to determine the amount to deduct and withhold
from such payment. Solely for purposes of this clause 3.1(e)(ii), “FATCA” shall include any
amendments made to FATCA after the date of this Agreement.



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        (f)     Any Lender that is entitled to an exemption from or reduction of withholding Tax
with respect to payments made hereunder shall deliver to the Borrower and the Agent, at the time
or times reasonably requested by the Borrower or the Agent, such properly completed and
executed documentation reasonably requested by the Borrower or the Agent as will permit such
payments to be made without withholding or at a reduced rate of withholding. In addition, any
Lender, if reasonably requested by the Borrower or the Agent, shall deliver such other
documentation prescribed by applicable law or reasonably requested by the Borrower or the
Agent as will enable the Borrower or the Agent to determine whether or not such Lender is
subject to backup withholding or information reporting requirements. Notwithstanding anything
to the contrary in the preceding two sentences, the completion, execution and submission of such
documentation (other than such documentation set forth in Section 3.1(b), (d) and (e) above)
shall not be required if in the Lender’s reasonable judgment such completion, execution or
submission would subject such Lender to any material unreimbursed cost or expense or would
materially prejudice the legal or commercial position of such Lender.

        (g)    On or before the date the Administrative Agent becomes a party to this
Agreement, the Administrative Agent shall provide to the Borrower, two duly-signed, properly
completed copies of the documentation prescribed in clause (i) or (ii) below, as applicable
(together with all required attachments thereto): (i) IRS Form W-9 or any successor thereto, or
(ii) (A) IRS Form W-8ECI or any successor thereto, and (B) with respect to payments received
on account of any Lender, a U.S. branch withholding certificate on IRS Form W-8IMY or any
successor thereto evidencing its agreement with the Borrower to be treated as a U.S. Person for
U.S. federal withholding purposes. At any time thereafter, the Administrative Agent shall
provide updated documentation previously provided (or a successor form thereto) when any
documentation previously delivered has expired or become obsolete or invalid or otherwise upon
the reasonable request of the Borrower.

        (h)     The Borrower agrees to pay any and all present or future stamp, court or
documentary Taxes and any other similar excise, property, intangible or mortgage recording
Taxes or charges or similar levies which arise from any payment made under any Loan
Document or from the execution, delivery, performance, from the receipt or perfection of a
security interest under, enforcement or registration of, or otherwise with respect to, any Loan
Document (including additions to tax, penalties and interest related thereto) excluding, in each
case, such Taxes that are described in Section 3.1(a)(ii) imposed with respect to an Assignment
and Assumption, except to the extent that any such change is requested in writing by the
Borrower (all such non-Excluded Taxes described in this Section 3.1(h) being hereinafter
referred to as “Other Taxes”).

        (i)     If any Indemnified Taxes or Other Taxes are directly asserted against any Agent
or Lender with respect to any payment received by such Agent or Lender in respect of any Loan
Document, such Agent or Lender may pay such Indemnified Taxes or Other Taxes and the
Borrower will promptly indemnify and hold harmless such Agent or Lender for the full amount
of such Indemnified Taxes and Other Taxes (and any Indemnified Taxes and Other Taxes
imposed on amounts payable under this Section 3.1), and any reasonable expenses arising
therefrom or with respect thereto, whether or not such Indemnified Taxes or Other Taxes were
correctly or legally imposed or asserted. Payments under this Section 3.1(i) shall be made within
ten (10) days after the date Borrower receives demand for payment from such Agent or Lender.

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A certificate as to the amount of such payment or liability delivered to the Borrower by a Lender
(with a copy to the Administrative Agent), or by an Agent on its own behalf or on behalf of a
Lender, shall be conclusive absent manifest error.

        (j)     Each Lender shall severally indemnify the Administrative Agent, within 10 days
after demand therefor, for (x) any Indemnified Taxes or Other Taxes attributable to such Lender
(but only to the extent that the Borrower has not already indemnified the Administrative Agent
for such Indemnified Taxes or Other Taxes pursuant to this Agreement and without limiting the
obligation of the Borrower to do so), (y) any Indemnified Taxes or Other Taxes attributable to
such Lender’s failure to comply with the provisions of Section 12.2(e) relating to the
maintenance of a Participant Register and (z) any Taxes excluded from Indemnified Taxes or
Other Taxes that are attributable to such Lender, in each case, that are payable or paid by the
Administrative Agent in connection with any Loan Document, and any reasonable expenses
arising therefrom or with respect thereto, whether or not such Taxes were correctly or legally
imposed or asserted by the relevant Governmental Authority. A certificate as to the amount of
such payment or liability delivered to any Lender by the Administrative Agent shall be
conclusive absent manifest error. Each Lender hereby authorizes the Administrative Agent to set
off an apply any and all amounts at any time owing to such Lender under any Loan Document or
otherwise payable by the Administrative Agent to the Lender from any other source against any
amount due to the Administrative Agent under this paragraph (j).

        (k)     [reserved].

        (l)     [reserved].

        (m)     If any Administrative Agent or any Lender determines, in its sole discretion
exercised in good faith, that it has received a refund in respect of any Indemnified Taxes or Other
Taxes as to which it has been indemnified by the Borrower or Holdings, as the case may be or
with respect to which the Borrower or Holdings, as the case may be has paid additional amounts
pursuant to this Section 3.1, it shall remit such refund to the Borrower (but only to the extent of
indemnity payments made, or additional amounts paid, by the Borrower or Holdings, as the case
may be under this Section 3.1 with respect to the Taxes giving rise to such refund), net of all out-
of-pocket expenses incurred by the Administrative Agent or such Lender and without interest
(other than any interest paid by the relevant Governmental Authority with respect to such
refund), provided that the Borrower or Holdings, as the case may be, upon the request of the
Administrative Agent or such Lender, agrees to repay the amount paid over to the Borrower or
Holdings, as the case may be (plus any penalties, interest or other charges imposed by the
relevant Governmental Authority) to the Administrative Agent or such Lender in the event the
Administrative Agent or such Lender is required to repay such refund to such Governmental
Authority. Notwithstanding anything to the contrary in this paragraph 3.1(m), in no event will
the Administrative Agent or any Lender be required to pay any amount to an indemnifying party
pursuant to this paragraph 3.1(m) the payment of which would place the Administrative Agent or
Lender in a less favorable net after-tax position than such Administrative Agent or Lender would
have been in if the Tax subject to indemnification and giving rise to such refund had not been
deducted, withheld or otherwise imposed and the indemnification payments or additional
amounts with respect to such Tax had never been paid. This subsection shall not be construed to
require the Administrative Agent or any Lender to make available its tax returns (or any other

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information relating to its Taxes that it deems confidential) to the Borrower, Holdings or any
other Person.

        (n)     Each Lender agrees that, upon the occurrence of any event giving rise to the
operation of Section 3.1(a) or (i) with respect to such Lender, it will, if requested by the
Borrower, use commercially reasonable efforts (subject to legal and regulatory restrictions) to
mitigate the effect of any such event, including by designating another Lending Office for any
Loan affected by such event and by completing and delivering or filing any tax-related forms
which such Lender is legally able to deliver and which would reduce or eliminate any amount of
Taxes or Other Taxes required to be deducted or withheld or paid by the Borrower; provided that
such efforts are made at the Borrower’s expense and on terms that, in the reasonable judgment of
such Lender, cause such Lender and its Lending Office(s) to suffer no material economic, legal
or regulatory disadvantage, and provided further that nothing in this paragraph 3.1(n) affect or
postpone any of the Obligations of the Borrower or the rights of such Lender pursuant to Section
3.1(a) or (i).

        (o)     Notwithstanding any other provision of this Agreement, the Borrower and the
Administrative Agent may deduct and withhold any taxes required by any Laws to be deducted
and withheld from any payment under any of the Loan Documents, subject to the provisions of
this Section 3.1.

        (p)     With respect to any Lender’s claim for compensation under this Section 3.1, the
Borrower shall not be required to compensate such Lender for any amount incurred more than
one hundred and eighty (180) days prior to the date that such Lender notifies the Borrower of the
event that gives rise to such claim; provided that, if the circumstance giving rise to such claim is
retroactive, then such 180-day period referred to above shall be extended to include the period of
retroactive effect thereof.

        (q)    Each party’s obligations under this Section 3.1 shall survive the resignation or
replacement of the Administrative Agent or any assignment of rights by, or the replacement of, a
Lender, the termination of the Commitments and the repayment, satisfaction or discharge of all
obligations under any Loan Document.

         SECTION 3.2          Illegality. If any Lender reasonably determines that any Law has
made it unlawful, or that any Governmental Authority has asserted that it is unlawful, for any
Lender or its applicable Lending Office to make, maintain or fund Loans whose interest is
determined by reference to the Eurocurrency Rate, or to determine or charge interest rates based
upon the Eurocurrency Rate or Adjusted Eurocurrency Rate, or any Governmental Authority has
imposed material restrictions on the authority of such Lender to purchase or sell, or to take
deposits of, Dollars in the London interbank market, then, on notice thereof by such Lender to
the Borrower through the Administrative Agent, (i) any obligation of such Lender to make or
continue Eurocurrency Rate Loans or to convert Base Rate Loans to Eurocurrency Rate Loans
shall be suspended, and (ii) if such notice asserts the illegality of such Lender making or
maintaining Base Rate Loans the interest rate on which is determined by reference to the
Adjusted Eurocurrency Rate component of the Base Rate, the interest rate on which Base Rate
Loans of such Lender shall, if necessary to avoid such illegality, be determined by the
Administrative Agent without reference to the Adjusted Eurocurrency Rate component of the

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Base Rate, in each case until such Lender notifies the Administrative Agent and the Borrower
that the circumstances giving rise to such determination no longer exist. Upon receipt of such
notice, (x) the Borrower may revoke any pending request for a Borrowing of, conversion to or
continuation of Eurocurrency Rate Loans and shall, upon demand from such Lender (with a copy
to the Administrative Agent), prepay or, if applicable, convert all Eurocurrency Rate Loans of
such Lender to Base Rate Loans (the interest rate on which Base Rate Loans of such Lender
shall, if necessary to avoid such illegality, be determined by the Administrative Agent without
reference to the Adjusted Eurocurrency Rate component of the Base Rate), either on the last day
of the Interest Period therefor, if such Lender may lawfully continue to maintain such
Eurocurrency Rate Loans to such day, or promptly, if such Lender may not lawfully continue to
maintain such Eurocurrency Rate Loans and (y) if such notice asserts the illegality of such
Lender determining or charging interest rates based upon the Adjusted Eurocurrency Rate
component of the Base Rate with respect to any Base Rate Loans, the Administrative Agent shall
during the period of such suspension compute the Base Rate applicable to such Lender without
reference to the Adjusted Eurocurrency Rate component thereof until the Administrative Agent
is advised in writing by such Lender that it is no longer illegal for such Lender to determine or
charge interest rates based upon the Eurocurrency Rate. Each Lender agrees to designate a
different Lending Office if such designation will avoid the need for such notice and will not, in
the good faith judgment of such Lender, otherwise be materially disadvantageous to such
Lender. Upon any such prepayment or conversion, the Borrower shall also pay accrued interest
on the amount so prepaid or converted.

          SECTION 3.3          Inability to Determine Rates. If the Requisite Lenders reasonably
determine that for any reason in connection with any request for a Eurocurrency Rate Loan or a
conversion to or continuation thereof that (a) Dollar deposits are not being offered to banks in the
London interbank eurocurrency market for the applicable amount and Interest Period of such
Eurocurrency Rate Loan, (b) adequate and reasonable means do not exist for determining the
Eurocurrency Rate for any requested Interest Period with respect to a proposed Eurocurrency
Rate Loan or in connection with an existing or proposed Base Rate Loan; provided that the
Administrative Agent and the Borrower shall endeavor to establish an alternate rate of interest to
the Eurocurrency Rate that gives due consideration to the then prevailing market convention for
determining a rate of interest for syndicated loans in the United States at such time, and shall
enter into an amendment to this Agreement to reflect such alternate rate of interest and such
other related changes to this Agreement as may be applicable, and notwithstanding anything to
the contrary in Section 12.1, such amendment shall become effective without any further action
or consent of any other party to this Agreement so long as the Administrative Agent shall not
have received, within five (5) Business Days of the date notice of such alternate rate of interest is
provided to the Lenders, a written notice from the Required Lenders stating that such Required
Lenders object to such amendment, or (c) the Eurocurrency Rate, for any requested Interest
Period with respect to a proposed Eurocurrency Rate Loan does not adequately and fairly reflect
the cost to such Lenders of funding such Loan, the Administrative Agent will promptly so notify
the Borrower and each Lender. Thereafter, (x) the obligation of the Lenders to make or maintain
Eurocurrency Rate Loans shall be suspended, and (y) in the event of a determination described in
the preceding sentence with respect to the Adjusted Eurocurrency Rate component of the Base
Rate, the utilization of the Adjusted Eurocurrency Rate component in determining the Base Rate
shall be suspended, in each case until the Administrative Agent (upon the instruction of the
Requisite Lenders) revokes such notice. Upon receipt of such notice, the Borrower may revoke
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any pending request for a Borrowing of, conversion to or continuation of Eurocurrency Rate
Loans or, failing that, will be deemed to have converted such request into a request for a
Borrowing of Base Rate Loans in the amount specified therein.

         SECTION 3.4       Increased Cost and Reduced Return; Capital Adequacy; Reserves
  on Eurocurrency Rate Loans.

        (a)     Increased Costs Generally. If any Change in Law shall:

                (i)    impose, modify or deem applicable any reserve, special deposit,
        compulsory loan, insurance charge or similar requirement against assets of, deposits with
        or for the account of, or credit extended or participated in by, any Lender or any Issuer;

                (ii)    subject any Lender or the Administrative Agent or any Issuer to any Tax
        of any kind whatsoever with respect to this Agreement, any Letter of Credit, any
        participation in a Letter of Credit or any Eurocurrency Rate Loan made by it, or change
        the basis of taxation of payments to such Lender or the Administrative Agent or the
        Issuer in respect thereof (except for Indemnified Taxes, Other Taxes or Excluded Taxes);
        or

                (iii) impose on any Lender or any Issuer or the London interbank market any
        other condition, cost or expense affecting this Agreement or Eurocurrency Rate Loans
        made by such Lender or any Letter of Credit or participation therein, in each case that is
        not otherwise accounted for in the definition of Adjusted Eurocurrency Rate or this
        clause (a);

and the result of any of the foregoing shall be to increase the cost to such Lender (or, in the case
of clause (ii) above, the Administrative Agent) of making or maintaining any Loan the interest
on which is determined by reference to the Eurocurrency Rate (or of maintaining its obligation to
make any such Loan), or to increase the cost to such Lender (or, in the case of clause (ii) above,
the Administrative Agent) or such Issuer of participating in, issuing or maintaining any Letter of
Credit (or of maintaining its obligation to participate in or to issue any Letter of Credit), or to
reduce the amount of any sum received or receivable by such Lender or Issuer hereunder (or, in
the case of clause (ii) above, the Administrative Agent) (whether of principal, interest or any
other amount) then, from time to time within fifteen (15) days after receipt of the certificate
referred to in Section 3.4(c) below setting forth in reasonable detail such increased costs (with a
copy of such demand to the Administrative Agent), the Borrower will pay to such Lender or
Issuer (or, in the case of clause (ii) above, the Administrative Agent), as the case may be, such
additional amount or amounts as will compensate such Lender or Issuer (or, in the case of clause
(ii) above, the Administrative Agent), as the case may be, for such additional costs incurred or
reduction suffered.

        (b)     Capital Requirements. If any Lender or any Issuer reasonably determines that any
Change in Law affecting such Lender or such Issuer or any Lending Office of such Lender or
such Lender’s or such Issuer’s holding company, if any, regarding capital or liquidity
requirements has or would have the effect of reducing the rate of return on such Lender’s or such
Issuer’s capital or on the capital of such Lender’s or such Issuer’s holding company, if any, as a

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consequence of this Agreement, the Revolving Credit Commitments of such Lender or the Loans
made by, or participations in Letters of Credit held by, such Lender, or the Letters of Credit
issued by such Issuer, to a level below that which such Lender or such Issuer or such Lender’s or
such Issuer’s holding company could have achieved but for such Change in Law (taking into
consideration such Lender’s or such Issuer’s policies and the policies of such Lender’s or such
Issuer’s holding company with respect to capital adequacy and liquidity requirements), then from
time to time upon demand of such Lender or such Issuer setting forth in reasonable detail the
charge and the calculation of such reduced rate of return (with a copy of such demand to the
Administrative Agent), the Borrower will pay to such Lender or such Issuer, as the case may be,
within fifteen (15) days after receipt of the certificate referred to in Section 3.4(c) below, such
additional amount or amounts as will compensate such Lender or such Issuer or such Lender’s or
such Issuer’s holding company for any such reduction suffered.

        (c)     Certificates for Reimbursement. A certificate of a Lender or an Issuer setting
forth the amount or amounts necessary to compensate such Lender or such Issuer or its holding
company, as the case may be, as specified in subsection (a) or (b) of this Section 3.4 and
delivered to the Borrower shall be conclusive absent manifest error. The Borrower shall pay
such Lender or such Issuer, as the case may be, the amount shown as due on any such certificate
within fifteen (15) days after receipt thereof.

        (d)     Delay in Requests. Failure or delay on the part of any Lender or any Issuer to
demand compensation pursuant to the foregoing provisions of this Section 3.4 shall not
constitute a waiver of such Lender’s or such Issuer’s right to demand such compensation,
provided that the Borrower shall not be required to compensate a Lender or an Issuer pursuant to
the foregoing provisions of this Section 3.4 for any increased costs incurred or reductions
suffered more than one hundred and eighty (180) days prior to the date that such Lender or such
Issuer, as the case may be, notifies the Borrower of the Change in Law giving rise to such
increased costs or reductions and of such Lender’s or such Issuer’s intention to claim
compensation therefor (except that, if the Change in Law giving rise to such increased costs or
reductions is retroactive, then the 180-day period referred to above shall be extended to include
the period of retroactive effect thereof).

          SECTION 3.5         Funding Losses. Upon written demand of any Lender (with a copy
to the Administrative Agent) from time to time, which demand shall set forth in reasonable detail
the basis for requesting such amount, the Borrower shall promptly compensate such Lender for
and hold such Lender harmless from any loss, cost or expense actually incurred by it as a result
of:

       (a)    any continuation, conversion, payment or prepayment of any Loan other than a
Base Rate Loan on a day prior to the last day of the Interest Period for such Loan (whether
voluntary, mandatory, automatic, by reason of acceleration, or otherwise);

        (b)     any failure by the Borrower (for a reason other than the failure of such Lender to
make a Loan) to prepay, borrow, continue or convert any Loan other than a Base Rate Loan on
the date or in the amount notified by the Borrower; or



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        (c)     any assignment of a Eurocurrency Rate Loan on a day prior to the last day of the
Interest Period therefor as a result of a request by the Borrower pursuant to Section 3.7;

        (d)    including any loss or expense (excluding loss of anticipated profits or margin)
actually incurred by reason of the liquidation or reemployment of funds obtained by it to
maintain such Loan or from fees payable to terminate the deposits from which such funds were
obtained (and, for the avoidance of doubt, excluding the impact of clause (b) of the definition of
“Adjusted Eurocurrency Rate”).

          SECTION 3.6         Matters Applicable to All Requests for Compensation.

        (a)     Designation of a Different Lending Office. If any Lender requests compensation
under Section 3.4, or the Borrower is required to pay any additional amount to any Lender, any
Issuer, or any Governmental Authority for the account of any Lender or any Issuer pursuant to
Section 3.1, or if any Lender gives a notice pursuant to Section 3.2, then such Lender or such
Issuer shall, as applicable, use reasonable efforts to designate a different Lending Office for
funding or booking its Loans hereunder or to assign its rights and obligations hereunder to
another of its offices, branches or affiliates, if, in the judgment of such Lender or such Issuer,
such designation or assignment (i) would eliminate or reduce amounts payable pursuant to
Section 3.1 or 3.4, as the case may be, in the future, or eliminate the need for the notice pursuant
to Section 3.2, as applicable, and (ii) in each case, would not subject such Lender or such Issuer,
as the case may be, to any material unreimbursed cost or expense and would not otherwise be
disadvantageous to such Lender or such Issuer, as the case may be in any material economic,
legal or regulatory respect.

       (b)      Suspension of Lender Obligations. If any Lender requests compensation by the
Borrower under Section 3.4, the Borrower may, by notice to such Lender (with a copy to the
Administrative Agent), suspend the obligation of such Lender to make or continue Eurocurrency
Rate Loans from one Interest Period to another Interest Period, or to convert Base Rate Loans
into Eurocurrency Rate Loans, until the event or condition giving rise to such request ceases to
be in effect (in which case the provisions of Section 3.6(c) shall be applicable); provided that
such suspension shall not affect the right of such Lender to receive the compensation so
requested.

        (c)     Conversion of Eurocurrency Rate Loans. If any Lender gives notice to the
Borrower (with a copy to the Administrative Agent) that the circumstances specified in Sections
3.2, 3.3 or 3.4 hereof that gave rise to the conversion of such Lender’s Eurocurrency Rate Loans
no longer exist (which such Lender agrees to do promptly upon such circumstances ceasing to
exist) at a time when Eurocurrency Rate Loans made by other Lenders are outstanding, such
Lender’s Base Rate Loans shall be automatically converted, on the first day(s) of the next
succeeding Interest Period(s) for such outstanding Eurocurrency Rate Loans, to the extent
necessary so that, after giving effect thereto, all Loans of a given Class held by the Lenders of
such Class holding Eurocurrency Rate Loans and by such Lender are held pro rata (as to
principal amounts, interest rate basis, and Interest Periods) in accordance with their respective
Pro Rata Shares.

          SECTION 3.7         Replacement of Lenders under Certain Circumstances.

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        If (i) any Lender requests compensation under Section 3.4 or ceases to make
Eurocurrency Rate Loans as a result of any condition described in Section 3.2 or Section 3.4, (ii)
the Borrower is required to pay any additional amount to any Lender or any Governmental
Authority for the account of any Lender pursuant to Section 3.1 or 3.4, (iii) any Lender is a Non-
Consenting Lender or (iv) any other circumstance exists hereunder that gives the Borrower the
right to replace a Lender as a party hereto, then the Borrower may, at its sole expense and effort,
upon notice to such Lender and the Administrative Agent, require such Lender to assign and
delegate, without recourse (in accordance with and subject to the restrictions contained in, and
consents required by, Section 12.2), all of its interests, rights and obligations under this
Agreement (or, with respect to clause (iii) above, all of its interests, rights and obligations with
respect to the Class of Loans or Commitments that is the subject of the related consent, waiver
and amendment) and the related Loan Documents to one or more Eligible Assignees that shall
assume such obligations (any of which assignee may be another Lender, if a Lender accepts such
assignment), provided that:

        (a)    the Borrower shall have paid to the Administrative Agent the assignment fee
specified in Section 12.2(b)(iv);

        (b)     such Lender shall have received payment of an amount equal to the outstanding
principal of its Loans, accrued interest thereon, accrued fees and all other amounts payable to it
hereunder and under the other Loan Documents (including any amounts under Section 3.5) from
the assignee (to the extent of such outstanding principal and accrued interest and fees) or the
Borrower;

        (c)    such Lender being replaced pursuant to this Section 3.7 shall (i) execute and
deliver an Assignment and Assumption with respect to all, or a portion as applicable, of such
Lender’s Commitment and outstanding Loans, and (ii) deliver any Revolving Credit Notes
evidencing such Loans to the Borrower or Administrative Agent (or a lost or destroyed note
indemnity in lieu thereof); provided that the failure of any such Lender to execute an Assignment
and Assumption or deliver such Revolving Credit Notes shall not render such sale and purchase
(and the corresponding assignment) invalid and such assignment shall be recorded in the
Register and the Revolving Credit Notes shall be deemed to be canceled upon such failure;

        (d)    the Eligible Assignee shall become a Lender hereunder and the assigning Lender
shall cease to constitute a Lender hereunder with respect to such assigned Loans, Revolving
Credit Commitments and participations, except with respect to indemnification provisions under
this Agreement, which shall survive as to such assigning Lender (and, if such assigning Lender is
a Non-Consenting Lender, such Eligible Assignee shall agree to the applicable consent, waiver
or amendment to which such Non-Consenting Lender has not agreed);

        (e)     in the case of any such assignment resulting from a claim for compensation under
Section 3.4 or payments required to be made pursuant to Section 3.1, such assignment will result
in a reduction in such compensation or payments thereafter;

        (f)     such assignment does not conflict with applicable Laws; and



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      (g)      the Lender that acts as the Administrative Agent cannot be replaced in its capacity
as Administrative Agent other than in accordance with Section 11.6.

In the event that (i) the Borrower or the Administrative Agent has requested that the Lenders
consent to a departure or waiver of any provisions of the Loan Documents or agree to any
amendment thereto, (ii) the consent, waiver or amendment in question requires the agreement of
each Lender, all affected Lenders or all the Lenders or all affected Lenders with respect to a
certain Class or Classes of the Loans and/or Revolving Credit Commitments and (iii) the
Requisite Lenders have agreed (but solely to the extent required by Section 12.1) to such
consent, waiver or amendment, then any Lender who does not agree to such consent, waiver or
amendment shall be deemed a “Non-Consenting Lender”.

        A Lender shall not be required to make any such assignment or delegation if, prior
thereto, as a result of a waiver by such Lender or otherwise, the circumstances entitling the
Borrower to require such assignment and delegation cease to apply.

         SECTION 3.8         Survival. All of the Borrower’s obligations under this Article III
shall survive termination of the Aggregate Commitments, repayment of all other Obligations
hereunder and resignation or removal of the Administrative Agent, the Collateral Agent, the
Swing Loan Lender or any Issuer.

                                             ARTICLE IV

                                    CONDITIONS PRECEDENT

          SECTION 4.1             Conditions Precedent to Closing Date.

       The Agreement became effective on the Closing Date upon the satisfaction or due waiver
in accordance with Section 12.1 of each of the following conditions precedent, except as
otherwise agreed between the Borrower, the Administrative Agent, the Collateral Agent and the
Co-Collateral Agent:

        (a)     The Administrative Agent’s, the Collateral Agent’s and Co-Collateral Agent’s
receipt of the following, each of which shall be originals or pdf copies or other facsimiles
(followed promptly by originals) unless otherwise specified, each properly executed by a
Responsible Officer of the signing Loan Party each in form and substance reasonably
satisfactory to the Administrative Agent and its legal counsel, the Collateral Agent and its legal
counsel and the Co-Collateral Agent and its legal counsel:

                (i)        a Notice of Borrowing in accordance with the requirements hereof;

                (ii)       executed counterparts of this Agreement and the Guaranty;

                (iii)      the Security Agreement, duly executed by each Loan Party thereto;

                            (A) [reserved];

                            (B) [reserved];

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                (iv)    executed copy of the DIP Term Loan Credit Agreement (on terms and
        conditions reasonably satisfactory to the Administrative Agent, the Collateral Agent and
        the Co-Collateral Agent; it being understood and agreed that the credit agreement
        governing the DIP Term Loans attached as an exhibit to the Commitment Letter is
        satisfactory) and evidence of the substantially concurrent funding of loans thereunder;

               (v)    executed copies of the engagement letters with any financial advisors of
        the Borrower;

                (vi)   executed copies of commitment letters and fee letters providing for
        commitments for exit financing of the Borrower for (i) an asset-based revolving facility
        of not less than $125,000,000 and (ii) a term loan facility of not less than $400,000,000,
        each of which shall be in form and substance acceptable to the Administrative Agent, the
        Collateral Agent and Co-Collateral Agent, including, without limitation, the conditions to
        funding and other terms thereof (any such commitment letter, an “Exit Commitment
        Letter”); it being understood that the terms and conditions set forth in the Exit
        Commitment Letters as of the Petition Date are satisfactory;

               (vii) executed copy of the DIP Intercreditor Agreement (in substantially the
        form attached as Exhibit C to the Commitment Letter);

                (viii) such certificates of good standing from the applicable secretary of state of
        the state of organization of each Loan Party, certificates of resolutions or other action,
        incumbency certificates and/or other certificates of Responsible Officers of each Loan
        Party as the Administrative Agent, the Collateral Agent and the Co-Collateral Agent may
        reasonably require evidencing the identity, authority and capacity of each Responsible
        Officer thereof authorized to act as a Responsible Officer in connection with this
        Agreement and the other Loan Documents to which such Loan Party is a party or is to be
        a party on the Closing Date;

               (ix)   an opinion from Sidley Austin LLP, New York counsel to the Loan Parties
        in form and substance satisfactory to the Administrative Agent, the Collateral Agent and
        the Co-Collateral Agent;

                (x)        [reserved];

                (xi)       [reserved];

               (xii) a Borrowing Base Certificate, certified as complete and correct in all
        respects by the chief financial officer of the Borrower, which calculates the Borrowing
        Base as of the most recent calendar month ended at least 20 days prior to the Closing
        Date;

               (xiii) Delivery of a Responsible Officer’s Certificate, in form and substance
        reasonably satisfactory to Administrative Agent, the Collateral Agent and the Co-
        Collateral Agent, certifying as to the conditions set forth in Sections [4.1(e), 4.1(j), 4.2(b)
        and 4.2 (c).]


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       (b)     All fees and expenses required to be paid hereunder or under the Orders and
invoiced at least one (1) Business Day before the Closing Date shall have been paid in full in
cash.

        (c)     The Arrangers shall have received (i) copies of the most recent unaudited
quarterly financial statements required to be delivered by the Borrower under the Pre-Petition
Credit Agreement, (ii) copies of the most recent monthly financial statements required to be
delivered by the Borrower under the Pre-Petition Credit Agreement for the calendar months of
year 2018 ended at least 30 days prior to the Closing Date and (iii) at least two (2) Business Days
prior to the Closing Date, the Budget.

        (d)     The Arrangers shall have received at least three (3) Business Days prior to the
Closing Date all documentation and other information reasonably requested in writing by them at
least ten (10) days prior to the Closing Date in order to allow the Arrangers and the Lenders to
comply with applicable “know your customer” and anti-money laundering rules and regulations,
including the USA PATRIOT Act and a certification regarding beneficial ownership required by
31 C.F.R. § 1010.230.

        (e)     After giving effect to the Transactions, Excess Availability on the Closing Date
shall be not less than an amount equal to (1) the aggregate amount of DIP Term Loans funded on
the Closing Date less (2) $25,000,000.

        (f)     The Petition Date shall have occurred.

        (g)    No later than three (3) Business Days after the Petition Date, the Bankruptcy
Court shall have entered the Interim Order granting of the super-priority claim and the liens and
other rights and protections contemplated hereby and customary for debtor in possession
financings and authorizing the Loans (including, for the avoidance of doubt, a roll up in full of
the Pre-Petition Revolving Loans as of the Closing Date and repayment of the Loans as required
under Section 2.9(e)), order (i) shall be in full force and effect and shall not have been, in whole
or in part, vacated, reversed, stayed, or set aside and (ii) shall not have been modified or
amended without the consent of the Administrative Agent, the Collateral Agent and the Co-
Collateral Agent.

         (h)    The First Day Orders (including the Cash Management Order and approval of the
Cash Management System) entered by the Bankruptcy Court, to the extent affecting the rights or
obligations of the Administrative Agent, the Collateral Agent, the Co-Collateral Agent, the
Lenders, or the agent or the lenders under the Pre-Petition Credit Agreement, or which may give
rise to a post-petition claim, administrative in nature or otherwise, shall be in form and substance
acceptable to the Administrative Agent, the Collateral Agent and the Co-Collateral Agent. There
shall exist no unstayed order and injunctions challenging this Agreement or any other Loan
Documents, the Exit Commitment Letters, the Pre-Petition Credit Agreement or any Pre-Petition
Loan Document, the DIP Term Loan Agreement or any Loan Documents (as defined therein),
the Pre-Petition Obligations, or any Liens or claims in connection therewith.

       (i)    As of the Petition Date, the Loan Parties shall have filed the Disclosure Statement
and the Chapter 11 Plan with the Bankruptcy Court.

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        (j)    Since the Petition Date there has not been any event, occurrence, development or
state of circumstances or facts that has had or would reasonably be expected to have, individually
or in the aggregate a Material Adverse Effect.

Without limiting the generality of the provisions of the last paragraph of Section 9.3, for
purposes of determining compliance with the conditions specified in this Section 4.1, each
Lender that has signed this Agreement shall be deemed to have consented to, approved or
accepted or to be satisfied with, each document or other matter required thereunder to be
consented to or approved by or acceptable or satisfactory to a Lender unless the Administrative
Agent shall have received notice from such Lender prior to the proposed Closing Date specifying
its objection thereto.

          SECTION 4.2          Conditions Precedent to Each Loan and Letter of Credit.

       The obligation of each Lender on and after the Closing Date to honor a Notice of
Borrowing (but not a Notice of Conversion or Continuation) and of each Issuer on any date to
Issue any Letter of Credit is subject to the satisfaction of each of the following conditions
precedent:

        (a)    Request for Borrowing or Issuance of Letter of Credit. With respect to any Loan,
the Administrative Agent shall have received a duly executed Notice of Borrowing (or, in the
case of Swing Loans, a duly executed Swing Loan Request), and, with respect to any Letter of
Credit, the Administrative Agent and the applicable Issuer shall have received a duly executed
Letter of Credit Request.

        (b)    Representations and Warranties; No Defaults. The following statements shall be
true on the date of such Credit Extension, both immediately before and immediately after giving
effect thereto and, in the case of any Loan, giving effect to the application of the proceeds
thereof:

                (i)     The representations and warranties of the Borrower and each other Loan
        Party contained in Article V or any other Loan Document shall be true and correct in all
        material respects on and as of the date of such Borrowing; provided that, to the extent
        that such representations and warranties specifically refer to an earlier date, they shall be
        true and correct in all material respects as of such earlier date; provided, further that, any
        representation and warranty that is qualified as to “materiality,” “Material Adverse
        Effect” or similar language shall be true and correct (after giving effect to any
        qualification therein) in all respects on such respective dates;

                (ii)   No Default or Event of Default shall have occurred or be continuing, or
        would result from such proposed Credit Extension or from the application of the proceeds
        therefrom (including, without limitation, the entry of the Final Order in accordance with
        Section 8.16(d) hereof);

       (c)    Borrowing Base. After giving effect to the Loans or Letters of Credit requested to
be made or Issued on any such date and the use of proceeds thereof, the Revolving Credit
Outstandings shall not exceed the Maximum Credit at such time.

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       (d)     Each Credit Extension shall be made in accordance in all material respects with
the Budget, including Permitted Variances thereto, and shall have been approved by the Interim
Order or the Final Order (as then applicable), which Order shall be in full force and effect and
which shall not have been modified or amended without the consent of the Administrative
Agent, the Collateral Agent and the Co-Collateral Agent and not have been vacated, reversed,
modified, amended or stayed.

        (e)     (i) There shall not have been (x) any order granted by the Bankruptcy Court
sustaining any objection by any Person, nor (y) any motion, complaint, objection or other
pleading filed by any party, challenging, in either case, the validity, priority, perfection, or
enforceability of the Loan Documents or any Lien granted pursuant to the Loan Documents, and
(ii) no Lien granted pursuant to the Loan Documents shall have been determined to be null and
void, invalid or unenforceable by the Bankruptcy Court or another court of competent
jurisdiction in any action commenced or asserted by any other party in interest in the Cases,
including, without limitation, the Committee Professionals.

Each submission by the Borrower to the Administrative Agent of a Notice of Borrowing (but not
a Notice of Conversion or Continuation) or a Swing Loan Request and the acceptance by the
Borrower of the proceeds of each Loan requested therein, and each submission by the Borrower
to an Issuer of a Letter of Credit Request, and the Issuance of each Letter of Credit requested
therein, shall be deemed to constitute a representation and warranty by the Borrower that the
conditions specified in clause (b) and clause (d) above have been satisfied on and as of the date
of the making of such Loan or the Issuance of such Letter of Credit.

                                            ARTICLE V

                           REPRESENTATIONS AND WARRANTIES

       Holdings, the Borrower and each of the Subsidiary Guarantors party hereto represent and
warrant to the Agents and the Lenders that:

          SECTION 5.1            Existence, Qualification and Power; Compliance with Laws. Each
Loan Party and each of its Restricted Subsidiaries that is a Material Subsidiary (a) is a Person
duly organized or formed, validly existing and in good standing under the Laws of the
jurisdiction of its incorporation or organization (to the extent such concept exists in such
jurisdiction), (b) subject to the entry of the Interim Order or the Final Order, as applicable, has all
requisite power and authority to (i) own or lease its assets and carry on its business as currently
conducted and (ii) in the case of the Loan Parties, execute, deliver and perform its obligations
under the Loan Documents to which it is a party, (c) is duly qualified and in good standing (to
the extent such concept exists in such jurisdiction) under the Laws of each jurisdiction where its
ownership, lease or operation of properties or the conduct of its business requires such
qualification, (d) subject to the entry of the Interim Order or the Final Order, as applicable, is in
compliance with all applicable Laws, orders, writs and injunctions and (e) has all requisite
governmental licenses, authorizations, consents and approvals to operate its business as currently
conducted; except in each case referred to in clause (c), (d) or (e), to the extent that failure to do
so would not reasonably be expected to have a Material Adverse Effect.


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          SECTION 5.2         Authorization; No Contravention. (a) Subject to the entry of the
Interim Order or the Final Order, as applicable, the execution, delivery and performance by each
Loan Party of each Loan Document to which such Person is a party have been duly authorized
by all necessary corporate or other organizational action. (b) Subject to the entry of the Interim
Order or the Final Order, as applicable, neither the execution, delivery and performance by each
Loan Party of each Loan Document to which such Person is a party, the consummation of the
Transaction, nor the incurrence of any Obligations or the granting of Lien to secure the
Obligations will (i) contravene the terms of any of such Person’s Organization Documents, (ii)
result in any breach or contravention of, or the creation of any Lien upon any of the property or
assets of such Person or any of the Restricted Subsidiaries (other than as permitted by Section
9.1) under (A) any Contractual Obligation to which such Person is a party or affecting such
Person or the properties of such Person or any of its Subsidiaries or (B) any material order,
injunction, writ or decree of any Governmental Authority or any arbitral award to which such
Person or its property is subject; or (iii) violate any applicable Law; except with respect to any
breach, contravention or violation (but not creation of Liens) referred to in clauses (ii) and (iii),
to the extent that such breach, contravention or violation would not reasonably be expected to
have a Material Adverse Effect.

          SECTION 5.3           Governmental Authorization. Subject to the entry of the Interim
Order or the Final Order, as applicable, no material approval, consent, exemption, authorization,
or other action by, or notice to, or filing with, any Governmental Authority is necessary or
required in connection with the execution, delivery or performance by, or enforcement against,
any Loan Party of this Agreement or any other Loan Document, except for (i) filings necessary
to perfect the Liens on the Collateral granted by the Loan Parties in favor of the Secured Parties,
(ii) the approvals, consents, exemptions, authorizations, actions, notices and filings that have
been duly obtained, taken, given or made and are in full force and effect (except to the extent not
required to be obtained, taken, given or made or in full force and effect pursuant to the Collateral
and Guarantee Requirement) and (iii) those approvals, consents, exemptions, authorizations or
other actions, notices or filings, the failure of which to obtain or make would not reasonably be
expected to have a Material Adverse Effect.

          SECTION 5.4          Binding Effect. This Agreement and each other Loan Document
has been duly executed and delivered by each Loan Party that is party thereto. This Agreement
and each other Loan Document constitutes a legal, valid and binding obligation of such Loan
Party, enforceable against such Loan Party that is party thereto in accordance with its terms,
except as such enforceability may be limited by (i) Debtor Relief Laws, including the entry of
the Interim Order or the Final Order, as applicable, (ii) the need for filings and registrations
necessary to create or perfect the Liens on the Collateral granted by the Loan Parties in favor of
the Secured Parties and (iii) the effect of foreign Laws, rules and regulations as they relate to
pledges of Equity Interests in Foreign Subsidiaries.

          SECTION 5.5          No Material Adverse Effect.

Since the Petition Date, there has been no event or circumstance, either individually or in the
aggregate, that has had or would reasonably be expected to have a Material Adverse Effect.



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          SECTION 5.6           Litigation. Except for the Cases, there are no actions, suits,
proceedings, claims or disputes pending or, to the knowledge of the Borrower, overtly threatened
in writing, at law, in equity, in arbitration or before any Governmental Authority, by or against
Holdings, the Borrower or any of the Restricted Subsidiaries that would reasonably be expected
to have a Material Adverse Effect.

         SECTION 5.7           Labor Matters. Except as would not reasonably be expected to
have, individually or in the aggregate, a Material Adverse Effect: (a) there are no strikes or other
labor disputes against any of the Borrower or its Restricted Subsidiaries pending or, to the
knowledge of the Borrower, overtly threatened in writing and (b) hours worked by and payment
made based on hours worked to employees of each of the Borrower or its Restricted Subsidiaries
have not been in material violation of the Fair Labor Standards Act or any other applicable Laws
dealing with wage and hour matters.

           SECTION 5.8           Ownership of Property; Liens. The Borrower and each of its
Restricted Subsidiaries has good record title to, or valid leasehold interests in, or easements or
other limited property interests in, all real property necessary in the ordinary conduct of its
business, free and clear of all Liens except for Pre-Petition Liens and except for minor defects in
title that do not materially interfere with its ability to conduct its business or to utilize such assets
for their intended purposes and except for Liens permitted by Section 9.1 and except where the
failure to have such title or other interest would not reasonably be expected to have, individually
or in the aggregate, a Material Adverse Effect.

          SECTION 5.9           Environmental Matters.

       Except as could not reasonably be expected to have, individually or in the aggregate, a
Material Adverse Effect:

        (a)    (i) each Loan Party and its respective properties and operations are, and for the
past three years have been, in compliance with all Environmental Laws in all jurisdictions in
which each Loan Party is currently doing business, which includes obtaining and maintaining all
applicable Environmental Permits required under such Environmental Laws to carry on the
business of the Loan Parties, and (ii) none of the Loan Parties is subject to any pending
Environmental Claim or any other Environmental Liability, or to the knowledge of the Borrower,
any Environmental Claim or any other Environmental Liability threatened in writing; and

        (b)     none of the Loan Parties or any of their respective Subsidiaries has released,
treated, stored, transported or disposed of Hazardous Materials at or from any currently or, to the
knowledge of the Borrower, formerly operated real estate or facility relating to its business
except in compliance with Environmental Laws.

          SECTION 5.10         Taxes. Except as would not, either individually or in the
aggregate, reasonably be expected to result in a Material Adverse Effect, Holdings, the Borrower
and its Restricted Subsidiaries have timely filed all Federal and state and other tax returns and
reports required to be filed by them, and have timely paid all Federal and state and other Taxes,
assessments, fees and other governmental charges (including satisfying its withholding tax
obligations) levied or imposed on their properties, income or assets or otherwise due and

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payable, except those which are being contested in good faith by appropriate actions diligently
conducted and for which adequate reserves have been provided in accordance with IFRS.

          SECTION 5.11        ERISA Compliance.

       (a)     Except as would not, either individually or in the aggregate, reasonably be
expected to result in a Material Adverse Effect, each Plan is in compliance with the applicable
provisions of ERISA and the Code.

       (b)     (i) No ERISA Event has occurred prior to the date on which this representation is
made or deemed made; and (ii) no Pension Plan has failed to satisfy the minimum funding
standards (within the meaning of Section 412 of the Code or Section 302 of ERISA) applicable
to such Pension Plan, except, with respect to each of the foregoing clauses of this Section
5.11(b), as would not reasonably be expected, individually or in the aggregate, to result in a
Material Adverse Effect.

          SECTION 5.12          Subsidiaries. As of the Closing Date (after giving effect to the
Transaction), no Loan Party has any Material Subsidiaries other than those specifically set forth
in the Disclosure Statement, and all of the outstanding Equity Interests owned by the Loan
Parties in such Material Subsidiaries have been validly issued and are fully paid and (if
applicable) nonassessable, and all Equity Interests owned by a Loan Party are owned free and
clear of all Liens except (i) those created under the Collateral Documents and (ii) any Lien that is
permitted under Section 9.1. As of the Closing Date, the Disclosure Statement sets forth the
name and jurisdiction of each Loan Party, (b) sets forth the ownership interest of Holdings, the
Borrower and any other Subsidiary in each Subsidiary, including the percentage of such
ownership and (c) identifies each Subsidiary that is a Subsidiary the Equity Interests of which are
required to be pledged on the Closing Date pursuant to the Collateral and Guarantee
Requirement.

          SECTION 5.13        Margin Regulations; Investment Company Act.

        (a)    The Borrower is not engaged nor will it engage, principally or as one of its
important activities, in the business of purchasing or carrying Margin Stock, or extending credit
for the purpose of purchasing or carrying Margin Stock, and no proceeds of any Borrowings will
be used for any purpose that violates Regulation U of the Board of Governors of the United
States Federal Reserve System.

       (b)     Neither the Borrower nor any Guarantor is registered as an “investment company”
under the Investment Company Act of 1940.

         SECTION 5.14          Disclosure. None of the information and data heretofore or
contemporaneously furnished in writing by or on behalf of any Loan Party (other than financial
estimates, forecasts and other forward-looking information, pro forma financial information and
information of a general economic or industry-specific nature) to any Agent or any Lender in
connection with the transactions contemplated hereby and the negotiation of this Agreement or
delivered hereunder or any other Loan Document (as modified or supplemented by other
information so furnished) when taken as a whole contains any material misstatement of fact or
omits to state any material fact necessary to make such information and data (taken as a whole),
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in the light of the circumstances under which it was delivered, not materially misleading. With
respect to any financial estimates, forecasts and other forward-looking information or any pro
forma financial information, the Borrower represents that such information was prepared in good
faith based upon assumptions believed to be reasonable at the time of preparation; it being
understood that such projections may vary from actual results and that such variances may be
material.

          SECTION 5.15          Intellectual Property; Licenses, Etc. The Borrower and the
Restricted Subsidiaries have good and marketable title to, or a valid license or right to use, all
patents, patent rights, trademarks, servicemarks, trade names, copyrights, technology, software,
know-how database rights, rights of privacy and publicity, licenses and other intellectual
property rights (collectively, “IP Rights”) that are reasonably necessary for the operation of their
respective businesses as currently conducted and as proposed to be conducted, except where the
failure to have any such rights, either individually or in the aggregate, would not reasonably be
expected to have a Material Adverse Effect. To the knowledge of the Borrower, the operation of
the respective businesses of the Borrower or any of its Restricted Subsidiaries as currently
conducted does not infringe upon, misuse, misappropriate or violate any rights held by any
Person except for such infringements, misuse, misappropriations or violations individually or in
the aggregate, that would not reasonably be expected to have a Material Adverse Effect. No
claim or litigation regarding any IP Rights is pending or, to the knowledge of the Borrower,
threatened in writing against any Loan Party or Restricted Subsidiary, that, either individually or
in the aggregate, could reasonably be expected to have a Material Adverse Effect.

        SECTION 5.16           Budget. A true and complete copy of the initial Budget is attached
as Schedule 5.16 hereto.

          SECTION 5.17          Subordination of Junior Financing.     The Obligations are
“Designated Senior Debt”, “Senior Debt”, “Senior Indebtedness”, “Guarantor Senior Debt” or
“Senior Secured Financing” (or any comparable term) under, and as defined in, any indenture or
document governing any applicable Junior Financing Documentation in respect of Indebtedness
that is subordinated in right of payment to the Obligations.

          SECTION 5.18         USA PATRIOT Act; OFAC; FCPA.

        (a)     To the extent applicable, each of Holdings and its Subsidiaries is in compliance,
in all material respects, with (i) the Trading with the Enemy Act, as amended, and each of the
foreign assets control regulations of the United States Treasury Department (31 CFR Subtitle B,
Chapter V, as amended) and any other enabling legislation or executive order relating thereto
and (ii) the USA PATRIOT Act.

        (b)     No part of the proceeds of the Loans or Letters of Credit will be used, directly or,
to the knowledge of Holdings and its Subsidiaries, indirectly, for any payments to any
governmental official or employee, political party, official of a political party, candidate for
political office, or anyone else acting in an official capacity, in order to obtain, retain or direct
business or obtain any improper advantage, in violation of the United States Foreign Corrupt
Practices Act of 1977, as amended.


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        (c)     (i) None of Holdings or its Subsidiaries will directly or, to the knowledge of
Holdings or such Subsidiary, indirectly, use the proceeds of the Loans or Letters of Credit in
violation of applicable Sanctions or otherwise knowingly make available such proceeds to any
Person for the purpose of financing the activities of any Sanctioned Person, except to the extent
licensed, exempted or otherwise approved by a competent governmental body responsible for
enforcing such Sanctions, (ii) none of Holdings, any Subsidiary or to the knowledge of Holdings
or such Subsidiary, their respective directors, officers or employees or, to the knowledge of the
Borrower, any controlled Affiliate of Holdings, the Borrower or its Subsidiaries that will act in
any capacity in connection with or benefit from any Class, is a Sanctioned Person and (iii) none
of Holdings, its Subsidiaries or, to the knowledge of Holdings or such Subsidiary, their
respective directors, officers and employees, are in violation of applicable Sanctions in any
material respects.

          SECTION 5.19         Collateral Documents. The Collateral Documents, taken together
with the Orders, create in favor of the Administrative Agent, for the benefit of the Administrative
Agent, the Collateral Agent, the Co-Collateral Agent and the other Secured Parties, legal, valid
and enforceable Liens, security or mortgage interests in the Collateral (subject to general
principles of equity, regardless of whether considered in a proceeding in equity or at law).
Except for the entry of the Orders, no filing or other action will be necessary to perfect or protect
such Liens, security or mortgage interests. Upon entry of and to the extent provided in the
Orders, the Obligations of the Loan Parties under this Agreement will constitute allowed super-
priority administrative expense claims in the Case and first priority liens under Section 364(c) of
the Bankruptcy Code as further described in Section 2.17(a)(ii) and (iii), having priority over all
administrative expense claims and unsecured claims against such Loan Parties now existing or
hereafter arising, of any kind whatsoever, including, without limitation, all administrative
expense claims of the kind specified in Sections 503(b) and 507(b) of the Bankruptcy Code and
all super-priority administrative expense claims granted to any other Person (including, for the
avoidance of doubt, Avoidance Actions and the proceeds of thereof), subject only to the Carve
Out. Notwithstanding anything to the contrary herein, the Carve Out shall be senior to all Liens
and claims (including administrative and superpriority claims) securing the Obligations,
adequate protection Liens, and all other Liens or claims (including administrative claims and DIP
Superpriority Claims), including all other forms of adequate protection, Liens, or claims
(including administrative claims and DIP Superpriority Claims) securing the Obligations granted
or recognized as valid, including the Liens, security interests, and claims (including
administrative claims and DIP Superpriority Claims) granted to the Agents and the other Loan
Parties.

          SECTION 5.20         Orders. The Loan Parties are in compliance with the terms and
conditions of the Orders. Each of the Interim Order (to the extent necessary during the Interim
Order Period) or the Final Order (from after the date of the entry of the Final Order) is in full
force and effect and has not been vacated, reversed or rescinded or, without the prior written
consent of the Administrative Agent, the Collateral Agent, the Co-Collateral Agent and each
Lender, no change, amendment or modification or any application or motion for any change,
amendment or modification to any of the Orders shall be made, in each case, that is adverse to
the interests of the Loan Parties.



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                                         ARTICLE VI

                                  FINANCIAL COVENANTS

        So long as any Lender shall have any Revolving Credit Commitment hereunder, any
Loan or other Obligation hereunder (other than (i) contingent indemnification obligations as to
which no claim has been asserted and (ii) Obligations under Secured Hedge Agreements and
Cash Management Obligations) shall remain unpaid or unsatisfied, or any Letter of Credit shall
remain outstanding (unless the Outstanding Amount of the Letter of Credit Obligations related
thereto has been Cash Collateralized or back-stopped by a letter of credit in form and substance
reasonably satisfactory to the Administrative Agent), Holdings and the Borrower agrees with the
Lenders, the Issuers and the Administrative Agent to the following:

          SECTION 6.1          Minimum Excess Availability. Excess Availability shall not be
less than the greater of (a) 10% of the Borrowing Base and (b) $15,000,000 at any time.



                                         ARTICLE VII

                                 REPORTING COVENANTS

        So long as any Lender shall have any Commitment hereunder or any Loan or other
Obligation hereunder (other than (i) contingent indemnification obligations as to which no claim
has been asserted and (ii) Obligations under Secured Hedge Agreements and Cash Management
Obligations) shall remain unpaid or unsatisfied, or any Letter of Credit shall remain outstanding
(unless the Outstanding Amount of the Letter of Credit Obligations related thereto has been Cash
Collateralized or back-stopped by a letter of credit in form and substance reasonably satisfactory
to the Administrative Agent), Holdings and Borrower shall, and shall (except in the case of the
covenants set forth in Sections 7.1, 7.2 and 7.3) cause each of the Restricted Subsidiaries to:

          SECTION 7.1         Financial Statements, Etc. Deliver to the Administrative Agent,
the Co-Collateral Agent and the Collateral Agent for prompt further distribution to each Lender
each of the following and shall take the following actions:

        (a)    commencing with the Fiscal Year ending October 2, 2018, as soon as available,
but in any event within one hundred and twenty (120) days after the end of each Fiscal Year of
the Borrower, a consolidated balance sheet of the Borrower and its Subsidiaries as at the end of
such Fiscal Year, and the related consolidated statements of income, stockholders’ equity and
cash flows for such Fiscal Year, setting forth in each case in comparative form the figures for the
previous Fiscal Year, all in reasonable detail and prepared in accordance with IFRS (or, if the
Borrower has then elected to be governed by GAAP, GAAP), audited and accompanied by a
report and opinion of Deloitte & Touche LLP or any other independent registered public
accounting firm of nationally recognized standing, which report and opinion shall be prepared in
accordance with generally accepted auditing standards, together with management’s discussion
and analysis (“MD&A”) describing results of operations for such period (which MD&A shall be


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deemed delivered hereunder upon the filing with the SEC (or equivalent) of a Form 10-K (or
equivalent) by the Borrower or any direct or indirect parent of the Borrower).

        (b)     as soon as available, but in any event within forty-five (45) days after the end of
each of the first three (3) Fiscal Quarters of each Fiscal Year of the Borrower (except for the first
Fiscal Quarter of Fiscal Year ending October 2, 2018, which shall be within sixty (60) days), a
consolidated balance sheet of the Borrower and its Subsidiaries as at the end of such Fiscal
Quarter, and the related (i) consolidated statements of income for such Fiscal Quarter and for the
portion of the Fiscal Year then ended and (ii) consolidated statements of cash flows for such
Fiscal Quarter and for the portion of the Fiscal Year then ended, setting forth in each case in
comparative form the figures for the corresponding Fiscal Quarter of the previous Fiscal Year
and the corresponding portion of the previous Fiscal Year, all in reasonable detail and certified
by a Responsible Officer of the Borrower as fairly presenting in all material respects the
financial condition, results of operations and cash flows of the Borrower and its Subsidiaries in
accordance with IFRS (or, if the Borrower has then elected to be governed by GAAP, GAAP),
subject to normal year-end adjustments and the absence of footnotes, together with an MD&A
describing results of operations for such period (which MD&A shall be deemed delivered
hereunder upon the filing with the SEC (or equivalent) of a Form 10-Q (or equivalent) by the
Borrower or any direct or indirect parent of the Borrower);

        (c)    as soon as available, but in any event within thirty (30) days after the end of each
month during the Cases (commencing with the first month ending after the Closing Date), a
consolidated balance sheet of the Borrower and its Subsidiaries as at the end of such month, and
the related consolidated statements of income and consolidated statements of cash flows for such
month, all in reasonable detail and certified by a Responsible Officer of the Borrower as fairly
presenting in all material respects the financial condition, results of operations and cash flows of
the Borrower and its Subsidiaries in accordance with IFRS (or, if the Borrower has then elected
to be governed by GAAP, GAAP), subject to normal year-end adjustments and the absence of
footnotes;

        (d)    within ninety (90) days after the end of each Fiscal Year of the Borrower, a
reasonably detailed consolidated budget for the following Fiscal Year (including a projected
consolidated balance sheet of the Borrower and its Subsidiaries as of the end of the following
Fiscal Year, the related consolidated statements of projected income and projected cash flow and
setting forth the material underlying assumptions applicable thereto) (collectively, the
“Projections”), which Projections shall in each case be accompanied by a certificate of a
Responsible Officer stating that such Projections have been prepared in good faith on the basis of
the assumptions stated therein, which assumptions were believed to be reasonable at the time of
preparation of such Projections, it being understood that actual results may vary from such
Projections and that such variations may be material;

        (e)     simultaneously with the delivery of each set of consolidated financial statements
referred to in Sections 7.1(a), 7.1(b) and 7.1(c) above, the related unaudited consolidating
financial statements reflecting the adjustments necessary to eliminate the accounts of
Unrestricted Subsidiaries (if any) (which may be in footnote form only) from such consolidated
financial statements;


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        (f)     upon request of the Administrative Agent, within ten Business Days after the
delivery of each set of financial statements referred to in Section 7.1(a) and (b) above, a
conference call (which may be password protected) to discuss such financial statements and
operations for the relevant period (with the time and date of such conference call, together with
all information necessary to access the call, to be provided to the Administrative Agent no fewer
than three Business Days (or such shorter time as to which the Administrative Agent may agree)
prior to the date of such conference call, for posting on the Platform); and

         (g)     The Borrower will furnish to the Administrative Agent, the Collateral Agent and
the Co-Collateral Agent, (i) on or before 5:00 p.m. (New York time) every Wednesday during
the Cases (commencing on Wednesday October 17, 2018) a weekly cash flow forecast,
calculated as of the Friday of the week previously ended, for the subsequent 13-week period
certified by a Responsible Officer of the Borrower, together with a cash report detailing all cash
and Cash Equivalents on-hand of the Loan Parties and their subsidiaries (broken out by entity) as
of the close of business on such Friday date, each in form, scope and detail reasonably acceptable
to the Administrative Agent, the Collateral Agent and Co-Collateral Agent, and (ii) on or before
5:00 p.m. (New York time) every Wednesday during the Cases (commencing on Wednesday
October 17, 2018), a variance report certified by a Responsible Officer of the Borrower (the
“Receipts/Disbursements Variance Report”) setting forth Actual Cash Receipts and Actual
Disbursements of the Loan Parties for the preceding one calendar week period calculated as of
the Friday of the week previously ended (and solely for the Receipts/Disbursements Variance
Report delivered on October 17, 2018, calculated for the period from the Petition Date through
October 12, 2018) and cumulatively for the preceding four week period (or, prior to the fourth
full week after the Petition Date, the period from the Petition Date through the end of such week
period) and (iii) on or before 5:00 p.m. (New York time) every Friday during the Cases
(commencing on Friday October 19, 2018) a variance report certified by a Responsible Officer
of the Borrower (the “Inventory Variance Report” and together with the Receipts/Disbursements
Variance Report, the “Variance Report”) setting forth Actual Inventory Levels of the Loan
Parties calculated as of the prior Tuesday of the such week and, in each case of clause (ii) and
(iii), setting forth all the variances (including, without limitation, variances related to Budgeted
Cash Receipts, Budgeted Disbursements and Budgeted Inventory Levels), on a line-item and
aggregate basis, from the amount set forth for each such periods or as of such dates as compared
to the Budget delivered by the Loan Parties (and each Variance Report shall include reasonably
detailed explanations for all material variances (including Permitted Variances), each in form,
scope and detail reasonably acceptable to Administrative Agent, the Collateral Agent and Co-
Collateral Agent. Not later than one Business Day after the receipt of Receipts/Disbursements
Variance Report, the Borrower and the Administrative Agent, the Collateral Agent and Co-
Collateral Agent shall conduct a conference call to discuss the information contained therein at a
mutually convenient time.

        Notwithstanding the foregoing, the obligations in paragraphs (a) and (b) of this Section
7.1 may be satisfied with respect to financial information of the Borrower and its Restricted
Subsidiaries (including the provision of any MD&A) by furnishing (A) the applicable financial
statements of any direct or indirect parent of the Borrower that holds all of the Equity Interests of
the Borrower or (B) the Borrower’s or such entity’s Form 10-K or 10-Q (or equivalent), as
applicable, filed with the SEC (or equivalent Governmental Authority applicable to such indirect
parent company); provided that, with respect to each of clauses (A) and (B), (i) to the extent such

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information relates to a parent of the Borrower, the financial statements are accompanied by
unaudited consolidating information that explains in reasonable detail the differences between
the information relating to the Borrower (or such parent), on the one hand, and the information
relating to the Borrower and the Restricted Subsidiaries on a standalone basis, on the other hand
and (ii) to the extent the financial statements are in lieu of financial statements required to be
provided under Section 7.1(a), such materials are, to the extent applicable, accompanied by a
report and opinion of Deloitte & Touche LLP or any other independent registered public
accounting firm of nationally recognized standing, which report and opinion shall be prepared in
accordance with generally accepted auditing standards.

         SECTION 7.2          Certificates; Other Information.      Deliver to the Administrative
Agent for prompt further distribution to each Lender:

       (a)     no later than five (5) days after the delivery of the financial statements referred to
in Section 7.1(a), Section 7.1(b) and Section 7.1(c), a duly completed Compliance Certificate
signed by the chief financial officer of the Borrower;

        (b)     promptly after the same are publicly available, copies of all annual, regular,
periodic and special reports, proxy statements and registration statements which Holdings or the
Borrower or any Restricted Subsidiary files with the SEC or with any Governmental Authority
that may be substituted therefor or with any national securities exchange, as the case may be
(other than amendments to any registration statement (to the extent such registration statement,
in the form it became effective, is delivered to the Administrative Agent), exhibits to any
registration statement and, if applicable, any registration statement on Form S-8), and in any case
not otherwise required to be delivered to the Administrative Agent pursuant to any other clause
of this Section 7.2;

        (c)     promptly after the furnishing thereof, copies of any material notices (other than
notices furnished in the ordinary course) furnished to any holder of any class or series of debt
securities of any Loan Party having an aggregate outstanding principal amount greater than the
Threshold Amount, so long as the aggregate outstanding principal amount thereunder is greater
than the Threshold Amount and not otherwise required to be furnished to the Administrative
Agent pursuant to any other clause of this Section 7.2;

       (d)     together with the delivery of each Compliance Certificate delivered pursuant to
Section 7.2(a), (i) a report setting forth the information required by Section 3.03(c) of the
Security Agreement (or confirming that there has been no change in such information since the
Closing Date or the date of the last such report), (ii) a description of each event, condition or
circumstance during the last Fiscal Quarter covered by such Compliance Certificate requiring a
mandatory prepayment under Section 2.9, if any, and (iii) a list of each Subsidiary of the
Borrower that identifies each Subsidiary as a Restricted Subsidiary or an Unrestricted Subsidiary
as of the date of delivery of such Compliance Certificate or a confirmation that there is no
change in such information since the later of the Closing Date and the date of the last such list;

        (e)    promptly, such additional information regarding the business, legal, financial or
corporate affairs (including information regarding leases and stores, notwithstanding any
limitation under Section 8.6 regarding the ability to exercise inspection rights) of any Loan Party

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or any Restricted Subsidiary, or compliance with the terms of the Loan Documents, as the
Administrative Agent may from time to time on its own behalf or on behalf of any Lender
reasonably request; and

       (f)     all information required to be delivered by the Loan Parties pursuant to the Orders
regarding the Budget and the Permitted Variances.

        Documents required to be delivered pursuant to Section 7.1(a), (b) or (c) or Section 7.2(c)
may be delivered electronically and if so delivered, shall be deemed to have been delivered on
the date (i) on which the Borrower (or any direct or indirect parent of the Borrower) posts such
documents, or provides a link thereto on the Borrower’s website on the Internet at the website
address listed on Schedule 12.8; or (ii) on which such documents are posted on the Borrower’s
behalf on IntraLinks/IntraAgency or another relevant website, if any, to which each Lender and
the Administrative Agent have access (whether a commercial, third-party website or whether
sponsored by the Administrative Agent); provided that: (i) upon written request by the
Administrative Agent, the Borrower shall deliver paper copies of such documents (which may be
electronic copies delivered via electronic mail) to the Administrative Agent for further
distribution to each Lender until a written request to cease delivering paper copies is given by the
Administrative Agent and (ii) the Borrower shall notify (which may be by facsimile or electronic
mail) the Administrative Agent of the posting of any such documents and provide to the
Administrative Agent by electronic mail electronic versions (i.e., soft copies) of such documents.
Each Lender shall be solely responsible for timely accessing posted documents or requesting
delivery of paper copies of such documents from the Administrative Agent and maintaining its
copies of such documents.

        The Borrower hereby acknowledges that (a) the Administrative Agent and/or the
Arranger will make available to the Lenders and the Issuers materials and/or information
provided by or on behalf of the Borrower hereunder (collectively, “Borrower Materials”) by
posting the Borrower Materials on IntraLinks or another similar electronic system (the
“Platform”) and (b) certain of the Lenders (each, a “Public Lender”) may have personnel who do
not wish to receive material non-public information with respect to the Borrower or its
Subsidiaries, or the respective securities of any of the foregoing, and who may be engaged in
investment and other market-related activities with respect to such Persons’ securities. The
Borrower hereby agrees that (w) all Borrower Materials that are to be made available to Public
Lenders shall be clearly and conspicuously marked “PUBLIC” which, at a minimum, shall mean
that the word “PUBLIC” shall appear prominently on the first page thereof; (x) by marking
Borrower Materials “PUBLIC,” the Borrower shall be deemed to have authorized the
Administrative Agent, the Arranger, the Issuers and the Lenders to treat such Borrower Materials
as not containing any material non-public information (although it may be sensitive and
proprietary) with respect to the Borrower or its securities for purposes of United States Federal
and state securities laws (provided, however, that to the extent such Borrower Materials
constitute Information, they shall be treated as set forth in Section 12.19); (y) all Borrower
Materials marked “PUBLIC” are permitted to be made available through a portion of the
Platform designated “Public Side Information”; and (z) the Administrative Agent and the
Arranger shall be entitled to treat any Borrower Materials that are not marked “PUBLIC” as
being suitable only for posting on a portion of the Platform not designated “Public Side


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Information.” Notwithstanding the foregoing, the Borrower shall be under no obligation to mark
the Borrower Materials “PUBLIC”.

        SECTION 7.3           Notices. Promptly after a Responsible Officer obtains actual
knowledge thereof, notify the Administrative Agent:

        (a)     of the occurrence of any Default; and

         (b)     of (i) any dispute, litigation, investigation or proceeding between any Loan Party
and any arbitrator or Governmental Authority, (ii) other than in connection with the Cases, the
filing or commencement of, or any material development in, any litigation or proceeding
affecting any Loan Party or any Subsidiary, including pursuant to any applicable Environmental
Laws or in respect of IP Rights, the occurrence of any noncompliance by any Loan Party or any
of its Subsidiaries with, or liability under, any Environmental Law or Environmental Permit, or
(iii) the occurrence of any ERISA Event that, in any such case referred to in clauses (i), (ii) or
(iii), has resulted or would reasonably be expected to result in a Material Adverse Effect.

        Each notice pursuant to this Section 7.3 shall be accompanied by a written statement of a
Responsible Officer of the Borrower (x) that such notice is being delivered pursuant to Section
7.3(a) or (b) (as applicable) and (y) setting forth details of the occurrence referred to therein and
stating what action the Borrower has taken and proposes to take with respect thereto.

          SECTION 7.4          Borrowing Base Certificate.

        (a)      Borrower shall provide the Administrative Agent, the Collateral Agent and the
Co-Collateral Agent with the following documents in a form and detail reasonably satisfactory
to Administrative Agent, the Collateral Agent and the Co-Collateral Agent: not later than the
third (3rd) Business Day after the end of each fiscal week, a Borrowing Base Certificate setting
forth the calculation of the Borrowing Base and of Excess Availability as of the last Business
Day of the immediately preceding fiscal week, duly completed and executed by a Responsible
Officer of the Borrower, together with all schedules required pursuant to the terms of the
Borrowing Base Certificate duly completed; provided that the Borrower may elect, at its option,
to deliver more frequent Borrowing Base Certificates, in which case such Borrowing Base
Certificates shall be computed in accordance with the requirements in respect of Borrowing Base
Certificates required to be delivered during the continuance of a Cash Dominion Period and the
Borrower shall continue to deliver Borrowing Base Certificates on such more frequent basis until
the date that is 60 days after the date of such election.

        (b)     [reserved].

       (c)     Holdings and the Borrower shall also cooperate with (and cause its Subsidiaries to
cooperate with) the Administrative Agent, the Collateral Agent, and the Co-Collateral Agent in
connection with updates to the Initial Inventory Appraisal that shall be in form and detail and
from third-party appraisers reasonably acceptable to the Administrative Agent, the Co-Collateral
Agent and the Collateral Agent (the “Updated Inventory Appraisal”), for the purpose of
determining the amount of the Borrowing Base attributable to Inventory and the Administrative
Agent, the Co-Collateral Agent and the Collateral Agent, collectively, may carry out, at the
Borrower’s expense, two (2) Updated Inventory Appraisals in any period of 12 consecutive
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months; provided, however, (i) the Administrative Agent, the Collateral Agent and the Co-
Collateral Agent, collectively, may carry out, at the Lenders’ expense, one (1) additional
Updated Inventory Appraisal in any period of 12 consecutive months and (ii) at any time during
the continuation of an Event of Default, the Administrative Agent, the Co-Collateral Agent and
the Collateral Agent, collectively, may carry out, at the Borrower’s expense, Updated Inventory
Appraisals as frequently as determined by the Administrative Agent, the Co-Collateral Agent
and the Collateral Agent, collectively, in their respective reasonable discretion. The Borrower
shall furnish to the Administrative Agent, the Co-Collateral Agent and the Collateral Agent any
information that the Administrative Agent, the Collateral Agent or any Co-Collateral Agent may
reasonably request regarding the determination and calculation of the Borrowing Base including
correct and complete copies of any invoices, underlying agreements, instruments or other
documents and the identity of all Account Debtors in respect of Accounts or Inventory referred
to therein.

        (d)     The Administrative Agent, the Co-Collateral Agent and the Collateral Agent,
collectively, may carry out investigations and reviews of each Loan Party’s property at the
reasonable expense of the Borrower (including field audits conducted by the Administrative
Agent) (“Field Examination”) and the Administrative Agent, the Co-Collateral Agent and the
Collateral Agent, collectively, may carry out, at the Borrower’s expense, two (2) Field
Examinations in any period of 12 consecutive months; provided, however, (i) the Administrative
Agent, the Co-Collateral Agent and the Collateral Agent, collectively, may carry out, at the
Lenders’ expense, one (1) additional Field Examination in any period of 12 consecutive months
and (ii) at any time during the continuation of an Event of Default, the Administrative Agent, the
Co-Collateral Agent and the Collateral Agent, collectively, may carry out, at the Borrower’s
expense, Field Examinations as frequently as determined by the Administrative Agent, the Co-
Collateral Agent and the Collateral Agent, collectively, in their respective reasonable discretion.
The Borrower shall furnish to the Administrative Agent, the Co-Collateral Agent and the
Collateral Agent any information that the Administrative Agent, the Collateral Agent or the Co-
Collateral Agent may reasonably request regarding the determination and calculation of the
Borrowing Base including correct and complete copies of any invoices, underlying agreements,
instruments or other documents and the identity of all Account Debtors in respect of Accounts
referred to therein.

        (e)    The Borrower shall provide the Administrative Agent, the Co-Collateral Agent
and the Collateral Agent with an updated Borrowing Base Certificate at the times required under
Section 9.5 and at any other time when Current Assets Collateral with a fair market value of
$5,000,000 or more has been disposed of outside the Ordinary Course of Business by any Loan
Party since the date of the most recently delivered Borrowing Base Certificate

                                        ARTICLE VIII

                                AFFIRMATIVE COVENANTS

      So long as any Lender shall have any Revolving Credit Commitment hereunder or any
Loan or other Obligation hereunder (other than (i) contingent indemnification obligations as to
which no claim has been asserted and (ii) Obligations under Secured Hedge Agreements and
Cash Management Obligations) shall remain unpaid or unsatisfied, or any Letter of Credit shall

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remain outstanding (unless the Outstanding Amount of the Letter of Credit Obligations related
thereto has been Cash Collateralized or back-stopped by a letter of credit in form and substance
reasonably satisfactory to the Administrative Agent), Holdings and the Borrower shall, and shall
cause each of the Restricted Subsidiaries to:

          SECTION 8.1         Preservation of Existence, Etc.

       (a) Preserve, renew and maintain in full force and effect its legal existence under the
Laws of the jurisdiction of its organization and (b) take all reasonable action to obtain, preserve,
renew and keep in full force and effect its rights, licenses, permits and franchises material to the
ordinary conduct of its business, except in the case of clause (a) or (b) to the extent (other than
with respect to the preservation of the existence of Holdings and the Borrower) that failure to do
so would not reasonably be expected to have, individually or in the aggregate, a Material
Adverse Effect or pursuant to any merger, consolidation, liquidation, dissolution or Disposition
permitted by Article IX.

          SECTION 8.2         Compliance with Laws, Etc.

         Comply in all material respects with its Organization Documents and the requirements of
all Laws and all orders, writs, injunctions and decrees of any Governmental Authority applicable
to it or to its business or property, except if the failure to comply therewith would not reasonably
be expected individually or in the aggregate to have a Material Adverse Effect.

          SECTION 8.3         [Reserved].

          SECTION 8.4         Payment of Taxes, Etc.

         To the extent required or permitted by any Order or the Bankruptcy Code and
contemplated by the Budget (subject to Permitted Variances), timely pay, discharge or otherwise
satisfy, as the same shall become due and payable in the normal conduct of its business, all of its
obligations and liabilities in respect of Taxes imposed upon it or upon its income or profits or in
respect of its property, except, in each case, to the extent (i) any such Tax is being contested in
good faith and by appropriate actions for which appropriate reserves have been established in
accordance with IFRS or (ii) the failure to pay or discharge the same would not reasonably be
expected, individually or in the aggregate, to have a Material Adverse Effect.

          SECTION 8.5         Maintenance of Insurance.

       Maintain with insurance companies that the Borrower believes (in the good faith
judgment of its management) are financially sound and reputable at the time the relevant
coverage is placed or renewed, insurance with respect to its properties and business against loss
or damage of the kinds customarily insured against by Persons engaged in the same or similar
business, of such types and in such amounts (after giving effect to any self-insurance reasonable
and customary for similarly situated Persons engaged in the same or similar businesses as the
Borrower and the Restricted Subsidiaries) as are customarily carried under similar circumstances
by such other Persons, and will furnish to the Lenders, upon written request from the
Administrative Agent, the Collateral Agent or the Co-Collateral Agent, information presented in
reasonable detail as to the insurance so carried. Each such policy of insurance shall, as

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appropriate, (i) name the Collateral Agent, on behalf of the Lenders, as an additional insured
thereunder as its interests may appear and/or (ii) in the case of each casualty insurance policy,
contain a lender loss payable clause or endorsement that names the Collateral Agent, on behalf of
the Lenders as the lender loss payee thereunder.

          SECTION 8.6         Inspection Rights.

         In addition to the requirements pursuant to Section 7.4, permit representatives and
independent contractors of the Administrative Agent, the Collateral Agent, the Co-Collateral
Agent, and each Lender to visit and inspect any of its properties, to examine its corporate,
financial and operating records, and make copies thereof or abstracts therefrom and to discuss its
affairs, finances and accounts with its directors, officers, and independent public accountants
(subject to such accountants’ customary policies and procedures), all at the reasonable expense
of the Borrower and at such reasonable times during normal business hours and as often as may
be reasonably desired, upon reasonable advance notice to the Borrower; provided that, only the
Administrative Agent, the Collateral Agent and the Co-Collateral Agent, collectively, on behalf
of the Lenders may elect to exercise rights of the Administrative Agent, the Co-Collateral Agent,
the Collateral Agent and the Lenders under this Section 8.6 and the Administrative Agent, the
Collateral Agent and the Co-Collateral Agent, collectively, shall not exercise such rights more
often than two (2) times during any calendar year and only one (1) such time shall be at the
Borrower’s expense; provided, further, that when an Event of Default exists and is continuing,
the Administrative Agent (or any of its respective representatives or independent contractors),
the Collateral Agent and the Co-Collateral Agent may, collectively, do any of the foregoing at
the expense of the Borrower at any time during normal business hours and upon reasonable
advance notice. The Administrative Agent, the Collateral Agent, the Co-Collateral Agent, and
the Lenders shall give the Borrower the opportunity to participate in any discussions with the
Borrower’s independent public accountants. Notwithstanding anything to the contrary in this
Section 8.6, none of the Borrower or any of the Restricted Subsidiaries will be required to
disclose, permit the inspection, examination or making copies or abstracts of, or discussion of,
any document, information or other matter that (a) constitutes non-financial trade secrets or non-
financial proprietary information (other than with respect to any non-financial trade secrets or
non-financial proprietary information related to Eligible Accounts, Eligible Credit Card
Receivables, Eligible In-Transit Inventory, Eligible Inventory or balances in deposit accounts
and securities accounts), (b) in respect of which disclosure to the Administrative Agent, the
Collateral Agent, the Co-Collateral Agent, or any Lender (or their respective representatives or
contractors) is prohibited by Law or any binding agreement or (c) is subject to attorney-client or
similar privilege or constitutes attorney work product.

          SECTION 8.7         Books and Records.

        Maintain proper books of record and account, in which entries that are full, true and
correct in all material respects and are in conformity with IFRS shall be made of all material
financial transactions and matters involving the assets and business of Holdings, the Borrower or
such Restricted Subsidiary, as the case may be.

          SECTION 8.8         Maintenance of Properties.


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       Except if the failure to do so would not reasonably be expected to have, individually or in
the aggregate, a Material Adverse Effect, maintain, preserve and protect all of its material
properties and equipment used in the operation of its business in good working order, repair and
condition, ordinary wear and tear excepted and fire, casualty or condemnation excepted.

          SECTION 8.9          Use of Proceeds.

        In accordance with and subject to the Budget (including the Permitted Variance
provisions) and the Orders, use the proceeds of Loans and Letters of Credit made and/or issued
hereunder to finance: (i) the payment of expenses incurred in connection with the transactions
contemplated hereby, (ii) the payment of fees, expenses and costs incurred in connection with the
Cases, (iii) the payment of any adequate protection payments approved in the Orders, (iv)
working capital, capital expenditures, and other general corporate purposes of the Loan Parties
and (v) repayment of all Loans (but not, for the avoidance of doubt, Letters of Credit under the
Pre-Petition Credit Agreement, which shall be deemed issued under this Agreement upon entry
of the Interim Order) under the Pre-Petition Credit Agreement.

          SECTION 8.10         Compliance with Environmental Laws.

        Except, in each case, to the extent that the failure to do so would not reasonably be
expected to have, individually or in the aggregate, a Material Adverse Effect, (a) comply, and
take all reasonable actions to cause any lessees and other Persons operating or occupying its
properties to comply with all applicable Environmental Laws and Environmental Permits; (b)
obtain and renew all Environmental Permits necessary for its operations and properties; and, (c)
in each case to the extent required by applicable Environmental Laws, conduct any investigation,
remedial or other corrective action necessary to address all releases of Hazardous Materials on or
from any of its properties, in accordance with the requirements of all applicable Environmental
Laws.

          SECTION 8.11         Covenant to Guarantee Obligations and Give Security.

        At the Borrower’s expense, subject to the limitations and exceptions of this Agreement,
including, without limitation, the provisions of the Collateral and Guarantee Requirement and
any applicable limitation in any Collateral Document, take all action necessary or reasonably
requested by the Administrative Agent, the Collateral Agent, or any Co-Collateral Agent to
ensure that the Collateral and Guarantee Requirement continues to be satisfied, including:

        (a)    (x) upon the formation or acquisition of any new direct or indirect wholly owned
Material Domestic Subsidiary (in each case, other than an Excluded Subsidiary) by any Loan
Party or any Subsidiary becoming a wholly owned Material Domestic Subsidiary (in each case,
other than an Excluded Subsidiary):

                (i)    within sixty (60) days (or such greater number of days specified below)
        after such formation, acquisition or designation or, in each case, such longer period as the
        Administrative Agent, the Co-Collateral Agent and the Collateral Agent may agree in
        their reasonable discretion:



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                        (A) cause each such Material Domestic Subsidiary that is required to
          become a Guarantor under the Collateral and Guarantee Requirement to furnish to the
          Collateral Agent a description of the Material Real Properties owned by such Material
          Domestic Subsidiary in detail reasonably satisfactory to the Collateral Agent;

                          (B) within sixty (60) days after such formation, acquisition or
          designation, cause each such Material Domestic Subsidiary that is required to become a
          Guarantor pursuant to the Collateral and Guarantee Requirement to duly execute and
          deliver to the Collateral Agent, other than with respect to any Excluded Assets, Security
          Agreement Supplements, Intellectual Property Security Agreements and other security
          agreements and documents, as reasonably requested by and in form and substance
          reasonably satisfactory to the Collateral Agent and the Co-Collateral Agent (consistent
          with the Mortgages, Security Agreement, Intellectual Property Security Agreements
          and other Collateral Documents in effect on the Closing Date), in each case granting
          Liens required by the Collateral and Guarantee Requirement;

                         (C) cause each such Material Domestic Subsidiary that is required to
          become a Guarantor pursuant to the Collateral and Guarantee Requirement to deliver
          any and all certificates representing Equity Interests (to the extent certificated) that are
          required to be pledged pursuant to the Collateral and Guarantee Requirement,
          accompanied by undated stock powers or other appropriate instruments of transfer
          executed in blank (or any other documents customary under local law) and instruments
          evidencing the intercompany Indebtedness held by such Material Domestic Subsidiary
          and required to be pledged pursuant to the Collateral Documents, indorsed in blank to
          the Collateral Agent;

                          (D) within sixty (60) days (or within ninety (90) days in the case of
          documents listed in Section 8.13(a)(ii)) after such formation, acquisition or designation,
          take and cause the applicable Material Domestic Subsidiary and each direct or indirect
          parent of the applicable Material Domestic Subsidiary that is required to become a
          Guarantor pursuant to the Collateral and Guarantee Requirement to take whatever
          action (including the filing of UCC financing statements and delivery of stock and
          membership interest certificates to the extent certificated) as may be necessary in the
          reasonable opinion of the Administrative Agent or any Co-Collateral Agent to vest in
          the Collateral Agent (or in any representative of the Collateral Agent designated by it)
          valid Liens required by the Collateral and Guarantee Requirement, enforceable against
          all third parties in accordance with their terms, except as such enforceability may be
          limited by Debtor Relief Laws and by general principles of equity (regardless of
          whether enforcement is sought in equity or at law); and

                (ii)   within sixty (60) days after the reasonable request therefor by the
        Administrative Agent, the Co-Collateral Agent or the Collateral Agent (or such longer
        period as the Administrative Agent, the Co-Collateral Agent and the Collateral Agent
        may agree in their respective reasonable discretion), deliver to the Administrative Agent
        a signed copy of an opinion, addressed to the Administrative Agent and the other Secured
        Parties, of counsel for the Loan Parties reasonably acceptable to the Administrative
        Agent, the Co-Collateral Agent and the Collateral Agent to such matters set forth in this

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        Section 8.11(a) as the Administrative Agent, the Collateral Agent or any Co-Collateral
        Agent may reasonably request;

                (iii)      [reserved];

        (b)     [reserved].

          SECTION 8.12         Cash Receipts. Each Loan Party shall manage all cash in
  accordance with the provisions below and as provided in the Orders and/or Cash Management
  Order, in each case, as entered by the Bankruptcy Court, and:

        (a)     The Borrower shall ensure that the Administrative Agent shall have springing
control with respect to the Approved Deposit Accounts pursuant to the Cash Management Order
or the Orders, as applicable.

       (b)    The Borrower shall ensure that the Administrative Agent shall have springing
control with respect to the Approved Securities Accounts pursuant to the Cash Management
Order or the Orders, as applicable.

        (c)    Each Loan Party shall (i) instruct each Account Debtor or other Person obligated
to make a payment to any of them under any Account to make payment, or to continue to make
payment, to an Approved Deposit Account or Post-Petition Deposit Account that is not an
Excluded Account, (ii) deposit in an Approved Deposit Account or Post-Petition Deposit
Account promptly upon receipt all Cash Receipts (as defined below) received by any Loan Party
from any other Person (provided that, any Cash Receipts may be deposited into an Excluded
Account to the extent that such deposit would not cause such Excluded Account to cease to be
qualified as an Excluded Account) and (iii) instruct each depository institution for a Deposit
Account or Post-Petition Deposit Account to cause all amounts on deposit and available at the
close of each Business Day in such Deposit Account or Post-Petition Deposit Account to be
swept to one of the Loan Parties’ concentration accounts no less frequently than on a daily basis,
such instructions to be irrevocable unless otherwise agreed to by the Administrative Agent, the
Collateral Agent and the Co-Collateral Agent (other than, in the case of clause (iii), any
Excluded Account or any amounts deposited in an Excluded Account).

        (d)     For each Pre-Petition Credit Card Notification, Post-Petition Credit Card
Notification, Approved Deposit Account and Post-Petition Deposit Account (and, in the case of
clause (iii) below, Approved Securities Account and Post-Petition Securities Account) the Loan
Parties shall cause, after the occurrence and during the continuance of a Cash Dominion Period,
the ACH or wire transfer no less frequently than daily (and whether or not there are then any
outstanding Obligations) to the concentration account maintained by, in the name of and under
the sole dominion and control of the Administrative Agent and identified by the Administrative
Agent to the Borrower from time to time (the “Concentration Account”), of all cash receipts and
collections, including the following (collectively, the “Cash Receipts”):

               (i)     all available cash receipts from the sale of Inventory and other Collateral
        or casualty insurance proceeds arising from any of the foregoing;



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               (ii)   all proceeds of collections of Accounts (including, without limitation,
        Credit Card Receivables);

                (iii) the then contents of each Approved Deposit Account and each Approved
        Securities Account and each Post-Petition Securities Account (in each case, net of any
        minimum balance as may be required to be kept in the subject Deposit Account or
        Securities Account, as the case may be, by the institution at which such Deposit Account
        or Securities Account, as applicable, is maintained); and

                (iv)       the cash proceeds of all credit card charges.

        (e)     The Concentration Account shall at all times be under the sole dominion and
control of the Administrative Agent. The Loan Parties hereby acknowledge and agree that (i) the
Loan Parties have no right of withdrawal from the Concentration Account, (ii) the funds on
deposit in the Concentration Account shall at all times be collateral security for all of the
Obligations and (iii) subject to the Orders and the obligation to fund the Carve Out, the funds on
deposit in the Concentration Account shall be applied as provided in this Agreement. In the
event that, notwithstanding the provisions of this Section, during the continuation of any Cash
Dominion Period, any Loan Party receives or otherwise has dominion and control of any such
proceeds or collections, such proceeds and collections shall be held in trust by such Loan Party
for the Administrative Agent, shall not be commingled with any of such Loan Party’s other funds
or deposited in any account of such Loan Party and shall, not later than the Business Day after
receipt thereof, be deposited into the Concentration Account or dealt with in such other fashion
as such Loan Party may be instructed by the Administrative Agent.

        (f)   So long as no Cash Dominion Period is continuing, the Loan Parties may direct,
and shall have sole control over, the manner of disposition of funds in the Approved Securities
Accounts, Approved Deposit Accounts, Post-Petition Deposit Accounts and Post-Petition
Securities Accounts. The Loan Parties shall instruct their Credit Card Issuers and Credit Card
Processors to make payments due to any Loan Party to an Approved Deposit Account or Post-
Petition Deposit Account that is subject to a control agreement and Collateral Agent agrees not
to change such payment instructions unless a Cash Dominion Period is continuing.

        (g)    Any amounts received in the Concentration Account at any time when no Cash
Dominion Period is continuing or all of the Obligations have been paid in full shall be remitted
to the operating account of the Loan Parties maintained with the Administrative Agent or to an
operating account otherwise designated by the Borrower.

       (h)     Unless otherwise provided for in the Cash Management Order or in the Orders, as
applicable, the Administrative Agent shall promptly (but in any event within five (5) Business
Days) furnish written notice to each Approved Account Bank and each Approved Securities
Intermediary, as applicable, of any termination of a Cash Dominion Period.

        (i)    The Borrower and the Loan Parties shall not directly or indirectly, own, or control
the use of, any Deposit Account or Securities Accounts (other than Approved Deposit Accounts,
Approved Securities Accounts and any Excluded Accounts) without (i) the consent of the
Administrative Agent, the Collateral Agent and the Co-Collateral Agent, and (ii) entry into an

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effective account control agreement with respect to such Deposit Account (the “Post-Petition
Deposit Accounts”) or Securities Accounts (the “Post-Petition Securities Accounts”).

        (j)    To the extent that the Borrower and the other Loan Parties enter into any new
Credit Card Agreements after the Petition Date in accordance with the Cash Management Order
or the Orders, as applicable, within (30) Business Days after entering into or acquiring such
Credit Card Agreements (or such longer period following such date as the Administrative Agent,
the Co-Collateral Agent and the Collateral Agent may agree) the Borrower shall provide
evidence that each such Credit Card Issuer and Credit Card Processor has countersigned its
respective Credit Card Notification (such Post-Petition Credit Card Notifications, the “Post-
Petition Credit Card Notifications”).

          SECTION 8.13            Further Assurances and Post-Closing Covenants.

         (a)   Subject to the provisions of the Collateral and Guarantee Requirement and any
applicable limitations in any Collateral Document and in each case at the expense of the Loan
Parties:

                (i)     Promptly upon reasonable request by the Administrative Agent or the
        Collateral Agent or the Co-Collateral Agent or as may be required by applicable law (i)
        correct any material defect or error that may be discovered in the execution,
        acknowledgment, filing or recordation of any Collateral Document or other document or
        instrument relating to any Collateral, and (ii) do, execute, acknowledge, deliver, record,
        re-record, file, re-file, register and re-register any and all such further acts, deeds,
        certificates, assurances and other instruments as the Administrative Agent or Collateral
        Agent or the Co-Collateral Agent may reasonably request from time to time in order to
        carry out more effectively the purposes of the Collateral Documents.

                (ii)       [reserved].

        (b)     Complete and/or deliver to Administrative Agent, or cause to be completed or so
delivered, in form and substance reasonably satisfactory to Administrative Agent, the Collateral
Agent and Co-Collateral Agent, the actions and items described on Schedule 8.13(b) hereof on or
before the dates specified with respect to such actions and items, or such later dates as may be
agreed to by Administrative Agent in its sole discretion.

          SECTION 8.14            [Reserved].

          SECTION 8.15            Additional Information and Bankruptcy-Related Obligations.

        (a)    The Borrower will, as soon as practicable in advance of filing with the
Bankruptcy Court, of all material documents, motions and pleadings related to the Orders, this
Agreement, proposed Store closings, asset sales and the Chapter 11 Plan and the Disclosure
Statement, deliver to the Administrative Agent, the Collateral Agent and the Co-Collateral Agent
all such documents to be filed and provide the Administrative Agent, the Collateral Agent and
the Co-Collateral Agent with a reasonable opportunity to review and comment on all such
documents, which documents shall be reasonably satisfactory to the Administrative Agent, the
Collateral Agent and the Co-Collateral Agent.

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        (b)    Without limiting the requirements set forth in Section 8.15(a), the Borrower will
deliver to the Administrative Agent, the Collateral Agent and the Co-Collateral Agent promptly
after the same are available, copies of all pleadings, applications, judicial information, financial
information and other documents filed on behalf of the Borrower or any Guarantor with the
Bankruptcy Court in the Cases, or distributed by or on behalf of any Loan Party to the
Committee Professionals; provided that any publicly filed documents with the Bankruptcy Court
shall be deemed to have been delivered to the Administrative Agent, the Collateral Agent and the
Co-Collateral Agent.

        (c)    The Borrower will deliver to the Administrative Agent, the Collateral Agent and
the Co-Collateral Agent promptly after the same are available, copies of all reporting and
information related to any proposed Store closings, asset sales or other dispositions that could
reasonably be expected to materially affect the Borrowing Base (including, without limitation,
detail regarding transportation and refurbishment costs associated with any Store closings, and
other information reasonably requested by the Administrative Agent).

        (d)    The Borrower will allow the Administrative Agent, the Collateral Agent and the
Co-Collateral Agent access to, upon reasonable notice during normal business hours, all financial
advisors and advisors engaged by the Loan Parties (which engagement, with respect to any
financial professionals and advisors engaged after the Closing Date, shall be on terms and
conditions reasonably satisfactory to the Administrative Agent, the Collateral Agent and the Co-
Collateral Agent).

        (e)     The Borrower will deliver to the legal counsel to the Administrative Agent, the
Collateral Agent and the Co-Collateral Agent, at least two Business Days in advance of filing
with the Bankruptcy Court, copies of all proposed orders entered by the Bankruptcy Court or any
other court having jurisdiction over the insolvency proceeding of any Loan Party pending outside
of the Bankruptcy Court in respect of first day motions and applications (“First Day Orders”) and
second day motions and applications (“Second Day Orders”; together with the First Day Orders,
the “Initial Orders”) and motions seeking approval of the Initial Orders, which shall be in form
and substance reasonably satisfactory to the Administrative Agent, the Collateral Agent and the
Co-Collateral Agent.

          SECTION 8.16         Milestones.

        (a)     On the Petition Date or the next Business Day thereafter, the Debtors shall have
filed with the Bankruptcy Court a motion seeking approval of this Agreement and the Loans.

        (b)     As of the Petition Date, the Loan Parties shall have (i) filed a disclosure statement
(“Disclosure Statement”) and the Chapter 11 Plan with the Bankruptcy Court, each in form and
substance satisfactory to the Administrative Agent, the Collateral Agent and the Co-Collateral
Agent, which plan and (A) provides for payment in full of all Obligations (other than outstanding
Letters of Credit, which shall either be “rolled” into the exit ABL credit facility or Cash
Collateralized) on the effective date thereof, and (B) either (I) provides that each class of claims
or interests therein is not impaired or (II) has been accepted, pursuant to a solicitation (conducted
in accordance with applicable law) of votes completed prior to the Petition Date, by each
impaired class of claims or interests, without regard to any acceptance by any insider of the Loan

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Parties (the “Chapter 11 Plan”) and (ii) provided evidence, satisfactory to the Administrative
Agent, the Collateral Agent and the Co-Collateral Agent, of the agreements by holders of
intercompany Indebtedness of any Debtor to support the Chapter 11 Plan.

        (c)    On or before three (3) Business Days after the Petition Date, the Interim Order
shall have been entered by the Bankruptcy Court.

       (d)     On or before 30 days after the Petition Date, the Final Order shall have been
entered by the Bankruptcy Court.

       (e)    On or before 60 days after the Petition Date, the Bankruptcy Court shall have
entered an order, in form and substance that is satisfactory to the Administrative Agent, the
Collateral Agent and Co-Collateral Agent, confirming the Chapter 11 Plan.

        (f)    (i) On the Petition Date, the Debtors shall have filed a Motion to Reject Leases
with respect to no less than 200 Stores, in form and substance satisfactory to the Administrative
Agent, the Collateral Agent and Co-Collateral Agent, and (ii) obtained one or more orders of the
Bankruptcy Court on or before the 60th day after the Petition Date to close no less than 500
Stores, such orders to be in form and substance satisfactory to the Administrative Agent, the
Collateral Agent and Co-Collateral Agent.

          SECTION 8.17        Performance Within Budget.

              At all times following the Closing Date, strictly perform in accordance with the
Budget, including making all scheduled payments to the Administrative Agent and the Lenders
as and when required under this Agreement, subject to the following (the “Permitted
Variances”):

        (a)    The Loan Parties’ cumulative Actual Disbursements shall not exceed the
Budgeted Disbursements by more than (i) 17.5% solely during the period from the Petition Date
through October 12, 2018 calculated on a cumulative basis for such period, (ii) 15% solely
during the period from the Petition Date through October 19, 2018 calculated on a cumulative
basis for such period, (iii) 12.5% solely during the period from the Petition Date through October
26, 2018 calculated on a cumulative basis for such period, and (iv) at all times thereafter, 10%, in
each case on a rolling four week cumulative basis;

        (b)    The Loan Parties’ Actual Cash Receipts shall not be less than (i) 90% of the
Budgeted Cash Receipts, solely during each of the first two weeks ending after the Petition Date,
calculated on a cumulative basis for such one or two week period, (ii) 90% of the Budgeted Cash
Receipts during the succeeding week, calculated on a cumulative basis for such three week
period, and (ii) at all times thereafter, 90% of the Budgeted Cash Receipts, calculated on a
rolling four week cumulative basis; and

      (c)    The Loan Parties’ Actual Inventory Level shall not be less than 85% of the
Budgeted Inventory Level at the end of each week ending after the commencement of the Cases
commencing on October 19, 2018 calculated as of the Tuesday of such week.



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                With respect to the Actual Disbursements and Actual Cash Receipts, the
foregoing shall be reported in arrears on Wednesday of each week (commencing on Wednesday,
October 17 with respect to the period from the Petition Date and ending on October 12, 2018), in
each case, pursuant to the Receipts/Disbursements Variance Report delivered by the Borrower to
the Administrative Agent, the Collateral Agent and the Co-Collateral Agent in accordance with
Section 7.1(g).

              With respect to the Actual Inventory, the foregoing shall be reported in arrears on
Friday of each week (commencing on Friday, October 19 with respect to Actual Inventory on
October 16, 2018), in each case, pursuant to the Inventory Variance Report delivered by the
Borrower to the Administrative Agent, the Collateral Agent and the Co-Collateral Agent in
accordance with Section 7.1(g).

                                          ARTICLE IX

                                  NEGATIVE COVENANTS

        So long as any Lender shall have any Revolving Credit Commitment hereunder or any
Loan or other Obligation hereunder (other than (i) contingent indemnification obligations as to
which no claim has been asserted and (ii) Obligations under Secured Hedge Agreements and
Cash Management Obligations) shall remain unpaid or unsatisfied, or any Letter of Credit shall
remain outstanding (unless the Outstanding Amount of the Letter of Credit Obligations related
thereto has been Cash Collateralized or back-stopped by a letter of credit in form and substance
reasonably satisfactory to the Administrative Agent), Holdings and the Borrower shall not, nor
shall the Borrower permit any Restricted Subsidiary to:

          SECTION 9.1         Liens. Create, incur, assume or suffer to exist any Lien upon any
of its property, assets or revenues, whether now owned or hereafter acquired, other than the
following:

        (a)     Liens created pursuant to any Loan Document or the Orders;

        (b)     Liens existing on the Closing Date;

       (c)     Liens for Taxes, assessments or governmental charges arising after the Petition
Date that are not overdue for a period of more than thirty (30) days or that are being contested in
good faith and by appropriate actions for which appropriate reserves have been established in
accordance with IFRS;

        (d)    statutory or common law Liens of landlords, sublandlords, carriers,
warehousemen, mechanics, materialmen, repairmen, construction contractors or other like Liens,
or other customary Liens (other than in respect of Indebtedness) in favor of landlords, so long as,
in each case, such Liens secure amounts not overdue for a period of more than thirty (30) days
or, if more than thirty (30) days overdue, are unfiled and no other action has been taken to
enforce such Lien or that are being contested in good faith and by appropriate actions, if and for
which adequate reserves with respect thereto are maintained on the books of the applicable
Person in accordance with IFRS or the equivalent accounting principles in the relevant local
jurisdiction;
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        (e)    (i) pledges or deposits in the Ordinary Course of Business in connection with
workers’ compensation, health, disability or employee benefits, unemployment insurance and
other social security laws or similar legislation or regulation or other insurance-related
obligations (including, but not limited to, in respect of deductibles, self-insured retention
amounts and premiums and adjustments thereto) and (ii) pledges and deposits in the Ordinary
Course of Business securing liability for reimbursement or indemnification obligations of
insurance carriers providing property, casualty or liability insurance to Holdings, the Borrower or
any Restricted Subsidiaries;

        (f)    Liens to secure the performance of bids, trade contracts, governmental contracts
and leases (other than Indebtedness for borrowed money), statutory obligations, surety, stay,
customs and appeal bonds, performance bonds and other obligations of a like nature (including
those to secure health, safety and environmental obligations) incurred in the Ordinary Course of
Business or consistent with past practice or industry practice;

         (g)    easements, rights-of-way, covenants, conditions, restrictions (including zoning
restrictions), encroachments, protrusions and other similar encumbrances and title defects
affecting real property that, in the aggregate, do not in any case materially interfere with the
ordinary conduct of the business of the Borrower and its Restricted Subsidiaries taken as a
whole, or the use of the property for its intended purpose, and any other exceptions to title on the
final Mortgage Policies issued to the Collateral Agent in connection with the Mortgaged
Properties;

       (h)    Liens arising from judgments or orders for the payment of money not constituting
an Event of Default under Section 10.1(g);

        (i)     Liens securing obligations in respect of Indebtedness permitted under Section
9.3(e); provided that (A) such Liens attach concurrently with or within two hundred and seventy
(270) days after completion of the acquisition, construction, repair, replacement or improvement
(as applicable) of the property subject to such Liens, (B) such Liens do not at any time encumber
any property other than the property financed by such Indebtedness, replacements thereof and
additions and accessions to such property and the proceeds and the products thereof and
customary security deposits and (C) with respect to Capitalized Leases, such Liens do not at any
time extend to or cover any assets (except for replacements, additions and accessions to such
assets) other than the assets subject to such Capitalized Leases and the proceeds and products
thereof and customary security deposits; provided that individual financings of equipment
provided by one lender may be cross collateralized to other financings of equipment provided by
such lender;

       (j)     leases, non-exclusive licenses, cross-licenses, subleases or non-exclusive
sublicenses granted to others in the Ordinary Course of Business which (i) do not interfere in any
material respect with the business of the Borrower and its Subsidiaries, taken as a whole, (ii) do
not secure any Indebtedness or (iii) are permitted by Section 9.5;

       (k)    Liens in favor of customs and revenue authorities arising as a matter of Law to
secure payment of customs duties in connection with the importation of goods in the Ordinary
Course of Business;

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         (l)    Liens (i) of a collection bank arising under Section 4-208 of the Uniform
Commercial Code on the items in the course of collection, (ii) attaching to commodity trading
accounts or other commodities brokerage accounts incurred in the Ordinary Course of Business
in connection with the maintenance of such accounts and not for speculative purposes so long as
such liens do not secure Indebtedness for borrowed money (other than for overdraft obligations
in an aggregate amount not to exceed, taken together with overdrafts permitted under clause (iii)
below, $5,000,000), and (iii) in favor of a banking or other financial institution arising as a
matter of Law or under customary general terms and conditions encumbering deposits or other
funds maintained with a financial institution (including the right of setoff) and that are within the
general parameters customary in the banking industry or arising pursuant to such banking
institution's general terms and conditions, which liens secure obligations related to the
maintenance of such accounts and do not secure Indebtedness for borrowed money (other than
for overdraft obligations in an aggregate amount not to exceed, taken together with overdrafts
permitted under clause (i) above, $5,000,000);

        (m)     [reserved];

        (n)    Liens on property of any Non-Loan Party, which Liens secure Indebtedness of
any Non-Loan Party permitted under Section 9.3 or other obligations of any Non-Loan Party not
constituting Indebtedness;

       (o)    Liens in favor of the Borrower or a Restricted Subsidiary securing Indebtedness
permitted under Section 9.3(d);

        (p)     Liens (other than on Current Assets Collateral unless the Liens (subject to
customary bifurcation to be agreed relative to proceeds of non-Current Assets Collateral) thereon
are subordinated to the Lien of the Collateral Agent in a manner consistent with the terms of a
Customary Intercreditor Agreement) existing on property at the time of its acquisition or existing
on the property of any Person at the time such Person becomes a Restricted Subsidiary, in each
case after the Closing Date (other than Liens on the Equity Interests of any Person that becomes
a Restricted Subsidiary); provided that (i) such Lien does not extend to or cover any other assets
or property (other than the proceeds or products thereof and other than after-acquired property of
such acquired Restricted Subsidiary), and (ii) the Indebtedness secured thereby is permitted
under Section 9.3(e) or (g);

        (q)     any interest or title (and all encumbrances and other matters affecting such
interest or title) of a lessor, sublessor, licensor or sublicensor or secured by a lessor’s,
sublessor’s, licensor’s or sublicensor’s interest under leases, subleases, licenses, cross-licenses or
sublicenses entered into by the Borrower or any of the Restricted Subsidiaries in the Ordinary
Course of Business;

        (r)    Liens arising out of conditional sale, title retention, consignment or similar
arrangements for sale of goods entered into by the Borrower or any of the Restricted Subsidiaries
in the Ordinary Course of Business;

       (s)    Liens deemed to exist in connection with Investments in repurchase agreements
under Section 9.2 and reasonable customary initial deposits and margin deposits and similar

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Liens attaching to commodity trading accounts or other brokerage accounts maintained in the
Ordinary Course of Business and not for speculative purposes;

        (t)     Liens that are contractual rights of setoff or rights of pledge (i) relating solely to
the establishment of depository relations with banks or other deposit-taking financial institutions
and not given in connection with the issuance of Indebtedness, (ii) relating to pooled deposit or
sweep accounts of Holdings, the Borrower or any of the Restricted Subsidiaries to permit
satisfaction of overdraft or similar obligations incurred in the Ordinary Course of Business of
Holdings, the Borrower or any of the Restricted Subsidiaries or (iii) relating to purchase orders
and other agreements entered into with customers of the Borrower or any of the Restricted
Subsidiaries in the Ordinary Course of Business;

        (u)      [reserved];

       (v)    ground leases in respect of real property on which facilities owned or leased by
the Borrower or any of its Subsidiaries are located;

       (w)    purported Liens evidenced by the filing of precautionary Uniform Commercial
Code financing statements or similar public filings;

      (x)    Liens on insurance policies and the proceeds thereof securing the financing of the
premiums with respect thereto;

        (y)      [reserved];

        (z)      [reserved];

        (aa) (i) zoning, building, entitlement and other land use regulations by Governmental
Authorities with which the normal operation of the business complies, and (ii) any zoning or
similar law or right reserved to or vested in any Governmental Authority to control or regulate
the use of any real property that does not materially interfere with the ordinary conduct of the
business of the Borrower and its Restricted Subsidiaries, taken as a whole;

        (bb)     [reserved];

        (cc)     [reserved];

        (dd) Liens or rights of setoff arising after the Petition Date against credit balances of
the Borrower or any of its Subsidiaries with Credit Card Issuers or Credit Card Processors or
amounts owing by such Credit Card Issuers or Credit Card Processors to the Borrower or any of
its Subsidiaries in the Ordinary Course of Business, but not Liens on or rights of setoff against
any other property or assets of the Borrower or any of its Subsidiaries pursuant to the Credit
Card Agreements, as in effect on the Closing Date, to secure the obligations of the Borrower or
any of its Subsidiaries to the Credit Card Issuers or Credit Card Processors as a result of fees and
chargebacks;

       (ee)    Liens on specific items of inventory or other goods and the proceeds thereof of
any Person securing such Person's obligations permitted under Section 9.3(v) in respect of letters

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of credit or banker's acceptances issued or created for the account of such Person to facilitate the
purchase, shipment or storage of such inventory or goods;

       (ff)    deposits of cash with the owner or lessor of premises leased and operated by the
Borrower or any of its Subsidiaries to secure the performance of the Borrower’s or such
Subsidiary’s obligations under the terms of the lease for such premises;

        (gg)     [reserved];

       (hh) To the extent existing as of the Petition Date, Liens on Collateral securing
Indebtedness under the Second Lien Credit Agreement;

       (ii)   Liens on Collateral securing Indebtedness under the DIP Term Loan Agreement
which are subject to the DIP Intercreditor Agreement; and

        (jj)     other Liens which are Pre-Petition claims.

        The expansion of Liens by virtue of accrual of interest, the accretion of accreted value,
the payment of interest or dividends in the form of additional Indebtedness, amortization of
original issue discount and increases in the amount of Indebtedness outstanding solely as a result
of fluctuations in the exchange rate of currencies will not be deemed to be an incurrence of Liens
for purposes of this Section 9.1.

Notwithstanding anything to the contrary contained herein, Holdings and the Borrower shall not,
nor shall the Borrower permit any Restricted Subsidiary to, create, incur, assume or suffer to
exist any Lien upon any of their property, assets or revenues, whether now owned or hereafter
acquired, in respect of obligations in respect of the Stripes Intra-Group Loan Agreement and/or
the Stripes Facilities Agreement.

          SECTION 9.2          Investments.

        Make or hold any Investments, except:

        (a)     Investments by Holdings, the Borrower or any of the Restricted Subsidiaries in
assets that are Cash Equivalents;

        (b)    To the extent provided for in the Budget, loans or advances to officers, directors
and employees of Holdings (or any direct or indirect parent thereof), the Borrower or any of the
Restricted Subsidiaries (i) for reasonable and customary business-related travel, entertainment,
relocation and analogous ordinary business purposes, (ii) in connection with such Person’s
purchase of Equity Interests of Holdings (or any direct or indirect parent thereof; provided that,
to the extent such loans or advances are made in cash, the amount of such loans and advances
used to acquire such Equity Interests shall be contributed to Holdings in cash) and (iii) for any
other purpose, in an aggregate principal amount outstanding at any time not to exceed 5,000,000;

       (c)    Investments by the Borrower or any Restricted Subsidiary that is a Loan Party in
the Borrower or any Restricted Subsidiary that is a Loan Party.


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       (d)     Investments consisting of extensions of credit in the nature of accounts receivable
or notes receivable arising from the grant of trade credit in the Ordinary Course of Business, and
Investments received in satisfaction or partial satisfaction thereof from financially troubled
account debtors and other credits to suppliers in the Ordinary Course of Business;

        (e)     Investments consisting of Liens, Indebtedness, fundamental changes, Dispositions
and Restricted Payments permitted under Sections 9.1, 9.3 (other than Sections 9.3(c)(ii) or (d)),
9.4 (other than Sections 9.4(c)(ii)), 9.5 (other than Sections 9.5 (e)) and 9.6 (other than Sections
9.6(d)), respectively;

       (f)     Investments existing on the Closing Date or made pursuant to legally binding
written contracts in existence on the Closing Date, in each case, set forth in the Disclosure
Statement;

        (g)     Investments in Swap Contracts permitted under Section 9.3;

       (h)    promissory notes and other non-cash consideration that is permitted to be received
in connection with Dispositions permitted by Section 9.5;

        (i)     [reserved];

        (j)     Investments made in accordance with the Orders;

       (k)    Investments in the Ordinary Course of Business consisting of Uniform
Commercial Code Article 3 endorsements for collection or deposit and Article 4 customary trade
arrangements with customers consistent with past practices;

       (l)     Investments (including debt obligations and Equity Interests) received in
connection with the bankruptcy or reorganization of suppliers and customers or in settlement of
delinquent obligations of, or other disputes with, customers and suppliers arising in the Ordinary
Course of Business or upon the foreclosure with respect to any secured Investment;

        (m)      To the extent provided for in the Budget, loans and advances to Holdings (or any
direct or indirect parent thereof) in lieu of, and not in excess of the amount of (after giving effect
to any other loans, advances or Restricted Payments in respect thereof), Restricted Payments to
the extent permitted to be made to Holdings (or such direct or indirect parent) in accordance with
Section 9.6(f) or (g);

        (n)    so long as no Event of Default exists or would result therefrom, other Investments
that do not exceed in the aggregate at any time outstanding $1,000,000;

      (o)     To the extent provided for in the Budget, advances of payroll payments to
employees in the Ordinary Course of Business;

        (p)     [reserved];

        (q)     [reserved];


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        (r)     Guarantees by Holdings, the Borrower or any of the Restricted Subsidiaries of
leases (other than Capitalized Leases) or of other obligations that do not constitute Indebtedness,
in each case entered into in the Ordinary Course of Business;

        (s)     [reserved]; and

        (t)     [reserved].

Notwithstanding anything to the contrary contained herein, Holdings and the Borrower shall not,
nor shall the Borrower permit any Restricted Subsidiary to, make or hold any Investments in
respect of the Stripes Intra-Group Loan Agreement (other than in existence as of the Petition
Date) and/or the Stripes Facilities Agreement.

          SECTION 9.3         Indebtedness.

        Create, incur, assume or suffer to exist any Indebtedness or issue any Disqualified Equity
Interest, other than:

        (a)     Indebtedness under the Loan Documents or the Pre-Petition Loan Documents;

       (b)      Indebtedness incurred prior to the Petition Date as set forth in the Disclosure
Statement;

        (c)     (i) Guarantees by Holdings, the Borrower and the Restricted Subsidiaries in
respect of Indebtedness of the Borrower or any of the Restricted Subsidiaries otherwise
permitted hereunder (except that a Restricted Subsidiary that is not a Loan Party may not, by
virtue of this Section 9.3(c), Guarantee Indebtedness that such Restricted Subsidiary could not
otherwise incur under this Section 9.3); provided that (A) no Guarantee by any Restricted
Subsidiary of any Junior Financing shall be permitted unless such Restricted Subsidiary shall
have also provided a Guarantee of the Obligations substantially on the terms set forth in the
Guaranty and (B) if the Indebtedness being Guaranteed is subordinated to the Obligations, such
Guarantee shall be subordinated to the Guaranty on terms at least as favorable to the Lenders as
those contained in the subordination of such Indebtedness and (ii) any Guaranty by a Loan Party
of Indebtedness of a Restricted Subsidiary that would have been permitted as an Investment by
such Loan Party in such Restricted Subsidiary under Section 9.2(c);

        (d)    Indebtedness of the Borrower or any of the Restricted Subsidiaries owing to the
Borrower or any other Restricted Subsidiary (or issued or transferred to any direct or indirect
parent of a Loan Party which is substantially contemporaneously transferred to a Loan Party or
any Restricted Subsidiary of a Loan Party) to the extent constituting an Investment permitted by
Section 9.2; provided that (i) all such Indebtedness of any Loan Party owed to any Person that is
not a Loan Party shall be subject to the Intercompany Subordination Agreement and (ii) such
Indebtedness shall be duly noted on the books and records of the Loan Parties as being owing in
respect of Collateral;

        (e)    (i) Attributable Indebtedness and other Indebtedness (including Capitalized
Leases) of the Borrower and the Restricted Subsidiaries financing the acquisition, construction,
repair, replacement or improvement of fixed or capital assets; provided that such Indebtedness is

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incurred concurrently with or within two hundred and seventy (270) days after the applicable
acquisition, construction, repair, replacement or improvement and (ii) Attributable Indebtedness
arising out of Sale-Leasebacks; provided that the aggregate principal amount of Indebtedness at
any one time outstanding incurred pursuant to this clause (e) shall not exceed the greater of
$5,000,000, in each case determined at the time of incurrence;

       (f)    Unless otherwise permitted pursuant to the Budget, to the extent incurred prior to
the Petition Date and outstanding as of the Closing Date, Indebtedness in respect of Swap
Contracts designed to hedge against Holdings’, the Borrower’s or any Restricted Subsidiary’s
exposure to interest rates, foreign exchange rates or commodities pricing risks incurred in the
Ordinary Course of Business and not for speculative purposes and Guarantees thereof so long as
such Indebtedness to the extent secured does not exceed $5,000,000;

        (g)    To the extent incurred prior to the Petition Date and outstanding as of the Closing
Date, Acquired Indebtedness of the Borrower or any Restricted Subsidiary assumed in
connection with any Permitted Acquisition of any such Indebtedness, in an aggregate principal
amount at any time outstanding not to exceed $25,000,000; provided that in no event shall the
aggregate amount of Indebtedness incurred by Non-Loan Parties under this clause (g), together
with all Indebtedness of Non-Loan Parties incurred under clauses (n) of this Section 9.3, exceed
at any time outstanding $12,500,000;

       (h)    To the extent incurred prior to the Petition Date and outstanding as of the Closing
Date, unsecured Indebtedness of the Loan Parties in their capacities as guarantors of
Indebtedness outstanding under the Stripes Intra-Group Loan Agreement on the Closing Date;

       (i)     Indebtedness representing deferred compensation to employees of the Borrower
(and any direct or indirect parent thereof) and its Subsidiaries incurred in the Ordinary Course of
Business;

        (j)     Unless otherwise permitted pursuant to the Budget, to the extent incurred prior to
the Petition Date and outstanding as of the Closing Date, Indebtedness to current or former
officers, directors, managers, consultants and employees, their respective estates, spouses or
former spouses to finance the purchase or redemption of Equity Interests or other equity based
awards of Holdings (or any direct or indirect parent thereof) permitted by Section 9.6;

       (k)     To the extent incurred prior to the Petition Date and outstanding as of the Closing
Date, unsecured Indebtedness incurred by Holdings, the Borrower or any of the Restricted
Subsidiaries in a Permitted Acquisition, any other Investment expressly permitted hereunder or
any Disposition, in each case to the extent constituting indemnification obligations or obligations
in respect of purchase price (including earn-outs) or other similar adjustments so long as such
Indebtedness in respect of earn-outs or similar adjustments (other than those existing on the
Closing Date) does not exceed $5,000,000;

        (l)    Unless otherwise permitted pursuant to the Budget, to the extent incurred prior to
the Petition Date and outstanding as of the Closing Date, unsecured Indebtedness consisting of
obligations of Holdings, the Borrower and the Restricted Subsidiaries under deferred
compensation or other similar arrangements with employees incurred by such Person in

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connection with Permitted Acquisition or any other Investment expressly permitted hereunder so
long as such Indebtedness does not exceed $5,000,000;

       (m)     to the extent incurred prior to the Petition Date and outstanding as of the Closing
Date, Cash Management Obligations and other Indebtedness in respect of netting services,
automatic clearinghouse arrangements, overdraft protections, employee credit card programs and
other cash management and similar arrangements in the Ordinary Course of Business and any
Guarantees thereof;

       (n)    Indebtedness of the Borrower and the Restricted Subsidiaries in an aggregate
principal amount at any time outstanding not to exceed $1,000,000;

       (o)    Indebtedness consisting of (i) the financing of insurance premiums or (ii) take-or-
pay obligations contained in supply arrangements, in each case, in the Ordinary Course of
Business;

        (p)    Indebtedness incurred by the Borrower or any of the Restricted Subsidiaries in
respect of warehouse receipts or similar instruments issued or created in the Ordinary Course of
Business in respect of workers compensation claims, health, disability or other employee benefits
or property, casualty or liability insurance or self-insurance or other Indebtedness with respect to
reimbursement-type obligations regarding workers compensation claims;

        (q)    contingent obligations in respect of performance, bid, appeal and surety bonds
and performance and completion guarantees and similar obligations provided by the Borrower or
any of the Restricted Subsidiaries, in each case in the Ordinary Course of Business or consistent
with past practice;

        (r)    To the extent incurred prior to the Petition Date and outstanding as of the Closing
Date, Indebtedness of the Borrower and the Restricted Subsidiaries incurred under the Second
Lien Credit Agreement in an aggregate original principal committed amount not to exceed
$80,000,000, provided that such indebtedness is permitted under and subject to the Second Lien
Intercreditor Agreement;

        (s)     Indebtedness of the Borrower and the Restricted Subsidiaries which are
guarantors under the DIP Term Loan Agreement in an aggregate original principal committed
amount not to exceed $100,000,000, provided that such indebtedness is permitted under and
subject to the DIP Intercreditor Agreement;

        (t)     [reserved];

        (u)     [reserved];

        (v)     [reserved];

        (w)     [reserved];

        (x)     [reserved];


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        (y)     [reserved];

        (z)     Indebtedness incurred in accordance with the Orders; and

       (aa) all premiums (if any), interest (including post-petition interest), fees, expenses,
charges and additional or contingent interest on obligations described in clauses (a) through (aa)
above.

        For purposes of determining compliance with any Dollar-denominated restriction on the
incurrence of Indebtedness, the Dollar-equivalent principal amount of Indebtedness denominated
in a foreign currency shall be calculated based on the relevant currency exchange rate in effect
on the date such Indebtedness was incurred, in the case of term debt, or first committed, in the
case of revolving credit debt; provided that if such Indebtedness is incurred to extend, replace,
refund, refinance, renew or defease other Indebtedness denominated in a foreign currency, and
such extension, replacement, refunding, refinancing, renewal or defeasance would cause the
applicable Dollar-denominated restriction to be exceeded if calculated at the relevant currency
exchange rate in effect on the date of such extension, replacement, refunding, refinancing,
renewal or defeasance, such Dollar-denominated restriction shall be deemed not to have been
exceeded so long as the principal amount of such refinancing Indebtedness does not exceed the
principal amount of such Indebtedness being extended, replaced, refunded, refinanced, renewed
or defeased, plus the aggregate amount of fees, underwriting discounts, premiums (including
tender premiums) and other costs and expenses (including OID) incurred in connection with such
refinancing.

       The accrual of interest, the accretion of accreted value and the payment of interest in the
form of additional Indebtedness shall not be deemed to be an incurrence of Indebtedness for
purposes of this Section 9.3. The principal amount of any non-interest bearing Indebtedness or
other discount security constituting Indebtedness at any date shall be the principal amount
thereof that would be shown on a balance sheet of the Borrower dated such date prepared in
accordance with IFRS.

        Notwithstanding anything to the contrary contained herein, Holdings and the Borrower
shall not, nor shall the Borrower permit any Restricted Subsidiary to, create, incur, assume or
suffer to exist any Indebtedness or issue any Disqualified Equity Interest in respect of the Stripes
Facilities Agreement, or any obligations arising thereunder.

         SECTION 9.4            Fundamental Changes. Merge, dissolve, consolidate with or into
another Person, or Dispose of (whether in one transaction or in a series of transactions) all or
substantially all of its assets (whether now owned or hereafter acquired) to or in favor of any
Person other than in accordance with the Orders.

         SECTION 9.5         Dispositions. Make any Disposition, except:(w) Dispositions of
obsolete, worn out, used or surplus property, whether now owned or hereafter acquired, in the
Ordinary Course of Business, (x) Dispositions of property no longer used or useful in the
conduct of the business of the Borrower and the Restricted Subsidiaries in the Ordinary Course
of Business and (y) Dispositions to landlords of improvements made to leased real property
pursuant to customary terms of leases entered into in the Ordinary Course of Business;

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       (b)    Dispositions of inventory and goods held for sale in the Ordinary Course of
Business and immaterial assets in the Ordinary Course of Business;

       (c)     Dispositions of property to the extent that (i) such property is exchanged for credit
against the purchase price of similar replacement property or (ii) the proceeds of such
Disposition are promptly applied to the purchase price of such replacement property;

        (d)     Dispositions of property from a Loan Party to another Loan Party;

        (e)    Dispositions permitted by Sections 9.2 (other than Section 9.2(e)), 9.4) and 9.6
(other Section 9.6(d)) and Liens permitted by Section 9.1);

        (f)     [reserved];

      (g)       Dispositions of Cash Equivalents to the extent not otherwise prohibited by this
Agreement;

       (h)     (i) leases, subleases, non-exclusive licenses, cross-licenses or non-exclusive
sublicenses (including the provision of software under an open source license), in each case in
the Ordinary Course of Business and which do not materially interfere with the business of the
Borrower and the Restricted Subsidiaries, taken as a whole and (ii) Dispositions of intellectual
property that are not material to the business of the Borrower and the Restricted Subsidiaries
taken as a whole;

       (i)    Dispositions of property (other than Current Assets Collateral) subject to casualty
or condemnation events;

        (j)     [reserved];

        (k)     [reserved];

        (l)   Dispositions or discounts without recourse of accounts receivable (other than
Eligible Accounts and Eligible Credit Card Receivables) in connection with the collection or
compromise thereof;

        (m)     [reserved];

        (n)     [reserved];

        (o)     the unwinding of any Swap Contract;

        (p)     [reserved];

        (q)    bulk sales or other Dispositions of the inventory of a Restricted Subsidiary not in
the Ordinary Course of Business; provided, however, that (i) if Current Assets Collateral the fair
market value of which is in excess of $3,000,000 in the aggregate is Disposed of pursuant to this
clause (q) since the most recent Borrowing Base Certificate was delivered to the Administrative
Agent, the Collateral Agent and the Co-Collateral Agent, the Borrower shall promptly deliver to

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the Administrative Agent, the Collateral Agent and the Co-Collateral Agent an updated
Borrowing Base Certificate giving Pro Forma Effect to such Disposition, (ii) no Event of Default
has occurred and is continuing and (iii) before and after giving effect thereto Excess Availability
is not less than $15,000,000 on a pro forma basis;

        (r)     [reserved];

        (s)    the lapse or abandonment in the Ordinary Course of Business of any registrations
or applications for registration of any immaterial IP Rights;

        (t)     [reserved];

        (u)     [reserved];

        (v)     Dispositions made in accordance with the Orders; and

        (w)     [reserved].

provided that any Disposition of any property pursuant to this Section 9.5 (except pursuant to
Sections 9.5 (a), (e), (h), (l), and (s) and except for Dispositions from the Borrower or a
Restricted Subsidiary that is a Loan Party to the Borrower or a Restricted Subsidiary that is a
Loan Party), shall be for no less than the fair market value of such property at the time of such
Disposition as determined by the Borrower in good faith. To the extent any Collateral is
Disposed of as expressly permitted by this Section 9.5 to any Person other than Holdings, the
Borrower or any Restricted Subsidiary, such Collateral shall be sold free and clear of the Liens
created by the Loan Documents, and the Administrative Agent shall be authorized to take any
actions deemed appropriate in order to effect the foregoing. If Current Assets Collateral the fair
market value of which is in excess of $3,000,000 in the aggregate is Disposed of outside the
Ordinary Course of Business at any time since the most recent Borrowing Base Certificate was
delivered to the Administrative Agent, the Collateral Agent and the Co-Collateral Agent or, if at
the time of or as a result of any Disposition, the Borrower shall promptly deliver to the
Administrative Agent, the Collateral Agent and the Co-Collateral Agent an updated Borrowing
Base Certificate giving Pro Forma Effect to such Disposition; provided that nothing herein shall
be deemed to permit any Disposition that is not otherwise permitted under Section 9.5 or waive
any other requirement in respect of the Collateral or the Borrowing Base.

         SECTION 9.6         Restricted Payments. Declare or make, directly or indirectly, any
Restricted Payment, except, in each case consistent with the Budget (subject to Permitted
Variances) and any applicable order of the Bankruptcy Court:

        (a)     each Restricted Subsidiary may make Restricted Payments to the Borrower and to
its other Restricted Subsidiaries that are Loan Parties (and, in the case of a Restricted Payment
by a non-wholly owned Restricted Subsidiary, to the Borrower and any of its other Restricted
Subsidiaries that are Loan Parties and to each other owner of Equity Interests of such Restricted
Subsidiary that is a Loan Party based on their relative ownership interests of the relevant class of
Equity Interests);

        (b)     [reserved];

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        (c)     [reserved];

        (d)     to the extent constituting Restricted Payments, the Borrower and the Restricted
Subsidiaries may enter into and consummate transactions expressly permitted by any provision
of Section 9.2 (other than Section 9.2(e)), 9.8 (other than Sections 9.8(a) or (i)), or Section 9.14;

        (e)     [reserved];

        (f)     [reserved];

        (g)     [reserved]:

        (h)     [reserved];

        (i)     [reserved];

        (j)     the Borrower may make Restricted Payments to Holdings or to any direct or
indirect parent of Holdings:

                           (A) with respect to any taxable period for which the Borrower and
          and/or its Subsidiaries are members of a consolidated, combined, unitary or affiliated
          tax group for U.S. federal and/or applicable state or local tax purposes of which a direct
          or indirect parent of the Borrower is the common parent (“Tax Group”), the proceeds of
          which will be used to pay (or make Restricted Payments to allow any direct or indirect
          parent thereof to pay) the Tax liability to each federal, state or local jurisdiction in
          respect of which such Tax Group return is filed by Holdings (or such direct or indirect
          parent that is the common parent of such Tax Group) that includes the Borrower and/or
          any of its Subsidiaries, to the extent such Tax liability does not exceed the lesser of (A)
          the Taxes that would have been payable by the Borrower and/or its Subsidiaries as a
          stand-alone group and (B) the actual Tax liability of Holdings’ Tax Group (or, if
          Holdings is not the parent of the Tax Group, the Taxes that would have been paid by
          Holdings, the Borrower and/or the Borrower’s Subsidiaries as a stand-alone group),
          reduced by any such Taxes paid or to be paid directly by the Borrower or its
          Subsidiaries; provided that Restricted Payments or other distributions in respect of an
          Unrestricted Subsidiary shall be permitted only to the extent that cash distributions
          were made by such Unrestricted Subsidiary to Borrower or any of its Restricted
          Subsidiaries for such purpose;

                        (B) the proceeds of which shall be used to pay (or make Restricted
          Payments to allow any direct or indirect parent thereof to pay) its operating costs and
          expenses incurred in the Ordinary Course of Business and other corporate overhead
          costs and expenses (including administrative, legal, accounting and similar expenses
          provided by third parties), which are reasonable and customary and incurred in the
          Ordinary Course of Business, attributable to the ownership or operations of the
          Borrower and its Subsidiaries;

                       (C) the proceeds of which shall be used to pay (or make Restricted
          Payments to allow any direct or indirect parent thereof which does not own other

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          Subsidiaries besides Holdings, its Subsidiaries and the direct or indirect parents of
          Holdings to pay) (A) franchise Taxes and other fees, similar Taxes and expenses
          required to maintain its (or any of such direct or indirect parents’) corporate existence
          or (B) costs and expenses incurred by it or any of its direct or indirect parents in
          connection with such entity being a public company, including costs and expenses
          relating to ongoing compliance with federal and state securities laws and regulations,
          SEC rules and regulations and the Sarbanes-Oxley Act of 2002; or

                           (D) the proceeds of which (A) shall be used to pay salary,
          commissions, bonus and other benefits payable to and indemnities provided on behalf
          of officers, employees, directors and members of management of Holdings or any
          direct or indirect parent company of Holdings and any payroll, social security or similar
          taxes hereof to the extent such salaries, commissions, bonuses and other benefits are
          attributable to the ownership or operation of the Borrower and the Restricted
          Subsidiaries or (B) shall be used to make payments permitted under Sections 9.8(g) and
          (i) (but only to the extent such payments have not been and are not expected to be made
          by the Borrower or a Restricted Subsidiary);

        (k)     Restricted Payments made in accordance with the Orders;

        (l)     [reserved];

        (m)     [reserved]; and

        (n)     [reserved].

        Notwithstanding anything to the contrary contained herein, Holdings and the Borrower
shall not, nor shall Holdings or the Borrower permit any Restricted Subsidiary to, declare or
make, directly or indirectly, Restricted Payments in respect of, or the proceeds of which will be
used directly or indirectly to make payments on account of, obligations with respect to the
Stripes Intra-Group Loan Agreement, the Second Lien Credit Agreement and/or the Stripes
Facilities Agreement.

          SECTION 9.7         Change in Nature of Business.

        Engage in any material line of business substantially different from those lines of
business conducted by the Borrower and the Restricted Subsidiaries on the Closing Date or any
business or any other activities reasonably related, complementary, synergistic or ancillary
thereto or reasonable extensions thereof.

          SECTION 9.8         Transactions with Affiliates.

        Enter into any transaction of any kind with any Affiliate of the Borrower, whether or not
in the Ordinary Course of Business, other than:

       (a)      transactions between or among the Loan Parties (to the extent otherwise permitted
hereunder),


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        (b)     transactions in the Ordinary Course of Business upon fair and reasonable terms
fully disclosed to the Administrative Agent, the Collateral Agent and Co-Collateral Agent and on
terms substantially as favorable to the Borrower or such Restricted Subsidiary as would be
obtainable by the Borrower or such Restricted Subsidiary at the time in a comparable arm’s-
length transaction with a Person other than an Affiliate,

        (c)     [reserved],

        (d)     [reserved],

        (e)     To the extent provided for in the Budget (subject to Permitted Variances) and
existing as of the Petition Date, employment and severance arrangements between Holdings, the
Borrower and the Restricted Subsidiaries and their respective officers and employees in the
Ordinary Course of Business and transactions pursuant to stock option plans and employee
benefit plans and arrangements,

       (f)     To the extent existing as of the Petition Date or if permitted by any applicable
order of the Bankruptcy Court, the non-exclusive licensing of trademarks, copyrights or other IP
Rights in the Ordinary Course of Business to permit the commercial exploitation of IP Rights
between or among Affiliates and Subsidiaries of Holdings or the Borrower,

        (g)   the payment of customary fees and reasonable out-of-pocket costs to, and
indemnities provided on behalf of, directors, officers and employees of Holdings and the
Restricted Subsidiaries or any direct or indirect parent of Holdings in the Ordinary Course of
Business to the extent attributable to the ownership or operation of the Borrower and the
Restricted Subsidiaries,

       (h)    any agreement, instrument or arrangement as in effect and consummated prior to
the Closing Date and set forth in the Disclosure Statement,

        (i)     Restricted Payments permitted under Section 9.6,

        (j)     [reserved],

        (k)     the issuance or transfer of Equity Interests (other than Disqualified Equity
Interests) of Holdings to any former, current or future director, manager, officer, employee or
consultant (or any spouses, former spouses, successors, executors, administrators, heirs, legatees
or distributees of any of the foregoing) of the Borrower, any of its Subsidiaries or any direct or
indirect parent thereof to the extent otherwise permitted by this Agreement and to the extent such
issuance or transfer would not give rise to a Change of Control,

        (l)     [reserved],

        (m)    payments to or from, and transactions with, Joint Ventures (to the extent any such
Joint Venture is only an Affiliate as a result of Investments by Holdings, the Borrower and the
Restricted Subsidiaries in such Joint Venture) in the Ordinary Course of Business and consistent
with past practices to the extent otherwise permitted under Section 9.2,


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        (n)     any transaction in accordance with the Orders, and

        (o)      the DIP Term Loan Agreement.

        Notwithstanding anything to the contrary contained herein, Holdings and the Borrower
shall not, nor shall the Borrower permit any Restricted Subsidiary to, enter into any agreement
pursuant to which it will become an obligor under the Stripes Facilities Agreement.

          SECTION 9.9          Burdensome Agreements. Other than as set forth in the Orders,
enter into or permit to exist any Contractual Obligation (other than this Agreement, any other
Loan Document, the Pre-Petition Credit Agreement or any other Pre-Petition Loan Document)
that prohibits, restricts, imposes any condition on or limits the ability of (a) any Restricted
Subsidiary that is not a Loan Party to make Restricted Payments to (directly or indirectly) or to
make or repay loans or advances to any Loan Party or to Guarantee the Obligations of any Loan
Party under the Loan Documents or (b) any Loan Party to create, incur, assume or suffer to exist
Liens on property of such Person for the benefit of the Lenders with respect to the Obligations
under the Loan Documents; provided that the foregoing clauses (a) and (b) shall not apply to
Contractual Obligations that:

        (a)     exist on the Closing Date and set forth in the Disclosure Statements,

       (b)    represent Indebtedness of a Restricted Subsidiary that is not a Loan Party that is
permitted by Section 9.3,

        (c)    are customary restrictions that arise in connection with (x) any Lien permitted by
Sections 9.1(a), (l), (s), (t)(i), (t)(ii) and (ee) and relate to the property subject to such Lien or (y)
any Disposition permitted by Section 9.5 applicable pending such Disposition solely to the assets
subject to such Disposition,

        (d)    are customary provisions in joint venture agreements and other similar
agreements applicable to joint ventures permitted under Section 9.2 and applicable solely to such
joint venture,

       (e)     are negative pledges and restrictions on Liens in favor of any holder of
Indebtedness permitted under Section 9.3 but solely to the extent any negative pledge relates to
the property financed by or the subject of such Indebtedness (and excluding in any event any
Indebtedness constituting any Junior Financing) and the proceeds and products thereof,

         (f)    are customary restrictions on leases, subleases, licenses, cross-licenses,
sublicenses or asset sale agreements otherwise permitted hereby so long as such restrictions
relate to the property interest, rights or the assets subject thereto,

       (g)     comprise restrictions imposed by any agreement relating to secured Indebtedness
permitted pursuant to Sections 9.3(e), (g), (h), (o)(i) and (w) to the extent that such restrictions
apply only to the property or assets securing such Indebtedness,

       (h)     are customary provisions restricting subletting or assignment of any lease
governing a leasehold interest of the Borrower or any Restricted Subsidiary,

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       (i)    are customary provisions restricting assignment of any agreement entered into in
the Ordinary Course of Business,

       (j)      are restrictions on cash or other deposits imposed by customers under contracts
entered into in the Ordinary Course of Business,

       (k)       arise in connection with cash or other deposits permitted under Section 9.1 or
Section 9.2,

        (l)      exist in the DIP Term Loan Agreement and related loan documents, or

        (m)      entered into in accordance with the Orders.

          SECTION 9.10          [Reserved].

          SECTION 9.11         Accounting Changes.

        Make any change in Fiscal Year or any material change in accounting treatment or
reporting practices, except as required by IFRS.

          SECTION 9.12         Prepayments, Etc. of Indebtedness.

       (a)    Prepay, redeem, purchase, defease or otherwise satisfy prior to the scheduled
maturity thereof in any manner any unsecured Indebtedness for borrowed money, any
Indebtedness that is secured by Liens that are junior to the Liens securing the Obligations, or any
Indebtedness that is subordinated in right of payment to the Obligations expressly by its terms
(other than Indebtedness among the Borrower and its Restricted Subsidiaries) (collectively,
“Junior Financing”), except payments due under the DIP Term Loan Agreement (subject to the
DIP Intercreditor Agreement), in accordance with the Orders and the Budget (subject to
Permitted Variances).

        (b)      [reserved].

        (c)      [reserved].

        (d)      [reserved].

        (e)      [reserved].

        (f)    Amend, modify or change any term or condition of the DIP Term Loan
Agreement or any other document governing any Junior Financing (i) without the consent of the
Administrative Agent, the Collateral Agent, the Co-Collateral Agent and the Requisite Lenders
unless expressly permitted by the DIP Intercreditor Agreement or (ii) in any manner inconsistent
with, or contrary to, the DIP Intercreditor Agreement.

         SECTION 9.13       Holdings. In the case of Holdings, conduct, transact or otherwise
engage in any business or operations other than the following (and any activities incidental
thereto): (i) its direct ownership of the Equity Interests of the Borrower and its indirect

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ownership of the Equity Interests of the Subsidiaries of the Borrower and activities incidental
thereto, including payment of dividends and other amounts in respect of its Equity Interests, (ii)
the maintenance of its legal existence (including the ability to incur fees, costs and expenses
relating to such maintenance), (iii) the performance of its obligations with respect to the Loan
Documents, (iv) participating in tax, accounting and other administrative matters as a member of
the consolidated group of Holdings and the Borrower, (v) holding any cash or property received
in connection with Restricted Payments made by the Borrower in accordance with Section 9.6
pending application thereof by Holdings, (vi) providing indemnification to officers and directors
and (vii) activities incidental to the businesses or activities described in clauses (i) to (vi) of this
Section 9.13 or otherwise in accordance with the Orders.

          SECTION 9.14         Intra-Group Debt Restricted Payments.         Holdings and the
Borrower shall not, nor shall the Borrower permit any Restricted Subsidiary to, make, directly or
indirectly, any payment, distribution, redemption, purchase, defeaseance or other satisfaction of
any Indebtedness, liabilities, or other obligations (whether on account of interest, principal, or
otherwise), whether now existing or arising hereafter, under or in connection with the Stripes
Intra-Group Loan Agreement, the Second Lien Credit Agreement or any Second Lien Loan
Document (the “Intra-Group Debt Restricted Payments”).

          SECTION 9.15       New Stores. Open, acquire or take possession of any newly leased
stores except as contemplated by the Budget (subject to Permitted Variances).

         SECTION 9.16         Chapter 11 Claims. No Loan Party shall, until payment in full of
the Obligations under this Agreement (other than (i) contingent indemnification obligations as to
which no claim has been asserted, (ii) Obligations under Secured Hedge Agreements and Cash
Management Obligations or (iii) Letter of Credit Obligations that have been Cash Collateralized
or back-stopped by a letter of credit in form and substance reasonably satisfactory to the
Administrative Agent), except with respect to the Carve Out, and otherwise to the extent
permitted under the Orders, directly or indirectly, incur, create, assume, suffer to exist or permit
any administrative expense claim or Lien on its property which is pari passu with or senior to the
claims or Liens, as the case may be, of the Administrative Agent, the Collateral Agent, the Co-
Collateral Agent and the Lenders hereunder or under the Orders (other than, in each case, Liens
permitted under Section 9.1).

         SECTION 9.17         Compliance with Budget. No Loan Party shall, except as
otherwise provided herein or approved by the Administrative Agent, the Co-Collateral Agent and
the Collateral Agent, directly or indirectly (i) use any cash or the proceeds of any Loans in a
manner or for a purpose other than those consistent with this Agreement, the Orders and the
Budget (other than a Permitted Variance), (ii) permit a disbursement causing any variance other
than a Permitted Variance without the prior written consent of the Administrative Agent, the Co-
Collateral Agent and the Collateral Agent or (iii) make any payment (as adequate protection or
otherwise), or application for authority to pay, on account of any claim or Indebtedness arising
prior to the Petition Date other than payments consistent with the Budget or any Permitted
Variance and authorized by the Bankruptcy Court.

      (b)    Prior to the occurrence of an Event of Default, the Borrower shall be permitted to
pay compensation and reimbursement of fees and expenses solely to the extent that such fees and

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expenses are consistent with the Budget or any Permitted Variance and authorized to be paid
under Sections 330 and 331 of the Bankruptcy Code pursuant to an order of the Bankruptcy
Court. Upon the occurrence of an Event of Default and delivery of a Carve Out Trigger Notice,
the right of the Borrower to pay professional fees of Professional Persons in excess of the Carve
Out shall terminate, and the Borrower shall provide immediate notice to all Professional Persons
informing them that the Borrower’s ability to pay such Professional Persons is subject to and
limited by the Carve Out.

          SECTION 9.18         Use of Collateral. Other than as expressly permitted by the Orders,
  no Loan Party shall use or permit the use of Collateral, proceeds of Loans, portion of the Carve
  Out or any other amounts directly or indirectly by any of the Loan Parties, the Committee
  Professionals, if any, or any trustee, interim receiver, receiver, receiver-manager or other estate
  representative appointed in the Cases (or any Successor Case) or any other Person (or to pay
  any professional fees, disbursements, costs or expenses incurred in connection therewith):to
        seek authorization to obtain Liens or security interests that are senior to, or on a parity
        with, the Liens granted under the Loan Documents or the DIP Superpriority Claims other
        than in connection with any replacement debtor-in-possession financing that will
        discharge the Obligations in “full” in cash (other than (i) contingent indemnification
        obligations as to which no claim has been asserted, (ii) Obligations under Secured Hedge
        Agreements and Cash Management Obligations or (iii) Letter of Credit Obligations that
        have been Cash Collateralized or back-stopped by a letter of credit in form and substance
        reasonably satisfactory to the Administrative Agent); or

                (b)      to investigate (including by way of examinations or discovery
        proceedings), prepare, assert, join, commence, support or prosecute any action for any
        claim, counter-claim, action, proceeding, application, motion, objection, defense, or other
        contested matter seeking any order, judgment, determination or similar relief against, or
        adverse to the interests of, in any capacity, against the Agents, the Lenders, the other
        Loan Parties, and each of their respective officers, directors, controlling persons,
        employees, agents, attorneys, affiliates, assigns, or successors of each of the foregoing,
        with respect to any transaction, occurrence, omission, action or other matter (including
        formal discovery proceedings in anticipation thereof), including, without limitation, (i)
        any Avoidance Actions; (ii) any so-called “lender liability” claims and causes of action;
        (iii) any action with respect to the validity, enforceability, priority and extent of, or
        asserting any defense, counterclaim, or offset to, the Obligations, the DIP Superpriority
        Claims; the Liens granted under the Loan Documents, the Pre-Petition Loan Documents,
        the liabilities under the Pre-Petition Credit Agreement or the Liens under the Pre-Petition
        Credit Agreement; (iv) any action seeking to invalidate, modify, reduce, expunge,
        disallow, set aside, avoid or subordinate, in whole or in part, the Obligations; or (v) any
        action seeking to modify any of the rights, remedies, priorities, privileges, protections and
        benefits granted to the Agents or the Lenders hereunder or under any of the other Loan
        Documents (including, without limitation, claims, proceedings or actions that might
        prevent, hinder or delay any of their assertions, enforcements, realizations or remedies on
        or against the Collateral in accordance with the Loan Documents and the Orders).
        Notwithstanding anything to the contrary herein, the Committee Professionals may use
        up to [$50,000] in the aggregate amount of the Carve Out, any cash-collateral, or
        proceeds of the Loan to investigate the Pre-Petition Parties (the “Committee Investigation

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        Budget”); provided that the Borrower’s stipulations as to validity, priority and security of
        the liabilities under the Pre-Petition Credit Agreement shall be binding upon each other
        party in interest, including the Committee Professionals unless such party in interest
        commences a challenge by (x) with respect to the Committee Professionals, [60 days
        after the initial appointment of the Committee, and (y) with respect to any other party in
        interest, 75 days after the date of entry of the Interim Order].

         SECTION 9.19          Bankruptcy Related Negative Covenants. The Borrower will not
seek, consent to, or permit to exist any of the following:

       (a)     Any modification or amendment to the Orders to which the Administrative Agent,
the Collateral Agent, the Co-Collateral Agent and the Required Lenders have not consented in
writing, or any appeal, stay, reversal, or vacatur of any of the Orders;

        (b)    (i) Except to the extent provided in the DIP Intercreditor Agreement, a priority
claim or administrative expense or unsecured claim against the Loan Parties (now existing or
hereafter arising or any kind or nature whatsoever, including, without limitation, any
administrative expense of the kind specified in Sections 105, 326, 328, 330, 331, 364(c), 503(a),
503(b), 506(c) (subject to entry of the Final Order) (and all rights to charge the Collateral and all
collateral securing the Pre-Petition Obligations under Section 506(c) shall be waived), 507(a),
507(b), 546(c), 546(d), 726 or 1114 of the Bankruptcy Code) equal or superior to the priority
claim of the Administrative Agent, the Collateral Agent or Co-Collateral Agent in respect of the
Obligations or (ii) any Lien on any Collateral having a priority equal or superior to the Lien
securing the Obligations, in each case except with respect to the Carve Out;

        (c)    Except as provided for in the Budget, without the prior written consent of the
Administrative Agent, the Collateral Agent and the Co-Collateral Agent and pursuant to an order
of the Bankruptcy Court (including any Order) after notice and a hearing, any claim or expense
with respect to any Lien or Indebtedness incurred or arising prior to the Petition Date that is
subject to an automatic stay provision of the Bankruptcy Code whether by way of “adequate
protection” under the Bankruptcy Code or otherwise;

       (d)     Except as agreed to by the Administrative Agent, the Collateral Agent and Co-
Collateral Agent, any order which authorizes the return of any of the Loan Parties’ property
pursuant to Section 546(h) of the Bankruptcy Code;

        (e)     File a plan of reorganization other than the Chapter 11 Plan (except for any plan
that contains only non-material amendments of the Chapter 11 Plan), including, without
limitation, any plan that provides for treatment of the Obligations or the “Obligations” (as
defined in the Pre-Petition Credit Agreement) other than repayment in full in cash on the
effective date thereof (other than (i) contingent indemnification obligations as to which no claim
has been asserted, (ii) Obligations under Secured Hedge Agreements and Cash Management
Obligations or (iii) Letter of Credit Obligations that have been Cash Collateralized or back-
stopped by a letter of credit in form and substance reasonably satisfactory to the Administrative
Agent);



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       (f)     Re-solicit votes of any class of claims or interests under the Chapter 11 Plan, or
seek the entry of an order of the Bankruptcy Court directing any such re-solicitation

         (g)    Any actions relating to reclamation claims with respect to material Inventory;Any
order which (i) authorizes the payment of any Indebtedness (other than the Indebtedness
reflected in the Budget (subject to Permitted Variances), and other Indebtedness approved by the
Administrative Agent, the Collateral Agent and the Co-Collateral Agent) incurred prior to the
Petition Date, and payment of any Indebtedness owed to the Affiliates of the Debtors (but not the
Debtors) or the grant of “adequate protection” (whether payment in cash or transfer of property)
with respect to any such Indebtedness which is secured by a Lien (other than as expressly set
forth in the Orders or the Budget (subject to Permitted Variances)) or (ii) is any manner contrary
to the terms of this Agreement (subject to Permitted Variances); or

       (h)     Any order seeking authority to take any action that is prohibited by the terms of
this Agreement or the other Loan Documents or refrain from taking any action that is required to
be taken by the terms of this Agreement or any of the other Loan Documents unless in
connection therewith the Obligations will be paid in full in cash (other than (i) contingent
indemnification obligations as to which no claim has been asserted, (ii) Obligations under
Secured Hedge Agreements and Cash Management Obligations or (iii) Letter of Credit
Obligations that have been Cash Collateralized or back-stopped by a letter of credit in form and
substance reasonably satisfactory to the Administrative Agent).

                                          ARTICLE X

                           EVENTS OF DEFAULT AND REMEDIES

          SECTION 10.1        Events of Default.

        Each of the events referred to in clauses (a) through (s) of this Section 10.1 shall
constitute an “Event of Default”:

        (a)   Non-Payment. The Borrower fails to pay (i) when and as required to be paid
herein, any amount of principal of any Loan, or (ii) any interest on any Loan or any other amount
payable hereunder or with respect to any other Loan Document; or

        (b)     Specific Covenants.

                (i)     The Borrower, any Restricted Subsidiary, or Holdings fails to perform or
        observe any term, covenant or agreement contained in (A) Article VI, (B) Section 7.1(g),
        7.3(a), (C) Section 8.1(a) (solely with respect to the Borrower), (D) Section 8.13(b), (E)
        Article IX, or (F) Section 8.15, Section 8.16 or Section 8.17;

                (ii)   the Borrower or any other Loan Party fails to perform or observe (or to
        cause to be performed or observed) any covenant or agreement contained in Section 8.12;
        or




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                (iii) The Borrower or any other Loan Party fails to perform or observe (or to
        cause to be performed or observed) any covenant or agreement contained in Section
        7.1(h), Section 7.1(i), Section 7.4(a), Section 7.4(b) or Section 7.4(e), as applicable; or

        (c)    Other Defaults. Any Loan Party fails to perform or observe any other covenant or
agreement (not specified in Section 10.1(a) or (b) above) contained in any Loan Document on its
part to be performed or observed and such failure continues for thirty (30) days after receipt by
the Borrower of written notice thereof from the Administrative Agent; or

        (d)     Representations and Warranties. Any representation, warranty, certification or
statement of fact made or deemed made by any Loan Party herein, in any other Loan Document,
or in any document required to be delivered in connection herewith or therewith shall be
incorrect in any material respect (or, with respect to any representation and warranty that is
qualified as to “materiality”, “Material Adverse Effect” or similar language, in any respect (after
giving effect to any qualification therein)) when made or deemed made; or

        (e)    Cross-Default. Except as a result of commencement of the Cases or unless the
payment, acceleration and/or the exercise of remedies with respect to any such Indebtedness is
stayed by the Bankruptcy Court, any Loan Party or any Restricted Subsidiary (A) fails to make
any payment beyond the applicable grace period, if any, whether by scheduled maturity, required
prepayment, acceleration, demand, or otherwise, in respect of any Indebtedness (other than
Indebtedness hereunder) (i) having an aggregate outstanding principal amount (individually or in
the aggregate with all other Indebtedness as to which such a failure shall exist) of not less than
the Threshold Amount or (ii) under the Second Lien Credit Agreement, the DIP Term Loan
Agreement or the Stripes Intra-Group Loan Agreement, or (B) fails to observe or perform any
other agreement or condition relating to any such Indebtedness, or any other event occurs (other
than, with respect to Indebtedness consisting of Swap Contracts, termination events or equivalent
events pursuant to the terms of such Swap Contracts and not as a result of any other default
thereunder by any Loan Party), the effect of which default or other event is to cause, or to permit
the holder or holders of such Indebtedness (or a trustee or agent on behalf of such holder or
holders or beneficiary or beneficiaries) to cause, with the giving of notice if required, such
Indebtedness to become due or to be repurchased, prepaid, defeased or redeemed (automatically
or otherwise), or an offer to repurchase, prepay, defease or redeem such Indebtedness to be
made, prior to its stated maturity; provided that this clause (e)(B) shall not apply to secured
Indebtedness that becomes due as a result of the voluntary sale or transfer of the property or
assets securing such Indebtedness, if such sale or transfer is permitted hereunder and under the
documents providing for such Indebtedness; provided, further, that such failure is unremedied
and is not waived by the holders of such Indebtedness prior to any termination of the Aggregate
Commitments or acceleration of the Loans pursuant to Section 10.2; or

         (f)    Insolvency Proceedings, Etc. Holdings, the Borrower or any Material Subsidiary
(in each case, other than the Debtors or in respect of the Cases) institutes or consents to the
institution of any proceeding under any Debtor Relief Law, or makes an assignment for the
benefit of creditors; or applies for or consents to the appointment of any receiver, trustee,
custodian, conservator, liquidator, rehabilitator, administrator, administrative receiver or similar
officer for it or for all or any material part of its property; or any receiver, trustee, custodian,
conservator, liquidator, rehabilitator, administrator, administrative receiver or similar officer is

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appointed without the application or consent of such Person and the appointment continues
undischarged or unstayed for sixty (60) calendar days; or any proceeding under any Debtor
Relief Law relating to any such Person or to all or any material part of its property is instituted
without the consent of such Person and continues undismissed or unstayed for sixty (60) calendar
days, or an order for relief is entered in any such proceeding; or

        (g)     Judgments. Excluding any order fixing the amount of any claim in the Cases,
there is entered against any Loan Party or any Restricted Subsidiary a final judgment or order for
the payment of money after the Petition Date in an aggregate amount exceeding the Threshold
Amount (to the extent not covered by independent third-party insurance as to which the insurer
has been notified of such judgment or order and has not denied or failed to acknowledge
coverage thereof) and such judgment or order shall not have been satisfied, vacated, discharged
or stayed or bonded pending an appeal for a period of sixty (60) consecutive days; or

       (h)     ERISA. (i) An ERISA Event occurs with respect to a Pension Plan or
Multiemployer Plan which has resulted or would reasonably be expected to result in liability of
any Loan Party or their respective ERISA Affiliates under Title IV of ERISA in an aggregate
amount which would reasonably be expected to result in a Material Adverse Effect or (ii) any
Loan Party or any of their respective ERISA Affiliates fails to pay when due, after the expiration
of any applicable grace period, any installment payment with respect to its Withdrawal Liability
under Section 4201 of ERISA under a Multiemployer Plan in an aggregate amount which would
reasonably be expected to result in a Material Adverse Effect; or

        (i)     Invalidity of Loan Documents. Any material provision of any Loan Document, at
any time after its execution and delivery and for any reason other than as expressly permitted
hereunder or thereunder (including as a result of a transaction permitted under Section 9.4 or 9.5)
or the satisfaction in full of all the Obligations, ceases to be in full force and effect; or any Loan
Party contests in writing the validity or enforceability of any provision of any Loan Document;
or any Loan Party denies in writing that it has any or further liability or obligation under any
Loan Document (other than as a result of repayment in full of the Obligations and termination of
the Aggregate Commitments), or purports in writing to revoke or rescind any Loan Document; or

        (j)      Collateral Documents. Any Collateral Document after delivery thereof pursuant
to Section 4.1 or 8.11 shall for any reason (other than pursuant to the terms hereof or thereof
including as a result of a transaction permitted under Section 9.4 or 9.5) cease to create, or any
Lien purported to be created by any Collateral Document or the Orders shall be asserted in
writing by any Loan Party not to be, a valid and perfected lien, with the priority required by the
Collateral Documents (or other security purported to be created on the applicable Collateral) on
and security interest in any material portion of the Collateral purported to be covered thereby,
subject to Liens permitted under Section 9.1, (x) except to the extent that any such perfection or
priority is not required pursuant to the Collateral and Guarantee Requirement or the loss of such
perfection or priority results from the failure of the Administrative Agent or the Collateral Agent
to maintain possession of certificates actually delivered to it representing securities pledged
under the Collateral Documents or to file UCC continuation statements and except as to
Collateral consisting of real property to the extent that such losses are covered by a lender’s title
insurance policy and such insurer has not denied coverage; or


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        (k)   Junior Financing Documentation. (i) Any of the Obligations of the Loan Parties
under the Loan Documents for any reason shall cease to be “Senior Indebtedness” (or any
comparable term) or “Senior Secured Financing” (or any comparable term) under, and as defined
in any Junior Financing Documentation governing Junior Financing subordinated in right of
payment to the Obligations under the Loan Documents with an aggregate principal amount of not
less than the Threshold Amount or (ii) the subordination provisions set forth in any Junior
Financing Documentation governing Junior Financing subordinated in right of payment to the
Obligations under the Loan Documents with an aggregate principal amount of not less than the
Threshold Amount shall, in whole or in part, cease to be effective or cease to be legally valid,
binding and enforceable against the holders of any such Junior Financing, if applicable; or

        (l)     Change of Control. There occurs any Change of Control; or

        (m)     [reserved]; or

        (n)     [reserved]; or

        (o)     [reserved]; or

        (p)     Except as otherwise permitted herein, the dissolution of any Loan Party; or

       (q)    The Loan Parties or any of their subsidiaries, or any person claiming by or
through the Loan Parties or any of their subsidiaries, obtain court authorization to commence, or
commence, join in, assist or otherwise participate as an adverse party in any suit or other
proceeding against any of the Administrative Agent, the Collateral Agent, the Co-Collateral
Agent or the Lenders in each case relating to this Agreements; or

        (r)     Any of the following shall occur in any Case:

                (i)    the filing by any Loan Party of (A) a plan other than the Chapter 11 Plan,
        as it may be modified with the consent of the Administrative Agent, the Collateral Agent
        and Co-Collateral Agent and/or (B) any motion or pleading that is inconsistent with the
        prosecution of the Chapter 11 Plan;

               (ii)    (A) any Order or provision thereof is reversed, vacated, stayed, or
        otherwise ceases to be in full force and effect, (B) entry of an order without the prior
        consent of the Administrative Agent, the Collateral Agent, Co-Collateral Agent or the
        Required Lenders amending, supplementing or otherwise modifying any Order in a
        manner adverse to the Lenders, the Collateral Agent, the Co-Collateral Agent and/or the
        Administrative Agent (other than immaterial modifications to correct grammatical or
        typographical errors) or (C) failure by the Loan Parties to perform under any Order in a
        material respect;

               (iii) The filing of a motion by any Loan Party seeking entry of, or the entry of
        any order without the prior consent of the Administrative Agent, the Collateral Agent,
        Co-Collateral Agent or the Required Lenders that authorizes any of the following:



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                                   (A)    except as provided in the DIP Intercreditor Agreement, a
                           priority claim or administrative expense or unsecured claim against the
                           Loan Parties (now existing or hereafter arising or any kind or nature
                           whatsoever, including, without limitation, any administrative expense of
                           the kind specified in sections 105, 326, 328, 330, 331, 364(c), 503(a),
                           503(b), 506(c) (subject to entry of the Final Order) (and all rights to
                           charge the Collateral and all collateral securing the Pre-Petition
                           Obligations under Section 506(c) shall be waived), 507(a), 507(b), 546(c),
                           546(d), 726 or 1114 of the Bankruptcy Code) equal or superior to the
                           priority claim of the Administrative Agent, the Collateral Agent, the Co-
                           Collateral Agent and the Lenders in respect of the Obligations, except with
                           respect to the Carve Out, the DIP Term Loan or as may be approved by
                           the Bankruptcy Court for payments to critical vendors, such critical
                           vendor order to be reasonably acceptable to the Administrative Agent, the
                           Collateral Agent and the Co-Collateral Agent;

                                  (B)      except as provided in the DIP Intercreditor Agreement or
                           pursuant to the Orders, any Lien on any Collateral having a priority equal
                           or superior to the Lien securing the Obligations, except with respect to the
                           Carve Out;

                                   (C)     the consummation of any sale of all or substantially all the
                           working capital assets of the Loan Parties pursuant to Section 363 of the
                           Bankruptcy Code, through a confirmed plan of reorganization in the Cases
                           or otherwise that does not result in payment in full of all of the Obligations
                           in immediately available funds at the closing of such sale or initial
                           payment of the purchase price or effectiveness of such plan, as applicable
                           (other than (i) contingent indemnification obligations as to which no claim
                           has been asserted, (ii) Obligations under Secured Hedge Agreements and
                           Cash Management Obligations or (iii) Letter of Credit Obligations that
                           have been Cash Collateralized or back-stopped by a letter of credit in form
                           and substance reasonably satisfactory to the Administrative Agent);

                                   (D)    except as consented to by the Administrative Agent, the
                           Collateral Agent and Co-Collateral Agent, the return of any of the Loan
                           Parties’ property pursuant to section 546(h) of the Bankruptcy Code;

                          (E) authorizing or directing payment of any claim or claims under
          Section 506(c) or 552(b) of the Bankruptcy Code or requiring the marshaling of assets
          or any other similar remedy against or with respect to any of the Collateral or from the
          Administrative Agent, the Collateral Agent, the Co-Collateral Agent or any of Lenders,
          to the extent not dismissed or denied within 45 days after the filing of such motion;

                         (F) granting of (I) relief from the automatic stay in the Cases to permit
          foreclosure or enforcement on, or any right or remedy with respect to any material asset
          of the Borrower or (II) any relief that would impair the material rights and interests of
          the Administrative Agent, the Collateral Agent, Co-Collateral Agent and the Lenders in

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          their capacities as such (regardless of whether such relief was sought by the Debtors or
          a third party);

                         (G) the payment of any Indebtedness (other than Indebtedness reflected
          in the Budget (subject to Permitted Variances) or as permitted by the Orders; and/or

                                  (H)     payment of or granting adequate protection with respect to
                           Pre-Petition Indebtedness, other than as expressly set forth in the Orders
                           and the Budget.

                      (iv)   the dismissal of the Cases or conversion of the Cases to a case
        under Chapter 7 of the Bankruptcy Code, or the filing of any motion to so dismiss or
        convert brought by any Loan Party;

                       (v)     appointment of a Chapter 11 trustee or an examiner or any similar
        insolvency official or administrator, with expanded powers, or the filing of any motion to
        so appoint brought by any Loan Party;

                      (vi)    any of the Liens or the DIP Superpriority Claims granted
        hereunder cease to be valid, perfected and enforceable in any respect;

                 (vii) the use of cash collateral by the Debtors are terminated and the Debtors
        fail to regain the use of cash collateral (consensually or non-consensually) pursuant to an
        order in form and substance acceptable to Administrative Agent, the Collateral Agent and
        the Co-Collateral Agent; or

                (viii) the Bankruptcy Court enters an order that is adverse in any material
        respect, when taken as a whole, to the interests of the Administrative Agent, the
        Collateral Agent, the Co-Collateral Agent and the Lenders or their respective material
        rights and remedies in their capacities as such under this Agreement or in any of the
        Cases; or

        (s)     The termination or expiration or unenforceability of any Exit Commitment Letter.

         SECTION 10.2        Remedies upon Event of Default. Notwithstanding anything in
  Section 362 of the Bankruptcy Code, but subject to the Orders,

       (a)     If any Event of Default occurs and is continuing, the Administrative Agent may
with the consent of, and shall at the request of, the Requisite Lenders take any or all of the
following actions:

               (i)    declare Revolving Credit Commitments of each Lender and any obligation
        of the Issuers to make L/C Credit Extensions to be terminated, whereupon such
        Revolving Credit Commitments and obligation shall be terminated;

               (ii)   declare the unpaid principal amount of all outstanding Loans, all interest
        accrued and unpaid thereon, and all other amounts owing or payable hereunder or under
        any other Loan Document to be immediately due and payable, without presentment,

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        demand, protest or other notice of any kind, all of which are hereby expressly waived by
        the Borrower;

               (iii) require that the Borrower Cash Collateralize the Letter of Credit
        Obligations (in an amount equal to the then Outstanding Amount thereof); and

                (iv)   exercise (or direct Collateral Agent to exercise) on behalf of itself and the
        Lenders all rights and remedies available to it and the Lenders under the Loan Documents
        or applicable Law;

provided that with respect to the enforcement of Liens or other remedies with respect to the
Collateral of the Loan Parties under the preceding clause (iv), the Administrative Agent shall
provide the Borrower with five (5) Business Days’ written notice prior to taking the action
contemplated thereby

        (b)    Without limitation of the rights of the Agents or Secured Parties under Section
8.12, the Borrower hereby irrevocably waives the right to direct the application of any and all
payments in respect of the Obligations and any proceeds of Collateral after the occurrence and
during the continuance of an Event of Default and agrees that during the continuance of an Event
of Default, and notwithstanding Section 2.13(f) above, the Administrative Agent or Collateral
Agent may in its sole discretion, and, upon either (A) the written direction of the Requisite
Lenders or (B) the acceleration of the Obligations pursuant to Section 10.2(a), deliver a notice to
each Approved Account Bank instructing them to cease complying with any instructions from
any Loan Party and to transfer all funds therein to the Administrative Agent and the
Administrative Agent shall apply all payments in respect of any Obligations and all funds on
deposit in the Concentration Account and all other proceeds of Collateral in the order specified
in Section 10.3 hereof.

           SECTION 10.3        Application of Funds. After the exercise of remedies provided for
in Section 10.2 (or after the Loans have automatically become immediately due and payable and
the Letter of Credit Obligations have automatically been required to be Cash Collateralized as set
forth in the proviso to Section 10.2), any amounts received on account of the Obligations shall be
applied by the Administrative Agent in the following order:

       First, to pay accrued and unpaid professional fees and expenses of the Professional
Persons and to fund the [Carve Out Account (as defined in the Interim Order)] up to an aggregate
amount not to exceed the [Carve Out Cap (as defined in the Interim Order)];

       Second, ratably, pay any fees, indemnities, or expense reimbursements then due to the
Administrative Agent, the Collateral Agent, any Co-Collateral Agent, or any Issuer from the
Borrower (other than in connection with Cash Management Obligations or Obligations in respect
of Secured Hedge Agreements);

       Third, ratably, to pay any fees or expense reimbursements then due to the Revolving
Credit Lenders from the Borrower (other than in connection with Cash Management Obligations
or Obligations in respect of Secured Hedge Agreements);



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       Fourth, to pay interest due and payable in respect of any Loans (including any Swing
Loans) and any Protective Advances, ratably;

        Fifth, to pay the principal of the Protective Advances;

        Sixth, to pay the principal of Swing Loans;

       Seventh, to pay principal on the Loans (other than the Protective Advances) and
unreimbursed Letter of Credit Borrowings, and to pay any amounts owing with respect to
Obligations in respect of Secured Hedge Agreements (other than any Specified Secured Hedge
Obligations) to the extent of Availability Reserves established for any such Secured Hedge
Agreements prior to payment under this Section 10.3, ratably;

       Eighth, to pay an amount to the Administrative Agent equal to 101% of the Letter of
Credit Obligations on such date, to be held in the Concentration Account as cash collateral for
such Obligations;

       Ninth, to pay any amounts owing with respect to Cash Management Obligations and
unpaid Obligations under Secured Hedge Agreements, ratably;

       Tenth, to pay any amounts owing with respect to any Specified Secured Hedge
Obligations, ratably;

       Eleventh, to the payment of any other Obligation due to the Administrative Agent,
Collateral Agent, or the Co-Collateral Agent, or any Lender by the Borrower;

        Twelfth, [reserved]; and

      Thirteenth, after all of the Obligations have been paid in full, to the Borrower or as the
Borrower shall direct or as otherwise required by Law.

         Subject to Sections 2.4, 2.16, 8.12 and 10.5, amounts used to Cash Collateralize the
aggregate undrawn amount of Letters of Credit pursuant to clause Seventh above shall be applied
to satisfy drawings under such Letters of Credit as they occur. If any amount remains on deposit
as cash collateral after all Letters of Credit have either been fully drawn or expired, such
remaining amount shall be applied to the other Obligations, if any, in the order set forth above
and, if no Obligations remain outstanding, to the Borrower.

       Notwithstanding the foregoing, if sufficient funds are not available to fund all payments
to be made in respect of any Secured Obligation described in any specific level of the waterfall
in clauses First through Eleventh above, the available funds being applied with respect to any
such Secured Obligation (unless otherwise specified in such clause) shall be allocated to the
payment of such Secured Obligation ratably, based on the proportion of the Administrative
Agent’s, Collateral Agent’s, Co-Collateral Agent’s, and each Lender’s or Issuer’s interest in the
aggregate outstanding Secured Obligations described in such clauses. Except as may be
otherwise provided in Section 12.1, the order of priority set forth in clauses First through Eighth
above may at any time and from time to time be changed by the agreement of all Lenders
without necessity of notice to or consent of or approval by the Borrower, any Secured Party that

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is not a Lender or Issuer or by any other Person that is not a Lender or Issuer. Except as may be
otherwise provided in Section 12.1, the order of priority set forth in clauses First through
Eleventh above may be changed only with the prior written consent of the Administrative Agent
in addition to that of all Lenders. Neither the Loan Parties, the Committee Professionals, nor any
other party-in-interest shall have the right to contest the enforcement of remedies set forth in the
Orders and the Loan Documents on any basis other than an assertion that an Event of Default has
not occurred or has been cured within the cure periods expressly set forth in the applicable Loan
Documents. The Loan Parties shall cooperate fully with the Administrative Agent and the
Lenders in their exercise of rights and remedies, whether against the Collateral or otherwise. The
Loan Parties hereby waive any right to seek relief under the Bankruptcy Code, including under
Section 105 thereof, to the extent such relief would restrict or impair the rights and remedies of
the Administrative Agent and the Lenders set forth in the Orders and in the Loan Documents.

                Subject to the Orders, in case any one or more of the covenants and/or agreements
set forth in this Agreement or any other Loan Document shall have been breached by any Loan
Party, then the Administrative Agent may proceed to protect and enforce the Lenders’ rights
either by suit in equity and/or by action at law, including an action for damages as a result of any
such breach and/or an action for specific performance of any such covenant or agreement
contained in this Agreement or such other Loan Document. Without limitation of the foregoing,
the Borrower agrees that failure to comply with any of the covenants contained herein will cause
irreparable harm and that specific performance shall be available in the event of any breach
thereof. The Administrative Agent shall be indemnified by the Borrower against all liability, loss
or damage, together with all reasonable costs and expenses related thereto (including reasonable
legal and accounting fees and expenses) in accordance with the terms hereof.

          SECTION 10.4         [Reserved]..

          SECTION 10.5         Actions in Respect of Letters of Credit; Cash Collateral.

        (a)     At any time (i) upon the Revolving Credit Termination Date, (ii) after the
Revolving Credit Termination Date when the aggregate funds on deposit in the Concentration
Account to Cash Collateralize Letter of Credit Obligations shall be less than 101% of the Letter
of Credit Obligations and (iii) as may be required by Section 2.9 or Section 2.16, the Borrower
shall pay to the Administrative Agent in Same Day Funds at the Administrative Agent’s office
referred to in Section 12.8, for deposit in the Concentration Account, (x) in the case of clauses (i)
and (ii) above, the amount required to that, after such payment, the aggregate funds on deposit in
the Concentration Account counts equals or exceeds 101% of the sum of all outstanding Letter of
Credit Obligations and (y) in the case of clause (iii) above, the amount required by Section 2.9.
The Administrative Agent may, from time to time after funds are deposited in the Concentration
Account, apply funds then held in the Concentration Account to the payment of any amounts, in
accordance with Section 2.9 and Section 10.2(b), as shall have become or shall become due and
payable by the Borrower to the Issuers or Lenders in respect of the Letter of Credit Obligations.
The Administrative Agent shall promptly give written notice of any such application; provided,
however, that the failure to give such written notice shall not invalidate any such application. If
at any time the Administrative Agent determines that Cash Collateral is subject to any right or
claim of any Person other than the Administrative Agent as herein provided, or that the total
amount of such Cash Collateral is less than the applicable Fronting Exposure and other

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obligations secured thereby, the Borrower or the relevant Defaulting Lender will, promptly upon
demand by the Administrative Agent, pay or provide to the Administrative Agent additional
Cash Collateral in an amount sufficient to eliminate such deficiency. The Administrative Agent
may, at any time and from time to time after the initial deposit of Cash Collateral, request that
additional Cash Collateral be provided in order to protect against the results of exchange rate
fluctuations.

        (b)     Application. Notwithstanding anything to the contrary contained in this
Agreement, Cash Collateral provided under any of this Section 10.5 or Sections 2.4, 2.9, 2.12,
2.16 or 10.2 in respect of Letters of Credit or Swing Loans shall be held and applied to the
satisfaction of the specific Letter of Credit Obligations, Swing Loans, obligations to fund
participations therein (including, as to Cash Collateral provided by a Defaulting Lender, any
interest accrued on such obligation) and other obligations for which the Cash Collateral was so
provided, prior to any other application of such property as may be provided for herein.

        (c)     Release. Cash Collateral (or the appropriate portion thereof) provided to reduce
Fronting Exposure or other obligations shall be released promptly following (i) the elimination
of the applicable Fronting Exposure or other obligations giving rise thereto (including by the
termination of Defaulting Lender status of the applicable Lender or, as appropriate, its assignee
following compliance with Section 12.2(b)(vi)) or (ii) the Administrative Agent’s good faith
determination that there exists excess Cash Collateral; provided, however, (x) that Cash
Collateral furnished by or on behalf of a Loan Party shall not be released during the continuance
of a Default or Event of Default (and following application as provided in this Section 10.5 may
be otherwise applied in accordance with Section 10.3), and (y) the Person providing Cash
Collateral and the applicable Issuer or Swing Loan Lender, as applicable, may agree that Cash
Collateral shall not be released but instead held to support future anticipated Fronting Exposure
or other obligations.

                                         ARTICLE XI

                  THE ADMINISTRATIVE AGENT AND OTHER AGENTS

         SECTION 11.1         Appointment and Authority of the Administrative Agent and
  Collateral Agent.

        (a)    Each of the Lenders and the Issuers hereby irrevocably appoints Barclays to act
on its behalf as the Administrative Agent and Collateral Agent hereunder and under the other
Loan Documents and authorizes the Administrative Agent and Collateral Agent, as applicable, to
take such actions on its behalf and to exercise such powers as are delegated to the Administrative
Agent or Collateral Agent, as applicable, by the terms hereof or thereof, together with such
actions and powers as are reasonably incidental thereto. Each of the Lenders and the Issuers
hereby authorizes the Administrative Agent to enter into (i) any Customary Intercreditor
Agreements in connection with Indebtedness permitted under Section 9.1(hh), (ii) the Second
Lien Intercreditor Agreement and (iii) the DIP Intercreditor Agreement. The provisions of this
Article XI (other than Sections 11.6 and 11.11) are solely for the benefit of the Administrative
Agent, the Lenders and the Issuers, and the Borrower shall not have rights as a third party
beneficiary of any such provision.

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        (b)     The Administrative Agent shall also act as the “collateral agent” under the Loan
Documents, and each of the Lenders (including in its capacities as a Lender and a potential
Hedge Bank and/or Cash Management Bank) and the Issuers hereby irrevocably appoints and
authorizes the Administrative Agent to act as the agent of (and to hold any security interest
created by the Collateral Documents for and on behalf of or in trust for) such Lender and such
Issuer for purposes of acquiring, holding and enforcing any and all Liens on Collateral granted
by any of the Loan Parties to secure any of the Obligations, together with such powers and
discretion as are reasonably incidental thereto. In this connection, the Administrative Agent, as
“collateral agent” (and any co-agents, sub-agents and attorneys-in-fact appointed by the
Administrative Agent or Collateral Agent pursuant to Section 11.5 for purposes of holding or
enforcing any Lien on the Collateral (or any portion thereof) granted under the Collateral
Documents, or for exercising any rights and remedies thereunder at the direction of the
Administrative Agent), shall be entitled to the benefits of all provisions of this Article XI and
Article XII (including Sections 11.3, 11.14, 12.3, 12.4 and 12.5, as though such co-agents, sub-
agents and attorneys-in-fact were the “collateral agent” under the Loan Documents) as if set forth
in full herein with respect thereto. Without limiting the generality of the foregoing, the Lenders
hereby expressly authorize the Administrative Agent and the Collateral Agent to execute any and
all documents (including releases) with respect to the Collateral and the rights of the Secured
Parties with respect thereto, as contemplated by and in accordance with the provisions of this
Agreement and the Collateral Documents and acknowledge and agree that any such action by
any Agent shall bind the Lenders.

          SECTION 11.2        Rights as a Lender.

        Any Person serving as an Agent (including as Administrative Agent) hereunder shall
have the same rights and powers in its capacity as a Lender as any other Lender and may
exercise the same as though it were not an Agent and the term “Lender” or “Lenders” shall,
unless otherwise expressly indicated or unless the context otherwise requires, include each
Person serving as an Agent hereunder in its individual capacity. Such Person and its Affiliates
may accept deposits from, lend money to, act as the financial advisor or in any other advisory
capacity for and generally engage in any kind of business with the Borrower or any Subsidiary or
other Affiliate thereof as if such Person were not an Agent hereunder and without any duty to
account therefor to the Lenders. The Lenders acknowledge that, pursuant to such activities, any
Agent or its Affiliates may receive information regarding any Loan Party or any of its Affiliates
(including information that may be subject to confidentiality obligations in favor of such Loan
Party or such Affiliate) and acknowledge that no Agent shall be under any obligation to provide
such information to them.

         SECTION 11.3        Exculpatory Provisions. Neither the Administrative Agent nor any
other Agent shall have any duties or obligations except those expressly set forth herein and in the
other Loan Documents. Without limiting the generality of the foregoing, an Agent (including the
Administrative Agent):

        (a)    shall not be subject to any fiduciary or other implied duties, regardless of whether
a Default has occurred and is continuing and without limiting the generality of the foregoing, the
use of the term “agent” herein and in the other Loan Documents with reference to any Agent is
not intended to connote any fiduciary or other implied (or express) obligations arising under

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agency doctrine of any applicable Law and instead, such term is used merely as a matter of
market custom, and is intended to create or reflect only an administrative relationship between
independent contracting parties;

         (b)     shall not have any duty to take any discretionary action or exercise any
discretionary powers, except discretionary rights and powers expressly contemplated hereby or
by the other Loan Documents that such Agent is required to exercise as directed in writing by the
Requisite Lenders (or such other number or percentage of the Lenders as shall be expressly
provided for herein or in the other Loan Documents), provided that no Agent shall be required to
take any action that, in its opinion or the opinion of its counsel, may expose such Agent to
liability or that is contrary to any Loan Document or applicable law; and

        (c)    shall not, except as expressly set forth herein and in the other Loan Documents,
have any duty to disclose, and shall not be liable for the failure to disclose, any information
relating to the Borrower or any of its Affiliates that is communicated to or obtained by any
Person serving as an Agent or any of its Affiliates in any capacity.

        Neither Administrative Agent or any other Agent shall be liable for any action taken or
not taken by it (i) with the consent or at the request of the Requisite Lenders (or such other
number or percentage of the Lenders as shall be necessary, or as the Administrative Agent shall
believe in good faith shall be necessary, under the circumstances as provided in Sections 12.1
and 12.2) or (ii) in the absence of its own gross negligence or willful misconduct as determined
by the final judgment of a court of competent jurisdiction, in connection with its duties expressly
set forth herein. The Administrative Agent shall be deemed not to have knowledge of any
Default unless and until notice describing such Default is given to the Administrative Agent by
the Borrower, a Lender or an Issuer.

        No Agent-Related Person shall be responsible for or have any duty to ascertain or inquire
into (i) any recital statement, warranty or representation made in or in connection with this
Agreement or any other Loan Document, (ii) the contents of any certificate, report or other
document delivered hereunder or thereunder or in connection herewith or therewith, (iii) the
performance or observance of any of the covenants, agreements or other terms or conditions set
forth herein or therein or the occurrence of any Default, (iv) the validity, enforceability,
effectiveness or genuineness of this Agreement, any other Loan Document or any other
agreement, instrument or document, or the creation, perfection or priority of any Lien purported
to be created by the Collateral Documents, (v) the value or the sufficiency of any Collateral, or
(vi) the satisfaction of any condition set forth in Article IV or elsewhere herein, other than to
confirm receipt of items expressly required to be delivered to the Administrative Agent, the
Collateral Agent or any Co-Collateral Agent, or (vii) the inspection of the properties, books or
records of any Loan Party or any Affiliate thereof.

          SECTION 11.4        Reliance by the Agents.

       The Administrative Agent and each other Agent shall be entitled to rely upon, and shall
not incur any liability for relying upon, any notice, request, certificate, consent, statement,
instrument, document or other writing (including any electronic message, Internet or intranet
website posting or other distribution) believed by it to be genuine and to have been signed, sent

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or otherwise authenticated by the proper Person. The Administrative Agent and each other
Agent also may rely upon any statement made to it orally or by telephone and believed by it to
have been made by the proper Person, and shall not incur any liability for relying thereon. In
determining compliance with any condition hereunder to the making of a Loan, or the issuance
of a Letter of Credit, that by its terms must be fulfilled to the satisfaction of a Lender or the
applicable Issuer, the Administrative Agent may presume that such condition is satisfactory to
such Lender or such Issuer unless the Administrative Agent shall have received notice to the
contrary from such Lender or such Issuer prior to the making of such Loan or the issuance of
such Letter of Credit. The Administrative Agent and each other Agent may consult with legal
counsel (who may be counsel for the Borrower), independent accountants and other experts
selected by it, and shall not be liable for any action taken or not taken by it in accordance with
the advice of any such counsel, accountants or experts.

        Other than in respect of any actions at the direction of the Borrower, the Administrative
Agent and each other Agent shall be fully justified in failing or refusing to take any action under
any Loan Document unless it shall first receive such advice or concurrence of the Requisite
Lenders as it deems appropriate and, if it so requests, it shall first be indemnified to its
satisfaction by the Lenders against any and all liability and expense which may be incurred by it
by reason of taking or continuing to take any such action. The Administrative Agent and each
other Agent shall in all cases be fully protected in acting, or in refraining from acting, under this
Agreement or any other Loan Document in accordance with a request or consent of the Requisite
Lenders (or such greater number of Lenders as may be expressly required hereby in any
instance) and such request and any action taken or failure to act pursuant thereto shall be binding
upon all the Lenders; provided that neither the Administrative Agent not any other Agent shall
be required to take any action that, in its opinion or in the opinion of its counsel, may expose the
Administrative Agent or such Agent to liability or that is contrary to any Loan Document or
applicable Law.

          SECTION 11.5         Delegation of Duties.

        The Administrative Agent may perform any and all of its duties and exercise its rights
and powers hereunder or under any other Loan Documents by or through any one or more sub
agents appointed by the Administrative Agent. The Agents and any such sub agent may perform
any and all of its duties and exercise its rights and powers by or through their respective Agent-
Related Persons. The exculpatory provisions of this Article shall apply to any such sub agent
and to the Agent-Related Persons of the Agents and any such sub agent, and shall apply to their
respective activities in connection with the syndication of the credit facilities provided for herein
as well as activities as Administrative Agent or any other Agent. No Agent shall be responsible
for the negligence or misconduct of any sub-agents except to the extent that a court of competent
jurisdiction determines in a final and nonappealable judgment that the Agent acted with gross
negligence or willful misconduct in the selection of such sub agents.

          SECTION 11.6         Resignation of Administrative Agent or Collateral Agent.

        (a)     The Administrative Agent or Collateral Agent may resign upon ten (10) days’
notice of its resignation to the Lenders and the Borrower; provided that if no successor agent is
appointed in accordance with the terms set forth below within such 10-day period, the

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Administrative Agent and/or the Collateral Agent shall not be permitted to resign until the earlier
to occur of (x) the date of the appointment of the successor agent or (y) the date that is twenty
(20) days after the last day of such 10-day period. If the Administrative Agent or Collateral
Agent, as applicable, is subject to an Agent-Related Distress Event, the Requisite Lenders or the
Borrower may remove the Administrative Agent or the Collateral Agent, as applicable, upon ten
(10) days’ notice. Upon the removal or receipt of any such notice of resignation, the Requisite
Lenders shall have the right, with the consent of the Borrower at all times other than during the
existence of an Event of Default (which consent of the Borrower shall not be unreasonably
withheld or delayed if such successor is a commercial bank with a combined capital and surplus
of at least $5,000,000,000 that is a “U.S. person” and a “financial institution” within the meaning
of Treasury Regulation Section 1.1441-1, and otherwise may be withheld at the Borrower’s sole
discretion), to appoint a successor, which shall be a Lender or a bank with an office in the United
States, or an Affiliate of any such Lender or bank with an office in the United States. If no such
successor shall have been so appointed by the Requisite Lenders and shall have accepted such
appointment within twenty (20) days after the last day of such 10-day period, then the retiring or
removed Administrative Agent or Collateral Agent, as applicable, may on behalf of the Lenders
and the Issuers, appoint a successor Administrative Agent or Collateral Agent, as applicable,
meeting the qualifications set forth above; provided that if the Administrative Agent or Collateral
Agent, as applicable, shall notify the Borrower and the Lenders that no qualifying Person has
accepted such appointment, then such resignation shall nonetheless become effective in
accordance with such notice and (1) the retiring or removed Administrative Agent or Collateral
Agent, as applicable, shall be discharged from its duties and obligations hereunder and under the
other Loan Documents (except that in the case of any collateral security held by the
Administrative Agent or Collateral Agent on behalf of the Lenders or the Issuers under any of
the Loan Documents, the retiring or removed Agent shall continue to hold such collateral
security until such time as a successor of such Agent is appointed) and (2) all payments,
communications and determinations provided to be made by, to or through the Administrative
Agent shall instead be made by or to each Lender and each Issuer directly, until such time as the
Requisite Lenders appoint a successor Administrative Agent as provided for above in this
Section 11.6. Upon the acceptance of a successor’s appointment as Administrative Agent or
Collateral Agent, as applicable, hereunder and upon the execution and filing or recording of such
financing statements, or amendments thereto, and such amendments or supplements to the
Mortgages, and such other instruments or notices, as may be necessary or desirable, or as the
Requisite Lenders may request, in order to (i) continue the perfection of the Liens granted or
purported to be granted by the Collateral Documents or (ii) otherwise ensure that the Collateral
and Guarantee Requirement is satisfied, such successor shall succeed to and become vested with
all of the rights, powers, privileges and duties of the retiring (or retired) or removed
Administrative Agent or Collateral Agent, as applicable, and the retiring or removed
Administrative Agent or Collateral Agent, as applicable, shall be discharged from all of its duties
and obligations hereunder or under the other Loan Documents (if not already discharged
therefrom as provided above in this Section). The fees payable by the Borrower to a successor
Administrative Agent or Collateral Agent, as applicable, shall be the same as those payable to its
predecessor unless otherwise agreed between the Borrower and such successor. After the
retiring or removed Agent’s resignation hereunder and under the other Loan Documents, the
provisions of this Article and Sections 12.3, 12.4 and 12.5 shall continue in effect for the benefit
of such retiring or removed Agent, its sub-agents and their respective Agent-Related Persons in

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respect of any actions taken or omitted to be taken by any of them while the retiring or removed
Agent was acting as Administrative Agent or Collateral Agent, as applicable.

        (b)     Any resignation by Barclays as Administrative Agent pursuant to this Section
shall also constitute its resignation as an Issuer and Swing Loan Lender. Upon the acceptance of
a successor’s appointment as Administrative Agent hereunder, (i) such successor shall succeed to
and become vested with all of the rights, powers, privileges and duties of the retiring Issuer and
Swing Loan Lender, (ii) the retiring Issuer and Swing Loan Lender shall be discharged from all
of their respective duties and obligations hereunder or under the other Loan Documents, and (iii)
the successor Issuer shall issue letters of credit in substitution for the Letters of Credit issued by
Barclays, if any, outstanding at the time of such succession or make other arrangements
satisfactory to the retiring Issuer to effectively assume the obligations of the retiring Issuer with
respect to such Letters of Credit.

         SECTION 11.7        Non-Reliance on Administrative Agent and Other Lenders;
  Disclosure of Information by Agents.

        Each Lender and each Issuer acknowledges that no Agent-Related Person has made any
representation or warranty to it, and that no act by any Agent hereafter taken, including any
consent to and acceptance of any assignment or review of the affairs of any Loan Party or any
Affiliate thereof, shall be deemed to constitute any representation or warranty by any Agent-
Related Person to any Lender as to any matter, including whether Agent-Related Persons have
disclosed material information in their possession. Each Lender represents to each Agent that it
has, independently and without reliance upon any Agent-Related Person and based on such
documents and information as it has deemed appropriate, made its own appraisal of and
investigation into the business, prospects, operations, property, financial and other condition and
creditworthiness of the Loan Parties and their respective Subsidiaries, and all applicable bank or
other regulatory Laws relating to the transactions contemplated hereby, and made its own
decision to enter into this Agreement and to extend credit to the Borrower and the other Loan
Parties hereunder. Each Lender and each Issuer also represents that it will, independently and
without reliance upon the Administrative Agent , any other Agent, or any other Lender or any of
their Agent-Related Persons and based on such documents and information as it shall deem
appropriate at the time, continue to make its own credit analysis, appraisals and decisions in
taking or not taking action under this Agreement and the other Loan Documents, and to make
such investigations as it deems necessary to inform itself as to the business, prospects,
operations, property, financial and other condition and creditworthiness of the Borrower and the
other Loan Parties. Except for notices, reports and other documents expressly required to be
furnished to the Lenders by any Agent herein, such Agent shall not have any duty or
responsibility to provide any Lender with any credit or other information concerning the
business, prospects, operations, property, financial and other condition or creditworthiness of any
of the Loan Parties or any of their respective Affiliates which may come into the possession of
any Agent-Related Person.

          SECTION 11.8         No Other Duties; Other Agents, Arrangers, Etc.

       Barclays Bank PLC and Citizens Bank, N.A. are each hereby appointed as an Arranger
hereunder on the Closing Date, and each Lender authorizes each of Barclays Bank PLC and

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Citizens Bank, N.A. to act as an Arranger in accordance with the terms hereof and the other Loan
Documents. Each Agent hereby agrees to act in its capacity as such upon the express conditions
contained herein and the other Loan Documents, as applicable. Anything herein to the contrary
notwithstanding, none of the Arrangers or Agents shall have any powers, duties or
responsibilities under this Agreement or any of the other Loan Documents, except in its capacity,
as applicable, as the Administrative Agent, the Collateral Agent, Co-Collateral Agent, or a
Lender hereunder and such Persons shall have the benefit of this Article XI. Without limiting
the foregoing, none of the Lenders or other Persons so identified shall have or be deemed to have
any agency or fiduciary or trust relationship with any Lender, Holdings, the Borrower or any of
their respective Subsidiaries. Each Lender acknowledges that it has not relied, and will not rely,
on any of the Arrangers, Lenders, or other Persons so identified in deciding to enter into this
Agreement or in taking or not taking action hereunder. Subject to Section 11.6 and 11.9, any
Agent or Arranger may resign from such role at any time, with immediate effect, by giving prior
written notice thereof to the Administrative Agent and Borrower.

          SECTION 11.9         Appointment and Authority of Co-Collateral Agents.

        (a)    Each of the Lenders and the Issuers hereby irrevocably appoints Citizens to act on
its behalf as a Co-Collateral Agent hereunder and under the other Loan Documents and
authorizes the Co-Collateral Agent to take such actions on its behalf and to exercise such powers
as are delegated to the Co-Collateral Agent by the terms of this Agreement and the other Loan
Documents, together with such actions and powers as are reasonably incidental thereto.

          (b) Notwithstanding anything in this Agreement or any other Loan Document to the
  contrary, in addition to the rights specifically set forth in this Agreement, the Co-Collateral
  Agent shall have rights under the Loan Documents at least as expansive as the rights afforded
  to the Administrative Agent or the Collateral Agent with respect to (i) the determination of the
  calculation of “Excess Availability” (other than for purposes of the Applicable Unused
  Commitment Fee, which shall be calculated solely by Administrative Agent), (ii) the
  determination and calculation of the “Borrowing Base” (including the component definitions
  thereof, applicable advance rates, and eligibility criteria), (iii) the determination of whether or
  not to conduct inspections or otherwise exercise rights pursuant to Section 8.6 (subject to the
  frequency limitations set forth therein), (iv) the determination of whether or not to conduct
  field exams, audits, or appraisals pursuant to Section 7.4 (subject to the frequency limitations
  set forth therein), (v) the approval of any proposed appraiser or third party field examiner after
  the Closing Date, (vi) the establishment, determination, modification, or release of any reserve
  established pursuant to the definition of “Reserves”, “Availability Reserves”, or “Inventory
  Reserves”, (vii) any amendment, consent, waiver, approval or authorization which may be
  provided or made under or in respect of the DIP Intercreditor Agreement and (viii) any
  approvals or authorization which may be provided with respect to the Cases; in the case of the
  foregoing clauses (vii) and (viii), it being understood and agreed that the Administrative Agent
  shall be permitted to act at the direction of the Required Lenders as required herein (the rights
  specifically delegated to the Co-Collateral Agent (whether acting alone or together with any
  other Agent or Agents) in this Agreement, together with the rights described in this Section
  11.9(b), hereafter referred to as the “Credit Facility Issues”).



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        (c)      In the event that the Co-Collateral Agent, on the one hand, and the Collateral
Agent and the Administrative Agent, on the other hand, cannot in good faith agree on the
resolution of, or course of action with respect to, any Credit Facility Issue, the Administrative
Agent, the Collateral Agent, and the Co-Collateral Agent hereby agree that the Credit Facility
Issue shall be resolved on behalf of all of them (including under any circumstance which requires
approval or consent by both Administrative Agent or Collateral Agent and the Co-Collateral
Agent) by the implementation of the course of action that represents the most conservative credit
judgment (that is, the determination that would result in the least amount of credit being made
available to the Borrower or with respect to a request for an extension, exception, or greater
flexibility for the benefit of any Loan Party, a determination to decline to permit the requested
action), which credit judgment shall be made in accordance with the standards (if any, such as
reasonable discretion, Permitted Discretion, etc.) expressly prescribed in this Agreement for such
matter; provided, that, in the event such Credit Facility Issues cannot be resolved by either
proceeding with the most conservative credit judgment or declining to permit a requested action,
then the position of the Administrative Agent relative such Credit Facility Issues shall be the
course of action approved.

        (d)      Notwithstanding anything in this Agreement or any of the other Loan Documents
to the contrary, the Co-Collateral Agent hereby agrees with Administrative Agent that (i) all
rights of the Co-Collateral Agent hereunder and the obligation of Administrative Agent to
comply with any request or determination of the Co-Collateral Agent shall be at all times subject
to the terms and conditions of and any limitations set forth in the DIP Intercreditor Agreement
and the Second Lien Intercreditor Agreement, (ii) Administrative Agent shall select, employ and
retain all attorneys, advisors or other professionals retained or to be retained by or on behalf of
Administrative Agent, the Collateral Agent, the Co-Collateral Agent and the Lenders, in each
case, the expenses of which are required to be reimbursed by any Loan Party under the Loan
Documents; provided that such limitation shall not apply in the case of counsel appointed in
express compliance with the conflicts provisions set forth in this Agreement, (iii) nothing in this
Agreement shall permit the Co-Collateral Agent (in its capacity as such) to undertake to order
any appraisals, audits or examinations of any Collateral, but rather this Agreement grants Co-
Collateral Agent the right and authority to direct Administrative Agent to do so in accordance
with the terms and conditions of this Agreement including Section 11.9(c) and (iv) from and
after the Closing Date, Administrative Agent shall coordinate inspections, audits and appraisals
under Sections 7.4 and 8.6 with the Co-Collateral Agent and, subject to Section 11.9(c).

        (e)     Administrative Agent agrees to provide the Co-Collateral Agent, to the extent not
furnished directly to Co-Collateral Agent by the applicable appraisers or auditors, copies of
Collateral appraisals and field exam reports relating to the Collateral or any Loan Party which
are received by Administrative Agent. Each Co-Collateral Agent further expressly agrees and
acknowledges that the Administrative Agent and Collateral Agent (i) do not make any
representation or warranty as to the accuracy of any appraisal, collateral report, field exam, or
item or information furnished to the Co-Collateral Agent by Administrative Agent or any
Collateral Agent and (ii) shall not be liable for any information contained in any appraisal,
collateral report, field exam, or other item referenced above.

        (f)   Co-Collateral Agent is not permitted to assign any of its rights, powers, duties and
obligations as Co-Collateral Agent (other than to an Affiliate of the Co-Collateral Agent)

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hereunder to any Person without the prior written consent of Borrower, the Required Lenders,
and the Administrative Agent.

        (g)    The Co-Collateral Agent may resign upon ten (10) days’ notice of its resignation
to the Lenders, Administrative Agent, and the Borrower. If the Co-Collateral Agent is subject to
an Agent Related Distress Event, the Requisite Lenders may remove such Co-Collateral Agent
upon ten (10) days’ notice. The Co-Collateral Agent that ceases to be a Lender shall cease to be a
Co-Collateral Agent. If any rights or duties are expressly delegated to the Co-Collateral Agent at
any time when there is no Co-Collateral Agent, such rights and duties shall, until such time as
there is a Co-Collateral Agent, reside with the Administrative Agent.

          SECTION 11.10       Administrative Agent May File Proofs of Claim.

        In case of the pendency of any proceeding under any Debtor Relief Law or any other
judicial proceeding relative to any Loan Party, the Administrative Agent (irrespective of whether
the principal of any Loan or Letter of Credit Obligation shall then be due and payable as herein
expressed or by declaration or otherwise and irrespective of whether the Administrative Agent
shall have made any demand on the Borrower) shall be entitled and empowered, by intervention
in such proceeding or otherwise:

       (a)     to file and prove a claim for the whole amount of the principal and interest owing
and unpaid in respect of the Loans, Letter of Credit Obligations and all other Obligations that are
owing and unpaid and to file such other documents as may be necessary or advisable in order to
have the claims of the Lenders, the Issuers and the Administrative Agent (including any claim
for the reasonable compensation, expenses, disbursements and advances of the Lenders, the
Issuers and the Administrative Agent and their respective agents and counsel and all other
amounts due the Lenders, the Issuers and the Administrative Agent under Sections 2.12, 12.3
and 12.4) allowed in such judicial proceeding; and

       (b)    to collect and receive any monies or other property payable or deliverable on any
such claims and to distribute the same;

        and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar
official in any such judicial proceeding is hereby authorized by each Lender and each Issuer to
make such payments to the Administrative Agent and, in the event that the Administrative Agent
shall consent to the making of such payments directly to the Lenders and the Issuers, to pay to
the Administrative Agent any amount due for the reasonable compensation, expenses,
disbursements and advances of the Agents and their respective agents and counsel, and any other
amounts due the Administrative Agent under Sections 2.12, 12.3 and 12.4.

       Nothing contained herein shall be deemed to authorize the Administrative Agent to
authorize or consent to or accept or adopt on behalf of any Lender or any Issuer any plan of
reorganization, arrangement, adjustment or composition affecting the Obligations or the rights of
any Lender or any Issuer to authorize the Administrative Agent to vote in respect of the claim of
any Lender or any Issuer in any such proceeding.

          SECTION 11.11       Collateral and Guaranty Matters.


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         Each of the Lenders (including in its capacities as a potential Cash Management Bank
and a potential Hedge Bank) and the Issuers irrevocably authorizes the Administrative Agent and
the Collateral Agent, and each of the Administrative Agent and the Collateral Agent agrees that
it will:

        (a)      automatically release any Lien on any property granted to or held by the
Administrative Agent or the Collateral Agent under any Loan Document (i) upon termination of
the Aggregate Commitments and payment in full of all Obligations (other than (x) obligations
and liabilities under Secured Hedge Agreements, (y) Cash Management Obligations and (z)
contingent indemnification obligations not yet accrued and payable) and the expiration or
termination of all Letters of Credit (other than Letters of Credit as to which other arrangements
reasonably satisfactory to the Administrative Agent and each applicable Issuer shall have been
made), (ii) at the time the property subject to such Lien is transferred or to be transferred as part
of or in connection with any transfer permitted hereunder or under any other Loan Document to
any Person other than Holdings, the Borrower or any of its Domestic Subsidiaries that are
Guarantors, (iii) subject to Section 12.1, if the release of such Lien is approved, authorized or
ratified in writing by the Requisite Lenders, (iv) if the property subject to such Lien is owned by
a Guarantor, upon release of such Guarantor from its obligations under its Guaranty pursuant to
clause (c) below or (v) if such property becomes Excluded Assets;

       (b)    release or subordinate any Lien on any property granted to or held by the
Administrative Agent or the Collateral Agent under any Loan Document to the holder of any
Lien on such property that is permitted by Section 9.1(i); and

       (c)      release any Guarantor from its obligations under the Guaranty if (i) in the case of
any Subsidiary, such Person ceases to be a Restricted Subsidiary as a result of a transaction or
designation permitted hereunder or (ii) in the case of Holdings, as a result of a transaction
permitted hereunder; provided that no such release shall occur if such Guarantor continues to be
a guarantor in respect of any Junior Financing.

        (d)    Upon request by the Administrative Agent or Collateral Agent at any time, the
Requisite Lenders will confirm in writing the Administrative Agent’s and Collateral Agent’s
authority to release or subordinate its interest in particular types or items of property, or to
release any Guarantor from its obligations under the Guaranty pursuant to this Section 11.11. In
each case as specified in this Section 11.11, the applicable Agent will (and each Lender
irrevocably authorizes the applicable Agent to), at the Borrower’s expense, execute and deliver
to the applicable Loan Party such documents as such Loan Party may reasonably request to
evidence the release or subordination of such item of Collateral from the assignment and security
interest granted under the Collateral Documents, or to evidence the release of such Guarantor
from its obligations under the Guaranty, in each case in accordance with the terms of the Loan
Documents and this Section 11.11.

       Notwithstanding anything contained in any of the Loan Documents to the contrary, the
Loan Parties, the Agents and each Lender hereby agree that (1) no Lender shall have any right
individually to realize upon any of the Collateral under any Collateral Document or to enforce
the Guarantee, it being understood and agreed that all powers, rights and remedies under the
Collateral Documents and the Guarantee may be exercised solely by the Administrative Agent

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acting as agent for and representative of Lenders in accordance with the terms thereof, and (2) in
the event of a foreclosure by the Administrative Agent on any of the Collateral pursuant to a
public or private sale or a sale under Section 363 of the Bankruptcy Code, the Administrative
Agent or any Lender may be the purchaser of any or all of such Collateral at any such sale and
the Administrative Agent, as agent for and representative of Lenders (but not any Lender or
Lenders in its or their respective individual capacities unless the Required Lenders shall
otherwise agree in writing) shall be entitled (at the direction of the Required Lenders), for the
purpose of bidding and making settlement or payment of the purchase price for all or any portion
of the Collateral sold at any such public sale, to use and apply any of the Obligations as a credit
on account of the purchase price for any Collateral payable by the Administrative Agent at such
sale.

          SECTION 11.12       Appointment of Supplemental Administrative Agents.

         (a)    It is the purpose of this Agreement and the other Loan Documents that there shall
be no violation of any Law of any jurisdiction denying or restricting the right of banking
corporations or associations to transact business as agent or trustee in such jurisdiction. It is
recognized that in case of litigation under this Agreement or any of the other Loan Documents,
and in particular in case of the enforcement of any of the Loan Documents, or in case the
Administrative Agent deems that by reason of any present or future Law of any jurisdiction it
may not exercise any of the rights, powers or remedies granted herein or in any of the other Loan
Documents or take any other action which may be desirable or necessary in connection
therewith, the Administrative Agent is hereby authorized to appoint an additional individual or
institution selected by the Administrative Agent in its sole discretion as a separate trustee, co-
trustee, administrative agent, collateral agent, administrative sub-agent or administrative co-
agent (any such additional individual or institution being referred to herein individually as a
“Supplemental Administrative Agent” and collectively as “Supplemental Administrative
Agents”).

        (b)    In the event that the Administrative Agent appoints a Supplemental
Administrative Agent with respect to any Collateral, (i) each and every right, power, privilege or
duty expressed or intended by this Agreement or any of the other Loan Documents to be
exercised by or vested in or conveyed to the Administrative Agent with respect to such Collateral
shall be exercisable by and vest in such Supplemental Administrative Agent to the extent, and
only to the extent, necessary to enable such Supplemental Administrative Agent to exercise such
rights, powers and privileges with respect to such Collateral and to perform such duties with
respect to such Collateral, and every covenant and obligation contained in the Loan Documents
and necessary to the exercise or performance thereof by such Supplemental Administrative
Agent shall run to and be enforceable by either the Administrative Agent or such Supplemental
Administrative Agent, and (ii) the provisions of this Article XI and of Sections 12.3 and 12.4 that
refer to the Administrative Agent shall inure to the benefit of such Supplemental Administrative
Agent and all references therein to the Administrative Agent shall be deemed to be references to
the Administrative Agent and/or such Supplemental Administrative Agent, as the context may
require.

      (c)    Should any instrument in writing from any Loan Party be required by any
Supplemental Administrative Agent so appointed by the Administrative Agent for more fully and

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certainly vesting in and confirming to him or it such rights, powers, privileges and duties, the
Borrower or Holdings, as applicable, shall, or shall cause such Loan Party to, execute,
acknowledge and deliver any and all such instruments promptly upon request by the
Administrative Agent. In case any Supplemental Administrative Agent, or a successor thereto,
shall die, become incapable of acting, resign or be removed, all the rights, powers, privileges and
duties of such Supplemental Administrative Agent, to the extent permitted by Law, shall vest in
and be exercised by the Administrative Agent until the appointment of a new Supplemental
Administrative Agent.

        SECTION 11.13         Secured Cash Management Agreements and Secured Hedge
  Agreements.

        (a)     Except as otherwise expressly set forth herein or in any Guaranty or any
Collateral Document, no Cash Management Bank or Hedge Bank that obtains the benefits of
Section 10.3, any Guaranty or any Collateral by virtue of the provisions hereof or of any
Guaranty or any Collateral Document shall have any right to notice of any action or to consent
to, direct or object to any action hereunder or under any other Loan Document or otherwise in
respect of the Collateral (including the release or impairment of any Collateral) other than in its
capacity as a Lender and, in such case, only to the extent expressly provided in the Loan
Documents. Notwithstanding any other provision of this Article XI to the contrary, the
Administrative Agent shall not be required to verify the payment of, or that other satisfactory
arrangements have been made with respect to, Obligations arising under Secured Cash
Management Agreements and Secured Hedge Agreements unless the Administrative Agent has
received written notice of such Obligations, together with such supporting documentation as the
Administrative Agent may request, from the applicable Cash Management Bank or Hedge Bank,
as the case may be.

        (b)     Each Secured Party hereby agrees (i) that, after the occurrence and during the
continuance of a Cash Dominion Period (and thereafter at such frequency as the Administrative
Agent may reasonably request in writing), it will provide to the Administrative Agent, promptly
upon the written request of the Administrative Agent, a summary of all Obligations owing to it
under this Agreement and (ii) that the benefit of the provisions of the Loan Documents directly
relating to the Collateral or any Lien granted thereunder shall extend to and be available to any
Secured Party that is not an Agent, a Lender or an Issuer party hereto as long as, by accepting
such benefits, such Secured Party agrees, as among Agent and all other Secured Parties, that such
Secured Party is bound by (and, if requested by Agent, shall confirm such agreement in a writing
in form and substance reasonably acceptable to Agent) this Article XI and Sections 3.1, Sections
12.4, 12.6, 12.19, 12.23 and 12.26, and the decisions and actions of any Agent and the Requisite
Lenders (or, where expressly required by the terms of this Agreement, a greater proportion of the
Lenders or other parties hereto as required herein) to the same extent a Lender is bound;
provided, however, that, notwithstanding the foregoing clause (ii), (x) such Secured Party shall
be bound by Sections 12.3, 12.4 and 12.5 only to the extent of liabilities, reimbursement
obligations, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses, or
disbursements with respect to or otherwise relating to the Liens and Collateral held for the
benefit of such Secured Party, in which case the obligations of such Secured Party thereunder
shall not be limited by any concept of pro rata share or similar concept, (y) each of Agents, the
Lenders and the Issuers party hereto shall be entitled to act at its sole discretion, without regard

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to the interest of such Secured Party, regardless of whether any Obligation to such Secured Party
thereafter remains outstanding, is deprived of the benefit of the Collateral, becomes unsecured or
is otherwise affected or put in jeopardy thereby, and without any duty or liability to such Secured
Party or any such Obligation and (z) such Secured Party shall not have any right to be notified
of, consent to, direct, require or be heard with respect to, any action taken or omitted in respect
of the Collateral or under any Loan Document.

          SECTION 11.14       Indemnification of Agents.

        Whether or not the transactions contemplated hereby are consummated, the Lenders shall
indemnify upon demand the Agents and each other Agent-Related Person (solely to the extent
any such Agent-Related Person was performing services on behalf of the any Agent) (to the
extent not reimbursed by or on behalf of any Loan Party and without limiting the obligation of
any Loan Party to do so), pro rata, and hold harmless the Agents and each other Agent-Related
Person (solely to the extent any such Agent-Related Person was performing services on behalf of
any Agent) from and against any and all Indemnified Liabilities incurred by it; provided that no
Lender shall be liable for the payment to any Agent-Related Person of any portion of such
Indemnified Liabilities resulting from such Agent-Related Person’s own gross negligence or
willful misconduct, as determined by the final judgment of a court of competent jurisdiction;
provided that no action taken in accordance with the directions of the Requisite Lenders (or such
other number or percentage of the Lenders as shall be required by the Loan Documents) shall be
deemed to constitute gross negligence or willful misconduct for purposes of this Section 11.14.
In the case of any investigation, litigation or proceeding giving rise to any Indemnified
Liabilities, this Section 11.14 applies whether any such investigation, litigation or proceeding is
brought by any Lender or any other Person. Without limitation of the foregoing, each Lender
shall reimburse the Administrative Agent and Collateral Agent upon demand for its ratable share
of any costs or out-of-pocket expenses (including Attorney Costs) incurred by the Administrative
Agent or Collateral Agent in connection with the preparation, execution, delivery,
administration, modification, amendment or enforcement (whether through negotiations, legal
proceedings or otherwise) of, or legal advice in respect of rights or responsibilities under, this
Agreement, any other Loan Document, or any document contemplated by or referred to herein,
to the extent that the Administrative Agent or Collateral Agent is not reimbursed for such
expenses by or on behalf of the Borrower, provided that such reimbursement by the Lenders
shall not affect the Borrower’s continuing reimbursement obligations with respect thereto,
provided further that the failure of any Lender to indemnify or reimburse the Administrative
Agent or Collateral Agent shall not relieve any other Lender of its obligation in respect thereof.
The undertaking in this Section 11.14 shall survive termination of the Aggregate Commitments,
the payment of all other Obligations and the resignation of the Administrative Agent, the
Collateral Agent, the Swing Loan Lender or any Issuer.

                                         ARTICLE XII

                                      MISCELLANEOUS

       SECTION 12.1        Amendments, Etc.       Except as otherwise set forth in this
Agreement, no amendment or waiver of any provision of this Agreement or any other Loan
Document, and no consent to any departure by the Borrower or any other Loan Party therefrom,

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shall be effective unless in writing signed by the Requisite Lenders (other than with respect to
any amendment or waiver contemplated in Sections 12.1(a) through (j) below, which shall only
require the consent of the Lenders expressly set forth therein and not the Requisite Lenders) (or
by the Administrative Agent with the consent of the Requisite Lenders) and the Borrower or the
applicable Loan Party, as the case may be and each such waiver or consent shall be effective
only in the specific instance and for the specific purpose for which given; provided that, no such
amendment, waiver or consent shall:

        (a)     extend or increase the Revolving Credit Commitment of any Lender without the
written consent of each Lender directly and adversely affected thereby (it being understood that
(i) a waiver of any condition precedent set forth in Section 4.2 and (ii) the waiver of any Default,
mandatory prepayment or mandatory reduction of the Revolving Credit Commitments shall not
constitute an extension or increase of any Revolving Credit Commitment of any Lender);

       (b)      postpone any date scheduled for, or reduce the amount of, any payment of
principal or interest under Section 2.6 or 2.10 without the written consent of each Lender directly
and adversely affected thereby, it being understood that the waiver of (or amendment to the
terms of) any mandatory prepayment of the Loans shall not constitute a postponement of any
date scheduled for the payment of principal or interest, and it further being understood that any
change to the definition of “Average Revolving Loan Utilization” or, in each case, the
component definitions thereof shall not constitute a reduction in any amount of interest.

        (c)     reduce the principal of, or the rate of interest specified herein on, any Loan or
Letter of Credit Borrowing, or (subject to clause (iii) of the second proviso to this Section 12.1)
any fees or other amounts payable hereunder or under any other Loan Document without the
written consent of each Lender directly and adversely affected thereby (it being understood that
any change to the definitions of “Excess Availability” or “Average Revolving Loan Utilization”
or, in each case, the component definitions thereof shall not constitute a reduction in the rate of
interest); provided that only the consent of the Requisite Lenders shall be necessary to amend the
definition of “Default Rate” or to waive any obligation of the Borrower to pay interest at the
Default Rate;

        (d)     change any provision of this Section 12.1, Section 12.7 (in a manner that would
alter the pro rata sharing of payments or setoffs required thereby), the definition of “Requisite
Lenders”, “Supermajority Lenders” or any other provision specifying the number of Lenders or
portion of the Loans or Revolving Credit Commitments required to take any action under the
Loan Documents, without the written consent of each Lender affected thereby;

        (e)     other than in a transaction permitted under Section 9.4 or 9.5, release all or
substantially all of the Collateral in any transaction or series of related transactions, without the
written consent of each Lender;

       (f)     other than in a transaction permitted under Section 9.4 or 9.5, release all or
substantially all of the aggregate value of the Guaranty, without the written consent of each
Lender;



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        (g)     change the definition of the term “Borrowing Base” or any component definition
thereof, but excluding the definition of “Eligible Accounts Advance Rate,” “Credit Card
Advance Rate,” “In-Transit Advance Rate” or “Inventory Advance Rate”, in each case the
amendment or modifications of which shall be subject to clause (h) below, if as a result thereof
the amounts available to be borrowed by the Borrower would be increased, without the written
consent of the Supermajority Lenders, provided that the foregoing shall not limit the discretion
of the Administrative Agent, the Co-Collateral Agent and the Collateral Agent to change,
establish or eliminate any Availability Reserves, Inventory Reserves or Shrink Reserves without
the consent of any Lenders;

        (h)   increase the numerical percentage contained in Eligible Accounts Advance Rate,
Credit Card Advance Rate, In-Transit Advance Rate or Inventory Advance Rate, without the
written consent of each Lender (except as otherwise provided in such definitions as the Closing
Date); provided that the foregoing shall not limit the discretion of the Administrative Agent, the
Co-Collateral Agent and the Collateral Agent to change, establish or eliminate any Availability
Reserves, Inventory Reserves or Shrink Reserves without the consent of any Lenders;

       (i)    without the prior written consent of all Lenders directly affected thereby, (i)
subordinate the Obligations hereunder to any other Indebtedness, or (ii) except as provided by
operation of applicable Law, subordinate the Liens granted hereunder or under the other Loan
Documents to any other Lien; or

        (j)    change the order of the application of funds specified in Section 10.3 without the
written consent of each Lender directly affected thereby;

and provided, further, that (i) no amendment, waiver or consent shall, unless in writing and
signed by each Issuer in addition to the Lenders required above, affect the rights or duties of an
Issuer under this Agreement or any Issuer Document relating to any Letter of Credit issued or to
be issued by it; (ii) no amendment, waiver or consent shall, unless in writing and signed by the
Swing Loan Lender in addition to the Lenders required above, affect the rights or duties of the
Swing Loan Lender under this Agreement; (iii) no amendment, waiver or consent shall, unless in
writing and signed by the Administrative Agent and Collateral Agent in addition to the Lenders
required above, affect the rights or duties of, or any fees or other amounts payable to, the
Administrative Agent or Collateral Agent under this Agreement or any other Loan Document;
(iv) Section 12.2(g) may not be amended, waived or otherwise modified without the consent of
each Granting Lender all or any part of whose Loans are being funded by an SPC at the time of
such amendment, waiver or other modification; (v) [reserved]; (vi) no amendment, waiver or
consent shall, unless in writing and signed by the Collateral Agent and Co-Collateral Agent in
addition to the Lenders required above and the Administrative Agent, affect the rights or duties
of any Collateral Agent or Co-Collateral Agent under this Agreement; (vii) only the consent of
the Borrower, the Administrative Agent, and Citizens shall be required to effect any amendment,
waiver or consent under the Fee Letter, and (viii) only the consent of the Borrower, the
Administrative Agent, the Co-Collateral Agent and the Collateral Agent shall be required to
effect any amendment, waiver or consent under the Commitment Letter. Notwithstanding
anything to the contrary herein, no Defaulting Lender shall have any right to approve or
disapprove any amendment, waiver or consent hereunder (and any amendment, waiver or
consent which by its terms requires the consent of all Lenders or each affected Lender may be

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effected with the consent of the applicable Lenders other than Defaulting Lenders), except that
(x) the Revolving Credit Commitment of any Defaulting Lender may not be increased or
extended without the consent of such Lender and (y) any waiver, amendment or modification
requiring the consent of all Lenders or each affected Lender that by its terms affects any
Defaulting Lender more adversely than other affected Lenders shall require the consent of such
Defaulting Lender.

        Notwithstanding anything to the contrary contained in this Section 12.1, guarantees,
collateral security documents and related documents executed by Subsidiaries in connection with
this Agreement may be in a form reasonably determined by the Administrative Agent, the
Collateral Agent and each Co-Collateral Agent and may be, together with this Agreement,
amended and waived with the consent of the Administrative Agent, the Collateral Agent and
each Co-Collateral Agent at the request of the Borrower without the need to obtain the consent of
any other Lender if such amendment or waiver is delivered in order (i) to comply with local Law
or advice of local counsel, (ii) to cure ambiguities or defects or (iii) to cause such guarantee,
collateral security document or other document to be consistent with this Agreement and the
other Loan Documents.

        If the Administrative Agent, the Collateral Agent, each Co-Collateral Agent and the
Borrower shall have jointly identified an obvious error (including, but not limited to, an incorrect
cross-reference) or any error or omission of a technical or immaterial nature, in each case, in any
provision of this Agreement or any other Loan Document (including, for the avoidance of doubt,
any exhibit, schedule or other attachment to any Loan Document), then the Administrative
Agent, the Collateral Agent and the Co-Collateral Agent (acting in its sole discretion) and the
Borrower or any other relevant Loan Party shall be permitted to amend such provision and such
amendment shall become effective without any further action or consent of any other party to
any Loan Document. Notification of such amendment shall be made by the Administrative Agent
to the Lenders promptly upon such amendment becoming effective.

        Notwithstanding anything in this Section 12.1 to the contrary, technical and conforming
modifications to the Loan Documents may be made with the consent of the Borrower and the
Administrative Agent (and no other Person) to the extent necessary to (i) conform to the Orders
and/or (ii) modify any other provision hereunder or under any other Loan Document in a manner
more favorable to the then-existing Lenders, in each case in connection with the issuance or
incurrence of any other Indebtedness permitted hereunder, where the terms of any such other
Indebtedness are more favorable to the lenders thereof than the corresponding terms applicable
to other Loans or Revolving Credit Commitments then existing hereunder, and it is intended that
one or more then-existing Classes of Loans or Revolving Credit Commitments under this
Agreement share in the benefit of such more favorable terms in order to comply with the
provisions hereof relating to the incurrence of such other Indebtedness.

        If any Lender does not consent to a proposed amendment, waiver, consent or release with
respect to any Loan Document that requires the consent of each Lender and that has been
approved by the Requisite Lenders, the Borrower may replace such non-consenting Lender in
accordance with Section 3.7; provided that such amendment, waiver, consent or release can be
effected as a result of the assignment contemplated by such Section (together with all other such
assignments required by the Borrower to be made pursuant to this paragraph).

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          SECTION 12.2          Successors and Assigns.

        (a)     Successors and Assigns Generally. The provisions of this Agreement shall be
binding upon and inure to the benefit of the parties hereto and their respective successors and
assigns permitted hereby, except that neither Holdings nor the Borrower may, except as
permitted by Section 9.4, assign or otherwise transfer any of its rights or obligations hereunder
without the prior written consent of the Administrative Agent and each Lender and no Lender
may assign or otherwise transfer any of its rights or obligations hereunder except (i) to an
assignee in accordance with the provisions of subsection (b) of this Section, (ii) by way of
participation in accordance with the provisions of subsection (d) of this Section, or (iii) by way
of pledge or assignment of a security interest subject to the restrictions of subsection (f) of this
Section, or (iv) to an SPC in accordance with the provisions of subsection (g) of this Section (and
any other attempted assignment or transfer by any party hereto shall be null and void). Nothing
in this Agreement, expressed or implied, shall be construed to confer upon any Person (other
than the parties hereto, their respective successors and assigns permitted hereby, Participants to
the extent provided in subsection (d) of this Section and, to the extent expressly contemplated
hereby, the Agent-Related Persons of each of the Administrative Agent, the Issuers and the
Lenders) any legal or equitable right, remedy or claim under or by reason of this Agreement.

       (b)      Assignments by Lenders. Any Lender may at any time assign to one or more
assignees all or a portion of its rights and obligations under this Agreement (including all or a
portion of its Revolving Credit Commitment and the Loans (including for purposes of this
subsection (b), participations in Letter of Credit Obligations and in Swing Loans) at the time
owing to it); provided that any such assignment shall be subject to the following conditions:

                (i)        Minimum Amounts.

                        (A) in the case of an assignment of the entire remaining amount of the
          assigning Lender’s Revolving Credit Commitment and the Loans of any Class at the
          time owing to it or in the case of an assignment to a Lender, an Affiliate of a Lender or
          an Approved Fund, no minimum amount need be assigned; and

                           (B) in any case not described in subsection (b)(i)(A) of this Section,
          the aggregate unused amount of the Revolving Credit Commitment (plus the principal
          outstanding balance of the Loans) or, if the Revolving Credit Commitment is not then
          in effect, the principal outstanding balance of the Loans of the assigning Lender subject
          to each such assignment, determined as of the date the Assignment and Assumption
          with respect to such assignment is delivered to the Administrative Agent or, if “Trade
          Date” is specified in the Assignment and Assumption, as of the Trade Date, shall not be
          less than $5,000,000 unless each of the Administrative Agent and, so long as no Event
          of Default, solely with respect to the Borrower, has occurred and is continuing, the
          Borrower otherwise consents (each such consent not to be unreasonably withheld or
          delayed); provided, however, that concurrent assignments to members of an Assignee
          Group and concurrent assignments from members of an Assignee Group to a single
          Eligible Assignee (or to an Eligible Assignee and members of its Assignee Group) will
          be treated as a single assignment for purposes of determining whether such minimum
          amount has been met;

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               (ii)    Proportionate Amounts. Each partial assignment shall be made as an
        assignment of a proportionate part of all the assigning Lender’s rights and obligations
        under this Agreement with respect to the Loans or the Revolving Credit Commitment
        assigned, except that this clause (ii) shall not apply to rights in respect of the Swing Loan
        Lender’s rights and obligations in respect of Swing Loans;

                (iii) Required Consents. No consent shall be required for any assignment
        except to the extent required by subsection (b)(i)(B) of this Section and, in addition:

                          (A) the consent of the Borrower (such consent not to be unreasonably
          withheld) shall be required unless (1) other than with respect to any proposed
          assignment to any Person that is a Disqualified Institution, an Event of Default has
          occurred and is continuing at the time of such assignment or (2) such assignment is to a
          Lender, an Affiliate of a Lender, or an Approved Fund; provided that, other than with
          respect to any proposed assignment to any Person that is a Disqualified Institution as
          shown on a list available to the assigning Lender prior to the execution of the
          Assignment and Assumption, the Borrower shall be deemed to have consented to any
          such assignment of the Loans unless it shall have objected thereto by written notice to
          the Administrative Agent within ten (10) Business Days after having received notice
          thereof, or (3) such assignment will become effective 45 days after the Closing Date;
          and, or (4) in connection with the exercise of purchase rights under Section [5.07] of
          the DIP Intercreditor Agreement.

                         (B) the consent of the Administrative Agent (such consent not to be
          unreasonably withheld or delayed) shall be required if such assignment is to a Person
          that is not a Lender, an Affiliate of such Lender or an Approved Fund with respect to
          such Lender;

                         (C) the consent of the Issuers (such consent not to be unreasonably
          withheld or delayed) shall be required for any assignment that increases the obligation
          of the assignee to participate in exposure under one or more Letters of Credit (whether
          or not then outstanding); and

                        (D) the consent of the Swing Loan Lender (such consent not to be
          unreasonably withheld or delayed) shall be required for any assignment;

               (iv)    Assignment and Assumption. The parties to each assignment shall
        execute and deliver to the Administrative Agent an Assignment and Assumption, together
        with a processing and recordation fee of $3,500; provided, however, that the
        Administrative Agent may, in its sole discretion, elect to waive such processing and
        recordation fee in the case of any assignment. The Eligible Assignee, if it is not a
        Lender, shall deliver to the Administrative Agent an Administrative Questionnaire. All
        assignments shall be by novation.

               (v)     No Assignment to Certain Persons. No such assignment shall be made
        (A) to Holdings, the Borrower or any of the Borrower’s Affiliates or Subsidiaries, or (B)
        to any Defaulting Lender or any of its Subsidiaries, or any Person who, upon becoming a

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        Lender hereunder, would constitute any of the foregoing Persons described in this clause
        (B), (C) to a natural person or (D) to any Disqualified Institution; provided, that the
        Administrative Agent shall have no duties or responsibilities for monitoring or enforcing
        prohibitions on participations to Disqualified Institutions.

                 (vi)  Certain Additional Payments. In connection with any assignment of rights
        and obligations of any Defaulting Lender hereunder, no such assignment shall be
        effective unless and until, in addition to the other conditions thereto set forth herein, the
        parties to the assignment shall make such additional payments to the Administrative
        Agent in an aggregate amount sufficient, upon distribution thereof as appropriate (which
        may be outright payment, purchases by the assignee of participations or
        subparticipations, or other compensating actions, including funding, with the consent of
        the Borrower and the Administrative Agent, the applicable pro rata share of Loans
        previously requested but not funded by the Defaulting Lender, to each of which the
        applicable assignee and assignor hereby irrevocably consent), to (x) pay and satisfy in
        full all payment liabilities then owed by such Defaulting Lender to the Administrative
        Agent or any Lender hereunder (and interest accrued thereon) and (y) acquire (and fund
        as appropriate) its full pro rata share of all Loans and participations in Letters of Credit
        and Swing Loans in accordance with its Applicable Percentage. Notwithstanding the
        foregoing, in the event that any assignment of rights and obligations of any Defaulting
        Lender hereunder shall become effective under applicable Law without compliance with
        the provisions of this paragraph, then the assignee of such interest shall be deemed to be a
        Defaulting Lender for all purposes of this Agreement until such compliance occurs.

Subject to acceptance and recording thereof by the Administrative Agent pursuant to clause (c)
of this Section, from and after the effective date specified in each Assignment and Assumption,
the assignee thereunder shall be a party to this Agreement and, to the extent of the interest
assigned by such Assignment and Assumption, have the rights and obligations of a Lender under
this Agreement, and the assigning Lender thereunder shall, to the extent of the interest assigned
by such Assignment and Assumption, be released from its obligations under this Agreement
(and, in the case of an Assignment and Assumption covering all of the assigning Lender’s rights
and obligations under this Agreement, such Lender shall cease to be a party hereto but shall
continue to be entitled to the benefits of Sections 3.1, 3.4, 3.5, 12.3, 12.4 and 12.5 with respect to
facts and circumstances occurring prior to the effective date of such assignment). Upon request,
and the surrender by the assigning Lender of its Revolving Credit Note, the Borrower (at its
expense) shall execute and deliver a Revolving Credit Note to the assignee Lender. Any
assignment or transfer by a Lender of rights or obligations under this Agreement that does not
comply with this subsection shall be treated for purposes of this Agreement as a sale by such
Lender of a participation in such rights and obligations in accordance with subsection (d) of this
Section.

        (c)    Register. The Administrative Agent, acting solely for this purpose as a non-
fiduciary agent of the Borrower, shall maintain at the Administrative Agent’s Office a copy of
each Assignment and Assumption delivered to it and a register for the recordation of the names
and addresses of the Lenders, and the Revolving Credit Commitments of, and principal amounts
(and related interest amounts) of the Loans and Letter of Credit Obligations owing to, each
Lender pursuant to the terms hereof from time to time (the “Register”). The entries in the

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Register shall be conclusive absent manifest error, and the Borrower, the Agents and the Lenders
shall treat each Person whose name is recorded in the Register pursuant to the terms hereof as a
Lender hereunder for all purposes of this Agreement, notwithstanding notice to the contrary. In
addition, the Administrative Agent shall maintain on the Register information regarding the
designation, and revocation of designation, of any Lender as a Defaulting Lender. The Register
shall be available for inspection by the Borrower, any Agent or any Lender (but, only in the case
of a Lender, at the Administrative Agent’s Office and with respect to any entry relating to such
Lender’s Commitments, Loans and other Obligations), at any reasonable time and from time to
time upon reasonable prior notice. This Section 12.2(c) and Section 2.7 shall be construed so
that all Loans are at all times maintained in “registered form” within the meaning of Sections
163(f), 871(h)(2) and 881(c)(2) of the Code and any related Treasury regulations (or any other
relevant or successor provisions of the Code or of such Treasury regulations).

        (d)    Any Lender may at any time, without the consent of, or notice to, the Borrower or
the Administrative Agent, sell participations to any Person (other than a natural person, a
Disqualified Institution, a Defaulting Lender or the Borrower or any of the Borrower’s Affiliates
or Subsidiaries) (each, a “Participant”) in all or a portion of such Lender’s rights and/or
obligations under this Agreement (including all or a portion of its Revolving Credit Commitment
and/or the Loans (including such Lender’s participations in Letter of Credit Obligations and/or
Swing Loans) owing to it); provided that (i) such Lender’s obligations under this Agreement
shall remain unchanged, (ii) such Lender shall remain solely responsible to the other parties
hereto for the performance of such obligations, (iii) such participation is recorded in the
Participant Register and (iv) the Borrower, the Agents, the other Lenders and the Issuers shall
continue to deal solely and directly with such Lender in connection with such Lender’s rights
and obligations under this Agreement.

        Any agreement or instrument pursuant to which a Lender sells such a participation shall
provide that such Lender shall retain the sole right to enforce this Agreement and the other Loan
Documents and to approve any amendment, modification or waiver of any provision of this
Agreement or any other Loan Document; provided that such agreement or instrument may
provide that such Lender will not, without the consent of the Participant, agree to any
amendment, waiver or other modification described in the first proviso to Section 12.1 (other
than clause (d) thereof) that directly affects such Participant. Subject to subsection (e) of this
Section, the Borrower agrees that each Participant shall be entitled to the benefits of Sections 3.1
(subject to the requirements of Sections 3.1(b), (c) or (d), as applicable), Section 3.4 and Section
3.5 (through the applicable Lender) to the same extent as if it were a Lender and had acquired its
interest by assignment pursuant to subsection (b) of this Section. To the extent permitted by
applicable Law, each Participant also shall be entitled to the benefits of Section 12.6 as though it
were a Lender; provided such Participant agrees to be subject to Section 12.7 as though it were a
Lender.

        (e)     Limitations upon Participant Rights. The Borrower agrees that each Participant
shall be entitled to the benefits of Sections 3.1, 3.4 and 3.5 (subject to the requirements and
limitations therein, including the requirements under Section 3.1(b), (c) or (d), as applicable, (it
being understood that the documentation required under to Section 3.1(b), (c) or (d) shall be
delivered to the participating Lender)) to the same extent as if it were a Lender and had acquired
its interest by assignment pursuant to paragraph (b) of this Section; provided that such

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Participant (i) agrees to be subject to the provisions of Sections 3.1, 3.4, 3.5 and 3.7 as if it were
an assignee under paragraph (b) of this Section; and (ii) shall not be entitled to receive any
greater payment under Section 3.1, 3.4 or 3.5 than the applicable Lender would have been
entitled to receive with respect to the participation sold to such Participant, except to the extent
such entitlement to receive a greater payment results from a Change in Law that occurs after the
Participant acquired the applicable participation or the sale of the participation to such
Participant is made with the Borrower’s prior written consent. Each Lender that sells a
participation shall (acting solely for this purpose as a non-fiduciary agent of the Borrower)
maintain a register complying with the requirements of Sections 163(f), 871(h) and 881(c)(2) of
the Code and the Treasury regulations issued thereunder relating to the exemption from
withholding for portfolio interest on which is entered the name and address of each Participant
and the principal amounts (and stated interest) of each Participant’s interest in the Loans or other
obligations under this Agreement (the “Participant Register”). A Lender shall not be obligated
to disclose the Participant Register to any Person except to the extent such disclosure is
necessary to establish that any Loan or other obligation is in registered form under Section
5f.103-1(c) of the United States Treasury regulations or is otherwise required thereunder. The
entries in the Participant Register shall be conclusive absent manifest error, and such Lender
shall treat each person whose name is recorded in the Participant Register as the owner of such
participation for all purposes of this Agreement notwithstanding any notice to the contrary. The
portion of any Participant Register relating to any Participant or SPC requesting payment from
the Borrower or seeking to exercise its rights under Section 12.9 shall be available for inspection
by the Borrower upon reasonable request to the extent that such disclosure is necessary to
establish that such commitment, loan, letter of credit or other obligation is in registered form
under Section 5f.103-1(c) of the United States Treasury Regulations or is otherwise required
thereunder.

        (f)     Any Lender may, at any time, pledge or assign a security interest in all or any
portion of its rights under this Agreement (including under its Revolving Credit Note, if any) to
secure obligations of such Lender, including any pledge or assignment to secure obligations to a
Federal Reserve Bank or other central bank; provided that no such pledge or assignment shall
release such Lender from any of its obligations hereunder or substitute any such pledgee or
assignee for such Lender as a party hereto.

        (g)      Notwithstanding anything to the contrary contained herein, any Lender (a
“Granting Lender”) may grant to a special purpose funding vehicle identified as such in writing
from time to time by the Granting Lender to the Administrative Agent and the Borrower (an
“SPC”) the option to provide all or any part of any Revolving Loan that such Granting Lender
would otherwise be obligated to make pursuant to this Agreement; provided that (i) nothing
herein shall constitute a commitment by any SPC to fund any Revolving Loan, (ii) if an SPC
elects not to exercise such option or otherwise fails to make all or any part of such Revolving
Loan, the Granting Lender shall be obligated to make such Revolving Loan pursuant to the terms
hereof or, if it fails to do so, to make such payment to the Administrative Agent as is required
under Section 2.13(e) and (iii) such SPC and the applicable Loan or any applicable part thereof,
shall be appropriately reflected in the Participant Register. Each party hereto hereby agrees that
(i) neither the grant to any SPC nor the exercise by any SPC of such option shall increase the
costs or expenses or otherwise increase or change the obligations of the Borrower under this
Agreement (including its obligations under Sections 3.1, 3.4 and 3.5), (ii) no SPC shall be liable

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for any indemnity or similar payment obligation under this Agreement for which a Lender would
be liable, and (iii) the Granting Lender shall for all purposes, including the approval of any
amendment, waiver or other modification of any provision of any Loan Document, remain the
lender of record hereunder. The making of a Revolving Loan by an SPC hereunder shall utilize
the Revolving Credit Commitment of the Granting Lender to the same extent, and as if, such
Revolving Loan were made by such Granting Lender. In furtherance of the foregoing, each
party hereto hereby agrees (which agreement shall survive the termination of this Agreement)
that, prior to the date that is one year and one day after the payment in full of all outstanding
commercial paper or other senior debt of any SPC, it will not institute against, or join any other
Person in instituting against, such SPC any bankruptcy, reorganization, arrangement, insolvency,
or liquidation proceeding under the laws of the United States or any State thereof.
Notwithstanding anything to the contrary contained herein, any SPC may (i) with notice to, but
without prior consent of the Borrower and the Administrative Agent and with the payment of a
processing fee of $3,500 (which processing fee may be waived by the Administrative Agent in
its sole discretion), assign all or any portion of its right to receive payment with respect to any
Revolving Loan to the Granting Lender and (ii) disclose on a confidential basis any non-public
information relating to its funding of Revolving Loans to any rating agency, commercial paper
dealer or provider of any surety or Guarantee or credit or liquidity enhancement to such SPC.

        (h)     Resignation as Issuer or Swing Loan Lender. Notwithstanding anything to the
contrary contained herein, any Issuer may resign as Issuer at any time by giving 30 days’ prior
notice to the Administrative Agent, the Lenders and the Borrower, and any Swing Loan Lender
may resign as Swing Loan Lender at any time by giving 30 days’ prior notice to the
Administrative Agent, the Lenders and the Borrower. In the event of any such resignation as
Issuer or Swing Loan Lender, the Borrower shall be entitled to appoint from among the Lenders
a successor Issuer or Swing Loan Lender hereunder; provided, however, that no failure by the
Borrower to appoint any such successor shall affect the resignation of Barclays or the applicable
Issuer as Issuer or (as applicable) Swing Loan Lender, as the case may be. If Barclays or the
applicable Issuer resigns as Issuer, it shall retain all the rights, powers, privileges and duties of an
Issuer hereunder with respect to all Letters of Credit outstanding as of the effective date of its
resignation as Issuer and all Letter of Credit Obligations with respect thereto (including the right
to require the Lenders to make Base Rate Loans or fund risk participations in unreimbursed
amounts under Letters of Credit pursuant to Section 2.4). If Barclays resigns as Swing Loan
Lender, it shall retain all the rights of the Swing Loan Lender provided for hereunder with
respect to Swing Loans made by it and outstanding as of the effective date of such resignation,
including the right to require the Lenders to make Base Rate Loans or fund risk participations in
outstanding Swing Loans pursuant to Section 2.3. Upon the appointment of a successor Issuer
and/or Swing Loan Lender, (a) such successor shall succeed to and become vested with all of the
rights, powers, privileges and duties of the retiring Issuer or Swing Loan Lender, as the case may
be, and (b) the successor Issuer shall issue letters of credit in substitution for the Letters of
Credit, if any, outstanding at the time of such succession or make other arrangements satisfactory
to Barclays or the applicable Issuer to effectively assume the obligations of Barclays or the
applicable Issuer with respect to such Letters of Credit.

          SECTION 12.3          Attorney Costs and Expenses.



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        The Borrower agrees (a) to pay or reimburse the Administrative Agent, the Co-Collateral
Agent, the Collateral Agent and the Arrangers for all reasonable and documented or invoiced
out-of-pocket costs and expenses (including Attorney Costs subject to the limitations set forth
below) incurred in connection with the preparation, negotiation, syndication and execution of
this Agreement and the other Loan Documents and any amendment, waiver, consent or other
modification of the provisions hereof and thereof (whether or not the transactions contemplated
thereby are consummated), and the consummation and administration of the transactions
contemplated hereby and thereby, including all Attorney Costs of Paul Hastings LLP, all
Attorney Costs of Morgan, Lewis & Bockius LLP (subject to a cap of $90,000 for Attorney
Costs of Morgan, Lewis & Bockius LLP prior to the Closing Date and a cap of $50,000 for
Attorney Costs of Morgan, Lewis & Bockius LLP after the Closing Date unless otherwise agreed
in writing by the Borrower) and, if reasonably necessary, one local counsel in each relevant
jurisdiction material to the interests of the Lenders taken as a whole, and, solely in the case of a
conflict of interest, additional counsel in each relevant jurisdiction for group members who are
similarly situated, and (b) to pay or reimburse the Administrative Agent, the Collateral Agent,
the Co-Collateral Agent, the Issuers and the Lenders for all of their reasonable and documented
or invoiced out-of-pocket costs and expenses (including Attorney Costs subject to the
limitations set forth below) incurred in connection with the enforcement of any rights or
remedies under this Agreement or the other Loan Documents (including (i) all such costs and
expenses incurred during any legal proceeding, including any proceeding under any Debtor
Relief Law, and including all Attorney Costs of Paul Hastings LLP and Richards, Layton &
Finger (and, one local counsel as designated by the Administrative Agent to act in any relevant
material jurisdiction and, in the event of any conflict of interest, one additional counsel in each
relevant jurisdiction to each group of affected Lenders similarly situated taken as a whole) and
(ii) all such costs and expenses of Berkeley Research Group, LLC or replacements if
conflicted)). The agreements in this Section 12.3 shall survive the termination of the Aggregate
Commitments and repayment of all other Obligations. All amounts due under this Section 12.3
shall be paid within the later of (x) thirty (30) days following receipt by the Borrower of an
invoice relating thereto setting forth such expenses in reasonable detail or (y) the approval of the
Bankruptcy Court of the fee application for the payment of such expenses; provided that, with
respect to the Closing Date, all amounts due under this Section 12.3 shall be paid on the Closing
Date solely to the extent invoiced to the Borrower within one (1) Business Day prior to the
Closing Date. If any Loan Party fails to pay when due any costs, expenses or other amounts
payable by it hereunder or under any Loan Document, such amount may be paid on behalf of
such Loan Party by the Administrative Agent in its sole discretion. The Borrower and each other
Loan Party hereby acknowledge that the Administrative Agent, Collateral Agent, and Co-
Collateral Agent, any Issuer and/or any Lender may receive a benefit, including a discount,
credit or other accommodation, from any of such counsel based on the fees such counsel may
receive on account of their relationship with the Administrative Agent, Collateral Agent, Co-
Collateral Agent, such Issuer and/or such Lender, including fees paid pursuant to this Agreement
or any other Loan Document. This Section 12.3 shall not apply to Indemnified Taxes, or
amounts excluded from the definition of Indemnified Taxes pursuant to clauses (i) through (v) of
the first sentence of Section 3.1(a), that are imposed with respect to payments to or for the
account of any Agent or any Lender under any Loan Document, which shall be governed by
Section 3.1. This Section 12.3 also shall not apply to Other Taxes or to taxes covered by Section
3.4.

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          SECTION 12.4         Indemnification by the Borrower.

        The Borrower shall indemnify and hold harmless the Agents, each Lender, each Issuer,
each Arranger and their respective Affiliates and such Persons’ and their Affiliates’ respective
directors, officers, employees, agents, partners, trustees or advisors and other representatives
(collectively the “Indemnitees”) from and against any and all liabilities, obligations, losses,
damages, penalties, claims, demands, actions, judgments, suits, costs, expenses and
disbursements (including Attorney Costs) of any kind or nature whatsoever which may at any
time be imposed on, incurred by or asserted against any such Indemnitee in any way relating to
or arising out of or in connection with (but limited, in the case of legal fees and expenses, to the
reasonable and documented or invoiced out-of-pocket fees, disbursements and other charges of
one counsel to all Indemnitees taken as a whole and, a single local counsel for all Indemnitees
taken as a whole in each relevant jurisdiction that is material to the interest of the Lenders, and
solely in the case of a conflict of interest, one additional counsel in each relevant jurisdiction to
each group of affected Indemnitees similarly situated taken as a whole) (i) the execution,
delivery, enforcement, performance or administration of any Loan Document or any other
agreement, letter or instrument delivered in connection with the transactions contemplated
thereby or the consummation of the transactions contemplated thereby, (ii) any Revolving Credit
Commitment, Loan or Letter of Credit or the use or proposed use of the proceeds therefrom
(including any refusal by an Issuer to honor a demand for payment under a Letter of Credit if the
documents presented in connection with such demand do not strictly comply with the terms of
such Letter of Credit), or (iii) any actual or alleged presence or release of Hazardous Materials
on or from any property currently or formerly owned or operated by the Borrower, any
Subsidiary or any other Loan Party, or any Environmental Liabilities arising out of the activities
or operations of the Borrower, any Subsidiary or any other Loan Party, or (iv) any actual or
prospective claim, litigation, investigation or proceeding relating to any of the foregoing,
whether based on contract, tort or any other theory (including any investigation of, preparation
for, or defense of any pending or threatened claim, investigation, litigation or proceeding) and
regardless of whether any Indemnitee or a Loan Party is a party thereto (all the foregoing,
collectively, the “Indemnified Liabilities”); provided that such indemnity shall not, as to any
Indemnitee, be available to the extent that such liabilities, obligations, losses, damages, penalties,
claims, demands, actions, judgments, suits, costs, expenses or disbursements resulted from (x)
the gross negligence, bad faith or willful misconduct of such Indemnitee or of any Related
Indemnified Person, as determined by a final, non-appealable judgment of a court of competent
jurisdiction, (y) a material breach of any obligations under any Loan Document by such
Indemnitee or of any Related Indemnified Person, in each case as determined by a final, non-
appealable judgment of a court of competent jurisdiction or (z) any dispute solely among
Indemnitees other than any claims against an Indemnitee in its capacity or in fulfilling its role as
an administrative agent, collateral agent, co-collateral agent, or arranger or any similar role under
any Class of Loans and other than any claims arising out of any act or omission of the Borrower
or any of its Affiliates. To the extent that the undertakings to indemnify and hold harmless set
forth in this Section 12.4 may be unenforceable in whole or in part because they are violative of
any applicable law or public policy, the Borrower shall contribute the maximum portion that it is
permitted to pay and satisfy under applicable law to the payment and satisfaction of all
Indemnified Liabilities incurred by the Indemnitees or any of them. No Indemnitee shall be
liable for any damages arising from the use by others of any information or other materials
obtained through IntraLinks or other similar information transmission systems in connection
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with this Agreement (except for direct (as opposed to indirect, special, punitive or consequential)
damages resulting from the gross negligence, bad faith or willful misconduct, as determined by a
court of competent jurisdiction in a final and non-appealable judgment, of any such Indemnitee),
nor shall any Indemnitee or any Loan Party have any liability for any special, punitive, indirect
or consequential damages relating to this Agreement or any other Loan Document or arising out
of its activities in connection herewith or therewith (whether before or after the Closing Date)
(other than, in the case of any Loan Party, in respect of any such damages incurred or paid by an
Indemnitee to a third party). In the case of an investigation, litigation or other proceeding to
which the indemnity in this Section 12.4 applies, such indemnity shall be effective whether or
not such investigation, litigation or proceeding is brought by any Loan Party, its directors,
stockholders or creditors or an Indemnitee or any other Person, whether or not any Indemnitee is
otherwise a party thereto and whether or not any of the transactions contemplated hereunder or
under any of the other Loan Documents is consummated. All amounts due under this Section
12.4 shall be paid within the later of (x) twenty (20) Business Days after written demand therefor
(together with reasonably detailed backup documentation supporting such reimbursement
request) and (y) the approval of the payment thereof by the Bankruptcy Court; provided,
however, that such Indemnitee shall promptly refund such amount to the extent that it is
determined by a final, non-appealable judgment of a court of competent jurisdiction that such
Indemnitee was not entitled to indemnification rights with respect to such payment pursuant to
the express terms of this Section 12.4. The agreements in this Section 12.4 shall survive the
resignation of the Administrative Agent, the Collateral Agent, any Co-Collateral Agent, the
Swing Loan Lender or any Issuer, the replacement of any Lender, the termination of the
Aggregate Commitments and the repayment, satisfaction or discharge of all the other
Obligations. This Section 12.4 shall not apply to Indemnified Taxes, or amounts excluded from
the definition of Indemnified Taxes pursuant to clauses (i) through (v) of the first sentence of
Section 3.1(a), that are imposed with respect to payments to or for account of any Agent or any
Lender under any Loan Document, which shall be governed by Section 3.1. This Section 12.5
also shall not apply to Other Taxes or to taxes covered by Section 3.4.

          SECTION 12.5        [Reserved].

          SECTION 12.6        Right of Setoff.

        Notwithstanding anything to the contrary in Section 362 of the Bankruptcy Code but
subject to the Orders, if an Event of Default shall have occurred and be continuing, each Lender
and each of its Affiliates is hereby authorized at any time and from time to time, after obtaining
the prior written consent of the Administrative Agent, to the fullest extent permitted by
applicable law, to set off and apply any and all deposits (general or special, time or demand,
provisional or final) at any time held and other obligations at any time owing by such Lender or
any such Affiliate to or for the credit or the account of the Borrower or any other Loan Party
against any and all of the obligations of the Borrower or such other Loan Party (other than, with
respect to any Guarantor, Excluded Swap Obligations of such Guarantor) now or hereafter
existing under this Agreement or any other Loan Document to such Lender, irrespective of
whether or not such Lender shall have made any demand under this Agreement or any other
Loan Document and although such obligations of the Borrower or such Loan Party may be
contingent or unmatured or are owed to a branch or office of such Lender different from the
branch or office holding such deposit or obligated on such indebtedness; provided that in the

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event that any Defaulting Lender shall exercise any such right of setoff, (x) all amounts so set off
shall be paid over immediately to the Administrative Agent for further application in accordance
with the provisions of Section 2.16 and, pending such payment, shall be segregated by such
Defaulting Lender from its other funds and deemed held in trust for the benefit of the
Administrative Agent and the Lenders, and (y) the Defaulting Lender shall provide promptly to
the Administrative Agent a statement describing in reasonable detail the Obligations owing to
such Defaulting Lender as to which it exercised such right of setoff. The rights of each Lender
and its Affiliates under this Section are in addition to other rights and remedies (including other
rights of setoff) that such Lender or its Affiliates may have. Each Lender agrees to notify the
Borrower and the Administrative Agent promptly after any such setoff and application, provided
that the failure to give such notice shall not affect the validity of such setoff and application.

          SECTION 12.7        Sharing of Payments.

        If, other than as expressly provided elsewhere herein, any Lender shall obtain payment in
respect of any principal of or interest on account of the Loans made by it, or the participations in
Letter of Credit Obligations and Swing Loans held by it (in each case, whether voluntary,
involuntary, through the exercise of any right of set-off, or otherwise) in excess of its ratable
share (or other share contemplated hereunder) thereof, such Lender shall immediately (a) notify
the Administrative Agent of such fact, and (b) purchase from the other Lenders such
participations in the Loans made by them and/or such subparticipations in the participations in
Letter of Credit Obligations or Swing Loans held by them, as the case may be, as shall be
necessary to cause such purchasing Lender to share the excess payment of principal of or interest
on such Loans or such participations, as the case may be, pro rata with each of them; provided
that if all or any portion of such excess payment is thereafter recovered from the purchasing
Lender under any of the circumstances described in Section 12.15 (including pursuant to any
settlement entered into by the purchasing Lender in its discretion), such purchase shall to that
extent be rescinded and each other Lender shall repay to the purchasing Lender the purchase
price paid therefor, together with an amount equal to such paying Lender’s ratable share
(according to the proportion of (i) the amount of such paying Lender’s required repayment to (ii)
the total amount so recovered from the purchasing Lender) of any interest or other amount paid
or payable by the purchasing Lender in respect of the total amount so recovered, without further
interest thereon. The provisions of this Section shall not be construed to apply to the application
of Cash Collateral provided for in Sections 10.3 and 10.5. For avoidance of doubt, the
provisions of this paragraph shall not be construed to apply to (A) any payment made by the
Borrower pursuant to and in accordance with the express terms of this Agreement as in effect
from time to time or (B) any payment obtained by a Lender as consideration for the assignment
of or sale of a participation in any of its Loans to any assignee or participant permitted
hereunder. The Borrower agrees that any Lender so purchasing a participation from another
Lender may, to the fullest extent permitted by applicable Law, exercise all its rights of payment
(including the right of set-off, but subject to Section 12.6) with respect to such participation as
fully as if such Lender were the direct creditor of the Borrower in the amount of such
participation. The Administrative Agent will keep records (which shall be conclusive and
binding in the absence of manifest error) of participations purchased under this Section 12.7 and
will in each case notify the Lenders following any such purchases or repayments. Each Lender
that purchases a participation pursuant to this Section 12.7 shall from and after such purchase
have the right to give all notices, requests, demands, directions and other communications under

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this Agreement with respect to the portion of the Obligations purchased to the same extent as
though the purchasing Lender were the original owner of the Obligations purchased.

          SECTION 12.8        Notices and Other Communications; Facsimile Copies.

       (a)     General. Except in the case of notices and other communications expressly
permitted to be given by telephone (and except as provided in subsection (b) below), all notices
and other communications provided for herein shall be in writing and shall be delivered by hand
or overnight courier service, mailed by certified or registered mail or sent by telecopier as
follows, and all notices and other communications expressly permitted hereunder to be given by
telephone shall be made to the applicable telephone number, as follows:

                (i)    if to Holdings, the Borrower, the Administrative Agent (which address
        shall also be used for Collateral Agent), Citizens Bank, N.A., as a Co-Collateral Agent,
        an Issuer or the Swing Loan Lender, to the address, telecopier number, electronic mail
        address or telephone number specified for such Person on Schedule 12.8;

                (ii)   if to any other Co-Collateral Agent, to the address, telecopier number,
        electronic mail address or telephone number specified for such Person in the agreement
        pursuant to which such person is appointed as a Co-Collateral Agent and

               (iii) if to any other Lender, to the address, telecopier number, electronic mail
        address or telephone number specified in its Administrative Questionnaire.

Notices and other communications sent by hand or overnight courier service, or mailed by
certified or registered mail, shall be deemed to have been given when received; notices and other
communications sent by telecopier shall be deemed to have been given when sent (except that, if
not given during normal business hours for the recipient, shall be deemed to have been given at
the opening of business on the next Business Day for the recipient). Notices and other
communications delivered through electronic communications to the extent provided in
subsection (b) below shall be effective as provided in such subsection (b).

        (b)     Electronic Communications. Notices and other communications to the Lenders
and the Issuers hereunder may be delivered or furnished by electronic communication (including
e mail and Internet or intranet websites) pursuant to procedures approved by the Administrative
Agent, provided that the foregoing shall not apply to notices to any Lender or Issuer pursuant to
Article II if such Lender or Issuer, as applicable, has notified the Administrative Agent that it is
incapable of receiving notices under such Article by electronic communication. The
Administrative Agent or the Borrower may, in its discretion, agree to accept notices and other
communications to it hereunder by electronic communications pursuant to procedures approved
by it, provided that approval of such procedures may be limited to particular notices or
communications.

        (c)   Receipt. Unless the Administrative Agent otherwise prescribes, (i) notices and
other communications sent to an e-mail address shall be deemed received upon the sender’s
receipt of an acknowledgement from the intended recipient (such as by the “return receipt
requested” function, as available, return e-mail or other written acknowledgement), provided that
if such notice or other communication is not sent during the normal business hours of the
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recipient, such notice or communication shall be deemed to have been sent at the opening of
business on the next Business Day for the recipient, and (ii) notices or communications posted to
an Internet or intranet website shall be deemed received upon the deemed receipt by the intended
recipient at its e-mail address as described in the foregoing clause (i) of notification that such
notice or communication is available and identifying the website address therefor.

        (d)    The Platform.      THE PLATFORM IS PROVIDED “AS IS” AND “AS
AVAILABLE.” THE AGENT PARTIES (AS DEFINED BELOW) DO NOT WARRANT THE
ACCURACY OR COMPLETENESS OF THE BORROWER MATERIALS OR THE
ADEQUACY OF THE PLATFORM, AND EXPRESSLY DISCLAIM LIABILITY FOR
ERRORS IN OR OMISSIONS FROM THE BORROWER MATERIALS. NO WARRANTY
OF ANY KIND, EXPRESS, IMPLIED OR STATUTORY, INCLUDING ANY WARRANTY
OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, NON-
INFRINGEMENT OF THIRD PARTY RIGHTS OR FREEDOM FROM VIRUSES OR
OTHER CODE DEFECTS, IS MADE BY ANY AGENT PARTY IN CONNECTION WITH
THE BORROWER MATERIALS OR THE PLATFORM. In no event shall any Agent or any of
its Agent-Related Persons or any Arranger (collectively, the “Agent Parties”) have any liability
to Holdings, the Borrower, any Lender, any Issuer or any other Person for losses, claims,
damages, liabilities or expenses of any kind (whether in tort, contract or otherwise) arising out of
the Borrower’s or the Administrative Agent’s transmission of Borrower Materials through the
Internet, except to the extent that such losses, claims, damages, liabilities or expenses are
determined by a court of competent jurisdiction by a final and nonappealable judgment to have
resulted from the gross negligence or willful misconduct of such Agent Party; provided,
however, that in no event shall any Agent Party have any liability to Holdings, the Borrower, any
Lender, any Issuer or any other Person for indirect, special, incidental, consequential or punitive
damages (as opposed to direct or actual damages).

        (e)     Change of Address. Each of Holdings, the Borrower, the Administrative Agent,
the Collateral Agent, each Co-Collateral Agent, each Issuer and the Swing Loan Lender may
change its address, telecopier or telephone number for notices and other communications
hereunder by notice to the other parties hereto. Each other Lender may change its address,
telecopier or telephone number for notices and other communications hereunder by notice to the
Borrower, the Administrative Agent, each Issuer and the Swing Loan Lender. In addition, each
Lender agrees to notify the Administrative Agent from time to time to ensure that the
Administrative Agent has on record (i) an effective address, contact name, telephone number,
telecopier number and electronic mail address to which notices and other communications may
be sent and (ii) accurate wire instructions for such Lender. Furthermore, each Public Lender
agrees to cause at least one individual at or on behalf of such Public Lender to at all times have
selected the “Private Side Information” or similar designation on the content declaration screen
of the Platform in order to enable such Public Lender or its delegate, in accordance with such
Public Lender’s compliance procedures and applicable Law, including United States Federal and
state securities Laws, to make reference to Borrower Materials that are not made available
through the “Public Side Information” portion of the Platform and that may contain material non-
public information with respect to the Borrower or its securities for purposes of United States
Federal or state securities laws.



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        (f)    Reliance by Administrative Agent, Issuers and Lenders. The Administrative
Agent, the Issuers and the Lenders shall be entitled to rely and act upon any notices (including
telephonic Notices of Borrowing or Swing Loan Requests) purportedly given by or on behalf of
the Borrower even if (i) such notices were not made in a manner specified herein, were
incomplete or were not preceded or followed by any other form of notice specified herein, or (ii)
the terms thereof, as understood by the recipient, varied from any confirmation thereof. The
Borrower shall indemnify the Administrative Agent, each Issuer, each Lender and the Agent-
Related Persons of each of them from all losses, costs, expenses and liabilities resulting from the
reliance by such Person on each notice purportedly given by or on behalf of the Borrower in the
absence of gross negligence, willful misconduct or bad faith of such Person, as determined by a
final non-appealable judgment of a court of competent jurisdiction. All telephonic notices to and
other telephonic communications with the Administrative Agent may be recorded by the
Administrative Agent, and each of the parties hereto hereby consents to such recording.

          SECTION 12.9        No Waiver; Cumulative Remedies.

        No failure by any Lender, the Administrative Agent, Collateral Agent, or the Co-
Collateral Agent to exercise, and no delay by any such Person in exercising, any right, remedy,
power or privilege hereunder or under any other Loan Document shall operate as a waiver
thereof; nor shall any single or partial exercise of any right, remedy, power or privilege
hereunder preclude any other or further exercise thereof or the exercise of any other right,
remedy, power or privilege. The rights, remedies, powers and privileges herein provided, and
provided under each other Loan Document, are cumulative and not exclusive of any rights,
remedies, powers and privileges provided by Law.

          SECTION 12.10        Judgment Currency. If, for the purposes of obtaining judgment in
any court, it is necessary to convert a sum due hereunder or any other Loan Document in one
currency into another currency, the rate of exchange used shall be that at which in accordance
with normal banking procedures the Administrative Agent could purchase the first currency with
such other currency on the Business Day preceding that on which final judgment is given. The
obligation of the Borrower in respect of any such sum due from it to the Administrative Agent or
the Lenders hereunder or under the other Loan Documents shall, notwithstanding any judgment
in a currency (the “Judgment Currency”) other than that in which such sum is denominated in
accordance with the applicable provisions of this Agreement (the “Agreement Currency”), be
discharged only to the extent that on the Business Day following receipt by the Administrative
Agent of any sum adjudged to be so due in the Judgment Currency, the Administrative Agent
may in accordance with normal banking procedures purchase the Agreement Currency with the
Judgment Currency. If the amount of the Agreement Currency so purchased is less than the sum
originally due to the Administrative Agent from the Borrower in the Agreement Currency, the
Borrower agrees, as a separate obligation and notwithstanding any such judgment, to indemnify
the Administrative Agent or the Person to whom such obligation was owing against such loss. If
the amount of the Agreement Currency so purchased is greater than the sum originally due to the
Administrative Agent in such currency, the Administrative Agent agrees to return the amount of
any excess to the Borrower (or to any other Person who may be entitled thereto under applicable
Law).



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          SECTION 12.11       Binding Effect. This Agreement shall become effective when it
shall have been executed by the Borrower, Holdings and the Administrative Agent and the
Administrative Agent shall have been notified by each Lender, Swing Loan Lender and each
Issuer that each such Lender, Swing Loan Lender and Issuer has executed it and thereafter shall
be binding upon and inure to the benefit of the Borrower, Holdings, each Agent and each Lender
and their respective successors and assigns.

          SECTION 12.12      [Reserved].

          SECTION 12.13      Governing Law; Submission to Jurisdiction; Service of Process.

     (a)   THIS AGREEMENT AND EACH OTHER LOAN DOCUMENT SHALL BE
GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAW OF THE
STATE OF NEW YORK AND THE BANKRUPTCY CODE, AS APPLICABLE.

      (b)  THE BORROWER, HOLDINGS, THE ADMINISTRATIVE AGENT,
COLLATERAL AGENT, EACH CO-COLLATERAL AGENT, AND EACH LENDER EACH
IRREVOCABLY AND UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS
PROPERTY, TO THE EXCLUSIVE JURISDICTION OF THE BANKRUPTCY COURT,
AND, TO THE EXTENT THE BANKRUPTCY COURT DECLINES OR IS OTHERWISE
UNABLE TO EXERCISE JURISDICTION, THE COURTS OF THE STATE OF NEW YORK
SITTING IN NEW YORK CITY IN THE BOROUGH OF MANHATTAN AND OF THE
UNITED STATES DISTRICT COURT OF THE SOUTHERN DISTRICT OF NEW YORK,
AND ANY APPELLATE COURT FROM ANY THEREOF, IN ANY ACTION OR
PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY
OTHER LOAN DOCUMENT, OR FOR RECOGNITION OR ENFORCEMENT OF ANY
JUDGMENT, AND EACH OF THE PARTIES HERETO IRREVOCABLY AND
UNCONDITIONALLY AGREES THAT ALL CLAIMS IN RESPECT OF ANY SUCH
ACTION OR PROCEEDING MAY BE HEARD AND DETERMINED IN SUCH NEW YORK
STATE COURT OR, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, IN
SUCH FEDERAL COURT. EACH OF THE PARTIES HERETO AGREES THAT A FINAL
JUDGMENT IN ANY SUCH ACTION OR PROCEEDING SHALL BE CONCLUSIVE AND
MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE JUDGMENT OR IN
ANY OTHER MANNER PROVIDED BY LAW. EACH PARTY HERETO AGREES THAT
THE AGENTS AND LENDERS RETAIN THE RIGHT TO SERVE PROCESS IN ANY
OTHER MANNER PERMITTED BY LAW OR TO BRING PROCEEDINGS AGAINST ANY
LOAN PARTY OR ITS PROPERTIES IN THE COURTS OF ANY OTHER JURISDICTION
IN CONNECTION WITH THE LOAN DOCUMENTS OR IN THE EXERCISE OF ANY
RIGHTS UNDER ANY COLLATERAL DOCUMENT OR THE ENFORCEMENT OF ANY
JUDGMENT. NOTHING CONTAINED HEREIN SHALL BE DEEMED TO CONSTITUTE A
LENDER’S CONSENT TO JURISDICTION OF THE BANKRUPTCY COURT FOR ANY
PURPOSES OTHER THAN THE ENFORCEMENT OF THIS AGREEMENT AND THE
ORDERS. NOTHING CONTAINED HEREIN SHALL BE DEEMED CONSENT TO
JURISDICTION BEFORE ANY BANKRUPTCY COURT IN THE CASES.

     (c) THE BORROWER, HOLDINGS, THE ADMINISTRATIVE AGENT,
COLLATERAL AGENT, EACH CO-COLLATERAL AGENT, AND EACH LENDER EACH

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IRREVOCABLY AND UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY OBJECTION THAT IT MAY NOW OR
HEREAFTER HAVE TO THE LAYING OF VENUE OF ANY ACTION OR PROCEEDING
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN
DOCUMENT IN ANY COURT REFERRED TO IN PARAGRAPH (b) OF THIS SECTION.
EACH OF THE PARTIES HERETO HEREBY IRREVOCABLY WAIVES, TO THE
FULLEST EXTENT PERMITTED BY APPLICABLE LAW, THE DEFENSE OF AN
INCONVENIENT FORUM TO THE MAINTENANCE OF SUCH ACTION OR
PROCEEDING IN ANY SUCH COURT.

      (d)  EACH PARTY HERETO IRREVOCABLY CONSENTS TO SERVICE OF
PROCESS IN THE MANNER PROVIDED FOR NOTICES IN SECTION 12.8. NOTHING IN
THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY PARTY HERETO TO SERVE
PROCESS IN ANY OTHER MANNER PERMITTED BY APPLICABLE LAW.

          SECTION 12.14       Waiver of Jury Trial.

     EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULLEST
EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL
BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT
OF OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT OR
THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY (WHETHER BASED
ON CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY HERETO (A)
CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER
PERSON HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER
PERSON WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT AND THE OTHER
PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT AND
THE OTHER LOAN DOCUMENTS BY, AMONG OTHER THINGS, THE MUTUAL
WAIVERS AND CERTIFICATIONS IN THIS SECTION.

          SECTION 12.15       Marshaling; Payments Set Aside.

        None of the Administrative Agent, the Collateral Agent, any Lender or any Issuer shall
be under any obligation to marshal any assets in favor of the Loan Parties or any other party or
against or in payment of any or all of the Obligations. To the extent that any payment by or on
behalf of the Borrower is made to any Agent or any Lender, or any Agent or any Lender
exercises its right of set-off, and such payment or the proceeds of such set-off or any part thereof
is subsequently invalidated, declared to be fraudulent or preferential, set aside or required
(including pursuant to any settlement entered into by such Agent or such Lender in its discretion)
to be repaid to a trustee, receiver or any other party, in connection with any proceeding under
any Debtor Relief Law or otherwise, then (a) to the extent of such recovery, the obligation or
part thereof originally intended to be satisfied shall be revived and continued in full force and
effect as if such payment had not been made or such set-off had not occurred, and (b) each
Lender severally agrees to pay to the Administrative Agent upon demand its applicable share of
any amount so recovered from or repaid by any Agent, plus interest thereon from the date of


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such demand to the date such payment is made at a rate per annum equal to the applicable
Overnight Rate from time to time in effect.

          SECTION 12.16        [Reserved].

          SECTION 12.17        Counterparts; Integration; Effectiveness.

        This Agreement may be executed in counterparts (and by different parties hereto in
different counterparts), each of which shall constitute an original, but all of which when taken
together shall constitute a single contract. This Agreement and the other Loan Documents
constitute the entire contract among the parties relating to the subject matter hereof and
supersede any and all previous agreements and understandings, oral or written, relating to the
subject matter hereof. The Credit Agreement became effective on the Closing Date. Delivery of
an executed counterpart of a signature page of this Agreement by telecopy or other electronic
imaging means shall be effective as delivery of a manually executed counterpart of this
Agreement.

       SECTION 12.18           Electronic    Execution   of   Assignments     and   Certain    Other
  Documents.

        Delivery by telecopier, .pdf, or other electronic imaging means of an executed
counterpart of a signature page to this Agreement and each other Loan Document shall be
effective as delivery of an original executed counterpart of this Agreement and such other Loan
Document. The words “execution,” “signed,” “signature,” and words of like import in any
Assignment and Assumption or in any amendment or other modification hereof (including
waivers and consents) shall be deemed to include electronic signatures or the keeping of records
in electronic form, each of which shall be of the same legal effect, validity or enforceability as a
manually executed signature or the use of a paper-based recordkeeping system, as the case may
be, to the extent and as provided for in any applicable law, including the Federal Electronic
Signatures in Global and National Commerce Act, the New York State Electronic Signatures and
Records Act, or any other similar state laws based on the Uniform Electronic Transactions Act.

          SECTION 12.19        Confidentiality.

        Each of the Administrative Agent, the Collateral Agent, each Co-Collateral Agent, the
Lenders and the Issuers agrees to maintain the confidentiality of the Information in accordance
with its customary procedures (as set forth below), except that Information may be disclosed (a)
to its Affiliates and to its and its Affiliates’ respective partners, directors, officers, employees,
agents, trustees, advisors, service providers, and representatives (it being understood that the
Persons to whom such disclosure is made will be informed of the confidential nature of such
Information and instructed to keep such Information confidential), (b) to the extent requested by
any regulatory authority purporting to have jurisdiction over it (including any self-regulatory
authority, such as the National Association of Insurance Commissioners), (c) to the extent
required by applicable laws or regulations or by any subpoena or similar legal process, provided
that the Administrative Agent or such Lender, as applicable, agrees that it will notify the
Borrower as soon as practicable in the event of any such disclosure by such Person (other than at
the request of a regulatory authority) unless such notification is prohibited by law, rule or

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regulation, (d) to any other party hereto, (e) in connection with the exercise of any remedies
hereunder or under any other Loan Document or any action or proceeding relating to this
Agreement or any other Loan Document or the enforcement of rights hereunder or thereunder,
(f) subject to an agreement containing provisions at least as restrictive as those of this Section
12.19, to (i) any assignee of or Participant in, or any prospective assignee of or Participant in,
any of its rights or obligations under this Agreement (including any Relevant Participant) or (ii)
any actual or prospective direct or indirect counterparty (or its advisors) to any swap or
derivative transaction relating to the Borrower and its obligations, (g) with the consent of the
Borrower; (h) to any rating agency when required by it on a customary basis and after
consultation with the Borrower (it being understood that, prior to any such disclosure, such rating
agency shall undertake to preserve the confidentiality of any Information relating to the Loan
Parties received by it from such Lender); or (i) to the extent such Information (i) becomes
publicly available other than as a result of a breach of this Section or (ii) becomes available to
the Administrative Agent, any Issuer, any Lender, or any of their respective Affiliates on a
nonconfidential basis from a source other than Holdings, the Borrower or any Subsidiary thereof,
and which source is not known by such Agent or Lender to be subject to a confidentiality
restriction in respect thereof in favor of the Borrower or any Affiliate of the Borrower.

        For purposes of this Section, “Information” means all information received from any
Loan Party or any Subsidiary thereof relating to any Loan Party or any Subsidiary thereof or
their respective businesses, other than any such information that is available to the
Administrative Agent or any Lender on a nonconfidential basis prior to disclosure by any Loan
Party or any Subsidiary thereof other than as a result of a breach of this Section 12.19, it being
understood that all information received from Holdings, the Borrower or any Subsidiary after the
Closing Date shall be deemed confidential unless such information is clearly identified at the
time of delivery as not being confidential. Any Person required to maintain the confidentiality of
Information as provided in this Section shall be considered to have complied with its obligation
to do so in accordance with its customary procedures if such Person has exercised the same
degree of care to maintain the confidentiality of such Information as such Person would accord
to its own confidential information.

       Each of the Administrative Agent, the Collateral Agent, each Co-Collateral Agent, and
the Lenders acknowledges that (a) the Information may include material non-public information
concerning the Borrower or a Subsidiary, as the case may be, (b) it has developed compliance
procedures regarding the use of material non-public information and (c) it will handle such
material non-public information in accordance with applicable Law, including United States
Federal and state securities Laws.

          SECTION 12.20       Use of Name, Logo, Etc.

        Except in connection with the Cases, each Loan Party consents to the publication in the
ordinary course by Administrative Agent or any Arranger of customary advertising material
relating to the financing transactions contemplated by this Agreement using such Loan Party’s
name, product photographs, logo or trademark. Such consent shall remain effective until
revoked by such Loan Party in writing to the Administrative Agent and the Arranger.

          SECTION 12.21       USA PATRIOT Act Notice.

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        Each Lender that is subject to the USA PATRIOT Act and the Administrative Agent (for
itself and not on behalf of any Lender) hereby notifies the Borrower that pursuant to the
requirements of the USA PATRIOT Act, it is required to obtain, verify and record information
that identifies each Loan Party, which information includes the name and address of each Loan
Party and other information that will allow such Lender or the Administrative Agent, as
applicable, to identify each Loan Party in accordance with the USA PATRIOT Act. The
Borrower shall, promptly following a request by the Administrative Agent or any Lender,
provide all documentation and other information that the Administrative Agent or such Lender
requests in order to comply with its ongoing obligations under applicable “know your customer”
and anti-money laundering rules and regulations, including the USA PATRIOT Act.

          SECTION 12.22       [Reserved].

          SECTION 12.23        No Advisory or Fiduciary Responsibility. In connection with all
aspects of each transaction contemplated hereby (including in connection with any amendment,
waiver or other modification hereof or of any other Loan Document), each of the Borrower and
Holdings acknowledges and agrees, and acknowledges its Affiliates’ understanding, that: (i) (A)
the arranging and other services regarding this Agreement provided by the Agents and any
Arranger are arm’s-length commercial transactions between the Borrower, Holdings and their
respective Affiliates, on the one hand, and the Agents and any Arranger, on the other hand, (B)
each of the Borrower and Holdings has consulted its own legal, accounting, regulatory and tax
advisors to the extent it has deemed appropriate, and (C) each of the Borrower and Holdings is
capable of evaluating, and understands and accepts, the terms, risks and conditions of the
transactions contemplated hereby and by the other Loan Documents; (ii) (A) the Agents, the
Arrangers and each Lender is and has been acting solely as a principal and, except as expressly
agreed in writing by the relevant parties, has not been, is not, and will not be acting as an
advisor, agent or fiduciary for the Borrower, Holdings or any of their respective Affiliates, or any
other Person and (B) none of the Agents, the Arrangers, or any Lender has any obligation to the
Borrower, Holdings or any of their respective Affiliates with respect to the transactions
contemplated hereby except those obligations expressly set forth herein and in the other Loan
Documents; and (iii) the Agents, the Arrangers, the Lender and their respective Affiliates may be
engaged in a broad range of transactions that involve interests that differ from those of the
Borrower, Holdings their respective Affiliates, and none of the Agents, the Arrangers, or any
Lender has any obligation to disclose any of such interests to the Borrower, Holdings or any of
their respective Affiliates. To the fullest extent permitted by law, each of the Borrower and
Holdings hereby waives and releases any claims that it may have against the Agents, the
Arrangers or any Lender with respect to any breach or alleged breach of agency or fiduciary duty
in connection with any aspect of any transaction contemplated hereby.

          SECTION 12.24        Severability. If any provision of this Agreement or the other Loan
Documents is held to be illegal, invalid or unenforceable, (a) the legality, validity and
enforceability of the remaining provisions of this Agreement and the other Loan Documents
shall not be affected or impaired thereby and (b) the parties shall endeavor in good faith
negotiations to replace the illegal, invalid or unenforceable provisions with valid provisions the
economic effect of which comes as close as possible to that of the illegal, invalid or
unenforceable provisions. The invalidity of a provision in a particular jurisdiction shall not
invalidate or render unenforceable such provision in any other jurisdiction. Without limiting the

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foregoing provisions of this Section 12.24, if and to the extent that the enforceability of any
provisions in this Agreement relating to Defaulting Lenders shall be limited by Debtor Relief
Laws, as determined in good faith by the Administrative Agent, the applicable Issuer or the
Swing Loan Lender, as applicable, then such provisions shall be deemed to be in effect only to
the extent not so limited.

          SECTION 12.25        Survival of Representations and Warranties. All representations
and warranties made hereunder and in any other Loan Document or other document delivered
pursuant hereto or thereto or in connection herewith or therewith shall survive the execution and
delivery hereof and thereof. Such representations and warranties have been or will be relied
upon by the Agents, each Issuer and each Lender, regardless of any investigation made by the
Agents, any Issuer or any Lender or on their behalf and notwithstanding that any Agent, any
Issuer or any Lender may have had notice or knowledge of any Default at the time of any Credit
Extension, and shall continue in full force and effect as long as any Loan or any other Obligation
hereunder shall remain unpaid or unsatisfied or any Letter of Credit shall remain outstanding
(other than (i) contingent indemnification obligations as to which no claim has been asserted and
(ii) Obligations under Secured Hedge Agreements and Cash Management Obligations).

          SECTION 12.26          Lender Action. Each Lender agrees that it shall not take or
institute any actions or proceedings, judicial or otherwise, for any right or remedy against any
Loan Party under any of the Loan Documents or the Secured Hedge Agreements (including the
exercise of any right of set-off, rights on account of any banker’s lien or similar claim or other
rights of self-help), or institute any actions or proceedings, or otherwise commence any remedial
procedures, with respect to any Collateral or any other property of any such Loan Party, without
the prior written consent of the Administrative Agent (which shall not be withheld in
contravention of Section 11.4). The provision of this Section 12.26 are for the sole benefit of the
Lenders and shall not afford any right to, or constitute a defense available to, any Loan Party.

          SECTION 12.27       Interest Rate Limitation. Notwithstanding anything to the contrary
contained in any Loan Document, the interest paid or agreed to be paid under the Loan
Documents shall not exceed the maximum rate of non usurious interest permitted by applicable
Law (the “Maximum Rate”). If any Agent or any Lender shall receive interest in an amount that
exceeds the Maximum Rate, the excess interest shall be applied to the principal of the Loans or,
if it exceeds such unpaid principal, refunded to the Borrower. In determining whether the
interest contracted for, charged, or received by an Agent or a Lender exceeds the Maximum
Rate, such Person may, to the extent permitted by applicable Law, (a) characterize any payment
that is not principal as an expense, fee, or premium rather than interest, (b) exclude voluntary
prepayments and the effects thereof, and (c) amortize, prorate, allocate, and spread in equal or
unequal parts the total amount of interest throughout the contemplated term of the Obligations
hereunder.

          SECTION 12.28       [Reserved].

          SECTION 12.29       Contractual Recognition of Bail-In.

      Notwithstanding anything to the contrary in any Loan Document or in any other
agreement, arrangement or understanding among any such parties, each party hereto

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acknowledges that any liability of any EEA Financial Institution arising under any Loan
Document, to the extent such liability is unsecured, may be subject to the write-down and
conversion powers of an EEA Resolution Authority and agrees and consents to, and
acknowledges and agrees to be bound by:

         (a)   the application of any Write-Down and Conversion Powers by an EEA Resolution
Authority to any such liabilities arising hereunder which may be payable to it by any party hereto
that is an EEA Financial Institution; and

        (b)     the effects of any Bail-in Action on any such liability, including, if applicable:

                (i)        a reduction in full or in part or cancellation of any such liability;

                (ii)    a conversion of all, or a portion of, such liability into shares or other
        instruments of ownership in such EEA Financial Institution, its parent undertaking, or a
        bridge institution that may be issued to it or otherwise conferred on it, and that such
        shares or other instruments of ownership will be accepted by it in lieu of any rights with
        respect to any such liability under this Agreement or any other Loan Document; and

                (iii) the variation of the terms of such liability in connection with the exercise
        of the write-down and conversion powers of any EEA Resolution Authority.

       [THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK.]




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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed as of the date first above written.

                                      MATTRESS FIRM, INC., as Borrower


                                      By:
                                            Name:
                                            Title:


                                      MATTRESS HOLDING CORP., as Holdings,


                                      By:
                                            Name:
                                            Title:




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                                      BARCLAYS BANK PLC, as Administrative
                                      Agent, Swing Loan Lender, Issuer and a Lender,


                                      By:
                                            Name:
                                            Title:




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                                      LENDERS


                                      [________]




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                                       ________________



                                  $100,000,000
              SENIOR SECURED SUPER-PRIORITY DEBTOR-IN-POSSESSION
                         TERM LOAN CREDIT AGREEMENT


                                      Dated as of [ ], 2018

                                             among

                                    MATTRESS FIRM, INC.,
                                       as the Borrower,



                                MATTRESS HOLDING CORP.,
                                      as Holdings,



                                   BARCLAYS BANK PLC,
                           as Administrative Agent and Collateral Agent

                                               and

                           THE OTHER LENDERS PARTY HERETO

                                       ________________


                                    BARCLAYS BANK PLC
                           as Sole Book Runner and Sole Lead Arranger




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        This SENIOR SECURED SUPER-PRIORITY DEBTOR-IN-POSSESSION TERM
LOAN CREDIT AGREEMENT (“Agreement”) is entered into as of [ ], 2018, among
MATTRESS FIRM, INC., a Delaware corporation (the “Borrower”), MATTRESS HOLDING
CORP., a Delaware corporation (“Holdings”), BARCLAYS BANK PLC, as administrative
agent (in such capacity, including any successor thereto, the “Administrative Agent”) and as
collateral agent (in such capacity, including any successor thereto, the “Collateral Agent”) under
the Loan Documents and each lender from time to time party hereto (collectively, the “Lenders”
and individually, a “Lender”).

                                    PRELIMINARY STATEMENTS

        The Borrower has entered into an ABL DIP Credit Agreement, dated as of December 22,
2017 (as amended and in effect prior to the date hereof, the “Pre-Petition Credit Agreement”),
among the Borrower, Holdings, Barclays Bank PLC, as administrative agent and as collateral
agent, Citizens Bank, N.A., as co-collateral agent, and each lender from time to time party
thereto.

       On October 4, 2018, (the “Petition Date”), each of the Loan Parties (collectively, the
“Debtors”) filed a voluntary petition for relief (collectively, the “Cases”) under Chapter 11 of the
Bankruptcy Code with the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”). The Debtors are continuing in the possession of their assets and
continuing to operate their respective businesses and manage their respective properties as
debtors and debtors in possession under Section 1107(a) and 1108 of the Bankruptcy Code;

       On the Petition Date, the Loan Parties filed a Disclosure Statement (as defined below)
and the Chapter 11 Plan (as defined below) with the Bankruptcy Court; and

        The Debtors have requested that the Lenders make available to the Borrower, [on the
date] of entry of the Interim Order, a senior secured super-priority debtor-in-possession term loan
credit facility in an aggregate principal amount at any time outstanding not to exceed
$100,000,000 on the terms and conditions set forth in this Agreement to, among other things,
fund financial needs of the Debtors during the pendency of the Cases, which shall be secured by
a second priority lien on the Collateral (as defined below). Concurrently therewith, the Debtors
will also obtain a new $150,000,000 senior secured debtor-in-possession asset based revolving
facility secured by a first priority lien on the Collateral pursuant to the DIP ABL Loan
Agreement (as defined below) (the “ABL DIP Facility”);

        In consideration of the mutual covenants and agreements herein contained, the parties
hereto covenant and agree as follows:

                                           ARTICLE I

             DEFINITIONS, INTERPRETATION AND ACCOUNTING TERMS

        SECTION 1.1 Defined Terms.



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        As used in this Agreement, the following terms have the following meanings:

        “ABL DIP Agent” means Barclays Bank PLC, in its capacity as administrative agent and
collateral agent in respect of the ABL DIP Credit Agreement, together with its successors and
assigns in such capacity.

        “ABL DIP Credit Agreement” means that certain Senior Secured Super-Priority Debtor-
In-Possession ABL DIP Credit Agreement dated as of October [•], 2018 among the Borrower,
the lenders party thereto, Barclays Bank PLC, as administrative agent and collateral agent, and
the other parties thereto, as amended and in effect from time to time in accordance with the terms
of the DIP Intercreditor Agreement or any Order and any refinancing or replacement thereof in
whole or in part (in accordance with the terms of the DIP Intercreditor Agreement and the
Orders).

        “ABL DIP Facility” has the meaning specified in the recitals to this Agreement.

      “ABL DIP Loan Documents” means the ABL DIP Credit Agreement and the other “Loan
Documents” as defined in the ABL DIP Credit Agreement, as each such document may be
amended, restated, supplemented or otherwise modified.

        “Account” has the meaning given to such term in Article 9 of the UCC.

        “Account Debtor” has the meaning given to such term in Article 9 of the UCC.

        “ACH” means automated clearing house transfers.

        “Acquired Indebtedness” means, with respect to any specified Person: (a) Indebtedness of
any other Person existing at the time such other Person is merged, consolidated or amalgamated
with or into or became a Restricted Subsidiary of such specified Person, (but excluding
Indebtedness incurred in connection with, or in contemplation of, such other Person merging,
amalgamating or consolidating with or into, or becoming a Restricted Subsidiary of, such
specified Person), and (b) Indebtedness secured by a Lien encumbering any asset acquired by
such specified Person; provided, however, that any Lien securing Acquired Indebtedness (other
than any purchase money Indebtedness with respect to real estate, equipment or other fixed
assets or any Capitalized Lease) shall be junior to the Liens on the Collateral securing the
Obligations and subject to a Customary Intercreditor Agreement.

        “Actual Cash Receipts” means the sum of all cash collections received by the Loan
Parties from operations (excluding any borrowings or other cash receipts not constituting trade
receipts) during the relevant period of determination, as determined in a manner consistent with
the Budget.

       “Actual Disbursements” means the sum of all operating disbursements, expenses and
payments made by the Loan Parties (other than transaction-related payments and professional
fees and expenses, in each case, to the extent paid on the Closing Date, and professional fees and
expenses of Gordon Brothers Retail Partners LLC (and their subcontractors)) during the relevant
period of determination, as determined in a manner consistent with the Budget.


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        “Actual Inventory Levels” means the actual aggregate inventory levels of the Loan Parties
as of the relevant date of determination which corresponds to the budgeted aggregate inventory
levels of the Loan Parties contained in the Budget under “forecast ending inventory”, as
determined in a manner consistent with the Budget.

         “Adjusted Eurocurrency Rate” means, as to any Eurocurrency Rate Loan for any Interest
Period, an interest rate per annum (rounded upwards, if necessary, to the next 1/100 of 1%) equal
to (a) the Eurocurrency Rate for such Interest Period divided by (b) one minus the Eurocurrency
Reserve Percentage.

      “Administrative Agent” has the meaning specified in the introductory paragraph to this
Agreement.

       “Administrative Agent’s Office” means the Administrative Agent’s address and, as
appropriate, account as set forth on Schedule 12.8, or such other address or account as the
Administrative Agent may from time to time notify the Borrower and the Lenders.

       “Administrative Questionnaire” means an Administrative Questionnaire in a form
supplied by the Administrative Agent.

         “Affiliate” means, with respect to any Person, another Person that directly or indirectly
through one or more intermediaries, Controls or is Controlled by or is under common Control
with the Person specified. “Control” means the possession, directly or indirectly, of the power to
direct or cause the direction of the management or policies of a Person, whether through the
ability to exercise voting power, by contract or otherwise. “Controlling” and “Controlled” have
meanings correlative thereto. For the avoidance of doubt, none of the Arrangers, nor the Agents,
nor their respective lending affiliates shall be deemed to be an Affiliate of Holdings, the
Borrower or any of their respective Subsidiaries.

        “Agent Parties” has the meaning specified in Section 12.8(d).

        “Agent-Related Distress Event” means, with respect to the Administrative Agent,
Collateral Agent or any Person that directly or indirectly Controls the Administrative Agent or
the Collateral Agent (each, a “Distressed Agent-Related Person”), a voluntary or involuntary
case with respect to such Distressed Agent-Related Person under any Debtor Relief Law, or a
custodian, conservator, receiver or similar official is appointed for such Distressed Agent-
Related Person or any substantial part of such Distressed Agent-Related Person’s assets, or such
Distressed Agent-Related Person makes a general assignment for the benefit of creditors or is
otherwise adjudicated as, or determined by any Governmental Authority having regulatory
authority over such Distressed Agent-Related Person to be, insolvent or bankrupt; provided that
an Agent-Related Distress Event shall not be deemed to have occurred solely by virtue of the
ownership or acquisition of any Equity Interests in the Administrative Agent, the Collateral
Agent or any Person that directly or indirectly Controls the Administrative Agent or the
Collateral Agent by a Governmental Authority or an instrumentality thereof.

        “Agent-Related Persons” means the Agents, together with their respective Affiliates, and
the officers, directors, employees, agents, attorney-in-fact, partners, trustees and advisors of such
Persons and of such Persons’ Affiliates.
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      “Agents” means, collectively, the Administrative Agent, the Collateral Agent, the
Supplemental Administrative Agents (if any), and the Arrangers.

        “Aggregate Commitments” means the Term Loan Commitments of all the Lenders.

       “Agreement” means this Credit Agreement, as amended, restated, modified or
supplemented from time to time in accordance with the terms hereof.

        “Agreement Currency” has the meaning specified in Section 12.10.

       “Applicable Rate” means a percentage per annum equal to (i) for Eurocurrency Rate
Loans, 10.00% and (ii) for Base Rate Loans, 9.00%.

        “Applicable Percentage” means with respect to any Lender at any time, the percentage
(carried out to the ninth decimal place) of the Aggregate Commitments represented by such
Lender’s Term Loan Commitment at such time, subject to adjustment as provided in Section
2.16. If the commitment of each Lender to make Loans has been terminated pursuant to Section
10.2 or if the Aggregate Commitments have expired, then the Applicable Percentage of each
Lender shall be determined based on the Applicable Percentage of such Lender most recently in
effect, giving effect to any subsequent assignments. The initial Applicable Percentage of each
Lender is set forth opposite the name of such Lender on Schedule I or in the Assignment and
Assumption pursuant to which such Lender becomes a party hereto, as applicable.

      “Appropriate Lender” means, at any time, with respect to Loans of any Class, the
Lenders of such Class.

      “Approved Account Bank” means a financial institution at which the Borrower or a
Guarantor maintains an Approved Deposit Account.

        “Approved Bank” means any commercial bank that is organized under the Laws of the
United States, any state thereof, the District of Columbia or any member nation of the
Organization for Economic Cooperation and Development or is the principal banking Subsidiary
of a bank holding company organized under the Laws of the United States, any state thereof, the
District of Columbia or any member nation of the Organization for Economic Cooperation and
Development, is a member of the Federal Reserve System and has combined capital and surplus
of not less than $500,000,000 in the case of U.S. domestic banks and $100,000,000 (or the Dollar
equivalent as of the date of determination) in the case of non-U.S. banks.

        “Approved Deposit Account” means each Deposit Account that is subject to the control of
the Administrative Agent pursuant to the Cash Management Order or Orders, as applicable, and
that is maintained by any Loan Party with a financial institution approved by the Administrative
Agent and the Collateral Agent.

        “Approved Fund” means, with respect to any Lender, any Fund that is administered,
advised or managed by (a) such Lender, (b) an Affiliate of such Lender or (c) an entity or an
Affiliate of an entity that administers, advises or manages such Lender.



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       “Approved Securities Account” means each Securities Account that is subject to the
control of the Administrative Agent pursuant to the Cash Management Order or Orders, as
applicable, and that is maintained by the Borrower or any Subsidiary Guarantor with a securities
intermediary or commodity intermediary approved by the Administrative Agent and the
Collateral Agent.

      “Approved Securities Intermediary” means a securities intermediary at which the
Borrower or a Subsidiary Guarantor maintains an Approved Securities Account.

       “Arranger” means Barclays Bank PLC, in its capacity as sole bookrunner and sole lead
arranger under this Agreement.

       “Assignee Group” means two or more Eligible Assignees that are Affiliates of one
another or two or more Approved Funds managed by the same investment advisor.

       “Assignment and Assumption” means an Assignment and Assumption substantially in the
form of Exhibit A or any other form approved by the Administrative Agent.

       “Attorney Costs” means all reasonable and documented or invoiced, fees, costs, expenses
and disbursements of any law firm or other external legal counsel.

       “Attributable Indebtedness” means, subject to the second paragraph of Section 1.3, on
any date, in respect of any Capitalized Lease of any Person, the capitalized amount thereof that
would appear on a balance sheet of such Person prepared as of such date in accordance with
IFRS.

        “Avoidance Action” means any cause of action under chapter 5 of the Bankruptcy Code.

       “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
applicable EEA Resolution Authority in respect of any liability of an EEA Financial Institution.

        “Bail-In Legislation” means, with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the
European Union, the implementing law for such EEA Member Country from time to time which
is described in the EU Bail-In Legislation Schedule.

       “Bankruptcy Code” means Title 11, U.S.C., as now or hereafter in effect, or any
successor thereto.

        “Bankruptcy Court” has the meaning specified in the recitals hereto.

       “Barclays” means Barclays Bank PLC, acting in its individual capacity, and its
successors and assigns.

       “Base Rate” means the rate of interest last quoted by The Wall Street Journal as the
“Prime Rate” in the U.S. or, if The Wall Street Journal ceases to quote such rate, the highest per
annum interest rate published by the Federal Reserve Board in Federal Reserve Statistical
Release H.15 (519) (Selected Interest Rates) as the “bank prime loan” rate or, if such rate is no

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longer quoted therein, any similar rate quoted therein (as determined by the Administrative
Agent) or any similar release by the Federal Reserve Board (as determined by the Administrative
Agent).

        “Base Rate Loan” means a Loan that bears interest based on the Base Rate.

       “Basel III” means, collectively, those certain agreements on capital requirements,
leverage ratios and liquidity standards contained in “Basel III: A Global Regulatory Framework
for More Resilient Banks and Banking Systems,” “Basel III: International Framework for
Liquidity Risk Measurement, Standards and Monitoring,” and “Guidance for National
Authorities Operating the Countercyclical Capital Buffer,” each as published by the Basel
Committee on Banking Supervision in December 2010 (as revised from time to time).

        “Board of Directors” means, for any Person, the board of directors or other governing
body of such Person or, if such Person does not have such a board of directors or other governing
body and is owned or managed by a single entity, the Board of Directors of such entity, or, in
either case, any committee thereof duly authorized to act on behalf of such Board of Directors.
Unless otherwise provided, “Board of Directors” means the Board of Directors of the Borrower.

        “Borrower” has the meaning specified in the introductory paragraph to this Agreement.

        “Borrower Materials” has the meaning specified in Section 7.2.

       “Borrowing” means a borrowing consisting of Loans of the same Class and Type made,
converted or continued on the same date and, in the case of Eurocurrency Rate Loans, having the
same Interest Period.

      “Borrowing Base” has the meaning assigned to such term in the ABL DIP Credit
Agreement.

        “Budget” means the financial projections for the Loan Parties covering the thirteen-week
period on a weekly basis (i.e., Saturday to Friday) (but with the first period therein commencing
on the Petition Date through October 5, 2018 and weekly thereafter), substantially in the form of
the initial Budget annexed hereto as Schedule 5.16. Such Budget may be amended, modified or
otherwise updated from time to time by the Borrower, including pursuant to the requirements of
Section 7.1(g), as approved by the Administrative Agent and the Collateral Agent in their sole
and absolute discretion; provided, that upon the receipt of any such proposed updates, the
Administrative Agent and Collateral Agent shall notify the Borrower in writing within 3
Business Days of receipt thereof if such updates are unacceptable and if no such written notice is
provided, then the updated budget so delivered shall thereafter constitute the Budget for all
purposes hereunder.

       “Budgeted Cash Receipts” means the sum of the line items contained in the Budget
labeled “total operating receipts: trading receipts” during the relevant period of determination.

       “Budgeted Disbursements” means the sum of the line items contained in the Budget
labeled “total operating disbursements” and “professional fees” during the relevant period of
determination.

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        “Budgeted Inventory Levels” means the budgeted aggregate inventory levels of the Loan
Parties contained in the “forecast ending inventory” portion of the Budget opposite the heading
“Ending Inventory” as of the relevant date of determination.

        “Business Day” means any day other than a Saturday, Sunday or other day on which
commercial banks are authorized to close under the Laws of, or are in fact closed in, in New
York City, New York and if such day relates to any interest rate settings as to a Eurocurrency
Rate Loan, any fundings, disbursements, settlements and payments in respect of any such
Eurocurrency Rate Loan, or any other dealings to be carried out pursuant to this Agreement in
respect of any such Eurocurrency Rate Loan, means any such day on which dealings in deposits
in Dollars are conducted by and between banks in the London interbank eurocurrency market.

        “Canadian Dollars” means Canadian dollars, the lawful currency of Canada.

       “Capitalized Lease Obligation” means, subject to the second paragraph of Section 1.3, at
the time any determination thereof is to be made, the amount of the liability in respect of a
Capitalized Lease that would at such time be required to be capitalized and reflected as a liability
on a balance sheet (excluding the footnotes thereto) prepared in accordance with IFRS.

        “Capitalized Leases” means, subject to the second paragraph of Section 1.3, all leases
that have been or are required to be, in accordance with IFRS, recorded as capitalized leases;
provided that for all purposes hereunder the amount of obligations under any Capitalized Lease
shall be the amount thereof accounted for as a liability in accordance with IFRS.

       “Carve Out” has the meaning assigned to such term in the Interim Order or the Final
Order, as applicable.

        “Cases” has the meaning specified in the recitals hereto.

       “Cash Equivalents” means any of the following types of Investments, to the extent owned
by the Borrower or any Restricted Subsidiary:

                (a)        Dollars, pounds sterling, yen, Euros or Canadian Dollars;

                (b)     in the case of any Foreign Subsidiary that is a Restricted Subsidiary or any
        jurisdiction in which the Borrower or its Restricted Subsidiaries conducts business, such
        local currencies held by it from time to time in the Ordinary Course of Business and not
        for speculation;

                (c)     readily marketable direct obligations issued or directly and fully and
        unconditionally guaranteed or insured by the United States government or any agency or
        instrumentality thereof the securities of which are unconditionally guaranteed as a full
        faith and credit obligation of such government with maturities of 12 months or less from
        the date of acquisition;

               (d)     certificates of deposit, time deposits and eurocurrency time deposits with
        maturities of 12 months or less from the date of acquisition, demand deposits, bankers’


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        acceptances with maturities not exceeding 24 months and overnight bank deposits, in
        each case with any Approved Bank;

               (e)     repurchase obligations for underlying securities of the types described in
        clauses (c) and (d) above or clause (g) below entered into with any Approved Bank;

                (f)    commercial paper rated at least P-2 by Moody’s or at least A-2 by S&P
        (or, if at any time neither Moody’s nor S&P shall be rating such obligations, an
        equivalent rating from another nationally recognized statistical rating agency) and in each
        case maturing within 12 months after the date of acquisition thereof;

               (g)     marketable short-term money market and similar highly liquid funds
        having a rating of at least P-2 or A-2 from either Moody’s or S&P, respectively (or, if at
        any time neither Moody’s nor S&P shall be rating such obligations, an equivalent rating
        from another nationally recognized statistical rating agency);

                 (h)     readily marketable direct obligations issued by any state, commonwealth
        or territory of the United States or any political subdivision or taxing authority thereof, in
        each case having an Investment Grade Rating from either Moody’s or S&P (or, if at any
        time neither Moody’s nor S&P shall be rating such obligations, an equivalent rating from
        another nationally recognized statistical rating agency) with maturities of 12 months or
        less from the date of acquisition;

                (i)    Investments with average maturities of 12 months or less from the date of
        acquisition in money market funds rated AAA- (or the equivalent thereof) or better by
        S&P or Aaa3 (or the equivalent thereof) or better by Moody’s (or, if at any time neither
        Moody’s nor S&P shall be rating such obligations, an equivalent rating from another
        nationally recognized statistical rating agency);

               (j)     Investments, classified in accordance with IFRS as Consolidated Current
        Assets of the Borrower or any Restricted Subsidiary, in money market investment
        programs which are registered under the Investment Company Act of 1940 or which are
        administered by an Approved Bank, and, in either case, the portfolios of which are
        limited such that substantially all of such Investments are of the character, quality and
        maturity described in clauses (a) through (i) of this definition; and

                (k)    investment funds investing substantially all of their assets in securities of
        the types described in clauses (a) through (j) above.

        In the case of Investments by any Foreign Subsidiary that is a Restricted Subsidiary or
Investments made in a country outside the United States, Cash Equivalents shall also include (i)
investments of the type and maturity described in clauses (a) through (k) above of foreign
obligors, which Investments or obligors (or the parents of such obligors) have ratings described
in such clauses or equivalent ratings from comparable foreign rating agencies and (ii) other
short-term investments utilized by Foreign Subsidiaries that are Restricted Subsidiaries in
accordance with normal investment practices for cash management in investments analogous to
the foregoing investments in clauses (a) through (k) and in this paragraph.

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       Notwithstanding the foregoing, Cash Equivalents shall include amounts denominated in
currencies other than those set forth in clause (a) above, provided that such amounts are
converted into Dollars as promptly as practicable and in any event within ten (10) Business Days
following the receipt of such amounts.

        “Cash Management Order” means an order of the Bankruptcy Court, in form and
substance satisfactory to the Administrative Agent and the Collateral Agent, among other things,
(i) approving and authorizing the Debtors to use existing cash management systems, (ii)
authorizing and directing banks and financial institutions to honor and process checks and
transfers, (iii) authorizing continued use of intercompany transactions, (iv) waiving requirements
of Section 345(b) of the Bankruptcy Code and (v) authorizing the Debtors to use existing bank
accounts and existing business forms.

       “CFC” means a “controlled foreign corporation” within the meaning of Section 957 of
the Code.

        “CFC Holdco” means any Domestic Subsidiary that has no material assets other than,
directly or indirectly, equity interests (or equity interests and indebtedness) of one or more
Foreign Subsidiaries that are CFCs or any other Domestic Subsidiary that itself is a CFC Holdco.

        “Change in Law” means the occurrence after the date of this Agreement (a) the adoption
or taking effect of any law, rule, regulation or treaty, (b) any change in any law, rule, regulation
or treaty or in the administration, interpretation or application thereof by any Governmental
Authority or (c) the making or issuance of any request, rules, guideline, requirement or directive
(whether or not having the force of law) by any Governmental Authority; provided however, that
notwithstanding anything herein to the contrary (i) the Dodd-Frank Wall Street Reform and
Consumer Protection Act and all requests, rules, guidelines, requirements and directives
thereunder, issued in connection therewith or in implementation thereof and (ii) all requests,
rules, guidelines, requirements and directives promulgated by the Bank for International
Settlements, the Basel Committee on Banking Supervision (or any successor or similar authority)
or the United States or foreign regulatory authorities, in each case pursuant to Basel III, shall in
each case arising under clauses (i) or (ii) be deemed to be a “Change in Law”, regardless of the
date enacted, adopted or issued.

        “Change of Control” means the earliest to occur of:

        (a)    Steinhoff Parent ceases to own and control, directly or indirectly, more than
        50.1% of the aggregate ordinary voting power represented by the issued and outstanding
        Equity Interests of Parent;

        (b)     Holdings ceases to be an indirect wholly owned Subsidiary of Parent; or

        (c)     the Borrower ceases to be a direct wholly owned Subsidiary of Holdings; or

        (d)   the occurrence of a Change of Control (as defined in the DIP ABL Loan
        Agreement) shall have occurred.



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       “Chapter 11 Plan” shall have the meaning specified in Section 8.16(b), which Chapter
11 Plan shall not be modified or amended without the consent of the Administrative Agent and
the Collateral Agent in their sole discretion.

        “Citizens” means Citizens Bank, N.A.

       “Class” means (i) with respect to Commitments or Loans, those of such Commitments or
Loans that have the same terms and conditions (without regard to differences in the Type of
Loan, Interest Period, upfront fees, OID or similar fees paid or payable in connection with such
Commitments or Loans, or differences in tax treatment (e.g., “fungibility”)) and (ii) with respect
to Lenders, those of such Lenders that have Commitments or Loans of a particular Class.

        “Closing Date” means the first date on which all the conditions precedent in Section 4.1
are satisfied or waived in accordance with Section 12.1, which date is [ ], 2018.

        “Code” means the U.S. Internal Revenue Code of 1986, as amended from time to time.

        “Collateral” means substantially all property and assets of the Loan Parties, including (a)
all the “Collateral” (or equivalent term or words of similar intent) as defined in any Collateral
Document and shall include the Mortgaged Properties and (b) the [“DIP Collateral”] referred to
in any Orders, it being understood that “Collateral” shall include all such “DIP Collateral”
irrespective of whether any such property was excluded pursuant to the Pre-Petition Loan
Documents.

      “Collateral Agent” has the meaning specified in the introductory paragraph to this
Agreement.

        “Collateral Access Agreement” means an agreement reasonably satisfactory in form and
substance to the Administrative Agent and the Collateral Agent executed by, as the case may be,
(a) a bailee or other Person in possession of Collateral, and (b) any landlord of any premises
leased by any Loan Party, pursuant to which such Person (i) acknowledges the Collateral
Agent’s Lien on the Collateral, (ii) releases or subordinates such Person’s Liens in the Collateral
held by such Person or located on such premises, (iii) agrees to provide the Collateral Agent with
access to the Collateral held by such bailee or other Person or located in or on such premises for
the purpose of conducting field examinations, appraisals or Liquidation and (iv) makes such
other agreements with the Collateral Agent as the Administrative Agent and the Collateral Agent
may reasonably require.

        “Collateral and Guarantee Requirement” means, at any time, the requirement that:

                (a)    the Collateral Agent shall have received each Collateral Document
        required to be delivered on the Closing Date pursuant to Section 4.1(a)(iii) or pursuant to
        Section 8.11, Section 8.12 or Section 8.13 at such time, subject, in each case, to the
        limitations and exceptions of this Agreement and the Collateral Documents and any
        Order, duly executed by each Loan Party thereto;

                (b)   the Bankruptcy Court shall have entered an Order granting the super-
        priority claim and the liens in the Collateral and other rights and protections

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        contemplated hereby and customary for debtor in possession financings and authorizing
        the Loans, which order (i) shall be in full force and effect and shall not have been, in
        whole or in part, vacated, reversed, stayed, or set aside and (ii) shall not have been
        modified or amended without the consent of the Administrative Agent, such consent not
        to be unreasonably withheld, delayed, denied or conditioned;

                (c)    all Obligations shall have been unconditionally guaranteed by (i) Holdings
        and each Restricted Subsidiary of the Borrower that is a wholly owned Material
        Domestic Subsidiary and not an Excluded Subsidiary including those Subsidiaries that
        are listed on Schedule II hereto (each, a “Guarantor”) and (ii) any Subsidiary of the
        Borrower that Guarantees any Indebtedness incurred by the Borrower pursuant to any
        Junior Financing shall be a Guarantor hereunder;

                (d)    subject to the DIP Intercreditor Agreement, the Obligations and the
        Guaranty shall have been secured by a second-priority security interest (subject to Liens
        permitted by Section 9.1) in (i) all the Equity Interests of the Borrower, (ii) all Equity
        Interests of each Restricted Subsidiary that is a Domestic Subsidiary (other than a
        Restricted Subsidiary described in the following clause (iii)(A)) that is directly owned by
        the Borrower or any Subsidiary Guarantor and (iii) 65% of the issued and outstanding
        Equity Interests directly owned by the Borrower or by any Subsidiary Guarantor of (A)
        each Restricted Subsidiary that is a CFC Holdco and (B) each Restricted Subsidiary that
        is a CFC;

                (e)     except to the extent otherwise provided hereunder, including subject to
        Liens permitted by Section 9.1, or under any Collateral Document or any Order, the
        Obligations and the Guaranty shall have been secured by a perfected second-priority
        security interest in substantially all tangible and intangible property of the Borrower and
        each Guarantor (including accounts, deposit accounts, Inventory, equipment, investment
        property, contract rights, applications and registrations of intellectual property filed in the
        United States, other general intangibles, and proceeds of the foregoing), in each case,
        with the priority required by the Collateral Documents or any Order, in each case subject
        to exceptions and limitations otherwise set forth in this Agreement and the Collateral
        Documents or any Order; and

                (f)        [reserved].

        The foregoing definition and/or any other provision of this Agreement shall not require
(i) the creation or perfection of pledges of or security interests in, or the obtaining of title
insurance, surveys, abstracts or appraisals or taking other actions with respect to any Excluded
Assets, (ii) any Loan Party to provide Mortgages, obtain title insurance, surveys, abstracts or
appraisals or take any other action with respect to any fee-owned or leased real property of any
Loan Party, and/or (iii) any Loan Party to obtain a Lien Acknowledgement Agreement.

        The Collateral Agent may grant extensions of time for the perfection of security interests
in or the obtaining of title insurance and surveys with respect to particular assets (including
extensions beyond the Closing Date for the perfection of security interests in the assets of the
Loan Parties on such date) where it reasonably determines, in consultation with the Borrower,

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that perfection cannot be accomplished without undue effort or expense by the time or times at
which it would otherwise be required by this Agreement or the Collateral Documents.

        No actions in any non-U.S. jurisdiction or required by the Laws of any non-U.S.
jurisdiction shall be required in order to create any security interests in assets located or titled
outside of the U.S. or to perfect such security interests, including any intellectual property
registered in any non-U.S. jurisdiction (it being understood that there shall be no security
agreements or pledge agreements governed under the Laws of any non-U.S. jurisdiction).

        “Collateral Documents” means, collectively, the Security Agreement, the Intellectual
Property Security Agreements, each of the collateral assignments, Security Agreement
Supplements, security agreements, pledge agreements or other similar agreements delivered to
the Agents and the Lenders pursuant to Section 4.1(a)(iv), Section 8.11, Section 8.12 or Section
8.13, the Guaranty, each Lien Acknowledgment Agreement and each of the other agreements,
instruments or documents that creates or purports to create a Lien or Guarantee in favor of the
Collateral Agent for the benefit of the Secured Parties.

      “Commitment Letter” means the Commitment Letter dated as of October [4], 2018,
among Barclays Bank PLC, Citizens Bank, N.A. and Borrower.

        “Committee Professionals” has the meaning specified in the definition of “Carve Out”.

        “Compliance Certificate” means a certificate substantially in the form of Exhibit O and
which certificate shall in any event be a certificate of the chief financial officer, chief accounting
officer or other Responsible Officer of the Borrower with equivalent duties with financial
reporting responsibilities (a) certifying as to whether a Default has occurred and is continuing
and, if applicable, specifying the details thereof and any action taken or proposed to be taken
with respect thereto, and (b) setting forth a reasonably detailed calculation of Excess Availability
as of the last day of the most recently completed Test Period.

        “Consolidated Total Debt” means, as of any date of determination, the aggregate
principal amount of Indebtedness of the Borrower and the Restricted Subsidiaries outstanding on
such date, in an amount that would be reflected on a balance sheet prepared as of such date on a
consolidated basis in accordance with IFRS (but excluding the effects of any discounting of
Indebtedness resulting from the application of acquisition accounting in connection with the
Transaction, any Permitted Acquisition or any other Investment permitted hereunder), consisting
of Indebtedness for borrowed money, Attributable Indebtedness, and all Guarantees of
Indebtedness of such type that is owed by a Person that is not the Borrower or a Restricted
Subsidiary; provided that Consolidated Total Debt shall not include Indebtedness in respect of (i)
any letter of credit, except to the extent of unreimbursed obligations in respect of drawn letters of
credit (provided that any unreimbursed amount under commercial letters of credit shall not be
counted as Consolidated Total Debt until three (3) Business Days after such amount is drawn (it
being understood that any borrowing, whether automatic or otherwise, to fund such
reimbursement shall be counted)) and (ii) obligations under Swap Contracts.




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        “Contractual Obligation” means, as to any Person, any provision of any security issued
by such Person or of any agreement, instrument or other undertaking to which such Person is a
party or by which it or any of its property is bound.

        “Credit Card Agreements” means all agreements now or hereafter entered into by the
Borrower or any Guarantor for the benefit of the Borrower or a Subsidiary Guarantor, in each
case with any Credit Card Issuer or any Credit Card Processor, as the same now exist or may
hereafter be amended, modified, supplemented, extended, renewed, restated or replaced,
including, but not limited to, the agreements set forth on Schedule 1.1E hereto.

        “Credit Card Issuer” means any Person (other than the Borrower or a Guarantor) who
issues or whose members issue credit cards, including MasterCard or VISA bank credit or debit
cards or other bank credit or debit cards issued through MasterCard International, Inc., Visa,
U.S.A., Inc. or Visa International and American Express, Discover, Diners Club, Carte Blanche
and other non bank credit or debit cards, including credit or debit cards issued by or through
American Express Travel Related Services Company, Inc., Novus Services, Inc. and the Mattress
Firm Card.

        “Credit Card Processor” means any servicing or processing agent or any factor or
financial intermediary, in each case, other than a Credit Card Issuer, who facilitates, services,
processes or manages the credit authorization, billing transfer and/or payment procedures with
respect to the Borrower’s or any Guarantor’s sales transactions involving credit card or debit
card purchases by customers using credit cards or debit cards issued by any Credit Card Issuer.

        “Cure Amount” has the meaning specified in Section 10.4(b).

        “Customary Intercreditor Agreement” means an intercreditor agreement executed in
connection with the incurrence of Indebtedness secured by Liens on the Collateral which are
intended to rank junior to the Liens on the Collateral securing the Obligations, in form and
substance reasonably acceptable to the Administrative Agent and the Collateral Agent which
agreement shall provide that the Liens on the Collateral securing such Indebtedness shall rank
junior to the Liens on the Collateral securing the Obligations.

        “Customs Broker Agreement” means an agreement in substantially the form attached
hereto as Exhibit Q (or such other form as may be reasonably satisfactory to the Administrative
Agent and the Collateral Agent) among a Loan Party, a customs broker, freight forwarder or
other carrier, and the Collateral Agent, in which the customs broker, freight forwarder or other
carrier acknowledges that it has control over and holds the documents evidencing ownership of,
or other shipping documents relating to, the subject Inventory or other property for the benefit of
the Collateral Agent, and agrees, upon notice from the Collateral Agent (which notice shall be
delivered only upon the occurrence and during the continuance of an Event of Default), to hold
and dispose of the subject Inventory and other property solely as directed by the Collateral
Agent.

        “Debtor Professionals” has the meaning specified in the definition of “Carve Out”.

        “Debtor Relief Laws” means the Bankruptcy Code of the United States, and all other
liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium,
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rearrangement, receivership, insolvency, reorganization, or similar debtor relief Laws of the
United States or other applicable jurisdictions from time to time in effect and affecting the rights
of creditors generally.

        “Debtors” has the meaning specified in the recitals hereto.

        “Default” means any event or condition that constitutes an Event of Default or that, with
the giving of any notice, the passage of time, or both, would be an Event of Default.

        “Default Rate” means an interest rate equal to (a) the Base Rate plus (b) the Applicable
Rate applicable to Base Rate Loans plus (c) 2.0% per annum; provided that with respect to the
outstanding principal amount of any Loan, the Default Rate shall be an interest rate equal to the
interest rate (including any Applicable Rate) otherwise applicable to such Loan (giving effect to
Section 2.11) plus 2.0% per annum, in each case, to the fullest extent permitted by applicable
Laws.

       “Deposit Account” means any checking or other demand deposit account maintained by
the Loan Parties, including any “deposit accounts” under Article 9 of the UCC. All funds in
such Deposit Accounts shall be conclusively presumed to be Collateral and proceeds of
Collateral and the Agent and the Lenders shall have no duty to inquire as to the source of the
amounts on deposit in the Deposit Accounts, subject to the Security Agreement.

        “DIP Intercreditor Agreement” means that certain DIP Intercreditor Agreement dated as
of [ ], 2018 by and between the ABL DIP Agent and the Administrative Agent, as amended and
in effect from time to time.

        “DIP Superpriority Claim” means the allowed superpriority administrative expense claim
granted to the Loan Parties in the Cases and any Successor Cases pursuant to Section 364(c)(1)
of the Bankruptcy Code for all of the Obligations with priority over any and all Cases and any
Successor Cases, at any time existing or arising, of any kind or nature whatsoever, including
administrative expenses of the kinds specified in or ordered pursuant to Sections 105, 326, 328,
330, 331, 365, 503(a), 503(b), 507(a), 507(b) (except as set forth in the Orders), 546(c), 546(d),
726, 1113, and 1114 of the Bankruptcy Code, and any other provision of the Bankruptcy Code,
which shall at all times be senior to the rights of the Debtors and their estates, and any successor
trustee or other estate representative; provided, however, that the DIP Superpriority Claim shall
not have recourse to any Avoidance Actions or the proceeds thereof subject to entry of the Final
Order provided, further, that the DIP Superpriority Claim shall be subject to the Carve Out.

       “Disclosure Statement” shall have the meaning specified in Section 8.16(b), which
Disclosure Statement shall not be modified or amended without the consent of the
Administrative Agent and the Collateral Agent in their sole discretion.

        “Disposition” or “Dispose” means the sale, transfer, license, lease or other disposition
(including any Sale-Leaseback and any sale or issuance of Equity Interests in a Restricted
Subsidiary) of any property by any Person, including any sale, assignment, transfer or other
disposal, with or without recourse, of any notes or accounts receivable or any rights and claims
associated therewith.

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        “Disqualified Equity Interests” means any Equity Interest that, by its terms (or by the
terms of any security or other Equity Interests into which it is convertible or for which it is
exchangeable), or upon the happening of any event or condition (a) matures or is mandatorily
redeemable (other than solely for Qualified Equity Interests), pursuant to a sinking fund
obligation or otherwise (except as a result of a change of control or asset sale so long as any
rights of the holders thereof upon the occurrence of a change of control or asset sale event shall
be subject to the prior repayment in full of the Loans and all other Obligations that are accrued
and payable at such time (other than contingent indemnification obligations as to which no claim
has been asserted), (b) is redeemable at the option of the holder thereof (other than solely for
Qualified Equity Interests and other than as a result of a change of control or asset sale so long as
any rights of the holders thereof upon the occurrence of a change of control or asset sale event
shall be subject to the prior repayment in full of the Loans and all other Obligations (other than
contingent indemnification obligations as to which no claim has been asserted), in whole or in
part, (c) provides for the scheduled payments of dividends in cash, or (d) is or becomes
convertible into or exchangeable for Indebtedness or any other Equity Interests that would
constitute Disqualified Equity Interests, in each case, prior to the date that is ninety-one (91)
days after the Latest Maturity Date at the time of issuance of such Equity Interests; provided, that
if such Equity Interests are issued pursuant to a plan for the benefit of future, current or former
employees, directors, officers, members of management or consultants of Holdings (or any direct
or indirect parent thereof), the Borrower or the Restricted Subsidiaries or by any such plan to
such employees, directors, officers, members of management or consultants, such Equity
Interests shall not constitute Disqualified Equity Interests solely because they may be permitted
to be repurchased by the Borrower or its Restricted Subsidiaries in order to satisfy applicable
statutory or regulatory obligations or as a result of such employee’s, director’s, officer’s,
management member’s or consultant’s termination of employment or service, as applicable,
death or disability.

         “Disqualified Institutions” means those Persons (the list of all such Persons, the
“Disqualified Institutions List”) that are (i) identified in writing by the Borrower to the Arrangers
prior to the Closing Date, (ii) competitors of the Borrower and its Subsidiaries (other than bona
fide fixed income investors or debt funds) that are identified in writing by the Borrower to the
Arranger from time to time or (iii) Affiliates of such Persons set forth in clauses (i) and (ii) above
(in the case of Affiliates of such Persons set forth in clause (ii) above, other than bona fide fixed
income investors or debt funds) that are either (a) identified in writing by the Borrower to the
Administrative Agent from time to time or (b) clearly identifiable on the basis of such Affiliate’s
name; provided, that, to the extent Persons are identified as Disqualified Institutions in writing
by the Borrower to the Administrative Agent after the Closing Date pursuant to clauses (ii) or
(iii)(a), the inclusion of such Persons as Disqualified Institutions shall not retroactively apply to
prior assignments or participations in respect of any Loan under this Agreement. Until the
disclosure of the identity of a Disqualified Institution to the Lenders generally by the
Administrative Agent, such Person shall not constitute a Disqualified Institution for purposes of
a sale of a participation in a Loan (as opposed to an assignment of a Loan) by a Lender.
Notwithstanding the foregoing, the Borrower, by written notice to the Administrative Agent,
may from time to time in its sole discretion remove any entity from the Disqualified Institutions
List (or otherwise modify such list to exclude any particular entity), and such entity removed or
excluded from the Disqualified Institutions List shall no longer be a Disqualified Institution for
any purpose under this Agreement or any other Loan Document.
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      “Disqualified Institutions List” has the meaning specified in the definition of
“Disqualified Institutions”.

        “Document” has the meaning set forth in Article 9 of the UCC.

        “Dollars” and “$” mean lawful money of the United States.

       “Domestic Subsidiary” means any Subsidiary that is organized under the Laws of the
United States, any state thereof or the District of Columbia.

        “EEA Financial Institution” means (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA
Resolution Authority, (b) any entity established in an EEA Member Country which is a parent of
an institution described in clause (a) of this definition, or (c) any financial institution established
in an EEA Member Country which is a subsidiary of an institution described in clauses (a) or (b)
of this definition and is subject to consolidated supervision with its parent.

       “EEA Member Country” means any of the member states of the European Union, Iceland,
Liechtenstein, and Norway.

        “EEA Resolution Authority” means any public administrative authority or any person
entrusted with public administrative authority of any EEA Member Country (including any
delegee) having responsibility for the resolution of any EEA Financial Institution.

       “Eligible Assignee” means any Person that meets the requirements to be an assignee
under Section 12.2(b)(iii) and (v) (subject to such consents, if any, as may be required under
Section 12.2(b)(ii)).

      “EMU” means the economic and monetary union as contemplated in the Treaty on
European Union.

       “EMU Legislation” means the legislative measures of the European Council for the
introduction of, changeover to or operation of a single or unified European currency.

        “Environmental Claim” means any and all administrative, regulatory or judicial actions,
suits, demands, demand letters, claims, liens, notices of noncompliance or violation,
investigations (other than internal reports prepared by any Loan Party or any of its Subsidiaries
(a) in the Ordinary Course of Business of such Person or (b) as required in connection with a
financing transaction or an acquisition or disposition of real estate) or proceedings with respect
to any Environmental Liability (hereinafter “Claims”), including (i) any and all Claims by
governmental or regulatory authorities for enforcement, cleanup, removal, response, remedial or
other actions or damages pursuant to any Environmental Law and (ii) any and all Claims by any
third party seeking damages, contribution, indemnification, cost recovery, compensation or
injunctive relief pursuant to any Environmental Law.

       “Environmental Laws” means any and all Laws relating to the protection of the
environment or, to the extent relating to exposure to Hazardous Materials, human health.


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         “Environmental Liability” means any liability, contingent or otherwise (including any
liability for damages, costs of environmental remediation, fines, penalties or indemnities) of any
Loan Party or any of its Restricted Subsidiaries directly or indirectly resulting from or based
upon (a) violation of any Environmental Law, (b) the generation, use, handling, transportation,
storage, treatment or disposal of any Hazardous Materials, (c) exposure to any Hazardous
Materials, (d) the release or threatened release of any Hazardous Materials into the environment
or (e) any contract, agreement or other consensual arrangement pursuant to which liability is
assumed or imposed with respect to any of the foregoing.

        “Environmental Permit” means any permit, approval, identification number, license or
other authorization required under any Environmental Law.

        “Equity Interests” means, with respect to any Person, all of the shares, interests, rights,
participations or other equivalents (however designated) of capital stock of (or other ownership
or profit interests or units in) such Person and all of the warrants, options or other rights for the
purchase, acquisition or exchange from such Person of any of the foregoing (including through
convertible securities).

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
from time to time.

       “ERISA Affiliate” means any trade or business (whether or not incorporated) that together
with any Loan Party is under common control with or treated as a single employer within the
meaning of Sections 414(b) or (c) of the Code (and Sections 414(m) and (o) of the Code for
purposes of provisions relating to Section 412 of the Code).

        “ERISA Event” means (a) a Reportable Event with respect to a Pension Plan; (b) a
withdrawal by any Loan Party or any of their respective ERISA Affiliates from a Pension Plan
subject to Section 4063 of ERISA during a plan year in which it was a substantial employer (as
defined in Section 4001(a)(2) of ERISA) or a cessation of operations that is treated as a
termination under Section 4062(e) of ERISA; (c) a written notification to any Loan Party or any
of their respective ERISA Affiliates concerning the imposition of Withdrawal Liability, a
complete or partial withdrawal by any Loan Party or any of their respective ERISA Affiliates
from a Multiemployer Plan (within the meaning of Sections 4203 and 4205 of ERISA), or
written notification that a Multiemployer Plan is insolvent or is in reorganization, within the
meaning of Title IV of ERISA; (d) the filing under Section 4041(c) of ERISA of a notice of
intent to terminate a Pension Plan, the treatment of a Pension Plan or Multiemployer Plan
amendment as a termination under Sections 4041 or 4041A of ERISA; (e) the commencement of
proceedings by the PBGC to terminate a Pension Plan or Multiemployer Plan or to appoint a
trustee to administer a Pension Plan; (f) the imposition of any liability under Title IV of ERISA
with respect to the termination of any Pension Plan or Multiemployer Plan, other than for the
payment of plan contributions or PBGC premiums due but not delinquent under Section 4007 of
ERISA, upon any Loan Party or any of their respective ERISA Affiliates; (g) the application for
a minimum funding waiver under Section 302(c) of ERISA or Section 412(c) of the Code with
respect to a Pension Plan; (h) the imposition of a lien under Section 303(k) of ERISA or Section
430(k) of the Code with respect to any Pension Plan; or (i) the imposition of liability on any of


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the Loan Parties or any of their respective ERISA Affiliates pursuant to Sections 4069 or 4212(c)
of ERISA.

       “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published
by the Loan Market Association (or any successor person), as in effect from time to time.

         “Eurocurrency Rate” means for any Interest Period as to any Eurocurrency Rate Loan, (i)
the rate per annum determined by the Administrative Agent to be the offered rate which appears
on the page of the Reuters Screen which displays the London interbank offered rate administered
by ICE Benchmark Administration Limited (such page currently being the LIBOR01 page) (the
“LIBO Rate”) for deposits (for delivery on the first day of such Interest Period) with a term
equivalent to such Interest Period in Dollars, determined as of approximately 11:00 a.m.
(London, England time), two Business Days prior to the commencement of such Interest Period,
or (ii) in the event the rate referenced in the preceding clause (i) does not appear on such page or
service or if such page or service shall cease to be available, the rate determined by the
Administrative Agent to be the offered rate on such other page or other service which displays
the LIBO Rate for deposits (for delivery on the first day of such Interest Period) with a term
equivalent to such Interest Period in Dollars, determined as of approximately 11:00 a.m.
(London, England time) two Business Days prior to the commencement of such Interest Period;
provided that if LIBO Rates are quoted under either of the preceding clauses (i) or (ii), but there
is no such quotation for the Interest Period elected, the LIBO Rate shall be equal to the
Interpolated Rate; and provided, further, that if any such rate determined pursuant to the
preceding clauses (i) or (ii) is less than 1.00%, the Eurocurrency Rate will be deemed to be
1.00%.

       “Eurocurrency Rate Loan” means a Loan that bears interest at a rate determined by
reference to the Eurocurrency Rate.

         “Eurocurrency Reserve Percentage” means, for any day during any Interest Period, the
reserve percentage in effect on such day applicable to the Administrative Agent under
regulations issued from time to time by the Federal Reserve Board for determining the maximum
reserve requirement (including any emergency, special, supplemental or other marginal reserve
requirement) with respect to eurocurrency funding (currently referred to as “Eurocurrency
liabilities” in Regulation D). The Adjusted Eurocurrency Rate for each outstanding
Eurocurrency Rate Loan shall be adjusted automatically as of the effective date of any change in
the Eurocurrency Reserve Percentage.

       “Euros” means the lawful currency of the Participating Member States introduced in
accordance with the EMU Legislation.

        “Event of Default” has the meaning specified in Section 10.1.

      “Excess Availability” has the meaning assigned to such term in the ABL DIP Credit
Agreement.

        “Exchange Act” means the Securities Exchange Act of 1934, as amended.



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        “Excluded Assets” means (i) governmental licenses or state or local franchises, charters
and authorizations and any other property and assets to the extent that the Collateral Agent may
not validly possess a security interest therein under applicable Laws (including, without
limitation, rules and regulations of any Governmental Authority or agency) or the pledge or
creation of a security interest in which would require governmental consent, approval, license or
authorization, other than to the extent such prohibition or limitation is rendered ineffective under
the UCC or other applicable Law notwithstanding such prohibition and other than proceeds and
receivable thereof, (ii) any particular asset or right under contract, if the pledge thereof or the
security interest therein is prohibited or restricted by applicable Law (including, without
limitation, rules and regulations of any Governmental Authority or agency) or any third party (so
long as any agreement with such third party that provides for such prohibition or restriction was
not entered into in contemplation of the acquisition of such assets or entering into of such
contract or for the purpose of creating such prohibition or restriction), other than to the extent
such prohibition or restriction is rendered ineffective under the UCC or other applicable Law,
notwithstanding such prohibition, and other than proceeds and receivable thereof, (iii) any
written agreement, license or lease or any property subject to a purchase money security interest,
capital lease obligations or similar arrangement permitted hereunder, in each case, to the extent
the grant of a security interest therein would violate or invalidate such lease, license or
agreement or purchase money or similar arrangement or would give rise to a termination right in
favor of any other party thereto (other than Holdings or any of its Subsidiaries) after giving effect
to the applicable anti-assignment provisions of the UCC or other applicable Laws, in each case,
only to the extent that such limitation on such pledge or security interest is otherwise permitted
under Section 9.9, other than proceeds and receivable thereof, the assignment of which is
expressly deemed effective under the UCC or other applicable Laws, notwithstanding such
prohibition, (iv) Equity Interests in any non-wholly owned Subsidiaries and any entities which
do not constitute Subsidiaries, but only to the extent that (x) the Organization Documents or
other agreements with equity holders of such non-wholly owned Restricted Subsidiaries or other
entities do not permit or restrict the pledge of such Equity Interests, or (y) the pledge of such
Equity Interests (including any exercise of remedies) would result in a change of control,
repurchase obligation or other adverse consequence to any of the Loan Parties or such non-
wholly owned Restricted Subsidiary or other entity, (v) any intent-to-use trademark application
prior to the filing of a “Statement of Use” or “Amendment to Allege Use” with respect thereto, to
the extent, if any, that, and solely during the period, if any, in which the grant of a security
interest therein would impair the validity or enforceability of such intent-to-use trademark
application under applicable federal law and (vi) assets in circumstances where the cost of
obtaining a security interest in such assets, including, without limitation, the cost of title
insurance, surveys or flood insurance (if necessary) would be excessive in light of the practical
benefit to the Lenders afforded thereby as reasonably determined by the Borrower, the
Administrative Agent, and the Collateral Agent; provided, however, that Excluded Assets shall
not include any proceeds, substitutions or replacements of any Excluded Assets referred to in
clause (i) through (vi) (unless such proceeds, substitutions or replacements would independently
constitute Excluded Assets referred to in clauses (i) through (vi)).

         “Excluded Subsidiary” means (a) any Subsidiary that is not a wholly owned Subsidiary of
the Borrower or a Guarantor, (b) any CFC, (c) any CFC Holdco, (d) any Domestic Subsidiary
that is a direct or indirect Subsidiary of a CFC, (e) any Subsidiary that is prohibited or restricted
by applicable Law or by Contractual Obligations existing on the Closing Date (or, in the case of
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any newly acquired Subsidiary, in existence at the time of acquisition but not entered into in
contemplation thereof) from providing a Guaranty or if such Guaranty would require
governmental (including regulatory) consent, approval, license or authorization, (f) [reserved],
(g) any Subsidiary that is a not-for-profit organization, (h) any Subsidiary, the obtaining of a
Guarantee with respect to which would result in material adverse tax consequences as reasonably
determined by the Borrower in good faith consultation with the Administrative Agent and the
Collateral Agent (including as a result of the operation of Section 956 of the Code), (i)
[reserved], (j) each Unrestricted Subsidiary, (k) any Captive Insurance Subsidiary, and (l) any
other Subsidiary with respect to which, in the reasonable judgment of the Administrative Agent,
the Collateral Agent, and the Borrower, the cost or other consequences (including any adverse
tax consequences) of providing the Guaranty outweighs the benefits to be obtained by the
Lenders therefrom.

       “fair market value” means, with respect to any asset or liability, the fair market value of
such asset or liability as determined by the Borrower in good faith.

        “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations or official
interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1) of the Code
and any fiscal or regulatory legislation, rules or practices adopted pursuant to any
intergovernmental agreement, treaty or convention among Governmental Authorities and
implementing such Sections of the Code.

        “Federal Funds Rate” means, for any day, the rate calculated by the Federal Reserve
Bank of New York based on such day’s federal funds transactions by depository institutions (as
determined in such manner as the Federal Reserve Bank of New York shall set forth on its public
website from time to time) and published on the next succeeding Business Day by the Federal
Reserve Bank of New York as the federal funds effective rate; provided, that if the Federal
Funds Effective Rate for any day is less than zero, the Federal Funds Effective Rate for such day
will be deemed to be zero.

       “Federal Reserve Board” means the Board of Governors of the United States Federal
Reserve System, or any successor thereto.

       “Fee Letter” means that certain Fee Letter entered into on October 4, 2018 between
Barclays Bank PLC, Citizens Bank, N.A. and the Borrower.

        “Field Examination” has the meaning specified in Section 7.4(d).

        “Final Order” means an order or judgment as entered on the docket of the Bankruptcy
Court with respect to the Cases substantially in the form of the Interim Order, with only such
modifications as are satisfactory in form and substance to the Administrative Agent and the
Collateral Agent, which order shall have been entered on such prior notice to such parties as may
be satisfactory to the Administrative Agent and the Collateral Agent, which order shall not have
been vacated, reversed, modified, amended or stayed without the consent of the Administrative
Agent and the Collateral Agent in their sole discretion.

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        “Financial Asset” has the meaning given to such term in Article 8 of the UCC.

        “Financial Covenants” shall mean the covenants set forth in Section 6.1 and Section 6.2.

        “First Day Orders” has the meaning specified in Section 8.15(f).

        “Fiscal Quarter” means a fiscal quarter of any Fiscal Year.

      “Fiscal Year” means the fiscal year of the Borrower and its Subsidiaries ending on the
Tuesday closest to September 30 in the following calendar year.

        “Flood Insurance Laws” shall mean, collectively, (i) the National Flood Insurance Act of
1968 as now or hereafter in effect or any successor statute thereto, (ii) the Flood Disaster
Protection Act of 1973 as now or hereafter in effect or any successor statue thereto, (iii) the
National Flood Insurance Reform Act of 1994 as now or hereafter in effect or any successor
statute thereto, (iv) the Flood Insurance Reform Act of 2004 as now or hereafter in effect or any
successor statute thereto and (v) Biggert- Waters Flood Insurance Reform Act of 2012 as now or
hereafter in effect or any successor statute thereto.

        “Foreign Lender” has the meaning specified in Section 3.1(b).

      “Foreign Subsidiary” means any direct or indirect Subsidiary of the Borrower that is not
a Domestic Subsidiary.

        “Fund” means any Person (other than a natural person) that is engaged in making,
purchasing, holding or otherwise investing in commercial loans and similar extensions of credit
in the ordinary course.

       “GAAP” means generally accepted accounting principles in the United States, as in effect
from time to time; provided, however, that if the Borrower notifies the Administrative Agent that
the Borrower requests an amendment to any provision hereof to eliminate the effect of any
change occurring after the Closing Date in GAAP or in the application thereof on the operation
of such provision (or if the Administrative Agent notifies the Borrower that the Requisite
Lenders request an amendment to any provision hereof for such purpose), regardless of whether
any such notice is given before or after such change in GAAP or in the application thereof, then
such provision shall be interpreted on the basis of GAAP as in effect and applied immediately
before such change shall have become effective until such notice shall have been withdrawn or
such provision amended in accordance herewith.

        “Governmental Authority” means the government of the United States or any other
nation, or of any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality, regulatory body, court, central bank or other entity exercising executive,
legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to
government (including any supra-national bodies such as the European Union or the European
Central Bank).

        “Granting Lender” has the meaning specified in Section 12.2(g).


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        “Guarantee” means, as to any Person, without duplication, (a) any obligation, contingent
or otherwise, of such Person guaranteeing or having the economic effect of guaranteeing any
Indebtedness or other monetary obligation payable or performable by another Person (the
“primary obligor”) in any manner, whether directly or indirectly, and including any obligation of
such Person, direct or indirect, (i) to purchase or pay (or advance or supply funds for the
purchase or payment of) such Indebtedness or other monetary obligation, (ii) to purchase or lease
property, securities or services for the purpose of assuring the obligee in respect of such
Indebtedness or other monetary obligation of the payment or performance of such Indebtedness
or other monetary obligation, (iii) to maintain working capital, equity capital or any other
financial statement condition or liquidity or level of income or cash flow of the primary obligor
so as to enable the primary obligor to pay such Indebtedness or other monetary obligation, or (iv)
entered into for the purpose of assuring in any other manner the obligee in respect of such
Indebtedness or other monetary obligation of the payment or performance thereof or to protect
such obligee against loss in respect thereof (in whole or in part), or (b) any Lien on any assets of
such Person securing any Indebtedness or other monetary obligation of any other Person,
whether or not such Indebtedness or other monetary obligation is assumed by such Person (or
any right, contingent or otherwise, of any holder of such Indebtedness to obtain any such Lien);
provided that the term “Guarantee” shall not include endorsements for collection or deposit, in
either case in the Ordinary Course of Business, or customary and reasonable indemnity
obligations in effect on the Closing Date or entered into in connection with any acquisition or
disposition of assets permitted under this Agreement (other than such obligations with respect to
Indebtedness). The amount of any Guarantee shall be deemed to be an amount equal to the
stated or determinable amount of the related primary obligation, or portion thereof, in respect of
which such Guarantee is made or, if not stated or determinable, the maximum reasonably
anticipated liability in respect thereof as determined by the guaranteeing Person in good faith.
The term “Guarantee” as a verb has a corresponding meaning.

        “Guarantors” has the meaning specified in the definition of “Collateral and Guarantee
Requirement”. For avoidance of doubt, the Borrower may cause any Restricted Subsidiary that
is not an Excluded Subsidiary to Guarantee the Obligations by causing such Restricted
Subsidiary to execute a supplement to the Guaranty in substantially the form attached thereto,
and thereafter any such Restricted Subsidiary shall be a Guarantor hereunder and thereunder for
all purposes.

        “Guaranty” means (a) the guaranty made by Holdings and the other Guarantors in favor
of the Administrative Agent on behalf of the Secured Parties pursuant to clause (b) of the
definition of “Collateral and Guarantee Requirement,” substantially in the form of Exhibit G, and
(b) each other guaranty and guaranty supplement delivered pursuant to Section 8.11.

         “Hazardous Materials” means all explosive or radioactive substances or wastes, all
hazardous or toxic substances, and all wastes or pollutants, including petroleum or petroleum
distillates, asbestos or asbestos-containing materials, polychlorinated biphenyls, radon gas and
infectious or medical wastes regulated pursuant to any Environmental Law.

        “Holdings” has the meaning specified in the introductory paragraph to this Agreement.



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        “IFRS” means international accounting standards within the meaning of the IAS
Regulation 1606/2002 to the extent applicable to the relevant financial statements; provided,
however, that if the Borrower notifies the Administrative Agent that the Borrower requests an
amendment to any provision hereof to eliminate the effect of any change occurring after the
Closing Date in IFRS or in the application thereof (including through the adoption of GAAP) on
the operation of such provision (or if the Administrative Agent notifies the Borrower that the
Requisite Lenders request an amendment to any provision hereof for such purpose), regardless of
whether any such notice is given before or after such change in IFRS or in the application thereof
(including through the adoption of GAAP), then such provision shall be interpreted on the basis
of IFRS as in effect and applied immediately before such change shall have become effective
until such notice shall have been withdrawn or such provision amended in accordance herewith

        “Initial Orders” has the meaning specified in Section 8.15(f)

        “Indebtedness” means, as to any Person at a particular time, without duplication, all of
the following:

               (a)   all obligations of such Person for borrowed money and all obligations of
        such Person evidenced by bonds, debentures, notes, loan agreements or other similar
        instruments;

               (b)     the maximum amount (after giving effect to any prior drawings or
        reductions that may have been reimbursed) of all outstanding letters of credit (including
        standby and commercial), bankers’ acceptances, bank guaranties, surety bonds,
        performance bonds and similar instruments issued or created by or for the account of
        such Person;

                (c)        net obligations of such Person under any Swap Contract;

                 (d)     all obligations of such Person to pay the deferred purchase price of
        property or services (other than (i) trade accounts and accrued expenses payable in the
        Ordinary Course of Business, (ii) any earn-out obligation until such obligation is not paid
        within 30 days after becoming due and payable and becomes a liability on the balance
        sheet of such Person in accordance with IFRS and (iii) accruals for payroll and other
        liabilities accrued in the Ordinary Course of Business);

               (e)     indebtedness (excluding prepaid interest thereon) secured by a Lien on
        property owned or being purchased by such Person (including indebtedness arising under
        conditional sales or other title retention agreements and mortgage, industrial revenue
        bond, industrial development bond and similar financings), whether or not such
        indebtedness shall have been assumed by such Person or is limited in recourse;

                (f)        all Attributable Indebtedness;

               (g)    all obligations of such Person in respect of Disqualified Equity Interests if
        and to the extent that the foregoing would constitute indebtedness or a liability in
        accordance with IFRS; and


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                (h)     to the extent not otherwise included above, all Guarantees of such Person
        in respect of any of the foregoing.

        For all purposes hereof, the Indebtedness of any Person shall (A) include the
Indebtedness of any partnership or joint venture (other than a joint venture that is itself a
corporation or limited liability company) in which such Person is a general partner or a joint
venturer, except to the extent such Person’s liability for such Indebtedness is otherwise limited
and only to the extent such Indebtedness would be included in the calculation of Consolidated
Total Debt and (B) in the case of the Borrower and its Subsidiaries, exclude all intercompany
Indebtedness having a term not exceeding 364 days (inclusive of any roll over or extensions of
terms) and made in the Ordinary Course of Business. The amount of any net obligation under
any Swap Contract on any date shall be deemed to be the Swap Termination Value thereof as of
such date. The amount of Indebtedness of any Person for purposes of clause (e) shall be deemed
to be equal to the lesser of (i) the aggregate unpaid amount of such Indebtedness and (ii) the fair
market value (as determined by such Person in good faith) of the property encumbered thereby
as determined by such Person in good faith.

        “Indemnified Liabilities” has the meaning specified in Section 12.4(a).

        “Indemnitees” has the meaning specified in Section 12.4(a).

       “Independent Financial Advisor” means an accounting, appraisal, investment banking
firm or consultant of nationally recognized standing that is, in the good faith judgment of the
Borrower, qualified to perform the task for which it has been engaged and that is independent of
the Borrower and its Affiliates.

        “Information” has the meaning specified in Section 12.19.

        “Initial Lender” means Barclays.

      “Intellectual Property Security Agreements” has the meaning specified in the Security
Agreement.

        “Intercompany Subordination Agreement” means an agreement executed by each
Restricted Subsidiary of the Borrower, in substantially the form of Exhibit K, as amended,
restated, supplemented or otherwise modified from time to time.

       “Interest Period” means, as to each Eurocurrency Rate Loan, the period commencing on
the date such Eurocurrency Rate Loan is disbursed or converted to or continued as a
Eurocurrency Rate Loan and ending on the date one, two, three or six months thereafter, or to the
extent consented to by each applicable Lender, twelve months (or such period of less than one
month as may be consented to by each applicable Lender), as selected by the Borrower in its
Notice of Borrowing or Notice of Conversion or Continuation; provided that:

               (a)    any Interest Period that would otherwise end on a day that is not a
        Business Day shall be extended to the next succeeding Business Day unless such
        Business Day falls in another calendar month, in which case such Interest Period shall
        end on the immediately preceding Business Day;

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                (b)    any Interest Period (other than an Interest Period having a duration of less
        than one month) that begins on the last Business Day of a calendar month (or on a day for
        which there is no numerically corresponding day in the calendar month at the end of such
        Interest Period) shall end on the last Business Day of the calendar month at the end of
        such Interest Period; and

                (c)        no Interest Period shall extend beyond the Maturity Date.

         “Interim Order” means the order or judgment of the Bankruptcy Court as entered on the
docket of the Bankruptcy Court with respect to the Cases substantially in the form of Exhibit R
and otherwise acceptable to the Collateral Agent and the Administrative Agent, approving, inter
alia, this Agreement and the other Loan Documents, and (a) authorizing the incurrence by the
Borrower of interim secured indebtedness in accordance with this Agreement, (b) providing for
the lifting of the automatic stay (to the extent applicable) arising under section 362 of the
Bankruptcy Code to enable the Administrative Agent, a Collateral Agent or any Lender
effectuate, among other things, their respective rights and remedies under Section 10.2 and 10.3
and the Loan Documents), and (c) subject to the terms thereof, approving the payment by the
Borrower of the fees and other amounts contemplated by this Agreement, which order shall not
have been vacated, reversed, modified, amended or stayed without the consent of the
Administrative Agent and the Collateral Agent in their sole discretion.

       “Interim Order Period” means the period of time from the time at which the Bankruptcy
Court enters the Interim Order until the time at which the Bankruptcy Court enters the Final
Order.

        “Interpolated Rate” means, in relation to the LIBO Rate, the rate which results from
interpolating on a linear basis between:

                (a)    the applicable LIBO Rate for the longest period (for which that LIBO Rate
        is available) which is less than the Interest Period of that Loan; and

                (b)    the applicable LIBO Rate for the shortest period (for which that LIBO
        Rate is available) which exceeds the Interest Period of that Loan,

each as of approximately 11:00 a.m. (London, England time) two Business Days prior to the
commencement of such Interest Period of that Loan.

        “Intra-Group Debt Restricted Payment” has the meaning set forth in Section 9.14.

        “Inventory” has the meaning given to such term in Article 9 of the UCC.

        “Investment” means, as to any Person, any direct or indirect acquisition or investment by
such Person, whether by means of (a) the purchase or other acquisition (including without
limitation by merger or otherwise) of Equity Interests or debt or other securities of another
Person, (b) a loan, advance or capital contribution (excluding accounts receivable, credit card
and debit card receivables, trade credit, advances to customers, commission, travel and similar
advances to employees, directors, officers, members of management, manufacturers and
consultants, in each case made in the Ordinary Course of Business) to, Guarantee or assumption

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of Indebtedness of, or purchase or other acquisition of any other debt or equity participation or
interest in, another Person, including any partnership or joint venture interest in such other
Person or (c) the purchase or other acquisition (in one transaction or a series of transactions,
including without limitation by merger or otherwise) of all or substantially all of the property and
assets or business of another Person or assets constituting a business unit, line of business or
division of such Person. For purposes of the definition of “Unrestricted Subsidiary”:

        (1)    “Investments” shall include the portion (proportionate to the Borrower’s Equity
Interest in such Subsidiary) of the fair market value of the net assets of a Subsidiary of the
Borrower at the time that such Subsidiary is designated an Unrestricted Subsidiary; provided,
that upon a redesignation of such Subsidiary as a Restricted Subsidiary, the Borrower shall be
deemed to continue to have a permanent “Investment” in an Unrestricted Subsidiary in an
amount (if positive) equal to:

               (a)     the Borrower’s “Investment” in such Subsidiary at the time of such
        redesignation; less

               (b)     the portion (proportionate to the Borrower’s Equity Interest in such
        Subsidiary) of the fair market value of the net assets of such Subsidiary at the time of
        such redesignation; and

         (2)    any property transferred to or from an Unrestricted Subsidiary shall be valued at
its fair market value at the time of such transfer.

        The amount of any Investment outstanding at any time (including for purposes of
calculating the amount of any Investment outstanding at any time under any provision of the
covenant described Section 9.2 and otherwise determining compliance with such covenant) shall
be the original cost of such Investment (determined, in the case of any Investment made with
assets of the Borrower or any Restricted Subsidiary, based on the fair market value of the assets
invested and without taking into account subsequent increases or decreases in value), reduced
(but not in excess of the original amount of such Investment) by any dividend, distribution,
interest payment, return of capital, repayment or other amount received in cash by the Borrower
or a Restricted Subsidiary in respect of such Investment. Any Investment in the form of a loan
or an advance shall be the principal amount thereof outstanding on such date, minus any cash
payments actually received by such investor representing interest in respect of such Investment
(to the extent any such payment to be deducted does not exceed the remaining principal amount
of such Investment), but without any adjustment for write-downs or write-offs (including as a
result of forgiveness of any portion thereof) with respect to such loan or advance after the date
thereof. Any Investment in the form of a Guarantee shall be equal to the stated or determinable
amount of the related primary obligation, or portion thereof, in respect of which such Guarantee
is made or, if not stated or determinable, the maximum reasonably anticipated liability in respect
thereof.

       “Investment Grade Rating” means a rating equal to or higher than Baa3 (or the
equivalent) by Moody’s and BBB- (or the equivalent) by S&P, or an equivalent rating by any
other nationally recognized statistical rating agency selected by the Borrower.


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        “IP Rights” has the meaning specified in Section 5.15.

        “IRS” means the Internal Revenue Service of the United States.

        “Joint Venture” means (a) any Person which would constitute an “equity method
investee” of the Borrower or any of the Restricted Subsidiaries and (b) any Person in whom the
Borrower or any of the Restricted Subsidiaries beneficially owns any Equity Interest that is not a
Restricted Subsidiary (other than an Unrestricted Subsidiary).

        “Judgment Currency” has the meaning specified in Section 12.10.

        “Junior Financing” has the meaning specified in Section 9.12(a)(i). For the avoidance of
doubt, the Stripes Intra-Group Loan Agreement and the Second Lien Credit Agreement
constitute Junior Financing.

       “Junior Financing Documentation” means any documentation governing any Junior
Financing.

        “Laws” means, collectively, all international, foreign, federal, state and local statutes,
treaties, rules, guidelines, regulations, ordinances, codes and administrative or judicial
precedents or authorities and executive orders, including the interpretation or administration
thereof by any Governmental Authority charged with the enforcement, interpretation or
administration thereof, and all applicable administrative orders, directed duties, requests,
licenses, authorizations and permits of, and agreements with, any Governmental Authority.

         “Lender” means the Initial Lender and each other financial institution or other entity that
(a) is listed on the signature pages hereof as a “Lender” or (b) from time to time becomes a party
hereto by execution of an Assignment and Assumption.

       “Lending Office” means, as to any Lender, the office or offices of such Lender described
as such in such Lender’s Administrative Questionnaire, or such other office or offices as a
Lender may from time to time notify the Borrower and the Administrative Agent.

        “LIBO Rate” has the meaning specified in the definition of “Eurocurrency Rate”.

        “Lien” means any mortgage, pledge, hypothecation, assignment, deposit arrangement,
encumbrance, lien (statutory or other), charge, or preference, priority or other security interest or
preferential arrangement of any kind or nature whatsoever (including any conditional sale or
other title retention agreement, any easement, right of way or other encumbrance on title to real
property, and any Capitalized Lease having substantially the same economic effect as any of the
foregoing); provided, that in no event shall an operating lease in and of itself be deemed a Lien.

      “Lien Acknowledgment Agreement” means each Collateral Access Agreement and
Customs Broker Agreement.

        “Liquidation” means the exercise by the Collateral Agent or the Administrative Agent of
those rights and remedies accorded to the Collateral Agent or the Administrative Agent under the
Loan Documents and applicable Law as a creditor of the Loan Parties with respect to the

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realization on the Collateral, including (after the occurrence and continuation of an Event of
Default) the conduct by the Loan Parties acting with the consent of the Collateral Agent or the
Administrative Agent, of any public, private or “going out of business” sale or other disposition
of the Collateral for the purpose of liquidating the Collateral. Derivations of the word
“Liquidation” (such as “Liquidate”) are used with like meaning in this Agreement.

        “Loan” means any term loan made by any Lender pursuant to this Agreement.

        “Loan Documents” means, collectively, (a) this Agreement, (b) the Notes, (c) the
Guaranty, (d) the Commitment Letter, (e) the Collateral Documents, (f) any Customary
Intercreditor Agreement, (g) the Fee Letter and (h) the DIP Intercreditor Agreement.

      “Loan Parties” means, collectively, (a) Holdings, (b) the Borrower and (c) each other
Guarantor.

       “Margin Stock” has the meaning set forth in Regulation U of the Board of Governors of
the United States Federal Reserve System, or any successor thereto.

        “Master Agreement” has the meaning specified in the definition of “Swap Contract”.

        “Material Adverse Effect” means any event, facts, or circumstances, which, after the
Closing Date, has a material adverse effect on (a) the business, assets, operations, financial
condition or income of the Loan Parties taken as a whole, or (b) the validity or enforceability of
the Loan Documents or any of the rights or remedies of the Administrative Agent, the Collateral
Agent, or the Lenders thereunder (it being understood that Material Adverse Effect shall exclude
(i) any matters publicly disclosed prior to the Petition Date and (ii) matters resulting from the
Cases and the events and conditions related and/or leading up to the Cases and the effects
thereof).

        “Material Domestic Subsidiary” means, at any date of determination, each of the
Borrower’s Domestic Subsidiaries (a) whose total assets at the last day of the most recent Test
Period were equal to or greater than 2.5% of Total Assets at such date or (b) whose gross
revenues for such Test Period were equal to or greater than 2.5% of the consolidated gross
revenues of the Borrower and the Restricted Subsidiaries for such period, in each case
determined in accordance with IFRS; provided that if, at any time and from time to time after the
Closing Date, Domestic Subsidiaries that are not Guarantors solely because they do not meet the
thresholds set forth in clauses (a) or (b) comprise in the aggregate more than 5.0% of Total
Assets as of the end of the most recently ended Fiscal Quarter of the Borrower for which
financial statements have been delivered pursuant to Section 7.1 or more than 5.0% of the
consolidated gross revenues of the Borrower and the Restricted Subsidiaries for the period of
four consecutive Fiscal Quarters ending as of the last day of such Fiscal Quarter, then the
Borrower shall, not later than forty-five (45) days after the date by which financial statements for
such quarter are required to be delivered pursuant to this Agreement (or such longer period as
may be agreed by the Administrative Agent in its reasonable discretion), (i) designate in writing
to the Administrative Agent one or more of such Domestic Subsidiaries as “Material Domestic
Subsidiaries” to the extent required such that the foregoing condition ceases to be true and (ii)
comply with the provisions of Sections 8.11, 8.12 and 8.13 applicable to such Subsidiary.

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       “Material Foreign Subsidiary” means, at any date of determination, each of the
Borrower’s Foreign Subsidiaries (a) whose total assets at the last day of the most recent Test
Period were equal to or greater than 2.5% of Total Assets at such date or (b) whose gross
revenues for such Test Period were equal to or greater than 2.5% of the consolidated gross
revenues of the Borrower and the Restricted Subsidiaries for such period, in each case
determined in accordance with IFRS.

       “Material Subsidiary” means any Material Domestic Subsidiary or any Material Foreign
Subsidiary.

       “Mattress Firm Card” means the private label credit card issued by Synchrony Bank
pursuant to the Credit Card Agreement of the Borrower or any Subsidiary Guarantor with such
bank (or any subsequent Credit Card Issuer with respect to such private label credit card) to
customers or prospective customers of the Borrower or a Subsidiary Guarantor.

        “Maturity Date” means the date that is 3 months after the Closing Date.

        “Maximum Rate” has the meaning specified in Section 12.27.

        “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

       “Mortgage Policies” has the meaning specified in paragraph (e) of the definition of
“Collateral and Guarantee Requirement”.

       “Mortgaged Properties” has the meaning specified in paragraph (e) of the definition of
“Collateral and Guarantee Requirement”.

        “Mortgages” means, collectively, the deeds of trust, trust deeds, hypothecs and
mortgages made by the Loan Parties in favor or for the benefit of the Collateral Agent on behalf
of the Lenders in form and substance reasonably satisfactory to the Collateral Agent (taking
account of relevant local Law matters), and any other mortgages executed and delivered pursuant
to Sections 8.11or 8.13.

       “Multiemployer Plan” means any multiemployer plan as defined in Section 4001(a)(3) of
ERISA and subject to Title IV of ERISA, to which any Loan Party or any of their respective
ERISA Affiliates makes or is obligated to make contributions, or during the preceding five plan
years has made or been obligated to make contributions.

        “Net Cash Proceeds” means:

                (a)    with respect to (x) the Disposition of any asset by the Borrower or any of
        the Restricted Subsidiaries or (y) with respect to any casualty or condemnation event, (i)
        insurance proceeds paid on account of any loss of or damage to or (ii) awards of
        compensation arising from the taking by eminent domain or condemnation of, in each
        case, any assets of the Borrower or any of the Restricted Subsidiaries (any such event in
        this clause (y), a “C&C Event”), the excess, if any, of (i) the sum of cash and Cash
        Equivalents received by the Borrower or any of the Restricted Subsidiaries in connection
        with such Disposition (including any cash and Cash Equivalents received by way of

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        deferred payment pursuant to, or by monetization of, a note receivable or otherwise, but
        only as and when so received) or C&C Event, as applicable, over (ii) the sum of (A) the
        principal amount, premium or penalty, if any, interest and other amounts on any
        Indebtedness that is secured by the asset subject to such Disposition or C&C Event and
        that is required to be repaid in connection with such Disposition or C&C Event (other
        than Indebtedness under the Loan Documents), (B) the out-of-pocket fees and expenses
        (including attorneys’ fees, investment banking fees, survey costs, title insurance
        premiums, and related search and recording charges, transfer taxes, deed or mortgage
        recording taxes, other customary expenses and brokerage, consultant and other customary
        fees) actually incurred by the Borrower or such Restricted Subsidiary in connection with
        such Disposition or C&C Event, (C) taxes or distributions made pursuant to Section
        9.6(g)(A) or (g)(C) paid or reasonably estimated to be payable, directly or indirectly, in
        connection therewith (including taxes imposed on the distribution or repatriation of any
        such Net Cash Proceeds), (D) in the case of any Disposition or C&C Event by a non-
        wholly owned Restricted Subsidiary, the pro-rata portion of the Net Cash Proceeds
        thereof (calculated without regard to this clause (D)) attributable to minority interests and
        not available for distribution to or for the account of the Borrower or a wholly owned
        Restricted Subsidiary as a result thereof, and (E) any reserve for adjustment in respect of
        (x) the sale price of such asset or assets established in accordance with IFRS and (y) any
        liabilities associated with such asset or assets and retained by the Borrower or any
        Restricted Subsidiary after such sale or other disposition thereof, including pension and
        other post-employment benefit liabilities and liabilities related to environmental matters
        or against any indemnification obligations associated with such transaction, it being
        understood that “Net Cash Proceeds” shall include the amount of any reversal (without
        the satisfaction of any applicable liabilities in cash in a corresponding amount) of any
        reserve described in this clause (E) as of the date of such reversal; and

                (b)    (i) with respect to the incurrence or issuance of any Indebtedness by the
        Borrower or any Restricted Subsidiary or any Permitted Equity Issuance by the Borrower
        or any direct or indirect parent of the Borrower, the excess, if any, of (A) the sum of the
        cash and Cash Equivalents received in connection with such incurrence or issuance over
        (B) the investment banking fees, underwriting discounts, commissions, costs and other
        out-of-pocket expenses and other customary expenses, incurred by the Borrower or such
        Restricted Subsidiary in connection with such incurrence or issuance and (ii) with respect
        to any Permitted Equity Issuance by any direct or indirect parent of the Borrower, the
        amount of cash from such Permitted Equity Issuance contributed to the capital of the
        Borrower.

       “Net Income” means, with respect to any Person, the net income (loss) of such Person,
determined in accordance with IFRS and before any reduction in respect of preferred stock
dividends.

        “Non-Bank Certificate” has the meaning specified in Section 3.1(b).

        “Non-Consenting Lender” has the meaning specified in Section 3.7.

        “Non-Loan Party” means any Subsidiary of the Borrower that is not a Loan Party.

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       “Note” means a promissory note of the Borrower payable to any Lender in a principal
amount equal to the amount of such Lender’s outstanding Loans evidencing the aggregate
Indebtedness of the Borrower to such Lender resulting from the Loans of a given Class owing to
such Lender substantially in the form of Exhibit B hereto.

        “Notice of Borrowing” has the meaning specified in Section 2.2.

        “Notice of Conversion or Continuation” has the meaning specified in Section 2.11(a).

        “Notice of Intent to Cure” has the meaning specified in Section 7.2.

        “Obligations” means all advances to, and debts, liabilities, obligations, covenants and
duties of, any Loan Party arising under any Loan Document or otherwise with respect to any
Loan, whether direct or indirect (including those acquired by assumption), absolute or
contingent, due or to become due, now existing or hereafter arising and including interest and
fees that accrue after the commencement by or against any Loan Party of any proceeding under
any Debtor Relief Laws naming such Person as the debtor in such proceeding, regardless of
whether such interest and fees are allowed claims in such proceeding. Without limiting the
generality of the foregoing, the Obligations of the Loan Parties under the Loan Documents (and
any of their Restricted Subsidiaries to the extent they have obligations under the Loan
Documents) include the obligation (including guarantee obligations) to pay principal, interest,
reimbursement obligations, charges, expenses, fees, Attorney Costs, indemnities and other
amounts payable by any Loan Party under any Loan Document.

        “OFAC” has the meaning specified in Section 5.18.

        “OID” means original issue discount.

        “Orders” means, together, the Interim Order and the Final Order.

        “Ordinary Course of Business” shall mean, with respect to any Person, any ordinary
course business practices engaged in by such Person or other business practice reasonably related
thereto or that is a reasonable extension, development or expansion thereof.

        “Organization Documents” means (a) with respect to any corporation, the certificate or
articles of incorporation and the bylaws (or equivalent or comparable constitutive documents
with respect to any non-U.S. jurisdiction); (b) with respect to any limited liability company, the
certificate or articles of formation or organization and operating agreement; and (c) with respect
to any partnership, joint venture, trust or other form of business entity, the partnership, joint
venture or other applicable agreement of formation or organization and any agreement,
instrument, filing or notice with respect thereto filed in connection with its formation or
organization with the applicable Governmental Authority in the jurisdiction of its formation or
organization and, if applicable, any certificate or articles of formation or organization of such
entity.

        “Other Taxes” has the meaning specified in Section 3.1.



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        “Overnight Rate” means, for any day, the greater of (a) the Federal Funds Rate and (b) an
overnight rate determined by the Administrative Agent in accordance with banking industry rules
on interbank compensation.

        “Parent” means Stripes US Holding, Inc.

        “Participant” has the meaning specified in Section 12.2(d).

        “Participant Register” has the meaning specified in Section 12.2(e).

        “Participating Member State” means each state so described in any EMU Legislation.

        “PBGC” means the Pension Benefit Guaranty Corporation.

        “Pension Plan” means any “employee pension benefit plan” (as such term is defined in
Section 3(2) of ERISA), other than a Multiemployer Plan, that is subject to Title IV of ERISA
and is sponsored or maintained by any Loan Party or any of their respective ERISA Affiliates or
to which any Loan Party or any of their respective ERISA Affiliates contributes or has an
obligation to contribute, or in the case of a multiple employer or other plan described in Section
4064(a) of ERISA, has made contributions at any time in the preceding five plan years.

       “Permitted Acquisition” means the purchase or other acquisition, in each case, prior to
the Petition Date by Borrower or any of its Restricted Subsidiaries of property and assets or
businesses of any Person or of assets constituting a business unit, a line of business or division of
such Person, a Store or Equity Interests in a Person that, upon the consummation thereof, will be
a wholly owned Restricted Subsidiary of the Borrower (including as a result of a merger or
consolidation).

       “Permitted Discretion” means a determination made by the Administrative Agent or the
Collateral Agent (as applicable) in good faith in the exercise of its reasonable (from the
perspective of an asset-based lender) business judgment.

       “Permitted Equity Issuance” means any sale or issuance of any Qualified Equity Interests
of the Borrower or any direct or indirect parent of the Borrower (in which case the Net Cash
Proceeds have been received by the Borrower as cash common equity), in each case to the extent
permitted hereunder.

        “Permitted Variances” has the meaning set forth in Section 8.17.

        “Petition Date” has the meaning specified in the recitals hereto.

       “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity.

        “Plan” means any material “employee benefit plan” (as such term is defined in Section
3(3) of ERISA, whether or not such plan is subject to ERISA) established or contributed to by
any Loan Party or, with respect to any such plan that is subject to Section 412 of the Code or
Title IV of ERISA, any of their respective ERISA Affiliates.

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        “Platform” has the meaning specified in Section 7.2.

        “Pledged Debt” has the meaning specified in the Security Agreement.

        “Pledged Equity” has the meaning specified in the Security Agreement.

        “Pre-Petition” means the time period ending immediately prior to the filing of the Cases.

        “Pre-Petition Credit Agreement” has the meaning specified in the recitals hereto.

        “Pre-Petition Loan Documents” means the “Loan Documents” as set forth in the Pre-
Petition Credit Agreement.

       “Pre-Petition Obligations” means all of the “Obligations” as set forth in the Pre-Petition
Credit Agreement.

        “Pro Forma Basis” and “Pro Forma Effect” mean, with respect to compliance with any
test or covenant or calculation hereunder, the determination or calculation of such test, covenant
or ratio (including in connection with Specified Transactions) in accordance with Section 1.9.

        “Proceeds” has the meaning given to such term in Article 9 of the UCC.

        “Professional Persons” has the meaning specified in the definition of “Carve Out”.

        “Projections” shall have the meaning specified in Section 7.1(d).

        “Public Lender” has the meaning specified in Section 7.2.

        “Qualified Equity Interests” means any Equity Interests that are not Disqualified Equity
Interests.

       “Ratable Portion”, “Pro Rata Share”, “ratable share” or (other than in the expression
“equally and ratably”) “ratably” means, with respect to each Lender at any time a fraction
(expressed as a percentage, carried out to the ninth decimal place), the numerator of which is the
amount of the Term Loan Commitments and, if applicable and without duplication, Loans of
such Lender under the applicable Class or Classes at such time and the denominator of which is
the amount of the Aggregate Commitments and, if applicable and without duplication, Loans
under the applicable Class or Classes at such time.

        “Register” has the meaning specified in Section 12.2(c).

        “Related Indemnified Person” of an Indemnitee means (a) any controlling person or
controlled affiliate of such Indemnitee, (b) the respective directors, officers, or employees of
such Indemnitee or any of its controlling persons or controlled affiliates and (c) the respective
agents of such Indemnitee or any of its controlling persons or controlled affiliates, in the case of
this clause (c), acting at the instructions of such Indemnitee, controlling person or such
controlled affiliate; provided that each reference to a controlled affiliate or controlling person in



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this definition shall pertain to a controlled affiliate or controlling person involved in the
negotiation of the Term Loan Commitments or Loans, as the case may be.

       “Relevant Participant” has the meaning specified in the lock-up agreement dated July 11,
2018 in respect of Steinhoff International Holdings N.V., Steinhoff Finance Holding GmbH and
Steinhoff Europe AG, as amended from time to time.

        “Reportable Event” means, with respect to any Pension Plan, any of the events set forth
in Section 4043(c) of ERISA or the regulations issued thereunder, other than events for which
the thirty (30) day notice period has been waived under applicable regulation or guidance.

        “Requisite Lenders” means, collectively, Lenders having more than fifty percent (50%)
of the aggregate outstanding amount of the Loans; provided, however, that, at any time that there
are at least two, but not more than three, Lenders that are not Affiliates or Approved Funds of
one another, “Requisite Lenders” shall include at least two (2) Lenders that are not Affiliates or
Approved Funds of one another, “Requisite Lenders” shall include such Lender so long as such
Lender is not a Defaulting Lender.

        “Responsible Officer” means the chief executive officer, president, vice president, chief
financial officer, chief operating officer, chief administrative officer, secretary or assistant
secretary, treasurer or assistant treasurer or other similar officer or Person performing similar
functions of a Loan Party. Any document delivered hereunder that is signed by a Responsible
Officer of a Loan Party shall be conclusively presumed to have been authorized by all necessary
corporate, partnership and/or other action on the part of such Loan Party and such Responsible
Officer shall be conclusively presumed to have acted on behalf of such Loan Party. Unless
otherwise specified, all references herein to a “Responsible Officer” shall refer to a Responsible
Officer of the Borrower.

        “Restricted Payment” means any dividend or other distribution (whether in cash,
securities or other property) with respect to any Equity Interest of Holdings, the Borrower or any
Restricted Subsidiaries, or any payment (whether in cash, securities or other property), including
any sinking fund or similar deposit, on account of the purchase, redemption, retirement,
defeasance, acquisition, cancellation or termination of any such Equity Interest, or on account of
any return of capital to Holdings or the Borrower’s stockholders, partners or members (or the
equivalent Persons thereof).

       “Restricted Subsidiary” means any Subsidiary of the Borrower other than an Unrestricted
Subsidiary.

       “S&P” means Standard & Poor’s Ratings Services, a division of S&P Global, Inc., and
any successor thereto.

        “Sale-Leaseback” means any transaction or series of related transactions pursuant to
which the Borrower or any of the Restricted Subsidiaries (a) sells, transfers or otherwise
Disposes of any property, real or personal, whether now owned or hereafter acquired, and (b) as
part of such transaction, thereafter rents or leases such property or other property that it intends
to use for substantially the same purpose or purposes as the property being sold, transferred or
otherwise Disposed.
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        “Same Day Funds” means disbursements and payments in immediately available funds.

       “Sanctions” means economic or financial sanctions or trade embargoes imposed,
administered or enforced from time to time by the U.S. government, including those
administered by the Office of Foreign Assets Control of the U.S. Department of the Treasury or
the U.S. Department of State.

        “Sanctioned Country” means, at any time, a country or territory which is the subject or
target of any Sanctions (as of the date of this Agreement, Cuba, Iran, North Korea, Sudan and
Syria).

        “Sanctioned Person” means, at any time, (a) any Person listed in any Sanctions-related
list of designated Persons maintained by the Office of Foreign Assets Control of the U.S.
Department of the Treasury or the U.S. Department of State and (b) any other Person operating
or organized in a Sanctioned Country or controlled (as determined by applicable law) by any
Person that is a Sanctioned Person.

       “SEC” means the Securities and Exchange Commission, or any Governmental Authority
succeeding to any of its principal functions.

        “Second Day Orders” has the meaning specified in Section 8.15(f).

       “Second Lien Credit Agreement” means that certain Term Loan Agreement, dated as of
March 26, 2018 by and among the Borrower, Holdings and Steinhoff Parent, as lender
thereunder.

       “Second Lien Loan Documents” means the Loan Documents as defined in the Second
Lien Credit Agreement.

        “Secured Obligations” means, in the case of the Borrower, the Obligations and, in the
case of any other Loan Party, the “Guaranteed Obligations” under the Guaranty and any of such
Loan Party’s other obligations under the other Loan Documents to which it is a party.

       “Secured Parties” means, collectively, the Lenders, the Administrative Agent, the
Collateral Agent, the Supplemental Administrative Agent and each co-agent or sub-agent (if any)
appointed by the Administrative Agent from time to time pursuant to Section 11.5.

        “Securities Account” means all securities accounts of any Loan Party, including
“securities accounts” within the meaning given to such term in Article 8 of the UCC.

        “Security” means any Equity Interest, voting trust certificate, bond, debenture, note or
other evidence of Indebtedness, whether secured, unsecured, convertible or subordinated, or any
certificate of interest, share or participation in, any temporary or interim certificate for the
purchase or acquisition of, or any right to subscribe to, purchase or acquire, any of the foregoing,
but shall not include any evidence of the Obligations.

        “Security Agreement” means, collectively, the Security Agreement executed by the Loan
Parties, substantially in the form of Exhibit H, as amended, restated, supplemented or otherwise

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modified from time to time, together with each other Security Agreement Supplement executed
and delivered pursuant to Section 8.11.

        “Security Agreement Supplement” has the meaning specified in the Security Agreement.

        “SPC” has the meaning specified in Section 12.2(g).

        “Specified Transaction” means (u) the Transaction, (v) any Investment that results in a
Person becoming a Restricted Subsidiary, (w) any designation of a Subsidiary as a Restricted
Subsidiary or an Unrestricted Subsidiary, (x) any Permitted Acquisition and any Investment
constituting an acquisition of assets constituting a business unit, line of business or division of
another Person or a Store, (y) any Disposition that results in a Restricted Subsidiary ceasing to be
a Subsidiary of the Borrower, and any Disposition of a business unit, line of business or division
or a Store of the Borrower or a Restricted Subsidiary, in each case whether by merger,
consolidation, amalgamation or otherwise or (z) any incurrence or repayment of Indebtedness
(other than Indebtedness incurred or repaid under any revolving credit facility or line of credit),
Restricted Payment, that by the terms of this Agreement requires a financial ratio or test to be
calculated on a “Pro Forma Basis” or after giving “Pro Forma Effect.”

        “Steinhoff Parent” means Steinhoff International Holdings, N.V.

        “Store” means any retail store (which includes any real property, fixtures, equipment,
Inventory and other property related thereto) operated, or to be operated, by the Borrower or any
Restricted Subsidiary.

        “Stripes Facilities Agreement” means the U.S. $4,000,000,000 Acquisition Facilities
Agreement, dated August 5, 2016 (as amended or supplemented prior to the Closing Date)
between Steinhoff Finance Holding GMBH and Steinhoff Mobel Holding Alpha GMBH, Stripes
US Holding, Inc., Bank of America Merrill Lynch International Limited, Bank of America N.A.
and J.P. Morgan Limited, as arrangers, J.P. Morgan Europe Limited as agent, and the other
parties from time to time party thereto.

       “Stripes Intra-Group Loan Agreement” means the Intra-Group Loan Agreement dated
September 16, 2016 (as amended or supplemented on or prior to the Closing Date) between
Stripes US Holding, Inc. as borrower and Steinhoff Finance Holding GMBH and Steinhoff
Mobel Holding Alpha GMBH as lenders and the other parties from time to time party thereto.

        “Subsidiary” of a Person means a corporation, partnership, joint venture, limited liability
company or other business entity (excluding, for the avoidance of doubt, charitable foundations
and any other Person that meets the requirements of Section 501(c)(3) of the Code) (i) of which a
majority of the shares of securities or other interests having ordinary voting power for the
election of directors or other governing body (other than securities or interests having such
power only by reason of the happening of a contingency) are at the time beneficially owned by
such Person, or (ii) the management of which is otherwise controlled, directly, or indirectly
through one or more intermediaries, by such Person, to the extent such entity’s financial results
are required to be included in such Person’s consolidated financial statements under IFRS.
Unless otherwise specified, all references herein to a “Subsidiary” or to “Subsidiaries” shall refer
to a Subsidiary or Subsidiaries of the Borrower.
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        “Subsidiary Guarantor” means any Guarantor other than Holdings.

       “Successor Cases” means any case under Chapter 7 of the Bankruptcy Code commenced
upon the conversion of any Cases.

       “Supplemental Administrative Agent” and “Supplemental Administrative Agents” have
the meanings specified in Section 11.12(a).

        “Swap Contract” means (a) any and all rate swap transactions, basis swaps, credit
derivative transactions, forward rate transactions, commodity swaps, commodity options,
forward commodity contracts, equity or equity index swaps or options, bond or bond price or
bond index swaps or options or forward bond or forward bond price or forward bond index
transactions, interest rate options, forward foreign exchange transactions, cap transactions, floor
transactions, collar transactions, currency swap transactions, cross-currency rate swap
transactions, currency options, spot contracts, or any other similar transactions or any
combination of any of the foregoing (including any options to enter into any of the foregoing),
whether or not any such transaction is governed by or subject to any master agreement, and (b)
any and all transactions of any kind, and the related confirmations, which are subject to the terms
and conditions of, or governed by, any form of master agreement published by the International
Swaps and Derivatives Association, Inc., any International Foreign Exchange Master Agreement,
or any other master agreement (any such master agreement, together with any related schedules,
a “Master Agreement”), including any such obligations or liabilities under any Master
Agreement.

        “Swap Termination Value” means, in respect of any one or more Swap Contracts, after
taking into account the effect of any legally enforceable netting agreement relating to such Swap
Contracts, (a) for any date on or after the date such Swap Contracts have been closed out and
termination value(s) determined in accordance therewith, such termination value(s), and (b) for
any date prior to the date referenced in clause (a), the amount(s) determined as the mark to-
market value(s) for such Swap Contracts, as determined based upon one or more mid market or
other readily available quotations provided by any recognized dealer in such Swap Contracts
(which may include a Lender or any Affiliate of a Lender).

        “Taxes” has the meaning specified in Section 3.1(a).

       “Term Loan Commitments” means, with respect to each Lender, the commitment of such
Lender to make Loans expressed as an amount representing the maximum principal amount of
the Loans to be made by such Lender under this Agreement. The amount of each Lender’s Term
Loan Commitment is set forth on Schedule I under the caption “Term Loan Commitment,” as
amended to reflect each Assignment and Assumption executed by such Lender. The aggregate
amount of the Term Loan Commitments on the Closing Date is $100,000,000.

        “Test Period” in effect at any time means the most recent period of four consecutive
Fiscal Quarters of the Borrower ended on or prior to such time (taken as one accounting period);
provided that, prior to the first date that financial statements have been or are required to be
delivered pursuant to Section 7.1(a) or (b), the Test Period in effect shall be the period of four
consecutive Fiscal Quarters of the Borrower ended [ ], 2018. A Test Period may be designated

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by reference to the last day thereof (i.e., the “[ ], 2018 Test Period” refers to the period of four
consecutive Fiscal Quarters of the Borrower ended [ ], 2018), and a Test Period shall be deemed
to end on the last day thereof.

        “Threshold Amount” means $18,500,000.

       “Total Assets” means the total assets of the Borrower and the Restricted Subsidiaries on a
consolidated basis in accordance with IFRS, as shown on the most recent balance sheet of the
Borrower delivered pursuant to Sections 7.1(a) or 7.1(b) or, for the period prior to the time any
such statements are so delivered pursuant to Sections 7.1(a) or 7.1(b), the Pro Forma Financial
Statements.

       “Transaction” means, collectively, (a) the funding of the Loans on the Closing Date, (b)
the consummation of any other transactions in connection with the foregoing including the
funding of the ABL DIP Facility under the ABL DIP Credit Agreement and a prepayment of any
Pre-Petition Revolving Loans (as defined in the ABL DIP Credit Agreement) outstanding under
the Pre-Petition Credit Agreement, and (c) the payment of the fees and expenses incurred in
connection with any of the foregoing.

        “Transaction Expenses” means any fees or expenses incurred or paid by any direct or
indirect parent of the Borrower, the Borrower or any of its (or their) Subsidiaries in connection
with the Transactions (including expenses in connection with close-out fees in connection with
the termination of hedging transactions, if any, and payments to officers, employees and
directors as change of control payments, severance payments, special or retention bonuses and
charges for repurchase or rollover of, or modifications to, stock options and/or restricted stock),
this Agreement and the other Loan Documents and the transactions contemplated hereby and
thereby.

      “Type” means, with respect to a Loan, its character as a Base Rate Loan or a
Eurocurrency Rate Loan.

        “Uniform Commercial Code” or “UCC” means the Uniform Commercial Code or any
successor provision thereof as the same may from time to time be in effect in the State of New
York or the Uniform Commercial Code or any successor provision thereof (or similar code or
statute) of another jurisdiction, to the extent it may be required to apply to any item or items of
Collateral.

        “United States” and “U.S.” mean the United States of America.

       “Unrestricted Subsidiary” means any Subsidiary of the Borrower designated by the
Board of Directors of the Borrower as an Unrestricted Subsidiary prior to the Closing Date.
There are no Unrestricted Subsidiaries as of the Closing Date.

        “U.S. Lender” has the meaning specified in Section 3.1.

        “U.S. Trustee” means the United States Trustee applicable in the Cases.



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       “USA PATRIOT Act” means The Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title III of Pub. L.
No. 107-56 (signed into law October 26, 2001)), as amended or modified from time to time.

        “Variance Report” has the meaning provided in Section 7.1(g).

       “wholly owned” means, with respect to a Subsidiary of a Person, a Subsidiary of such
Person all of the outstanding Equity Interests of which (other than (x) director’s qualifying shares
and (y) nominal shares issued to foreign nationals to the extent required by applicable Law) are
owned by such Person and/or by one or more wholly owned Subsidiaries of such Person.

       “Write-down and Conversion Powers” means, with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time
to time under the Bail-In Legislation for the applicable EEA Member Country, which write-
down and conversion powers are described in the EU Bail-In Legislation Schedule.

       “Withdrawal Liability” means the liability to a Multiemployer Plan as a result of a
complete or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I
of Subtitle E of Title IV of ERISA.

       SECTION 1.2 Other Interpretive Provisions. With reference to this Agreement and each
other Loan Document, unless otherwise specified herein or in such other Loan Document:

       (a)     The meanings of defined terms are equally applicable to the singular and plural
forms of the defined terms.

        (b)     (i) The words “herein,” “hereto,” “hereof” and “hereunder” and words of similar
import when used in any Loan Document shall refer to such Loan Document as a whole and not
to any particular provision thereof.

                (ii)    References in this Agreement to an Exhibit, Schedule, Article, Section,
        clause or sub-clause refer (A) to the appropriate Exhibit or Schedule to, or Article,
        Section, clause or sub-clause in this Agreement or (B) to the extent such references are
        not present in this Agreement, to the Loan Document in which such reference appears,

                (iii)      The term “including” is by way of example and not limitation,

               (iv)   The term “documents” includes any and all instruments, documents,
        agreements, certificates, notices, reports, financial statements and other writings, however
        evidenced, whether in physical or electronic form, and

                (v)     Unless otherwise expressly indicated herein, the words “above” and
        “below”, when following a reference to a clause or a sub-clause of any Loan Document,
        refer to a clause or sub-clause within, respectively, the same Section or clause.

        (c)    The terms “Lender” and “Administrative Agent” include, without limitation, their
respective successors.


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        (d)    In the computation of periods of time from a specified date to a later specified
date, the word “from” means “from and including”, the words “to” and “until” each mean “to but
excluding” and the word “through” means “to and including.”

       (e)   Section headings herein and in the other Loan Documents are included for
convenience of reference only and shall not affect the interpretation of this Agreement or any
other Loan Document.

        (f)    For purposes of determining compliance with any Section of Article IX at any
time, except as otherwise expressly set forth herein, in the event that any Lien, Investment,
Indebtedness (whether at the time of incurrence or upon application of all or a portion of the
proceeds thereof), Disposition, Restricted Payment, Affiliate transaction, Contractual Obligation,
or prepayment of Indebtedness meets the criteria of one or more than one of the categories of
transactions permitted pursuant to any clause of such Sections, such transaction (or portion
thereof) at any time, shall be permitted under one or more of such clauses as determined by the
Borrower in its sole discretion at such time.

        SECTION 1.3 Accounting Terms. All accounting terms not specifically or completely
defined herein shall be construed in conformity with, and all financial data (including financial
ratios and other financial calculations) required to be submitted pursuant to this Agreement shall
be prepared in conformity with, IFRS (or, if the Borrower has elected to report under GAAP,
GAAP), except as otherwise specifically prescribed herein.

       Notwithstanding any changes in GAAP or IFRS after the Closing Date, any lease of the
Loan Parties and their Subsidiaries that would be characterized as an operating lease under
GAAP or IFRS in effect on the Closing Date (whether such lease is entered into before or after
the Closing Date) shall not constitute Indebtedness, Attributable Indebtedness or a Capitalized
Lease Obligation under this Agreement or any other Loan Document as a result of such changes
in GAAP or IFRS.

        SECTION 1.4 Rounding. Any financial ratios required to be satisfied in order for a
specific action to be permitted under this Agreement shall be calculated by dividing the
appropriate component by the other component, carrying the result to one place more than the
number of places by which such ratio is expressed herein and rounding the result up or down to
the nearest number (with a rounding-up if there is no nearest number)

        SECTION 1.5 [Reserved].

        SECTION 1.6 References to Agreements, Laws, Etc. Unless otherwise expressly
provided herein, (a) references to Organization Documents, agreements (including the Loan
Documents) and other contractual instruments shall be deemed to include all appendices,
exhibits and schedules thereto and all subsequent amendments, restatements, extensions,
supplements and other modifications thereto (but only to the extent that such amendments,
restatements, extensions, supplements and other modifications are permitted by any Loan
Document); and (b) references to any Law shall include all statutory and regulatory provisions
consolidating, amending, replacing, supplementing or interpreting such Law.


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        SECTION 1.7 Times of Day. Unless otherwise specified, all references herein to times
of day shall be references to Eastern time (daylight or standard, as applicable).

        SECTION 1.8 Timing of Payment of Performance. When the payment of any obligation
or the performance of any covenant, duty or obligation is stated to be due or performance
required on a day which is not a Business Day, the date of such payment (other than as described
in the definition of Interest Period) or performance shall extend to the immediately succeeding
Business Day.

        SECTION 1.9 Pro Forma Calculations.

        (a)     Notwithstanding anything to the contrary herein, financial ratios and tests shall be
calculated in the manner prescribed by this Section 1.9; provided that, notwithstanding anything
to the contrary in clauses (b), (c), (d), (e) or (f) of this Section 1.9, when calculating any such
ratio or test for purposes of the incurrence of any Indebtedness, cash and Cash Equivalents
resulting from the incurrence of any such Indebtedness shall be excluded from the pro forma
calculation of any applicable ratio or test. In addition, whenever a financial ratio or test is to be
calculated on a pro forma basis, the reference to the “Test Period” for purposes of calculating
such financial ratio or test shall be deemed to be a reference to, and shall be based on, the most
recently ended Test Period for which financial statements have been delivered pursuant to
Section 7.1(a) or (b), as applicable, for the relevant Test Period.

        (b)     For purposes of calculating any financial ratio or test or compliance with any
covenant determined by reference to Total Assets, Specified Transactions (with any incurrence
or repayment of any Indebtedness in connection therewith to be subject to clause (d) of this
Section 1.9) that have been made (i) during the applicable Test Period or (ii) if applicable as
described in clause (a) above, subsequent to such Test Period and prior to or simultaneously with
the event for which the calculation of any such ratio is made shall be calculated on a pro forma
basis assuming that all such Specified Transactions (and any increase or decrease in Total Assets
and the component financial definitions used therein attributable to any Specified Transaction)
had occurred on the first day of the applicable Test Period (or, in the case of Total Assets, on the
last day of the applicable Test Period). If since the beginning of any applicable Test Period any
Person that subsequently became a Restricted Subsidiary or was merged, amalgamated or
consolidated with or into the Borrower or any of its Restricted Subsidiaries since the beginning
of such Test Period shall have made any Specified Transaction that would have required
adjustment pursuant to this Section 1.9, then such financial ratio or test (or Total Assets) shall be
calculated to give pro forma effect thereto in accordance with this Section 1.9.

        (c)     In the event that the Borrower or any Restricted Subsidiary incurs (including by
assumption or guarantees) or repays (including by redemption, repayment, retirement or
extinguishment) any Indebtedness (other than Indebtedness incurred or repaid under any
revolving credit facility unless such Indebtedness has been permanently repaid and not replaced),
(i) during the applicable Test Period or (ii) subject to paragraph (a), subsequent to the end of the
applicable Test Period and prior to or simultaneously with the event for which the calculation of
any such ratio is made, then such financial ratio or test shall be calculated giving pro forma effect
to such incurrence or repayment of Indebtedness, in each case to the extent required, as if the
same had occurred on the last day of the applicable Test Period.

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       (d)     Whenever pro forma effect is to be given to a Specified Transaction, the pro
forma calculations shall be made in good faith by a responsible financial or accounting officer of
the Borrower.

        (e)     [reserved].

         (f)    If any Indebtedness bears a floating rate of interest and is being given pro forma
effect, the interest on such Indebtedness shall be calculated as if the rate in effect on the date of
the event for which the calculation is made had been the applicable rate for the entire period
(taking into account any interest hedging arrangements applicable to such Indebtedness);
provided, in the case of repayment of any Indebtedness, to the extent actual interest related
thereto was included during all or any portion of the applicable Test Period, the actual interest
may be used for the applicable portion of such Test Period. Interest on a Capitalized Lease
Obligation shall be deemed to accrue at an interest rate reasonably determined by a Responsible
Officer of the Borrower to be the rate of interest implicit in such Capitalized Lease Obligation in
accordance with IFRS. Interest on Indebtedness that may optionally be determined at an interest
rate based upon a factor of a prime or similar rate, a London interbank offered rate, or other rate,
shall be determined to have been based upon the rate actually chosen, or if none, then based upon
such optional rate chosen as the Borrower or Restricted Subsidiary may designate.

        SECTION 1.10            Currency Equivalents Generally. For purposes of determining
compliance with Sections 9.1, 9.2 and 9.3 with respect to any amount of Indebtedness or
Investment in a currency other than Dollars, no Default shall be deemed to have occurred solely
as a result of changes in rates of currency exchange occurring after the time such Indebtedness or
Investment is incurred (so long as such Indebtedness or Investment, at the time incurred, made or
acquired, was permitted hereunder).

       SECTION 1.11            Schedules. All schedules attached hereto or to any other Loan
Documents shall be deemed to incorporate by reference all information disclosed in the Orders,
the Chapter 11 Plan and the Disclosure Statement, in each case as of the Petition Date, in the
form delivered to the Administrative Agent and the Collateral Agent prior to date of the
Commitment Letters, which Orders, the Chapter 11 Plan and the Disclosure Statement, shall
have been modified or amended without the consent of the Administrative Agent and the
Collateral Agent in their sole discretion.

                                           ARTICLE II

                                         THE FACILITY

       SECTION 2.1 The Loans. On the terms and subject to the conditions contained in this
Agreement, each Lender severally agrees to make term loans (a “Loan”) to the Borrower in an
aggregate principal amount equal to such Lender’s Term Commitment on the Closing Date.
Amounts borrowed under this Section 2.01(a) and repaid or prepaid may not be reborrowed.
Loans may be Base Rate Loans or Eurocurrency Rate Loans, as further provided
herein.Borrowing Procedure.



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        (a)     The Borrowing shall be made on written notice given by the Borrower to the
Administrative Agent (i) not later than [12:00 noon]. (New York, New York time) on the
Closing Date, in the case of a Borrowing of Base Rate Loans or (ii) not later than 12:00 noon
(New York, New York time) three (3) Business Days prior to the requested date of such
Borrowing, in the case of a Borrowing of Eurocurrency Rate Loans[; provided that the notice
referred to in this subclause (ii) may be delivered no later than one (1) Business Day prior to the
Closing Date in the case of any Borrowing of Eurocurrency Rate Loans on the Closing Date].
Each such notice shall be in substantially the form of Exhibit C (a “Notice of Borrowing”),
specifying (A) the date of such proposed Borrowing, which shall be a Business Day, (B) the
aggregate amount of such proposed Borrowing, (C) whether any portion of the proposed
Borrowing will be of Base Rate Loans or Eurocurrency Rate Loans, (D) the initial Interest Period
or Interest Periods for any Eurocurrency Rate Loans and (E) the Class of such proposed
Borrowing. The Loans shall be made as Base Rate Loans, unless, subject to Section 2.14, the
Notice of Borrowing specifies that all or a portion thereof shall be Eurocurrency Rate Loans.
The Borrowing shall be in an aggregate amount of not less than $500,000 or an integral multiple
of $100,000 in excess thereof.

       (b)     The Administrative Agent shall give to each Appropriate Lender prompt notice of
the Administrative Agent’s receipt of the Notice of Borrowing and, if Eurocurrency Rate Loans
are properly requested in the Notice of Borrowing, the applicable interest rate determined
pursuant to Section 2.14(a). Each Lender shall, before 2:00 p.m. on the date of the proposed
Borrowing, make available to the Administrative Agent at its address referred to in Section 12.8,
in Same Day Funds in the applicable currency, such Lender’s Ratable Portion of the proposed
Borrowing. Upon fulfillment (or due waiver in accordance with Section 12.1) on the Closing
Date, of the applicable conditions set forth in Section 4.1 and, subject to clause (c) below, after
the Administrative Agent’s receipt of such funds, the Administrative Agent shall make such
funds available to the Borrower as promptly as reasonably practicable.

         (c)     Unless the Administrative Agent shall have received notice from a Lender prior to
the date of any proposed Borrowing that such Lender will not make available to the
Administrative Agent such Lender’s Ratable Portion of the Borrowing (or any portion thereof),
the Administrative Agent may assume that such Lender has made such Ratable Portion available
to the Administrative Agent on the date of the Borrowing in accordance with this Section 2.2 and
the Administrative Agent may, in reliance upon such assumption, make available to the
Borrower on such date a corresponding amount. If and to the extent that such Lender shall not
have so made such Ratable Portion available to the Administrative Agent, such Lender and the
Borrower severally agrees to repay to the Administrative Agent forthwith on demand such
corresponding amount together with interest thereon, for each day from the date such amount is
made available to the Borrower until the date such amount is repaid to the Administrative Agent,
at (i) in the case of the Borrower, the interest rate applicable at the time to the Loans comprising
the Borrowing and (ii) in the case of such Lender, the Federal Funds Rate for the first Business
Day and thereafter at the interest rate applicable at the time to the Loans comprising the
Borrowing. If such Lender shall repay to the Administrative Agent such corresponding amount,
such corresponding amount so repaid shall constitute such Lender’s Loan as part of the
Borrowing for purposes of this Agreement. If the Borrower shall repay to the Administrative
Agent such corresponding amount, such payment shall not relieve such Lender of any obligation
it may have hereunder to the Borrower.

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        (d)     After giving effect to all Borrowings, all conversions of Loans from one Type to
the other, and all continuations of Loans as the same Type, there shall not be more than [ten(10)]
Interest Periods in effect unless otherwise agreed between the Borrower and the Administrative
Agent.

        SECTION 2.3 [Reserved].

        SECTION 2.4 [Reserved].

       SECTION 2.5 Termination of the Term Loan Commitments.            The Term Loan
Commitments shall automatically terminate immediately upon the making of the Loans on the
Closing Date.

      SECTION 2.6 Repayment of Loans.             The Borrower promises to repay to the
Administrative Agent for the ratable account of the Lenders the aggregate unpaid principal
amount of the Loans on the Maturity Date or earlier, if otherwise required by the terms hereof.

        SECTION 2.7 Evidence of Indebtedness.

       (a)     The Loans made by each Lender shall be evidenced by one or more accounts or
records maintained by such Lender and evidenced by one or more entries in the Register
maintained by the Administrative Agent, acting solely for purposes of Treasury Regulation
Section 5f.103-1(c), as agent for the Borrower, in each case in the Ordinary Course of Business.
Subject to Section 12.2(c), accounts or records maintained by the Administrative Agent and each
Lender shall be prima facie evidence absent manifest error of the amount of the Loans made by
the Lenders to the Borrower and the interest and payments thereon. Any failure to so record or
any error in doing so shall not, however, limit or otherwise affect the obligation of the Borrower
hereunder to pay any amount owing with respect to the Obligations. In the event of any conflict
between the accounts and records maintained by any Lender and the accounts and records of the
Administrative Agent in respect of such matters, the accounts and records of the Administrative
Agent shall control in the absence of manifest error.

       (b)     (i) Subject to Section 12.2(c), entries made in good faith by the Administrative
Agent in the Register pursuant to Sections 2.7(a) and by each Lender in its account or accounts
pursuant to Section 2.7(a) shall be prima facie evidence of the amount of principal and interest
due and payable or to become due and payable from the Borrower to, in the case of the Register,
each Lender and, in the case of such account or accounts, such Lender, under this Agreement and
the other Loan Documents, absent manifest error; provided that the failure of the Administrative
Agent or such Lender to make an entry, or any finding that an entry is incorrect, in the Register
or such account or accounts shall not limit or otherwise affect the obligations of the Borrower
under this Agreement and the other Loan Documents.

                 (ii)    Notwithstanding anything to the contrary contained in this Agreement, the
        Loans (including the Notes evidencing such Loans) are registered obligations and the
        right, title, and interest of the Lenders and their assignees in and to such Loans, as the
        case may be, shall be transferable only upon notation of such transfer in the Register. A
        Note shall only evidence the Lender’s or a registered assignee’s right, title and interest in
        and to the related Loan, and in no event is any such Note to be considered a bearer
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        instrument or obligation. This Section 2.7(b) and Section 12.2 shall be construed so that
        the Loans are at all times maintained in “registered form” within the meaning of Sections
        163(f), 871(h)(2) and 881(c)(2) of the Code and any related regulations (or any successor
        provisions of the Code or such regulations).

        (c)     Notwithstanding any other provision of the Agreement, in the event that any
Lender requests that the Borrower execute and deliver a promissory note or notes payable to
such Lender in order to evidence the Indebtedness owing to such Lender by the Borrower
hereunder, the Borrower shall promptly execute and deliver a Note to such Lender evidencing
the Loans of such Lender, substantially in the form of Exhibit B. Each Lender may attach
schedules to its Note and endorse thereon the date, Type (if applicable), amount and maturity of
its Loans and payments with respect thereto; provided that the failure to do so shall in no way
affect the obligations of the Borrower or any other Loan Party under any Loan Document.

        SECTION 2.8 Optional Prepayments.

        The Borrower may prepay, in the applicable currency, the outstanding principal amount
of the Loans in whole or in part at any time; provided, however, that if any prepayment of any
Eurocurrency Rate Loan is made by the Borrower other than on the last day of an Interest Period
for such Loan, the Borrower shall also pay any amount owing pursuant to Section 3.5.

        SECTION 2.9 Mandatory Prepayments.

        (a)     Subject to the DIP Intercreditor Agreement, if at any time, any Loan Party or any
of its Subsidiaries receives any Net Cash Proceeds arising from any Disposition in respect of any
Collateral outside of the Ordinary Course of Business and not required to be applied to amounts
outstanding under the ABL DIP Loan Documents, the Borrower shall promptly (but in any event
within five (5) Business Days of such receipt) prepay the Loans in an amount equal to 100% of
such Net Cash Proceeds.

        (b)     Subject to the DIP Intercreditor Agreement, if at any time, any Loan Party or any
of its Subsidiaries receives any Net Cash Proceeds arising from any incurrence, issuance or sale
by the Borrower or any Restricted Subsidiary of any Indebtedness (including, without limitation,
the Net Cash Proceeds of any bankruptcy exit financing), that it not otherwise permitted under
this Agreement, the Borrower shall promptly (but in any event within five (5) Business Days of
such receipt) prepay the Loans in an amount equal to 100% of such Net Cash Proceeds.

        (c)    Subject to Section 3.5 hereof, all such payments in respect of the Loans pursuant
to this Section 2.9 shall be without premium or penalty. All interest accrued on the principal
amount of the Loans paid pursuant to this Section 2.9 shall be paid, or may be charged by the
Administrative Agent to any loan account(s) of the Borrower, at the Administrative Agent’s
option, on the date of such payment. Interest shall accrue and be due, until the next Business
Day, if the amount so paid by the Borrower to the bank account designated by the Administrative
Agent for such purpose is received in such bank account after 3:00 p.m.

        SECTION 2.10          Interest.



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        (a)     Rate of Interest. All Loans and the outstanding amount of all other Obligations
owing under the Loan Documents shall bear interest, in the case of any Class of Loans, on the
unpaid principal amount thereof from the date such Loans are made and, in the case of such other
Obligations, from the date such other Obligations are due and payable until, in all cases, paid in
full, except as otherwise provided in clause (c) below, as follows:

               (i)      if a Base Rate Loan or such other Obligation (except as otherwise
        provided in this Section 2.10(a)), at a rate per annum equal to the sum of (A) the Base
        Rate as in effect from time to time and (B) the Applicable Rate for Base Rate Loans; and

               (ii)    if a Eurocurrency Rate Loan, at a rate per annum equal to the sum of (A)
        the Adjusted Eurocurrency Rate determined for the applicable Interest Period and (B) the
        Applicable Rate applicable to Eurocurrency Rate Loans in effect from time to time
        during such Interest Period.

        (b)    Interest Payments. (i) Interest accrued on each Base Rate Loan shall be payable
in arrears (A) on the first Business Day of each month, commencing on the first such day
following the making of such Base Rate Loan and (B) if not previously paid in full, at maturity
(whether by acceleration or otherwise) of such Base Rate Loan, (ii) interest accrued on each
Eurocurrency Rate Loan shall be payable in arrears (A) on the last day of each Interest Period
applicable to such Loan and, if such Interest Period has a duration of more than one (1) month,
on each date during such Interest Period occurring every one (1) month from the first day of such
Interest Period, (B) upon the payment or prepayment thereof in full or in part and (C) if not
previously paid in full, at maturity (whether by acceleration or otherwise) of such Eurocurrency
Rate Loan and (iii) interest accrued on the amount of all other Obligations shall be payable on
demand from and after the time such Obligation becomes due and payable (whether by
acceleration or otherwise).

       (c)    Default Interest. At the election of the Required Lenders, upon the occurrence
and during the continuation of an Event of Default, all Loans hereunder shall bear interest at a
per annum rate equal to the Default Rate to the fullest extent permitted by applicable Laws.
Accrued and unpaid interest on past due amounts (including interest on past due interest) shall be
due and payable upon demand.

        SECTION 2.11          Conversion/Continuation Option.

        (a)     The Borrower may elect (i) at any time on any Business Day, to convert Base
Rate Loans or any portion thereof to Eurocurrency Rate Loans and (ii) at the end of any
applicable Interest Period, to convert Eurocurrency Rate Loans or any portion thereof into Base
Rate Loans, or to continue such Eurocurrency Rate Loans or any portion thereof for an additional
Interest Period; provided, however, that the aggregate amount of the Eurocurrency Rate Loans
for each Interest Period must be in the amount of at least $500,000 or an integral multiple of
$100,000 in excess thereof. Each conversion or continuation shall be allocated among the Loans
of each Lender in accordance with such Lender’s Ratable Portion. Each such election shall be in
substantially the form of Exhibit F (a “Notice of Conversion or Continuation”) and shall be made
by giving the Administrative Agent at least three (3) Business Days’ prior written notice
specifying (A) the amount and type of Loan being converted or continued, (B) in the case of a

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conversion to or a continuation of Eurocurrency Rate Loans, the applicable Interest Period and
(C) in the case of a conversion, the date of such conversion.

        (b)     The Administrative Agent shall promptly notify each Lender of its receipt of a
Notice of Conversion or Continuation and of the options selected therein. Notwithstanding the
foregoing, the Administrative Agent or the Requisite Lenders may require by notice to the
Borrower that no conversion in whole or in part of Base Rate Loans to Eurocurrency Rate Loans
and no continuation in whole or in part of Eurocurrency Rate Loans upon the expiration of any
applicable Interest Period shall be permitted at any time at which (A) an Event of Default shall
have occurred and be continuing or (B) the continuation of, or conversion into, a Eurocurrency
Rate Loan would violate any provision of Section 2.14. If, within the time period required under
the terms of this Section 2.11, the Administrative Agent does not receive a Notice of Conversion
or Continuation from the Borrower containing a permitted election to continue any Eurocurrency
Rate Loans for an additional Interest Period or to convert any such Loans, then, upon the
expiration of the applicable Interest Period, such Loans shall be automatically converted to Base
Rate Loans. Each Notice of Conversion or Continuation shall be irrevocable.

       SECTION 2.12           Fees. The Borrower has agreed to pay to the Administrative Agent
and the Arrangers those certain fees, the amount and dates of payment of which are embodied in
the Fee Letter.

        SECTION 2.13          Payments and Computations.

        (a)    All payments to be made by the Borrower shall be made without condition or
deduction for any counterclaim, defense, recoupment or setoff. The Borrower shall make each
payment and prepayment hereunder (including fees and expenses) not later than 2:00 p.m. on the
day when due, (i) in the case of Loans, in the currency in which such Loan is denominated, (ii) in
the case of any accrued interest payable on a Loan, in the currency of such Loan, as applicable,
and (iii) in the case of all other payments under each Loan Document, in Dollars except as
otherwise expressly provided herein or therein, in each case to the Administrative Agent, for the
account of the respective Lenders to which such payment is owed, at the applicable
Administrative Agent’s Office for payment and in Same Day Funds without condition or
deduction for any defense, recoupment, set-off or counterclaim. The Administrative Agent will
promptly distribute to each Lender its Pro Rata Share (or other applicable share as provided
herein) of such payment in like funds as received by wire transfer to such Lender’s Lending
Office. All payments received by the Administrative Agent after 2:00 p.m. shall, in each case be
deemed received on the next succeeding Business Day and any applicable interest or fee shall
continue to accrue.

       (b)     All computations of interest for Base Rate Loans shall be made on the basis of a
year of 365 days or 366 days, as the case may be, and actual days elapsed. All other
computations of fees and interest shall be made on the basis of a 360-day year and actual days
elapsed (which results in more fees or interest, as applicable, being paid than if computed on the
basis of a 365 day year). Interest shall accrue on each Loan for the day on which the Loan is
made, and shall not accrue on a Loan, or any portion thereof, for the day on which the Loan or
such portion is paid; provided that any Loan that is repaid on the same day on which it is made


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shall bear interest for one (1) day. Each determination by the Administrative Agent of an interest
rate or fee hereunder shall be conclusive and binding for all purposes, absent manifest error.

        (c)     [Reserved].

        (d)    Whenever any payment hereunder shall be stated to be due on a day other than a
Business Day, the due date for such payment shall be extended to the next succeeding Business
Day, and such extension of time shall in such case be included in the computation of payment of
interest or fees, as the case may be; provided, however, that if such extension would cause
payment of interest on or principal of any Eurocurrency Rate Loan to be made in the next
calendar month, such payment shall be made on the immediately preceding Business Day. All
repayments of any Loans shall be applied as follows: first, to repay any such Loans outstanding
as Base Rate Loans and then, to repay any such Loans outstanding as Eurocurrency Rate Loans,
with those Eurocurrency Rate Loans having earlier expiring Interest Periods being repaid prior to
those having later expiring Interest Periods.

        (e)     Unless the Administrative Agent shall have received notice from the Borrower to
the Lenders prior to the date on which any payment is due hereunder that the Borrower will not
make such payment in full, the Administrative Agent may assume that the Borrower has made
such payment in full to the Administrative Agent on such date and the Administrative Agent may
(but shall not be so required to), in reliance upon such assumption, cause to be distributed to each
Lender on such due date an amount equal to the amount then due such Lender. If and to the
extent that the Borrower shall not have made such payment to the Administrative Agent in Same
Day Funds in the applicable currency, then each Lender shall repay to the Administrative Agent
forthwith on demand the portion of such assumed payment that was made available to such
Lender in Same Day Funds in the applicable currency, together with interest thereon in respect of
each day from and including the date such amount was made available to such Lender to the date
such amount is repaid to the Administrative Agent in Same Day Funds in the applicable currency
at the applicable Overnight Rate from time to time in effect.

        (f)     Except for payments and other amounts received by the Administrative Agent and
applied in accordance with the provisions of Section 10.2(b) below (or required to be applied in
accordance with Section 2.9), all payments and any other amounts received by the
Administrative Agent from or for the benefit of the Borrower shall be applied as follows: first, to
pay principal of, and interest on, any portion of the Loans the Administrative Agent may have
advanced pursuant to the express provisions of this Agreement on behalf of any Lender, for
which the Administrative Agent has not then been reimbursed by such Lender or the Borrower,
second, to pay all other Obligations then due and payable and third, as the Borrower so
designates. Payments in respect of Loans received by the Administrative Agent shall be
distributed to each Lender in accordance with such Lender’s Ratable Portion; and all payments
of fees and all other payments in respect of any other Obligation shall be allocated among such
of the Lenders as are entitled thereto and, for such payments allocated to the Lenders, in
proportion to their respective Ratable Portions.

        SECTION 2.14          Special Provisions Governing Eurocurrency Rate Loans.



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       (a)     Determination of Interest Rate. The Adjusted Eurocurrency Rate for each Interest
Period for Eurocurrency Rate Loans shall be determined by the Administrative Agent pursuant to
the procedures set forth in the definition of “Eurocurrency Rate”. The Administrative Agent’s
determination shall be presumed to be correct and binding on the Loan Parties, absent manifest
error.

         (b)    Interest Rate Unascertainable, Inadequate or Unfair. In the event that (i) the
Administrative Agent reasonably determines that adequate and fair means do not exist for
ascertaining the applicable interest rates by reference to which the Eurocurrency Rate then being
determined is to be fixed or (ii) the Requisite Lenders reasonably determine and notify the
Administrative Agent that the Eurocurrency Rate for any Interest Period will not adequately
reflect the cost to the Lenders of making or maintaining such Loans for such Interest Period, the
Administrative Agent shall forthwith so notify the Borrower and the Lenders, whereupon each
Eurocurrency Rate Loan shall automatically, on the last day of the current Interest Period for
such Loan, convert into a Base Rate Loan, and the obligations of the Lenders to make
Eurocurrency Rate Loans or to convert Base Rate Loans into Eurocurrency Rate Loans shall be
suspended until the Administrative Agent shall notify the Borrower that the Requisite Lenders
have determined that the circumstances causing such suspension no longer exist.

        SECTION 2.15           [Reserved].

        SECTION 2.16           [Reserved].

        SECTION 2.17           Certain Bankruptcy Matters.

        (a)     Except to the extent expressly provided otherwise in an Order, the Loan Parties
hereby agree that, subject only to the Carve Out and the DIP Intercreditor Agreement, the
Obligations shall be deemed to (i) constitute DIP Superpriority Claims over all administrative
expense claims and claims against the Borrower or the other Loan Parties now existing or
hereafter arising, of any kind or nature whatsoever, including, without limitation, all
administrative expense claims of the kind specified in Sections 105, 326, 328, 330, 331, 365,
503(a), 503(b), 506(c) (subject to entry of the Final Order) (and all rights to charge the Collateral
and all collateral securing the Pre-Petition Obligations under Section 506(c) shall be waived),
507(a), 507(b), 546(c), 546(d), 726, 1113, 1114 or any other provisions of the Bankruptcy Code
and all superpriority administrative expense claims granted to any other Person the establishment
of which super-priority shall have been approved and authorized by the Bankruptcy Court, (ii)
pursuant to Bankruptcy Code Section 364(c)(2), be secured by a perfected first-priority security
interest in the Collateral, and any proceeds and products thereof in whatever form received,
provided, further that the Collateral shall exclude the Debtors’ claims and causes of action under
Chapter 5 of the Bankruptcy Code, or other Avoidance Actions, but subject only to, and effective
upon, entry of the Final Order, shall include any proceeds or property recovered, unencumbered
or otherwise the subject of successful Avoidance Actions, whether by judgment, settlement or
otherwise, in each case, to the extent that such Collateral is not subject to valid, perfected and
non-avoidable liens as of the commencement of the Cases, (iii) pursuant to Bankruptcy Code
section 364(c)(3), be secured by a perfected lien on all Collateral, to the extent that such
Collateral is subject to valid, perfected and non-avoidable liens in favor of third parties in
existence at the time of the commencement of the Cases or to valid liens in existence at the time

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of such commencement that are perfected subsequent to such commencement as permitted by
Section 546(b) of the Bankruptcy Code and (iv) pursuant to Bankruptcy Code section 364(d), be
secured by a perfected priming first priority lien on all Collateral, to the extent that such
Collateral is subject to valid, perfected and non-avoidable liens in favor of third parties as of the
commencement of the Cases that secure the obligations of the Loan Parties under or in
connection with the Pre-Petition Credit Agreement.

       (b)    In the event of a conflict between, or inconsistency among, the Orders, on the one
hand, and any Loan Document, on the other hand, the Orders shall control.

        (c)     Notwithstanding anything to the contrary contained herein or elsewhere (except as
specifically described below):

                (i)     the parties hereto agree, and the Orders shall provide, that the Loan Parties
        shall not be required to prepare, file, register or publish any financing statements,
        mortgages, account control agreements, notices of Lien or similar instruments in any
        jurisdiction or filing or registration office, or to take possession of any Collateral or to
        take any other action in order to validate, render enforceable or perfect the Liens on the
        Collateral granted by or pursuant to this Agreement, the Orders or any other Loan
        Document. Subject to the limitations set forth in the definition of “Guarantee and
        Collateral Requirement” and in Sections 8.11 and 8.13, if the Administrative Agent (in its
        sole discretion), from time to time elects to prepare, file, register or publish any such
        financing statements, mortgages, account control agreements, notices of Lien or similar
        instruments, take possession of any Collateral, or take any other action to validate, render
        enforceable or perfect all or any portion of the Collateral Agent’s Liens on the Collateral,
        (A) all such documents and actions shall be deemed to have been filed, registered,
        published or recorded or taken at the time and on the date that the Interim Order is
        entered, and (B) shall not negate or impair the validity or effectiveness of this Section
        2.17(c) or of the perfection of any other Liens in favor of the Collateral Agent, for the
        benefit of the Lenders and the other Loan Parties, on the Collateral; and

                (ii)     except as otherwise agreed to by the Lenders (including, without
        limitation, in the DIP Intercreditor Agreement) or as otherwise permitted or contemplated
        by this Agreement, the Orders or the other Loan Documents, the Liens, Lien priorities,
        DIP Superpriority Claims and other rights and remedies granted to the Loan Parties
        pursuant to this Agreement, the Orders or the other Loan Documents (specifically
        including, but not limited to, the existence, perfection, enforceability and priority of the
        Liens provided for herein and therein, and the DIP Superpriority Claims provided herein
        and therein) shall not be modified, altered or impaired in any manner by any other
        financing or extension of credit or incurrence of indebtedness by the Borrower or any
        other Loan Party (pursuant to Section 364 of the Bankruptcy Code or otherwise), or by
        dismissal or conversion of the Cases, or by any other act or omission whatsoever.

       (d)     Without limiting the generality of the foregoing, notwithstanding any such
financing, extension, incurrence, dismissal, conversion, act or omission:



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                (i)     subject only to the Carve Out and the Orders, no costs or expenses of
        administration which have been or may be incurred in the Cases or any conversion of the
        same or in any other proceedings related thereto, and no priority claims, are or will be
        prior to or on a parity with any claim of any Lender or the Administrative Agent against
        the Borrower in respect of any Obligations;

                (ii)    other than as provided in the Orders or the Loan Documents, the Collateral
        Agent’s Liens on the Collateral shall constitute valid, enforceable and perfected Liens,
        and, except with respect to the Carve Out (and as otherwise set forth in the DIP
        Intercreditor Agreement and in the Orders), shall be prior to all other Liens now existing
        or hereafter arising, in favor of any other creditor or other Person; and

                (iii) the parties hereto agree, and the Orders shall provide, that the Collateral
        Agent’s Liens on the Collateral shall continue to be valid, enforceable and perfected
        without the need for the Collateral Agent or any Lender to prepare, file, register or
        publish any financing statements, mortgages, hypothecs, account control agreements,
        notices of Lien or similar instruments or to otherwise perfect the Collateral Agent’s Liens
        under applicable non-bankruptcy law.

        (e)    Upon confirmation of a Plan acceptable to the Lenders, each Lender, with respect
to the outstanding principal amount of its Loans at such time, may elect to treat all such principal
amount of Loans as loans outstanding under the exit term loan facility contemplated by the Exit
Commitment Letter that is approved under such Plan to the extent the terms and conditions of
such financing are satisfactory to such Lender as shall be evidenced pursuant to such letter
agreements on terms satisfactory to such Lender and the Administrative Agent under such exit
financing. Upon such approval by such Lender and consummation of such exit financing, the
outstanding principal amount of such Lender’s Loans shall no longer be outstanding under this
Agreement.

                                          ARTICLE III

             TAXES, INCREASED COSTS PROTECTION AND ILLEGALITY

        SECTION 3.1 Taxes.

         (a)     Except as required by law, any and all payments by the Borrower or any
Guarantor under any Loan Document shall be made free and clear of and without deduction for
any and all present or future taxes, duties, levies, imposts, deductions, assessments, fees,
withholdings (including backup withholding) or other charges imposed by any Governmental
Authority, including any interest, additions to tax or penalties applicable thereto (collectively,
“Taxes”), excluding, in the case of each Agent and each Lender, (i) Taxes imposed on or
measured by net income (however denominated), franchise Taxes, and branch profits Taxes, in
each case, imposed as a result of such Agent or Lender being organized under the laws of, or
having its principal office in or, in the case of any Lender, its applicable lending office located
in, the jurisdiction imposing such Tax, (ii) Taxes imposed on such Agent or Lender as a result of
a present or former connection between such Agent or Lender and the jurisdiction imposing such
Tax (other than connections arising from such Agent or Lender having executed, delivered,

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become a party to, performed its obligations under, received payments under, received or
perfected a security interest under, engaged in any other transaction pursuant to or enforced any
Loan Document, or sold or assigned an interest in any Loan or Loan Document), (iii) in the case
of a Lender, U.S. federal withholding Taxes imposed on amounts payable to or for the account of
such Lender with respect to an applicable interest in a Loan or Commitment pursuant to a law in
effect on the date on which (A) such Lender acquires such interest in the Loan or Commitment
(other than pursuant to an assignment request by the Borrower under Section 3.7 or (B) such
Lender changes its lending office, except in each case to the extent that, pursuant to this Section
3.1, amounts with respect to such Taxes were payable either to such Lender’s assignor
immediately before such Lender became a party hereto or to such Lender immediately before it
changed its lending office, (iv) any U.S. federal withholding Taxes imposed as a result of the
failure of any Agent or Lender to comply with, in the case of any Foreign Lender, as defined
below, the provisions of Sections 3.1(b) and 3.1(c) or, in the case of any U.S. Lender, as defined
below, the provisions of Section 3.1(d), and (v) any U.S. federal withholding taxes imposed
pursuant to FATCA (all Taxes described in this Section 3.1(a)(i)-(v) being hereinafter referred to
as “Excluded Taxes”; all Taxes, other than Excluded Taxes, imposed on or with respect to any
payment made by or on account of any obligation of the Borrower under any Loan Document
being hereinafter referred to as “Indemnified Taxes”). If the Borrower or a Guarantor is required
by Law (as determined in the good faith discretion of the Borrower or Guarantor) to deduct or
withhold any Indemnified Taxes or Other Taxes (as defined below) from or in respect of any
sum payable under any Loan Document to any Agent or any Lender, (i) the sum payable shall be
increased as necessary so that after making all required deductions or withholdings (including
deductions or withholdings applicable to additional sums payable under this Section 3.1(a)), each
of such Agent and such Lender receives an amount equal to the sum it would have received had
no such deductions or withholdings been made, (ii) the Borrower or Guarantor shall make such
deductions or withholdings, (iii) the Borrower or Guarantor shall timely pay the full amount
deducted or withheld to the relevant taxing authority, and (iv) within thirty (30) days after the
date of such payment (or, if receipts or evidence are not available within thirty (30) days, as soon
as practicable thereafter), the Borrower or Guarantor shall furnish to such Agent or Lender (as
the case may be) the original or a certified copy of a receipt evidencing payment thereof to the
extent such a receipt has been made available to the Borrower or Guarantor (or other evidence of
payment reasonably satisfactory to the Administrative Agent). If the Borrower or Guarantor fails
to pay any Indemnified Taxes or Other Taxes when due to the appropriate taxing authority or
fails to remit to any Agent or any Lender the required receipts or other required documentary
evidence that has been made available to the Borrower or Guarantor, the Borrower or Guarantor
shall indemnify such Agent and such Lender for any incremental Indemnified Taxes and Other
Taxes that may become payable by such Agent or such Lender arising out of such failure.

        (b)     To the extent it is legally able to do so, each Agent or Lender (including an
Eligible Assignee to which a Lender assigns its interest in accordance with Section 12.2) that is
not a “United States person” within the meaning of Section 7701(a)(30) of the Code (each, a
“Foreign Lender”) agrees to complete and deliver to the Borrower and the Administrative Agent
on or prior to the date on which the Agent or Lender (or Eligible Assignee) becomes a party
hereto, two (2) accurate, complete and original signed copies of whichever of the following is
applicable: (i) IRS Form W-8BEN or IRS Form W-8BEN-E certifying that it is entitled to
benefits under an income tax treaty to which the United States is a party; (ii) IRS Form W-8ECI
certifying that the income receivable pursuant to any Loan Document is effectively connected
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with the conduct of a trade or business in the United States; (iii) if the Foreign Lender is not (A)
a bank described in Section 881(c)(3)(A) of the Code, (B) a 10-percent shareholder described in
Section 871(h)(3)(B) of the Code, or (C) a controlled foreign corporation related to the Borrower
within the meaning of Section 864(d) of the Code, a certificate to that effect in substantially the
form attached hereto as Exhibit N (a “Non-Bank Certificate”) and an IRS Form W-8BEN or IRS
Form W-8BEN-E, certifying that the Foreign Lender is not a United States person; (iv) to the
extent a Lender is not the beneficial owner for U.S. federal income tax purposes, IRS Form W-
8IMY (or any successor forms) of the Lender, accompanied by, as and to the extent applicable,
an IRS Form W-8BEN or IRS Form W-8BEN-E, IRS Form W-8ECI, IRS Form W-9, IRS Form
W-8IMY (or other successor forms), Non-Bank Certificate and any other required supporting
information from each beneficial owner (it being understood that a Lender need not provide
certificates or supporting documentation from beneficial owners if (x) the Lender is a “qualified
intermediary” or “withholding foreign partnership” for U.S. federal income tax purposes and (y)
such Lender is as a result able to establish, and does establish, that payments to such Lender are,
to the extent applicable, entitled to an exemption from or, if an exemption is not available, a
reduction in the rate of, U.S. federal withholding taxes without providing such certificates or
supporting documentation); or (v) any other form prescribed by applicable requirements of U.S.
federal income tax law as a basis for claiming exemption from or a reduction in U.S. federal
withholding tax duly completed together with such supplementary documentation as may be
prescribed by applicable requirements of law to permit the Borrower and the Administrative
Agent to determine the withholding or deduction required to be made.

        (c)     In addition, each such Lender shall, to the extent it is legally entitled to do so, (i)
promptly submit to the Borrower and the Administrative Agent two (2) accurate, complete and
original signed copies of such other or additional forms or certificates (or such successor forms
or certificates as shall be adopted from time to time by the relevant taxing authorities) as may
then be applicable or available to secure an exemption from or reduction in the rate of U.S.
federal withholding tax (A) on or before the date that such Lender’s most recently delivered
form, certificate or other evidence expires or becomes obsolete or inaccurate in any material
respect, (B) after the occurrence of a change in the Foreign Lender’s circumstances requiring a
change in the most recent form, certificate or evidence previously delivered by it to the Borrower
and the Administrative Agent, and (C) from time to time thereafter if reasonably requested by the
Borrower or the Administrative Agent, and (ii) promptly notify the Borrower and the
Administrative Agent of any change in the Foreign Lender’s circumstances which would modify
or render invalid any claimed exemption or reduction.

        (d)      Each Agent or Lender that is a “United States person” (within the meaning of
Section 7701(a)(30) of the Code) (each a “U.S. Lender”) agrees to complete and deliver to the
Borrower and the Administrative Agent two (2) original copies of accurate, complete and signed
IRS Form W-9 or successor form certifying that such Agent or Lender is not subject to United
States backup withholding tax (i) on or prior to the Closing Date (or on or prior to the date it
becomes a party to this Agreement), (ii) on or before the date that such form expires or becomes
obsolete or inaccurate in any material respect, (iii) after the occurrence of a change in the
Agent’s or Lender’s circumstances requiring a change in the most recent form previously
delivered by it to the Borrower and the Administrative Agent, and (iv) from time to time
thereafter if reasonably requested by the Borrower or the Administrative Agent.


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       (e)     If a payment made to a Lender under any Loan Document would be subject to
U.S. federal withholding Tax imposed by FATCA if such Lender were to fail to comply with the
applicable reporting requirements of FATCA (including those contained in Section 1471(b) or
1472(b) of the Code, as applicable), such Lender shall deliver to the Borrower and the Agent at
the time or times prescribed by law and at such time or times reasonably requested by the
Borrower or the Agent such documentation prescribed by applicable law (including as prescribed
by Section 1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably
requested by the Borrower or the Agent as may be necessary for the Borrower and the Agent to
comply with their obligations under FATCA and to determine that such Lender has complied
with such Lender’s obligations under FATCA or to determine the amount to deduct and withhold
from such payment. Solely for purposes of this clause 3.1(e)(ii), “FATCA” shall include any
amendments made to FATCA after the date of this Agreement.

        (f)     Any Lender that is entitled to an exemption from or reduction of withholding Tax
with respect to payments made hereunder shall deliver to the Borrower and the Agent, at the time
or times reasonably requested by the Borrower or the Agent, such properly completed and
executed documentation reasonably requested by the Borrower or the Agent as will permit such
payments to be made without withholding or at a reduced rate of withholding. In addition, any
Lender, if reasonably requested by the Borrower or the Agent, shall deliver such other
documentation prescribed by applicable law or reasonably requested by the Borrower or the
Agent as will enable the Borrower or the Agent to determine whether or not such Lender is
subject to backup withholding or information reporting requirements. Notwithstanding anything
to the contrary in the preceding two sentences, the completion, execution and submission of such
documentation (other than such documentation set forth in Section 3.1(b), (d) and (e) above)
shall not be required if in the Lender’s reasonable judgment such completion, execution or
submission would subject such Lender to any material unreimbursed cost or expense or would
materially prejudice the legal or commercial position of such Lender.

        (g)    On or before the date the Administrative Agent becomes a party to this
Agreement, the Administrative Agent shall provide to the Borrower, two duly-signed, properly
completed copies of the documentation prescribed in clause (i) or (ii) below, as applicable
(together with all required attachments thereto): (i) IRS Form W-9 or any successor thereto, or
(ii) (A) IRS Form W-8ECI or any successor thereto, and (B) with respect to payments received
on account of any Lender, a U.S. branch withholding certificate on IRS Form W-8IMY or any
successor thereto evidencing its agreement with the Borrower to be treated as a U.S. Person for
U.S. federal withholding purposes. At any time thereafter, the Administrative Agent shall
provide updated documentation previously provided (or a successor form thereto) when any
documentation previously delivered has expired or become obsolete or invalid or otherwise upon
the reasonable request of the Borrower.

        (h)    The Borrower agrees to pay any and all present or future stamp, court or
documentary Taxes and any other similar excise, property, intangible or mortgage recording
Taxes or charges or similar levies which arise from any payment made under any Loan
Document or from the execution, delivery, performance, from the receipt or perfection of a
security interest under, enforcement or registration of, or otherwise with respect to, any Loan
Document (including additions to tax, penalties and interest related thereto) excluding, in each
case, such Taxes that are described in Section 3.1(a)(ii) imposed with respect to an Assignment

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and Assumption, except to the extent that any such change is requested in writing by the
Borrower (all such non-Excluded Taxes described in this Section 3.1(h) being hereinafter
referred to as “Other Taxes”).

        (i)     If any Indemnified Taxes or Other Taxes are directly asserted against any Agent
or Lender with respect to any payment received by such Agent or Lender in respect of any Loan
Document, such Agent or Lender may pay such Indemnified Taxes or Other Taxes and the
Borrower will promptly indemnify and hold harmless such Agent or Lender for the full amount
of such Indemnified Taxes and Other Taxes (and any Indemnified Taxes and Other Taxes
imposed on amounts payable under this Section 3.1), and any reasonable expenses arising
therefrom or with respect thereto, whether or not such Indemnified Taxes or Other Taxes were
correctly or legally imposed or asserted. Payments under this Section 3.1(i) shall be made within
ten (10) days after the date Borrower receives demand for payment from such Agent or Lender.
A certificate as to the amount of such payment or liability delivered to the Borrower by a Lender
(with a copy to the Administrative Agent), or by an Agent on its own behalf or on behalf of a
Lender, shall be conclusive absent manifest error.

        (j)     Each Lender shall severally indemnify the Administrative Agent, within 10 days
after demand therefor, for (x) any Indemnified Taxes or Other Taxes attributable to such Lender
(but only to the extent that the Borrower has not already indemnified the Administrative Agent
for such Indemnified Taxes or Other Taxes pursuant to this Agreement and without limiting the
obligation of the Borrower to do so), (y) any Indemnified Taxes or Other Taxes attributable to
such Lender’s failure to comply with the provisions of Section 12.2(e) relating to the
maintenance of a Participant Register and (z) any Taxes excluded from Indemnified Taxes or
Other Taxes that are attributable to such Lender, in each case, that are payable or paid by the
Administrative Agent in connection with any Loan Document, and any reasonable expenses
arising therefrom or with respect thereto, whether or not such Taxes were correctly or legally
imposed or asserted by the relevant Governmental Authority. A certificate as to the amount of
such payment or liability delivered to any Lender by the Administrative Agent shall be
conclusive absent manifest error. Each Lender hereby authorizes the Administrative Agent to set
off an apply any and all amounts at any time owing to such Lender under any Loan Document or
otherwise payable by the Administrative Agent to the Lender from any other source against any
amount due to the Administrative Agent under this paragraph (j).

        (k)     [Reserved].

        (l)     [Reserved].

       (m)     If any Administrative Agent or any Lender determines, in its sole discretion
exercised in good faith, that it has received a refund in respect of any Indemnified Taxes or Other
Taxes as to which it has been indemnified by the Borrower or Holdings, as the case may be or
with respect to which the Borrower or Holdings, as the case may be has paid additional amounts
pursuant to this Section 3.1, it shall remit such refund to the Borrower (but only to the extent of
indemnity payments made, or additional amounts paid, by the Borrower or Holdings, as the case
may be under this Section 3.1 with respect to the Taxes giving rise to such refund), net of all out-
of-pocket expenses incurred by the Administrative Agent or such Lender and without interest
(other than any interest paid by the relevant Governmental Authority with respect to such

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refund), provided that the Borrower or Holdings, as the case may be, upon the request of the
Administrative Agent or such Lender, agrees to repay the amount paid over to the Borrower or
Holdings, as the case may be (plus any penalties, interest or other charges imposed by the
relevant Governmental Authority) to the Administrative Agent or such Lender in the event the
Administrative Agent or such Lender is required to repay such refund to such Governmental
Authority. Notwithstanding anything to the contrary in this paragraph 3.1(m), in no event will
the Administrative Agent or any Lender be required to pay any amount to an indemnifying party
pursuant to this paragraph 3.1(m) the payment of which would place the Administrative Agent or
Lender in a less favorable net after-tax position than such Administrative Agent or Lender would
have been in if the Tax subject to indemnification and giving rise to such refund had not been
deducted, withheld or otherwise imposed and the indemnification payments or additional
amounts with respect to such Tax had never been paid. This subsection shall not be construed to
require the Administrative Agent or any Lender to make available its tax returns (or any other
information relating to its Taxes that it deems confidential) to the Borrower, Holdings or any
other Person.

        (n)     Each Lender agrees that, upon the occurrence of any event giving rise to the
operation of Section 3.1(a) or (i) with respect to such Lender, it will, if requested by the
Borrower, use commercially reasonable efforts (subject to legal and regulatory restrictions) to
mitigate the effect of any such event, including by designating another Lending Office for any
Loan affected by such event and by completing and delivering or filing any tax-related forms
which such Lender is legally able to deliver and which would reduce or eliminate any amount of
Taxes or Other Taxes required to be deducted or withheld or paid by the Borrower; provided that
such efforts are made at the Borrower’s expense and on terms that, in the reasonable judgment of
such Lender, cause such Lender and its Lending Office(s) to suffer no material economic, legal
or regulatory disadvantage, and provided further that nothing in this paragraph 3.1(n) affect or
postpone any of the Obligations of the Borrower or the rights of such Lender pursuant to Section
3.1(a) or (i).

        (o)     Notwithstanding any other provision of this Agreement, the Borrower and the
Administrative Agent may deduct and withhold any taxes required by any Laws to be deducted
and withheld from any payment under any of the Loan Documents, subject to the provisions of
this Section 3.1.

        (p)     With respect to any Lender’s claim for compensation under this Section 3.1, the
Borrower shall not be required to compensate such Lender for any amount incurred more than
one hundred and eighty (180) days prior to the date that such Lender notifies the Borrower of the
event that gives rise to such claim; provided that, if the circumstance giving rise to such claim is
retroactive, then such 180-day period referred to above shall be extended to include the period of
retroactive effect thereof.

        (q)    Each party’s obligations under this Section 3.1 shall survive the resignation or
replacement of the Administrative Agent or any assignment of rights by, or the replacement of, a
Lender, the termination of the Commitments and the repayment, satisfaction or discharge of all
obligations under any Loan Document.



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        SECTION 3.2 Illegality. If any Lender reasonably determines that any Law has made it
unlawful, or that any Governmental Authority has asserted that it is unlawful, for any Lender or
its applicable Lending Office to make, maintain or fund Loans whose interest is determined by
reference to the Eurocurrency Rate, or to determine or charge interest rates based upon the
Eurocurrency Rate or Adjusted Eurocurrency Rate, or any Governmental Authority has imposed
material restrictions on the authority of such Lender to purchase or sell, or to take deposits of,
Dollars in the London interbank market, then, on notice thereof by such Lender to the Borrower
through the Administrative Agent, (i) any obligation of such Lender to make or continue
Eurocurrency Rate Loans or to convert Base Rate Loans to Eurocurrency Rate Loans shall be
suspended, and (ii) if such notice asserts the illegality of such Lender making or maintaining
Base Rate Loans the interest rate on which is determined by reference to the Adjusted
Eurocurrency Rate component of the Base Rate, the interest rate on which Base Rate Loans of
such Lender shall, if necessary to avoid such illegality, be determined by the Administrative
Agent without reference to the Adjusted Eurocurrency Rate component of the Base Rate, in each
case until such Lender notifies the Administrative Agent and the Borrower that the
circumstances giving rise to such determination no longer exist. Upon receipt of such notice, (x)
the Borrower may revoke any pending request for a Borrowing of, conversion to or continuation
of Eurocurrency Rate Loans and shall, upon demand from such Lender (with a copy to the
Administrative Agent), prepay or, if applicable, convert all Eurocurrency Rate Loans of such
Lender to Base Rate Loans (the interest rate on which Base Rate Loans of such Lender shall, if
necessary to avoid such illegality, be determined by the Administrative Agent without reference
to the Adjusted Eurocurrency Rate component of the Base Rate), either on the last day of the
Interest Period therefor, if such Lender may lawfully continue to maintain such Eurocurrency
Rate Loans to such day, or promptly, if such Lender may not lawfully continue to maintain such
Eurocurrency Rate Loans and (y) if such notice asserts the illegality of such Lender determining
or charging interest rates based upon the Adjusted Eurocurrency Rate component of the Base
Rate with respect to any Base Rate Loans, the Administrative Agent shall during the period of
such suspension compute the Base Rate applicable to such Lender without reference to the
Adjusted Eurocurrency Rate component thereof until the Administrative Agent is advised in
writing by such Lender that it is no longer illegal for such Lender to determine or charge interest
rates based upon the Eurocurrency Rate. Each Lender agrees to designate a different Lending
Office if such designation will avoid the need for such notice and will not, in the good faith
judgment of such Lender, otherwise be materially disadvantageous to such Lender. Upon any
such prepayment or conversion, the Borrower shall also pay accrued interest on the amount so
prepaid or converted.

        SECTION 3.3 Inability to Determine Rates. If the Requisite Lenders reasonably
determine that for any reason in connection with any request for a Eurocurrency Rate Loan or a
conversion to or continuation thereof that (a) Dollar deposits are not being offered to banks in the
London interbank eurocurrency market for the applicable amount and Interest Period of such
Eurocurrency Rate Loan, (b) adequate and reasonable means do not exist for determining the
Eurocurrency Rate for any requested Interest Period with respect to a proposed Eurocurrency
Rate Loan or in connection with an existing or proposed Base Rate Loan; provided that the
Administrative Agent and the Borrower shall endeavor to establish an alternate rate of interest to
the Eurocurrency Rate that gives due consideration to the then prevailing market convention for
determining a rate of interest for syndicated loans in the United States at such time, and shall
enter into an amendment to this Agreement to reflect such alternate rate of interest and such
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other related changes to this Agreement as may be applicable, and notwithstanding anything to
the contrary in Section 12.1, such amendment shall become effective without any further action
or consent of any other party to this Agreement so long as the Administrative Agent shall not
have received, within five (5) Business Days of the date notice of such alternate rate of interest is
provided to the Lenders, a written notice from the Required Lenders stating that such Required
Lenders object to such amendment, or (c) the Eurocurrency Rate, for any requested Interest
Period with respect to a proposed Eurocurrency Rate Loan does not adequately and fairly reflect
the cost to such Lenders of funding such Loan, the Administrative Agent will promptly so notify
the Borrower and each Lender. Thereafter, (x) the obligation of the Lenders to make or maintain
Eurocurrency Rate Loans shall be suspended, and (y) in the event of a determination described in
the preceding sentence with respect to the Adjusted Eurocurrency Rate component of the Base
Rate, the utilization of the Adjusted Eurocurrency Rate component in determining the Base Rate
shall be suspended, in each case until the Administrative Agent (upon the instruction of the
Requisite Lenders) revokes such notice. Upon receipt of such notice, the Borrower may revoke
any pending request for a Borrowing of, conversion to or continuation of Eurocurrency Rate
Loans or, failing that, will be deemed to have converted such request into a request for a
Borrowing of Base Rate Loans in the amount specified therein.

        SECTION 3.4 Increased Cost and Reduced Return; Capital Adequacy.

        (a)     Increased Costs Generally. If any Change in Law shall:

                (i)    impose, modify or deem applicable any reserve, special deposit,
        compulsory loan, insurance charge or similar requirement against assets of, deposits with
        or for the account of, or credit extended or participated in by, any Lender;

                (ii)   subject any Lender or the Administrative Agent to any Tax of any kind
        whatsoever with respect to this Agreement or any Eurocurrency Rate Loan made by it, or
        change the basis of taxation of payments to such Lender or the Administrative Agent in
        respect thereof (except for Indemnified Taxes, Other Taxes or Excluded Taxes); or

                (iii) impose on any Lender or the London interbank market any other
        condition, cost or expense affecting this Agreement or Eurocurrency Rate Loans made by
        such Lender or participation therein, in each case that is not otherwise accounted for in
        the definition of Adjusted Eurocurrency Rate or this clause (a);

and the result of any of the foregoing shall be to increase the cost to such Lender (or, in the case
of clause (ii) above, the Administrative Agent) of making or maintaining any Loan the interest
on which is determined by reference to the Eurocurrency Rate (or of maintaining its obligation to
make any such Loan), or to increase the cost to such Lender (or, in the case of clause (ii) above,
the Administrative Agent), or to reduce the amount of any sum received or receivable by such
Lender hereunder (or, in the case of clause (ii) above, the Administrative Agent) (whether of
principal, interest or any other amount) then, from time to time within fifteen (15) days after
receipt of the certificate referred to in Section 3.4(c) below setting forth in reasonable detail such
increased costs (with a copy of such demand to the Administrative Agent), the Borrower will pay
to such Lender (or, in the case of clause (ii) above, the Administrative Agent), as the case may
be, such additional amount or amounts as will compensate such Lender (or, in the case of clause

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(ii) above, the Administrative Agent), as the case may be, for such additional costs incurred or
reduction suffered.

        (b)     Capital Requirements. If any Lender reasonably determines that any Change in
Law affecting such Lender or any Lending Office of such Lender or such Lender’s holding
company, if any, regarding capital or liquidity requirements has or would have the effect of
reducing the rate of return on such Lender’s capital or on the capital of such Lender’s holding
company, if any, as a consequence of this Agreement, the Term Loan Commitments or Loans
made by such Lender, to a level below that which such Lender or such Lender’s holding
company could have achieved but for such Change in Law (taking into consideration such
Lender’s policies and the policies of such Lender’s holding company with respect to capital
adequacy and liquidity requirements), then from time to time upon demand of such Lender
setting forth in reasonable detail the charge and the calculation of such reduced rate of return
(with a copy of such demand to the Administrative Agent), the Borrower will pay to such
Lender, within fifteen (15) days after receipt of the certificate referred to in Section 3.4(c) below,
such additional amount or amounts as will compensate such Lender or such Lender’s holding
company for any such reduction suffered.

       (c)    Certificates for Reimbursement. A certificate of a Lender setting forth the
amount or amounts necessary to compensate such Lender or its holding company, as the case
may be, as specified in subsection (a) or (b) of this Section 3.4 and delivered to the Borrower
shall be conclusive absent manifest error. The Borrower shall pay such Lender the amount
shown as due on any such certificate within fifteen (15) days after receipt thereof.

        (d)     Delay in Requests. Failure or delay on the part of any Lender to demand
compensation pursuant to the foregoing provisions of this Section 3.4 shall not constitute a
waiver of such Lender’s right to demand such compensation, provided that the Borrower shall
not be required to compensate a Lender pursuant to the foregoing provisions of this Section 3.4
for any increased costs incurred or reductions suffered more than one hundred and eighty (180)
days prior to the date that such Lender, as the case may be, notifies the Borrower of the Change
in Law giving rise to such increased costs or reductions and of such Lender’s intention to claim
compensation therefor (except that, if the Change in Law giving rise to such increased costs or
reductions is retroactive, then the 180-day period referred to above shall be extended to include
the period of retroactive effect thereof).

        SECTION 3.5 Funding Losses. Upon written demand of any Lender (with a copy to the
Administrative Agent) from time to time, which demand shall set forth in reasonable detail the
basis for requesting such amount, the Borrower shall promptly compensate such Lender for and
hold such Lender harmless from any loss, cost or expense actually incurred by it as a result of:

       (a)    any continuation, conversion, payment or prepayment of any Loan other than a
Base Rate Loan on a day prior to the last day of the Interest Period for such Loan (whether
voluntary, mandatory, automatic, by reason of acceleration, or otherwise);

        (b)     any failure by the Borrower (for a reason other than the failure of such Lender to
make a Loan) to prepay, borrow, continue or convert any Loan other than a Base Rate Loan on
the date or in the amount notified by the Borrower; or

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        (c)     any assignment of a Eurocurrency Rate Loan on a day prior to the last day of the
Interest Period therefor as a result of a request by the Borrower pursuant to Section 3.7;

        (d)    including any loss or expense (excluding loss of anticipated profits or margin)
actually incurred by reason of the liquidation or reemployment of funds obtained by it to
maintain such Loan or from fees payable to terminate the deposits from which such funds were
obtained (and, for the avoidance of doubt, excluding the impact of clause (b) of the definition of
“Adjusted Eurocurrency Rate”).

        SECTION 3.6 Matters Applicable to All Requests for Compensation.

        (a)     Designation of a Different Lending Office. If any Lender requests compensation
under Section 3.4, or the Borrower is required to pay any additional amount to any Lender, or
any Governmental Authority for the account of any Lender pursuant to Section 3.1, or if any
Lender gives a notice pursuant to Section 3.2, then such Lender shall use reasonable efforts to
designate a different Lending Office for funding or booking its Loans hereunder or to assign its
rights and obligations hereunder to another of its offices, branches or affiliates, if, in the
judgment of such Lender, such designation or assignment (i) would eliminate or reduce amounts
payable pursuant to Section 3.1 or 3.4, as the case may be, in the future, or eliminate the need for
the notice pursuant to Section 3.2, as applicable, and (ii) in each case, would not subject such
Lender, as the case may be, to any material unreimbursed cost or expense and would not
otherwise be disadvantageous to such Lender, as the case may be in any material economic, legal
or regulatory respect.

       (b)      Suspension of Lender Obligations. If any Lender requests compensation by the
Borrower under Section 3.4, the Borrower may, by notice to such Lender (with a copy to the
Administrative Agent), suspend the obligation of such Lender to make or continue Eurocurrency
Rate Loans from one Interest Period to another Interest Period, or to convert Base Rate Loans
into Eurocurrency Rate Loans, until the event or condition giving rise to such request ceases to
be in effect (in which case the provisions of Section 3.6(c) shall be applicable); provided that
such suspension shall not affect the right of such Lender to receive the compensation so
requested.

        (c)     Conversion of Eurocurrency Rate Loans. If any Lender gives notice to the
Borrower (with a copy to the Administrative Agent) that the circumstances specified in Sections
3.2, 3.3 or 3.4 hereof that gave rise to the conversion of such Lender’s Eurocurrency Rate Loans
no longer exist (which such Lender agrees to do promptly upon such circumstances ceasing to
exist) at a time when Eurocurrency Rate Loans made by other Lenders are outstanding, such
Lender’s Base Rate Loans shall be automatically converted, on the first day(s) of the next
succeeding Interest Period(s) for such outstanding Eurocurrency Rate Loans, to the extent
necessary so that, after giving effect thereto, all Loans of a given Class held by the Lenders of
such Class holding Eurocurrency Rate Loans and by such Lender are held pro rata (as to
principal amounts, interest rate basis, and Interest Periods) in accordance with their respective
Pro Rata Shares.

        SECTION 3.7 Replacement of Lenders under Certain Circumstances.


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        If (i) any Lender requests compensation under Section 3.4 or ceases to make
Eurocurrency Rate Loans as a result of any condition described in Section 3.2 or Section 3.4, (ii)
the Borrower is required to pay any additional amount to any Lender or any Governmental
Authority for the account of any Lender pursuant to Section 3.1 or 3.4, (iii) any Lender is a Non-
Consenting Lender or (iv) any other circumstance exists hereunder that gives the Borrower the
right to replace a Lender as a party hereto, then the Borrower may, at its sole expense and effort,
upon notice to such Lender and the Administrative Agent, require such Lender to assign and
delegate, without recourse (in accordance with and subject to the restrictions contained in, and
consents required by, Section 12.2), all of its interests, rights and obligations under this
Agreement (or, with respect to clause (iii) above, all of its interests, rights and obligations with
respect to the Class of Loans or Commitments that is the subject of the related consent, waiver
and amendment) and the related Loan Documents to one or more Eligible Assignees that shall
assume such obligations (any of which assignee may be another Lender, if a Lender accepts such
assignment), provided that:

        (a)    the Borrower shall have paid to the Administrative Agent the assignment fee
specified in Section 12.2(b)(iv);

        (b)     such Lender shall have received payment of an amount equal to the outstanding
principal of its Loans, accrued interest thereon, accrued fees and all other amounts payable to it
hereunder and under the other Loan Documents (including any amounts under Section 3.5) from
the assignee (to the extent of such outstanding principal and accrued interest and fees) or the
Borrower;

        (c)    such Lender being replaced pursuant to this Section 3.7 shall (i) execute and
deliver an Assignment and Assumption with respect to all, or a portion as applicable, of such
Lender’s Commitment and outstanding Loans, and (ii) deliver any Notes evidencing such Loans
to the Borrower or Administrative Agent (or a lost or destroyed note indemnity in lieu thereof);
provided that the failure of any such Lender to execute an Assignment and Assumption or
deliver such Notes shall not render such sale and purchase (and the corresponding assignment)
invalid and such assignment shall be recorded in the Register and the Notes shall be deemed to
be canceled upon such failure;

        (d)    the Eligible Assignee shall become a Lender hereunder and the assigning Lender
shall cease to constitute a Lender hereunder with respect to such assigned Loans, Term Loan
Commitments and participations, except with respect to indemnification provisions under this
Agreement, which shall survive as to such assigning Lender (and, if such assigning Lender is a
Non-Consenting Lender, such Eligible Assignee shall agree to the applicable consent, waiver or
amendment to which such Non-Consenting Lender has not agreed);

        (e)     in the case of any such assignment resulting from a claim for compensation under
Section 3.4 or payments required to be made pursuant to Section 3.1, such assignment will result
in a reduction in such compensation or payments thereafter;

        (f)     such assignment does not conflict with applicable Laws; and



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      (g)      the Lender that acts as the Administrative Agent cannot be replaced in its capacity
as Administrative Agent other than in accordance with Section 11.6.

In the event that (i) the Borrower or the Administrative Agent has requested that the Lenders
consent to a departure or waiver of any provisions of the Loan Documents or agree to any
amendment thereto, (ii) the consent, waiver or amendment in question requires the agreement of
each Lender, all affected Lenders or all the Lenders or all affected Lenders with respect to a
certain Class or Classes of the Loans and/or Term Loan Commitments and (iii) the Requisite
Lenders have agreed (but solely to the extent required by Section 12.1) to such consent, waiver
or amendment, then any Lender who does not agree to such consent, waiver or amendment shall
be deemed a “Non-Consenting Lender”.

        A Lender shall not be required to make any such assignment or delegation if, prior
thereto, as a result of a waiver by such Lender or otherwise, the circumstances entitling the
Borrower to require such assignment and delegation cease to apply.

       SECTION 3.8 Survival. All of the Borrower’s obligations under this Article III shall
survive termination of the Aggregate Commitments, repayment of all other Obligations
hereunder and resignation or removal of the Administrative Agent and the Collateral Agent.

                                             ARTICLE IV

                                    CONDITIONS PRECEDENT

       SECTION 4.1 Conditions Precedent to Closing Date. The Agreement became effective
on the Closing Date upon the satisfaction or due waiver in accordance with Section 12.1 of each
of the following conditions precedent, except as otherwise agreed between the Borrower, the
Administrative Agent and the Collateral Agent:

        (a)    The Administrative Agent’s and Collateral Agent’s receipt of the following, each
of which shall be originals or pdf copies or other facsimiles (followed promptly by originals)
unless otherwise specified, each properly executed by a Responsible Officer of the signing Loan
Party each in form and substance reasonably satisfactory to the Administrative Agent and its
legal counsel and the Collateral Agent and its legal counsel:

                (i)        a Notice of Borrowing in accordance with the requirements hereof;

                (ii)       executed counterparts of this Agreement and the Guaranty;

                (iii)      the Security Agreement, duly executed by each Loan Party thereto;

               (iv)    an executed copy of the ABL DIP Credit Agreement (on terms and
        conditions reasonably satisfactory to the Administrative Agent, it being understood and
        agreed that the credit agreement governing the ABL DIP Loans attached as an exhibit to
        the Commitment Letter is satisfactory) and evidence of the substantially concurrent
        funding of loans thereunder;



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               (v)    executed copies of the engagement letters with any financial advisors of
        the Borrower;

                (vi)    executed copies of commitment letters and fee letters providing for
        commitments for exit financing of the Borrower for (i) an asset-based revolving facility
        of not less than $125,000,000 and (ii) a term loan facility of not less than $400,000,000,
        each of which shall be in form and substance acceptable to the Administrative Agent and
        Collateral Agent including, without limitation, the conditions to funding and other terms
        thereof (any such commitment letter, an “Exit Commitment Letter”), it being understood
        that the terms and conditions set forth in the Exit Commitment Letters as of the Petition
        Date are satisfactory;

               (vii) an executed copy of the DIP Intercreditor Agreement (in substantially the
        form attached as Exhibit C to the Commitment Letter);

                (viii) such certificates of good standing from the applicable secretary of state of
        the state of organization of each Loan Party, certificates of resolutions or other action,
        incumbency certificates and/or other certificates of Responsible Officers of each Loan
        Party as the Administrative Agent and the Collateral Agent may reasonably require
        evidencing the identity, authority and capacity of each Responsible Officer thereof
        authorized to act as a Responsible Officer in connection with this Agreement and the
        other Loan Documents to which such Loan Party is a party or is to be a party on the
        Closing Date;

               (ix)   an opinion from Sidley Austin LLP, New York counsel to the Loan Parties
        in form and substance satisfactory to the Administrative Agent and the Collateral Agent;

                (x)        [reserved];

                (xi)       [reserved]; and

               (xii) delivery of a Responsible Officer’s Certificate, in form and substance
        reasonably satisfactory to Administrative Agent and the Collateral Agent, certifying as to
        the conditions set forth in Sections [4.1(e), 4.1(j), 4.2(b) and 4.2 (c)].

       (b)     All fees and expenses required to be paid hereunder or under the Orders and
invoiced at least one (1) Business Day before the Closing Date shall have been paid in full in
cash.

        (c)     The Arrangers shall have received (i) copies of the most recent unaudited
quarterly financial statements required to be delivered by the Borrower under the Pre-Petition
Credit Agreement, (ii) copies of the most recent monthly financial statements required to be
delivered by the Borrower under the Pre-Petition Credit Agreement for the calendar months of
year 2018 ended at least 30 days prior to the Closing Date and (iii) at least two (2) Business Days
prior to the Closing Date, the Budget.

       (d)    The Arrangers shall have received at least three (3) Business Days prior to the
Closing Date all documentation and other information reasonably requested in writing by them at

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least ten (10) days prior to the Closing Date in order to allow the Arrangers and the Lenders to
comply with applicable “know your customer” and anti-money laundering rules and regulations,
including the USA PATRIOT Act and a certification regarding beneficial ownership required by
31 C.F.R. § 1010.230.

       (e)     After giving effect to the Transactions, Excess Availability on the Closing Date
shall be not less than an amount equal to (1) the aggregate amount of Loans funded on the
Closing Date less (2) $25,000,000.

        (f)     The Petition Date shall have occurred.

       (g)     No later than three (3) Business Days after the Petition Date, the Bankruptcy
Court shall have entered the Interim Order granting of the super-priority claim and the liens and
other rights and protections contemplated hereby and customary for debtor in possession
financings and authorizing the Loans order (i) shall be in full force and effect and shall not have
been, in whole or in part, vacated, reversed, stayed, or set aside and (ii) shall not have been
modified or amended without the consent of the Administrative Agent and the Collateral Agent.

        (h)    The First Day Orders (including the Cash Management Order and approval of the
cash management system) entered by the Bankruptcy Court, to the extent affecting the rights or
obligations of the Administrative Agent, the Collateral Agent, the Lenders, or the agent or the
lenders under the Pre-Petition Credit Agreement, or which may give rise to a post-petition claim,
administrative in nature or otherwise, shall be in form and substance acceptable to the
Administrative Agent and the Collateral Agent. There shall exist no unstayed order and
injunctions challenging this Agreement or any other Loan Documents, the Exit Commitment
Letters, the Pre-Petition Credit Agreement or any Pre-Petition Loan Document, the ABL DIP
Loan Agreement or any ABL DIP Loan Documents, the Pre-Petition Obligations, or any Liens or
claims in connection therewith.

       (i)    As of the Petition Date, the Loan Parties shall have filed the Disclosure Statement
and the Chapter 11 Plan with the Bankruptcy Court.

        (j)    Since the Petition Date there has not been any event, occurrence, development or
state of circumstances or facts that has had or would reasonably be expected to have, individually
or in the aggregate a Material Adverse Effect.

        (k)     [reserved].

        (l)     [reserved].

        (m)     The representations and warranties of the Borrower and each other Loan Party
contained in Article V or any other Loan Document shall be true and correct in all material
respects on and as of the Closing Date; provided that, to the extent that such representations and
warranties specifically refer to an earlier date, they shall be true and correct in all material
respects as of such earlier date; provided, further that, any representation and warranty that is
qualified as to “materiality,” “Material Adverse Effect” or similar language shall be true and
correct (after giving effect to any qualification therein) in all respects on such respective dates.


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        (n)     No Default or Event of Default shall have occurred or be continuing, or would
result from the Borrowing of Loans on the Closing Date or from the application of the proceeds
therefrom (including, without limitation, the entry of the Final Order in accordance with Section
8.16(d) hereof:

       (o)     The Borrowing shall be made in accordance in all material respects with the
Budget, including Permitted Variances thereto, and shall have been approved by the Interim
Order or the Final Order (as then applicable), which Order shall be in full force and effect and
which shall not have been modified or amended without the consent of the Administrative Agent
and the Collateral Agent and not have been vacated, reversed, modified, amended or stayed.

        (p)     (i) There shall not have been (x) any order granted by the Bankruptcy Court
sustaining any objection by any Person, nor (y) any motion, complaint, objection or other
pleading filed by any party, challenging, in either case, the validity, priority, perfection, or
enforceability of the Loan Documents or any Lien granted pursuant to the Loan Documents, and
(ii) no Lien granted pursuant to the Loan Documents shall have been determined to be null and
void, invalid or unenforceable by the Bankruptcy Court or another court of competent
jurisdiction in any action commenced or asserted by any other party in interest in the Cases,
including, without limitation, the Committee Professionals.

        Without limiting the generality of the provisions of the last paragraph of Section 9.3, for
purposes of determining compliance with the conditions specified in this Section 4.1, each
Lender that has signed this Agreement shall be deemed to have consented to, approved or
accepted or to be satisfied with, each document or other matter required thereunder to be
consented to or approved by or acceptable or satisfactory to a Lender unless the Administrative
Agent shall have received notice from such Lender prior to the proposed Closing Date specifying
its objection thereto.

                                          ARTICLE V

                           REPRESENTATIONS AND WARRANTIES

       Holdings, the Borrower and each of the Subsidiary Guarantors party hereto represent and
warrant to the Agents and the Lenders that:

         SECTION 5.1 Existence, Qualification and Power; Compliance with Laws. Each Loan
Party and each of its Restricted Subsidiaries that is a Material Subsidiary (a) is a Person duly
organized or formed, validly existing and in good standing under the Laws of the jurisdiction of
its incorporation or organization (to the extent such concept exists in such jurisdiction), (b)
subject to the entry of the Interim Order or the Final Order, as applicable, has all requisite power
and authority to (i) own or lease its assets and carry on its business as currently conducted and
(ii) in the case of the Loan Parties, execute, deliver and perform its obligations under the Loan
Documents to which it is a party, (c) is duly qualified and in good standing (to the extent such
concept exists in such jurisdiction) under the Laws of each jurisdiction where its ownership,
lease or operation of properties or the conduct of its business requires such qualification, (d)
subject to the entry of the Interim Order or the Final Order, as applicable, is in compliance with
all applicable Laws, orders, writs and injunctions and (e) has all requisite governmental licenses,

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authorizations, consents and approvals to operate its business as currently conducted; except in
each case referred to in clause (c), (d) or (e), to the extent that failure to do so would not
reasonably be expected to have a Material Adverse Effect.

        SECTION 5.2 Authorization; No Contravention. (a) Subject to the entry of the Interim
Order or the Final Order, as applicable, the execution, delivery and performance by each Loan
Party of each Loan Document to which such Person is a party have been duly authorized by all
necessary corporate or other organizational action. (b) Subject to the entry of the Interim Order
or the Final Order, as applicable, neither the execution, delivery and performance by each Loan
Party of each Loan Document to which such Person is a party, the consummation of the
Transaction, nor the incurrence of any Obligations or the granting of Lien to secure the
Obligations will (i) contravene the terms of any of such Person’s Organization Documents, (ii)
result in any breach or contravention of, or the creation of any Lien upon any of the property or
assets of such Person or any of the Restricted Subsidiaries (other than as permitted by Section
9.1) under (A) any Contractual Obligation to which such Person is a party or affecting such
Person or the properties of such Person or any of its Subsidiaries or (B) any material order,
injunction, writ or decree of any Governmental Authority or any arbitral award to which such
Person or its property is subject; or (iii) violate any applicable Law; except with respect to any
breach, contravention or violation (but not creation of Liens) referred to in clauses (ii) and (iii),
to the extent that such breach, contravention or violation would not reasonably be expected to
have a Material Adverse Effect.

        SECTION 5.3 Governmental Authorization. Subject to the entry of the Interim Order or
the Final Order, as applicable, no material approval, consent, exemption, authorization, or other
action by, or notice to, or filing with, any Governmental Authority is necessary or required in
connection with the execution, delivery or performance by, or enforcement against, any Loan
Party of this Agreement or any other Loan Document, except for (i) filings necessary to perfect
the Liens on the Collateral granted by the Loan Parties in favor of the Secured Parties, (ii) the
approvals, consents, exemptions, authorizations, actions, notices and filings that have been duly
obtained, taken, given or made and are in full force and effect (except to the extent not required
to be obtained, taken, given or made or in full force and effect pursuant to the Collateral and
Guarantee Requirement) and (iii) those approvals, consents, exemptions, authorizations or other
actions, notices or filings, the failure of which to obtain or make would not reasonably be
expected to have a Material Adverse Effect.

        SECTION 5.4 Binding Effect. This Agreement and each other Loan Document has been
duly executed and delivered by each Loan Party that is party thereto. This Agreement and each
other Loan Document constitutes a legal, valid and binding obligation of such Loan Party,
enforceable against such Loan Party that is party thereto in accordance with its terms, except as
such enforceability may be limited by (i) Debtor Relief Laws, including the entry of the Interim
Order or the Final Order, as applicable, (ii) the need for filings and registrations necessary to
create or perfect the Liens on the Collateral granted by the Loan Parties in favor of the Secured
Parties and (iii) the effect of foreign Laws, rules and regulations as they relate to pledges of
Equity Interests in Foreign Subsidiaries.




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       SECTION 5.5 No Material Adverse Effect. Since the Petition Date, there has been no
event or circumstance, either individually or in the aggregate that has had or would reasonably be
expected to have a Material Adverse Effect.

        SECTION 5.6 Litigation. Except for the Cases, there are no actions, suits, proceedings,
claims or disputes pending or, to the knowledge of the Borrower, overtly threatened in writing, at
law, in equity, in arbitration or before any Governmental Authority, by or against Holdings, the
Borrower or any of the Restricted Subsidiaries that would reasonably be expected to have a
Material Adverse Effect.

        SECTION 5.7 Labor Matters. Except as would not reasonably be expected to have,
individually or in the aggregate, a Material Adverse Effect: (a) there are no strikes or other labor
disputes against any of the Borrower or its Restricted Subsidiaries pending or, to the knowledge
of the Borrower, overtly threatened in writing and (b) hours worked by and payment made based
on hours worked to employees of each of the Borrower or its Restricted Subsidiaries have not
been in material violation of the Fair Labor Standards Act or any other applicable Laws dealing
with wage and hour matters.

        SECTION 5.8 Ownership of Property; Liens. The Borrower and each of its Restricted
Subsidiaries has good record title to, or valid leasehold interests in, or easements or other limited
property interests in, all real property necessary in the ordinary conduct of its business, free and
clear of all Liens except for Pre-Petition Liens and except for minor defects in title that do not
materially interfere with its ability to conduct its business or to utilize such assets for their
intended purposes and except for Liens permitted by Section 9.1 and except where the failure to
have such title or other interest would not reasonably be expected to have, individually or in the
aggregate, a Material Adverse Effect.

        SECTION 5.9 Environmental Matters. Except as could not reasonably be expected to
have, individually or in the aggregate, a Material Adverse Effect:

        (a)    (i) each Loan Party and its respective properties and operations are, and for the
past three years have been, in compliance with all Environmental Laws in all jurisdictions in
which each Loan Party is currently doing business, which includes obtaining and maintaining all
applicable Environmental Permits required under such Environmental Laws to carry on the
business of the Loan Parties, and (ii) none of the Loan Parties is subject to any pending
Environmental Claim or any other Environmental Liability, or to the knowledge of the Borrower,
any Environmental Claim or any other Environmental Liability threatened in writing; and

        (b)     none of the Loan Parties or any of their respective Subsidiaries has released,
treated, stored, transported or disposed of Hazardous Materials at or from any currently or, to the
knowledge of the Borrower, formerly operated real estate or facility relating to its business
except in compliance with Environmental Laws.

        SECTION 5.10           Taxes. Except as would not, either individually or in the
aggregate, reasonably be expected to result in a Material Adverse Effect, Holdings, the Borrower
and its Restricted Subsidiaries have timely filed all Federal and state and other tax returns and
reports required to be filed by them, and have timely paid all Federal and state and other Taxes,

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assessments, fees and other governmental charges (including satisfying its withholding tax
obligations) levied or imposed on their properties, income or assets or otherwise due and
payable, except those which are being contested in good faith by appropriate actions diligently
conducted and for which adequate reserves have been provided in accordance with IFRS.

        SECTION 5.11          ERISA Compliance. (a) Except as would not, either individually
or in the aggregate, reasonably be expected to result in a Material Adverse Effect, each Plan is in
compliance with the applicable provisions of ERISA and the Code.

       (b)     (i) No ERISA Event has occurred prior to the date on which this representation is
made or deemed made; and (ii) no Pension Plan has failed to satisfy the minimum funding
standards (within the meaning of Section 412 of the Code or Section 302 of ERISA) applicable
to such Pension Plan, except, with respect to each of the foregoing clauses of this Section
5.11(b), as would not reasonably be expected, individually or in the aggregate, to result in a
Material Adverse Effect.

        SECTION 5.12            Subsidiaries. As of the Closing Date (after giving effect to the
Transaction), no Loan Party has any Material Subsidiaries other than those specifically set forth
in the Disclosure Statement, and all of the outstanding Equity Interests owned by the Loan
Parties in such Material Subsidiaries have been validly issued and are fully paid and (if
applicable) nonassessable, and all Equity Interests owned by a Loan Party are owned free and
clear of all Liens except (i) those created under the Collateral Documents and (ii) any Lien that is
permitted under Section 9.1. As of the Closing Date, the Disclosure Statement sets forth the
name and jurisdiction of each Loan Party, (b) sets forth the ownership interest of Holdings, the
Borrower and any other Subsidiary in each Subsidiary, including the percentage of such
ownership and (c) identifies each Subsidiary that is a Subsidiary the Equity Interests of which are
required to be pledged on the Closing Date pursuant to the Collateral and Guarantee
Requirement.

        SECTION 5.13          Margin Regulations; Investment Company Act.

        (a)    The Borrower is not engaged nor will it engage, principally or as one of its
important activities, in the business of purchasing or carrying Margin Stock, or extending credit
for the purpose of purchasing or carrying Margin Stock, and no proceeds of any Borrowings will
be used for any purpose that violates Regulation U of the Board of Governors of the United
States Federal Reserve System.

       (b)     Neither the Borrower nor any Guarantor is registered as an “investment company”
under the Investment Company Act of 1940.

        SECTION 5.14          Disclosure. None of the information and data heretofore or
contemporaneously furnished in writing by or on behalf of any Loan Party (other than financial
estimates, forecasts and other forward-looking information, pro forma financial information and
information of a general economic or industry-specific nature) to any Agent or any Lender in
connection with the transactions contemplated hereby and the negotiation of this Agreement or
delivered hereunder or any other Loan Document (as modified or supplemented by other
information so furnished) when taken as a whole contains any material misstatement of fact or

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omits to state any material fact necessary to make such information and data (taken as a whole),
in the light of the circumstances under which it was delivered, not materially misleading. With
respect to any financial estimates, forecasts and other forward-looking information or any pro
forma financial information, the Borrower represents that such information was prepared in good
faith based upon assumptions believed to be reasonable at the time of preparation; it being
understood that such projections may vary from actual results and that such variances may be
material.

        SECTION 5.15            Intellectual Property; Licenses, Etc. The Borrower and the
Restricted Subsidiaries have good and marketable title to, or a valid license or right to use, all
patents, patent rights, trademarks, servicemarks, trade names, copyrights, technology, software,
know-how database rights, rights of privacy and publicity, licenses and other intellectual
property rights (collectively, “IP Rights”) that are reasonably necessary for the operation of their
respective businesses as currently conducted and as proposed to be conducted, except where the
failure to have any such rights, either individually or in the aggregate, would not reasonably be
expected to have a Material Adverse Effect. To the knowledge of the Borrower, the operation of
the respective businesses of the Borrower or any of its Restricted Subsidiaries as currently
conducted does not infringe upon, misuse, misappropriate or violate any rights held by any
Person except for such infringements, misuse, misappropriations or violations individually or in
the aggregate, that would not reasonably be expected to have a Material Adverse Effect. No
claim or litigation regarding any IP Rights is pending or, to the knowledge of the Borrower,
threatened in writing against any Loan Party or Restricted Subsidiary, that, either individually or
in the aggregate, could reasonably be expected to have a Material Adverse Effect.

       SECTION 5.16           Budget. A true and complete copy of the initial Budget is attached
as Schedule 5.16 hereto.

        SECTION 5.17          [Reserved]USA PATRIOT Act; OFAC; FCPA.

        (a)     To the extent applicable, each of Holdings and its Subsidiaries is in compliance,
in all material respects, with (i) the Trading with the Enemy Act, as amended, and each of the
foreign assets control regulations of the United States Treasury Department (31 CFR Subtitle B,
Chapter V, as amended) and any other enabling legislation or executive order relating thereto
and (ii) the USA PATRIOT Act.

        (b)    No part of the proceeds of the Loans will be used, directly or, to the knowledge of
Holdings and its Subsidiaries, indirectly, for any payments to any governmental official or
employee, political party, official of a political party, candidate for political office, or anyone
else acting in an official capacity, in order to obtain, retain or direct business or obtain any
improper advantage, in violation of the United States Foreign Corrupt Practices Act of 1977, as
amended.

       (c)     (i) None of Holdings or its Subsidiaries will directly or, to the knowledge of
Holdings or such Subsidiary, indirectly, use the proceeds of the Loans in violation of applicable
Sanctions or otherwise knowingly make available such proceeds to any Person for the purpose of
financing the activities of any Sanctioned Person, except to the extent licensed, exempted or
otherwise approved by a competent governmental body responsible for enforcing such Sanctions,

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(ii) none of Holdings, any Subsidiary or to the knowledge of Holdings or such Subsidiary, their
respective directors, officers or employees or, to the knowledge of the Borrower, any controlled
Affiliate of Holdings, the Borrower or its Subsidiaries that will act in any capacity in connection
with or benefit from any Class, is a Sanctioned Person and (iii) none of Holdings, its Subsidiaries
or, to the knowledge of Holdings or such Subsidiary, their respective directors, officers and
employees, are in violation of applicable Sanctions in any material respects.

        SECTION 5.19           Collateral Documents. The Collateral Documents, taken together
with the Orders, create in favor of the Administrative Agent, for the benefit of the Administrative
Agent, the Collateral Agent and the other Secured Parties, legal, valid and enforceable Liens,
security or mortgage interests in the Collateral (subject to the DIP Intercreditor Agreement,
general principles of equity, regardless of whether considered in a proceeding in equity or at
law). Except for the entry of the Orders, no filing or other action will be necessary to perfect or
protect such Liens, security or mortgage interests. Upon entry of and to the extent provided in the
Orders, the Obligations of the Loan Parties under this Agreement will constitute allowed super-
priority administrative expense claims in the Case and first priority liens under Section 364(c) of
the Bankruptcy Code as further described in Section 2.17(a)(ii) and (iii), having priority over all
administrative expense claims and unsecured claims against such Loan Parties now existing or
hereafter arising, of any kind whatsoever, including, without limitation, all administrative
expense claims of the kind specified in Sections 503(b) and 507(b) of the Bankruptcy Code and
all super-priority administrative expense claims granted to any other Person (including, for the
avoidance of doubt, Avoidance Actions and the proceeds of thereof), subject only to the Carve
Out and the DIP Intercreditor Agreement. Notwithstanding anything to the contrary herein, the
Carve Out shall be senior to all Liens and claims (including administrative and superpriority
claims) securing the Obligations, adequate protection Liens, and all other Liens or claims
(including administrative claims and DIP Superpriority Claims), including all other forms of
adequate protection, Liens, or claims (including administrative claims and DIP Superpriority
Claims) securing the Obligations granted or recognized as valid, including the Liens, security
interests, and claims (including administrative claims and DIP Superpriority Claims) granted to
the Agents and the other Loan Parties.Orders. The Loan Parties are in compliance with the terms
and conditions of the Orders. Each of the Interim Order (to the extent necessary during the
Interim Order Period) or the Final Order (from after the date of the entry of the Final Order) is in
full force and effect and has not been vacated, reversed or rescinded or, without the prior written
consent of the Administrative Agent, the Collateral Agent and each Lender, no change,
amendment or modification or any application or motion for any change, amendment or
modification to any of the Orders shall be made, in each case, that is adverse to the interests of
the                                          Loan                                           Parties

                                  FINANCIAL COVENANTS

       So long as any Lender shall have any Term Loan Commitment hereunder, any Loan or
other Obligation hereunder (other than contingent indemnification obligations as to which no
claim has been asserted) shall remain unpaid or unsatisfied, the Borrower agrees with the
Lenders and the Administrative Agent to the following:

      SECTION 6.1 Minimum Excess Availability. Excess Availability shall not be less than
the greater of (a) 10% of the Borrowing Base and (b) $15,000,000 at any time.

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                                  REPORTING COVENANTS

        So long as any Lender shall have any Term Loan Commitment hereunder or any Loan or
other Obligation hereunder (other than contingent indemnification obligations as to which no
claim has been asserted), the Borrower shall, and shall (except in the case of the covenants set
forth in Sections 7.1, 7.2 and 7.3) cause each of the Restricted Subsidiaries to:

        SECTION 7.1 Financial Statements, Etc. Deliver to the Administrative Agent and the
Collateral Agent for prompt further distribution to each Lender each of the following and shall
take the following actions:

        (a)    commencing with the Fiscal Year ending October 2, 2018, as soon as available,
but in any event within one hundred and twenty (120) days after the end of each Fiscal Year of
the Borrower, a consolidated balance sheet of the Borrower and its Subsidiaries as at the end of
such Fiscal Year, and the related consolidated statements of income, stockholders’ equity and
cash flows for such Fiscal Year, setting forth in each case in comparative form the figures for the
previous Fiscal Year, all in reasonable detail and prepared in accordance with IFRS (or, if the
Borrower has then elected to be governed by GAAP, GAAP), audited and accompanied by a
report and opinion of Deloitte & Touche LLP or any other independent registered public
accounting firm of nationally recognized standing, which report and opinion shall be prepared in
accordance with generally accepted auditing standards, together with management’s discussion
and analysis (“MD&A”) describing results of operations for such period (which MD&A shall be
deemed delivered hereunder upon the filing with the SEC (or equivalent) of a Form 10-K (or
equivalent) by the Borrower or any direct or indirect parent of the Borrower);

        (b)     as soon as available, but in any event within forty-five (45) days after the end of
each of the first three (3) Fiscal Quarters of each Fiscal Year of the Borrower (except for the first
Fiscal Quarter of Fiscal Year ending October 2, 2018, which shall be within sixty (60) days), a
consolidated balance sheet of the Borrower and its Subsidiaries as at the end of such Fiscal
Quarter, and the related (i) consolidated statements of income for such Fiscal Quarter and for the
portion of the Fiscal Year then ended and (ii) consolidated statements of cash flows for such
Fiscal Quarter and for the portion of the Fiscal Year then ended, setting forth in each case in
comparative form the figures for the corresponding Fiscal Quarter of the previous Fiscal Year
and the corresponding portion of the previous Fiscal Year, all in reasonable detail and certified
by a Responsible Officer of the Borrower as fairly presenting in all material respects the
financial condition, results of operations and cash flows of the Borrower and its Subsidiaries in
accordance with IFRS (or, if the Borrower has then elected to be governed by GAAP, GAAP),
subject to normal year-end adjustments and the absence of footnotes, together with an MD&A
describing results of operations for such period (which MD&A shall be deemed delivered
hereunder upon the filing with the SEC (or equivalent) of a Form 10-Q (or equivalent) by the
Borrower or any direct or indirect parent of the Borrower);

        (c)    as soon as available, but in any event within thirty (30) days after the end of each
month during the Cases (commencing with the first month ending after the Closing Date), a
consolidated balance sheet of the Borrower and its Subsidiaries as at the end of such month, and
the related consolidated statements of income and consolidated statements of cash flows for such

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month, all in reasonable detail and certified by a Responsible Officer of the Borrower as fairly
presenting in all material respects the financial condition, results of operations and cash flows of
the Borrower and its Subsidiaries in accordance with IFRS (or, if the Borrower has then elected
to be governed by GAAP, GAAP), subject to normal year-end adjustments and the absence of
footnotes;

        (d)    within ninety (90) days after the end of each Fiscal Year of the Borrower, a
reasonably detailed consolidated budget for the following Fiscal Year (including a projected
consolidated balance sheet of the Borrower and its Subsidiaries as of the end of the following
Fiscal Year, the related consolidated statements of projected income and projected cash flow and
setting forth the material underlying assumptions applicable thereto) (collectively, the
“Projections”), which Projections shall in each case be accompanied by a certificate of a
Responsible Officer stating that such Projections have been prepared in good faith on the basis of
the assumptions stated therein, which assumptions were believed to be reasonable at the time of
preparation of such Projections, it being understood that actual results may vary from such
Projections and that such variations may be material;

        (e)     simultaneously with the delivery of each set of consolidated financial statements
referred to in Sections 7.1(a), 7.1(b) and 7.1(c) above, the related unaudited consolidating
financial statements reflecting the adjustments necessary to eliminate the accounts of
Unrestricted Subsidiaries (if any) (which may be in footnote form only) from such consolidated
financial statements;

        (f)     upon request of the Administrative Agent, within ten Business Days after the
delivery of each set of financial statements referred to in Section 7.1(a) and (b) above, a
conference call (which may be password protected) to discuss such financial statements and
operations for the relevant period (with the time and date of such conference call, together with
all information necessary to access the call, to be provided to the Administrative Agent no fewer
than three Business Days (or such shorter time as to which the Administrative Agent may agree)
prior to the date of such conference call, for posting on the Platform); and

        (g)     the Borrower will furnish to the Administrative Agent and the Collateral Agent,
(i) on or before 5:00 p.m. (New York time) every Wednesday during the Cases (commencing on
Wednesday October 17, 2018) a weekly cash flow forecast, calculated as of the Friday of the
week previously ended, for the subsequent 13-week period certified by a Responsible Officer of
the Borrower, together with a cash report detailing all cash and Cash Equivalents on-hand of the
Loan Parties and their subsidiaries (broken out by entity) as of the close of business on such
Friday date, each in form, scope and detail reasonably acceptable to the Administrative Agent
and Collateral Agent, and (ii) on or before 5:00 p.m. (New York time) every Wednesday during
the Cases (commencing on Wednesday October 17, 2018), a variance report certified by a
Responsible Officer of the Borrower (the “Receipts/Disbursements Variance Report”) setting
forth Actual Cash Receipts and Actual Disbursements of the Loan Parties for the preceding one
calendar week period calculated as of the Friday of the week previously ended (and solely for the
Receipts/Disbursements Variance Report delivered on October 17, 2018, calculated for the
period from the Petition Date through October 12, 2018) and cumulatively for the preceding four
week period (or, prior to the fourth full week after the Petition Date, the period from the Petition
Date through the end of such week period) and (iii) on or before 5:00 p.m. (New York time)

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every Friday during the Cases (commencing on Friday October 19, 2018) a variance report
certified by a Responsible Officer of the Borrower (the “Inventory Variance Report” and
together with the Receipts/Disbursements Variance Report, the “Variance Report”) setting forth
Actual Inventory Levels of the Loan Parties calculated as of the prior Tuesday of the such week
and, in each case of clause (ii) and (iii), setting forth all the variances (including, without
limitation, variances related to Budgeted Cash Receipts, Budgeted Disbursements and Budgeted
Inventory Levels), on a line-item and aggregate basis, from the amount set forth for each such
periods or as of such dates as compared to the Budget delivered by the Loan Parties (and each
Variance Report shall include reasonably detailed explanations for all material variances
(including Permitted Variances), each in form, scope and detail reasonably acceptable to
Administrative Agent and Collateral Agent. Not later than one Business Day after the receipt of
Receipts/Disbursements Variance Report, the Borrower and the Administrative Agent and
Collateral Agent shall conduct a conference call to discuss the information contained therein at a
mutually convenient time.Notwithstanding the foregoing, the obligations in paragraphs (a) and
(b) of this Section 7.1 may be satisfied with respect to financial information of the Borrower and
its Restricted Subsidiaries (including the provision of any MD&A) by furnishing (A) the
applicable financial statements of any direct or indirect parent of the Borrower that holds all of
the Equity Interests of the Borrower or (B) the Borrower’s or such entity’s Form 10-K or 10-Q
(or equivalent), as applicable, filed with the SEC (or equivalent Governmental Authority
applicable to such indirect parent company); provided that, with respect to each of clauses (A)
and (B), (i) to the extent such information relates to a parent of the Borrower, the financial
statements are accompanied by unaudited consolidating information that explains in reasonable
detail the differences between the information relating to the Borrower (or such parent), on the
one hand, and the information relating to the Borrower and the Restricted Subsidiaries on a
standalone basis, on the other hand and (ii) to the extent the financial statements are in lieu of
financial statements required to be provided under Section 7.1(a), such materials are, to the
extent applicable, accompanied by a report and opinion of Deloitte & Touche LLP or any other
independent registered public accounting firm of nationally recognized standing, which report
and opinion shall be prepared in accordance with generally accepted auditing standards.

      SECTION 7.2 Certificates; Other Information. Deliver to the Administrative Agent for
prompt further distribution to each Lender:

       (a)     no later than five (5) days after the delivery of the financial statements referred to
in Section 7.1(a), Section 7.1(b) and Section 7.1(c), a duly completed Compliance Certificate
signed by the chief financial officer of the Borrower;

        (b)     promptly after the same are publicly available, copies of all annual, regular,
periodic and special reports, proxy statements and registration statements which Holdings or the
Borrower or any Restricted Subsidiary files with the SEC or with any Governmental Authority
that may be substituted therefor or with any national securities exchange, as the case may be
(other than amendments to any registration statement (to the extent such registration statement,
in the form it became effective, is delivered to the Administrative Agent), exhibits to any
registration statement and, if applicable, any registration statement on Form S-8), and in any case
not otherwise required to be delivered to the Administrative Agent pursuant to any other clause
of this Section 7.2;


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        (c)     promptly after the furnishing thereof, copies of any material notices (other than
notices furnished in the ordinary course) furnished to any holder of any class or series of debt
securities of any Loan Party having an aggregate outstanding principal amount greater than the
Threshold Amount, so long as the aggregate outstanding principal amount thereunder is greater
than the Threshold Amount and not otherwise required to be furnished to the Administrative
Agent pursuant to any other clause of this Section 7.2;

       (d)     together with the delivery of each Compliance Certificate delivered pursuant to
Section 7.2(a), (i) a report setting forth the information required by Section 3.03(c) of the
Security Agreement (or confirming that there has been no change in such information since the
Closing Date or the date of the last such report), (ii) a description of each event, condition or
circumstance during the last Fiscal Quarter covered by such Compliance Certificate requiring a
mandatory prepayment under Section 2.9, if any, and (iii) a list of each Subsidiary of the
Borrower that identifies each Subsidiary as a Restricted Subsidiary or an Unrestricted Subsidiary
as of the date of delivery of such Compliance Certificate or a confirmation that there is no
change in such information since the later of the Closing Date and the date of the last such list;

        (e)    promptly, such additional information regarding the business, legal, financial or
corporate affairs (including information regarding leases and stores, notwithstanding any
limitation under Section 8.6 regarding the ability to exercise inspection rights) of any Loan Party
or any Restricted Subsidiary, or compliance with the terms of the Loan Documents, as the
Administrative Agent may from time to time on its own behalf or on behalf of any Lender
reasonably request; and

       (f)     all information required to be delivered by the Loan Parties pursuant to the Orders
regarding the Budget and the Permitted Variances.

        Documents required to be delivered pursuant to Section 7.1(a), (b) or (c) or Section 7.2(c)
may be delivered electronically and if so delivered, shall be deemed to have been delivered on
the date (i) on which the Borrower (or any direct or indirect parent of the Borrower) posts such
documents, or provides a link thereto on the Borrower’s website on the Internet at the website
address listed on Schedule 12.8; or (ii) on which such documents are posted on the Borrower’s
behalf on IntraLinks/IntraAgency or another relevant website, if any, to which each Lender and
the Administrative Agent have access (whether a commercial, third-party website or whether
sponsored by the Administrative Agent); provided that: (i) upon written request by the
Administrative Agent, the Borrower shall deliver paper copies of such documents (which may be
electronic copies delivered via electronic mail) to the Administrative Agent for further
distribution to each Lender until a written request to cease delivering paper copies is given by the
Administrative Agent and (ii) the Borrower shall notify (which may be by facsimile or electronic
mail) the Administrative Agent of the posting of any such documents and provide to the
Administrative Agent by electronic mail electronic versions (i.e., soft copies) of such documents.
Each Lender shall be solely responsible for timely accessing posted documents or requesting
delivery of paper copies of such documents from the Administrative Agent and maintaining its
copies of such documents.

      The Borrower hereby acknowledges that (a) the Administrative Agent and/or the
Arranger will make available to the Lenders materials and/or information provided by or on

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behalf of the Borrower hereunder (collectively, “Borrower Materials”) by posting the Borrower
Materials on IntraLinks or another similar electronic system (the “Platform”) and (b) certain of
the Lenders (each, a “Public Lender”) may have personnel who do not wish to receive material
non-public information with respect to the Borrower or its Subsidiaries, or the respective
securities of any of the foregoing, and who may be engaged in investment and other market-
related activities with respect to such Persons’ securities. The Borrower hereby agrees that (w)
all Borrower Materials that are to be made available to Public Lenders shall be clearly and
conspicuously marked “PUBLIC” which, at a minimum, shall mean that the word “PUBLIC”
shall appear prominently on the first page thereof; (x) by marking Borrower Materials
“PUBLIC,” the Borrower shall be deemed to have authorized the Administrative Agent, the
Arranger and the Lenders to treat such Borrower Materials as not containing any material non-
public information (although it may be sensitive and proprietary) with respect to the Borrower or
its securities for purposes of United States Federal and state securities laws (provided, however,
that to the extent such Borrower Materials constitute Information, they shall be treated as set
forth in Section 12.19); (y) all Borrower Materials marked “PUBLIC” are permitted to be made
available through a portion of the Platform designated “Public Side Information”; and (z) the
Administrative Agent and the Arranger shall be entitled to treat any Borrower Materials that are
not marked “PUBLIC” as being suitable only for posting on a portion of the Platform not
designated “Public Side Information.” Notwithstanding the foregoing, the Borrower shall be
under no obligation to mark the Borrower Materials “PUBLIC”.

        SECTION 7.3 Notices. Promptly after a Responsible Officer obtains actual knowledge
thereof, notify the Administrative Agent:

        (a)     of the occurrence of any Default; and

         (b)     of (i) any dispute, litigation, investigation or proceeding between any Loan Party
and any arbitrator or Governmental Authority, (ii) other than in connection with the Cases, the
filing or commencement of, or any material development in, any litigation or proceeding
affecting any Loan Party or any Subsidiary, including pursuant to any applicable Environmental
Laws or in respect of IP Rights, the occurrence of any noncompliance by any Loan Party or any
of its Subsidiaries with, or liability under, any Environmental Law or Environmental Permit, or
(iii) the occurrence of any ERISA Event that, in any such case referred to in clauses (i), (ii) or
(iii), has resulted or would reasonably be expected to result in a Material Adverse Effect.

        Each notice pursuant to this Section 7.3 shall be accompanied by a written statement of a
Responsible Officer of the Borrower (x) that such notice is being delivered pursuant to Section
7.3(a) or (b) (as applicable) and (y) setting forth details of the occurrence referred to therein and
stating what action the Borrower has taken and proposes to take with respect thereto.

                                         ARTICLE VIII

                                AFFIRMATIVE COVENANTS

       So long as any Lender shall have any Term Loan Commitment hereunder or any Loan or
other Obligation hereunder (other than contingent indemnification obligations as to which no


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claim has been asserted), Holdings and the Borrower shall, and shall cause each of the Restricted
Subsidiaries to:

        SECTION 8.1 Preservation of Existence, Etc. (a) Preserve, renew and maintain in full
force and effect its legal existence under the Laws of the jurisdiction of its organization and (b)
take all reasonable action to obtain, preserve, renew and keep in full force and effect its rights,
licenses, permits and franchises material to the ordinary conduct of its business, except in the
case of clause (a) or (b) to the extent (other than with respect to the preservation of the existence
of Holdings and the Borrower) that failure to do so would not reasonably be expected to have,
individually or in the aggregate, a Material Adverse Effect or pursuant to any merger,
consolidation, liquidation, dissolution or Disposition permitted by Article IX.

        SECTION 8.2 Compliance with Laws, Etc. Comply in all material respects with its
Organization Documents and the requirements of all Laws and all orders, writs, injunctions and
decrees of any Governmental Authority applicable to it or to its business or property, except if
the failure to comply therewith would not reasonably be expected individually or in the
aggregate to have a Material Adverse Effect.

        SECTION 8.3 [Reserved].

        SECTION 8.4 Payment of Taxes, Etc. To the extent required or permitted by any Order
or the Bankruptcy Code and contemplated by the Budget (subject to Permitted Variances), timely
pay, discharge or otherwise satisfy, as the same shall become due and payable in the normal
conduct of its business, all of its obligations and liabilities in respect of Taxes imposed upon it or
upon its income or profits or in respect of its property, except, in each case, to the extent (i) any
such Tax is being contested in good faith and by appropriate actions for which appropriate
reserves have been established in accordance with IFRS or (ii) the failure to pay or discharge the
same would not reasonably be expected, individually or in the aggregate, to have a Material
Adverse Effect.

        SECTION 8.5 Maintenance of Insurance. Maintain with insurance companies that the
Borrower believes (in the good faith judgment of its management) are financially sound and
reputable at the time the relevant coverage is placed or renewed, insurance with respect to its
properties and business against loss or damage of the kinds customarily insured against by
Persons engaged in the same or similar business, of such types and in such amounts (after giving
effect to any self-insurance reasonable and customary for similarly situated Persons engaged in
the same or similar businesses as the Borrower and the Restricted Subsidiaries) as are
customarily carried under similar circumstances by such other Persons, and will furnish to the
Lenders, upon written request from the Administrative Agent or the Collateral Agent,
information presented in reasonable detail as to the insurance so carried. Each such policy of
insurance shall, as appropriate, (i) name the Collateral Agent, on behalf of the Lenders, as an
additional insured thereunder as its interests may appear and/or (ii) in the case of each casualty
insurance policy, contain a lender loss payable clause or endorsement that names the Collateral
Agent, on behalf of the Lenders as the lender loss payee thereunder.

       SECTION 8.6 Inspection Rights. In addition to the requirements pursuant to Section 7.4,
permit representatives and independent contractors of the Administrative Agent, the Collateral

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Agent, and each Lender to visit and inspect any of its properties, to examine its corporate,
financial and operating records, and make copies thereof or abstracts therefrom and to discuss its
affairs, finances and accounts with its directors, officers, and independent public accountants
(subject to such accountants’ customary policies and procedures), all at the reasonable expense
of the Borrower and at such reasonable times during normal business hours and as often as may
be reasonably desired, upon reasonable advance notice to the Borrower; provided that, only the
Administrative Agent and the Collateral Agent, collectively, on behalf of the Lenders may elect
to exercise rights of the Administrative Agent, the Collateral Agent, and the Lenders under this
Section 8.6 and the Administrative Agent and the Collateral Agent, collectively, shall not
exercise such rights more often than two (2) times during any calendar year and only one (1)
such time shall be at the Borrower’s expense; provided, further, that when an Event of Default
exists and is continuing, the Administrative Agent (or any of its respective representatives or
independent contractors) and the Collateral Agent may, collectively, do any of the foregoing at
the expense of the Borrower at any time during normal business hours and upon reasonable
advance notice. The Administrative Agent, the Collateral Agent, and the Lenders shall give the
Borrower the opportunity to participate in any discussions with the Borrower’s independent
public accountants. Notwithstanding anything to the contrary in this Section 8.6, none of the
Borrower or any of the Restricted Subsidiaries will be required to disclose, permit the inspection,
examination or making copies or abstracts of, or discussion of, any document, information or
other matter that (a) constitutes non-financial trade secrets or non-financial proprietary
information (other than with respect to any non-financial trade secrets or non-financial
proprietary information related to Eligible Accounts, Eligible Credit Card Receivables, Eligible
In-Transit Inventory, Eligible Inventory (each as defined in the ABL DIP Credit Agreement) or
balances in deposit accounts and security accounts), (b) in respect of which disclosure to the
Administrative Agent, the Collateral Agent, or any Lender (or their respective representatives or
contractors) is prohibited by Law or any binding agreement or (c) is subject to attorney-client or
similar privilege or constitutes attorney work product.

       SECTION 8.7 Books and Records. Maintain proper books of record and account, in
which entries that are full, true and correct in all material respects and are in conformity with
IFRS shall be made of all material financial transactions and matters involving the assets and
business of Holdings, the Borrower or such Restricted Subsidiary, as the case may be.

         SECTION 8.8 Maintenance of Properties. Except if the failure to do so would not
reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect,
maintain, preserve and protect all of its material properties and equipment used in the operation
of its business in good working order, repair and condition, ordinary wear and tear excepted and
fire, casualty or condemnation excepted.

       SECTION 8.9 Use of Proceeds. In accordance with and subject to the Budget (including
the Permitted Variance provisions) and the Orders, use the proceeds of Loans to finance: (i) the
payment of expenses incurred in connection with the transactions contemplated hereby, (ii) the
payment of fees, expenses and costs incurred in connection with the Cases, (iii) the payment of
any adequate protection payments approved in the Orders, (iv) working capital, capital
expenditures, and other general corporate purposes of the Loan Parties and (v) repayment of all
Loans (but not, for the avoidance of doubt, Letters of Credit under the Pre-Petition Credit
Agreement) under the Pre-Petition Credit Agreement.

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        SECTION 8.10            Compliance with Environmental Laws. Except, in each case, to
the extent that the failure to do so would not reasonably be expected to have, individually or in
the aggregate, a Material Adverse Effect, (a) comply, and take all reasonable actions to cause any
lessees and other Persons operating or occupying its properties to comply with all applicable
Environmental Laws and Environmental Permits; (b) obtain and renew all Environmental
Permits necessary for its operations and properties; and, (c) in each case to the extent required by
applicable Environmental Laws, conduct any investigation, remedial or other corrective action
necessary to address all releases of Hazardous Materials on or from any of its properties, in
accordance with the requirements of all applicable Environmental Laws.

        SECTION 8.11          Covenant to Guarantee Obligations and Give Security. At the
Borrower’s expense, subject to the limitations and exceptions of this Agreement, including,
without limitation, the provisions of the Collateral and Guarantee Requirement and any
applicable limitation in any Collateral Document, take all action necessary or reasonably
requested by the Administrative Agent, the Collateral Agent, or the Collateral Agent to ensure
that the Collateral and Guarantee Requirement continues to be satisfied, including:

        (a)    (x) upon the formation or acquisition of any new direct or indirect wholly owned
Material Domestic Subsidiary (in each case, other than an Excluded Subsidiary) by any Loan
Party or any Subsidiary becoming a wholly owned Material Domestic Subsidiary (in each case,
other than an Excluded Subsidiary):

                (i)    within sixty (60) days (or such greater number of days specified below)
        after such formation, acquisition or designation or, in each case, such longer period as the
        Administrative Agent and the Collateral Agent may agree in their reasonable discretion:

                        (A) cause each such Material Domestic Subsidiary that is required to
          become a Guarantor under the Collateral and Guarantee Requirement to furnish to the
          Collateral Agent a description of the Material Real Properties owned by such Material
          Domestic Subsidiary in detail reasonably satisfactory to the Collateral Agent;

                          (B) within sixty (60) days after such formation, acquisition or
          designation, cause each such Material Domestic Subsidiary that is required to become a
          Guarantor pursuant to the Collateral and Guarantee Requirement to duly execute and
          deliver to the Collateral Agent, other than with respect to any Excluded Assets, Security
          Agreement Supplements, Intellectual Property Security Agreements and other security
          agreements and documents, as reasonably requested by and in form and substance
          reasonably satisfactory to the Collateral Agent (consistent with the Mortgages, Security
          Agreement, Intellectual Property Security Agreements and other Collateral Documents
          in effect on the Closing Date), in each case granting Liens required by the Collateral
          and Guarantee Requirement;

                         (C) cause each such Material Domestic Subsidiary that is required to
          become a Guarantor pursuant to the Collateral and Guarantee Requirement to deliver
          any and all certificates representing Equity Interests (to the extent certificated) that are
          required to be pledged pursuant to the Collateral and Guarantee Requirement,
          accompanied by undated stock powers or other appropriate instruments of transfer

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          executed in blank (or any other documents customary under local law) and instruments
          evidencing the intercompany Indebtedness held by such Material Domestic Subsidiary
          and required to be pledged pursuant to the Collateral Documents, indorsed in blank to
          the Collateral Agent;

                          (D) within sixty (60) days (or within ninety (90) days in the case of
          documents listed in Section 8.13(a)(ii)) after such formation, acquisition or designation,
          (1) take and cause the applicable Material Domestic Subsidiary and each direct or
          indirect parent of the applicable Material Domestic Subsidiary that is required to
          become a Guarantor pursuant to the Collateral and Guarantee Requirement to take
          whatever action (including the filing of UCC financing statements and delivery of stock
          and membership interest certificates to the extent certificated) as may be necessary in
          the reasonable opinion of the Administrative Agent or the Collateral Agent to vest in
          the Collateral Agent (or in any representative of the Collateral Agent designated by it)
          valid Liens required by the Collateral and Guarantee Requirement, enforceable against
          all third parties in accordance with their terms, except as such enforceability may be
          limited by Debtor Relief Laws and by general principles of equity (regardless of
          whether enforcement is sought in equity or at law); and

                (ii)    within sixty (60) days after the reasonable request therefor by the
        Administrative Agent or the Collateral Agent (or such longer period as the
        Administrative Agent and the Collateral Agent may agree in their respective reasonable
        discretion), deliver to the Administrative Agent a signed copy of an opinion, addressed to
        the Administrative Agent and the other Secured Parties, of counsel for the Loan Parties
        reasonably acceptable to the Administrative Agent and the Collateral Agent as to such
        matters set forth in this Section 8.11(a) as the Administrative Agent or the Collateral
        Agent may reasonably request.

        SECTION 8.12           Cash Receipts Each Loan Party shall manage all cash in
accordance with the provisions below and as provided in the Orders and/or Cash Management
Order, in each case, as entered by the Bankruptcy Court, and:

       (a)    To the extent entered into pursuant to Section 8.12(a) of the ABL DIP Credit
Agreement, enter into, the Borrower shall ensure that the Administrative Agent shall have
springing control with respect to the Approved Deposit Accounts pursuant to the Cash
Management Order or the Orders, as applicable.

       (b)     To the extent entered into pursuant to Section 8.12(a) of the ABL DIP Credit
Agreement, the Borrower shall ensure that the Administrative Agent shall have springing control
with respect to the Approved Securities Accounts pursuant to the Cash Management Order or the
Orders, as applicable.

      (c)     Each Loan Party shall (i) instruct each Account Debtor or other Person obligated
to make a payment to any of them under any Account to make payment, or to continue to make
payment, to an Approved Deposit Account or Post-Petition Deposit Account (as defined in the
ABL DIP Credit Agreement) that is not an Excluded Account (as defined in the ABL DIP Credit
Agreement), (ii) deposit in an Approved Deposit Account or Post-Petition Deposit Account

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promptly upon receipt all Cash Receipts (as defined in the ABL DIP Credit Agreement) received
by any Loan Party from any other Person (provided that, any Cash Receipts may be deposited
into an Excluded Account to the extent that such deposit would not cause such Excluded
Account to cease to be qualified as an Excluded Account) and (iii) instruct each depository
institution for a Deposit Account or Post-Petition Deposit Account to cause all amounts on
deposit and available at the close of each Business Day in such Deposit Account or Post-Petition
Deposit Account to be swept to one of the Loan Parties’ concentration accounts no less
frequently than on a daily basis, such instructions to be irrevocable unless otherwise agreed to by
the Administrative Agent and the Collateral Agent (other than, in the case of clause (iii), any
Excluded Account or any amounts deposited in an Excluded Account).

        SECTION 8.13              Further Assurances and Post-Closing Covenants.

         (a)   Subject to the provisions of the Collateral and Guarantee Requirement and any
applicable limitations in any Collateral Document and in each case at the expense of the Loan
Parties:

                (i)     Promptly upon reasonable request by the Administrative Agent or the
        Collateral Agent or the Collateral Agent or as may be required by applicable law (i)
        correct any material defect or error that may be discovered in the execution,
        acknowledgment, filing or recordation of any Collateral Document or other document or
        instrument relating to any Collateral, and (ii) do, execute, acknowledge, deliver, record,
        re-record, file, re-file, register and re-register any and all such further acts, deeds,
        certificates, assurances and other instruments as the Administrative Agent or Collateral
        Agent or the Collateral Agent may reasonably request from time to time in order to carry
        out more effectively the purposes of the Collateral Documents.

                (ii)       [Reserved].

        (b)     Complete and/or deliver to Administrative Agent, or cause to be completed or so
delivered, in form and substance reasonably satisfactory to Administrative Agent and Collateral
Agent, the actions and items described on Schedule 8.13(b) hereof on or before the dates
specified with respect to such actions and items, or such later dates as may be agreed to by
Administrative Agent in its sole discretion.

        SECTION 8.14              [Reserved].

        SECTION 8.15              Additional Information and Bankruptcy-Related Obligations.

        (a)     The Borrower will, as soon as practicable in advance of filing with the
Bankruptcy Court, of all material documents, motions and pleadings related to the Orders, this
Agreement, proposed Store closings, asset sales and the Chapter 11 Plan and the Disclosure
Statement, deliver to the Administrative Agent and the Collateral Agent all such documents to be
filed and provide the Administrative Agent and the Collateral Agent with a reasonable
opportunity to review and comment on all such documents, which documents shall be reasonably
satisfactory to the Administrative Agent and the Collateral Agent.



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       (b)     Without limiting the requirements set forth in Section 8.15(a), the Borrower will
deliver to the Administrative Agent and the Collateral Agent promptly after the same are
available, copies of all pleadings, applications, judicial information, financial information and
other documents filed on behalf of the Borrower or any Guarantor with the Bankruptcy Court in
the Cases, or distributed by or on behalf of any Loan Party to the Committee Professionals;
provided that any publicly filed documents with the Bankruptcy Court shall be deemed to have
been delivered to the Administrative Agent and the Collateral Agent.

       (c)     The Borrower will deliver to the Administrative Agent and the Collateral Agent
promptly after the same are available, copies of all reporting and information related to any
proposed Store closings, asset sales or other dispositions that could reasonably be expected to
materially affect the Borrowing Base (including, without limitation, detail regarding
transportation and refurbishment costs associated with any Store closings, and other information
reasonably requested by the Administrative Agent).

       (d)     The Borrower will allow the Administrative Agent and the Collateral Agent
access to, upon reasonable notice during normal business hours, all financial advisors and
advisors engaged by the Loan Parties (which engagement, with respect to any financial
professionals and advisors engaged after the Closing Date, shall be on terms and conditions
reasonably satisfactory to the Administrative Agent and the Collateral Agent).

        (e)    The Borrower will deliver to the legal counsel to the Administrative Agent and
the Collateral Agent, at least two Business Days in advance of filing with the Bankruptcy Court,
copies of all proposed orders entered by the Bankruptcy Court or any other court having
jurisdiction over the insolvency proceeding of any Loan Party pending outside of the Bankruptcy
Court in respect of first day motions and applications (“First Day Orders”) and second day
motions and applications (“Second Day Orders”; together with the First Day Orders, the “Initial
Orders”) and motions seeking approval of the Initial Orders, which shall be in form and
substance reasonably satisfactory to the Administrative Agent and the Collateral Agent.

        SECTION 8.16          Milestones.

        (a)     On the Petition Date or the next Business Day thereafter, the Debtors shall have
filed with the Bankruptcy Court a motion seeking approval of this Agreement and the Loans.

       (b)     As of the Petition Date, the Loan Parties shall have (i) filed a disclosure statement
(“Disclosure Statement”) and the Chapter 11 Plan with the Bankruptcy Court, each in form and
substance satisfactory to the Administrative Agent and the Collateral Agent, which plan and (A)
provides for payment in full of all Obligations on the effective date thereof, and (B) either (I)
provides that each class of claims or interests therein is not impaired or (II) has been accepted,
pursuant to a solicitation (conducted in accordance with applicable law) of votes completed prior
to the Petition Date, by each impaired class of claims or interests, without regard to any
acceptance by any insider of the Loan Parties (the “Chapter 11 Plan”) and (ii) provided
evidence, satisfactory to the Administrative Agent and the Collateral Agent, of the agreements
by holders of intercompany Indebtedness of any Debtor to support the Chapter 11 Plan.



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        (c)    On or before three (3) Business Days after the Petition Date, the Interim Order
shall have been entered by the Bankruptcy Court.

       (d)     On or before 30 days after the Petition Date, the Final Order shall have been
entered by the Bankruptcy Court.

       (e)    On or before 60 days after the Petition Date, the Bankruptcy Court shall have
entered an order, in form and substance that is satisfactory to the Administrative Agent and
Collateral Agent, confirming the Chapter 11 Plan.

        (f)    (i) On the Petition Date, the Debtors shall have filed a Motion to Reject Leases
with respect to no less than 200 Stores, in form and substance satisfactory to the Administrative
Agent and Collateral Agent, and (ii) obtained one or more orders of the Bankruptcy Court on or
before the 60th day after the Petition Date to close no less than 500 Stores, such orders to be in
form and substance satisfactory to the Administrative Agent and Collateral Agent.

        SECTION 8.17          Performance Within Budget. At all times following the Closing
Date, strictly perform in accordance with the Budget, including making all scheduled payments
to the Administrative Agent and the Lenders as and when required under this Agreement, subject
to the following (the “Permitted Variances”):

        (a)     the Loan Parties’ cumulative Actual Disbursements shall not exceed the Budgeted
Disbursements by more than (i) 17.5% solely during the period from the Petition Date through
October 12, 2018 calculated on a cumulative basis for such period, (ii) 15% solely during the
period from the Petition Date through October 19, 2018 calculated on a cumulative basis for such
period, (iii) 12.5% solely during the period from the Petition Date through October 26, 2018
calculated on a cumulative basis for such period, and (iv) at all times thereafter, 10%, in each
case on a rolling four week cumulative basis;

        (b)    the Loan Parties’ Actual Cash Receipts shall not be less than (i) 90% of the
Budgeted Cash Receipts, solely during each of the first two weeks ending after the Petition Date,
calculated on a cumulative basis for such one or two week period, (ii) 90% of the Budgeted Cash
Receipts during the succeeding week, calculated on a cumulative basis for such three week
period, and (ii) at all times thereafter, 90% of the Budgeted Cash Receipts, calculated on a
rolling four week cumulative basis; and

      (c)    the Loan Parties’ Actual Inventory Level shall not be less than 85% of the
Budgeted Inventory Level at the end of each week ending after the commencement of the Cases
commencing on October 19, 2018 calculated as of the Tuesday of such week.

               With respect to the Actual Disbursements and Actual Cash Receipts, the
foregoing shall be reported in arrears on Wednesday of each week (commencing on Wednesday,
October 17 with respect to the period from the Petition Date and ending on October 12, 2018), in
each case, pursuant to the Receipts/Disbursements Variance Report delivered by the Borrower to
the Administrative Agent and the Collateral Agent in accordance with Section 7.1(g).

              With respect to the Actual Inventory, the foregoing shall be reported in arrears on
Friday of each week (commencing on Friday, October 19 with respect to Actual Inventory on

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October 16, 2018), in each case, pursuant to the Inventory Variance Report delivered by the
Borrower to the Administrative Agent and the Collateral Agent in accordance with Section
7.1(g).

                                          ARTICLE IX

                                  NEGATIVE COVENANTS

        So long as any Lender shall have any Term Loan Commitment hereunder or any Loan or
other Obligation hereunder (other than contingent indemnification obligations as to which no
claim has been asserted), Holdings and the Borrower shall not, nor shall the Borrower permit any
Restricted Subsidiary to:

       SECTION 9.1 Liens. Create, incur, assume or suffer to exist any Lien upon any of its
property, assets or revenues, whether now owned or hereafter acquired, other than the following:

        (a)     Liens created pursuant to any Loan Document or the Orders;

        (b)     Liens existing on the Closing Date;

       (c)     Liens for Taxes, assessments or governmental charges arising after the Petition
Date that are not overdue for a period of more than thirty (30) days or that are being contested in
good faith and by appropriate actions for which appropriate reserves have been established in
accordance with IFRS;

        (d)    statutory or common law Liens of landlords, sublandlords, carriers,
warehousemen, mechanics, materialmen, repairmen, construction contractors or other like Liens,
or other customary Liens (other than in respect of Indebtedness) in favor of landlords, so long as,
in each case, such Liens secure amounts not overdue for a period of more than thirty (30) days
or, if more than thirty (30) days overdue, are unfiled and no other action has been taken to
enforce such Lien or that are being contested in good faith and by appropriate actions, if and for
which adequate reserves with respect thereto are maintained on the books of the applicable
Person in accordance with IFRS or the equivalent accounting principles in the relevant local
jurisdiction;

        (e)    (i) pledges or deposits in the Ordinary Course of Business in connection with
workers’ compensation, health, disability or employee benefits, unemployment insurance and
other social security laws or similar legislation or regulation or other insurance-related
obligations (including, but not limited to, in respect of deductibles, self-insured retention
amounts and premiums and adjustments thereto) and (ii) pledges and deposits in the Ordinary
Course of Business securing liability for reimbursement or indemnification obligations of
insurance carriers providing property, casualty or liability insurance to Holdings, the Borrower or
any Restricted Subsidiaries;

       (f)    Liens to secure the performance of bids, trade contracts, governmental contracts
and leases (other than Indebtedness for borrowed money), statutory obligations, surety, stay,
customs and appeal bonds, performance bonds and other obligations of a like nature (including


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those to secure health, safety and environmental obligations) incurred in the Ordinary Course of
Business or consistent with past practice or industry practice;

         (g)    easements, rights-of-way, covenants, conditions, restrictions (including zoning
restrictions), encroachments, protrusions and other similar encumbrances and title defects
affecting real property that, in the aggregate, do not in any case materially interfere with the
ordinary conduct of the business of the Borrower and its Restricted Subsidiaries taken as a
whole, or the use of the property for its intended purpose, and any other exceptions to title on the
final Mortgage Policies issued to the Collateral Agent in connection with the Mortgaged
Properties;

       (h)    Liens arising from judgments or orders for the payment of money not constituting
an Event of Default under Section 10.1(g);

        (i)     Liens securing obligations in respect of Indebtedness permitted under Section
9.3(e); provided that (A) such Liens attach concurrently with or within two hundred and seventy
(270) days after completion of the acquisition, construction, repair, replacement or improvement
(as applicable) of the property subject to such Liens, (B) such Liens do not at any time encumber
any property other than the property financed by such Indebtedness, replacements thereof and
additions and accessions to such property and the proceeds and the products thereof and
customary security deposits and (C) with respect to Capitalized Leases, such Liens do not at any
time extend to or cover any assets (except for replacements, additions and accessions to such
assets) other than the assets subject to such Capitalized Leases and the proceeds and products
thereof and customary security deposits; provided that individual financings of equipment
provided by one lender may be cross collateralized to other financings of equipment provided by
such lender;

       (j)     leases, non-exclusive licenses, cross-licenses, subleases or non-exclusive
sublicenses granted to others in the Ordinary Course of Business which (i) do not interfere in any
material respect with the business of the Borrower and its Subsidiaries, taken as a whole, (ii) do
not secure any Indebtedness or (iii) are permitted by Section 9.5;

       (k)    Liens in favor of customs and revenue authorities arising as a matter of Law to
secure payment of customs duties in connection with the importation of goods in the Ordinary
Course of Business;

         (l)   Liens (i) of a collection bank arising under Section 4-208 of the Uniform
Commercial Code on the items in the course of collection, (ii) attaching to commodity trading
accounts or other commodities brokerage accounts incurred in the Ordinary Course of Business
in connection with the maintenance of such accounts and not for speculative purposes so long as
such liens do not secure Indebtedness for borrowed money (other than for overdraft obligations
in an aggregate amount not to exceed, taken together with overdrafts permitted under clause (iii)
below, $5,000,000), and (iii) in favor of a banking or other financial institution arising as a
matter of Law or under customary general terms and conditions encumbering deposits or other
funds maintained with a financial institution (including the right of setoff) and that are within the
general parameters customary in the banking industry or arising pursuant to such banking
institution’s general terms and conditions, which liens secure obligations related to the

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maintenance of such accounts and do not secure Indebtedness for borrowed money (other than
for overdraft obligations in an aggregate amount not to exceed, taken together with overdrafts
permitted under clause (i) above, $5,000,000);

        (m)     [reserved];

        (n)    Liens on property of any Non-Loan Party, which Liens secure Indebtedness of
any Non-Loan Party permitted under Section 9.3 or other obligations of any Non-Loan Party not
constituting Indebtedness;

       (o)    Liens in favor of the Borrower or a Restricted Subsidiary securing Indebtedness
permitted under Section 9.3(d);

        (p)    Liens existing on property at the time of its acquisition or existing on the property
of any Person at the time such Person becomes a Restricted Subsidiary, in each case after the
Closing Date (other than Liens on the Equity Interests of any Person that becomes a Restricted
Subsidiary); provided that (i) such Lien does not extend to or cover any other assets or property
(other than the proceeds or products thereof and other than after-acquired property of such
acquired Restricted Subsidiary), and (ii) the Indebtedness secured thereby is permitted under
Section 9.3(e) or (g);

        (q)     any interest or title (and all encumbrances and other matters affecting such
interest or title) of a lessor, sublessor, licensor or sublicensor or secured by a lessor’s,
sublessor’s, licensor’s or sublicensor’s interest under leases, subleases, licenses, cross-licenses or
sublicenses entered into by the Borrower or any of the Restricted Subsidiaries in the Ordinary
Course of Business;

        (r)    Liens arising out of conditional sale, title retention, consignment or similar
arrangements for sale of goods entered into by the Borrower or any of the Restricted Subsidiaries
in the Ordinary Course of Business;

       (s)    Liens deemed to exist in connection with Investments in repurchase agreements
under Section 9.2 and reasonable customary initial deposits and margin deposits and similar
Liens attaching to commodity trading accounts or other brokerage accounts maintained in the
Ordinary Course of Business and not for speculative purposes;

        (t)     Liens that are contractual rights of setoff or rights of pledge (i) relating solely to
the establishment of depository relations with banks or other deposit-taking financial institutions
and not given in connection with the issuance of Indebtedness, (ii) relating to pooled deposit or
sweep accounts of Holdings, the Borrower or any of the Restricted Subsidiaries to permit
satisfaction of overdraft or similar obligations incurred in the Ordinary Course of Business of
Holdings, the Borrower or any of the Restricted Subsidiaries or (iii) relating to purchase orders
and other agreements entered into with customers of the Borrower or any of the Restricted
Subsidiaries in the Ordinary Course of Business;

        (u)     [reserved];



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       (v)    ground leases in respect of real property on which facilities owned or leased by
the Borrower or any of its Subsidiaries are located;

       (w)    purported Liens evidenced by the filing of precautionary Uniform Commercial
Code financing statements or similar public filings;

      (x)    Liens on insurance policies and the proceeds thereof securing the financing of the
premiums with respect thereto;

        (y)      [reserved];

        (z)      [reserved];

        (aa) (i) zoning, building, entitlement and other land use regulations by Governmental
Authorities with which the normal operation of the business complies, and (ii) any zoning or
similar law or right reserved to or vested in any Governmental Authority to control or regulate
the use of any real property that does not materially interfere with the ordinary conduct of the
business of the Borrower and its Restricted Subsidiaries, taken as a whole;

        (bb)     [reserved];

        (cc)     [reserved];

        (dd) Liens or rights of setoff arising after the Petition Date against credit balances of
the Borrower or any of its Subsidiaries with Credit Card Issuers or Credit Card Processors or
amounts owing by such Credit Card Issuers or Credit Card Processors to the Borrower or any of
its Subsidiaries in the Ordinary Course of Business, but not Liens on or rights of setoff against
any other property or assets of the Borrower or any of its Subsidiaries pursuant to the Credit
Card Agreements, as in effect on the Closing Date, to secure the obligations of the Borrower or
any of its Subsidiaries to the Credit Card Issuers or Credit Card Processors as a result of fees and
chargebacks;

        (ee) Liens on specific items of inventory or other goods and the proceeds thereof of
any Person securing such Person’s obligations permitted under Section 9.3(v) in respect of letters
of credit or banker’s acceptances issued or created for the account of such Person to facilitate the
purchase, shipment or storage of such inventory or goods;

       (ff)    deposits of cash with the owner or lessor of premises leased and operated by the
Borrower or any of its Subsidiaries to secure the performance of the Borrower’s or such
Subsidiary’s obligations under the terms of the lease for such premises;

        (gg)     [reserved];

       (hh) to the extent existing as of the Petition Date, Liens on Collateral securing
Indebtedness under the Second Lien Credit Agreement;




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       (ii)    Liens on Collateral securing Indebtedness and other “Obligations” (as defined in
the ABL DIP Credit Agreement) under the ABL DIP Credit Agreement which are subject to the
DIP Intercreditor Agreement; andother Liens which are Pre-Petition claims.

        The expansion of Liens by virtue of accrual of interest, the accretion of accreted value,
the payment of interest or dividends in the form of additional Indebtedness, amortization of
original issue discount and increases in the amount of Indebtedness outstanding solely as a result
of fluctuations in the exchange rate of currencies will not be deemed to be an incurrence of Liens
for purposes of this Section 9.1.

Notwithstanding anything to the contrary contained herein, Holdings and the Borrower shall not,
nor shall the Borrower permit any Restricted Subsidiary to, create, incur, assume or suffer to
exist any Lien upon any of their property, assets or revenues, whether now owned or hereafter
acquired, in respect of obligations in respect of the Stripes Intra-Group Loan Agreement and/or
the Stripes Facilities Agreement.

        SECTION 9.2 Investments. Make or hold any Investments, except:

        (a)     Investments by Holdings, the Borrower or any of the Restricted Subsidiaries in
assets that are Cash Equivalents;

        (b)    To the extent provided for in the Budget, loans or advances to officers, directors
and employees of Holdings (or any direct or indirect parent thereof), the Borrower or any of the
Restricted Subsidiaries (i) for reasonable and customary business-related travel, entertainment,
relocation and analogous ordinary business purposes, (ii) in connection with such Person’s
purchase of Equity Interests of Holdings (or any direct or indirect parent thereof; provided that,
to the extent such loans or advances are made in cash, the amount of such loans and advances
used to acquire such Equity Interests shall be contributed to Holdings in cash) and (iii) for any
other purpose, in an aggregate principal amount outstanding at any time not to exceed 5,000,000;

       (c)    Investments by the Borrower or any Restricted Subsidiary that is a Loan Party in
the Borrower or any Restricted Subsidiary that is a Loan Party.

       (d)     Investments consisting of extensions of credit in the nature of accounts receivable
or notes receivable arising from the grant of trade credit in the Ordinary Course of Business, and
Investments received in satisfaction or partial satisfaction thereof from financially troubled
account debtors and other credits to suppliers in the Ordinary Course of Business;

        (e)     Investments consisting of Liens, Indebtedness, fundamental changes, Dispositions
and Restricted Payments permitted under Sections 9.1, 9.3 (other than Sections 9.3(c)(ii) or (d)),
9.4 (other than Sections 9.4(c)(ii)), 9.5 (other than Sections 9.5 (e)) and 9.6 (other than Sections
9.6(d)), respectively;

       (f)     Investments existing on the Closing Date or made pursuant to legally binding
written contracts in existence on the Closing Date, in each case, set forth in the Disclosure
Statement;

        (g)     Investments in Swap Contracts permitted under Section 9.3;

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       (h)    promissory notes and other non-cash consideration that is permitted to be received
in connection with Dispositions permitted by Section 9.5;

        (i)     [reserved];

        (j)     Investments made in accordance with the Orders;

       (k)    Investments in the Ordinary Course of Business consisting of Uniform
Commercial Code Article 3 endorsements for collection or deposit and Article 4 customary trade
arrangements with customers consistent with past practices;

       (l)     Investments (including debt obligations and Equity Interests) received in
connection with the bankruptcy or reorganization of suppliers and customers or in settlement of
delinquent obligations of, or other disputes with, customers and suppliers arising in the Ordinary
Course of Business or upon the foreclosure with respect to any secured Investment;

        (m)     To the extent provided for in the Budget, loans and advances to Holdings (or any
direct or indirect parent thereof) in lieu of, and not in excess of the amount of (after giving effect
to any other loans, advances or Restricted Payments in respect thereof), Restricted Payments to
the extent permitted to be made to Holdings (or such direct or indirect parent) in accordance with
Section 9.6(f) or (g);

        (n)    So long as no Event of Default exists or would result therefrom, other Investments
that do not exceed in the aggregate at any time outstanding $1,000,000;

      (o)     To the extent provided for in the Budget, advances of payroll payments to
employees in the Ordinary Course of Business;

        (p)     [reserved];

        (q)     [reserved];

        (r)     Guarantees of Holdings, the Borrower or any of the Restricted Subsidiaries of
leases (other than Capitalized Leases) or of other obligations that do not constitute Indebtedness,
in each case in the Ordinary Course of Business;

        (s)     [reserved]; and

        (t)     [reserved].

Notwithstanding anything to the contrary contained herein, Holdings and the Borrower shall not,
nor shall the Borrower permit any Restricted Subsidiary to, make or hold any Investments in
respect of the Stripes Intra-Group Loan Agreement (other than in existence as of the Petition
Date) and/or the Stripes Facilities Agreement.

        SECTION 9.3 Indebtedness. Create, incur, assume or suffer to exist any Indebtedness or
issue any Disqualified Equity Interest, other than:


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        (a)     Indebtedness under the Loan Documents or the Pre-Petition Loan Documents;

       (b)      Indebtedness incurred prior to the Petition Date as set forth in the Disclosure
Statement;

        (c)     (i) Guarantees by Holdings, the Borrower and the Restricted Subsidiaries in
respect of Indebtedness of the Borrower or any of the Restricted Subsidiaries otherwise
permitted hereunder (except that a Restricted Subsidiary that is not a Loan Party may not, by
virtue of this Section 9.3(c), Guarantee Indebtedness that such Restricted Subsidiary could not
otherwise incur under this Section 9.3); provided that (A) no Guarantee by any Restricted
Subsidiary of any Junior Financing shall be permitted unless such Restricted Subsidiary shall
have also provided a Guarantee of the Obligations substantially on the terms set forth in the
Guaranty and (B) if the Indebtedness being Guaranteed is subordinated to the Obligations, such
Guarantee shall be subordinated to the Guaranty on terms at least as favorable to the Lenders as
those contained in the subordination of such Indebtedness and (ii) any Guaranty by a Loan Party
of Indebtedness of a Restricted Subsidiary that would have been permitted as an Investment by
such Loan Party in such Restricted Subsidiary under Section 9.2(c);

        (d)    Indebtedness of the Borrower or any of the Restricted Subsidiaries owing to the
Borrower or any other Restricted Subsidiary (or issued or transferred to any direct or indirect
parent of a Loan Party which is substantially contemporaneously transferred to a Loan Party or
any Restricted Subsidiary of a Loan Party) to the extent constituting an Investment permitted by
Section 9.2; provided that (i) all such Indebtedness of any Loan Party owed to any Person that is
not a Loan Party shall be subject to the Intercompany Subordination Agreement and (ii) such
Indebtedness shall be duly noted on the books and records of the Loan Parties as being owing in
respect of Collateral;

        (e)    (i) Attributable Indebtedness and other Indebtedness (including Capitalized
Leases) of the Borrower and the Restricted Subsidiaries financing the acquisition, construction,
repair, replacement or improvement of fixed or capital assets; provided that such Indebtedness is
incurred concurrently with or within two hundred and seventy (270) days after the applicable
acquisition, construction, repair, replacement or improvement and (ii) Attributable Indebtedness
arising out of Sale-Leasebacks; provided that the aggregate principal amount of Indebtedness at
any one time outstanding incurred pursuant to this clause (e) shall not exceed the greater of
$5,000,000, in each case determined at the time of incurrence;

       (f)    Unless otherwise permitted pursuant to the Budget, to the extent incurred prior to
the Petition Date and outstanding as of the Closing Date, Indebtedness in respect of Swap
Contracts designed to hedge against Holdings’, the Borrower’s or any Restricted Subsidiary’s
exposure to interest rates, foreign exchange rates or commodities pricing risks incurred in the
Ordinary Course of Business and not for speculative purposes and Guarantees thereof so long as
such Indebtedness to the extent secured does not exceed $5,000,000;

       (g)    To the extent incurred prior to the Petition Date and outstanding as of the Closing
Date, Acquired Indebtedness of the Borrower or any Restricted Subsidiary assumed in
connection with any Permitted Acquisition of any such Indebtedness, in an aggregate principal
amount at any time outstanding not to exceed $25,000,000; provided that in no event shall the

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aggregate amount of Indebtedness incurred by Non-Loan Parties under this clause (g), together
with all Indebtedness of Non-Loan Parties incurred under clauses (n) of this Section 9.3, exceed
at any time outstanding $12,500,000;

       (h)    To the extent incurred prior to the Petition Date and outstanding as of the Closing
Date, unsecured Indebtedness of the Loan Parties in their capacities as guarantors of
Indebtedness outstanding under the Stripes Intra-Group Loan Agreement on the Closing Date;

       (i)     Indebtedness representing deferred compensation to employees of the Borrower
(and any direct or indirect parent thereof) and its Subsidiaries incurred in the Ordinary Course of
Business;

        (j)     Unless otherwise permitted pursuant to the Budget to the extent incurred prior to
the Petition Date and outstanding as of the Closing Date, Indebtedness to current or former
officers, directors, managers, consultants and employees, their respective estates, spouses or
former spouses to finance the purchase or redemption of Equity Interests or other equity based
awards of Holdings (or any direct or indirect parent thereof) permitted by Section 9.6;

       (k)     To the extent incurred prior to the Petition Date and outstanding as of the Closing
Date, unsecured Indebtedness incurred by Holdings, the Borrower or any of the Restricted
Subsidiaries in a Permitted Acquisition, any other Investment expressly permitted hereunder or
any Disposition, in each case to the extent constituting indemnification obligations or obligations
in respect of purchase price (including earn-outs) or other similar adjustments so long as such
Indebtedness in respect of earn-outs or similar adjustments (other than those existing on the
Closing Date) does not exceed $5,000,000;

        (l)    Unless otherwise permitted pursuant to the Budget, to the extent incurred prior to
the Petition Date and outstanding as of the Closing Date, unsecured Indebtedness consisting of
obligations of Holdings, the Borrower and the Restricted Subsidiaries under deferred
compensation or other similar arrangements with employees incurred by such Person in
connection with Permitted Acquisition or any other Investment expressly permitted hereunder so
long as such Indebtedness does not exceed $5,000,000;

        (m)   To the extent incurred prior to the Petition Date and outstanding as of the Closing
Date, Cash Management Obligations (as defined in the ABL DIP Credit Agreement) and other
Indebtedness in respect of netting services, automatic clearinghouse arrangements, overdraft
protections, employee credit card programs and other cash management and similar
arrangements in the Ordinary Course of Business and any Guarantees thereof;

       (n)    Indebtedness of the Borrower and the Restricted Subsidiaries in an aggregate
principal amount at any time outstanding not to exceed $1,000,000;

       (o)    Indebtedness consisting of (i) the financing of insurance premiums or (ii) take-or-
pay obligations contained in supply arrangements, in each case, in the Ordinary Course of
Business;

        (p)    Indebtedness incurred by the Borrower or any of the Restricted Subsidiaries in
respect of warehouse receipts or similar instruments issued or created in the Ordinary Course of

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Business in respect of workers compensation claims, health, disability or other employee benefits
or property, casualty or liability insurance or self-insurance or other Indebtedness with respect to
reimbursement-type obligations regarding workers compensation claims;

        (q)    Contingent obligations in respect of performance, bid, appeal and surety bonds
and performance and completion guarantees and similar obligations provided by the Borrower or
any of the Restricted Subsidiaries, in each case in the Ordinary Course of Business or consistent
with past practice;

       (r)     To the extent incurred prior to the Petition Date and outstanding as of the Closing
Date, Indebtedness of the Borrower and the Restricted Subsidiaries incurred under the Second
Lien Credit Agreement in an aggregate original principal committed amount not to exceed
$80,000,000; provided that such indebtedness is permitted under and subject to the terms of the
automatic stay pursuant to the Interim Order;

        (s)     Indebtedness of the Borrower and the Restricted Subsidiaries which are
guarantors under the ABL DIP Credit Agreement in an aggregate original principal committed
amount not to exceed $150,000,000, provided that such indebtedness is permitted under and
subject to the DIP Intercreditor Agreement;

        (t)     [reserved];

        (u)     [reserved];

        (v)     [reserved];

        (w)     [reserved];

        (x)     [reserved];

        (y)     [reserved];

        (z)     Indebtedness incurred in accordance with the Orders; and

       (aa) all premiums (if any), interest (including post-petition interest), fees, expenses,
charges and additional or contingent interest on obligations described in clauses (a) through (aa)
above.

        For purposes of determining compliance with any Dollar-denominated restriction on the
incurrence of Indebtedness, the Dollar-equivalent principal amount of Indebtedness denominated
in a foreign currency shall be calculated based on the relevant currency exchange rate in effect
on the date such Indebtedness was incurred, in the case of term debt, or first committed, in the
case of revolving credit debt; provided that if such Indebtedness is incurred to extend, replace,
refund, refinance, renew or defease other Indebtedness denominated in a foreign currency, and
such extension, replacement, refunding, refinancing, renewal or defeasance would cause the
applicable Dollar-denominated restriction to be exceeded if calculated at the relevant currency
exchange rate in effect on the date of such extension, replacement, refunding, refinancing,
renewal or defeasance, such Dollar-denominated restriction shall be deemed not to have been

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exceeded so long as the principal amount of such refinancing Indebtedness does not exceed the
principal amount of such Indebtedness being extended, replaced, refunded, refinanced, renewed
or defeased, plus the aggregate amount of fees, underwriting discounts, premiums (including
tender premiums) and other costs and expenses (including OID) incurred in connection with such
refinancing.

       The accrual of interest, the accretion of accreted value and the payment of interest in the
form of additional Indebtedness shall not be deemed to be an incurrence of Indebtedness for
purposes of this Section 9.3. The principal amount of any non-interest bearing Indebtedness or
other discount security constituting Indebtedness at any date shall be the principal amount
thereof that would be shown on a balance sheet of the Borrower dated such date prepared in
accordance with IFRS.

        Notwithstanding anything to the contrary contained herein, Holdings and the Borrower
shall not, nor shall the Borrower permit any Restricted Subsidiary to, create, incur, assume or
suffer to exist any Indebtedness or issue any Disqualified Equity Interest in respect of the Stripes
Facilities Agreement, or any obligations arising thereunder.

       SECTION 9.4 Fundamental Changes. Merge, dissolve, consolidate with or into another
Person, or Dispose of (whether in one transaction or in a series of transactions) all or
substantially all of its assets (whether now owned or hereafter acquired) to or in favor of any
Person other than in accordance with the Orders.

       SECTION 9.5 Dispositions. Make any Disposition, except:(w) Dispositions of obsolete,
worn out, used or surplus property, whether now owned or hereafter acquired, in the Ordinary
Course of Business, (x) Dispositions of property no longer used or useful in the conduct of the
business of the Borrower and the Restricted Subsidiaries in the Ordinary Course of Business and
(y) Dispositions to landlords of improvements made to leased real property pursuant to
customary terms of leases entered into in the Ordinary Course of Business;

       (b)    Dispositions of inventory and goods held for sale in the Ordinary Course of
Business and immaterial assets in the Ordinary Course of Business;

       (c)     Dispositions of property to the extent that (i) such property is exchanged for credit
against the purchase price of similar replacement property or (ii) the proceeds of such
Disposition are promptly applied to the purchase price of such replacement property;

        (d)     Dispositions of property from a Loan Party to another Loan Party;

        (e)    Dispositions permitted by Sections 9.2 (other than Section 9.2(e)), 9.4) and 9.6
(other Section 9.6(d)) and Liens permitted by Section 9.1);

        (f)     [reserved];

      (g)       Dispositions of Cash Equivalents to the extent not otherwise prohibited by this
Agreement;



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       (h)     (i) leases, subleases, non-exclusive licenses, cross-licenses or non-exclusive
sublicenses (including the provision of software under an open source license), in each case in
the Ordinary Course of Business and which do not materially interfere with the business of the
Borrower and the Restricted Subsidiaries, taken as a whole and (ii) Dispositions of intellectual
property that are not material to the business of the Borrower and the Restricted Subsidiaries
taken as a whole;

        (i)     Dispositions of property subject to casualty or condemnation events;

        (j)     [reserved];

       (k)     Dispositions or discounts without recourse of accounts receivable in connection
with the collection or compromise thereof;

        (l)     [reserved];

        (m)     [reserved];

        (n)     the unwinding of any Swap Contract;

        (o)     [reserved];

        (p)    bulk sales or other Dispositions of the inventory of a Restricted Subsidiary not in
the Ordinary Course of Business; provided, however, that (i) no Default or Event of Default has
occurred and is continuing and (ii) before and after giving effect thereto Excess Availability is
not less than $15,000,000 on a pro forma basis;

        (q)     [reserved];

        (r)    the lapse or abandonment in the Ordinary Course of Business of any registrations
or applications for registration of any immaterial IP Rights;

        (s)     [reserved];

        (t)     [reserved];

        (u)     Dispositions made in accordance with the Orders; and

        (v)     [reserved].

provided that any Disposition of any property pursuant to this Section 9.5 (except pursuant to
Sections 9.5 (a), (e), (h), (l), and (s) and except for Dispositions from the Borrower or a
Restricted Subsidiary that is a Loan Party to the Borrower or a Restricted Subsidiary that is a
Loan Party), shall be for no less than the fair market value of such property at the time of such
Disposition as determined by the Borrower in good faith. To the extent any Collateral is
Disposed of as expressly permitted by this Section 9.5 to any Person other than Holdings, the
Borrower or any Restricted Subsidiary, such Collateral shall be sold free and clear of the Liens



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created by the Loan Documents, and the Administrative Agent shall be authorized to take any
actions deemed appropriate in order to effect the foregoing.

        SECTION 9.6 Restricted Payments. Declare or make, directly or indirectly, any
Restricted Payment, except, in each case consistent with the Budget and any applicable Order:

        (a)     each Restricted Subsidiary may make Restricted Payments to the Borrower and to
its other Restricted Subsidiaries that are Loan Parties (and, in the case of a Restricted Payment
by a non-wholly owned Restricted Subsidiary, to the Borrower and any of its other Restricted
Subsidiaries that are Loan Parties and to each other owner of Equity Interests of such Restricted
Subsidiary that is a Loan Party based on their relative ownership interests of the relevant class of
Equity Interests);

        (b)     [reserved];

        (c)     [reserved];

        (d)     to the extent constituting Restricted Payments, the Borrower and the Restricted
Subsidiaries may enter into and consummate transactions expressly permitted by any provision
of Section 9.2 (other than Section 9.2(e)), 9.8 (other than Sections 9.8(a) or (i)), or Section 9.14;

        (e)     [reserved];

        (f)     [reserved];

        (g)     [reserved]:

        (h)     [reserved];

        (i)     [reserved];

        (j)     the Borrower may make Restricted Payments to Holdings or to any direct or
indirect parent of Holdings:

                           (A) with respect to any taxable period for which the Borrower and
          and/or its Subsidiaries are members of a consolidated, combined, unitary or affiliated
          tax group for U.S. federal and/or applicable state or local tax purposes of which a direct
          or indirect parent of the Borrower is the common parent (“Tax Group”), the proceeds of
          which will be used to pay (or make Restricted Payments to allow any direct or indirect
          parent thereof to pay) the Tax liability to each federal, state or local jurisdiction in
          respect of which such Tax Group return is filed by Holdings (or such direct or indirect
          parent that is the common parent of such Tax Group) that includes the Borrower and/or
          any of its Subsidiaries, to the extent such Tax liability does not exceed the lesser of (A)
          the Taxes that would have been payable by the Borrower and/or its Subsidiaries as a
          stand-alone group and (B) the actual Tax liability of Holdings’ Tax Group (or, if
          Holdings is not the parent of the Tax Group, the Taxes that would have been paid by
          Holdings, the Borrower and/or the Borrower’s Subsidiaries as a stand-alone group),
          reduced by any such Taxes paid or to be paid directly by the Borrower or its

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          Subsidiaries; provided that Restricted Payments or other distributions in respect of an
          Unrestricted Subsidiary shall be permitted only to the extent that cash distributions
          were made by such Unrestricted Subsidiary to Borrower or any of its Restricted
          Subsidiaries for such purpose;

                        (B) the proceeds of which shall be used to pay (or make Restricted
          Payments to allow any direct or indirect parent thereof to pay) its operating costs and
          expenses incurred in the Ordinary Course of Business and other corporate overhead
          costs and expenses (including administrative, legal, accounting and similar expenses
          provided by third parties), which are reasonable and customary and incurred in the
          Ordinary Course of Business, attributable to the ownership or operations of the
          Borrower and its Subsidiaries;

                         (C) the proceeds of which shall be used to pay (or make Restricted
          Payments to allow any direct or indirect parent thereof which does not own other
          Subsidiaries besides Holdings, its Subsidiaries and the direct or indirect parents of
          Holdings to pay) (A) franchise Taxes and other fees, similar Taxes and expenses
          required to maintain its (or any of such direct or indirect parents’) corporate existence
          or (B) costs and expenses incurred by it or any of its direct or indirect parents in
          connection with such entity being a public company, including costs and expenses
          relating to ongoing compliance with federal and state securities laws and regulations,
          SEC rules and regulations and the Sarbanes-Oxley Act of 2002; or

                           (D) the proceeds of which (A) shall be used to pay salary,
          commissions, bonus and other benefits payable to and indemnities provided on behalf
          of officers, employees, directors and members of management of Holdings or any
          direct or indirect parent company of Holdings and any payroll, social security or similar
          taxes hereof to the extent such salaries, commissions, bonuses and other benefits are
          attributable to the ownership or operation of the Borrower and the Restricted
          Subsidiaries or (B) shall be used to make payments permitted under Sections 9.8(g) and
          (i) (but only to the extent such payments have not been and are not expected to be made
          by the Borrower or a Restricted Subsidiary); and

        (k)     Restricted Payments made in accordance with the Orders.

        Notwithstanding anything to the contrary contained herein, Holdings and the Borrower
shall not, nor shall Holdings or the Borrower permit any Restricted Subsidiary to, declare or
make, directly or indirectly, Restricted Payments in respect of, or the proceeds of which will be
used directly or indirectly to make payments on account of, obligations with respect to the
Stripes Intra-Group Loan Agreement, the Second Lien Credit Agreement and/or the Stripes
Facilities Agreement.

       SECTION 9.7 Change in Nature of Business. Engage in any material line of business
substantially different from those lines of business conducted by the Borrower and the Restricted
Subsidiaries on the Closing Date or any business or any other activities reasonably related,
complementary, synergistic or ancillary thereto or reasonable extensions thereof.


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       SECTION 9.8 Transactions with Affiliates. Enter into any transaction of any kind with
any Affiliate of the Borrower, whether or not in the Ordinary Course of Business, other than:

       (a)      transactions between or among the Loan Parties (to the extent otherwise permitted
hereunder),

        (b)    transactions in the Ordinary Course of Business upon fair and reasonable terms
fully disclosed to the Administrative Agent and Collateral Agent and on terms substantially as
favorable to the Borrower or such Restricted Subsidiary as would be obtainable by the Borrower
or such Restricted Subsidiary at the time in a comparable arm’s-length transaction with a Person
other than an Affiliate,

        (c)     [reserved],

        (d)     [reserved],

        (e)    To the extent provided for in the Budget and existing as of the Petition Date,
employment and severance arrangements between Holdings, the Borrower and the Restricted
Subsidiaries and their respective officers and employees in the Ordinary Course of Business and
transactions pursuant to stock option plans and employee benefit plans and arrangements,

       (f)     To the extent existing as of the Petition Date or if permitted by any applicable
order of the Bankruptcy Court, the non-exclusive licensing of trademarks, copyrights or other IP
Rights in the Ordinary Course of Business to permit the commercial exploitation of IP Rights
between or among Affiliates and Subsidiaries of Holdings or the Borrower,

        (g)   the payment of customary fees and reasonable out-of-pocket costs to, and
indemnities provided on behalf of, directors, officers and employees of Holdings and the
Restricted Subsidiaries or any direct or indirect parent of Holdings in the Ordinary Course of
Business to the extent attributable to the ownership or operation of the Borrower and the
Restricted Subsidiaries,

       (h)    any agreement, instrument or arrangement as in effect and consummated prior to
the Closing Date and set forth in the Disclosure Statement,

        (i)     Restricted Payments permitted under Section 9.6,

        (j)     [reserved],

        (k)     the issuance or transfer of Equity Interests (other than Disqualified Equity
Interests) of Holdings to any former, current or future director, manager, officer, employee or
consultant (or any spouses, former spouses, successors, executors, administrators, heirs, legatees
or distributees of any of the foregoing) of the Borrower, any of its Subsidiaries or any direct or
indirect parent thereof to the extent otherwise permitted by this Agreement and to the extent such
issuance or transfer would not give rise to a Change of Control,

        (l)     [reserved],


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        (m)    payments to or from, and transactions with, Joint Ventures (to the extent any such
Joint Venture is only an Affiliate as a result of Investments by Holdings, the Borrower and the
Restricted Subsidiaries in such Joint Venture) in the Ordinary Course of Business and consistent
with past practices to the extent otherwise permitted under Section 9.2,

        (n)     any transaction in accordance with the Orders; and

        (o)     the ABL DIP Credit Agreement.

        Notwithstanding anything to the contrary contained herein, Holdings and the Borrower
shall not, nor shall the Borrower permit any Restricted Subsidiary to, enter into any agreement
pursuant to which it will become an obligor under the Stripes Facilities Agreement.

        SECTION 9.9 Burdensome Agreements. Other than as set forth in the Orders, enter into
or permit to exist any Contractual Obligation (other than this Agreement, any other Loan
Document, the Pre-Petition Credit Agreement or any other Pre-Petition Loan Document) that
prohibits, restricts, imposes any condition on or limits the ability of (a) any Restricted Subsidiary
that is not a Loan Party to make Restricted Payments to (directly or indirectly) or to make or
repay loans or advances to any Loan Party or to Guarantee the Obligations of any Loan Party
under the Loan Documents or (b) any Loan Party to create, incur, assume or suffer to exist Liens
on property of such Person for the benefit of the Lenders with respect to the Obligations under
the Loan Documents; provided that the foregoing clauses (a) and (b) shall not apply to
Contractual Obligations that:

        (a)     exist on the Closing Date and set forth in the Disclosure Statements,

       (b)    represent Indebtedness of a Restricted Subsidiary that is not a Loan Party that is
permitted by Section 9.3,

        (c)    are customary restrictions that arise in connection with (x) any Lien permitted by
Sections 9.1(a),(l), (s), (t)(i), (t)(ii) and (ee) and relate to the property subject to such Lien or (y)
any Disposition permitted by Section 9.5 applicable pending such Disposition solely to the assets
subject to such Disposition,

        (d)    are customary provisions in joint venture agreements and other similar
agreements applicable to joint ventures permitted under Section 9.2 and applicable solely to such
joint venture,

       (e)     are negative pledges and restrictions on Liens in favor of any holder of
Indebtedness permitted under Section 9.3 but solely to the extent any negative pledge relates to
the property financed by or the subject of such Indebtedness (and excluding in any event any
Indebtedness constituting any Junior Financing) and the proceeds and products thereof,

         (f)    are customary restrictions on leases, subleases, licenses, cross-licenses,
sublicenses or asset sale agreements otherwise permitted hereby so long as such restrictions
relate to the property interest, rights or the assets subject thereto,



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       (g)     comprise restrictions imposed by any agreement relating to secured Indebtedness
permitted pursuant to Sections 9.3(e), (g), (h), (o)(i) and (w) to the extent that such restrictions
apply only to the property or assets securing such Indebtedness,

       (h)     are customary provisions restricting subletting or assignment of any lease
governing a leasehold interest of the Borrower or any Restricted Subsidiary,

       (i)    are customary provisions restricting assignment of any agreement entered into in
the Ordinary Course of Business,

       (j)      are restrictions on cash or other deposits imposed by customers under contracts
entered into in the Ordinary Course of Business,

       (k)       arise in connection with cash or other deposits permitted under Section 9.1 or
Section 9.2,

        (l)      exist in the ABL DIP Credit Agreement and related loan documents, or

        (m)      entered into in accordance with the Orders

        SECTION 9.10               [Reserved].

       SECTION 9.11          Accounting Changes. Make any change in Fiscal Year or any
material change in accounting treatment or reporting practices, except as required by IFRS.

        SECTION 9.12           Prepayments, Etc. of Indebtedness.

       (a)     Prepay, redeem, purchase, defease or otherwise satisfy prior to the scheduled
maturity thereof in any manner any unsecured Indebtedness for borrowed money any
Indebtedness that is secured by Liens that are junior to the Liens securing the Obligations, or any
Indebtedness that is subordinated in right of payment to the Obligations expressly by its terms
(other than Indebtedness among the Borrower and its Restricted Subsidiaries) (collectively,
“Junior Financing”), except payments due under the ABL DIP Credit Agreement (subject to the
DIP Intercreditor Agreement), in accordance with the Orders and the Budget;

        (b)      [reserved];

        (c)      [reserved]

        (d)      [reserved]

        (e)      [reserved]; and

       (f)    Amend, modify or change any term or condition of any document governing any
Junior Financing without the consent of the Administrative Agent, the Collateral Agent and the
Requisite Lenders.

      SECTION 9.13         Holdings. In the case of Holdings, conduct, transact or otherwise
engage in any business or operations other than the following (and any activities incidental
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thereto): (i) its direct ownership of the Equity Interests of the Borrower and its indirect
ownership of the Equity Interests of the Subsidiaries of the Borrower and activities incidental
thereto, including payment of dividends and other amounts in respect of its Equity Interests, (ii)
the maintenance of its legal existence (including the ability to incur fees, costs and expenses
relating to such maintenance), (iii) the performance of its obligations with respect to the Loan
Documents, (iv) participating in tax, accounting and other administrative matters as a member of
the consolidated group of Holdings and the Borrower, (v) holding any cash or property received
in connection with Restricted Payments made by the Borrower in accordance with Section 9.6
pending application thereof by Holdings, (vi) providing indemnification to officers and directors
and (vii) activities incidental to the businesses or activities described in clauses (i) to (vi) of this
Section 9.13 or otherwise in accordance with the Orders.

        SECTION 9.14           Intra-Group Debt Restricted Payments.         Holdings and the
Borrower shall not, nor shall the Borrower permit any Restricted Subsidiary to, make, directly or
indirectly, any payment, distribution, redemption, purchase, defeaseance or other satisfaction of
any Indebtedness, liabilities, or other obligations (whether on account of interest, principal, or
otherwise), whether now existing or arising hereafter, under or in connection with the Stripes
Intra-Group Loan Agreement, the Second Lien Credit Agreement or any Second Lien Loan
Document (the “Intra-Group Debt Restricted Payments”).

        SECTION 9.15         New Stores. Open, acquire or take possession of any newly leased
stores except as contemplated by the Budget.

        SECTION 9.16         Chapter 11 Claims. No Loan Party shall, until payment in full of
the Obligations under this Agreement (other than contingent indemnification obligations as to
which no claim has been asserted), except with respect to the Carve Out, and otherwise to the
extent permitted under the Orders, directly or indirectly, incur, create, assume, suffer to exist or
permit any administrative expense claim or Lien on its property which is pari passu with or
senior to the claims or Liens, as the case may be, of the Administrative Agent, the Collateral
Agent and the Lenders hereunder or under the Orders (other than, in each case, Liens permitted
under Section 9.1).

        SECTION 9.17           Compliance with Budget.

        (a)    No Loan Party shall, except as otherwise provided herein or approved by the
Administrative Agent, directly or indirectly (i) use any cash or the proceeds of any Loans in a
manner or for a purpose other than those consistent with this Agreement, the Orders and the
Budget (other than a Permitted Variance), (ii) permit a disbursement causing any variance other
than a Permitted Variance without the prior written consent of the Administrative Agent or (iii)
make any payment (as adequate protection or otherwise), or application for authority to pay, on
account of any claim or Indebtedness arising prior to the Petition Date other than payments
consistent with the Budget or any Permitted Variance and authorized by the Bankruptcy Court.

       (b)    Prior to the occurrence of an Event of Default, the Borrower shall be permitted to
pay compensation and reimbursement of fees and expenses solely to the extent that such fees and
expenses are consistent with the Budget or any Permitted Variance and authorized to be paid
under Sections 330 and 331 of the Bankruptcy Code pursuant to an order of the Bankruptcy

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Court. Upon the occurrence of an Event of Default and delivery of a Carve Out Trigger Notice,
the right of the Borrower to pay professional fees of Professional Persons in excess of the Carve
Out shall terminate, and the Borrower shall provide immediate notice to all Professional Persons
informing them that the Borrower’s ability to pay such Professional Persons is subject to and
limited by the Carve Out.

       SECTION 9.18            Use of Collateral. Other than as expressly permitted by the Orders,
no Loan Party shall use or permit the use of Collateral, proceeds of Loans, portion of the Carve
Out or any other amounts directly or indirectly by any of the Loan Parties, the Committee
Professionals, if any, or any trustee, interim receiver, receiver, receiver-manager or other estate
representative appointed in the Cases (or any Successor Case) or any other Person (or to pay any
professional fees, disbursements, costs or expenses incurred in connection therewith):to seek
       authorization to obtain Liens or security interests that are senior to, or on a parity with,
       the Liens granted under the Loan Documents or the DIP Superpriority Claims other than
       in connection with any replacement debtor-in-possession financing that will discharge the
       Obligations in “full” in cash (other than contingent indemnification obligations as to
       which no claim has been asserted); or

                (b)      to investigate (including by way of examinations or discovery
        proceedings), prepare, assert, join, commence, support or prosecute any action for any
        claim, counter-claim, action, proceeding, application, motion, objection, defense, or other
        contested matter seeking any order, judgment, determination or similar relief against, or
        adverse to the interests of, in any capacity, against the Agents, the Lenders, the other
        Loan Parties, and each of their respective officers, directors, controlling persons,
        employees, agents, attorneys, affiliates, assigns, or successors of each of the foregoing,
        with respect to any transaction, occurrence, omission, action or other matter (including
        formal discovery proceedings in anticipation thereof), including, without limitation, (i)
        any Avoidance Actions; (ii) any so-called “lender liability” claims and causes of action;
        (iii) any action with respect to the validity, enforceability, priority and extent of, or
        asserting any defense, counterclaim, or offset to, the Obligations, the DIP Superpriority
        Claims; the Liens granted under the Loan Documents, the Pre-Petition Loan Documents,
        the liabilities under the Pre-Petition Credit Agreement or the Liens under the Pre-Petition
        Credit Agreement; (iv) any action seeking to invalidate, modify, reduce, expunge,
        disallow, set aside, avoid or subordinate, in whole or in part, the Obligations; or (v) any
        action seeking to modify any of the rights, remedies, priorities, privileges, protections and
        benefits granted to the Agents or the Lenders hereunder or under any of the other Loan
        Documents (including, without limitation, claims, proceedings or actions that might
        prevent, hinder or delay any of their assertions, enforcements, realizations or remedies on
        or against the Collateral in accordance with the Loan Documents and the Orders).

Notwithstanding anything to the contrary herein, the Committee Professionals may use up to
$50,000 in the aggregate amount of the Carve Out, any cash-collateral, or proceeds of the Loan
to investigate the Pre-Petition Parties (the “Committee Investigation Budget”); provided that the
Borrower’s stipulations as to validity, priority and security of the liabilities under the Pre-Petition
Credit Agreement shall be binding upon each other party in interest, including the Committee
Professionals unless such party in interest commences a challenge by (x) with respect to the


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Committee Professionals, 60 days after the initial appointment of the Committee, and (y) with
respect to any other party in interest, 75 days after the date of entry of the Interim Order.

        SECTION 9.19           Bankruptcy Related Negative Covenants. The Borrower will not
seek, consent to, or permit to exist any of the following:

       (a)      Any modification or amendment to the Orders to which the Administrative Agent,
the Collateral Agent and the Required Lenders have not consented in writing, or any appeal, stay,
reversal, or vacatur of any of the Orders;

        (b)    (i) Except to the extent provided in the DIP Intercreditor Agreement, a priority
claim or administrative expense or unsecured claim against the Loan Parties (now existing or
hereafter arising or any kind or nature whatsoever, including, without limitation, any
administrative expense of the kind specified in Sections 105, 326, 328, 330, 331, 364(c), 503(a),
503(b), 506(c) (subject to entry of the Final Order) (and all rights to charge the Collateral and all
collateral securing the Pre-Petition Obligations under Section 506(c) shall be waived), 507(a),
507(b), 546(c), 546(d), 726 or 1114 of the Bankruptcy Code) equal or superior to the priority
claim of the Administrative Agent or Collateral Agent in respect of the Obligations or (ii) any
Lien on any Collateral having a priority equal or superior to the Lien securing the Obligations, in
each case except with respect to the Carve Out;

       (c)     Except as provided for in the Budget, without the prior written consent of the
Administrative Agent and pursuant to an order of the Bankruptcy Court (including any Order)
after notice and a hearing, any claim or expense with respect to any Lien or Indebtedness
incurred or arising prior to the Petition Date that is subject to an automatic stay provision of the
Bankruptcy Code whether by way of “adequate protection” under the Bankruptcy Code or
otherwise;

        (d)    Except as agreed to by the Administrative Agent, any order which authorizes the
return of any of the Loan Parties’ property pursuant to Section 546(h) of the Bankruptcy Code;

        (e)     File a plan of reorganization other than the Chapter 11 Plan (except for any plan
that contains only non-material amendments of the Chapter 11 Plan), including, without
limitation, any plan that provides for treatment of the Obligations or the “Obligations” (as
defined in the Pre-Petition Credit Agreement) other than repayment in full in cash on the
effective date thereof (other than contingent indemnification obligations as to which no claim has
been asserted);

       (f)     Re-solicit votes of any class of claims or interests under the Chapter 11 Plan, or
seek the entry of an order of the Bankruptcy Court directing any such re-solicitation;

        (g)     Any actions relating to reclamation claims with respect to material Inventory;

        (h)   Any order which (i) authorizes the payment of any Indebtedness (other than the
Indebtedness reflected in the Budget (subject to Permitted Variances), and other Indebtedness
approved by the Administrative Agent) incurred prior to the Petition Date, and payment of any
Indebtedness owed to the Affiliates of the Debtors (but not the Debtors) or the grant of “adequate
protection” (whether payment in cash or transfer of property) with respect to any such
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Indebtedness which is secured by a Lien (other than as expressly set forth in the Orders or the
Budget (subject to Permitted Variances)) or (ii) is any manner contrary to the terms of this
Agreement (subject to the Permitted Variances); or

       (i)    Any order seeking authority to take any action that is prohibited by the terms of
this Agreement or the other Loan Documents or refrain from taking any action that is required to
be taken by the terms of this Agreement or any of the other Loan Documents unless in
connection therewith the Obligations will be paid in full in cash (other than contingent
indemnification obligations as to which no claim has been asserted).

                                          ARTICLE X

                           EVENTS OF DEFAULT AND REMEDIES

       SECTION 10.1            Events of Default. Each of the events referred to in clauses (a)
through (i) of this Section 10.1 shall constitute an “Event of Default”:

        (a)   Non-Payment. The Borrower fails to pay (i) when and as required to be paid
herein, any amount of principal of any Loan, or (ii) any interest on any Loan or any other amount
payable hereunder or with respect to any other Loan Document; or

        (b)     Specific Covenants.

                (i)     The Borrower, any Restricted Subsidiary or Holdings, fails to perform or
        observe any term, covenant or agreement contained in (A) Article VI, (B) Section 7.1(g),
        7.3(a), (C) Section 8.1(a) (solely with respect to the Borrower), (D) Section 8.13(b), (E)
        Article IX, (F) Section 8.15, (G) Section 8.16, or (H) Section 8.17;

                (ii)   The Borrower or any other Loan Party fails to perform or observe (or to
        cause to be performed or observed) any covenant or agreement contained in Section 8.12;
        or

                (iii) the Borrower or any other Loan Party fails to perform or observe (or to
        cause to be performed or observed) any covenant or agreement contained in Section
        7.1(h), Section 7.1(i), Section 7.4(a), Section 7.4(b) or Section 7.4(e), as applicable; or

        (c)    Other Defaults. Any Loan Party fails to perform or observe any other covenant or
agreement (not specified in Section 10.1(a) or (b) above) contained in any Loan Document on its
part to be performed or observed and such failure continues for thirty (30) days after receipt by
the Borrower of written notice thereof from the Administrative Agent; or

        (d)     Representations and Warranties. Any representation, warranty, certification or
statement of fact made or deemed made by any Loan Party herein, in any other Loan Document,
or in any document required to be delivered in connection herewith or therewith shall be
incorrect in any material respect (or, with respect to any representation and warranty that is
qualified as to “materiality”, “Material Adverse Effect” or similar language, in any respect (after
giving effect to any qualification therein)) when made or deemed made; or


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        (e)    Cross-Default. Except as a result of commencement of the Cases or unless the
payment, acceleration and/or the exercise of remedies with respect to any such Indebtedness is
stayed by the Bankruptcy Court, any Loan Party or any Restricted Subsidiary (A) fails to make
any payment beyond the applicable grace period, if any, whether by scheduled maturity, required
prepayment, acceleration, demand, or otherwise, in respect of any Indebtedness (other than
Indebtedness hereunder) (i) having an aggregate outstanding principal amount (individually or in
the aggregate with all other Indebtedness as to which such a failure shall exist) of not less than
the Threshold Amount or (ii) under the ABL DIP Credit Agreement, Second Lien Credit
Agreement or the Stripes Intra-Group Loan Agreement, or (B) fails to observe or perform any
other agreement or condition relating to any such Indebtedness, or any other event occurs (other
than, with respect to Indebtedness consisting of Swap Contracts, termination events or equivalent
events pursuant to the terms of such Swap Contracts and not as a result of any other default
thereunder by any Loan Party), the effect of which default or other event is to cause, or to permit
the holder or holders of such Indebtedness (or a trustee or agent on behalf of such holder or
holders or beneficiary or beneficiaries) to cause, with the giving of notice if required, such
Indebtedness to become due or to be repurchased, prepaid, defeased or redeemed (automatically
or otherwise), or an offer to repurchase, prepay, defease or redeem such Indebtedness to be
made, prior to its stated maturity; provided that this clause (e)(B) shall not apply to secured
Indebtedness that becomes due as a result of the voluntary sale or transfer of the property or
assets securing such Indebtedness, if such sale or transfer is permitted hereunder and under the
documents providing for such Indebtedness; provided, further, that such failure is unremedied
and is not waived by the holders of such Indebtedness prior to any termination of the Aggregate
Commitments or acceleration of the Loans pursuant to Section 10.2; or

         (f)    Insolvency Proceedings, Etc. Holdings, the Borrower or any Material Subsidiary
(in each case, other than the Debtors or in respect of the Cases) institutes or consents to the
institution of any proceeding under any Debtor Relief Law, or makes an assignment for the
benefit of creditors; or applies for or consents to the appointment of any receiver, trustee,
custodian, conservator, liquidator, rehabilitator, administrator, administrative receiver or similar
officer for it or for all or any material part of its property; or any receiver, trustee, custodian,
conservator, liquidator, rehabilitator, administrator, administrative receiver or similar officer is
appointed without the application or consent of such Person and the appointment continues
undischarged or unstayed for sixty (60) calendar days; or any proceeding under any Debtor
Relief Law relating to any such Person or to all or any material part of its property is instituted
without the consent of such Person and continues undismissed or unstayed for sixty (60) calendar
days, or an order for relief is entered in any such proceeding; or

        (g)     Judgments. Excluding any order fixing the amount of any claim in the Cases,
there is entered against any Loan Party or any Restricted Subsidiary a final judgment or order for
the payment of money after the Petition Date in an aggregate amount exceeding the Threshold
Amount (to the extent not covered by independent third-party insurance as to which the insurer
has been notified of such judgment or order and has not denied or failed to acknowledge
coverage thereof) and such judgment or order shall not have been satisfied, vacated, discharged
or stayed or bonded pending an appeal for a period of sixty (60) consecutive days; or

      (h)    ERISA. (i) An ERISA Event occurs with respect to a Pension Plan or
Multiemployer Plan which has resulted or would reasonably be expected to result in liability of

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any Loan Party or their respective ERISA Affiliates under Title IV of ERISA in an aggregate
amount which would reasonably be expected to result in a Material Adverse Effect or (ii) any
Loan Party or any of their respective ERISA Affiliates fails to pay when due, after the expiration
of any applicable grace period, any installment payment with respect to its Withdrawal Liability
under Section 4201 of ERISA under a Multiemployer Plan in an aggregate amount which would
reasonably be expected to result in a Material Adverse Effect; or

        (i)     Invalidity of Loan Documents. Any material provision of any Loan Document, at
any time after its execution and delivery and for any reason other than as expressly permitted
hereunder or thereunder (including as a result of a transaction permitted under Section 9.4 or 9.5)
or the satisfaction in full of all the Obligations, ceases to be in full force and effect; or any Loan
Party contests in writing the validity or enforceability of any provision of any Loan Document;
or any Loan Party denies in writing that it has any or further liability or obligation under any
Loan Document (other than as a result of repayment in full of the Obligations and termination of
the Aggregate Commitments), or purports in writing to revoke or rescind any Loan Document; or

        (j)      Collateral Documents. Any Collateral Document after delivery thereof pursuant
to Section 4.1 or 8.11 shall for any reason (other than pursuant to the terms hereof or thereof
including as a result of a transaction permitted under Section 9.4 or 9.5) cease to create, or any
Lien purported to be created by any Collateral Document or the Orders shall be asserted in
writing by any Loan Party not to be, a valid and perfected lien, with the priority required by the
Collateral Documents (or other security purported to be created on the applicable Collateral) on
and security interest in any material portion of the Collateral purported to be covered thereby,
subject to Liens permitted under Section 9.1, (x) except to the extent that any such perfection or
priority is not required pursuant to the Collateral and Guarantee Requirement or the loss of such
perfection or priority results from the failure of the Administrative Agent or the Collateral Agent
to maintain possession of certificates actually delivered to it representing securities pledged
under the Collateral Documents or to file UCC continuation statements and except as to
Collateral consisting of real property to the extent that such losses are covered by a lender’s title
insurance policy and such insurer has not denied coverage; or

        (a)     [Reserved]; or

        (b)     Change of Control. There occurs any Change of Control; or

        (c)     [Reserved]; or

        (d)     [Reserved]; or

        (e)     [Reserved]; or

        (f)     Except as otherwise permitted herein, the dissolution of any Loan Party; or

        (g)     [Reserved]; or

       (h)    The Loan Parties or any of their subsidiaries, or any person claiming by or
through the Loan Parties or any of their subsidiaries, obtain court authorization to commence, or
commence, join in, assist or otherwise participate as an adverse party in any suit or other

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proceeding against any of the Administrative Agent, the Collateral Agent or the Lenders in each
case relating to this Agreements; or

        (i)     Any of the following shall occur in any Case:

                (i)    the filing by any Loan Party of (A) a plan other than the Chapter 11 Plan,
        as it may be modified with the consent of the Administrative Agent and Collateral Agent
        and/or (B) any motion or pleading that is inconsistent with the prosecution of the Chapter
        11 Plan;

                        (ii)  (A) any Order or provision thereof is reversed, vacated, stayed, or
        otherwise ceases to be in full force and effect, (B) entry of an order without the prior
        consent of the Administrative Agent, Collateral Agent or the Required Lenders
        amending, supplementing or otherwise modifying any Order in a manner adverse to the
        Lenders, the and Collateral Agent and/or the Administrative Agent (other than immaterial
        modifications to correct grammatical or typographical errors) or (C) failure by the Loan
        Parties to perform under any Order in a material respect;

                      (iii)  The filing of a motion by any Loan Party seeking entry of, or the
        entry of any order without the prior consent of the Administrative Agent, Collateral
        Agent or the Required Lenders that authorizes any of the following:

                                   (A)    except as provided in the DIP Intercreditor Agreement, a
                           priority claim or administrative expense or unsecured claim against the
                           Loan Parties (now existing or hereafter arising or any kind or nature
                           whatsoever, including, without limitation, any administrative expense of
                           the kind specified in sections 105, 326, 328, 330, 331, 364(c), 503(a),
                           503(b), 506(c) (subject to entry of the Final Order) (and all rights to
                           charge the Collateral and all collateral securing the Pre-Petition
                           Obligations under Section 506(c) shall be waived), 507(a), 507(b), 546(c),
                           546(d), 726 or 1114 of the Bankruptcy Code) equal or superior to the
                           priority claim of the Administrative Agent, the Collateral Agent and the
                           Lenders in respect of the Obligations, except with respect to the Carve
                           Out, the ABL DIP Facility or as may be approved by the Bankruptcy
                           Court for payments to critical vendors, such critical vendor order to be
                           reasonably acceptable to the Administrative Agent and the Collateral
                           Agent;

                                  (B)      except as provided in the DIP Intercreditor Agreement or
                           pursuant to the Orders, any Lien on any Collateral having a priority equal
                           or superior to the Lien securing the Obligations, except with respect to the
                           Carve Out;

                                   (C)    the consummation of any sale of all or substantially all the
                           working capital assets of the Loan Parties pursuant to Section 363 of the
                           Bankruptcy Code, through a confirmed plan of reorganization in the Cases
                           or otherwise that does not result in payment in full of all of the Obligations

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                           in immediately available funds at the closing of such sale or initial
                           payment of the purchase price or effectiveness of such plan, as applicable
                           (other than contingent indemnification obligations as to which no claim
                           has been asserted);

                                   (D)    except as consented to by the Administrative Agent and
                           Collateral Agent, the return of any of the Loan Parties’ property pursuant
                           to section 546(h) of the Bankruptcy Code;

                                   (E)     authorizing or directing payment of any claim or claims
                           under Section 506(c) or 552(b) of the Bankruptcy Code or requiring the
                           marshaling of assets or any other similar remedy against or with respect to
                           any of the Collateral or from the Administrative Agent, the Collateral
                           Agent or any of Lenders, to the extent not dismissed or denied within 45
                           days after the filing of such motion;

                                   (F)    granting of (I) relief from the automatic stay in the Cases to
                           permit foreclosure or enforcement on, or any right or remedy with respect
                           to any material asset of the Borrower or (II) any relief that would impair
                           the material rights and interests of the Administrative Agent, Collateral
                           Agent and the Lenders in their capacities as such (regardless of whether
                           such relief was sought by the Debtors or a third party);

                                   (G)     the payment of any Indebtedness (other than Indebtedness
                           reflected in the Budget (subject to Permitted Variances)) or as permitted
                           by the Orders; and/or

                                  (H)     payment of or granting adequate protection with respect to
                           Pre-Petition Indebtedness, other than as expressly set forth in the Orders
                           and the Budget.

                      (iv)   the dismissal of the Cases or conversion of the Cases to a case
        under Chapter 7 of the Bankruptcy Code, or the filing of any motion to so dismiss or
        convert brought by any Loan Party;

                       (v)     appointment of a Chapter 11 trustee or an examiner or any similar
        insolvency official or administrator, with expanded powers, or the filing of any motion to
        so appoint brought by any Loan Party;

                      (vi)    any of the Liens or the DIP Superpriority Claims granted
        hereunder cease to be valid, perfected and enforceable in any respect;

                      (vii) the use of cash collateral by the Debtors are terminated and the
        Debtors fail to regain the use of cash collateral (consensually or non-consensually)
        pursuant to an order in form and substance acceptable to Administrative Agent and the
        Collateral Agent;



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                        (viii) the Bankruptcy Court enters an order that is adverse in any
        material respect, when taken as a whole, to the interests of the Administrative Agent, the
        Collateral Agent and the Lenders or their respective material rights and remedies in their
        capacities as such under this Agreement or in any of the Cases; and

                    (ix)   The termination, expiration or unenforceability of any Exit
        Commitment Letter.

       SECTION 10.2          Remedies upon Event of Default. Notwithstanding anything in
Section 362 of the Bankruptcy Code, but subject to the Orders,

       (a)     If any Event of Default occurs and is continuing, the Administrative Agent may
with the consent of, and shall at the request of, the Requisite Lenders take any or all of the
following actions:

               (i)     declare the Loans of each Lender to be terminated, whereupon such Loans
        and obligations thereunder shall be terminated;

               (ii)   declare the unpaid principal amount of all outstanding Loans, all interest
        accrued and unpaid thereon, and all other amounts owing or payable hereunder or under
        any other Loan Document to be immediately due and payable, without presentment,
        demand, protest or other notice of any kind, all of which are hereby expressly waived by
        the Borrower; and

                (iii) exercise (or direct Collateral Agent to exercise) on behalf of itself and the
        Lenders all rights and remedies available to it and the Lenders under the Loan Documents
        or applicable Law;

provided that with respect to the enforcement of Liens or other remedies with respect to the
Collateral of the Loan Parties under the preceding clause (iii), the Administrative Agent shall
provide the Borrower with five (5) Business Days’ written notice prior to taking the action
contemplated thereby.

        (b)     Without limitation of the rights of the Agents or Secured Parties under
Section8.12, the Borrower hereby irrevocably waives the right to direct the application of any
and all payments in respect of the Obligations and any proceeds of Collateral after the
occurrence and during the continuance of an Event of Default and agrees that during the
continuance of an Event of Default, and notwithstanding Section 2.13(f) above, the
Administrative Agent or Collateral Agent may in its sole discretion, and, upon either (A) the
written direction of the Requisite Lenders or (B) the acceleration of the Obligations pursuant to
Section 10.2(a), deliver a notice to each Approved Account Bank instructing them to cease
complying with any instructions from any Loan Party and to transfer all funds therein to the
Administrative Agent and the Administrative Agent shall apply all payments in respect of any
Obligations and all funds on deposit in the Concentration Account and all other proceeds of
Collateral in the order specified in Section 10.3 hereof.

       SECTION 10.3           Application of Funds. After the exercise of remedies provided for
in Section 10.2 (or after the Loans have automatically become immediately due and payable),
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any amounts received on account of the Obligations shall be applied by the Administrative Agent
in the following order:

       First, to pay accrued and unpaid professional fees and expenses of the Professional
Persons and to fund the [Carve Out Account (as defined in the Interim Order)] up to an aggregate
amount not to exceed the [Carve Out Cap (as defined in the Interim Order)];

      Second, ratably, pay any fees, indemnities, or expense reimbursements then due to the
Administrative Agent or the Collateral Agent from the Borrower;

       Third, ratably, to pay any fees or expense reimbursements then due to the Lenders from
the Borrower;

        Fourth, to pay interest due and payable in respect of any Loans;

        Fifth, to pay principal on the Loans;

       Sixth, to the payment of any other Obligation due to the Administrative Agent, Collateral
Agent, or the Collateral Agent, or any Lender by the Borrower; and

      Seventh, after all of the Obligations have been paid in full, to the Borrower or as the
Borrower shall direct or as otherwise required by Law.

        Notwithstanding the foregoing, if sufficient funds are not available to fund all payments
to be made in respect of any Secured Obligation described in any specific level of the waterfall
in clauses First through Sixth above, the available funds being applied with respect to any such
Secured Obligation (unless otherwise specified in such clause) shall be allocated to the payment
of such Secured Obligation ratably, based on the proportion of the Administrative Agent’s,
Collateral Agent’s, Collateral Agent’s or each Lender’s interest in the aggregate outstanding
Secured Obligations described in such clauses. Except as may be otherwise provided in Section
12.1, the order of priority set forth in clauses First through Fifth above may at any time and from
time to time be changed by the agreement of all Lenders without necessity of notice to or consent
of or approval by the Borrower, any Secured Party that is not a Lender or by any other Person
that is not a Lender. Except as may be otherwise provided in Section 12.1, the order of priority
set forth in clauses First through Seventh above may be changed only with the prior written
consent of the Administrative Agent in addition to that of all Lenders.

        Neither the Loan Parties, the Committee Professionals, nor any other party-in-interest
shall have the right to contest the enforcement of remedies set forth in the Orders and the Loan
Documents on any basis other than an assertion that an Event of Default has not occurred or has
been cured within the cure periods expressly set forth in the applicable Loan Documents. The
Loan Parties shall cooperate fully with the Administrative Agent and the Lenders in their
exercise of rights and remedies, whether against the Collateral or otherwise. The Loan Parties
hereby waive any right to seek relief under the Bankruptcy Code, including under Section 105
thereof, to the extent such relief would restrict or impair the rights and remedies of the
Administrative Agent and the Lenders set forth in the Orders and in the Loan Documents.



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        Subject to the Orders, in case any one or more of the covenants and/or agreements set
forth in this Agreement or any other Loan Document shall have been breached by any Loan
Party, then the Administrative Agent may proceed to protect and enforce the Lenders’ rights
either by suit in equity and/or by action at law, including an action for damages as a result of any
such breach and/or an action for specific performance of any such covenant or agreement
contained in this Agreement or such other Loan Document. Without limitation of the foregoing,
the Borrower agrees that failure to comply with any of the covenants contained herein will cause
irreparable harm and that specific performance shall be available in the event of any breach
thereof. The Administrative Agent shall be indemnified by the Borrower against all liability, loss
or damage, together with all reasonable costs and expenses related thereto (including reasonable
legal and accounting fees and expenses) in accordance with the terms hereof.

                                          ARTICLE XI

                  THE ADMINISTRATIVE AGENT AND OTHER AGENTS

       SECTION 11.1           Appointment and Authority of the Administrative Agent and
Collateral Agent.

        (a)    Each of the Lenders hereby irrevocably appoints Barclays to act on its behalf as
the Administrative Agent and Collateral Agent hereunder and under the other Loan Documents
and authorizes the Administrative Agent and Collateral Agent, as applicable, to take such actions
on its behalf and to exercise such powers as are delegated to the Administrative Agent or
Collateral Agent, as applicable, by the terms hereof or thereof, together with such actions and
powers as are reasonably incidental thereto. Each of the Lenders hereby authorizes the
Administrative Agent to enter into (i) the DIP Intercreditor Agreement and (ii) any Customary
Intercreditor Agreements in connection with Indebtedness permitted under Section 9.1(hh). The
provisions of this Article XI (other than Sections 11.6 and 11.11) are solely for the benefit of the
Administrative Agent, the Lenders and the Borrower shall not have rights as a third party
beneficiary of any such provision.

        (b)     The Administrative Agent shall also act as the “collateral agent” under the Loan
Documents, and each of the Lenders (including in its capacities as a Lender) hereby irrevocably
appoints and authorizes the Administrative Agent to act as the agent of (and to hold any security
interest created by the Collateral Documents for and on behalf of or in trust for) such Lender for
purposes of acquiring, holding and enforcing any and all Liens on Collateral granted by any of
the Loan Parties to secure any of the Obligations, together with such powers and discretion as are
reasonably incidental thereto. In this connection, the Administrative Agent, as “collateral agent”
(and any co-agents, sub-agents and attorneys-in-fact appointed by the Administrative Agent or
Collateral Agent pursuant to Section 11.5 for purposes of holding or enforcing any Lien on the
Collateral (or any portion thereof) granted under the Collateral Documents, or for exercising any
rights and remedies thereunder at the direction of the Administrative Agent), shall be entitled to
the benefits of all provisions of this Article XI and Article XII (including Sections 11.3, 11.14,
12.3, 12.4 and 12.5, as though such co-agents, sub-agents and attorneys-in-fact were the
“collateral agent” under the Loan Documents) as if set forth in full herein with respect thereto.
Without limiting the generality of the foregoing, the Lenders hereby expressly authorize the
Administrative Agent and the Collateral Agent to execute any and all documents (including

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releases) with respect to the Collateral and the rights of the Secured Parties with respect thereto,
as contemplated by and in accordance with the provisions of this Agreement and the Collateral
Documents and acknowledge and agree that any such action by any Agent shall bind the
Lenders.

        SECTION 11.2           Rights as a Lender. Any Person serving as an Agent (including as
Administrative Agent) hereunder shall have the same rights and powers in its capacity as a
Lender as any other Lender and may exercise the same as though it were not an Agent and the
term “Lender” or “Lenders” shall, unless otherwise expressly indicated or unless the context
otherwise requires, include each Person serving as an Agent hereunder in its individual capacity.
Such Person and its Affiliates may accept deposits from, lend money to, act as the financial
advisor or in any other advisory capacity for and generally engage in any kind of business with
the Borrower or any Subsidiary or other Affiliate thereof as if such Person were not an Agent
hereunder and without any duty to account therefor to the Lenders. The Lenders acknowledge
that, pursuant to such activities, any Agent or its Affiliates may receive information regarding
any Loan Party or any of its Affiliates (including information that may be subject to
confidentiality obligations in favor of such Loan Party or such Affiliate) and acknowledge that
no Agent shall be under any obligation to provide such information to them.

       SECTION 11.3          Exculpatory Provisions. Neither the Administrative Agent nor any
other Agent shall have any duties or obligations except those expressly set forth herein and in the
other Loan Documents. Without limiting the generality of the foregoing, an Agent (including the
Administrative Agent):

        (a)    shall not be subject to any fiduciary or other implied duties, regardless of whether
a Default has occurred and is continuing and without limiting the generality of the foregoing, the
use of the term “agent” herein and in the other Loan Documents with reference to any Agent is
not intended to connote any fiduciary or other implied (or express) obligations arising under
agency doctrine of any applicable Law and instead, such term is used merely as a matter of
market custom, and is intended to create or reflect only an administrative relationship between
independent contracting parties;

         (b)     shall not have any duty to take any discretionary action or exercise any
discretionary powers, except discretionary rights and powers expressly contemplated hereby or
by the other Loan Documents that such Agent is required to exercise as directed in writing by the
Requisite Lenders (or such other number or percentage of the Lenders as shall be expressly
provided for herein or in the other Loan Documents), provided that no Agent shall be required to
take any action that, in its opinion or the opinion of its counsel, may expose such Agent to
liability or that is contrary to any Loan Document or applicable law; and

        (c)    shall not, except as expressly set forth herein and in the other Loan Documents,
have any duty to disclose, and shall not be liable for the failure to disclose, any information
relating to the Borrower or any of its Affiliates that is communicated to or obtained by any
Person serving as an Agent or any of its Affiliates in any capacity.

       Neither Administrative Agent or any other Agent shall be liable for any action taken or
not taken by it (i) with the consent or at the request of the Requisite Lenders (or such other

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number or percentage of the Lenders as shall be necessary, or as the Administrative Agent shall
believe in good faith shall be necessary, under the circumstances as provided in Sections 12.1
and 12.2) or (ii) in the absence of its own gross negligence or willful misconduct as determined
by the final judgment of a court of competent jurisdiction, in connection with its duties expressly
set forth herein. The Administrative Agent shall be deemed not to have knowledge of any
Default unless and until notice describing such Default is given to the Administrative Agent by
the Borrower, a Lender.

        No Agent-Related Person shall be responsible for or have any duty to ascertain or inquire
into (i) any recital statement, warranty or representation made in or in connection with this
Agreement or any other Loan Document, (ii) the contents of any certificate, report or other
document delivered hereunder or thereunder or in connection herewith or therewith, (iii) the
performance or observance of any of the covenants, agreements or other terms or conditions set
forth herein or therein or the occurrence of any Default, (iv) the validity, enforceability,
effectiveness or genuineness of this Agreement, any other Loan Document or any other
agreement, instrument or document, or the creation, perfection or priority of any Lien purported
to be created by the Collateral Documents, (v) the value or the sufficiency of any Collateral, or
(vi) the satisfaction of any condition set forth in Article IV or elsewhere herein, other than to
confirm receipt of items expressly required to be delivered to the Administrative Agent or the
Collateral Agent, or (vii) the inspection of the properties, books or records of any Loan Party or
any Affiliate thereof.

        SECTION 11.4            Reliance by the Agents. The Administrative Agent and each other
Agent shall be entitled to rely upon, and shall not incur any liability for relying upon, any notice,
request, certificate, consent, statement, instrument, document or other writing (including any
electronic message, Internet or intranet website posting or other distribution) believed by it to be
genuine and to have been signed, sent or otherwise authenticated by the proper Person. The
Administrative Agent and each other Agent also may rely upon any statement made to it orally
or by telephone and believed by it to have been made by the proper Person, and shall not incur
any liability for relying thereon. In determining compliance with any condition hereunder to the
making of a Loan that by its terms must be fulfilled to the satisfaction of a Lender, the
Administrative Agent may presume that such condition is satisfactory to such Lender unless the
Administrative Agent shall have received notice to the contrary from such Lender prior to the
making of such Loan. The Administrative Agent and each other Agent may consult with legal
counsel (who may be counsel for the Borrower), independent accountants and other experts
selected by it, and shall not be liable for any action taken or not taken by it in accordance with
the advice of any such counsel, accountants or experts.

        Other than in respect of any actions at the direction of the Borrower, the Administrative
Agent and each other Agent shall be fully justified in failing or refusing to take any action under
any Loan Document unless it shall first receive such advice or concurrence of the Requisite
Lenders as it deems appropriate and, if it so requests, it shall first be indemnified to its
satisfaction by the Lenders against any and all liability and expense which may be incurred by it
by reason of taking or continuing to take any such action. The Administrative Agent and each
other Agent shall in all cases be fully protected in acting, or in refraining from acting, under this
Agreement or any other Loan Document in accordance with a request or consent of the Requisite
Lenders (or such greater number of Lenders as may be expressly required hereby in any

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instance) and such request and any action taken or failure to act pursuant thereto shall be binding
upon all the Lenders; provided that neither the Administrative Agent not any other Agent shall
be required to take any action that, in its opinion or in the opinion of its counsel, may expose the
Administrative Agent or such Agent to liability or that is contrary to any Loan Document or
applicable Law.

        SECTION 11.5            Delegation of Duties. The Administrative Agent may perform any
and all of its duties and exercise its rights and powers hereunder or under any other Loan
Documents by or through any one or more sub agents appointed by the Administrative Agent.
The Agents and any such sub agent may perform any and all of its duties and exercise its rights
and powers by or through their respective Agent-Related Persons. The exculpatory provisions of
this Article shall apply to any such sub agent and to the Agent-Related Persons of the Agents and
any such sub agent, and shall apply to their respective activities in connection with the
syndication of the credit facilities provided for herein as well as activities as Administrative
Agent or any other Agent. No Agent shall be responsible for the negligence or misconduct of
any sub-agents except to the extent that a court of competent jurisdiction determines in a final
and nonappealable judgment that the Agent acted with gross negligence or willful misconduct in
the selection of such sub agents.

        SECTION 11.6            Resignation of Administrative Agent or Collateral Agent. The
Administrative Agent or Collateral Agent may resign upon ten (10) days’ notice of its
resignation to the Lenders and the Borrower; provided that if no successor agent is appointed in
accordance with the terms set forth below within such 10-day period, the Administrative Agent
and/or the Collateral Agent shall not be permitted to resign until the earlier to occur of (x) the
date of the appointment of the successor agent or (y) the date that is twenty (20) days after the
last day of such 10-day period. If the Administrative Agent or Collateral Agent, as applicable, is
subject to an Agent-Related Distress Event, the Requisite Lenders or the Borrower may remove
the Administrative Agent or the Collateral Agent, as applicable, upon ten (10) days’ notice.
Upon the removal or receipt of any such notice of resignation, the Requisite Lenders shall have
the right, with the consent of the Borrower at all times other than during the existence of an
Event of Default (which consent of the Borrower shall not be unreasonably withheld or delayed
if such successor is a commercial bank with a combined capital and surplus of at least
$5,000,000,000 that is a “U.S. person” and a “financial institution” within the meaning of
Treasury Regulation Section 1.1441-1, and otherwise may be withheld at the Borrower’s sole
discretion), to appoint a successor, which shall be a Lender or a bank with an office in the United
States, or an Affiliate of any such Lender or bank with an office in the United States. If no such
successor shall have been so appointed by the Requisite Lenders and shall have accepted such
appointment within twenty (20) days after the last day of such 10-day period, then the retiring or
removed Administrative Agent or Collateral Agent, as applicable, may on behalf of the Lenders,
appoint a successor Administrative Agent or Collateral Agent, as applicable, meeting the
qualifications set forth above; provided that if the Administrative Agent or Collateral Agent, as
applicable, shall notify the Borrower and the Lenders that no qualifying Person has accepted
such appointment, then such resignation shall nonetheless become effective in accordance with
such notice and (1) the retiring or removed Administrative Agent or Collateral Agent, as
applicable, shall be discharged from its duties and obligations hereunder and under the other
Loan Documents (except that in the case of any collateral security held by the Administrative
Agent or Collateral Agent on behalf of the Lenders under any of the Loan Documents, the

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retiring or removed Agent shall continue to hold such collateral security until such time as a
successor of such Agent is appointed) and (2) all payments, communications and determinations
provided to be made by, to or through the Administrative Agent shall instead be made by or to
each Lender directly, until such time as the Requisite Lenders appoint a successor Administrative
Agent as provided for above in this Section 11.6. Upon the acceptance of a successor’s
appointment as Administrative Agent or Collateral Agent, as applicable, hereunder and upon the
execution and filing or recording of such financing statements, or amendments thereto, and such
amendments or supplements to the Mortgages, and such other instruments or notices, as may be
necessary or desirable, or as the Requisite Lenders may request, in order to (i) continue the
perfection of the Liens granted or purported to be granted by the Collateral Documents or (ii)
otherwise ensure that the Collateral and Guarantee Requirement is satisfied, such successor shall
succeed to and become vested with all of the rights, powers, privileges and duties of the retiring
(or retired) or removed Administrative Agent or Collateral Agent, as applicable, and the retiring
or removed Administrative Agent or Collateral Agent, as applicable, shall be discharged from all
of its duties and obligations hereunder or under the other Loan Documents (if not already
discharged therefrom as provided above in this Section). The fees payable by the Borrower to a
successor Administrative Agent or Collateral Agent, as applicable, shall be the same as those
payable to its predecessor unless otherwise agreed between the Borrower and such successor.
After the retiring or removed Agent’s resignation hereunder and under the other Loan
Documents, the provisions of this Article and Sections 12.3, 12.4 and 12.5 shall continue in
effect for the benefit of such retiring or removed Agent, its sub-agents and their respective
Agent-Related Persons in respect of any actions taken or omitted to be taken by any of them
while the retiring or removed Agent was acting as Administrative Agent or Collateral Agent, as
applicable.

        SECTION 11.7           Non-Reliance on Administrative Agent and Other Lenders;
Disclosure of Information by Agents. Each Lender acknowledges that no Agent-Related Person
has made any representation or warranty to it, and that no act by any Agent hereafter taken,
including any consent to and acceptance of any assignment or review of the affairs of any Loan
Party or any Affiliate thereof, shall be deemed to constitute any representation or warranty by
any Agent-Related Person to any Lender as to any matter, including whether Agent-Related
Persons have disclosed material information in their possession. Each Lender represents to each
Agent that it has, independently and without reliance upon any Agent-Related Person and based
on such documents and information as it has deemed appropriate, made its own appraisal of, and
investigation into, the business, prospects, operations, property, financial and other condition and
creditworthiness of the Loan Parties and their respective Subsidiaries, and all applicable bank or
other regulatory Laws relating to the transactions contemplated hereby, and made its own
decision to enter into this Agreement and to extend credit to the Borrower and the other Loan
Parties hereunder. Each Lender also represents that it will, independently and without reliance
upon the Administrative Agent , any other Agent, or any other Lender or any of their Agent-
Related Persons and based on such documents and information as it shall deem appropriate at the
time, continue to make its own credit analysis, appraisals and decisions in taking or not taking
action under this Agreement and the other Loan Documents, and to make such investigations as
it deems necessary to inform itself as to the business, prospects, operations, property, financial
and other condition and creditworthiness of the Borrower and the other Loan Parties. Except for
notices, reports and other documents expressly required to be furnished to the Lenders by any
Agent herein, such Agent shall not have any duty or responsibility to provide any Lender with
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any credit or other information concerning the business, prospects, operations, property, financial
and other condition or creditworthiness of any of the Loan Parties or any of their respective
Affiliates which may come into the possession of any Agent-Related Person.

        SECTION 11.8           No Other Duties; Other Agents, Arrangers, Etc. Barclays Bank
PLC is hereby appointed as an Arranger hereunder on the Closing Date, and each Lender
authorizes Barclays Bank PLC to act as an Arranger in accordance with the terms hereof and the
other Loan Documents. Each Agent hereby agrees to act in its capacity as such upon the express
conditions contained herein and the other Loan Documents, as applicable. Anything herein to
the contrary notwithstanding, neither the Arranger nor Agents shall have any powers, duties or
responsibilities under this Agreement or any of the other Loan Documents, except in its capacity,
as applicable, as the Administrative Agent, the Collateral Agent, or a Lender hereunder and such
Persons shall have the benefit of this Article XI. Without limiting the foregoing, none of the
Lenders or other Persons so identified shall have or be deemed to have any agency or fiduciary
or trust relationship with any Lender, Holdings, the Borrower or any of their respective
Subsidiaries. Each Lender acknowledges that it has not relied, and will not rely, on the Arranger,
Lenders, or other Persons so identified in deciding to enter into this Agreement or in taking or
not taking action hereunder. Subject to Section 11.6 and 11.9, any Agent or the Arranger may
resign from such role at any time, with immediate effect, by giving prior written notice thereof to
the Administrative Agent and Borrower.

        SECTION 11.9           [Reserved].

        SECTION 11.10          Administrative Agent May File Proofs of Claim. In case of the
pendency of any proceeding under any Debtor Relief Law or any other judicial proceeding
relative to any Loan Party, the Administrative Agent (irrespective of whether the principal of any
Loan shall then be due and payable as herein expressed or by declaration or otherwise and
irrespective of whether the Administrative Agent shall have made any demand on the Borrower)
shall be entitled and empowered, by intervention in such proceeding or otherwise:

        (a)    to file and prove a claim for the whole amount of the principal and interest owing
and unpaid in respect of the Loans and all other Obligations that are owing and unpaid and to file
such other documents as may be necessary or advisable in order to have the claims of the
Lenders and the Administrative Agent (including any claim for the reasonable compensation,
expenses, disbursements and advances of the Lenders and the Administrative Agent and their
respective agents and counsel and all other amounts due the Lenders and the Administrative
Agent under Sections 2.12, 12.3 and 12.4) allowed in such judicial proceeding; and

       (b)    to collect and receive any monies or other property payable or deliverable on any
such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
any such judicial proceeding is hereby authorized by each Lender to make such payments to the
Administrative Agent and, in the event that the Administrative Agent shall consent to the making
of such payments directly to the Lenders, to pay to the Administrative Agent any amount due for
the reasonable compensation, expenses, disbursements and advances of the Agents and their


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respective agents and counsel, and any other amounts due the Administrative Agent under
Sections 2.12, 12.3 and 12.4.

       Nothing contained herein shall be deemed to authorize the Administrative Agent to
authorize or consent to or accept or adopt on behalf of any Lender any plan of reorganization,
arrangement, adjustment or composition affecting the Obligations or the rights of any Lender to
authorize the Administrative Agent to vote in respect of the claim of any Lender in any such
proceeding.

       SECTION 11.11         Collateral and Guaranty Matters. Each of the Lenders irrevocably
authorizes the Administrative Agent and the Collateral Agent, and each of the Administrative
Agent and the Collateral Agent agrees that it will:

         (a)    automatically release any Lien on any property granted to or held by the
Administrative Agent or the Collateral Agent under any Loan Document (i) upon termination of
the Aggregate Commitments and payment in full of all Obligations (other than contingent
indemnification obligations not yet accrued and payable), (ii) at the time the property subject to
such Lien is transferred or to be transferred as part of or in connection with any transfer
permitted hereunder or under any other Loan Document to any Person other than Holdings, the
Borrower or any of its Domestic Subsidiaries that are Guarantors, (iii) subject to Section 12.1, if
the release of such Lien is approved, authorized or ratified in writing by the Requisite Lenders,
(iv) if the property subject to such Lien is owned by a Guarantor, upon release of such Guarantor
from its obligations under its Guaranty pursuant to clause (c) below or (v) if such property
becomes Excluded Assets;

       (b)    release or subordinate any Lien on any property granted to or held by the
Administrative Agent or the Collateral Agent under any Loan Document to the holder of any
Lien on such property that is permitted by Section 9.1(i); and

       (c)      release any Guarantor from its obligations under the Guaranty if (i) in the case of
any Subsidiary, such Person ceases to be a Restricted Subsidiary as a result of a transaction or
designation permitted hereunder or (ii) in the case of Holdings, as a result of a transaction
permitted hereunder; provided that no such release shall occur if such Guarantor continues to be
a guarantor in respect of any Junior Financing.

        Upon request by the Administrative Agent or Collateral Agent at any time, the Requisite
Lenders will confirm in writing the Administrative Agent’s and Collateral Agent’s authority to
release or subordinate its interest in particular types or items of property, or to release any
Guarantor from its obligations under the Guaranty pursuant to this Section 11.11. In each case as
specified in this Section 11.11, the applicable Agent will (and each Lender irrevocably
authorizes the applicable Agent to), at the Borrower’s expense, execute and deliver to the
applicable Loan Party such documents as such Loan Party may reasonably request to evidence
the release or subordination of such item of Collateral from the assignment and security interest
granted under the Collateral Documents, or to evidence the release of such Guarantor from its
obligations under the Guaranty, in each case in accordance with the terms of the Loan
Documents and this Section 11.11.


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        Notwithstanding anything contained in any of the Loan Documents to the contrary, the
Loan Parties, the Agents and each Lender hereby agree that (1) no Lender shall have any right
individually to realize upon any of the Collateral under any Collateral Document or to enforce
the Guarantee, it being understood and agreed that all powers, rights and remedies under the
Collateral Documents and the Guarantee may be exercised solely by the Administrative Agent
acting as agent for and representative of Lenders in accordance with the terms thereof, and (2) in
the event of a foreclosure by the Administrative Agent on any of the Collateral pursuant to a
public or private sale or a sale under Section 363 of the Bankruptcy Code, the Administrative
Agent or any Lender may be the purchaser of any or all of such Collateral at any such sale and
the Administrative Agent, as agent for and representative of Lenders (but not any Lender or
Lenders in its or their respective individual capacities unless the Required Lenders shall
otherwise agree in writing) shall be entitled (at the direction of the Required Lenders), for the
purpose of bidding and making settlement or payment of the purchase price for all or any portion
of the Collateral sold at any such public sale, to use and apply any of the Obligations as a credit
on account of the purchase price for any Collateral payable by the Administrative Agent at such
sale.

        SECTION 11.12         Appointment of Supplemental Administrative Agents.

         (a)    It is the purpose of this Agreement and the other Loan Documents that there shall
be no violation of any Law of any jurisdiction denying or restricting the right of banking
corporations or associations to transact business as agent or trustee in such jurisdiction. It is
recognized that in case of litigation under this Agreement or any of the other Loan Documents,
and in particular in case of the enforcement of any of the Loan Documents, or in case the
Administrative Agent deems that by reason of any present or future Law of any jurisdiction it
may not exercise any of the rights, powers or remedies granted herein or in any of the other Loan
Documents or take any other action which may be desirable or necessary in connection
therewith, the Administrative Agent is hereby authorized to appoint an additional individual or
institution selected by the Administrative Agent in its sole discretion as a separate trustee, co-
trustee, administrative agent, collateral agent, administrative sub-agent or administrative co-
agent (any such additional individual or institution being referred to herein individually as a
“Supplemental Administrative Agent” and collectively as “Supplemental Administrative
Agents”).

        (b)    In the event that the Administrative Agent appoints a Supplemental
Administrative Agent with respect to any Collateral, (i) each and every right, power, privilege or
duty expressed or intended by this Agreement or any of the other Loan Documents to be
exercised by or vested in or conveyed to the Administrative Agent with respect to such Collateral
shall be exercisable by and vest in such Supplemental Administrative Agent to the extent, and
only to the extent, necessary to enable such Supplemental Administrative Agent to exercise such
rights, powers and privileges with respect to such Collateral and to perform such duties with
respect to such Collateral, and every covenant and obligation contained in the Loan Documents
and necessary to the exercise or performance thereof by such Supplemental Administrative
Agent shall run to and be enforceable by either the Administrative Agent or such Supplemental
Administrative Agent, and (ii) the provisions of this Article XI and of Sections 12.3 and 12.4 that
refer to the Administrative Agent shall inure to the benefit of such Supplemental Administrative
Agent and all references therein to the Administrative Agent shall be deemed to be references to

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the Administrative Agent and/or such Supplemental Administrative Agent, as the context may
require.

        (c)     Should any instrument in writing from any Loan Party be required by any
Supplemental Administrative Agent so appointed by the Administrative Agent for more fully and
certainly vesting in and confirming to him or it such rights, powers, privileges and duties, the
Borrower or Holdings, as applicable, shall, or shall cause such Loan Party to, execute,
acknowledge and deliver any and all such instruments promptly upon request by the
Administrative Agent. In case any Supplemental Administrative Agent, or a successor thereto,
shall die, become incapable of acting, resign or be removed, all the rights, powers, privileges and
duties of such Supplemental Administrative Agent, to the extent permitted by Law, shall vest in
and be exercised by the Administrative Agent until the appointment of a new Supplemental
Administrative Agent.

        SECTION 11.13         [Reserved].

        SECTION 11.14          Indemnification of Agents. Whether or not the transactions
contemplated hereby are consummated, the Lenders shall indemnify upon demand the Agents
and each other Agent-Related Person (solely to the extent any such Agent-Related Person was
performing services on behalf of the any Agent) (to the extent not reimbursed by or on behalf of
any Loan Party and without limiting the obligation of any Loan Party to do so), pro rata, and
hold harmless the Agents and each other Agent-Related Person (solely to the extent any such
Agent-Related Person was performing services on behalf of any Agent) from and against any and
all Indemnified Liabilities incurred by it; provided that no Lender shall be liable for the payment
to any Agent-Related Person of any portion of such Indemnified Liabilities resulting from such
Agent-Related Person’s own gross negligence or willful misconduct, as determined by the final
judgment of a court of competent jurisdiction; provided that no action taken in accordance with
the directions of the Requisite Lenders (or such other number or percentage of the Lenders as
shall be required by the Loan Documents) shall be deemed to constitute gross negligence or
willful misconduct for purposes of this Section 11.14. In the case of any investigation, litigation
or proceeding giving rise to any Indemnified Liabilities, this Section 11.14 applies whether any
such investigation, litigation or proceeding is brought by any Lender or any other Person.
Without limitation of the foregoing, each Lender shall reimburse the Administrative Agent and
Collateral Agent upon demand for its ratable share of any costs or out-of-pocket expenses
(including Attorney Costs) incurred by the Administrative Agent or Collateral Agent in
connection with the preparation, execution, delivery, administration, modification, amendment or
enforcement (whether through negotiations, legal proceedings or otherwise) of, or legal advice in
respect of rights or responsibilities under, this Agreement, any other Loan Document, or any
document contemplated by or referred to herein, to the extent that the Administrative Agent or
Collateral Agent is not reimbursed for such expenses by or on behalf of the Borrower, provided
that such reimbursement by the Lenders shall not affect the Borrower’s continuing
reimbursement obligations with respect thereto, provided further that the failure of any Lender to
indemnify or reimburse the Administrative Agent or Collateral Agent shall not relieve any other
Lender of its obligation in respect thereof. The undertaking in this Section 11.14 shall survive
termination of the Aggregate Commitments, the payment of all other Obligations and the
resignation of the Administrative Agent or the Collateral Agent.


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                                          ARTICLE XII

                                       MISCELLANEOUS

        SECTION 12.1           Amendments, Etc.        Except as otherwise set forth in this
Agreement, no amendment or waiver of any provision of this Agreement or any other Loan
Document, and no consent to any departure by the Borrower or any other Loan Party therefrom,
shall be effective unless in writing signed by the Requisite Lenders (other than with respect to
any amendment or waiver contemplated in Sections 12.1(a) through (j) below, which shall only
require the consent of the Lenders expressly set forth therein and not the Requisite Lenders) (or
by the Administrative Agent with the consent of the Requisite Lenders) and the Borrower or the
applicable Loan Party, as the case may be and each such waiver or consent shall be effective
only in the specific instance and for the specific purpose for which given; provided that, no such
amendment, waiver or consent shall:

        (a)    extend or increase the Term Loan Commitment or Loan of any Lender without
the written consent of each Lender directly and adversely affected thereby (it being understood
that the waiver of any Default, mandatory prepayment or mandatory reduction of the Term Loan
Commitments shall not constitute an extension or increase of any Term Loan Commitment of
any Lender);

        (b)     postpone any date scheduled for, or reduce the amount of, any payment of
principal or interest under Section 2.6 or 2.10 without the written consent of each Lender directly
and adversely affected thereby, it being understood that the waiver of (or amendment to the
terms of) any mandatory prepayment of the Loans shall not constitute a postponement of any
date scheduled for the payment of principal or interest;

        (c)    reduce the principal of, or the rate of interest specified herein on, any Loan, or
(subject to clause (iii) of the second proviso to this Section 12.1) any fees or other amounts
payable hereunder or under any other Loan Document without the written consent of each
Lender directly and adversely affected thereby; provided that only the consent of the Requisite
Lenders shall be necessary to amend the definition of “Default Rate” or to waive any obligation
of the Borrower to pay interest at the Default Rate;

        (d)     change any provision of this Section 12.1, Section 12.7 (in a manner that would
alter the pro rata sharing of payments or setoffs required thereby), the definition of “Requisite
Lenders” or any other provision specifying the number of Lenders or portion of the Loans or
Term Loan Commitments required to take any action under the Loan Documents, without the
written consent of each Lender affected thereby;

        (e)     other than in a transaction permitted under Section 9.4 or 9.5, release all or
substantially all of the Collateral in any transaction or series of related transactions, without the
written consent of each Lender;

       (f)     other than in a transaction permitted under Section 9.4 or 9.5, release all or
substantially all of the aggregate value of the Guaranty, without the written consent of each
Lender;

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       (g)    without the prior written consent of all Lenders directly affected thereby, (i)
subordinate the Obligations hereunder to any other Indebtedness, or (ii) except as provided by
operation of applicable Law, subordinate the Liens granted hereunder or under the other Loan
Documents to any other Lien; or

        (h)    change the order of the application of funds specified in Section 10.3 without the
written consent of each Lender directly affected thereby;

and provided, further, that (i) no amendment, waiver or consent shall, unless in writing and
signed by the Administrative Agent and Collateral Agent in addition to the Lenders required
above, affect the rights or duties of, or any fees or other amounts payable to, the Administrative
Agent or Collateral Agent under this Agreement or any other Loan Document; (ii) no
amendment, waiver or consent shall, unless in writing and signed by the Collateral Agent in
addition to the Lenders required above and the Administrative Agent, affect the rights or duties
of the Collateral Agent under this Agreement; (iii) Section 12.2(g) may not be amended, waived
or otherwise modified without the consent of each Granting Lender all or any part of whose
Loans are being funded by an SPC at the time of such amendment, waiver or other modification;
(v) only the consent of the Borrower, the Administrative Agent and Citizens shall be required to
effect any amendment, waiver or consent under the Fee Letter, and (iv) only the consent of the
Borrower, the Administrative Agent and Citizens shall be required to effect any amendment,
waiver or consent under the Commitment Letter.

        Notwithstanding anything to the contrary contained in this Section 12.1, guarantees,
collateral security documents and related documents executed by Subsidiaries in connection with
this Agreement may be in a form reasonably determined by the Administrative Agent and each
Collateral Agent and may be, together with this Agreement, amended and waived with the
consent of the Administrative Agent and each Collateral Agent at the request of the Borrower
without the need to obtain the consent of any other Lender if such amendment or waiver is
delivered in order (i) to comply with local Law or advice of local counsel, (ii) to cure ambiguities
or defects or (iii) to cause such guarantee, collateral security document or other document to be
consistent with this Agreement and the other Loan Documents.

        If the Administrative Agent, Collateral Agent and the Borrower shall have jointly
identified an obvious error (including, but not limited to, an incorrect cross-reference) or any
error or omission of a technical or immaterial nature, in each case, in any provision of this
Agreement or any other Loan Document (including, for the avoidance of doubt, any exhibit,
schedule or other attachment to any Loan Document), then the Administrative Agent and the
Collateral Agent (acting in its sole discretion) and the Borrower or any other relevant Loan Party
shall be permitted to amend such provision and such amendment shall become effective without
any further action or consent of any other party to any Loan Document. Notification of such
amendment shall be made by the Administrative Agent to the Lenders promptly upon such
amendment becoming effective.

        Notwithstanding anything in this Section 12.1 to the contrary, technical and conforming
modifications to the Loan Documents may be made with the consent of the Borrower and the
Administrative Agent (and no other Person) to the extent necessary to (i) conform to the Orders,
and/or (ii) modify any other provision hereunder or under any other Loan Document in a manner

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more favorable to the then-existing Lenders, in each case in connection with the issuance or
incurrence of any other Indebtedness permitted hereunder, where the terms of any such other
Indebtedness are more favorable to the lenders thereof than the corresponding terms applicable
to other Loans or Term Loan Commitments then existing hereunder, and it is intended that one
or more then-existing Classes of Loans or Term Loan Commitments under this Agreement share
in the benefit of such more favorable terms in order to comply with the provisions hereof relating
to the incurrence of such other Indebtedness.

        If any Lender does not consent to a proposed amendment, waiver, consent or release with
respect to any Loan Document that requires the consent of each Lender and that has been
approved by the Requisite Lenders, the Borrower may replace such non-consenting Lender in
accordance with Section 3.7; provided that such amendment, waiver, consent or release can be
effected as a result of the assignment contemplated by such Section (together with all other such
assignments required by the Borrower to be made pursuant to this paragraph).

        SECTION 12.2            Successors and Assigns.

        (a)     Successors and Assigns Generally. The provisions of this Agreement shall be
binding upon and inure to the benefit of the parties hereto and their respective successors and
assigns permitted hereby, except that neither Holdings nor the Borrower may, except as
permitted by Section 9.4, assign or otherwise transfer any of its rights or obligations hereunder
without the prior written consent of the Administrative Agent and each Lender and no Lender
may assign or otherwise transfer any of its rights or obligations hereunder except (i) to an
assignee in accordance with the provisions of subsection (b) of this Section, (ii) by way of
participation in accordance with the provisions of subsection (d) of this Section, (iii) by way of
pledge or assignment of a security interest subject to the restrictions of subsection (f) of this
Section, or (iv) to an SPC in accordance with the provisions of subsection (g) of this Section (and
any other attempted assignment or transfer by any party hereto shall be null and void). Nothing
in this Agreement, expressed or implied, shall be construed to confer upon any Person (other
than the parties hereto, their respective successors and assigns permitted hereby, Participants to
the extent provided in subsection (d) of this Section and, to the extent expressly contemplated
hereby, the Agent-Related Persons of each of the Administrative Agent and the Lenders) any
legal or equitable right, remedy or claim under or by reason of this Agreement.

       (b)      Assignments by Lenders. Any Lender may at any time assign to one or more
assignees all or a portion of its rights and obligations under this Agreement (including all or a
portion of its Term Loan Commitment and the Loans at the time owing to it); provided that any
such assignment shall be subject to the following conditions:

                (i)        Minimum Amounts.

                         (A) in the case of an assignment of the entire remaining amount of the
          assigning Lender’s Term Loan Commitment and the Loans of any Class at the time
          owing to it or in the case of an assignment to a Lender, an Affiliate of a Lender or an
          Approved Fund, no minimum amount need be assigned; and



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                          (B) in any case not described in subsection (b)(i)(A) of this Section,
          the aggregate unused amount of the Term Loan Commitment (plus the principal
          outstanding balance of the Loans) or, if the Term Loan Commitment is not then in
          effect, the principal outstanding balance of the Loans of the assigning Lender subject to
          each such assignment, determined as of the date the Assignment and Assumption with
          respect to such assignment is delivered to the Administrative Agent or, if “Trade Date”
          is specified in the Assignment and Assumption, as of the Trade Date, shall not be less
          than $5,000,000 (other than to a Relevant Participant) unless each of the Administrative
          Agent and, so long as no Event of Default, solely with respect to the Borrower, has
          occurred and is continuing, the Borrower otherwise consents (each such consent not to
          be unreasonably withheld or delayed); provided, however, that concurrent assignments
          to members of an Assignee Group and concurrent assignments from members of an
          Assignee Group to a single Eligible Assignee (or to an Eligible Assignee and members
          of its Assignee Group) will be treated as a single assignment for purposes of
          determining whether such minimum amount has been met;

               (ii)    Proportionate Amounts. Each partial assignment shall be made as an
        assignment of a proportionate part of all the assigning Lender’s rights and obligations
        under this Agreement with respect to the Loans or the Term Loan Commitment assigned;

                (iii) Required Consents. No consent shall be required for any assignment
        except to the extent required by subsection (b)(i)(B) of this Section and, in addition:

                         (A) the consent of the Borrower (such consent not to be unreasonably
          withheld) shall be required unless (1) other than with respect to any proposed
          assignment to any Person that is a Disqualified Institution, an Event of Default has
          occurred and is continuing at the time of such assignment, (2) such assignment is to a
          Lender, an Affiliate of a Lender, an Approved Fund or a Relevant Participant; provided
          that, other than with respect to any proposed assignment to any Person that is a
          Disqualified Institution as shown on a list available to the assigning Lender prior to the
          execution of the Assignment and Assumption, the Borrower shall be deemed to have
          consented to any such assignment of the Loans unless it shall have objected thereto by
          written notice to the Administrative Agent within ten (10) Business Days after having
          received notice thereof, or (3) such assignment will become effective 45 days after the
          Closing Date; and

                         (B) the consent of the Administrative Agent (such consent not to be
          unreasonably withheld or delayed) shall be required if such assignment is to a Person
          that is not a Lender, an Affiliate of such Lender or an Approved Fund with respect to
          such Lender;

               (iv)    Assignment and Assumption. The parties to each assignment shall
        execute and deliver to the Administrative Agent an Assignment and Assumption, together
        with a processing and recordation fee of $3,500; provided, however, that the
        Administrative Agent may, in its sole discretion, elect to waive such processing and
        recordation fee in the case of any assignment. The Eligible Assignee, if it is not a


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        Lender, shall deliver to the Administrative Agent an Administrative Questionnaire. All
        assignments shall be by novation.

                (v)     No Assignment to Certain Persons. No such assignment shall be made
        (A) to Holdings, the Borrower or any of the Borrower’s Affiliates or Subsidiaries, (B) to
        a natural person or (C) to any Disqualified Institution; provided, that the Administrative
        Agent shall have no duties or responsibilities for monitoring or enforcing prohibitions on
        participations to Disqualified Institutions.

Subject to acceptance and recording thereof by the Administrative Agent pursuant to clause (c)
of this Section, from and after the effective date specified in each Assignment and Assumption,
the assignee thereunder shall be a party to this Agreement and, to the extent of the interest
assigned by such Assignment and Assumption, have the rights and obligations of a Lender under
this Agreement, and the assigning Lender thereunder shall, to the extent of the interest assigned
by such Assignment and Assumption, be released from its obligations under this Agreement
(and, in the case of an Assignment and Assumption covering all of the assigning Lender’s rights
and obligations under this Agreement, such Lender shall cease to be a party hereto but shall
continue to be entitled to the benefits of Sections 3.1, 3.4, 3.5, 12.3, 12.4 and 12.5 with respect to
facts and circumstances occurring prior to the effective date of such assignment). Upon request,
and the surrender by the assigning Lender of its Note, the Borrower (at its expense) shall execute
and deliver a Note to the assignee Lender. Any assignment or transfer by a Lender of rights or
obligations under this Agreement that does not comply with this subsection shall be treated for
purposes of this Agreement as a sale by such Lender of a participation in such rights and
obligations in accordance with subsection (d) of this Section.

        (c)     Register. The Administrative Agent, acting solely for this purpose as a non-
fiduciary agent of the Borrower, shall maintain at the Administrative Agent’s Office a copy of
each Assignment and Assumption delivered to it and a register for the recordation of the names
and addresses of the Lenders, and the Term Loan Commitments of, and principal amounts (and
related interest amounts) of the Loans owing to, each Lender pursuant to the terms hereof from
time to time (the “Register”). The entries in the Register shall be conclusive absent manifest
error, and the Borrower, the Agents and the Lenders shall treat each Person whose name is
recorded in the Register pursuant to the terms hereof as a Lender hereunder for all purposes of
this Agreement, notwithstanding notice to the contrary. The Register shall be available for
inspection by the Borrower, any Agent or any Lender (but, only in the case of a Lender, at the
Administrative Agent’s Office and with respect to any entry relating to such Lender’s Term Loan
Commitments, Loans and other Obligations), at any reasonable time and from time to time upon
reasonable prior notice. This Section 12.2(c) and Section 2.7 shall be construed so that all Loans
are at all times maintained in “registered form” within the meaning of Sections 163(f), 871(h)(2)
and 881(c)(2) of the Code and any related Treasury regulations (or any other relevant or
successor provisions of the Code or of such Treasury regulations).

        (d)    Any Lender may at any time, without the consent of, or notice to, the Borrower or
the Administrative Agent, sell participations to any Person (other than a natural person, a
Disqualified Institution or the Borrower or any of the Borrower’s Affiliates or Subsidiaries)
(each, a “Participant”) in all or a portion of such Lender’s rights and/or obligations under this
Agreement (including all or a portion of its Term Loan Commitment and/or the Loans owing to

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it); provided that (i) such Lender’s obligations under this Agreement shall remain unchanged, (ii)
such Lender shall remain solely responsible to the other parties hereto for the performance of
such obligations, (iii) such participation is recorded in the Participant Register and (iv) the
Borrower, the Agents, the other Lenders shall continue to deal solely and directly with such
Lender in connection with such Lender’s rights and obligations under this Agreement.

        Any agreement or instrument pursuant to which a Lender sells such a participation shall
provide that such Lender shall retain the sole right to enforce this Agreement and the other Loan
Documents and to approve any amendment, modification or waiver of any provision of this
Agreement or any other Loan Document; provided that such agreement or instrument may
provide that such Lender will not, without the consent of the Participant, agree to any
amendment, waiver or other modification described in the first proviso to Section 12.1 (other
than clause (d) thereof) that directly affects such Participant. Subject to subsection (e) of this
Section, the Borrower agrees that each Participant shall be entitled to the benefits of Sections 3.1
(subject to the requirements of Sections 3.1(b), (c) or (d), as applicable), Section 3.4 and Section
3.5 (through the applicable Lender) to the same extent as if it were a Lender and had acquired its
interest by assignment pursuant to subsection (b) of this Section. To the extent permitted by
applicable Law, each Participant also shall be entitled to the benefits of Section 12.6 as though it
were a Lender; provided such Participant agrees to be subject to Section 12.7 as though it were a
Lender.

        (e)     Limitations upon Participant Rights. The Borrower agrees that each Participant
shall be entitled to the benefits of Sections 3.1, 3.4 and 3.5 (subject to the requirements and
limitations therein, including the requirements under Section 3.1(b), (c) or (d), as applicable, (it
being understood that the documentation required under to Section 3.1(b), (c) or (d) shall be
delivered to the participating Lender)) to the same extent as if it were a Lender and had acquired
its interest by assignment pursuant to paragraph (b) of this Section; provided that such
Participant (i) agrees to be subject to the provisions of Sections 3.1, 3.4, 3.5 and 3.7 as if it were
an assignee under paragraph (b) of this Section; and (ii) shall not be entitled to receive any
greater payment under Section 3.1, 3.4 or 3.5 than the applicable Lender would have been
entitled to receive with respect to the participation sold to such Participant, except to the extent
such entitlement to receive a greater payment results from a Change in Law that occurs after the
Participant acquired the applicable participation or the sale of the participation to such
Participant is made with the Borrower’s prior written consent. Each Lender that sells a
participation shall (acting solely for this purpose as a non-fiduciary agent of the Borrower)
maintain a register complying with the requirements of Sections 163(f), 871(h) and 881(c)(2) of
the Code and the Treasury regulations issued thereunder relating to the exemption from
withholding for portfolio interest on which is entered the name and address of each Participant
and the principal amounts (and stated interest) of each Participant’s interest in the Loans or other
obligations under this Agreement (the “Participant Register”). A Lender shall not be obligated
to disclose the Participant Register to any Person except to the extent such disclosure is
necessary to establish that any Loan or other obligation is in registered form under Section
5f.103-1(c) of the United States Treasury regulations or is otherwise required thereunder. The
entries in the Participant Register shall be conclusive absent manifest error, and such Lender
shall treat each person whose name is recorded in the Participant Register as the owner of such
participation for all purposes of this Agreement notwithstanding any notice to the contrary. The
portion of any Participant Register relating to any Participant or SPC requesting payment from

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the Borrower or seeking to exercise its rights under Section 12.9 shall be available for inspection
by the Borrower upon reasonable request to the extent that such disclosure is necessary to
establish that such commitment, loan, letter of credit or other obligation is in registered form
under Section 5f.103-1(c) of the United States Treasury Regulations or is otherwise required
thereunder.

        (f)      Any Lender may, at any time, pledge or assign a security interest in all or any
portion of its rights under this Agreement (including under its Note, if any) to secure obligations
of such Lender, including any pledge or assignment to secure obligations to a Federal Reserve
Bank or other central bank; provided that no such pledge or assignment shall release such Lender
from any of its obligations hereunder or substitute any such pledgee or assignee for such Lender
as a party hereto.

        (g)    Notwithstanding anything to the contrary contained herein, any Lender (a
“Granting Lender”) may grant to a special purpose funding vehicle identified as such in writing
from time to time by the Granting Lender to the Administrative Agent and the Borrower (an
“SPC”) the option to provide all or any part of any Loan that such Granting Lender would
otherwise be obligated to make pursuant to this Agreement; provided that (i) nothing herein shall
constitute a commitment by any SPC to fund any Loan, (ii) if an SPC elects not to exercise such
option or otherwise fails to make all or any part of such Loan, the Granting Lender shall be
obligated to make such Loan pursuant to the terms hereof or, if it fails to do so, to make such
payment to the Administrative Agent as is required under Section 2.13(e) and (iii) such SPC and
the applicable Loan or any applicable part thereof, shall be appropriately reflected in the
Participant Register. Each party hereto hereby agrees that (i) neither the grant to any SPC nor
the exercise by any SPC of such option shall increase the costs or expenses or otherwise increase
or change the obligations of the Borrower under this Agreement (including its obligations under
Sections 3.1, 3.4 and 3.5), (ii) no SPC shall be liable for any indemnity or similar payment
obligation under this Agreement for which a Lender would be liable, and (iii) the Granting
Lender shall for all purposes, including the approval of any amendment, waiver or other
modification of any provision of any Loan Document, remain the lender of record hereunder. In
furtherance of the foregoing, each party hereto hereby agrees (which agreement shall survive the
termination of this Agreement) that, prior to the date that is one year and one day after the
payment in full of all outstanding commercial paper or other senior debt of any SPC, it will not
institute against, or join any other Person in instituting against, such SPC any bankruptcy,
reorganization, arrangement, insolvency, or liquidation proceeding under the laws of the United
States or any State thereof. Notwithstanding anything to the contrary contained herein, any SPC
may (i) with notice to, but without prior consent of the Borrower and the Administrative Agent
and with the payment of a processing fee of $3,500 (which processing fee may be waived by the
Administrative Agent in its sole discretion), assign all or any portion of its right to receive
payment with respect to any Loan to the Granting Lender and (ii) disclose on a confidential basis
any non-public information relating to its funding of Loans to any rating agency, commercial
paper dealer or provider of any surety or Guarantee or credit or liquidity enhancement to such
SPC.

       SECTION 12.3         Attorney Costs and Expenses. The Borrower agrees (a) to pay or
reimburse the Administrative Agent, the Collateral Agent, and the Arrangers for all reasonable
and documented or invoiced out-of-pocket costs and expenses (including Attorney Costs)

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incurred in connection with the preparation, negotiation, syndication and execution of this
Agreement and the other Loan Documents and any amendment, waiver, consent or other
modification of the provisions hereof and thereof (whether or not the transactions contemplated
thereby are consummated), and the consummation and administration of the transactions
contemplated hereby and thereby, including all Attorney Costs of Paul Hastings LLP and, if
reasonably necessary, one local counsel in each relevant jurisdiction material to the interests of
the Lenders taken as a whole and, solely in the case of a conflict of interest, additional counsel in
each relevant jurisdiction for group members who are similarly situated, and (b) to pay or
reimburse the Administrative Agent, the Collateral Agent and the Lenders for all of their
reasonable and documented or invoiced out-of-pocket costs and expenses (including Attorney
Costs) incurred in connection with the enforcement of any rights or remedies under this
Agreement or the other Loan Documents (including (i) all such costs and expenses incurred
during any legal proceeding, including any proceeding under any Debtor Relief Law, and
including all Attorney Costs of Paul Hastings LLP and Richards, Layton & Finger (and, one
local counsel as designated by the Administrative Agent to act in any relevant material
jurisdiction and, in the event of any conflict of interest, one additional counsel in each relevant
jurisdiction to each group of affected Lenders similarly situated taken as a whole) and (ii) all
such costs and expenses of other advisors and professionals engaged by the Administrative
Agent (including any financial advisors and, without limitation, Berkeley Research Group, LLC
or replacements if conflicted)). The agreements in this Section 12.3 shall survive the termination
of the Aggregate Commitments and repayment of all other Obligations. All amounts due under
this Section 12.3 shall be paid within thirty (30) days following receipt by the Borrower of an
invoice relating thereto setting forth such expenses in reasonable detail; provided that, with
respect to the Closing Date, all amounts due under this Section 12.3 shall be paid by the earlier
of (x) the Closing Date solely to the extent invoiced to the Borrower within one (1) Business Day
prior to the Closing Date and (y) the approval of the Bankruptcy Court of the fee applications for
the payment of such expenses. If any Loan Party fails to pay when due any costs, expenses or
other amounts payable by it hereunder or under any Loan Document, such amount may be paid
on behalf of such Loan Party by the Administrative Agent in its sole discretion. The Borrower
and each other Loan Party hereby acknowledge that the Administrative Agent, Collateral Agent,
and Collateral Agent and/or any Lender may receive a benefit, including a discount, credit or
other accommodation, from any of such counsel based on the fees such counsel may receive on
account of their relationship with the Administrative Agent, Collateral Agent and/or such
Lender, including fees paid pursuant to this Agreement or any other Loan Document. This
Section 12.3 shall not apply to Indemnified Taxes, or amounts excluded from the definition of
Indemnified Taxes pursuant to clauses (i) through (v) of the first sentence of Section 3.1(a), that
are imposed with respect to payments to or for the account of any Agent or any Lender under any
Loan Document, which shall be governed by Section 3.1. This Section 12.3 also shall not apply
to Other Taxes or to taxes covered by Section 3.4.

         SECTION 12.4             Indemnification by the Borrower. The Borrower shall indemnify
and hold harmless the Agents, each Lender, the Arranger and their respective Affiliates and such
Persons’ and their Affiliates’ respective directors, officers, employees, agents, partners, trustees
or advisors and other representatives (collectively the “Indemnitees”) from and against any and
all liabilities, obligations, losses, damages, penalties, claims, demands, actions, judgments, suits,
costs, expenses and disbursements (including Attorney Costs) of any kind or nature whatsoever
which may at any time be imposed on, incurred by or asserted against any such Indemnitee in
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any way relating to or arising out of or in connection with (but limited, in the case of legal fees
and expenses, to the reasonable and documented or invoiced out-of-pocket fees, disbursements
and other charges of one counsel to all Indemnitees taken as a whole and, a single local counsel
for all Indemnitees taken as a whole in each relevant jurisdiction that is material to the interest of
the Lenders, and solely in the case of a conflict of interest, one additional counsel in each
relevant jurisdiction to each group of affected Indemnitees similarly situated taken as a whole) (i)
the execution, delivery, enforcement, performance or administration of any Loan Document or
any other agreement, letter or instrument delivered in connection with the transactions
contemplated thereby or the consummation of the transactions contemplated thereby, (ii) any
Term Loan Commitment, Loan or the use or proposed use of the proceeds therefrom, or (iii) any
actual or alleged presence or release of Hazardous Materials on or from any property currently or
formerly owned or operated by the Borrower, any Subsidiary or any other Loan Party, or any
Environmental Liabilities arising out of the activities or operations of the Borrower, any
Subsidiary or any other Loan Party, or (iv) any actual or prospective claim, litigation,
investigation or proceeding relating to any of the foregoing, whether based on contract, tort or
any other theory (including any investigation of, preparation for, or defense of any pending or
threatened claim, investigation, litigation or proceeding) and regardless of whether any
Indemnitee or a Loan Party is a party thereto (all the foregoing, collectively, the “Indemnified
Liabilities”); provided that such indemnity shall not, as to any Indemnitee, be available to the
extent that such liabilities, obligations, losses, damages, penalties, claims, demands, actions,
judgments, suits, costs, expenses or disbursements resulted from (x) the gross negligence, bad
faith or willful misconduct of such Indemnitee or of any Related Indemnified Person, as
determined by a final, non-appealable judgment of a court of competent jurisdiction, (y) a
material breach of any obligations under any Loan Document by such Indemnitee or of any
Related Indemnified Person, in each case as determined by a final, non-appealable judgment of a
court of competent jurisdiction or (z) any dispute solely among Indemnitees other than any
claims against an Indemnitee in its capacity or in fulfilling its role as an administrative agent,
collateral agent, or arranger or any similar role under any Class of Loans and other than any
claims arising out of any act or omission of the Borrower or any of its Affiliates. To the extent
that the undertakings to indemnify and hold harmless set forth in this Section 12.4 may be
unenforceable in whole or in part because they are violative of any applicable law or public
policy, the Borrower shall contribute the maximum portion that it is permitted to pay and satisfy
under applicable law to the payment and satisfaction of all Indemnified Liabilities incurred by
the Indemnitees or any of them. No Indemnitee shall be liable for any damages arising from the
use by others of any information or other materials obtained through IntraLinks or other similar
information transmission systems in connection with this Agreement (except for direct (as
opposed to indirect, special, punitive or consequential) damages resulting from the gross
negligence, bad faith or willful misconduct, as determined by a court of competent jurisdiction in
a final and non-appealable judgment, of any such Indemnitee), nor shall any Indemnitee or any
Loan Party have any liability for any special, punitive, indirect or consequential damages relating
to this Agreement or any other Loan Document or arising out of its activities in connection
herewith or therewith (whether before or after the Closing Date) (other than, in the case of any
Loan Party, in respect of any such damages incurred or paid by an Indemnitee to a third party).
In the case of an investigation, litigation or other proceeding to which the indemnity in this
Section 12.4 applies, such indemnity shall be effective whether or not such investigation,
litigation or proceeding is brought by any Loan Party, its directors, stockholders or creditors or

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an Indemnitee or any other Person, whether or not any Indemnitee is otherwise a party thereto
and whether or not any of the transactions contemplated hereunder or under any of the other
Loan Documents is consummated. All amounts due under this Section 12.4 shall be paid within
the later of (x) twenty (20) Business Days after written demand therefor (together with
reasonably detailed backup documentation supporting such reimbursement request) and (y) the
approval of the payment thereof by the Bankruptcy Court; provided, however, that such
Indemnitee shall promptly refund such amount to the extent that it is determined by a final, non-
appealable judgment of a court of competent jurisdiction that such Indemnitee was not entitled to
indemnification rights with respect to such payment pursuant to the express terms of this Section
12.4. The agreements in this Section 12.4 shall survive the resignation of the Administrative
Agent or the Collateral Agent, the replacement of any Lender, the termination of the Aggregate
Commitments and the repayment, satisfaction or discharge of all the other Obligations. This
Section 12.4 shall not apply to Indemnified Taxes, or amounts excluded from the definition of
Indemnified Taxes pursuant to clauses (i) through (v) of the first sentence of Section 3.1(a), that
are imposed with respect to payments to or for account of any Agent or any Lender under any
Loan Document, which shall be governed by Section 3.1. This Section 12.5 also shall not apply
to Other Taxes or to taxes covered by Section 3.4.

        SECTION 12.5           [Reserved].

        SECTION 12.6            Right of Setoff. Notwithstanding anything to the contrary in
Section 362 of the Bankruptcy Code but subject to the Orders, if an Event of Default shall have
occurred and be continuing, each Lender and each of its Affiliates is hereby authorized at any
time and from time to time, after obtaining the prior written consent of the Administrative Agent,
to the fullest extent permitted by applicable law, to set off and apply any and all deposits (general
or special, time or demand, provisional or final) at any time held and other obligations at any
time owing by such Lender or any such Affiliate to or for the credit or the account of the
Borrower or any other Loan Party against any and all of the obligations of the Borrower or such
other Loan Party now or hereafter existing under this Agreement or any other Loan Document to
such Lender, irrespective of whether or not such Lender shall have made any demand under this
Agreement or any other Loan Document and although such obligations of the Borrower or such
Loan Party may be contingent or unmatured or are owed to a branch or office of such Lender
different from the branch or office holding such deposit or obligated on such indebtedness. The
rights of each Lender and its Affiliates under this Section are in addition to other rights and
remedies (including other rights of setoff) that such Lender or its Affiliates may have. Each
Lender agrees to notify the Borrower and the Administrative Agent promptly after any such
setoff and application, provided that the failure to give such notice shall not affect the validity of
such setoff and application.

        SECTION 12.7          Sharing of Payments. If, other than as expressly provided
elsewhere herein, any Lender shall obtain payment in respect of any principal of or interest on
account of the Loans made by it (whether voluntary, involuntary, through the exercise of any
right of set-off, or otherwise) in excess of its ratable share (or other share contemplated
hereunder) thereof, such Lender shall immediately (a) notify the Administrative Agent of such
fact, and (b) purchase from the other Lenders such participations in the Loans made by them, as
the case may be, as shall be necessary to cause such purchasing Lender to share the excess
payment of principal of or interest on such Loans pro rata with each of them; provided that if all

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or any portion of such excess payment is thereafter recovered from the purchasing Lender under
any of the circumstances described in Section 12.15 (including pursuant to any settlement
entered into by the purchasing Lender in its discretion), such purchase shall to that extent be
rescinded and each other Lender shall repay to the purchasing Lender the purchase price paid
therefor, together with an amount equal to such paying Lender’s ratable share (according to the
proportion of (i) the amount of such paying Lender’s required repayment to (ii) the total amount
so recovered from the purchasing Lender) of any interest or other amount paid or payable by the
purchasing Lender in respect of the total amount so recovered, without further interest thereon.
For avoidance of doubt, the provisions of this paragraph shall not be construed to apply to (A)
any payment made by the Borrower pursuant to and in accordance with the express terms of this
Agreement as in effect from time to time or (B) any payment obtained by a Lender as
consideration for the assignment of or sale of a participation in any of its Loans to any assignee
or participant permitted hereunder. The Borrower agrees that any Lender so purchasing a
participation from another Lender may, to the fullest extent permitted by applicable Law,
exercise all its rights of payment (including the right of set-off, but subject to Section 12.6) with
respect to such participation as fully as if such Lender were the direct creditor of the Borrower in
the amount of such participation. The Administrative Agent will keep records (which shall be
conclusive and binding in the absence of manifest error) of participations purchased under this
Section 12.7 and will in each case notify the Lenders following any such purchases or
repayments. Each Lender that purchases a participation pursuant to this Section 12.7 shall from
and after such purchase have the right to give all notices, requests, demands, directions and other
communications under this Agreement with respect to the portion of the Obligations purchased
to the same extent as though the purchasing Lender were the original owner of the Obligations
purchased.

        SECTION 12.8           Notices and Other Communications; Facsimile Copies.

       (a)     General. Except in the case of notices and other communications expressly
permitted to be given by telephone (and except as provided in subsection (b) below), all notices
and other communications provided for herein shall be in writing and shall be delivered by hand
or overnight courier service, mailed by certified or registered mail or sent by telecopier as
follows, and all notices and other communications expressly permitted hereunder to be given by
telephone shall be made to the applicable telephone number, as follows:

                (i)     if to Holdings, the Borrower or the Administrative Agent (which address
        shall also be used for Collateral Agent), to the address, telecopier number, electronic mail
        address or telephone number specified for such Person on Schedule 12.8;

               (ii)   if to the Collateral Agent, to the address, telecopier number, electronic
        mail address or telephone number specified for such Person in the agreement pursuant to
        which such person is appointed as a Collateral Agent and

               (iii) if to any other Lender, to the address, telecopier number, electronic mail
        address or telephone number specified in its Administrative Questionnaire.

Notices and other communications sent by hand or overnight courier service, or mailed by
certified or registered mail, shall be deemed to have been given when received; notices and other

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communications sent by telecopier shall be deemed to have been given when sent (except that, if
not given during normal business hours for the recipient, shall be deemed to have been given at
the opening of business on the next Business Day for the recipient). Notices and other
communications delivered through electronic communications to the extent provided in
subsection (b) below shall be effective as provided in such subsection (b).

        (b)    Electronic Communications. Notices and other communications to the Lenders
hereunder may be delivered or furnished by electronic communication (including e mail and
Internet or intranet websites) pursuant to procedures approved by the Administrative Agent,
provided that the foregoing shall not apply to notices to any Lender pursuant to Article II if such
Lender has notified the Administrative Agent that it is incapable of receiving notices under such
Article by electronic communication. The Administrative Agent or the Borrower may, in its
discretion, agree to accept notices and other communications to it hereunder by electronic
communications pursuant to procedures approved by it, provided that approval of such
procedures may be limited to particular notices or communications.

        (c)     Receipt. Unless the Administrative Agent otherwise prescribes, (i) notices and
other communications sent to an e-mail address shall be deemed received upon the sender’s
receipt of an acknowledgement from the intended recipient (such as by the “return receipt
requested” function, as available, return e-mail or other written acknowledgement), provided that
if such notice or other communication is not sent during the normal business hours of the
recipient, such notice or communication shall be deemed to have been sent at the opening of
business on the next Business Day for the recipient, and (ii) notices or communications posted to
an Internet or intranet website shall be deemed received upon the deemed receipt by the intended
recipient at its e-mail address as described in the foregoing clause (i) of notification that such
notice or communication is available and identifying the website address therefor.

        (d)     The Platform. THE PLATFORM IS PROVIDED “AS IS” AND “AS
AVAILABLE.” THE AGENT PARTIES (AS DEFINED BELOW) DO NOT WARRANT THE
ACCURACY OR COMPLETENESS OF THE BORROWER MATERIALS OR THE
ADEQUACY OF THE PLATFORM, AND EXPRESSLY DISCLAIM LIABILITY FOR
ERRORS IN OR OMISSIONS FROM THE BORROWER MATERIALS. NO WARRANTY
OF ANY KIND, EXPRESS, IMPLIED OR STATUTORY, INCLUDING ANY WARRANTY
OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, NON-
INFRINGEMENT OF THIRD PARTY RIGHTS OR FREEDOM FROM VIRUSES OR
OTHER CODE DEFECTS, IS MADE BY ANY AGENT PARTY IN CONNECTION WITH
THE BORROWER MATERIALS OR THE PLATFORM. In no event shall any Agent or any of
its Agent-Related Persons or the Arranger (collectively, the “Agent Parties”) have any liability to
Holdings, the Borrower, any Lender or any other Person for losses, claims, damages, liabilities
or expenses of any kind (whether in tort, contract or otherwise) arising out of the Borrower’s or
the Administrative Agent’s transmission of Borrower Materials through the Internet, except to
the extent that such losses, claims, damages, liabilities or expenses are determined by a court of
competent jurisdiction by a final and nonappealable judgment to have resulted from the gross
negligence or willful misconduct of such Agent Party; provided, however, that in no event shall
any Agent Party have any liability to Holdings, the Borrower, any Lender or any other Person for
indirect, special, incidental, consequential or punitive damages (as opposed to direct or actual
damages).

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        (e)      Change of Address. Each of Holdings, the Borrower, the Administrative Agent
and the Collateral Agent may change its address, telecopier or telephone number for notices and
other communications hereunder by notice to the other parties hereto. Each other Lender may
change its address, telecopier or telephone number for notices and other communications
hereunder by notice to the Borrower and the Administrative Agent. In addition, each Lender
agrees to notify the Administrative Agent from time to time to ensure that the Administrative
Agent has on record (i) an effective address, contact name, telephone number, telecopier number
and electronic mail address to which notices and other communications may be sent and (ii)
accurate wire instructions for such Lender. Furthermore, each Public Lender agrees to cause at
least one individual at or on behalf of such Public Lender to at all times have selected the
“Private Side Information” or similar designation on the content declaration screen of the
Platform in order to enable such Public Lender or its delegate, in accordance with such Public
Lender’s compliance procedures and applicable Law, including United States Federal and state
securities Laws, to make reference to Borrower Materials that are not made available through the
“Public Side Information” portion of the Platform and that may contain material non-public
information with respect to the Borrower or its securities for purposes of United States Federal or
state securities laws.

         (f)     Reliance by Administrative Agent and Lenders. The Administrative Agent and
the Lenders shall be entitled to rely and act upon any notices (including telephonic Notices of
Borrowing) purportedly given by or on behalf of the Borrower even if (i) such notices were not
made in a manner specified herein, were incomplete or were not preceded or followed by any
other form of notice specified herein, or (ii) the terms thereof, as understood by the recipient,
varied from any confirmation thereof. The Borrower shall indemnify the Administrative Agent,
each Lender and the Agent-Related Persons of each of them from all losses, costs, expenses and
liabilities resulting from the reliance by such Person on each notice purportedly given by or on
behalf of the Borrower in the absence of gross negligence, willful misconduct or bad faith of
such Person, as determined by a final non-appealable judgment of a court of competent
jurisdiction. All telephonic notices to and other telephonic communications with the
Administrative Agent may be recorded by the Administrative Agent, and each of the parties
hereto hereby consents to such recording.

        SECTION 12.9          No Waiver; Cumulative Remedies. No failure by any Lender, the
Administrative Agent or the Collateral Agent to exercise, and no delay by any such Person in
exercising, any right, remedy, power or privilege hereunder or under any other Loan Document
shall operate as a waiver thereof; nor shall any single or partial exercise of any right, remedy,
power or privilege hereunder preclude any other or further exercise thereof or the exercise of any
other right, remedy, power or privilege. The rights, remedies, powers and privileges herein
provided, and provided under each other Loan Document, are cumulative and not exclusive of
any rights, remedies, powers and privileges provided by Law.

        SECTION 12.10          Judgment Currency. If, for the purposes of obtaining judgment in
any court, it is necessary to convert a sum due hereunder or any other Loan Document in one
currency into another currency, the rate of exchange used shall be that at which in accordance
with normal banking procedures the Administrative Agent could purchase the first currency with
such other currency on the Business Day preceding that on which final judgment is given. The
obligation of the Borrower in respect of any such sum due from it to the Administrative Agent or

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the Lenders hereunder or under the other Loan Documents shall, notwithstanding any judgment
in a currency (the “Judgment Currency”) other than that in which such sum is denominated in
accordance with the applicable provisions of this Agreement (the “Agreement Currency”), be
discharged only to the extent that on the Business Day following receipt by the Administrative
Agent of any sum adjudged to be so due in the Judgment Currency, the Administrative Agent
may in accordance with normal banking procedures purchase the Agreement Currency with the
Judgment Currency. If the amount of the Agreement Currency so purchased is less than the sum
originally due to the Administrative Agent from the Borrower in the Agreement Currency, the
Borrower agrees, as a separate obligation and notwithstanding any such judgment, to indemnify
the Administrative Agent or the Person to whom such obligation was owing against such loss. If
the amount of the Agreement Currency so purchased is greater than the sum originally due to the
Administrative Agent in such currency, the Administrative Agent agrees to return the amount of
any excess to the Borrower (or to any other Person who may be entitled thereto under applicable
Law).

       SECTION 12.11         Binding Effect. This Agreement shall become effective when it
shall have been executed by the Borrower, Holdings and the Administrative Agent and the
Administrative Agent shall have been notified by each Lender, that each such Lender has
executed it and thereafter shall be binding upon and inure to the benefit of the Borrower,
Holdings, each Agent and each Lender and their respective successors and assigns.

        SECTION 12.12        [Reserved].

        SECTION 12.13        Governing Law; Submission to Jurisdiction; Service of Process.

     (a)  THIS AGREEMENT AND EACH OTHER LOAN DOCUMENT SHALL BE
GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAW OF THE
STATE OF NEW YORK, EXCEPT TO THE EXTENT NEW YORK LAW IS SUPERSEDED
BY THE BANKRUPTCY CODE.

      (b)  THE BORROWER, HOLDINGS, THE ADMINISTRATIVE AGENT,
COLLATERAL AGENT, AND EACH LENDER EACH IRREVOCABLY AND
UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS PROPERTY, TO THE
EXCLUSIVE JURISDICTION OF THE BANKRUPTCY COURT, AND, TO THE EXTENT
THE BANKRUPTCY COURT DECLINES OR IS OTHERWISE UNABLE TO EXERCISE
JURISDICTION, THE COURTS OF THE STATE OF NEW YORK SITTING IN NEW YORK
CITY IN THE BOROUGH OF MANHATTAN AND OF THE UNITED STATES DISTRICT
COURT OF THE SOUTHERN DISTRICT OF NEW YORK, AND ANY APPELLATE
COURT FROM ANY THEREOF, IN ANY ACTION OR PROCEEDING ARISING OUT OF
OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT, OR FOR
RECOGNITION OR ENFORCEMENT OF ANY JUDGMENT, AND EACH OF THE
PARTIES HERETO IRREVOCABLY AND UNCONDITIONALLY AGREES THAT ALL
CLAIMS IN RESPECT OF ANY SUCH ACTION OR PROCEEDING MAY BE HEARD AND
DETERMINED IN SUCH NEW YORK STATE COURT OR, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, IN SUCH FEDERAL COURT. EACH OF THE
PARTIES HERETO AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR
PROCEEDING SHALL BE CONCLUSIVE AND MAY BE ENFORCED IN OTHER

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JURISDICTIONS BY SUIT ON THE JUDGMENT OR IN ANY OTHER MANNER
PROVIDED BY LAW. EACH PARTY HERETO AGREES THAT THE AGENTS AND
LENDERS RETAIN THE RIGHT TO SERVE PROCESS IN ANY OTHER MANNER
PERMITTED BY LAW OR TO BRING PROCEEDINGS AGAINST ANY LOAN PARTY OR
ITS PROPERTIES IN THE COURTS OF ANY OTHER JURISDICTION IN CONNECTION
WITH THE LOAN DOCUMENTS OR IN THE EXERCISE OF ANY RIGHTS UNDER ANY
COLLATERAL DOCUMENT OR THE ENFORCEMENT OF ANY JUDGMENT. NOTHING
CONTAINED HEREIN SHALL BE DEEMED TO CONSTITUTE A LENDER’S CONSENT
TO JURISDICTION OF THE BANKRUPTCY COURT FOR ANY PURPOSES OTHER
THAN THE ENFORCEMENT OF THIS AGREEMENT AND THE ORDERS. NOTHING
CONTAINED HEREIN SHALL BE DEEMED CONSENT TO JURISDICTION BEFORE
ANY BANKRUPTCY COURT IN THE CASES.

     (c)  THE BORROWER, HOLDINGS, THE ADMINISTRATIVE AGENT,
COLLATERAL AGENT, AND EACH LENDER EACH IRREVOCABLY AND
UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ANY OBJECTION THAT IT MAY NOW OR HEREAFTER HAVE TO
THE LAYING OF VENUE OF ANY ACTION OR PROCEEDING ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT IN ANY
COURT REFERRED TO IN PARAGRAPH (b) OF THIS SECTION. EACH OF THE
PARTIES HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, THE DEFENSE OF AN INCONVENIENT FORUM
TO THE MAINTENANCE OF SUCH ACTION OR PROCEEDING IN ANY SUCH COURT.

      (d)  EACH PARTY HERETO IRREVOCABLY CONSENTS TO SERVICE OF
PROCESS IN THE MANNER PROVIDED FOR NOTICES IN SECTION 12.8. NOTHING IN
THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY PARTY HERETO TO SERVE
PROCESS IN ANY OTHER MANNER PERMITTED BY APPLICABLE LAW.

      SECTION 12.14    Waiver of Jury Trial. EACH PARTY HERETO HEREBY
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL
PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR ANY OTHER LOAN DOCUMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY (WHETHER BASED ON CONTRACT, TORT
OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE
BEEN INDUCED TO ENTER INTO THIS AGREEMENT AND THE OTHER LOAN
DOCUMENTS BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
CERTIFICATIONS IN THIS SECTION.

       SECTION 12.15         Marshaling; Payments Set Aside. None of the Administrative
Agent, the Collateral Agent or any Lender shall be under any obligation to marshal any assets in
favor of the Loan Parties or any other party or against or in payment of any or all of the

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Obligations. To the extent that any payment by or on behalf of the Borrower is made to any
Agent or any Lender, or any Agent or any Lender exercises its right of set-off, and such payment
or the proceeds of such set-off or any part thereof is subsequently invalidated, declared to be
fraudulent or preferential, set aside or required (including pursuant to any settlement entered into
by such Agent or such Lender in its discretion) to be repaid to a trustee, receiver or any other
party, in connection with any proceeding under any Debtor Relief Law or otherwise, then (a) to
the extent of such recovery, the obligation or part thereof originally intended to be satisfied shall
be revived and continued in full force and effect as if such payment had not been made or such
set-off had not occurred, and (b) each Lender severally agrees to pay to the Administrative Agent
upon demand its applicable share of any amount so recovered from or repaid by any Agent, plus
interest thereon from the date of such demand to the date such payment is made at a rate per
annum equal to the applicable Overnight Rate from time to time in effect.

        SECTION 12.16          [Reserved].

        SECTION 12.17          Counterparts; Integration; Effectiveness. This Agreement may be
executed in counterparts (and by different parties hereto in different counterparts), each of which
shall constitute an original, but all of which when taken together shall constitute a single
contract. This Agreement and the other Loan Documents constitute the entire contract among
the parties relating to the subject matter hereof and supersede any and all previous agreements
and understandings, oral or written, relating to the subject matter hereof. The Credit Agreement
became effective on the Closing Date. Delivery of an executed counterpart of a signature page
of this Agreement by telecopy or other electronic imaging means shall be effective as delivery of
a manually executed counterpart of this Agreement.

        SECTION 12.18          Electronic Execution of Assignments and Certain Other
Documents. Delivery by telecopier, .pdf, or other electronic imaging means of an executed
counterpart of a signature page to this Agreement and each other Loan Document shall be
effective as delivery of an original executed counterpart of this Agreement and such other Loan
Document. The words “execution,” “signed,” “signature,” and words of like import in any
Assignment and Assumption or in any amendment or other modification hereof (including
waivers and consents) shall be deemed to include electronic signatures or the keeping of records
in electronic form, each of which shall be of the same legal effect, validity or enforceability as a
manually executed signature or the use of a paper-based recordkeeping system, as the case may
be, to the extent and as provided for in any applicable law, including the Federal Electronic
Signatures in Global and National Commerce Act, the New York State Electronic Signatures and
Records Act, or any other similar state laws based on the Uniform Electronic Transactions Act.

        SECTION 12.19          Confidentiality. Each of the Administrative Agent, the Collateral
Agent and the Lenders agrees to maintain the confidentiality of the Information in accordance
with its customary procedures (as set forth below), except that Information may be disclosed (a)
to its Affiliates and to its and its Affiliates’ respective partners, directors, officers, employees,
agents, trustees, advisors, service providers, and representatives (it being understood that the
Persons to whom such disclosure is made will be informed of the confidential nature of such
Information and instructed to keep such Information confidential), (b) to the extent requested by
any regulatory authority purporting to have jurisdiction over it (including any self-regulatory
authority, such as the National Association of Insurance Commissioners), (c) to the extent

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required by applicable laws or regulations or by any subpoena or similar legal process, provided
that the Administrative Agent or such Lender, as applicable, agrees that it will notify the
Borrower as soon as practicable in the event of any such disclosure by such Person (other than at
the request of a regulatory authority) unless such notification is prohibited by law, rule or
regulation, (d) to any other party hereto, (e) in connection with the exercise of any remedies
hereunder or under any other Loan Document or any action or proceeding relating to this
Agreement or any other Loan Document or the enforcement of rights hereunder or thereunder,
(f) subject to an agreement containing provisions at least as restrictive as those of this Section
12.19, to (i) any assignee of or Participant in, or any prospective assignee of or Participant in,
any of its rights or obligations under this Agreement (including any Relevant Participant) or (ii)
any actual or prospective direct or indirect counterparty (or its advisors) to any swap or
derivative transaction relating to the Borrower and its obligations, (g) with the consent of the
Borrower; (h) to any rating agency when required by it on a customary basis and after
consultation with the Borrower (it being understood that, prior to any such disclosure, such rating
agency shall undertake to preserve the confidentiality of any Information relating to the Loan
Parties received by it from such Lender); or (i) to the extent such Information (i) becomes
publicly available other than as a result of a breach of this Section or (ii) becomes available to
the Administrative Agent, any Lender, or any of their respective Affiliates on a nonconfidential
basis from a source other than Holdings, the Borrower or any Subsidiary thereof, and which
source is not known by such Agent or Lender to be subject to a confidentiality restriction in
respect thereof in favor of the Borrower or any Affiliate of the Borrower.

        For purposes of this Section, “Information” means all information received from any
Loan Party or any Subsidiary thereof relating to any Loan Party or any Subsidiary thereof or
their respective businesses, other than any such information that is available to the
Administrative Agent or any Lender on a nonconfidential basis prior to disclosure by any Loan
Party or any Subsidiary thereof other than as a result of a breach of this Section 12.19, it being
understood that all information received from Holdings, the Borrower or any Subsidiary after the
Closing Date shall be deemed confidential unless such information is clearly identified at the
time of delivery as not being confidential. Any Person required to maintain the confidentiality of
Information as provided in this Section shall be considered to have complied with its obligation
to do so in accordance with its customary procedures if such Person has exercised the same
degree of care to maintain the confidentiality of such Information as such Person would accord
to its own confidential information.

         Each of the Administrative Agent, the Collateral Agent and the Lenders acknowledges
that (a) the Information may include material non-public information concerning the Borrower or
a Subsidiary, as the case may be, (b) it has developed compliance procedures regarding the use
of material non-public information and (c) it will handle such material non-public information in
accordance with applicable Law, including United States Federal and state securities Laws.

       SECTION 12.20         Use of Name, Logo, Etc. Except in connection with the Cases,
each Loan Party consents to the publication in the ordinary course by Administrative Agent or
any Arranger of customary advertising material relating to the financing transactions
contemplated by this Agreement using such Loan Party’s name, product photographs, logo or
trademark. Such consent shall remain effective until revoked by such Loan Party in writing to
the Administrative Agent and the Arranger.

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        SECTION 12.21        USA PATRIOT Act Notice. Each Lender that is subject to the
USA PATRIOT Act and the Administrative Agent (for itself and not on behalf of any Lender)
hereby notifies the Borrower that pursuant to the requirements of the USA PATRIOT Act, it is
required to obtain, verify and record information that identifies each Loan Party, which
information includes the name and address of each Loan Party and other information that will
allow such Lender or the Administrative Agent, as applicable, to identify each Loan Party in
accordance with the USA PATRIOT Act. The Borrower shall, promptly following a request by
the Administrative Agent or any Lender, provide all documentation and other information that
the Administrative Agent or such Lender requests in order to comply with its ongoing
obligations under applicable “know your customer” and anti-money laundering rules and
regulations, including the USA PATRIOT Act.

        SECTION 12.22         [Reserved].

        SECTION 12.23          No Advisory or Fiduciary Responsibility. In connection with all
aspects of each transaction contemplated hereby (including in connection with any amendment,
waiver or other modification hereof or of any other Loan Document), each of the Borrower and
Holdings acknowledges and agrees, and acknowledges its Affiliates’ understanding, that: (i) (A)
the arranging and other services regarding this Agreement provided by the Agents and any
Arranger are arm’s-length commercial transactions between the Borrower, Holdings and their
respective Affiliates, on the one hand, and the Agents and any Arranger, on the other hand, (B)
each of the Borrower and Holdings has consulted its own legal, accounting, regulatory and tax
advisors to the extent it has deemed appropriate, and (C) each of the Borrower and Holdings is
capable of evaluating, and understands and accepts, the terms, risks and conditions of the
transactions contemplated hereby and by the other Loan Documents; (ii) (A) the Agents, the
Arranger and each Lender is and has been acting solely as a principal and, except as expressly
agreed in writing by the relevant parties, has not been, is not, and will not be acting as an
advisor, agent or fiduciary for the Borrower, Holdings or any of their respective Affiliates, or any
other Person and (B) none of the Agents, the Arranger or any Lender has any obligation to the
Borrower, Holdings or any of their respective Affiliates with respect to the transactions
contemplated hereby except those obligations expressly set forth herein and in the other Loan
Documents; and (iii) the Agents, the Arranger, the Lender and their respective Affiliates may be
engaged in a broad range of transactions that involve interests that differ from those of the
Borrower, Holdings their respective Affiliates, and none of the Agents, the Arranger or any
Lender has any obligation to disclose any of such interests to the Borrower, Holdings or any of
their respective Affiliates. To the fullest extent permitted by law, each of the Borrower and
Holdings hereby waives and releases any claims that it may have against the Agents, the
Arrangers or any Lender with respect to any breach or alleged breach of agency or fiduciary duty
in connection with any aspect of any transaction contemplated hereby.

       SECTION 12.24           Severability. If any provision of this Agreement or the other Loan
Documents is held to be illegal, invalid or unenforceable, (a) the legality, validity and
enforceability of the remaining provisions of this Agreement and the other Loan Documents
shall not be affected or impaired thereby and (b) the parties shall endeavor in good faith
negotiations to replace the illegal, invalid or unenforceable provisions with valid provisions the
economic effect of which comes as close as possible to that of the illegal, invalid or


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unenforceable provisions. The invalidity of a provision in a particular jurisdiction shall not
invalidate or render unenforceable such provision in any other jurisdiction.

        SECTION 12.25          Survival of Representations and Warranties. All representations
and warranties made hereunder and in any other Loan Document or other document delivered
pursuant hereto or thereto or in connection herewith or therewith shall survive the execution and
delivery hereof and thereof. Such representations and warranties have been or will be relied
upon by the Agents and each Lender, regardless of any investigation made by the Agents or any
Lender or on their behalf and notwithstanding that any Agent or any Lender may have had notice
or knowledge of any Default at the time of any Borrowing, and shall continue in full force and
effect as long as any Loan or any other Obligation hereunder shall remain unpaid or unsatisfied
(other than contingent indemnification obligations as to which no claim has been asserted).

        SECTION 12.26           Lender Action. Each Lender agrees that it shall not take or
institute any actions or proceedings, judicial or otherwise, for any right or remedy against any
Loan Party under any of the Loan Documents (including the exercise of any right of set-off,
rights on account of any banker’s lien or similar claim or other rights of self-help), or institute
any actions or proceedings, or otherwise commence any remedial procedures, with respect to any
Collateral or any other property of any such Loan Party, without the prior written consent of the
Administrative Agent (which shall not be withheld in contravention of Section 11.4). The
provision of this Section 12.26 are for the sole benefit of the Lenders and shall not afford any
right to, or constitute a defense available to, any Loan Party.

        SECTION 12.27         Interest Rate Limitation. Notwithstanding anything to the contrary
contained in any Loan Document, the interest paid or agreed to be paid under the Loan
Documents shall not exceed the maximum rate of non usurious interest permitted by applicable
Law (the “Maximum Rate”). If any Agent or any Lender shall receive interest in an amount that
exceeds the Maximum Rate, the excess interest shall be applied to the principal of the Loans or,
if it exceeds such unpaid principal, refunded to the Borrower. In determining whether the
interest contracted for, charged, or received by an Agent or a Lender exceeds the Maximum
Rate, such Person may, to the extent permitted by applicable Law, (a) characterize any payment
that is not principal as an expense, fee, or premium rather than interest, (b) exclude voluntary
prepayments and the effects thereof, and (c) amortize, prorate, allocate, and spread in equal or
unequal parts the total amount of interest throughout the contemplated term of the Obligations
hereunder.

        SECTION 12.28         [Reserved].

         SECTION 12.29        Contractual Recognition of Bail-In. Notwithstanding anything to
the contrary in any Loan Document or in any other agreement, arrangement or understanding
among any such parties, each party hereto acknowledges that any liability of any EEA Financial
Institution arising under any Loan Document, to the extent such liability is unsecured, may be
subject to the write-down and conversion powers of an EEA Resolution Authority and agrees
and consents to, and acknowledges and agrees to be bound by:




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         (a)   the application of any Write-Down and Conversion Powers by an EEA Resolution
Authority to any such liabilities arising hereunder which may be payable to it by any party hereto
that is an EEA Financial Institution; and

        (b)     the effects of any Bail-in Action on any such liability, including, if applicable:

                (i)        a reduction in full or in part or cancellation of any such liability;

                (ii)    a conversion of all, or a portion of, such liability into shares or other
        instruments of ownership in such EEA Financial Institution, its parent undertaking, or a
        bridge institution that may be issued to it or otherwise conferred on it, and that such
        shares or other instruments of ownership will be accepted by it in lieu of any rights with
        respect to any such liability under this Agreement or any other Loan Document; and

                (iii) the variation of the terms of such liability in connection with the exercise
        of the write-down and conversion powers of any EEA Resolution Authority.

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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed as of the date first above written.

                                      MATTRESS FIRM, INC., as Borrower


                                      By:
                                            Name:
                                            Title:


                                      MATTRESS HOLDING CORP., as Holdings,


                                      By:
                                            Name:
                                            Title:




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                                      BARCLAYS BANK PLC, as Administrative
                                      Agent, Collateral Agent and a Lender,


                                      By:
                                            Name:
                                            Title:




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                                      LENDERS


                                      [________]




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